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     Chapter I - Public Health Service, Department of Health and Human Services
     Subchapter D - Grants
     Part 50 - Policies of General Applicability
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    Subpart D Public Health Service Grant Appeals Procedure 50.401 – 50.406
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     Subpart D - Public Health Service Grant Appeals Procedure
     Authority: Sec. 215, Public Health Service Act, 58 Stat. 690 (42 U.S.C. 216); 45 CFR 16.3(c).

     Source: 54 FR 34770, Aug. 22, 1989, unless otherwise noted.


     § 50.401 What is the purpose of this subpart?
     This subpart establishes an informal procedure for the resolution of certain postaward grant and cooperative
     agreement disputes within the agencies and offices identified in § 50.402.

     [63 FR 66062, Dec. 1, 1998]


     § 50.402 To what program do these regulations apply?
     This subpart applies to all grant and cooperative agreement programs, except block grants, which are
     administered by the National Institutes of Health; The Centers for Disease Control and Prevention; the Agency
     for Toxic Substances and Disease Registry; the Food and Drug Administration; and the Office of Public Health
     and Science. For purposes of this subpart, these entities are hereinafter referred to as “agencies.”

     [70 FR 76175, Dec. 23, 2005]


     § 50.403 What is the policy basis for these procedures?
     The Secretary of Health and Human Services has established a Departmental Appeals Board for the purpose
     of providing a fair and flexible process for the appeal of written final decisions involving certain grant and
     cooperative agreement programs administered by constituent agencies of the Department. The regulatory
     provision which establishes the circumstances under which the Board will accept an appeal (45 CFR 16.3)
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provides, among other things, that the appellant must have exhausted any preliminary appeal process
required by regulation before a formal appeal to the Departmental Board will be allowed. This subpart
provides such an informal preliminary procedure for resolution of disputes in order to preclude submission of
cases to the Departmental Appeals Board before an agency identified in § 50.402 has had an opportunity to
review decisions of its officials and to settle disputes with grantees.

[54 FR 34770, Aug. 22, 1989, as amended at 63 FR 66062, Dec. 1, 1998]


§ 50.404 What disputes are covered by these procedures?
    (a) These procedures are applicable to the following adverse determinations under discretionary
          project grants and cooperative agreements (both referred to in this subpart as grants) issued by the
          agencies identified at § 50.402;

          (1) Termination, in whole or in part, of a grant for failure of the grantee to carry out its approved
               project in accordance with the applicable law and the terms and conditions of such assistance
               or for failure of the grantee otherwise to comply with any law, regulation, assurance, term, or
               condition applicable to the grant.

          (2) A determination that an expenditure not allowable under the grant has been charged to the
               grant or that the grantee has otherwise failed to discharge its obligation to account for grant
               funds.

          (3) A determination that a grant is void.

          (4) A denial of a noncompeting continuation award under the project period system of funding
               where the denial is for failure to comply with the terms of a previous award.

    (b) A determination subject to this subpart may not be reviewed by the review committee described in §
          50.405 unless an officer or employee of the agency has notified the grantee in writing of the adverse
          determination. The notification must set forth the reasons for the determination in sufficient detail
          to enable the grantee to respond and must inform the grantee of the opportunity for review under
          this subpart.

[54 FR 34770, Aug. 22, 1989, as amended at 63 FR 66062, Dec. 1, 1998]


§ 50.405 What is the structure of review committees?
The head of the agency, or his or her designee, shall appoint review committees to review adverse
determinations made by officials for programs under their jurisdiction. A minimum of three employees shall
be appointed (one of whom shall be designated as chairperson) either on an ad hoc, case-by-case basis, or as
regular members of review committees for such terms as may be designated. None of the members of the
review committee reviewing any given appeal may be from the office of the responsible official whose adverse
determination is being appealed (e.g., project officer, grants specialist, program manager, grants management
officer).

[54 FR 34770, Aug. 22, 1989, as amended at 63 FR 66062, Dec. 1, 1998]


§ 50.406 What are the steps in the process?

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    (a) A grantee with respect to whom an adverse determination described in § 50.404(a) above has been
         made and who desires a review of that determination must submit a request for such review to the
         head of the appropriate agency or his or her designee no later than 30 days after the written
         notification of the determination is received, except that if the grantee shows good cause why an
         extension of time should be granted, the head of the appropriate agency or his or her designee may
         grant an extension of time.

    (b) The request for review must include a copy of the adverse determination, must identify the issue(s)
         in dispute, and must contain a full statement of the grantee's position with respect to such issue(s)
         and the pertinent facts and reasons in support of the grantee's position. In addition to the required
         written statement, the grantee shall provide copies of any documents supporting its claim.

    (c) When a request for review has been filed under this subpart with respect to an adverse
         determination, no action may be taken by the awarding agency pursuant to such determination until
         the request has been disposed of, except that the filing of the request shall not affect any authority
         which the agency may have to suspend assistance or otherwise to withhold or defer payments
         under the grant during proceedings under this subpart. This paragraph does not require the
         awarding agency to provide continuation funding during the appeal process to a grantee whose
         noncompeting continuation award has been denied.

    (d) Upon receipt of a request for review, the head of the agency or his or her designee will make a
         decision as to whether the dispute is reviewable under this subpart and will promptly notify the
         grantee and the office responsible for the adverse determination of this decision. If the head of the
         agency or his or her designee determines that the dispute is reviewable, he or she will forward the
         matter to the review committee appointed under § 50.405.

    (e) The agency involved will provide the review committee appointed under § 50.405 with copies of all
         relevant background materials (including applications(s), award(s), summary statement(s), and
         correspondence) and any additional pertinent information available. These materials must be
         tabbed and organized chronologically and accompanied by an indexed list identifying each
         document.

     (f) The grantee shall be given an opportunity to provide the review committee with additional
         statements and documentation not provided in the request for review described in paragraph (b) of
         this section. This additional submission, which must be organized and indexed as indicated under
         paragraph (e) of this section, should provide only material that is relevant to the review committee's
         deliberation of the issues in the case.

    (g) The review committee may, at its discretion, invite the grantee and/or the agency staff to discuss
         the pertinent issues with the committee and to submit such additional information as the
         committee deems appropriate.

    (h) Based on its review, the review committee will prepare a written decision to be signed by the
         chairperson and each of the other committee members. The review committee shall send the
         written decision with a transmittal letter to the grantee and shall send a copy of both to the official
         responsible for the adverse determination. If the decision is adverse to the grantee's position, the
         transmittal letter must state the grantee's right to appeal to the Departmental Appeals Board under
         45 CFR part 16.

[54 FR 34770, Aug. 22, 1989, as amended at 63 FR 66063, Dec. 1, 1998]

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PART 59 - GRANTS FOR FAMILY PLANNING SERVICES
Subpart A - Project Grants for Family Planning Services

Source: 86 FR 56177, Oct. 7, 2021, unless otherwise noted.


§ 59.1 To what programs do these regulations apply?
The regulations of this subpart are applicable to the award of grants under section 1001 of the Public Health
Service Act (42 U.S.C. 300) to assist in the establishment and operation of voluntary family planning projects.
These projects shall consist of the educational, comprehensive medical, and social services necessary to aid
individuals to determine freely the number and spacing of their children.


§ 59.2 De initions.
As used in this subpart:

    Act means the Public Health Service Act, as amended.

    Adolescent-friendly health services are services that are accessible, acceptable, equitable, appropriate
          and effective for adolescents.

    Clinical services provider includes physicians, physician assistants, nurse practitioners, certified nurse
          midwives, and registered nurses with an expanded scope of practice who are trained and permitted
          by state-specific regulations to perform all aspects of the user (male and female) physical
          assessments recommended for contraceptive, related preventive health, and basic infertility care.

    Client-centered care is respectful of, and responsive to, individual client preferences, needs, and values;
          client values guide all clinical decisions.

    Culturally and linguistically appropriate services are respectful of and responsive to the health beliefs,
          practices and needs of diverse patients.

    Family means a social unit composed of one person, or two or more persons living together, as a
          household.

    Family planning services include a broad range of medically approved services, which includes Food and
          Drug Administration (FDA)-approved contraceptive products and natural family planning methods,
          for clients who want to prevent pregnancy and space births, pregnancy testing and counseling,
          assistance to achieve pregnancy, basic infertility services, sexually transmitted infection (STI)
          services, and other preconception health services.

    Health equity is when all persons have the opportunity to attain their full health potential and no one is
          disadvantaged from achieving this potential because of social position or other socially determined
          circumstances.

    Inclusive is when all people are fully included and can actively participate in and benefit from family
          planning, including, but not limited to, individuals who belong to underserved communities, such as
          Black, Latino, and Indigenous and Native American persons, Asian Americans and Pacific Islanders

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         and other persons of color; members of religious minorities; lesbian, gay, bisexual, transgender, and
         queer (LGBTQ+) persons; persons with disabilities; persons who live in rural areas; and persons
         otherwise adversely affected by persistent poverty or inequality.
    Low-income family means a family whose total annual income does not exceed 100 percent of the most
          recent Poverty Guidelines issued pursuant to 42 U.S.C. 9902(2). “Low-income family” also includes
          members of families whose annual family income exceeds this amount, but who, as determined by
          the project director, are unable, for good reasons, to pay for family planning services. For example,
          unemancipated minors who wish to receive services on a confidential basis must be considered on
          the basis of their own resources.

    Nonprofit, as applied to any private agency, institution, or organization, means that no part of the entity's
          net earnings benefit, or may lawfully benefit, any private shareholder or individual.

    Quality healthcare is safe, effective, client-centered, timely, efficient, and equitable.

    Secretary means the Secretary of Health and Human Services (HHS) and any other officer or employee
          of the Department of Health and Human Services to whom the authority involved has been
          delegated.

    Service site is a clinic or other location where Title X services are provided to clients. Title X recipients
          and/or their subrecipients may have service sites.

    State includes, in addition to the several States, the District of Columbia, Guam, the Commonwealth of
          Puerto Rico, the Northern Mariana Islands, the U.S. Virgin Islands, American Samoa, the U.S.
          Outlaying Islands (Midway, Wake, et al.), the Marshall Islands, the Federated State of Micronesia,
          and the Republic of Palau.

    Trauma-informed means a program, organization, or system that is trauma-informed realizes the
          widespread impact of trauma and understands potential paths for recovery; recognizes the signs
          and symptoms of trauma in clients, families, staff, and others involved with the system; and
          responds by fully integrating knowledge about trauma into policies, procedures, and practices, and
          seeks to actively resist re-traumatization.


§ 59.3 Who is eligible to apply for a family planning services grant?
Any public or nonprofit private entity in a State may apply for a grant under this subpart.


§ 59.4 How does one apply for a family planning services grant?
     (a) Application for a grant under this subpart shall be made on an authorized form.

     (b) An individual authorized to act for the applicant and to assume on behalf of the applicant the
          obligations imposed by the terms and conditions of the grant, including the regulations of this
          subpart, must sign the application.

     (c) The application shall contain

          (1) A description, satisfactory to the Secretary, of the project and how it will meet the requirements
               of this subpart;

          (2) A budget and justification of the amount of grant funds requested;

          (3) A description of the standards and qualifications which will be required for all personnel and
               for all facilities to be used by the project; and
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        (4) Such other pertinent information as the Secretary may require.


§ 59.5 What requirements must be met by a family planning project?
   (a) Each project supported under this part must:

        (1) Provide a broad range of acceptable and effective medically approved family planning
             methods (including natural family planning methods) and services (including pregnancy
             testing and counseling, assistance to achieve pregnancy, basic infertility services, STI services,
             preconception health services, and adolescent-friendly health services). If an organization
             offers only a single method of family planning, it may participate as part of a project as long as
             the entire project offers a broad range of acceptable and effective medically approved family
             planning methods and services. Title X service sites that are unable to provide clients with
             access to a broad range of acceptable and effective medically approved family planning
             methods and services, must be able to provide a prescription to the client for their method of
             choice or referrals to another provider, as requested.

        (2) Provide services without subjecting individuals to any coercion to accept services or to employ
             or not to employ any particular methods of family planning. Acceptance of services must be
             solely on a voluntary basis and may not be made a prerequisite to eligibility for, or receipt of,
             any other services, assistance from or participation in any other program of the applicant.[1]

        (3) Provide services in a manner that is client-centered, culturally and linguistically appropriate,
             inclusive, and trauma-informed; protects the dignity of the individual; and ensures equitable
             and quality service delivery consistent with nationally recognized standards of care.

        (4) Provide services in a manner that does not discriminate against any client based on religion,
             race, color, national origin, disability, age, sex, sexual orientation, gender identity, sex
             characteristics, number of pregnancies, or marital status.

        (5) Not provide abortion as a method of family planning.[2] A project must:

             (i)   Offer pregnant clients the opportunity to be provided information and counseling
                   regarding each of the following options:

                   (A) Prenatal care and delivery;

                   (B) Infant care, foster care, or adoption; and

                   (C) Pregnancy termination.

             (ii) If requested to provide such information and counseling, provide neutral, factual
                   information and nondirective counseling on each of the options, and, referral upon
                   request, except with respect to any option(s) about which the pregnant client indicates
                   they do not wish to receive such information and counseling.

        (6) Provide that priority in the provision of services will be given to clients from low-income
             families.

        (7) Provide that no charge will be made for services provided to any clients from a low-income
             family except to the extent that payment will be made by a third party (including a government
             agency) which is authorized to or is under legal obligation to pay this charge.

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     (8) Provide that charges will be made for services to clients other than those from low-income
           families in accordance with a schedule of discounts based on ability to pay, except that
           charges to persons from families whose annual income exceeds 250 percent of the levels set
           forth in the most recent Poverty Guidelines issued pursuant to 42 U.S.C. 9902(2) will be made
           in accordance with a schedule of fees designed to recover the reasonable cost of providing
           services.

           (i)   Family income should be assessed before determining whether copayments or additional
                 fees are charged.

           (ii) With regard to insured clients, clients whose family income is at or below 250 percent of
                 the FPL should not pay more (in copayments or additional fees) than what they would
                 otherwise pay when the schedule of discounts is applied.

     (9) Take reasonable measures to verify client income, without burdening clients from low-income
           families. Recipients that have lawful access to other valid means of income verification
           because of the client's participation in another program may use those data rather than re-
           verify income or rely solely on clients' self-report. If a client's income cannot be verified after
           reasonable attempts to do so, charges are to be based on the client's self-reported income.

    (10) If a third party (including a Government agency) is authorized or legally obligated to pay for
           services, all reasonable efforts must be made to obtain the third-party payment without
           application of any discounts. Where the cost of services is to be reimbursed under title XIX, XX,
           or XXI of the Social Security Act, a written agreement with the title XIX, XX, or XXI agency is
           required.

    (11)

           (i)   Provide that if an application relates to consolidation of service areas or health resources
                 or would otherwise affect the operations of local or regional entities, the applicant must
                 document that these entities have been given, to the maximum feasible extent, an
                 opportunity to participate in the development of the application. Local and regional
                 entities include existing or potential subrecipients which have previously provided or
                 propose to provide family planning services to the area proposed to be served by the
                 applicant.

           (ii) Provide an opportunity for maximum participation by existing or potential subrecipients in
               the ongoing policy decision making of the project.
(b) In addition to the requirements of paragraph (a) of this section, each project must meet each of the
     following requirements unless the Secretary determines that the project has established good
     cause for its omission. Each project must:

     (1) Provide for medical services related to family planning (including consultation by a clinical
           services provider, examination, prescription and continuing supervision, laboratory
           examination, contraceptive supplies), in person or via telehealth, and necessary referral to
           other medical facilities when medically indicated, and provide for the effective usage of
           contraceptive devices and practices.

     (2) Provide for social services related to family planning, including counseling, referral to and from
           other social and medical service agencies, and any ancillary services which may be necessary
           to facilitate clinic attendance.

     (3) Provide for opportunities for community education, participation, and engagement to:
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              (i)   Achieve community understanding of the objectives of the program;

              (ii) Inform the community of the availability of services; and

              (iii) Promote continued participation in the project by diverse persons to whom family
                  planning services may be beneficial to ensure access to equitable, affordable, client-
                  centered, quality family planning services.
         (4) Provide for orientation and in-service training for all project personnel.

         (5) Provide services without the imposition of any durational residency requirement or requirement
             that the patient be referred by a physician.

         (6) Provide that family planning medical services will be performed under the direction of a clinical
              services provider, with services offered within their scope of practice and allowable under state
              law, and with special training or experience in family planning.

         (7) Provide that all services purchased for project participants will be authorized by the project
              director or their designee on the project staff.

         (8) Provide for coordination and use of referrals and linkages with primary healthcare providers,
              other providers of healthcare services, local health and welfare departments, hospitals,
              voluntary agencies, and health services projects supported by other federal programs, who are
              in close physical proximity to the Title X site, when feasible, in order to promote access to
              services and provide a seamless continuum of care.

         (9) Provide that if family planning services are provided by contract or other similar arrangements
              with actual providers of services, services will be provided in accordance with a plan which
              establishes rates and method of payment for medical care. These payments must be made
              under agreements with a schedule of rates and payment procedures maintained by the
              recipient. The recipient must be prepared to substantiate that these rates are reasonable and
              necessary.

         (10) Provide, to the maximum feasible extent, an opportunity for participation in the development,
              implementation, and evaluation of the project by persons broadly representative of all
              significant elements of the population to be served, and by others in the community
              knowledgeable about the community's needs for family planning services.
FOOTNOTES - 59.5

   [1]
       42 U.S.C. 300a–8 provides that any officer or employee of the United States, officer or employee of
   any State, political subdivision of a State, or any other entity, which administers or supervises the
   administration of any program receiving Federal financial assistance, or person who receives, under
   any program receiving Federal assistance, compensation for services, who coerces or endeavors to
   coerce any person to undergo an abortion or sterilization procedure by threatening such person with
   the loss of, or disqualification for the receipt of, any benefit or service under a program receiving
   Federal financial assistance shall be fined not more than $1,000 or imprisoned for not more than one
   year, or both.
   [2] Providers may separately be covered by federal statutes protecting conscience and/or civil rights.




§ 59.6 What procedures apply to assure the suitability of informational and educational
material (print and electronic)?
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    (a) A grant under this section may be made only upon assurance satisfactory to the Secretary that the
         project shall provide for the review and approval of informational and educational materials (print
         and electronic) developed or made available under the project by an Advisory Committee prior to
         their distribution, to assure that the materials are suitable for the population or community to which
         they are to be made available and the purposes of Title X of the Act. The project shall not
         disseminate any such materials which are not approved by the Advisory Committee.

    (b) The Advisory Committee referred to in paragraph (a) of this section shall be established as follows:

         (1) Size. The committee shall consist of no fewer than five members and up to as many members
              the recipient determines, except that this provision may be waived by the Secretary for good
              cause shown.

         (2) Composition. The committee shall include individuals broadly representative of the population
              or community for which the materials are intended (in terms of demographic factors such as
              race, ethnicity, color, national origin, disability, sex, sexual orientation, gender identity, sex
              characteristics, age, marital status, income, geography, and including but not limited to
              individuals who belong to underserved communities, such as Black, Latino, and Indigenous
              and Native American persons, Asian Americans and Pacific Islanders and other persons of
              color; members of religious minorities; lesbian, gay, bisexual, transgender, and queer (LGBTQ+)
              persons; persons with disabilities; persons who live in rural areas; and persons otherwise
              adversely affected by persistent poverty or inequality).

         (3) Function. In reviewing materials, the Advisory Committee shall:

              (i)   Consider the educational, cultural, and diverse backgrounds of individuals to whom the
                    materials are addressed;

              (ii) Consider the standards of the population or community to be served with respect to such
                    materials;

              (iii) Review the content of the material to assure that the information is factually correct,
                    medically accurate, culturally and linguistically appropriate, inclusive, and trauma
                    informed;

              (iv) Determine whether the material is suitable for the population or community to which is to
                    be made available; and

              (v) Establish a written record of its determinations.


§ 59.7 What criteria will the Department of Health and Human Services use to decide which
family planning services projects to fund and in what amount?
    (a) Within the limits of funds available for these purposes, the Secretary may award grants for the
         establishment and operation of those projects which will in the Department's judgment best
         promote the purposes of section 1001 of the Act, taking into account:

         (1) The number of clients, and, in particular, the number of low-income clients to be served;

         (2) The extent to which family planning services are needed locally;

         (3) The ability of the applicant to advance health equity;

         (4) The relative need of the applicant;
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          (5) The capacity of the applicant to make rapid and effective use of the federal assistance;

          (6) The adequacy of the applicant's facilities and staff;

          (7) The relative availability of non-federal resources within the community to be served and the
               degree to which those resources are committed to the project; and

          (8) The degree to which the project plan adequately provides for the requirements set forth in
              these regulations.
    (b) The Secretary shall determine the amount of any award on the basis of an estimate of the sum
        necessary for the performance of the project. No grant may be made for less than 90 percent of the
        project's costs, as so estimated, unless the grant is to be made for a project which was supported,
        under section 1001, for less than 90 percent of its costs in fiscal year 1975. In that case, the grant
        shall not be for less than the percentage of costs covered by the grant in fiscal year 1975.

    (c) No grant may be made for an amount equal to 100 percent for the project's estimated costs.


§ 59.8 How is a grant awarded?
    (a) The notice of grant award specifies how long HHS intends to support the project without requiring
          the project to recompete for funds. This anticipated period will usually be for three to five years.

    (b) Generally, the grant will initially be for one year and subsequent continuation awards will also be for
          one year at a time. A recipient must submit a separate application to have the support continued for
          each subsequent year. Decisions regarding continuation awards and the funding level of such
          awards will be made after consideration of such factors as the recipient's progress and
          management practices and the availability of funds. In all cases, continuation awards require a
          determination by HHS that continued funding is in the best interest of the government.

    (c) Neither the approval of any application nor the award of any grant commits or obligates the United
          States in any way to make any additional, supplemental, continuation, or other award with respect to
          any approved application or portion of an approved application.


§ 59.9 For what purpose may grant funds be used?
Any funds granted under this subpart shall be expended solely for the purpose for which the funds were
granted in accordance with the approved application and budget, the regulations of this subpart, the terms
and conditions of the award, and the applicable cost principles prescribed in 45 CFR part 75.


§ 59.10 Confidentiality.
    (a) All information as to personal facts and circumstances obtained by the project staff about
          individuals receiving services must be held confidential and must not be disclosed without the
          individual's documented consent, except as may be necessary to provide services to the patient or
          as required by law, with appropriate safeguards for confidentiality. Otherwise, information may be
          disclosed only in summary, statistical, or other form which does not identify particular individuals.
          Reasonable efforts to collect charges without jeopardizing client confidentiality must be made.
          Recipient must inform the client of any potential for disclosure of their confidential health
          information to policyholders where the policyholder is someone other than the client.

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     (b) To the extent practical, Title X projects shall encourage family participation.[3] However, Title X
          projects may not require consent of parents or guardians for the provision of services to minors, nor
          can any Title X project staff notify a parent or guardian before or after a minor has requested and/or
          received Title X family planning services.

FOOTNOTES - 59.10

     [3] 42 U.S.C. 300(a).




§ 59.11 Additional conditions.
The Secretary may, with respect to any grant, impose additional conditions prior to, at the time of, or during
any award, when in the Department's judgment these conditions are necessary to assure or protect
advancement of the approved program, the interests of public health, or the proper use of grant funds.

Subpart B [Reserved]

Subpart C - Grants for Family Planning Service Training
Authority: Sec. 6(c), 84 Stat. 1507, 42 U.S.C. 300a-4; sec. 6(c), 84 Stat. 1507, 42 U.S.C. 300a-1.

Source: 37 FR 7093, Apr. 8, 1972, unless otherwise noted.


§ 59.201 Applicability.
The regulations in this subpart are applicable to the award of grants pursuant to section 1003 of the Public
Health Service Act (42 U.S.C. 300a–1) to provide the training for personnel to carry out family planning service
programs described in sections 1001 and 1002 of the Public Health Service Act (42 U.S.C. 300, 300a).


§ 59.202 De initions.
As used in this subpart:

     (a) Act means the Public Health Service Act.

     (b) State means one of the 50 States, the District of Columbia, Puerto Rico, Guam, the Virgin Islands,
          American Samoa, or the Trust Territory of the Pacific Islands.

     (c) Nonprofit private entity means a private entity no part of the net earnings of which inures, or may
          lawfully inure, to the benefit of any private shareholder or individual.

     (d) Secretary means the Secretary of Health and Human Services and any other officer or employee of
          the Department of Health and Human Services to whom the authority involved has been delegated.

     (e) Training means job-specific skill development, the purpose of which is to promote and improve the
          delivery of family planning services.


§ 59.203 Eligibility.
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     (a) Eligible applicants. Any public or nonprofit private entity located in a State is eligible to apply for a
          grant under this subpart.

     (b) Eligible projects. Grants pursuant to section 1003 of the Act and this subpart may be made to
          eligible applicants for the purpose of providing programs, not to exceed three months in duration,
          for training family planning or other health services delivery personnel in the skills, knowledge, and
          attitudes necessary for the effective delivery of family planning services: Provided, That the
          Secretary may in particular cases approve support of a program whose duration is longer than three
          months where he determines

          (1) that such program is consistent with the purposes of this subpart and

          (2) that the program's objectives cannot be accomplished within three months because of the
               unusually complex or specialized nature of the training to be undertaken.

[37 FR 7093, Apr. 8, 1972, as amended at 40 FR 17991, Apr. 24, 1975]


§ 59.204 Application for a grant.
     (a) An application for a grant under this subpart shall be submitted to the Secretary at such time and in
          such form and manner as the Secretary may prescribe.[1] The application shall contain a full and
          adequate description of the project and of the manner in which the applicant intends to conduct the
          project and carry out the requirements of this subpart, and a budget and justification of the amount
          of grant funds requested, and such other pertinent information as the Secretary may require.

     (b) The application shall be executed by an individual authorized to act for the applicant and to assume
          for the applicant the obligations imposed by the regulations of this subpart and any additional
          conditions of the grant.

(Sec. 6(c), Public Health Service Act, 84 Stat. 1506 and 1507 (42 U.S.C. 300, 300a–1, and 300a–4))

[37 FR 7093, Apr. 8, 1972, as amended at 49 FR 38116, Sept. 27, 1984]

FOOTNOTES - 59.204

    [1] Applications and instructions may be obtained from the Program Director, Family Planning

    Services, at the Regional Office of the Department of Health and Human Services for the region in
    which the project is to be conducted, or the Office of Family Planning, Office of the Assistant Secretary
    for Health, Washington, DC 20201.




§ 59.205 Project requirements.
An approvable application must contain each of the following unless the Secretary determines that the
applicant has established good cause for its omission:

     (a) Assurances that:

          (1) No portion of the Federal funds will be used to train personnel for programs where abortion is a
               method of family planning.
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         (2) No portion of the Federal funds will be used to provide professional training to any student as
              part of his education in pursuit of an academic degree.

         (3) No project personnel or trainees shall on the grounds of sex, religion, or creed be excluded
             from participation in, be denied the benefits of, or be subjected to discrimination under the
             project.
    (b) Provision of a methodology to assess the particular training (e.g., skills, attitudes, or knowledge)
         that prospective trainees in the area to be served need to improve their delivery of family planning
         services.

    (c) Provision of a methodology to define the objectives of the training program in light of the particular
         needs of trainees defined pursuant to paragraph (b) of this section.

    (d) Provision of a method for development of the training curriculum and any attendant training
         materials and resources.

    (e) Provision of a method for implementation of the needed training.

    (f) Provision of an evaluation methodology, including the manner in which such methodology will be
         employed, to measure the achievement of the objectives of the training program.

    (g) Provision of a method and criteria by which trainees will be selected.


§ 59.206 Evaluation and grant award.
    (a) Within the limits of funds available for such purpose, the Secretary may award grants to assist in the
         establishment and operation of those projects which will in his judgment best promote the
         purposes of section 1003 of the Act, taking into account:

         (1) The extent to which a training program will increase the delivery of services to people,
              particularly low-income groups, with a high percentage of unmet need for family planning
              services;

         (2) The extent to which the training program promises to fulfill the family planning services
              delivery needs of the area to be served, which may include, among other things:

               (i)   Development of a capability within family planning service projects to provide pre- and in-
                     service training to their own staffs;

              (ii) Improvement of the family planning services delivery skills of family planning and health
                     services personnel;

              (iii) Improvement in the utilization and career development of paraprofessional and
                     paramedical manpower in family planning services;

              (iv) Expansion of family planning services, particularly in rural areas, through new or improved
                     approaches to program planning and deployment of resources;

         (3) The capacity of the applicant to make rapid and effective use of such assistance;

         (4) The administrative and management capability and competence of the applicant;

         (5) The competence of the project staff in relation to the services to be provided; and

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          (6) The degree to which the project plan adequately provides for the requirements set forth in §
              59.205.
     (b) The amount of any award shall be determined by the Secretary on the basis of his estimate of the
          sum necessary for all or a designated portion of direct project costs plus an additional amount for
          indirect costs, if any, which will be calculated by the Secretary either:

          (1) On the basis of his estimate of the actual indirect costs reasonably related to the project, or

          (2) on the basis of a percentage of all, or a portion of, the estimated direct costs of the project
               when there are reasonable assurances that the use of such percentage will not exceed the
               approximate actual indirect costs. Such award may include an estimated provisional amount
               for indirect costs or for designated direct costs (such as travel or supply costs) subject to
               upward (within the limits of available funds) as well as downward adjustments to actual costs
               when the amount properly expended by the grantee for provisional items has been determined
               by the Secretary.

     (c) Allowability of costs shall be in conformance with the applicable cost principles prescribed by 45
          CFR part 75, subpart E.

     (d) All grant awards shall be in writing, shall set forth the amount of funds granted and the period for
          which support is recommended.

     (e) Neither the approval of any project nor any grant award shall commit or obligate the United States in
          any way to make any additional, supplemental, continuation, or other award with respect to any
          approved project or portion thereof. For continuation support, grantees must make separate
          application annually at such times and in such form as the Secretary may direct.

[37 FR 7093, Apr. 8, 1972, as amended at 38 FR 26199, Sept. 19, 1973; 81 FR 3009, Jan. 20, 2016]


§ 59.207 Payments.
The Secretary shall from time to time make payments to a grantee of all or a portion of any grant award, either
in advance or by way of reimbursement for expenses incurred or to be incurred in the performance of the
project to the extent he determines such payments necessary to promote prompt initiation and advancement
of the approved project.


§ 59.208 Use of project funds.
     (a) Any funds granted pursuant to this subpart as well as other funds to be used in performance of the
          approved project shall be expended solely for carrying out the approved project in accordance with
          the statute, the regulations of this subpart, the terms and conditions of the award, and, except as
          may otherwise be provided in this subpart, the applicable cost principles prescribed by 45 CFR part
          75, subpart E.

     (b) Prior approval by the Secretary of revision of the budget and project plan is required whenever there
          is to be a significant change in the scope or nature of project activities.

     (c) The Secretary may approve the payment of grant funds to trainees for:

          (1) Return travel to the trainee's point of origin.

          (2) Per diem during the training program, and during travel to and from the program, at the
               prevailing institutional or governmental rate, whichever is lower.
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[37 FR 7093, Apr. 8, 1972, as amended at 38 FR 26199, Sept. 19, 1973; 81 FR 3009, Jan. 20, 2016]


§ 59.209 Civil rights.
Attention is called to the requirements of Title VI of the Civil Rights Act of 1964 (78 Stat. 252, 42 U.S.C. 2000d
et seq.) and in particular section 601 of such Act which provides that no person in the United States shall, on
the grounds of race, color, or national origin be excluded from participation in, be denied the benefits of, or be
subjected to discrimination under any program or activity receiving Federal financial assistance. A regulation
impelmenting such title VI, which applies to grants made under this part, has been issued by the Secretary of
Health and Human Services with the approval of the President (45 CFR part 80).


§ 59.210 Inventions or discoveries.
Any grant award pursuant to § 59.206 is subject to the regulations of the Department of Health and Human
Services as set forth in 45 CFR parts 6 and 8, as amended. Such regulations shall apply to any activity for
which grant funds are in fact used whether within the scope of the project as approved or otherwise.
Appropriate measures shall be taken by the grantee and by the Secretary to assure that no contracts,
assignments or other arrangements inconsistent with the grant obligation are continued or entered into and
that all personnel involved in the supported activity are aware of and comply with such obligations. Laboratory
notes, related technical data, and information pertaining to inventions and discoveries shall be maintained for
such periods, and filed with or otherwise made available to the Secretary, or those he may designate at such
times and in such manner, as he may determine necessary to carry out such Department regulations.


§ 59.211 Publications and copyright.
Except as may otherwise be provided under the terms and conditions of the award, the grantee may copyright
without prior approval any publications, films or similar materials developed or resulting from a project
supported by a grant under this part, subject, however, to a royalty-free, nonexclusive, and irrevocable license
or right in the Government to reproduce, translate, publish, use, disseminate, and dispose of such materials
and to authorize others to do so.


§ 59.212 Grantee accountability.
     (a) Accounting for grant award payments. All payments made by the Secretary shall be recorded by the
          grantee in accounting records separate from the records of all other grant funds, including funds
          derived from other grant awards. With respect to each approved project the grantee shall account
          for the sum total of all amounts paid by presenting or otherwise making available evidence
          satisfactory to the Secretary of expenditures for direct and indirect costs meeting the requirements
          of this part: Provided, however, That when the amount awarded for indirect costs was based on a
          predetermined fixed-percentage of estimated direct costs, the amount allowed for indirect costs
          shall be computed on the basis of such predetermined fixed-percentage rates applied to the total, or
          a selected element thereof, of the reimbursable direct costs incurred.

     (b) [Reserved]

     (c) Accounting for grant-related income —(1) Interest. Pursuant to section 203 of the Intergovernmental
          Cooperation Act of 1968 (42 U.S.C. 4213), a State will not be held accountable for interest earned
          on grant funds, pending their disbursement for grant purposes. A State, as defined in section 102 of
          the Intergovernmental Cooperation Act, means any one of the several States, the District of
          Columbia, Puerto Rico, any territory or possession of the United States, or any agency or
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         instrumentality of a State, but does not include the governments of the political subdivisions of the
         State. All grantees other than a State, as defined in this subsection, must return all interest earned
         on grant funds to the Federal Government.
     (d) Grant closeout —

          (1) Date of final accounting. A grantee shall render, with respect to each approved project, a full
               account, as provided herein, as of the date of the termination of grant support. The Secretary
               may require other special and periodic accounting.

          (2) Final settlement. There shall be payable to the Federal Government as final settlement with
               respect to each approved project the total sum of:

               (i)   Any amount not accounted for pursuant to paragraph (a) of this section;

               (ii) Any credits for earned interest pursuant to paragraph (c)(1) of this section;

               (iii) Any other amounts due pursuant to 45 CFR 75.307, 75.371 through 75.385, and 75.316–
                     75.325.

Such total sum shall constitute a debt owed by the grantee to the Federal Government and shall be recovered
from the grantee or its successors or assignees by setoff or other action as provided by law.

[36 FR 18465, Sept. 15, 1971, as amended at 38 FR 26199, Sept. 19, 1973; 81 FR 3009, Jan. 20, 2016]


§ 59.213 [Reserved]


§ 59.214 Additional conditions.
The Secretary may with respect to any grant award impose additional conditions prior to or at the time of any
award when in his judgment such conditions are necessary to assure or protect advancement of the approved
project, the interests of public health, or the conservation of grant funds.


§ 59.215 Applicability of 45 CFR part 75.
The provisions of 45 CFR part 75, establishing uniform administrative requirements and cost principles, shall
apply to all grants under this part.

[81 FR 3009, Jan. 20, 2016]




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             TITLE X - POPULATION RESEARCH AND VOLUNTARY
                        FAMILY PLANNING PROGRAMS


       PROJECT GRANTS AND CONTRACTS FOR FAMILY PLANNING SERVICES
SEC. 1001 [300]
     (a)The Secretary is authorized to make grants to and enter into contracts with public or nonprofit
private entities to assist in the establishment and operation of voluntary family planning projects which shall
offer a broad range of acceptable and effective family planning methods and services (including natural
family planning methods, infertility services, and services for adolescents). To the extent practicable, entities
which receive grants or contracts under this subsection shall encourage family 1 participation in projects
assisted under this subsection.
     (b)In making grants and contracts under this section the Secretary shall take into account the number
of patients to be served, the extent to which family planning services are needed locally, the relative need
of the applicant, and its capacity to make rapid and effective use of such assistance. Local and regional
entities shall be assured the right to apply for direct grants and contracts under this section, and the
Secretary shall by regulation fully provide for and protect such right.
    (c)The Secretary, at the request of a recipient of a grant under subsection (a), may reduce the amount
of such grant by the fair market value of any supplies or equipment furnished the grant recipient by the
Secretary. The amount by which any such grant is so reduced shall be available for payment by the
Secretary of the costs incurred in furnishing the supplies or equipment on which the reduction of such grant
is based. Such amount shall be deemed as part of the grant and shall be deemed to have been paid to the
grant recipient.
     (d)For the purpose of making grants and contracts under this section, there are authorized to be
appropriated $30,000,000 for the fiscal year ending June 30, 1971; $60,000,000 for the fiscal year ending
June 30, 1972; $111,500,000 for the fiscal year ending June 30, 1973, $111,500,000 each for the fiscal
years ending June 30, 1974, and June 30, 1975; $115,000,000 for fiscal year 1976;
$115,000,000 for the fiscal year ending September 30, 1977;
$136,400,000 for the fiscal year ending September 30, 1978;
$200,000,000 for the fiscal year ending September 30, 1979;
$230,000,000 for the fiscal year ending September 30, 1980;
$264,500,000 for the fiscal year ending September 30, 1981;
$126,510,000 for the fiscal year ending September 30, 1982;
$139,200,000 for the fiscal year ending September 30, 1983;
$150,030,000 for the fiscal year ending September 30, 1984; and
$158,400,000 for the fiscal year ending September 30, 1985.

    1
        So in law. See section 931(b)(I) of Public Law 97-35 (95 Stat. 570). Probably should be “family”.




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          FORMULA GRANTS TO STATES FOR FAMILY PLANNING SERVICES
SEC. 1002 [300a]
     (a)The Secretary is authorized to make grants, from allotments made under subsection (b), to State
health authorities to assist in planning, establishing, maintaining, coordinating, and evaluating family planning
services. No grant may be made to a State health authority under this section unless such authority has
submitted, and had approved by the Secretary, a State plan for a coordinated and comprehensive program
of family planning services.
     (b)The sums appropriated to carry out the provisions of this section shall be allotted to the States by
the Secretary on the basis of the population and the financial need of the respective States.
     (c)For the purposes of this section, the term ''State'' includes the Commonwealth of Puerto Rico, the
Northern Mariana Islands, Guam, American Samoa, the Virgin Islands, the District of Columbia, and the
Trust Territory of the Pacific Islands.
     (d)For the purpose of making grants under this section, there are authorized to be appropriated
$10,000,000 for the fiscal year ending June 30, 1971; $15,000,000 for the fiscal year ending June 30,
1972; and $20,000,000 for the fiscal year ending June 30, 1973.




TRAINING GRANTS AND CONTRACTS; AUTHORIZATION OF APPROPRIATIONS
SEC. 1003 [300a-1]
     (a) The Secretary is authorized to make grants to public or nonprofit private entities and to enter into
contracts with public or private entities and individuals to provide the training for personnel to carry out
family planning service programs described in section 1001 or 1002 of this title.
     (b) For the purpose of making payments pursuant to grants and contracts under this section, there are
authorized to be appropriated $2,000,000 for the fiscal year ending June 30, 1971; $3,000,000 for the
fiscal year ending June 30, 1972; $4,000,000 for the fiscal year ending June 30, 1973; $3,000,000 each
for the fiscal years ending June 30, 1974 and June 30, 1975; $4,000,000 for fiscal year ending 1976;
$5,000,000 for the fiscal year ending September 30, 1977; $3,000,000 for the fiscal year ending
September 30, 1978; $3,100,000 for the fiscal year ending September 30, 1979; $3,600,000 for the fiscal
year ending September 30, 1980; $4,100,000 for the fiscal year ending September 30, 1981; $2,920,000
for the fiscal year ending September 30, 1982; $3,200,000 for the fiscal year ending September 30, 1983;
$3,500,000 for the fiscal year ending September 30, 1984; and $3,500,000 for the fiscal year ending
September 30, 1985.




                                                RESEARCH
SEC. 1004 [300a-2]
The Secretary may -
     (1) conduct, and
     (2) make grants to public or nonprofit private entities and enter into contracts with public or private
entities and individuals for projects for, research in the biomedical, contraceptive development, behavioral,
and program implementation fields related to family planning and population.




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                   INFORMATIONAL AND EDUCATIONAL MATERIALS
SEC. 1005 [300a-3]
    (a) The Secretary is authorized to make grants to public or nonprofit private entities and to enter into
contracts with public or private entities and individuals to assist in developing and making available family
planning and population growth information (including educational materials) to all persons desiring such
information (or materials).
    (b) For the purpose of making payments pursuant to grants and contracts under this section, there are
authorized to be appropriated $750,000 for the fiscal year ending June 30, 1971; $1,000,000 for the fiscal
year ending June 30, 1972; $1,250,000 for the fiscal year ending June 30, 1973; $909,000 each for the
fiscal years ending June 30, 1974, and June 30, 1975; $2,000,000 for fiscal year 1976; $2,500,000 for
the fiscal year ending September 30, 1977; $600,000 for the fiscal year ending September 30, 1978;
$700,000 for the fiscal year ending September 30, 1979; $805,000 for the fiscal year ending September
30, 1980; $926,000 for the fiscal year ending September 30, 1981; $570,000 for the fiscal year ending
September 30, 1982; $600,000 for the fiscal year ending September 30, 1983; $670,000 for the fiscal
year ending September 30, 1984; and $700,000 for the fiscal year ending September 30, 1985.




                                 REGULATIONS AND PAYMENTS
SEC. 1006 [300a-4]
     (a)Grants and contracts made under this subchapter shall be made in accordance with such regulations
as the Secretary may promulgate. The amount of any grant under any section of this title shall be determined
by the Secretary; except that no grant under any such section for any program or project for a fiscal year
beginning after June 30, 1975, may be made for less than 90 per centum of its costs (as determined under
regulations of the Secretary) unless the grant is to be made for a program or project for which a grant was
made (under the same section) for the fiscal year ending June 30, 1975, for less than 90 per centum of its
costs (as so determined), in which case a grant under such section for that program or project for a fiscal
year beginning after that date may be made for a percentage which shall not be less than the percentage
of its costs for which the fiscal year 1975 grant was made.
     (b)Grants under this title shall be payable in such installments and subject to such conditions as the
Secretary may determine to be appropriate to assure that such grants will be effectively utilized for the
purposes for which made.
     (c)A grant may be made or contract entered into under section 1001 or 1002 for a family planning
service project or program only upon assurances satisfactory to the Secretary that--
         (1) priority will be given in such project or program to the furnishing of such services to persons
from low-income families; and
         (2) no charge will be made in such project or program for services provided to any person from
a low-income family except to the extent that payment will be made by a third party (including a
government agency) which is authorized or is under legal obligation to pay such charge.

For purposes of this subsection, the term ''low-income family'' shall be defined by the Secretary in




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accordance with such criteria as he may prescribe so as to insure that economic status shall not be a
deterrent to participation in the programs assisted under this title.
    (d)(1) A grant may be made or a contract entered into under section 1001 or 1005 only upon
assurances satisfactory to the Secretary that informational or educational materials developed or made
available under the grant or contract will be suitable for the purposes of this title and for the population or
community to which they are to be made available, taking into account the educational and cultural
background of the individuals to whom such materials are addressed and the standards of such population
or community with respect to such materials.
    (2) In the case of any grant or contract under section 1001, such assurances shall provide for the
review and approval of the suitability of such materials, prior to their distribution, by an advisory committee
established by the grantee or contractor in accordance with the Secretary's regulations. Such a committee
shall include individuals broadly representative of the population or community to which the materials are
to be made available.




                                   VOLUNTARY PARTICIPATION
SEC. 1007 [300a-5]
The acceptance by any individual of family planning services or family planning or population growth
information (including educational materials) provided through financial assistance under this title (whether
by grant or contract) shall be voluntary and shall not be a prerequisite to eligibility for or receipt of any other
service or assistance from, or to participation in, any other program of the entity or individual that provided
such service or information.




                                        PROHIBITION OF ABORTION
               1
SEC. 1008 [300a-6]
None of the funds appropriated under this title shall be used in programs where abortion is a method of
family planning.




    1
        Section 1009 was repealed by section 601(a)(1)(G) of Public Law 105-362 (112 Stat. 3285).




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DEPARTMENT OF HEALTH AND                     and 59.11. Technical corrections were          planning services and to provide
HUMAN SERVICES                               proposed to 59.2, 59.5(a)(4), 59.5(a)(5),      consultation for medical services related
                                             59.5(a)(6), 59.5(a)(7), 59.5(a)(11),           to family planning; clarifying the intent
42 CFR Part 59                               59.5(b)(3), 59.6(b)(2), 59.8, and 59.12.       of community education; clarifying the
RIN 0937–AA11                                HHS received comments on all of the            purpose and responsibilities of the
                                             revisions proposed in the NPRM, except         Information and Education Advisory
Ensuring Access to Equitable,                the revision to 59.11. In addition, the        Committee; including referral for
Affordable, Client-Centered, Quality         Department received comments on three          primary healthcare providers;
Family Planning Services                     of the 10 technical corrections,               expanding the grant review criteria to
                                             including the technical corrections to         address equity; including language to
AGENCY: Office of the Assistant              59.5(a)(4), 59.5(a)(5), and 59.12.             safeguard client confidentiality; and
Secretary for Health, Office of the             Based on the comments received in           removing the list of other applicable
Secretary, Department of Health and          response to the NPRM, the Department           regulations from the regulatory text.
Human Services (HHS).                        adopts eight of the revisions initially           The Secretary of the Department of
ACTION: Final rule.                          proposed in the NPRM and nine of the           Health and Human Services (the
                                             technical corrections initially proposed       Secretary) issues the below regulations
SUMMARY: The Office of Population            in the NPRM as final without additional        establishing requirements for recipients
Affairs (OPA) in the Office of the           changes. This includes the revisions to        of family planning services grants under
Assistant Secretary for Health issues        59.5(a)(3), 59.5(a)(8), 59.5(a)(9),            section 1001 of the Public Health
this final rule to revise the regulations    59.5(b)(3), 59.5(b)(8), 59.6, 59.7, and        Service (PHS) Act, 42 U.S.C. 300. The
that govern the Title X family planning      59.11. This also includes the technical        rules below adopt, with the
program (authorized by Title X of the        corrections to 59.2, 59.5(a)(4), 59.5(a)(5),   modifications described above, the
Public Health Service Act) by                59.5(a)(6), 59.5(a)(7), 59.5(a)(11),           regulations proposed for public
readopting the 2000 regulations, with        59.5(b)(3), 59.6(b)(2), and 59.8. Further,     comment on April 15, 2021 at 86 FR
several revisions to ensure access to        based on the comments received in              19812. They accordingly revoke the
equitable, affordable, client-centered,      response to the NPRM and a                     2019 final rule, Compliance with
quality family planning services for         subsequent, new interpretation by the          Statutory Program Integrity
clients, especially low-income clients.      Department since the NPRM was issued,          Requirements, promulgated on March 4,
The effect of this 2021 final rule is to     the final rule includes nine additional        2019 (84 FR 7714).
revoke the requirements of the 2019          revisions and six additional technical
regulations, including removing              corrections to what was proposed in the        Table of Contents
restrictions on nondirective options         NPRM. The nine revisions include (a)           I. Background
counseling and referrals for abortion        additional modifications to four of the        II. Public Comment and Departmental
services and eliminating requirements        provisions initially revised in the NPRM             Response
for strict physical and financial            (59.2, 59.5(a)(1), 59.5(b)(1), and 59.10);        i. General Comments Related To Revoking
separation between abortion-related          (b) additional modifications to one of               2019 Regulations and Readopting the
                                             the provisions with a technical                      2000 Regulations
activities and Title X project activities,                                                     A. Compliance With Section 1008 (42
thereby reversing the negative public        correction in the NPRM (59.5(a)(4)); (c)             U.S.C. 300a–6)
health consequences of the 2019              removal of three of the revised                   B. Data on Negative Public Health
regulations. OPA also makes several          provisions in the NPRM (59.5(a)(12),                 Consequences of 2019 Rule
revisions to the 2000 regulations to         59.5(a)(13), and 59.12); and (d) revisions        C. Grantee and Subrecipient Compliance
increase access to equitable, affordable,    to one provision not originally proposed          D. Application of Conscience Statutes to
client-centered, quality family planning     for revision in the NPRM (59.5(b)(6)).               Title X
                                             The six additional technical corrections          E. Options Counseling
services.
                                             include minor clarifications to 59.2,             F. Subrecipient Nondiscrimination
DATES: This rule is effective November                                                         G. Other Comments
8, 2021.                                     59.5(a)(1), 59.5(a)(4), and 59.6 and two
                                                                                               ii.Comments Regarding Proposed
                                             technical corrections to 59.5(b)(7) and
FOR FURTHER INFORMATION CONTACT:                                                                  Revisions and Technical Corrections to
                                             59.7 to reflect inclusive language.                  the 2000 Regulation
Jessica Swafford Marcella, Deputy               Detailed descriptions of all revisions,
Assistant Secretary for Population                                                             A. § 59.2. Definitions
                                             modifications, and technical corrections          B. § 59.5(a)(1). Broad Range of Acceptable
Affairs, Office of Population Affairs,       are included later in this final rule. In            and Effective Medically Approved
Office of the Assistant Secretary for        addition to revoking the 2019 rule, this             Family Planning Methods and Services
Health, Department of Health and             final rule includes the following                 C.§ 59.5(a)(3). Services are Client-
Human Services, 200 Independence             revisions to the 2000 rule: Adding                   Centered, Culturally and Linguistically
Avenue SW, Washington, DC 20201;             several new definitions; requiring sites             Appropriate, Inclusive, and Trauma-
email: Jessica.marcella@hhs.gov.             that do not offer a broad range of                   Informed; Protect the Dignity of the
                                                                                                  Individual; and Ensure Equitable and
SUPPLEMENTARY INFORMATION: As                contraceptive methods on-site to                     Quality Service Delivery Consistent With
described in the 2021 Notice of              provide a prescription to the client for             Nationally Recognized Standards of Care
Proposed Rulemaking (NPRM) (86 FR            their method of choice or referrals, as           D. § 59.5(a)(4). Services Do Not
19812, April 15, 2021), the Department       requested; requiring that family                     Discriminate Against any Client Based
proposed to revoke the 2019 Title X          planning services be client-centered,                on Religion, Race, Color, National
regulations (84 FR 7714, March 4, 2019)      culturally and linguistically                        Origin, Disability, Age, Sex, Sexual
and readopt the 2000 regulations (65 FR      appropriate, inclusive, trauma-                      Orientation, Gender Identity, Sex
41270, July 3, 2000) with 14 revisions       informed, and capable of ensuring                    Characteristics, Number of Pregnancies,
                                             equitable and quality service delivery;              or Marital Status
and 10 technical corrections. Revisions
                                                                                               E.§ 59.5(a)(8). Charges for Services With a
were proposed to 59.2, 59.5(a)(1),           clarifying requirements around billing
                                                                                                  Schedule of Discounts
59.5(a)(3), 59.5(a)(8), 59.5(a)(9),          practices and income verification;                F. § 59.5(a)(9). Reasonable Measures To
59.5(a)(12), 59.5(a)(13), 59.5(b)(1),        enabling a broader range of clinical                 Verify Client Income
59.5(b)(3), 59.5(b)(8), 59.6, 59.7, 59.10,   service providers to direct family                G. § 59.5(a)(12). State Reporting Laws




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   H. § 59.5(a)(13). Subrecipient Monitoring     clients, including age of their sexual        Experience under the 2019 rule has only
   I. § 59.5(b)(1) Provide Medical Services      partners and specific actions taken to        underscored these concerns. Based on
      Related to Family Planning                 encourage family participation.               that experience—which was not and
   J. § 59.5(b)(3) Community Education,             In the 2019 rule, the Department           could not have been available to the
      Participation, and Engagement
                                                 stated that it ‘‘believes the provisions of   Department at the time the 2019 rule
   K. § 59.5(b)(6) Services Under Direction of
      Clinical Services Provider                 this final rule provide much needed           was promulgated—we have determined
   L. § 59.5(b)(8) Coordination and Use of       clarity regarding the Title X program’s       that the 2019 rule has led to a diversion
      Referrals and Linkages                     role as a family planning program that        of funds from the core purpose of Title
   M. § 59.6 Suitability of Informational and    is statutorily forbidden from paying for      X: To provide a broad range of family
      Educational Material                       abortion and funding programs/projects        planning services. Those funds are now
   N. § 59.7 Grant Review Criteria               where abortion is a method of family          being spent on increased infrastructure
   O. § 59.10. Confidentiality                   planning. The Department believes that        costs resulting from the separation
   P. § 59.12 Other Applicable Regulations       the 2000 regulations fostered an
III. Regulatory Impact Analysis
                                                                                               requirement as well as the micro-level
                                                 environment of ambiguity surrounding          monitoring and reporting now required
   i. Introduction
                                                 appropriate Title X activities.’’ 84 FR at    of grantees. None of these burdensome
   ii.Summary of Costs, Benefits, and
      Transfers                                  7721 (March 24, 2019). This belief about      additional requirements provide
   iii. Comments on the Preliminary              the ambiguity, however, lacked any            discernible compliance benefits,
      Economic Analysis and Our Responses        specific evidence. OPA closely monitors       particularly not to public health, and in
   iv. Summary of Changes                        Title X grantee compliance through            some instances they are inconsistent
   v. Final Economic Analysis of Impacts         regular grant reports, compliance             with nationally recognized standards of
IV. Environmental Impact                         monitoring visits, and legally required       care.
V. Paperwork Reduction Act                       audits, and it has done so since the
VI. 2021 Final Rule Regulatory Text                                                              The significant negative public health
                                                 beginning of the program. Close
                                                                                               consequences of the March 4, 2019 rule
I. Background                                    oversight of Title X grantees for decades
                                                                                               have become clear over the past two
                                                 uncovered no misallocation of Title X
   As discussed in the NPRM (86 FR                                                             years, and the rule was extremely
                                                 funds by grantees. OPA oversight did
19812, April 15, 2021), in 2019, the                                                           controversial from the beginning. The
                                                 identify occasional instances where
Secretary issued a final rule for the Title                                                    rule was immediately challenged in
                                                 grantees were in need of updating their
X program titled Compliance with                                                               several district courts by 22 states and
                                                 written policies to clearly reflect the
Statutory Program Integrity                                                                    the District of Columbia, the American
                                                 Title X statutory language, but OPA
Requirements, which substantially                                                              Medical Association, Title X grantee
                                                 never found any instance where
revised the longstanding polices and                                                           organizations, and individual grantees,
                                                 grantees were co-mingling funds with
interpretations defining what abortion-                                                        with support from major medical
                                                 activities not allowed under the statute
related activities were permissible                                                            organizations, including the American
                                                 or regulations.
under the program, given Title X’s                  In response to concerns that the 2019      College of Obstetricians and
statutory prohibition on abortion                rule imposed undue and improper               Gynecologists, the American Academy
services. That statutory prohibition,            restrictions on grantees, the Department      of Pediatrics, the American Academy of
section 1008 (42 U.S.C. 300a–6),                 recently conducted a fresh review of the      Family Physicians, the Society for
provides that ‘‘[n]one of the funds              factual assertions that accompanied that      Adolescent Health and Medicine, and
appropriated under this title shall be           rule. In particular, the Department           the Society for Maternal-Fetal Medicine.
used in programs where abortion is a             carefully reviewed over 30 Government         The 2019 rule was ultimately upheld by
method of family planning.’’ The 2000            Accountability Office (GAO), Office of        an en banc Court of Appeals for the
regulations, which were in effect prior          the Inspector General (OIG), and              Ninth Circuit and enjoined (only as to
to the 2019 regulations and which                Congressional Research Service (CRS)          the state of Maryland) by a district court
reflected compliance standards that had          reports involving the Title X program         in Maryland in a decision upheld by the
been in effect for nearly the entirety of        from 1975 to 2021. Directly                   en banc Court of Appeals for the Fourth
the Title X program, had been widely             contradicting the factual assertions          Circuit. Both court of appeals decisions
accepted by grantees, had enabled the            accompanying the 2019 rule, that recent       were issued over substantial dissents. In
Title X program to operate successfully,         review found only minor compliance            California v. Azar, 950 F.3d 1067 (9th
and had not resulted in any litigation.          issues with grantees—and those only in        Cir. 2020), the Ninth Circuit relied
   The rules issued on March 4, 2019 (84         two GAO reports from the 1980s. Those         heavily on Rust v. Sullivan, 500 U.S.
FR 7714): (1) Required strict physical           two reports recommended only more             173 (1991) in upholding the rule. A
and financial separation between                 specific guidance, not a substantial          majority of the en banc panel found,
abortion-related activities and Title X          reworking of the regulations. See, e.g.,      consistent with Rust, that the
project activities, (2) required significant     Comp. Gen. Rep. No GAO/HARD–HRD–              Department ‘‘could’’ interpret section
reporting by Title X grantees in grant           82–106 (1982), at 14–15; 65 FR 41270,         1008 as it did in the 2019 rule, and that
applications and required reports about          41272 (July 3, 2000). While those forty-      nothing in subsequent legislation
all subrecipients, referral agencies, or         year-old reports found some confusion         prevented this reading. Id. at 1085. The
other partners who receive Title X               among grantees around section 1008,           Ninth Circuit upheld the rule against an
funds, (3) removed the requirement for           ‘‘GAO found no evidence that Title X          arbitrary and capricious challenge,
pregnancy options counseling upon                funds had been used for abortions or to       stating ‘‘that the new policy is
request and permitted nondirective               advise clients to have abortions.’’ Since     permissible under the statute, that there
counseling only by an advanced                   those reports, there has been no              are good reasons for it, and that the
practice provider, (4) prohibited Title X-       evidence of compliance issues regarding       agency believes it to be better.’’ Id. at
funded entities from referring for               section 1008 by Title X grantees that         1097 (emphasis in original). Conversely,
abortion, while requiring referral for           would justify the greatly increased           a majority of the Fourth Circuit found
prenatal care, regardless of a client’s          compliance costs for grantees and             the Department’s 2019 rule arbitrary and
request, and (5) required providers to           oversight costs for the federal               capricious. Mayor of Baltimore v. Azar,
maintain detailed records on adolescent          government the 2019 rule required.            973 F.3d 258 (4th Cir. 2020). The Fourth




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Circuit also held that the 2019 rule                   need to make and carry out fully                        clients, adolescent clients, lower-
violated an annual appropriations rider                informed decisions about their                          income individuals, and those without
requiring nondirective counseling, the                 reproductive health. Our providers’                     insurance—all outcomes directly
non-directive mandate.1                                ethical and professional responsibilities               attributable to the 2019 rule. Most
   Losing parties in both cases sought                 do not allow this.’’ Although it might                  concerningly, there are six states that
review from the Supreme Court in                       have been possible, at the time the 2019                formerly had Title X services that
October of 2020. The Court granted                     rule was promulgated, to predict that                   currently have no Title X services
certiorari on February 22, 2021,                       providers would withdraw, any such                      available (HI, ME, OR, UT, VT, and WA)
consolidating the cases. No. 20–429. On                prediction would have been uncertain.                   and seven states with Title X services
March 12, 2021, the parties stipulated to              That so many providers did in fact                      available on a very limited basis (AK,
dismiss the cases under Supreme Court                  withdraw from the program is a change                   CT, IL, MA, MN, NH, and NY). The
Rule 46.1.                                             in circumstances that, in the                           Department believes that these stark
   While courts and judges were split on               Department’s view, demands                              facts, which became clear only after the
the ultimate legality of the 2019 rule,                reconsideration of the 2019 rule.                       promulgation of the 2019 rule, justify
evidence of the negative public health                    In addition to the grantees that                     reconsideration of that rule.
consequences of the rule quickly                       withdrew from Title X completely,                          To ensure continuity of services and
became clear, and significant. After the               many other grantees that continued to                   maintain a safe environment for clients
implementation of the 2019 rule, 19                    receive Title X funding had                             and staff during the pandemic, Title X
Title X grantees out of 90 total grantees              subrecipients and service sites within                  providers followed guidance issued by
withdrew from the program. The 19                      their existing networks withdraw from                   the Centers for Disease Control and
grantees that withdrew from the Title X                the program. Overall, 19 grantees,                      Prevention (CDC), OPA, and others to
program included 11 State Departments                  including 231 subrecipients and 945                     manage supply and staffing shortages,
of Health and independent Family                       service sites, withdrew from the Title X                and they implemented creative
Planning Associations and eight                        program shortly after the rule took                     strategies tailored to their circumstances
Planned Parenthood organizations.2                     effect. Additionally, 18 grantees that                  and clientele (virtual telehealth, for
   These organizations made clear to the               continued in the program reported                       example). Despite these efforts, in 2020
Department in formal correspondence                    losses to their service network (i.e.,                  vs. 2019, Title X had 193 fewer
that they relinquished their grants out of             exiting subrecipients) because of the                   subrecipients (867 vs. 1,060) and 794
concern that the 2019 rule interfered                  2019 final rule. As a result, the Title X               fewer service sites (3,031 vs. 3,825). The
with the patient-provider relationship                                                                         decrease in the size of the Title X
                                                       program provided services to 844,083
and compromised their ability to                                                                               service network appears to have
                                                       fewer clients in 2019 compared to
provide quality healthcare to all clients.                                                                     substantially reduced the availability of
                                                       2018.3 Comparing Family Planning
One organization commented that ‘‘the                                                                          and, consequently, access to Title X
                                                       Annual Report (FPAR) data for 2018 and
Final Rule makes it impossible for us to                                                                       services. In 2020, Title X served 1.6
                                                       2019, OPA estimates that 94% (or
provide healthcare and information to                                                                          million fewer family planning users
                                                       789,960) of the total decrease (844,083)
patients consistent with medical ethics                                                                        than in 2019 (1.5 million vs. 3.1
                                                       in clients can be attributed to the 2019
and evidence-based standards of care.’’                                                                        million), and Title X service sites
Another organization stated that the                   rule. A total of 41 states and two
                                                       territories saw a decrease in clients                   delivered care to 302 fewer users per
2019 rule ‘‘would fundamentally                                                                                site (507 vs. 809). Furthermore, in 2020,
compromise the relationship our                        served in 2019 compared to 2018. Of
                                                       those, seven saw a decline of more than                 Title X conducted almost 2.0 million
patients have with us as trusted                                                                               fewer family planning encounters than
providers of this most personal and                    40 percent in clients served (AK, HI,
                                                       MD, UT, VT, WI, and WV), seven saw                      in 2019 (2.7 million vs. 4.7 million).
private healthcare.’’ Another                                                                                  While the 2020 data undoubtedly reflect
organization said that ‘‘the new                       a decline of 31–40 percent (CA, CT, ME,
                                                                                                               the public health emergency related to
regulations interfere with a healthcare                MN, NH, NM, and NY), seven saw a
                                                                                                               the COVID–19 pandemic, the pattern of
provider’s ability to provide healthcare               decline of 21–30 percent (AZ, IL, MA,
                                                                                                               the losses in the program initiated by
in accordance with accepted standards                  MT, NJ, OR, and WA), seven saw a
                                                                                                               the 2019 rule was exacerbated in 2020
of care for reproductive health.’’ Still               decline of 11–20 percent (IA, IN, MI,
                                                                                                               for an already disrupted and weakened
another said, ‘‘these new rules require                OH, PA, VA, and the Marshall Islands),
                                                                                                               network.
our providers to deprive their patients                nine saw a decline of 5–10 percent (AL,                    Of additional concern, the 2019 rule
of the information and services they                   AR, KY, NE, NC, ND, SC, TN, and WY),                    has had a disproportionate impact on
                                                       and six saw a decline of five percent or                low-income clients, who are precisely
   1 Both circuit courts also differed on the          less (DE, CO, LA, OK, SD, and the U.S.                  the population that the Title X program
permissibility of the rule under section 1554 of the   Virgin Islands). Only nine states, six                  was established to serve. The 2019 rule
Affordable Care Act.                                   territories and the District of Columbia                has significantly decreased the number
   2 Withdrawn grantees included (1) Family
                                                       saw their number of clients served stay                 of low-income, uninsured, and racial
Planning Association of Maine, Inc., (2) Hawaii
Department of Health, (3) Health Imperatives, Inc.     the same (FL, KS, MO, RI, and TX)                       and ethnic minorities accessing Title X
(MA), (4) Illinois Department of Health, (5)           between 2018 and 2019 (±1%) or                          services. Following implementation of
Maryland Department of Health, (6) Massachusetts       increase (GA, ID, MS, NV, six territories,              the 2019 rule, 573,650 fewer clients
Department of Public Health, (7) Oregon Health
Authority, (8) Planned Parenthood Association of
                                                       and DC), with the majority experiencing                 under 100 percent of the federal poverty
Utah, (9) Planned Parenthood Minnesota, North          a small annual increase of between 70                   level (FPL); 139,801 fewer clients
Dakota, South Dakota, (10 & 11) Planned                to 3,000 clients. Minor fluctuations                    between 101 percent FPL to 150 percent
Parenthood of Great Northwest & the Hawaiian           notwithstanding, 789,960 fewer clients
Islands (two separate grants), (12) Planned                                                                    FPL; 65,735 fewer clients between 151
Parenthood of Greater Ohio, (13) Planned
                                                       were served, which had a                                percent FPL and 200 percent FPL; and
Parenthood of Illinois, (14) Planned Parenthood of     disproportionate impact on minority                     30,194 fewer clients between 201
Northern New England, (15) Planned Parenthood of                                                               percent FPL to 250 percent FPL received
Southern New England, (16) Public Health                  3 (OPA, 2020). Family Planning Annual Report:

Solutions (NY), (17) New York Department of            2019 National Summary Report. Accessed on March
                                                                                                               Title X services. This contradicts the
Health, (18) Vermont Agency of Human Services,         9, 2021 from https://opa.hhs.gov/sites/default/files/   purpose and intent of the Title X
and (19) Washington State Department of Health.        2020-09/title-x-fpar-2019-national-summary.pdf.         program, which is to prioritize and




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increase family planning services to                    First, OPA issued competitive               family planning clinic consider it their
low-income clients. Additionally,                       supplemental funding of $33.7 million       usual source of medical care.6
324,776 fewer uninsured clients were                    to 50 existing Title X grantees in fiscal      While some family planning
served in 2019 compared to 2018. FPAR                   year 2019 to expand their Title X           providers that withdrew from the Title
data also demonstrate that in 2019                      services. Unfortunately, even with the      X program were able to continue
compared to 2018, 128,882 fewer Black                   additional funding, the majority of         providing reproductive health services
or African Americans; 50,039 fewer                      states were not able to increase the        at some level in the absence of Title X
Asians; 6,724 fewer American Indians/                   number of service sites in their Title X    funding, the services provided were not
Alaska Natives; 7,218 fewer Native                                                                  the same as those provided under Title
                                                        networks. From 2018 to 2020, 38 states
Hawaiians/Pacific Islanders; and                                                                    X. Grantees that relinquished their Title
                                                        and territories saw a decrease in the
269,569 fewer Hispanics/Latinos                                                                     X funding at the time made clear that
                                                        number of service sites in their            they were not able to provide the same
received Title X services.4 Additionally,
151,375 fewer adolescent clients                        networks, 12 saw no change in their         breadth of services as they had been
received essential family planning                      number of service sites, and only nine      able to under Title X and were not able
services in 2019. The Department                        saw an increase in the number of service    to provide services using the same
believes these new facts warrant a                      sites. Analyzing users between 2018–        schedule of discounts as required in the
reconsideration of the 2019 rule.                       2020 for those nine states that gained      Title X program. According to several
   The mandate of the Title X program                   service sites, six still lost users (WV,    comments received, the loss of Title X
is to support access to critical family                 AZ, DE, NE, CO, and TX) while three         funding meant that organizations had to
planning and preventive health services;                gained users (GA, NV, and Palau). Next,     adjust their fee schedules and push
unfortunately, the result of the 2019 rule              OPA issued a competitive funding            more costs for services to the clients. As
ran counter to that effort. The 2019 rule               announcement in fiscal year 2020 to         a result, organizations saw more clients
undermined the mission of the Title X                   recruit new grantees to provide Title X     forgoing recommended tests, lab work,
program by helping fewer individuals in                 services in unserved or underserved         STI testing, clinical breast exams, and
planning and spacing births, providing                  states and communities. The number of       pap tests. Further, due to costs,
fewer preventive health services, and                   applications received was so low (eight     organizations saw some family planning
delivering fewer screenings for sexually                eligible applications received) that the    clients outside of the Title X network
transmitted infections (STIs). More                                                                 choose less effective methods of birth
                                                        resulting grant awards were for less than
specifically, in 2019 compared to 2018,                                                             control.
                                                        the total amount of funding available
225,688 fewer clients received oral                                                                    The 2019 rule abandoned major
contraceptives; 49,803 fewer clients                    (grant awards for $8.5 million with $20
                                                                                                    portions of Providing Quality Family
received hormonal implants; and 86,008                  million available), and OPA was only
                                                                                                    Planning Services: Recommendations
fewer clients received intrauterine                     able to fund grantees to provide services
                                                                                                    from Centers for Disease Control and
devices (IUDs). Additionally, 90,386                    in three states with no or limited Title
                                                                                                    Prevention and the U.S. Office of
and 188,920 fewer Papanicolaou (Pap)                    X services at the time.
                                                                                                    Population Affairs (QFP),7 such as
tests and clinical breast exams,                           The lack of organizations applying for   nondirective options counseling and
respectively, were performed in 2019                    Title X grant funding following             referrals, and the client-centered
compared to 2018. Confidential human                    implementation of the 2019 rule and the     approach recommended by QFP, over
immunodeficiency virus (HIV) tests                      lack of new service sites willing to join   the objection of every major medical
decreased by 276,109. STI testing                       existing Title X grantees as providers      organization and without any
decreased by 256,523 for chlamydia, by                  strongly suggest that the Department        countervailing public health rationale.
625,802 for gonorrhea, and by 77,524 for                was wrong to believe that the 2019 rule     QFP recommendations support
syphilis. Furthermore, 71,145 fewer                     would increase the number of grantees       providers in delivering quality family
individuals who were pregnant or                        and providers. Rather, the 2019 rule        planning services and define family
sought pregnancy were served.5                                                                      planning services within a broad
                                                        appears to have had the opposite effect
   In the 2019 rule, the Department                                                                 context of preventive services, to
                                                        and resulted in a significant loss of
stated that the rule was ‘‘expected to                                                              improve health outcomes for
increase the number of entities                         grantees, subrecipients, and service
                                                        sites, and close to one million fewer       individuals and their (future) children.
interested in participating in Title X as                                                           QFP recommendations are based on a
grantees or subrecipient service                        clients served from 2018 to 2019. The
                                                        Department believes that this record        rigorous, systematic, and transparent
providers and, thereby, to increase                                                                 review of the evidence and were
patient access to family planning                       warrants a change in course.
                                                                                                    developed with input from a broad
services focused on optimal health                         The decline in clients served and
                                                                                                    range of clinical experts, OPA, and the
outcomes for every Title X client.’’ 84                 services provided is devastating. The       CDC. These recommendations not only
FR at 7782 (March 24, 2019). However,                   Title X program is the only federal grant   improve the quality of care provided to
this expectation proved unwarranted.                    program dedicated to providing              family planning clients, but they foster
Despite several attempts, OPA has been                  comprehensive family planning and           a supportive and communicative
unable to recruit new grantees and new                  related preventive health services. Title   relationship between provider and
providers into the Title X program to fill              X clinics provide services to clients,      patient. As evident from grantee
the current gaps in services resulting                  with priority given to persons from low-    relinquishment letters and comments
from implementation of the 2019 rule.                   income families. Title X services are
                                                                                                      6 Frost, J., Gold., Hasstedt, K., & Sonfield, A.
  4 (OPA, 2020). Family Planning Annual Report:
                                                        voluntary, confidential, and provided
                                                                                                    (2014). Moving Forward: Family Planning in the Era
2019 National Summary Report. Accessed on March         regardless of one’s ability to pay. For     of Health Reform. New York: Guttmacher Institute.
9, 2021 from https://opa.hhs.gov/sites/default/files/   many clients, Title X clinics are their       7 CDC. (2014). Providing Quality Family Planning
2020-09/title-x-fpar-2019-national-summary.pdf.         only ongoing source of healthcare and       Services—Recommendations from CDC and the
   5 (OPA, 2020). Family Planning Annual Report:                                                    U.S. Office of Population Affairs. Accessed on
                                                        health education. In fact, six in 10
2019 National Summary Report. Accessed on March                                                     March 8, 2021 from https://opa.hhs.gov/grant-
9, 2021 from https://opa.hhs.gov/sites/default/files/   women who go to a publicly funded           programs/title-x-service-grants/about-title-x-service-
2020-09/title-x-fpar-2019-national-summary.pdf.                                                     grants/quality-family-planning.




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received in response to the 2021 NPRM,           thousands of clients, especially for the     was underscored by 59.7(b) requiring
abandoning major portions of this                low-income clients Title X was               applicants to ‘‘clearly address how the
approach has damaged the patient-                specifically created to serve. The 2019      proposal will satisfy the requirements of
provider relationship. Moreover, the             rule decreased the number of providers       the regulation,’’ before even proceeding
2019 rule required prenatal referral even        willing to participate in the Title X        to competitive consideration. Most of
if the patient objected, an approach             program, further reducing access to          the 2019 provisions did not function
which also does not comport with well-           family planning services within states       independently of each other.
accepted public health and clinical care         across the country and in rural and             The Department did initially propose
principles.                                      urban communities alike. The 2019 rule       keeping portions of two provisions from
   On January 28, 2021, President Biden          shifted the Title X program away from        the 2019 rule regarding compliance
issued a ‘‘Memorandum on Protecting              its history of providing client-centered     reporting (59.5(a)(12)) on state sexual
Women’s Health at Home and                       quality family planning services and         abuse notification laws and subrecipient
Abroad.’’ 8 The Memorandum stated                instead set limits on the patient-           monitoring (59.5(a)(13)). As further
that ‘‘[w]omen should have access to the         provider relationship and the                explained below, these provisions
healthcare they need. For too many               information that could be provided to        created administrative costs for grantees
women today, both at home and abroad,            the patient by the provider. The 2019        and the government with no measurable
that is not possible. Undue restrictions         rule resulted in increased costs for         benefits. These provisions, like the
on the use of Federal funds have made            grantee reporting that are unnecessary       entire 2019 rule, depended on
it harder for women to obtain necessary          for ensuring grantee compliance.             assumptions about how the program
healthcare. The Federal Government               Continued enforcement of the 2019 rule       should work and grantee compliance
must take action to ensure that women            raises the possibility of a two-tiered       even with no evidence of grantee non-
at home and around the world are able            healthcare system in which those with        compliance.
to access complete medical information,          insurance and full access to healthcare         Given these considerations, the
including with respect to their                  receive full medical information and         Department has determined that the
reproductive health.’’ The                       referrals, while low-income populations      most appropriate course is to revoke the
Memorandum then instructed the                   and other disproportionately impacted        2019 rule in its totality. Every court to
                                                 communities, such as those in rural          rule on the 2019 rule also believed that
Department to ‘‘review the Title X Rule
                                                 regions, minority clients, and adolescent    all of its provisions were of a piece and
and any other regulations governing the
                                                 clients, are relegated to inferior access.   either struck down or upheld the rule in
Title X program that impose undue
                                                 The populations served by Title X may        its entirety. See, e.g., Mayor of Baltimore
restrictions on the use of Federal funds
                                                 already face health inequities driven by     v. Azar, 973 F3d 258, 292 (4th Cir. 2020)
or women’s access to complete medical
                                                 financial and access barriers to quality     (‘‘Despite the severability clause, the
information and shall consider, as soon
                                                 care that would be exacerbated by            Final Rule is not severable because it is
as practicable, whether to suspend,
                                                 continuing to allow limited or delayed       clear HHS ‘intended the [Final Rule] to
revise, or rescind, or publish for notice
                                                 healthcare choices and biased or             stand or fall as a whole,’ and the agency
and comment proposed rules
                                                 insufficient healthcare information.         desired ‘a single, coherent policy, the
suspending, revising, or rescinding,
                                                 Given that so many individuals depend        predominant purpose of which’ is to
those regulations, consistent with                                                            reinstitute the 1988 Rule.’’).
applicable law, including the                    on the Title X program as their primary
                                                 source of healthcare, the Department            As compared to the 2019 rule, new
Administrative Procedure Act.’’                                                               provisions added to the re-adoption of
   HHS reviewed the 2019 regulations             recognizes that this is a situation that
                                                 must be rectified with urgency in the        the 2000 rule operate independently of
pursuant to the President’s                                                                   each other—and the 2000 rule—to
memorandum. Following this review,               interest of public health and equity.
                                                    Most importantly, in readopting the       enhance the program. Particularly as the
on April 15, 2021, the Department                                                             program operated for decades under the
                                                 2000 rule, this final rule removes the
issued a Notice of Proposed Rulemaking                                                        2000 rule, the 2021 additions are
                                                 strict physical separation requirements
(NPRM) for public comment (86 FR                                                              severable from the 2000 rule. For
                                                 that were imposed on top of existing
19812, April 15, 2021), proposing rules                                                       example, while adding to the statutory
                                                 obligations for separation between
to revise the 2019 regulation by                                                              goals of reaching low-income and
                                                 abortion services and Title X project
essentially readopting the 2000                                                               underserved individuals, if the added
                                                 related activities. It also allows Title X
regulations. 65 FR 41270 (July 3, 2000).         providers to provide truly nondirective      grant evaluation criteria of equity,
The 2000 regulations were consistent             counseling and refer their patients for      59.7(a)(3), was excised, the program
with applicable statutory commands,              all services desired by the client,          could still accomplish its mission
were widely accepted by grantees,                including abortion services. The 2000        successfully using the 2000 criteria
enabled the Title X program to operate           regulations successfully governed the        alone. And, were a court to strike down
successfully, and led to no litigation           Title X program for decades and were         the new income verification measures in
over their permissibility.                       widely accepted by grantees.                 59.5(a)(9), the program would be able to
   Based on the evidence that has                   The 2019 rule imposed an interrelated     accomplish its mission using the 2000
emerged since the adoption of the 2019           set of requirements that are difficult to    criteria alone.
rule, as well as a fresh consideration of        disentangle provision by provision. For         In addition to readopting the
the evidence that existed at the time, the       example, 59.5(a)(5) prohibited funded        requirements as they existed prior to the
negative public health consequences of           projects from providing, promoting,          2019 rule, the 2021 rule also includes
the 2019 rule are clear. The rule                referring, or supporting abortion as a       several revisions that will strengthen the
dramatically reduced access to family            method of family planning. Section           Title X program and ensure access to
planning and preventive health services          59.13 concurrently required assurance        equitable, affordable, client-centered,
that are essential for hundreds of               that a project did not ‘‘include abortion    quality family planning services for all
                                                 as a method of family planning’’ backed      clients, especially for low-income
  8 Available at https://www.whitehouse.gov/
                                                 by documentary evidence of                   clients, while retaining the longstanding
briefing-room/presidential-actions/2021/01/28/
memorandum-on-protecting-womens-health-at-       Subsections 59.14–59.16. The                 prohibition on directly promoting or
home-and-abroad/.                                interrelatedness of these requirements       performing abortion that follows from




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Section 1008’s text and subsequent           II. Public Comment and Departmental          General Comments Related To Revoking
appropriations enactments.                   Response                                     2019 Regulations and Readopting the
   Advancing equity for all, including                                                    2000 Regulations
                                                The Department provided a 30-day
people from low-income families,             public comment period for the proposed       A. Compliance With Section 1008 (42
people of color, and others who have                                                      U.S.C. 300a–6)
                                             rule. That period closed on May 17,
been historically underserved,                                                               Comments: Thousands of comments
                                             2021. A total of 180,266 public
marginalized, and adversely affected by                                                   expressed concern that the program’s
                                             comments were submitted to
persistent poverty and inequality, is a                                                   returning to the 2000 regulations
                                             www.Regulations.gov or directly to the
priority for the Department, for OPA,                                                     violated both the Title X statute and the
and for the Title X program. By focusing     Department.
                                                                                          Court’s holding in Rust v. Sullivan, 500
on advancing equity in the Title X              With this 2021 final rule, the            U.S. 173 (1991). Many comments stated
program, we can create opportunities to      Department revokes the requirements of       referral for abortion ‘‘squarely’’ violated
support communities that have been           the 2019 regulations (84 FR 7714, March      the ‘‘plain’’ ‘‘clear’’ text of section 1008.
historically underserved, which benefits     24, 2019) and readopts the 2000              Many of these same comments also
everyone. The 2021 rule was written to       regulations (65 FR 41270, July 3, 2000)      asserted the statute requires separation
ensure that the predominantly low-           with several revisions. In the section       from abortion activities because they are
income clients who rely on Title X           below, the Department discusses the          programs ‘‘where’’ abortion is a method
services as their usual source of medical    public comments, its responses, and the      of family planning. Both comments
care have access to the same quality         text of the final rules. The Department      believing the 2000 rule to be unlawful,
healthcare, including full medical           first presents a summary of public           and those affirming it to be lawful, cited
information and referrals, that higher-      comments received related to revoking        Rust as well as legislative history in
income clients and clients with private      the 2019 regulation and readopting the       making their arguments.
insurance are able to access. Key            2000 regulation. The Department then            Those opposing the proposed rule
strategies for advancing equity include      provides a summary of comments               also stressed that private organizations
removing barriers to accessing services,     received regarding the revisions and         have no right to federal funding, much
improving the quality of services, and       technical corrections proposed in the        less to federal funding to perform
providing services that are client-                                                       abortions. These comments stated that
                                             NPRM to specific provisions of the 2000
centered. Several revisions in the rule                                                   ‘‘[m]oney is fungible,’’ and reverting to
                                             regulations. The NPRM proposed 14
focus on improving access to services.                                                    the 2000 rule will create so-called
                                             revisions, including to 59.2, 59.5(a)(1),    ‘‘slush funds’’ and infrastructure for
These revisions include clearly defining
                                             59.5(a)(3), 59.5(a)(8), 59.5(a)(9),          organizations to perform abortions in
what constitutes a broad range of            59.5(a)(12), 59.5(a)(13), 59.5(b)(1),
acceptable and effective family planning                                                  violation of section 1008. They also
                                             59.5(b)(3), 59.5(b)(8), 59.6, 59.7, 59.10,   suggested that the 2000 rule lacked any
methods and services, requiring service
                                             and 59.11. The NPRM also proposed 10         mechanism to ensure compliance with
sites not offering a broad range of
                                             technical corrections, including to 59.2,    the statute, and that the NPRM, in fact,
methods on-site to provide a
                                             59.5(a)(4), 59.5(a)(5), 59.5(a)(6),          violates the statute because the
prescription to the client for their
                                             59.5(a)(7), 59.5(a)(11), 59.5(b)(3),         proposed definition of ‘‘family
method of choice or referrals, as
requested, clarifying required billing       59.6(b)(2), 59.8, and 59.12. The             planning’’ includes related ‘‘pregnancy
practices and income verification for        Department received comments on all          counseling’’ which requires referral for
low-income clients, enabling a broader       the revisions proposed in the NPRM and       abortion when requested (59.5(a)(5)).
range of clinical services providers to      three of the 10 technical corrections.       Many comments asserted that revoking
direct Title X services and to provide       The Department did not receive               the 2019 rule would allow grantees to
                                             comments on the revision to 59.11, nor       engage in lobbying and other activities
consultation for medical services, and
                                             to the technical corrections to 59.2,        encouraging abortion that violate
strengthening client confidentiality.
                                             59.5(a)(6), 59.5(a)(7), 59.5(a)(11),         section 1008.
   Several revisions in the 2021 rule                                                        Response: As stated in the NPRM, the
focus on improving quality of Title X        59.5(b)(2), 59.5(b)(3), or 59.8. A
                                             summary of comments and the                  Supreme Court held in Rust: ‘‘[W]e
services. These revisions include clearly                                                 agree with every court to have
defining quality healthcare as safe,         Department’s response are only
                                             provided for those revisions and             addressed the issue that the language is
effective, client-centered, timely,                                                       ambiguous. The language of § 1008—
efficient, and equitable; incorporating      technical corrections that received
                                                                                          that ‘none of the funds appropriated
QFP’s definition of family planning into     comments. In addition, the Department        under this subchapter shall be used in
the regulation; and requiring all family     received public comments requesting a        programs where abortion is a method of
planning services to be delivered            revision to 59.5(b)(6) that was not          family planning’—does not speak
consistent with nationally recognized        proposed in the NPRM, but that is            directly to the issues of counseling,
standards of care. Finally, several          related to the revision that was             referral, advocacy, or program
revisions in the 2021 rule focus on          proposed in the NPRM to 59.5(b)(1). A        integrity.’’ Rust at 184. No court
ensuring client-centered care. These         summary of these comments and the            adjudicating the 2019 rule found that
revisions include clearly defining client-   Department’s response are also included      the separation, referral, or other
centered care as being respectful of, and    below.                                       requirements were required by Rust.
responsive to, individual client                After considering the comments, the       Such a finding would be contrary to the
preferences, needs, and values and           Department adopts the regulations            primary holding in Rust. Counseling for
where client values guide all clinical       proposed for public comment on April         abortion, including referral when
decisions, and requiring all family                                                       requested, has never been held to
                                             15, 2021 at 86 FR 19812 with nine
planning services to be client-centered,                                                  constitute a violation of section 1008.
                                             additional revisions and six additional
culturally and linguistically                                                                Interpreting section 1008 to prohibit
appropriate, inclusive, and trauma-          technical corrections to what was
                                                                                          referrals and require strict separation
informed.                                    proposed in the NPRM.                        would also be inconsistent with nearly




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40 years of agency practice under the         above, the Department employs a                       B. Data on Negative Public Health
program across numerous                       variety of mechanisms to enforce such                 Consequences of 2019 Rule
administrations. Such an interpretation       restrictions, such as regular grant                      Comments: A few comments took
would also appear contrary to decades         reports, compliance monitoring visits,                issue with data presented in the NPRM.
of close Congressional oversight,             third-party audits, compliance                        They stated that the Department used
including annual Title X appropriations       guidance, and grantee education. None                 flawed data and failed to account for the
riders, and a specific annual line item       of these oversight tools have uncovered               effects of COVID–19, instead attributing
appropriation through which Congress          any more than minimal problems with                   the loss of grantees and subrecipients
can be—and has been—quite clear as to         grantee compliance under section 1008.                and the decline in services to the 2019
how the agency should operate.                   The Department also agrees that no                 rule. One comment stated that the
   In readopting the 2000 rule, the           particular private organizations have a               Department does not have data to assess
program is also reinstating                   right to Title X funding. The program is
interpretations and policies under                                                                  the effect of the 2019 rule. Another
                                              returning to the program requirements                 comment argued that the decline in
section 1008 of the statute that were in      in operation for the majority of its
place for much of the program’s history                                                             clients served is the result of a long time
                                              history because those requirements best               decline since the 2000 rule. One of
and published in the Federal Register in      serve individual clients and the public
2000. 65 FR 41281 (July 3, 2000). Those                                                             those same comments reflected the
                                              health. In the wake of the 2019 rule,                 belief that the decline in services is
program policies discuss, for example,        both private organizations and states
the requirements for separation:                                                                    instead related to changes in insurance,
                                              withdrew from the program, leaving                    changes in poverty, and use of the most
‘‘Separation of Title X from abortion         multiple states without any Title X
activities does not require separate                                                                effective contraceptive methods, and
                                              providers and the agency struggling to                that declines have been continuous
grantees or even a separate health            meet its mandate to provide family
facility, but separate bookkeeping                                                                  since 2000.
                                              planning services for low-income                         Some of the comments also took issue
entries alone will not satisfy the spirit     populations in areas of high need.
of the law. Mere technical allocation of                                                            with the Department’s position that the
                                              Though in some places organizations                   withdrawal of grantees from the
funds, attributing federal dollars to non-    and jurisdictions were able to
abortion activities, is not a legally                                                               program in response to the 2019 rule
                                              temporarily provide resources to replace              resulted in a decline in services, as they
supportable avoidance of section 1008.’’
                                              the loss of Title X funds, providers were             stated those services were continued
65 FR at 41282 (July 3, 2000). Also,
                                              not always able to provide the same                   with state and private funds and not
‘‘[w]hile a Title X project may provide
                                              scope of services or seamless care                    discontinued, and the Department’s
a referral for abortion, which may
                                              coordination that Title X projects can                claims of fewer services provided is ‘‘a
include providing a patient with the
                                              provide. Public comments from those                   red herring.’’ The same comment
name, address, telephone number, and
                                              organizations made clear that they were               pointed out the proposed rule noted that
other relevant factual information (such
as whether the provider accepts               not able to provide the same breadth of               seven states saw an increase in clients
Medicaid, charges, etc.) about an             services, nor were they able to provide               after the 2019 rule. Another comment
abortion provider, the project may not        services with the same schedule of                    cited Planned Parenthood data showing
take further affirmative action (such as      discounts for low-income clients.                     that Planned Parenthood provided more
negotiating a fee reduction, making an           The Department disagrees that Title X              services in 2020 compared to 2019 and
appointment, providing transportation)        grant funds allow for the ‘‘creation of               that other providers stepped in to fill
to secure abortion services for the           slush funds’’ or that those funds are                 the gaps in services left when Planned
patient.’’ 65 FR at 41281 (July 3, 2000).     ‘‘fungible.’’ As stated above, the                    Parenthood exited the Title X program.
Finally, while a Title X project may not      Department has multiple methods by                    It cited Ohio as an example and said
advocate for abortion as a method of          which it confirms that grant funds are                that additional clients would be served
family planning, it ‘‘may be a dues           spent for grant purposes, and it has                  post-COVID–19. A final opposing
paying participant in a national abortion     concluded that grantees comply, not just              comment claimed that the number of
advocacy organization, so long as there       with section 1008, but with                           new providers applying for Title X
are other legitimate program-related          Congressional directives and other                    funds increased after the publication of
reasons for the affiliation (such as access   requirements of the program. Again, the               the 2019 rule.
to certain information or data useful to      2019 rule could point to no significant                  In contrast, numerous comments
the Title X project).’’ Id. Interested        compliance issues related to the                      supported the 2021 NPRM and shared
entities are encouraged to consult this       diversion of Title X grant funds, and a               data on the negative impact that the
notice.                                       fresh review of decades of evidence has               2019 rule has had in their states and
   The Department agrees that it is not       uncovered no such issues. A ban on                    communities, reinforcing the
under a duty to subsidize abortion. It        organizations receiving Title X funds for             Department’s statements in the NPRM.
does not do so, and it is prohibited from     lawful activities outside of the Title X              Many of the comments spoke to the
doing so. As discussed in the NPRM,           project would go beyond the 2019 rule                 drastic reduction in clients they were
legislative history and longstanding          and raise serious constitutional issues.              able to serve after the 2019 regulation.
appropriations riders prohibit Title X        And even if such a restriction might                  One comment stated, ‘‘throughout the
funds from being expended on abortion.        conceivably be lawful, the Department                 history of Title X, since its inception in
See, e.g., Consolidated Appropriations        clearly has the discretion to open                    1970, there has never been as sharp a
Act, 2021, Public Law 116–260, Div. H,        eligibility to the most qualified Title X             decline in the number of patients served
sec. 207, 134 Stat. 1182, 1590. More          providers.9                                           by the program as occurred between
generally, Section 507 of the                                                                       2018 and 2019.’’ More than losing
Consolidated Appropriations Act, 2021           9 Zolna, M.R., & Frost, J.J. (2017, August 2).      numbers of clients, numerous comments
prohibits federal funds from being used       Publicly funded family planning clinics in 2015:      spoke to the types of clients they have
                                              Patterns and trends in service delivery practices
for abortion except for cases of rape,        and protocols. Guttmacher Institute. Retrieved from
                                                                                                    not been able to serve and the nature of
incest, or maternal health. Id. at sec.       https://www.guttmacher.org/report/publicly-           services that are being lost because
507. As discussed in the NPRM and             funded-family-planning-clinic-survey-2015.            clients cannot afford those services.




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Several comments noted that the 2019          rule, continuing to adversely impact the        are the exception. From 2018 to 2020,
regulation is disproportionately              communities they serve.                         34 states and territories saw a decrease
impacting rural regions, minority                Response: The Department believes            in the number of service sites in their
clients, adolescent clients, lower-           that the negative public health                 network, 18 saw no real change in their
income individuals, and those without         consequences of the 2019 rule are clear.        number of services sites, and only seven
insurance, particularly in states that        The rule dramatically reduced access to         saw an increase in the number of service
have not expanded Medicaid.                   essential family planning and related           sites. OPA attempted to recruit new
                                              preventive health services for hundreds         grantees to provide Title X services
   Contrary to the comments that              of thousands of clients, especially for
expressed Planned Parenthood affiliates                                                       through a competitive funding
                                              the low-income clients Title X was              opportunity, but OPA only received
were able to provide more services after      specifically created to serve. The 2019
leaving the Title X program, Planned                                                          eight applications and was only able to
                                              rule decreased the number of providers          provide services in three of the states
Parenthood affiliates themselves, in          willing to participate in the Title X
addition to other commenters, indicated                                                       with no or limited Title X services at the
                                              program, further reducing access to             time. Some comments opposing the
that without Title X funding, they have       essential family planning services              2021 NPRM specifically cited Ohio as
had to adjust their sliding fee scales,       within states and communities across            an example of a state that would be able
pushing more costs onto the clients.          the country.                                    to increase clients served post-COVID–
Comments stated that this has resulted           The Department disagrees that the            19. Despite the state health department
in clients forgoing recommended tests,        data cannot distinguish between                 receiving additional funds to provide
lab work, STI testing, clinical breast        enactment of the 2019 rule and the              Title X services following the departure
exams, and Pap tests in large numbers.        pandemic. The 2019 rule officially took         of another grantee, FPAR data from
Further, these comments provided              effect mid-year in 2019, but COVID–19           Ohio, however, do not provide any clear
evidence that some clients are choosing       was not announced as a national
                                                                                              support for this claim and reinforce that
less effective methods of birth control       emergency until early 2020. The
                                                                                              capacity among entities is not
due to costs. Other comments stated that      Department has data to assess the
                                                                                              necessarily equivalent. According to the
the changes in fees have pushed their         impact of the 2019 rule through FPAR
                                                                                              FPAR data from Ohio, the state
clients into seeking care elsewhere,          and grantee progress reports, including
                                                                                              experienced a 10 percent decline in
interrupting their continuity of care.        data on the decrease in the number of
                                                                                              service sites between 2018 and 2020, an
One comment reported that the loss of         clients served in 2019 when the rule
                                                                                              18 percent decline in clients from 2018
Title X funding resulted in loss of           was in place and prior to COVID–19. As
                                              stated in the Background section, 19            to 2019, and a 57 percent decline in
eligibility for the 340B Drug Pricing                                                         clients from 2019 to 2020. While many
Program, requiring the agency to              grantees, 231 subrecipients, and 945
                                              service sites immediately withdrew              states and territories experienced a
dispose of contraceptive methods                                                              decline in clients from 2019 to 2020 due
purchased under the 340B Program and          from the Title X program. As a result,
                                              the Title X program provided services to        to COVID–19, Ohio’s percentage decline
repurchasing them at higher market                                                            in clients from 2019 to 2020 ranked 18th
prices.                                       844,083 fewer clients in 2019 compared
                                              to 2018, prior to the implementation of         in order of states from largest decline to
   The Attorneys General of 22 states                                                         smallest decline. Seventeen states
                                              the 2019 rule, approximately a 22
and the District of Columbia commented                                                        experienced a larger decline in clients
                                              percent decrease. A total of 41 states
that the emergency, one-time,10 and           and two territories saw a decrease in           from 2019 to 2020, and 41 states and
private funding made available to             clients served in 2019 compared to              territories experienced a smaller decline
replace the loss of Title X funding has       2018; five states saw their number of           in clients. The data show that even if
strained state budgets and could not be       clients served stay the same; and four          the same amount of funding is provided
sustained, creating uncertainty for the       states, five territories, and the District of   to a different set of grantees in a given
future of their family planning               Columbia saw an increase in clients             area, it does not necessarily follow that
providers. Additionally, several              served from 2018 to 2019, with the              the same number of clients will be
comments noted that the fundraising           majority experiencing a small annual            served or same number of services will
activities necessitated after leaving the     increase of between 70 to 3,000 clients.        be provided, depending on the
Title X program have come at a cost and       Minor fluctuations notwithstanding,             differences in grantee service capacity.
have resulted in providers having to          844,083 fewer clients were served,              Existing Title X grantees also
scale back or eliminate educational and       disproportionately impacting lower-             experienced great difficulty recruiting
outreach programs in many states. Other       income individuals, minority clients,           new sites and new providers into their
comments noted that it was extremely          adolescent clients, and those without           existing Title X networks under the
burdensome to try to identify and             insurance. There are currently six states       2019 regulations, as evidenced by the
recruit additional providers to fill the      with no Title X services available and          lack of states experiencing an increase
gaps left after the 2019 rule. Many           seven states with Title X services              in their number of service sites. Overall,
commenters expressed strong interest in       available on a very limited basis.              it is clear that the 2019 rule directly
rejoining the Title X network once the        Ultimately, the hundreds of thousands           resulted in a significant loss of grantees,
current rule is replaced. Finally, several    of clients who lost access to Title X           subrecipients, and service sites, and
states reported that while their efforts      services as a result of the 2019 rule lost      close to one million fewer clients served
were refocused on recruiting and              access to critical family planning and          from 2018 to 2019.
onboarding new providers into their           preventive health services. As noted in            While some states and organizations
Title X network under the 2019 rule,          the background, this included declines          were able to provide family planning
they faced much resistance and/or a           in contraceptive services, Pap tests,           and related preventive health services in
lack of interest, and their provider          clinical breast exams, and HIV and STI          the absence of Title X funding, the
networks did not increase under this          testing.                                        comments made clear that they were not
                                                 The Department agrees that a few             providing the full scope of services
  10 States that provided emergency funding   states were able to increase their service      provided under the Title X program,
include CA, MA, MD, NY, OR, WA, and VT.       sites following the 2019 rule, but these        they were not provided following the




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same standards as in Title X, and the        to comply with all Title X regulations,      grantees to provide assurance that their
same schedule of discounts and               suggests that such compliance is no          project does not provide abortion and
subsidies were not applied as required       longer required.’’                           does not include abortion as a method
in the Title X program. Finally, many of        Another comment claimed that the          of family planning. The Department has
the states that provided emergency or        departure of providers from the Title X      explicitly stated in all NOFOs that all
one-time funds, or those organizations       network after the introduction of the        grantees must comply with the Title X
that were able to raise funds privately,     2019 rule confirmed that Title X             statute, regulations, and legislative
indicated through their comments that        funding had been used by those               mandates, and applicants certify in the
they could only do so on a very short-       providers for impermissible purposes.        application materials that they ‘‘[w]ill
term basis, that it was not sustainable      Additionally, the comment claimed that       comply with all applicable requirements
for the long term, and that it came at a     the withdrawal demonstrates an               of all other Federal laws, executive
price—requiring elimination of other         unwillingness to comply with program         orders, regulations, and policies
critical services.                           requirements, and that ‘‘healthcare          governing this program.’’ Additionally,
   Given the data presented in the           providers were accepting Title X             compliance with program statutes and
preamble and the data presented above,       funding for years without complying          appropriations act requirements is
the Department disagrees with the claim      with the statutory requirements of the       included as a standard term of the grant
that Title X services would improve          program.’’                                   award. Therefore, during the application
after COVID–19 (absent a change in the          Response: The Department disagrees        process, and by accepting funds,
2019 rule). The loss in clients served,      with the comments and does not believe       grantees have assured their compliance
the states with no service providers, and    that it is necessary to include language     to the statute, regulations, and
the states with limited service providers    within the Title X regulations stating       legislative mandates.
occurred in 2019 after enactment of the      that the regulations apply equally to          The Department also disagrees with
2019 rule and prior to COVID–19,             grantees and subrecipients because this      the contention that withdrawal of
making it unlikely that the number of        is already a requirement in the HHS          organizations following the 2019 rule
clients served or services provided          grants regulations that apply to Title X     proves that these organizations were
would increase to pre-2019 levels or         grantees. All Title X grantees are subject   non-compliant with the statutory
above without a change to the 2019 rule.     to 45 CFR part 75, Uniform                   requirements. The primary reasons cited
Comparing FPAR data for 2018 (‘‘typical      Administrative Requirements, Cost            by most grantees for withdrawing from
year’’) and 2019 (post 2019 rule but pre-    Principles, and Audit Requirements for       the Title X program after promulgation
COVID), OPA estimates that 94%               HHS Awards. In fact, Title X Notices of      of the 2019 rule was out of concern that
(789,960) of the total decrease (844,083)    Funding Opportunity (NOFOs) state that       the 2019 rule interfered with the
in family planning clients between 2019      successful applicants that accept an         patient-provider relationship and
and 2020 can be attributed to the 2019       award agree that the award and all           compromised their ability to provide
rule. Further comparing FPAR data for        activities under the award are subject to    quality healthcare to all clients. For
2018 (‘‘typical year’’) and 2020 (post-      all provisions of 45 CFR part 75.            certain grantees, the regulation was also
COVID), OPA estimates that 63% (or 1.5       Specifically, 45 CFR 75.352 sets out the     in direct conflict with laws established
million) of the total decrease (2.4          requirements for pass-through entities       by their state.
million) in family planning users            and clearly specifies that ‘‘all pass-         Furthermore, there is no evidence to
between 2018 and 2020 can be                 through entities must (a) ensure that        suggest that the grantees that withdrew
attributed to the final rule. The grantees   every subaward is clearly identified to      from the Title X program had had any
and subrecipients that left the program      the subrecipient as a subaward and           difficulties complying with the Title X
have indicated that they will not return     includes the following information at        statute, regulations, or legislative
to the program under the 2019 rule.          the time of the subaward and if any of       mandates. OPA practices, and practiced
Coupled with the lack of additional          these data elements change, include the      long before the 2019 rule, robust
applicants to the Department’s funding       changes in subsequent subaward               monitoring processes to ensure grantee
opportunity, the Department maintains        modification .............. Required         compliance with the statute and
the decline in access, clients, and          information includes .......... (2) All      regulations, including through regular
services from 2018 levels will continue      requirements imposed by the pass-            grant reports, compliance monitoring
until a new rule is in place.                through entity on the subrecipient so        visits, and legally required audits. As
                                             that the Federal award is used in            stated in the Background section, close
C. Grantee and Subrecipient
                                             accordance with Federal statutes,            oversight of Title X grantees for almost
Compliance                                   regulations and the terms and                two decades under the 2000 rule
  Comments: Several comments                 conditions of the Federal award.’’ Given     uncovered no misallocation of Title X
expressed concern that the 2021 NPRM         that Title X grantees are required to        funds by grantees. OPA oversight did
did not include language from 59.1 in        follow 45 CFR part 75, and since 45 CFR      identify occasional instances over the
the 2019 rule, stating, ‘‘the requirements   part 75 makes clear that all                 years where grantees needed to update
imposed by these regulations apply           requirements of the grant, including         their written policies to clearly reflect
equally to grantees and subrecipients.’’     federal statutes, regulations, and terms     the Title X statutory language, but OPA
Several comments also expressed              and conditions of the federal award,         never found any instance where
concern that the 2021 NPRM did not           apply to all subrecipients, the              grantees were co-mingling funds with
include language from 59.13 specifically     Department believes it is clear that the     activities not allowed under the statute.
requiring grantees to provide assurance      Title X regulations will continue to         The Department believes that grantee
that their project does not provide          apply equally to all grantees and            compliance with the Title X statute and
abortion and does not include abortion       subrecipients without needing to             regulations has not been an issue
as a method of family planning. One          include separate language in the Title X     throughout the history of the Title X
comment stated that ‘‘[t]he removal of       regulations.                                 program, and the compliance
an explicit compliance requirement,             Similarly, the Department does not        monitoring methods that have
without at minimum an explanation            deem it necessary to include language        historically been applied by OPA prior
that subrecipients are assumed to have       within the regulation itself requiring       to the 2019 rule have ensured that




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grantees have an understanding of the       stated that requiring abortion counseling      related to the conscience protections
statute and how to comply with it. The      or referral automatically violated the         and will continue to enforce them. As
Department rejects as without merit the     Religious Freedom Restoration Act              discussed in the NPRM, recognition of
comments that these grantees were           (RFRA), 42 U.S.C. 2000bb through 42            provider conscience rights has been the
accepting Title X funding for years         U.S.C. 2000bb–4. At least one comment          position of the Department since before
without complying with statutory            suggested that the counseling and              the 2000 rule. See 65 FR at 41274 (2000
requirements. Neither the 2019 rule         referral requirements coerced speech in        rule, stating that under ‘‘42 U.S.C. 300a–
itself nor any comments to the 2021         violation of the First Amendment for           (d), ‘‘grantees may not require
NPRM cited evidence of widespread           those providers who object.                    individual employees who have such
noncompliance.                                 Response: The conscience statutes           objections to provide such
                                            have been the subject of multiple              counseling.’’). However, as also
D. Application of Conscience and
                                            rulemakings and numerous lawsuits in           discussed in the 2000 final rule, the
Religious Freedom Statutes to Title X
                                            the last 13 years. Most recently, the          Secretary was unaware then—and is
  Comments: The Department received         Department finalized a rule in 2019            still unaware—‘‘of any current grantees
thousands of comments on the preamble       providing definitions and an                   that object to the requirement for
language concerning the application of      enforcement mechanism for several              nondirective options counseling.’’ Id.
the conscience statutes to Title X. As      statutes protecting medical providers             Just as non-objecting providers should
further discussed in the NPRM,              who have conscience-based objections           not dictate the provision of information
Congress has passed several laws            to certain activities. Protecting Statutory    and referrals by those who do object, the
protecting the conscience rights of         Conscience Rights in Health Care;              existence of statutory conscience
providers, particularly in the area of      Delegations of Authority, 84 FR 23170          protections for providers does not
abortion. For instance, under 42 U.S.C.     (May 21, 2019). That rule was vacated          preclude other willing providers from
300a–7, the Church amendments,              by three different courts. New York v.         providing referrals or counseling for
grantees may not require individual         HHS, 414 F. Supp. 3d 475, 536                  abortion within the program. With this
employees who have objections to            (S.D.N.Y. 2019) (appeal in abeyance);          final rule, the Department is
abortion to provide such abortion           Washington v. Azar, 426 F. Supp. 3d            emphasizing the importance of ensuring
counseling, or those who have               704, 722 (W.D. Wash. 2019) (same); City        access to equitable, affordable, client-
objections to sterilization procedures to   & Cty. of San Francisco v. Azar, 411 F.        centered, quality family planning
perform, assist in the performance of, or   Supp. 3d 1001 (N.D. Cal. 2019) (same).         services. Client-centered care is defined
provide counseling regarding                While the statutes may at times interact       as being respectful of, and responsive to,
sterilizations. Since 2005, Congress has    with the requirements of Title X,              individual client preferences, needs,
also annually enacted an appropriations     interpreting these laws is beyond the          and values, and ensures that the client’s
rider, the Weldon amendment, which          scope of this rule and the HHS Office for      values guide all clinical decisions. With
extends non-discrimination protections      Civil Rights (OCR) has been delegated          an emphasis on providing services that
to other ‘‘health care entities’’ who       authority to receive complaints under          are client-centered, the default should
refuse to counsel or refer for abortion.    these provisions.                              be the fullest provision of information to
See, e.g., Consolidated Appropriations         Moreover, as the DC Circuit pointed         clients. Providers may avail themselves
Act, 2021, Public Law 116–260, Div. H,      out when the Weldon Amendment was              of existing conscience protections and
section 507(d) (2020). Under these          enacted and the 2000 Title X rule was          file complaints with OCR, which will be
statutes, objecting providers or Title X    in effect, ‘‘a valid statute always prevails   evaluated on a case-by-case basis as is
grantees are not required to counsel or     over a conflicting regulation,’’ Nat’l         done with other complaints.
refer for abortions.                        Family Planning & Reprod. Health Ass’n            As noted in previous iterations of
  Many commenters expressed a belief        v. Gonzales, 468 F.3d 826 (D.C. Cir.           both sets of rules, the conscience
that the statutory conscience protections   2006). This is true whether an                 provisions and Title X rules have
prohibited the agency from                  overriding statute is incorporated into        existed side by side for decades with
promulgating any counseling or referral     regulatory text or not. The applicability      very little conflict, or even interaction.
requirements. Conversely, some asserted     of other rules and laws are best               From 1993 to 2017, Title X received no
that the conscience statutes have no        evaluated by consulting those rules and        reports of grantees or individuals
bearing on what requirements Title X        laws and then seeking guidance from            objecting to the regulatory requirement
could impose on grantees by regulation.     the agencies responsible for                   to counsel or refer for abortions when
Many comments asserted that these           implementing them. Particularly in             requested. See Nat’l Family Planning &
statutes had to be incorporated into the    areas where the administrative rules           Reprod. Health Ass’n, 468 F.3d at 830
Title X regulatory text for them to be      may be modified or statutory directions        (‘‘[T]here are structural reasons to doubt
operative or the rule to be lawful. Some    may change from appropriation to               that the issue will ever come up. In 2000
stated that the statutes themselves         appropriation, it is unwise for OPA to         HHS Secretary Shalala declined to
violated the separation between church      formalize interpretations beyond its           create a specific exception from the
and state. Several other comments cited     own statutory authority.                       pending [Title X] regulation’s
a concern that applications from               Irrespective of the points made above,      mandatory referral requirement for
providers objecting to abortion             as recounted in the NPRM, objecting            organizations resisting provision of
counseling or referral would not be         individuals and grantees will not be           abortion counseling or referrals; she
favorably evaluated. Many also              required to counsel or refer for abortions     explained that she was ‘‘unaware of any
suggested that the Department should        in the Title X program in accordance           current grantees that object to the
simply allow for abortion counseling        with applicable federal law. OPA has           requirement for nondirective options
and referral rather than requiring it,      long worked with grantees and                  counseling, so this suggestion appears to
since the conscience statutes protect       providers to ensure appropriate                be based on more of a hypothetical than
objecting providers from those              compliance with conscience laws as             an actual concern.’’). As with any issue
requirements in any case.                   well as continuity of care. As stated          facing Title X grantees and applicants,
  Beyond the Church and Weldon              above, OCR has been delegated                  the program will work to provide
Amendments, a few comments also             authority to receive any complaints            guidance to grantees and coordinate any




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conflicts with the OCR. A case-by-case          Response: The Department                  regulation would undermine federalism
approach to investigations will best         appreciates the comments in support of       and ‘‘intrude on the States’ self-
enable the Department to deal with any       this provision. The Department believes      governance for no good reason,’’ and,
perceived conflicts within fact-specific     that offering pregnant clients the           most prominently, violate the
situations.                                  opportunity to receive neutral, factual      Congressional Review Act, 5 U.S.C.
   The Department declines to                information and nondirective                 801–808. Under that law, an agency may
definitively interpret RFRA or the First     counseling on all pregnancy options—         not promulgate a rule that is
Amendment in this context for largely        and providing referral upon request for      ‘‘substantially the same’’ as one that has
the same reasons. Not only do the            option(s) the client wishes to receive—      been disapproved by Congress. In 2016,
conscience protections more specifically     are critical for the delivery of quality,    the Department enacted a rule barring
allow providers to object to referral and    client-centered care. The Department         projects from rejecting sub-grantees for
counseling for abortion requirements,        agrees that restoring this provision will    non-programmatic reasons. 81 FR 91852
but the Title X rules in force for decades   remove unnecessary limitations               (Dec. 19, 2016). Congress subsequently
prior to the 2019 rule also existed side     governing the patient-provider               revoked the rule. P.L. 115–23 (4/13/
by side with RFRA and the First              relationship and will enable healthcare      2017). Multiple comments asserted that
Amendment with no conflict. However,         providers to offer complete and              any regulation in this area would be
in light of the comments received, and       medically accurate information and           unlawful unless Congress specifically
to eliminate any confusion, the              counseling to their clients.                 authorized it.
Department has noted in this final              The Department’s response to                 Response: All proposed additions to
regulation that ‘‘[p]roviders may            comments opposing this provision is          the 2000 rule received an
                                             included earlier in Section II. A.           overwhelmingly positive response,
separately be covered by federal statutes
                                             Compliance with Section 1008 (42             except the proposal to include a
protecting conscience and/or civil
                                             U.S.C. 300a–6) and D. Application of         subrecipient non-discrimination
rights.’’
                                             Conscience Statutes to Title X. The          provision. After carefully considering
E. Options Counseling                        NPRM language for this provision             several factors, the agency is declining
  Comments: The Department received          would restore the regulatory text from       to include a subrecipient non-
                                             the 2000 regulation, which successfully      discrimination provision in this
thousands of comments expressing
                                             governed the Title X program for             rulemaking. Foremost among the
support for ‘‘the reinstatement of the
                                             decades without opposition from major        Department’s considerations is the sense
requirement to offer nondirective
                                             medical organizations and was widely         of urgency in the interest of public
options counseling to pregnant                                                            health to complete this rulemaking. This
                                             accepted by grantees.
patients.’’ Many comments expressed                                                       schedule allows for a final rule to be
support for reversing the 2019 rule’s        F. Subrecipient Nondiscrimination
                                                                                          effective before the award of the next
restrictions on what referrals can be           Comments: The Department received         round of competitive funding for the
provided to clients and allowing             many comments on state policies              Title X program. This, in turn, will
providers to offer patients complete         restricting subrecipient participation for   enable applicants that previously
information about their healthcare           reasons unrelated to the provider’s          withdrew from participation in the
options and refer patients to providers      ability to provide care. The majority of     program as a result of the previous
who offer services to meet those needs.      these comments favored a regulatory          regulation to apply for funding.
One comment stated that ‘‘reinstating        prohibition on such restrictions because        The Department still believes state
the 2000 regulations would remove this       they often exclude the best family           restrictions on subrecipients unrelated
undue governmental interference into         planning providers for no discernible        to care hamper the ability of the
medical care and will help ensure            purpose. Many comments stated that           program to achieve its goals. However,
patients receive medically accurate,         ‘‘State policies putting restrictions on     the overriding task of this rulemaking is
comprehensive information from their         how state funds are allocated, called        to undo the negative public health
physicians.’’                                ‘tiering,’ make it difficult or impossible   effects of the previous rule. That result
  The Department also received               for privately operated reproductive          is most effectively reached by not
comments in opposition to removing           health-focused providers to receive          including a subrecipient non-
restrictions on referring for abortion       funding. Tiering and other prohibitions      discrimination provision in this
services and requiring nondirective          against abortion providers often exclude     rulemaking. Organizations in states with
counseling. Several comments opposed         the specialist providers that are the most   restrictive laws may still apply directly
removing restrictions on what referrals      qualified and best equipped to help          to receive Title X grants (see PHS Act
can be provided to clients in general,       Title X patients achieve their family        sec. 1001(b); 59.3).
and a few opposed removing restrictions      planning goals.’’ Such restrictions,
which state that only advanced practice      which are in place in approximately 15       G. Other Comments
providers can provide nondirective           states, can make access for certain sub-       Comments: While many comments
counseling. Many comments opposing           populations and geographic areas more        were specific to certain sections of the
the rule expressed a belief that the         difficult. Many comments stressed that       proposed rule, a sizeable number were
information and counseling                   ‘‘expelling well-qualified, trusted family   more general in nature, or commented
requirements in this provision violate       planning providers from publicly             on portions of the preamble. Many of
section 1008 of the Title X statute.         funded health programs like Title X has      these general comments were
Others believed that requiring ‘‘that        adverse effects on patients’ access to       summarized in detail in the sections
grantees refer (sic) individuals to          critical family planning and sexual          above, and the remainder of the general
abortion providers conflicts with the        healthcare.’’                                comments are summarized here.
free speech and religious freedom of            The Department also received many           Of those that support the proposed
grantees.’’ Still others expressed           comments, including from multiple            rule, a large number of comments
concern that the requirement could           state Attorneys General, condemning          expressed general support for removing
limit the type of providers in the           any regulation in this area. Many of         the harmful effects of the 2019 rule on
program due to conscience concerns.          these objections stated that such a          Title X services. A similarly large




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number felt that the 2019 rule               to serve. The 2019 rule decreased the        the same quality healthcare, including
negatively impacted the number of            number of providers willing to               full medical information and referrals,
clients served and that the proposed         participate in the Title X program,          that higher-income clients and clients
rule will increase the number of clients     further reducing access to essential         with private insurance are able to
served. Many comments supported              family planning services within states       access.
being able to expand access to Title X       and communities across the country.
                                                                                          Comments Regarding Proposed
services across the nation and within        The 2019 rule shifted Title X away from
states and territories. They felt that the   its history of providing client-centered,    Revisions and Technical Corrections to
proposed rule will result in more Title      quality family planning services and         the 2000 Regulation
X grantees and service sites and will        instead set limits on the patient-           § 59.2. Definitions
increase the diversity of grantees. Many     provider relationship and the                   In the NPRM, the Department
other comments expressed support that        information that could be provided to        proposed revising section 59.2 of the
the proposed rule will increase health       the patient by the provider. The 2019        2000 regulations by adding several new
equity and decrease health disparities       rule resulted in increased costs for         and modified definitions. The NPRM
by increasing the number of                  grantee reporting that are unnecessary       included a new definition of family
marginalized and vulnerable groups           for ensuring grantee compliance. The
                                                                                          planning services consistent with the
served by Title X.                           Department believes that continued
   Many comments expressed a belief                                                       definition included in QFP. The NPRM
                                             enforcement of the 2019 rule raises the
that the proposed rule will result in                                                     also included a new definition of
                                             possibility of a two-tiered healthcare
improved health outcomes and that the                                                     service site consistent with the previous
                                             system in which those with insurance
2019 rule had a negative impact on                                                        Title X Family Planning Guidelines that
                                             and full access to healthcare receive full
public health. Others supported the                                                       implemented the 2000 regulations, the
                                             medical information and referrals, while
emphasis in the proposed rule on                                                          2014 Program Requirements for Title X
                                             low-income populations with fewer
quality family planning and felt that the                                                 Funded Family Planning Projects (‘‘2014
                                             opportunities for care are relegated to
proposed rule will result in improved        inferior access.                             Title X Program Requirements’’).
quality of care. Many comments                  The Department will continue to           Finally, the NPRM included new
expressed a belief that the proposed rule    enforce and monitor grantee compliance       definitions for adolescent-friendly
better aligns with the mission of Title X    with all Title X statutory requirements      health services, client-centered care,
and that it will result in cost savings.     and legislative mandates. The                culturally and linguistically appropriate
   Of those that oppose the proposed         Department disagrees with comments           services, health equity, inclusivity,
rule, many expressed general opposition      that it is necessary to include language     quality healthcare, and trauma-informed
to the elimination of the 2019 rule, and     repeating the legislative mandates           services. All new definitions included
a large number expressed a belief that       within the regulation itself. As noted       in the NPRM were taken from federal
the proposed rule does not align with        above with respect to Section II. C.         government agencies or major medical
the mission of Title X. Several              Grantee and Subrecipient Compliance,         associations. The NPRM also retained
comments expressed a belief that the         OPA explicitly states in NOFOs that all      definitions from the 2000 regulation for
proposed rule will result in negative        grantees must comply with the Title X        the following terms: Act, family, low-
health outcomes. A small number of           statute, regulations, and legislative        income, non-profit, Secretary, and state.
comments raised concern that the             mandates, and applicants certify in the         Comments: The Department received
proposed rule will result in a decrease      application materials that they will         numerous comments in support of the
in quality of care and would cost more       comply with federal law; compliance          new or revised definitions in the NPRM.
to implement compared to the 2019            with program statutes and                    Many comments expressed strong
rule.                                        appropriations act requirements is also      general support for the newly-proposed
   The Department also received several      included as a standard term of the Title     definitions, including definitions for
comments that were not relevant to the       X grant award. Therefore, during the         client-centered care, cultural and
2021 rule. These included several            application process as well as by            linguistic appropriateness, family
comments expressing opposition to the        accepting funds, grantees have assured       planning services, health equity,
use of hormone therapy for adolescents,      their compliance to the statute,             inclusivity, and trauma-informed.
a few comments requesting that the           regulations, and legislative mandates.       Numerous comments stated that ‘‘the
Department include specific services         Furthermore, OPA includes the                proposed rule’s definitions help to
within Title X that are already included     legislative mandates in its grantee          illustrate key aspects of quality care’’
in Title X (e.g., STI testing, cervical      orientation and trainings and regularly      and that ‘‘defining how services should
cancer prevention and treatment), and        monitors grantee compliance with the         be provided is an important step toward
several personal testimonials either for     legislative mandates through grantee         a more equitable Title X program.’’
or against family planning in general,       reporting and compliance monitoring          Numerous comments expressed specific
but not specific to the 2021 rule.           visits.                                      support for the emphasis on health
   Response: The Department agrees              The Department believes that the          equity in the proposed rule. Comments
with the comments in support of the          adoption of the 2021 proposed rule (86       expressed that the ‘‘added definition for
proposed rule and disagrees with the         FR 19812, April 15, 2021), with minor        health equity underscores the goal of
comments opposed to the proposed             modifications discussed in this rule,        ensuring that all Title X patients have
rule. The Department believes that the       will result in increased access to           the opportunity to attain their full
negative public health consequences of       equitable, affordable, client-centered,      health potential.’’ Many comments also
the 2019 rule are clear. As stated in the    quality family planning services. This       expressed support for the definition of
Background section, the 2019 rule            will result in improved outcomes for all     family planning services, and
dramatically reduced access to essential     clients served by Title X. Additionally,     specifically the inclusion of ‘‘FDA-
family planning and preventive health        the 2021 rule will ensure that the           approved’’ contraceptive products and
services for hundreds of thousands of        predominantly low-income clients who         reinstatement of the term ‘‘medically
clients, especially for the low-income       rely on Title X services as their usual      approved’’ to the definition. Several
clients Title X was specifically created     source of medical care have access to        comments were supportive of not




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including women whose employers do           comment questioned why the definition         that clear definitions for terms used
not cover contraception for religious        of family planning services did not           throughout the regulations are
reasons in the definition of low-income.     emphasize ‘‘supporting unexpected             important for consistent
One comment expressed support for the        pregnancies with assistance required by       implementation. The Department
NPRM’s ‘‘returned focus on Title X’s         families and mothers—including                acknowledges comments requested
priority population—low-income               emotional, educational, financial, and        revisions to many of the definitions;
clients—and removal of the 2019 rule’s       healthcare supports.’’ Other comments         however, the Department believes that it
re-definition of ‘low income’ to use the     expressed general opposition to the           is important to use widely accepted and
program to pay for contraceptive             definition of family planning services        commonly used definitions from other
services for any people whose                and felt that the definition included         federal agencies and national medical
employers refuse to include coverage for     abortion and abortion-related services.       organizations as the foundation for the
such services in their employer                 One comment stated that the                regulation. For this reason, the
sponsored insurance due to religious or      definition of health equity was vague         Department will not revise the proposed
moral objections.’’ Several comments         and undermined the priority for serving       definitions as requested by several
also expressed support for using more        low-income clients. Another comment           comments.
inclusive terminology throughout the         stated that the focus on health equity           The Department disagrees that the
NPRM and expressed that ‘‘‘client’ is        was ‘‘targeting minority communities to       definition of client-centered care raises
more reflective of the diverse               restrict pregnancy,’’ and another stated      conscience concerns. The purpose of the
population of patients served by the         that the focus on equity was                  rule and the definitions is to refocus the
Title X program.’’                           unnecessary because of protections            program as a client-centered one, where
   Several comments, while supportive        already included in the Constitution.         well-being of the patient, not the
of the definitions included in the           One comment opposed the definition of         provider, is the primary goal. As stated
NPRM, did request specific revisions to      cultural and linguistically appropriate       earlier, providers may avail themselves
many of the new or revised definitions.      services and expressed that ‘‘the phrase      of existing conscience protections and
Several comments requested that the          ‘culturally and linguistically                file complaints with OCR, which will be
Department explicitly include systemic       appropriate services’ may bless health        evaluated on a case-by-case basis as is
racism within the definition of health       practices, based on cultural norms, that      done with other complaints.
equity. Another comment requested that       lead to negative health outcomes.’’ One          The Department also disagrees with
the Department revise the definition of      comment opposed the definition of             comments objecting to the definition of
health equity by expanding ‘‘the             ‘‘trauma-informed’’ and said it was           family planning services. The definition
umbrella term ‘socially determined           vague and that it was not clear what was      of family planning services within the
circumstances’ to ‘other circumstances       required to be trauma-informed.               NPRM is consistent with the definition
that are socially, economically,                One comment opposed the definition         of family planning services in QFP.
demographically, or geographically           of inclusivity and felt that it would         Contrary to some of the comments
determined.’ ’’ One comment requested        drive faith-based providers out of the        opposed to the definition of family
that the Department revise the               program. Another comment took issue           planning services, the definition does
definition of adolescent-friendly            with the definition of ‘‘inclusivity’’ and    include preconception health, natural
services to include ‘‘developmentally        stated that ‘‘segregation or prioritization   family planning, and abstinence (as a
appropriate services that support the        of Title X services by protected classes      component of natural family planning).
healthy cognitive, physical, sexual, and     such as race violates the Constitution        Family planning services include a
psychosocial development of                  and several civil rights laws.’’ A few        broad range of services related to
adolescents as they transition from          comments opposed the use of the word          achieving pregnancy, preventing
childhood to adulthood and account for       ‘‘client’’ instead of ‘‘woman’’ throughout    pregnancy, and assisting clients in
their unique needs, including with           the NPRM and felt that the change in          achieving their desired number and
respect to confidentiality, legal status,    language was a disservice to women.           spacing of children. Also, given that the
and autonomy.’’ Other comments asked         Two comments opposed removing                 focus of Title X is on helping clients
the Department to revise the definition      women who cannot receive                      achieve pregnancy, prevent pregnancy,
of inclusivity to include non-religious      contraception from their employer             and achieve their desired number and
people and the intersex community.           because they have a religious or moral        spacing of children, the Department
One comment requested that the               objection from the definition of low-         responds to comments requesting that
definition of trauma-informed care be        income. A few comments opposed the            Title X provide support to clients once
revised to prevent future discrimination     definition of quality healthcare. One         they become pregnant by noting that
of transgender people by ‘‘clarifying that   comment opposed including client-             this is beyond the scope of the Title X
a trauma-informed program should not         centered and equitable within the             program. Further, as is clear from
result in discrimination against any         definition of quality. Still another          section 1008 of the Title X statute, none
population.’’                                comment stressed that improving the           of the funds appropriated for Title X are
   The Department also received several      quality of healthcare is a ‘‘dynamic          used in programs where abortion is a
comments opposing the new or revised         process’’ and that ‘‘this dynamism            method of family planning. No court has
definitions. A few comments opposed          requires a nimbleness often unattainable      found the decades-long practice of
the definition of client-centered care       by national requirements.’’ The               referral upon request to violate that
and felt that it raised conscience           commenter requested that the definition       prohibition.
concerns. Other comments opposed the         of quality be amended to allow                   The Department disagrees with
definition of family planning services       ‘‘maximum flexibility at the state and        comments expressing concern with the
and specifically opposed removing            local level to establish standards of         definitions of health equity, cultural and
abstinence and preconception health          care.’’                                       linguistic appropriateness, inclusive, low-
from the definition. One comment                Response: The Department                   income, quality, and trauma- informed.
opposed the definition and said that         appreciates the supportive comments           The definitions proposed in the NPRM
‘‘medically approved’’ did not include       regarding the new and revised                 are widely used definitions from other
natural family planning. Another             definitions in the NPRM and believes          federal agencies and major




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medical organizations. The Department         assistance to achieve pregnancy, basic       planning methods. Many comments
also disagrees that the definition of         infertility services, sexually transmitted   expressed support for reinstating the
inclusive will drive faith-based              infection (STI) services, and other          term ‘‘medically approved’’ to the
organizations out of Title X or that it       preconception health services.’’             provision. Several comments requested
will segregate services; rather, the goal        In addition to this revised definition    that the Department add more
is to ensure that all people can actively     for family planning services, the            specificity to the regulations to further
participate in and benefit from family        definitions from the NPRM for Act,           define what is meant by ‘‘a broad range
planning services. Finally, the               adolescent-friendly health services,         of methods.’’ One comment requested
Department disagrees with comments            client-centered care, culturally and         that the Department ‘‘expect Title X
opposing the use of the word ‘‘client’’       linguistically appropriate services,         agencies to offer ‘many’ or ‘almost all of
and believes that it is important that the    family, health equity, low-income,           the most commonly used’ methods, and
words used in Title X fully reflect the       inclusive, non-profit, quality healthcare,   use referrals as an option of last resort.’’
diversity of Title X clients.                 Secretary, service site, state, and          Another comment requested the
   In conclusion, the Department adopts       trauma-informed are all adopted as           Department to ‘‘require each site to have
the definitions from the NPRM for this        final.                                       at least one type of each provider-
provision as final with one revision and                                                   administered method in stock, and to
                                              § 59.5(a)(1). Broad Range of Acceptable
one technical correction. Given the                                                        have a process in place to offer other
                                              and Effective Medically Approved
revisions described later to 59.5(b)(1)                                                    methods of contraception by
                                              Family Planning Methods and Services
and 59.5(b)(6) to include reference to                                                     prescription if not stocked in the
‘‘clinical services providers’’ in the           In the NPRM, the Department               clinic.’’
regulatory text, the Department is            proposed revising section 59.5(a)(1) of          The Department also received many
adding a definition for ‘‘clinical services   the 2000 regulation to require sites that    comments expressing concern about
provider’’ to the final rule in 59.2. The     do not offer the broad range of methods      allowing an organization to participate
definition of clinical services provider      on-site to provide clients with a referral   as part of a Title X project if it only
comes from OPA’s FPAR and has been            to a provider who does offer the client’s    offers a single method of family
widely used as a definition for Title X       method of choice. In addition, the           planning, as long as the entire project
grantees to guide their FPAR data             NPRM specified that the referral must        offers a broad range of acceptable and
collection and reporting. As taken from       ‘‘not unduly limit the client’s access to    effective medically approved family
FPAR, a clinical services provider is         their method of choice.’’ The complete       planning methods and services. Several
defined as ‘‘physicians, physician            NPRM language for this provision             comments expressed concern that
assistants, nurse practitioners, certified    stated, ‘‘Provide a broad range of           ‘‘allowing Title X sites to offer a single
nurse midwives, and registered nurses         acceptable and effective medically           method of contraception conflicts with
with an expanded scope of practice who        approved family planning methods             Quality Family Planning standards and
are trained and permitted by state-           (including natural family planning           HHS’ stated goals regarding quality,
specific regulations to perform all           methods) and services (including             client-centered care, and health equity.’’
aspects of the user (male and female)         pregnancy testing and counseling,            Several other comments requested that
physical assessments recommended for          assistance to achieve pregnancy, basic       ‘‘if HHS continues to allow specific sites
contraceptive, related preventive health,     infertility services, STI services,          to offer a single method of
and basic infertility care.’’                 preconception health services, and           contraception, HHS must clarify that the
   One technical correction in the final      adolescent-friendly health services). If     method be medically approved and
rule is to the definition of family           an organization offers only a single         effective.’’
planning services. The definition in the      method of family planning, it may                The Department received further
NPRM stated, ‘‘Family planning services       participate as part of a project as long     comments regarding the language in the
include a broad range of medically            as the entire project offers a broad range   NPRM requiring sites that do not offer
approved contraceptive services, which        of acceptable and effective medically        the broad range of methods and services
includes Food and Drug Administration         approved family planning methods and         to ‘‘provide a referral, and the referral
(FDA)-approved contraceptive services         services. Title X service sites that are     must not unduly limit the client’s access
and natural family planning methods,          unable to provide clients with access to     to their method of choice.’’ Many
for clients who want to prevent               a broad range of acceptable and effective    comments expressed support for
pregnancy and space births, pregnancy         medically approved family planning           requiring that sites refer clients if the
testing and counseling, assistance to         methods and services, must be able to        site does not offer the client’s method of
achieve pregnancy, basic infertility          provide a referral to the client’s method    choice. Some comments expressed
services, sexually transmitted infection      of choice and the referral must not          concern that it was unclear what was
(STI) services, and other preconception       unduly limit the client’s access to their    meant by ‘‘not unduly limit the client’s
health services.’’ Since the FDA does         method of choice.’’ The proposed             access’’ and how the requirement would
not approve contraceptive ‘‘services,’’       revisions recognized that while an           be enforced across diverse communities.
but rather approves, clears, and              organization that offers only a single       Some comments expressed concern that
authorizes (for purposes of this              method of family planning may                rural communities with more limited
rulemaking, ‘‘FDA-approved’’)                 participate as part of a Title X project,    access to refer clients to other
‘‘contraceptive products,’’ the definition    as long as the entire project offers the     organizations nearby would be
in the final 2021 rule is revised. The        broad range of methods and services,         penalized if the referral was considered
final definition will now read, ‘‘Family      offering only a single method of family      to unduly limit the client’s access. Some
planning services include a broad range       planning could impact client access.         comments asserted that requiring
of medically approved services, which            Comments: The Department received         referrals for a client’s method of choice
includes FDA-approved contraceptive           many comments in support of section          would result in faith-based and natural
products and natural family planning          59.5(a)(1), especially in support of the     family planning providers leaving the
methods, for clients who want to              requirement that Title X projects            Title X network. Several other
prevent pregnancy and space births,           provide a broad range of acceptable and      comments expressed concern that the
pregnancy testing and counseling,             effective medically approved family          referral requirement was ‘‘vague and




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does not go far enough.’’ One comment        continuity of care for Title X clients.      unable to provide clients with access to
asked the Department to ‘‘clearly outline    There are any number of opportunities        a broad range of acceptable and effective
the reasons and/or circumstances under       by which this requirement could be           medically approved family planning
which a Title X site may be excused          fulfilled including directly by the clinic   methods and services to provide a
from offering a broad range of medically     site or by the grantee in instances when     prescription to the client for their
approved methods and parameters,             a provider objects or lacks capacity to      method of choice or referrals, as
including a maximum ‘reasonable’             fulfill this requirement. An array of        requested. As a point-of-entry to care,
distance a Title X patient would have to     providers, including those that only         Title X sites often have robust referral
travel to get their method of choice.’’      offer a single method on-site, have          networks with other safety-net agencies
Another comment asked the Department         successfully participated in the Title X     that are attuned to the needs of the
to closely monitor the accessibility of      program for decades. The Department          client populations that they serve.
referrals made by Title X sites. Other       will monitor and provide technical           While a prescription or referral does not
comments asked the Department to             assistance to ensure that supporting         guarantee a client the same schedule of
provide a specific number of minutes or      client access to requested methods and       discounts as at a Title X site, experience
miles from the Title X project to the        services does not violate federal            suggests that the family planning safety
referral location and to require that        conscience laws. As part of the statutory    net recognizes and takes steps to limit
referrals be only to another Title X site    mandate, Title X projects must provide       accessibility burdens, including
to ensure the same discounted services       natural family planning services, and        financial constraints, for the clients they
would be available.                          the program will work with projects to       serve. In addition, the Department will
   Response: The Department                  ensure they provide all statutorily          provide additional guidance and
appreciates the supportive comments          required services. Again, the                technical assistance to grantees to help
for this provision in the 2021 rule. Since   Department is emphasizing in this final      them promote accessibility and limit
acceptable and effective medically           rule the importance of ensuring access       patient burden.
approved family planning methods can         to client-centered care. Client-centered        With the revisions noted above, the
change over time, the Department does        care is defined as being respectful of,      revised language for the 2021 rule for
not believe that additional specificity      and responsive to, individual client         59.5(a)(1) is, ‘‘Provide a broad range of
regarding what is meant by a broad           preferences, needs, and values, and          acceptable and effective medically
range of methods and services is             ensuring that client values guide all        approved family planning methods
necessary within the regulatory text.        clinical decisions. With an emphasis on      (including natural family planning
Instead, the Department will provide         providing services that are client-          methods) and services (including
additional guidance and technical            centered, the default should be the          pregnancy testing and counseling,
assistance to assist grantees in             fullest provision of information and         assistance to achieve pregnancy, basic
complying with the regulation and            services to clients.                         infertility services, STI services,
ensuring access to a broad range of             The Department understands, based         preconception health services, and
acceptable and effective methods and         on the comments received, that it is         adolescent-friendly health services). If
services across their service sites.         challenging to include within the            an organization offers only a single
   The Department acknowledges the           regulation a requirement that sites must     method of family planning, it may
comments expressing concern with             provide a referral that does ‘‘not unduly    participate as part of a project as long
allowing an organization to participate      limit the client’s access.’’ The             as the entire project offers a broad range
in a Title X project if it only offers a     Department fully recognizes that the         of acceptable and effective medically
single method of family planning as          referrals available to each Title X site     approved family planning methods and
long as the overall project offers the       will differ depending on what other          services. Title X service sites that are
broad range of methods and services.         referral resources are available within or   unable to provide clients with access to
For much of the Title X program’s            near the community. Some communities         a broad range of acceptable and effective
history, including in the 2000               may have access to a wide range of           medically approved family planning
regulations, the regulation has included     providers to refer clients to within the     methods and services, must be able to
this provision. The Department believes      same community, while other sites may        provide a prescription to the client for
that retaining this provision in the 2021    need to refer clients to organizations       their method of choice or referrals, as
rule is important to ensure flexibility in   located farther away. Given the              requested.’’ This revised language is
addressing community needs and               challenges in having one standard            adopted as final.
recognizes that not all Title X service      definition for what is considered undue
                                                                                          § 59.5(a)(3). Services are Client-
sites may be able to provide access to all   burden across all Title X sites, the
                                                                                          Centered, Culturally and Linguistically
methods and services. The Department         Department has decided to revise
will monitor and provide technical                                                        Appropriate, Inclusive, and Trauma-
                                             section 59.5(a)(1) to remove the
assistance to ensure that each grantee                                                    Informed; Protect the Dignity of the
                                             requirement that ‘‘the referral must not
provides access to the broad range of                                                     Individual; and Ensure Equitable and
                                             unduly limit the client’s access to their
acceptable and effective medically                                                        Quality Service Delivery Consistent With
                                             method of choice.’’
approved family planning methods and            In addition to the revision to remove     Nationally Recognized Standards of
services to their clients.                   this requirement, the final rule will also   Care
   The Department disagrees that the         include one technical correction for this       In the NPRM, the Department
referral requirement will result in faith-   provision. The Department recognizes         proposed revising section 59.5(a)(3) of
based and natural family planning            that if a Title X site does not have the     the 2000 regulations. In addition to
providers leaving the Title X network.       client’s method of choice available on-      providing services that protect the
This is in part based on our                 site, the provider may be able to provide    dignity of the individual as required in
longstanding experience with the             the client with a prescription for their     the 2000 regulations, the NPRM stated,
program which for decades has                method of choice, rather than having to      ‘‘Provide services in a manner that is
included faith-based and natural family      provide a referral to another provider.      client-centered, culturally and
planning providers. The requirement for      To better account for this, the final        linguistically appropriate, inclusive,
referral is intended to support              provision will now require sites that are    and trauma-informed; protects the




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dignity of the individual; and ensures       requirements of this provision simply         policy (https://www.hhs.gov/about/
equitable and quality service delivery       ensure that all Title X services are of the   news/2021/05/10/hhs-announces-
consistent with nationally recognized        highest quality and align with                prohibition-sex-discrimination-includes-
standards of care.’’ These revisions were    nationally recognized standards of care.      discrimination-basis-sexual-orientation-
aimed at increasing access and ensuring      The Department also disagrees that the        gender-identity.html). In Bostock v.
equity in all services provided, which       requirements of this provision violate        Clayton County, 140 S. Ct. 1731 (2020),
the Department believes is especially        conscience protections and provides a         the U.S. Supreme Court held that Title
important for the Title X program with       specific response to comments                 VII of the Civil Rights Act of 1964
a statutory priority on serving low-         concerning conscience earlier in Section      prohibition on employment
income clients. In addition, the             II. D. Application of Conscience Statutes     discrimination based on sex
Department believes that the revisions       in Title X. Finally, the requirements of      encompasses discrimination based on
will result in improved services for         this provision do not give preferential       sexual orientation and gender identity.
clients.                                     treatment to any clients, but rather aim      Courts have now begun consistently
   Comments: The Department received         to ensure that all people can actively        interpreting similar language—‘because
numerous comments in support of this         participate in and benefit from family        of sex’— in other statutes to encompass
revised provision. Many comments             planning services. In conclusion, the         these protections. See Grimm v.
expressed full support for the provision     Department adopts the language from           Gloucester Cty. Sch. Bd., 972 F.3d 586,
and urged the Department to adopt it as      the NPRM for § 59.5(a)(3) as final            616–617 (4th Cir 2020) (relying on
quickly as possible. Others expressed        without revisions.                            Bostock to interpret Title IX as
specific support for the requirement that                                                  prohibiting policy prohibiting
                                             § 59.5(a)(4). Services Do Not
services be client-centered: ‘‘We support                                                  transgender student from using
                                             Discriminate Against any Client Based
that the proposed rule names the                                                           bathroom consistent with his gender
                                             on Religion, Race, Color, National
importance of using client-centered                                                        identity). Moreover, as the Department
                                             Origin, Disability, Age, Sex, Sexual
models of care.’’ Still others expressed                                                   of Justice has recently emphasized
                                             Orientation, Gender Identity, Sex
specific support for the inclusion of                                                      ‘‘Discrimination against intersex
                                             Characteristics, Number of Pregnancies,
QFP within the 2021 rule and the                                                           individuals is similarly motivated by
                                             or Marital Status
requirement that Title X services be                                                       perceived differences between an
consistent with nationally recognized           The NPRM proposed the same                 individual’s specific sex characteristics
standards of care. One comment said,         regulatory text for this provision as has     and their sex category (either as
‘‘[T]he Proposed Rule will again base        been included in the 2000 regulations,        identified at birth or some subsequent
the standards of care for the Title X        which read ‘‘Provide services without         time) . . . it is impossible to discuss
program on the QFP guidelines and            regard of religion, race, color, national     intersex status without also referring to
require that Title X clients receive high-   origin, disability, age, sex, number of       sex.’’ Title IX (justice.gov). As a result
quality, client-centered care that           pregnancies, or marital status.’’             of the case law and Administration
includes comprehensive, medically               Comments: The Department received          policy, the Department adds ‘‘sexual
accurate counseling and information,         several comments regarding this               orientation’’, ‘‘gender identity’’, and
and referrals for any other services         provision and specifically expressing         ‘‘sex characteristics’’ to 59.5(a)(4).11 The
sought.’’                                    concerns with the phrase ‘‘without            revised language for the 2021 rule for
   The Department received a few             regard of.’’ Several comments expressed       59.5(a)(4) is ‘‘Provide services in a
comments opposed to this provision.          concern with the specific phrase and          manner that does not discriminate
One comment felt that requiring              stated that ‘‘if Title X providers are        against any client based on religion,
services to be client-centered, inclusive,   intended, as stated in the proposed rule,     race, color, national origin, disability,
and trauma-informed would create             to work towards advancing health              age, sex, sexual orientation, gender
additional ‘‘burden on applicants and        equity, it is imperative that care is         identity, sex characteristics, number of
providers to ensure equity within their      delivered in a way that intentionally         pregnancies, or marital status.’’ This
programs.’’ Another comment argued           centers and considers the identity and        revised language is adopted as final.
with the definition of client-centered       needs of the patient.’’ Several comments
care and believed that it violated           requested that the Department revise the      § 59.5(a)(8). Charges for Services With a
conscience protections. Still another                                                      Schedule of Discounts
                                             provision to instead say ‘‘provide
expressed concern that the requirement       services in a manner that does not               In the NPRM, the Department
for equity in conjunction with the           discriminate against any patient based        proposed revising section 59.5(a)(8) of
requirement for inclusivity would            on religion, race, color, national origin,    the 2000 regulations by including
violate civil rights laws and the            disability, age, sex, number of               widely accepted billing practices from
Constitution ‘‘by giving certain classes     pregnancies, or marital status’’ which        the 2014 Title X Program Requirements.
of people preferential treatment.’’          they felt better supports health equity.      The NPRM text reads, ‘‘Provide that
   Response: The Department                     Response: The Department agrees            charges will be made for services to
appreciates the comments in support of       with the comments and believes that           clients other than those from low-
this provision and agrees that providing     revising the language as requested more       income families in accordance with a
services in a manner required by this        clearly meets the intent of this              schedule of discounts based on ability
provision will advance equity, increase      provision, which is to prevent                to pay, except that charges to persons
access, improve outcomes for Title X         discrimination in the provision of            from families whose annual income
clients, and reinforce the longstanding      services.                                     exceeds 250 percent of the levels set
requirement that ‘‘[s]ervices must be           In addition, the Department is             forth in the most recent Poverty
provided in a manner which protects          updating ‘‘sex’’ in 59.5(a)(4) to include     Guidelines issued pursuant to 42 U.S.C.
the dignity of the individual.’’ The         sexual orientation, gender identity, and
Department disagrees that the                sex characteristics consistent with the         11 This language reflects requirements on Title X

requirements of this provision will          section 1557 of the Affordable Care Act,      projects principally engaged in healthcare activities
                                                                                           under 42 CFR part 59. If grants for the production
result in additional burden for              case law, Executive Order 13988 (86 FR        of informational materials were again to be made
applicants or providers, rather the          7023, Jan. 25, 2021), and Departmental        under PHSA § 1005, this definition might not apply.




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9902(2) will be made in accordance           and does not state the statutory             expressed support that ‘‘cost should not
with a schedule of fees designed to          requirement. The Department believes         be a barrier’’ to receiving services. Still
recover the reasonable cost of providing     that adding language requested in the        other reaffirmed support that allowing
services. (i) Family income should be        comments could hinder Title X clients        use of self-reported income ‘‘will greatly
assessed before determining whether          who qualify for sliding fee discounts        improve accessibility and affordability
copayments or additional fees are            from receiving the discounts, which is       for low-income and uninsured patients
charged. (ii) With regard to insured         contrary to Title X’s mandate of             seeking care from Title X program
clients, clients whose family income is      prioritizing services to low-income          grantees.’’ One comment felt that the
at or below 250 percent FPL should not       clients. Further, OPA clarifies how Title    provision did not go far enough and
pay more (in copayments or additional        X grantees may remain in compliance          asked that the language ‘‘explicitly state
fees) than what they would otherwise         with Title X Program requirements            that a client’s self-reported income is
pay when the schedule of discounts is        when integrating services with HRSA’s        sufficient, and that providers do not
applied.’’                                   Health Center Program grantees and           need to verify client income.’’
   Comments: The Department received         look-alikes in OPA Program Policy               The Department also received several
several comments on this provision           Notice: 2016–11: Integrating with            comments on this provision specifically
specifically seeking closer alignment of     Primary Care Providers.’’                    seeking closer alignment between Title
HRSA’s (Health Resources & Service              Rather than revising the regulation       X and HRSA’s Health Center Program
Administration) Health Center Program        and risk Title X clients not receiving all   (authorized by Section 330 of the PHS
(authorized by Section 330 of the PHS        discounts for which they qualify, OPA        Act) to minimize administrative burden
Act) and OPA’s Title X Program to            will continue to work closely with           for dually funded grantees. Several
minimize administrative burden for           HRSA to ease administrative burden for       comments felt that allowing a client’s
dually funded grantees. Specifically,        grantees funded under both programs.         self-reported income in cases where a
one comment suggested modifying the          The Department will provide additional       client’s income cannot be verified
proposed language in § 59.5(a)(8)(ii) to     guidance and technical assistance to         despite reasonable attempts is
include additional language about            dually funded grantees aimed at              inconsistent with the Health Center
sliding fee discounts from the Health        reducing administrative burden. In           Program guidance. Comments reported
Center Program Compliance Manual             conclusion, the Department adopts the        that ‘‘health centers have broad
that states that sliding fee discounts are   language from the NPRM for § 59.5(a)(8)      discretion to determine the appropriate
‘‘subject to potential legal and             as final without revisions.                  means to assess patient income and
contractual restrictions.’’ Another                                                       family size. While allowing self-
                                             § 59.5(a)(9). Reasonable Measures To
comment lauded § 59.5(a)(8)(ii) for                                                       declaration is typical in the health
                                             Verify Client Income
ensuring that clients with family income                                                  center program, some health centers
at or below 250 percent FPL do not pay          In the NPRM, the Department               have opted to adopt a policy
more than what they would otherwise          proposed adding a new section                establishing that self-declaration,
pay under the schedule of discounts;         59.5(a)(9) to include one requirement        without supporting documentation, is
however, the comment expressed that          from the 2014 Title X Program                not an acceptable means to verify
this ‘‘requirement violates insurance        Requirements that grantees take              income for every patient.’’
contracts and contradicts the guidance       reasonable measures to verify client            Response: The Department
of other funders (e.g., HRSA).’’ Yet         income, and a new requirement that           appreciates the supportive comments
another comment expressed the need for       grantees use client self-reported income     and agrees that the requirements in this
additional guidance specific to Title X      if the income cannot be verified after       provision will greatly improve
grantees and subrecipients operating         reasonable attempts. The Department          accessibility and affordability of
under the Health Center Program, to          believes that these proposed revisions       services for low-income clients
assist with alignment of billing             will greatly improve accessibility and       consistently across all Title X grantees.
practices.                                   affordability of services for low-income     The elimination of barriers to Title X
   Response: The Department fully            clients consistently across all Title X      services for low-income clients is
supports minimizing administrative           grantees.                                    important to the Title X program. The
burden for grantees funded under both           The NPRM text reads, ‘‘Take               Department disagrees that the
the Title X program and HRSA’s Section       reasonable measures to verify client         requirements in 59.5(a)(9) are not
330 Health Center Program, recognizing       income, without burdening clients from       compatible with HRSA’s guidance.
that providers that dually participate in    low-income families. Recipients that         HRSA requires health centers to operate
the two programs have been one of the        have lawful access to other valid means      in a manner such that no patient shall
fastest growing segments of the Title X      of income verification because of the        be denied service due to an individual’s
provider network. Similar to the Health      client’s participation in another program    inability to pay; further, HRSA Health
Center Program’s statutory requirement       may use those data rather than re-verify     Center Program grantees are required to
that health centers must operate in a        income or rely solely on clients’ self-      establish systems for sliding fee scale
manner such that no patient shall be         report. If a client’s income cannot be       eligibility that comply with statutory
denied service due to an individual’s        verified after reasonable attempts to do     requirements under section 330 of the
inability to pay, the Department also        so, charges are to be based on the           PHS Act and regulatory requirements
believes, and the Title X statute            client’s self-reported income.’’             under 42 CFR 51c.303(f) and 56.303(f),
requires, that an individual’s ‘‘economic       Comments: The Department received         which do not preclude self-declaration
status shall not be a deterrent to           several comments supporting the use of       of income and family size. The
participation’’ in Title X program           self-reported income. Comments               Department believes that the HRSA
services. See PHS Act sec. 1006(c). The      received from members of the House of        Health Center Program requirements are
Department does not believe that adding      Representatives stated, ‘‘[W]e support       fully consistent with the language in
to this rule the commenter’s suggested       the Department’s stance that patients be     § 59.5(a)(9). A strict standard of income
language with respect to the Health          allowed to self-report their income,         verification at a particular health center
Center Program Compliance Manual is          removing an unnecessary potential            is a choice that does not warrant
warranted as it is taken out of context      barrier to care.’’ Other comments            weakening a standard in Title X that the




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Department has created to support and          Another comment expressed concern            their compliance to the statute,
reinforce the program’s statutory              that the proposed rule did not include       regulations, and legislative mandates.
obligation to prioritize services to           the minor age record-keeping                 Furthermore, OPA includes the
persons from low-income families. In           requirements and made an assertion that      legislative mandates in its grantee
conclusion, the Department adopts the          ‘‘[t]his lack of record keeping serves to    orientation and trainings and regularly
language from the NPRM for § 59.5(a)(9)        enable sex traffickers and abusers to        monitors grantee compliance with the
as final without revisions.                    continue undetected in their abuse.’’        legislative mandates through grantee
                                               The comment proposed reinstatement of        reporting and compliance monitoring
§ 59.5(a)(12). State Reporting Laws
                                               these requirements and further               visits. OPA has consistently
   In the NPRM, the Department                 proposed rescinding the funding of any       documented compliance with this
proposed adding 59.5(a)(12) to retain          grant recipient who fails to screen for      mandated requirement and will
some, but not all, language from the           and report sexual abuse or sex               continue to do so. A 2005 OIG report
2019 rule on notification or reporting of      trafficking.                                 (OEI–02–03–00530) found that OPA has
child abuse, child molestation, sexual            Response: The Department agrees           informed and periodically reminded
abuse, rape, incest, intimate partner          with comments that all Title X               Title X grantees of their responsibilities
violence, or human trafficking. The            recipients must follow state reporting       regarding state child-abuse and sexual-
NPRM language stated, ‘‘Title X projects       laws and must comply with mandatory          abuse reporting requirements.
shall comply with all State and local          reporting requirements regarding child          Given the comments received and that
laws requiring notification or reporting       abuse, child molestation, sexual abuse,      Title X compliance with state
of child abuse, child molestation, sexual      rape, or incest. The Department              mandatory reporting is already required
abuse, rape, incest, intimate partner          disagrees with the assertion that ‘‘. . .    through a legislative mandate for the
violence or human trafficking                  lack of record keeping serves to enable      Title X program, the Department does
(collectively, ‘‘State notification laws’’).   sex traffickers and abusers to continue      not deem it necessary to include this
Title X projects must provide                  undetected in their abuse.’’ States have     provision within the final regulation
appropriate documentation or other             already established specific guidelines      itself. Furthermore, this provision was a
assurance satisfactory to the Secretary        on the details that must be included in      part of the 2019 rule that is being
that it: (i) Has in place and implements       mandatory reports. As such, the              rescinded as a whole because it was a
a plan to comply with State notification       Department believes that it is not           set of interrelated requirements that did
laws. (ii) Provides timely and adequate        necessary to impose this additional          not promote the public health or solve
annual training of all individuals             reporting burden through Title X             any Title X compliance concerns. In
(whether or not they are employees)            regulations.                                 conclusion, the Department removes
serving clients for, or on behalf of, the         Since 1999, Congress has required,        language from the NPRM for
project regarding State notification laws;     through the annual appropriations bill       § 59.5(a)(12) from the 2021 final rule.
policies and procedures of the Title X         that, ‘‘[n]otwithstanding any other
                                                                                            § 59.5(a)(13). Subrecipient Monitoring
project and/or for providers with respect      provision of law, no provider of services
to notification and reporting of child         under Title X of the PHS Act shall be           In the NPRM, the Department
abuse, child molestation, sexual abuse,        exempt from any State law requiring          proposed adding 59.5(a)(13) to retain
rape, incest, intimate partner violence        notification or the reporting of child       some, but not all, of the language from
and human trafficking; appropriate             abuse, child molestation, sexual abuse,      the 2019 rule related to subrecipient
interventions, strategies, and referrals to    rape, or incest.’’ All requirements in the   monitoring and reporting. This addition
improve the safety and current situation       appropriations riders are legislative        required Title X grantees to report on
of the patient; and compliance with            mandates for the Title X program and all     the subrecipients and referral agencies
State notification laws.’’                     Title X grantees must comply with            involved in their Title X projects and to
   Comments: Many comments                     them. The Department will continue to        provide their plan for oversight and
supported the elimination of section           enforce and monitor grantee compliance       monitoring of their subrecipients in
59.17 from the 2019 rule. Comments             with all Title X statutory requirements      grantee reports.
supported eliminating ‘‘the 2019 rule’s        and legislative mandates, including the         The NPRM language stated, ‘‘Ensure
attempt to give HHS substantial                mandate that ‘‘no provider of services       transparency in the delivery of services
oversight over compliance with                 under Title X of the PHS Act shall be        by reporting the following information
complex state reporting requirements.’’        exempt from any State law requiring          in grant applications and all required
Many comments noted that                       notification or the reporting of child       reports: (i) Subrecipients and agencies
‘‘professionals providing services in          abuse, child molestation, sexual abuse,      or individuals providing referral
Title X-funded sites are aware of their        rape, or incest.’’                           services and the services to be provided;
reporting obligations, already receive            As noted above with respect to            (ii) Description of the extent of the
training on them, and make reports in          Section II. C. Grantee and Subrecipient      collaboration with subrecipients,
compliance with these requirements.’’          Compliance, OPA explicitly states in         referral agencies, and any individuals
Other comments stressed that                   NOFOs that all Title X grantees must         providing referral services, in order to
determining compliance with state              comply with the Title X statute,             demonstrate a seamless continuum of
reporting laws lies with state authorities     regulations, and legislative mandates. In    care for clients; and (iii) Explanation of
and noted that state reporting laws ‘‘are      addition, Title X applicants certify in      how the recipient will ensure adequate
complex and vary widely from state to          the application materials that they will     oversight and accountability for quality
state.’’                                       comply with federal law, and                 and effectiveness of outcomes among
   One comment written in opposition to        compliance with federal law, and             subrecipients.’’
the NPRM expressed that the NPRM               compliance with program statutes and            Comments: The Department received
excluded ‘‘the mandatory reporting of          appropriations act requirements is also      several comments expressing concerns
sex trafficking and violence by intimate       included as a standard term of the Title     with the requirements of this provision
partners.’’ Another comment requested          X grant award. Therefore, during the         and the high reporting burden
that the 2019 Title X requirement for          application process as well as by            associated with it. One comment
mandatory reporting be kept fully intact.      accepting funds, grantees have assured       requested that section § 59.5(a)(13) be




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removed completely because of the            Department has decided to remove              the importance of telehealth, especially
additional reporting requirements it         § 59.5(a)(13) from the 2021 final rule.       throughout the COVID–19 pandemic, in
creates. Another comment requested                                                         allowing many Title X clients to
                                             § 59.5(b)(1) Provide Medical Services
that the Department only require                                                           continue to safely access essential
                                             Related to Family Planning
grantees to submit the additional                                                          services. Many comments expressed
information required by this provision          In the NPRM, the Department                concern with the Department’s use of
for subrecipients during regular reports     proposed revising section 59.5(b)(1) of       the word ‘‘telemedicine’’ in the NPRM
but not during the initial application.      the 2000 regulations to acknowledge           instead of ‘‘telehealth’’ and felt that
The comment expressed a concern that         that consultation for medical services        telehealth refers ‘‘to a broader scope of
for large Title X networks, ‘‘providing a    related to family planning can be             remote healthcare services than
description of all referral agencies and     provided by healthcare providers              telemedicine and includes non-clinical
individuals, and outlining                   beyond the physician. Specifically, the       services like counseling and education.’’
collaborations with each subrecipient,       NPRM stated, ‘‘Provide for medical            Several comments specifically asked the
will still pose a significant burden for     services related to family planning           Department to revise § 59.5(b)(1) to be
Title X grantees, particularly at the time   (including consultation by a healthcare       clear within the regulation that family
of application when applicants are often     provider, examination, prescription, and      planning services can be provided ‘‘in
afforded 60 days or less to apply.’’ Many    continuing supervision, laboratory            person or via telehealth.’’ Other
other comments requested that the            examination, contraceptive supplies)          comments asked the Department to
Department revise the language in this       and necessary referral to other medical       specify within the regulation that
provision to focus only on subrecipients     facilities when medically indicated, and      telehealth services can include ‘‘audio-
and not referral agencies ‘‘due to high      provide for the effective usage of            only modalities’’ and expressed that ‘‘all
burden’’ of reporting given the size of      contraceptive devices and practices.’’        forms of telehealth modalities,
                                             The proposed revision acknowledged            including audio-only must be covered to
grantee networks and the high number
                                             that consultation for healthcare services     remove any barriers of access for
of possible referrals made by individual
                                             related to family planning may be by a        patients.’’ One comment asked the
sites. One comment stressed that ‘‘under
                                             physician, but may also be by other           Department to provide guidance to Title
the 2000 regulations, past grantees were
                                             healthcare providers, specifically            X grantees on how to use telehealth
required to monitor each organization
                                             acknowledging participation by                services to ensure access, equity, and
and ensure that their clinic sites had
                                             physician assistants and nurse                quality.
appropriate referrals, that they were        practitioners.                                   Response: The Department
available to all clinic personnel, and          Comments: The Department received          appreciates the comments in support of
that clients’ medical charts reflected       numerous comments supporting this             this provision, especially those that
appropriate referrals given and follow-      revised provision, specifically in            recognize the role of a broader range of
up performed. However, grantees were         support of the recognition that a broad       healthcare providers in delivering
not required to gather every referral        range of healthcare providers, in             family planning services. It was never
source and report this information to        addition to physicians, have an               the Department’s intention to imply that
HHS. This requirement will likely create     important role to play in providing           the only healthcare providers who could
an administrative burden that could be       medical services related to family            provide consultation under this
accomplished through HHS monitoring          planning. Comments expressed                  provision were physician assistants and
of grantees.’’                               agreement that ‘‘other clinicians often       nurse practitioners. Physician assistants
   Response: It is clear from the            play an important role in providing           and nurse practitioners were included
comments received that the proposed          family planning counseling and other          in the NPRM preamble to provide
requirements in § 59.5(a)(13) are            services.’’ In addition, numerous             examples, but not to be exclusionary.
unnecessarily burdensome for grantees        comments asked the Department to              The Department agrees with comments
and will result in Title X staff having to   clarify that this provision includes a        recommending use of the definition of
spend valuable time on administrative        broader range of healthcare providers         Clinical Services Providers from FPAR
reporting that could otherwise be spent      beyond just physician assistants and          to determine who is eligible as a
providing services to clients. The           nurse practitioners, as noted in the          healthcare provider under this provision
Department agrees that monitoring how        preamble of the NPRM. One comment             and, as noted in the discussion related
grantees are involving and monitoring        asked that the Department use the             to Section 59.2 Definitions, is adding
their subrecipients in their project and     definition of Clinical Services Provider      this definition to the final rule. The
the composition of grantee referral          from FPAR. Many other comments                FPAR definition for Clinical Services
networks can be achieved through the         stated that ‘‘it is important to note that    Providers includes ‘‘physicians,
Department’s existing grantee                ‘consultation by a [healthcare] provider’     physician assistants, nurse practitioners,
compliance monitoring system.                is not and should not be limited only to      certified nurse midwives, and registered
Departmental grants regulations at 45        the examples cited by HHS, as these           nurses with an expanded scope of
CFR 75.352 already document the              CSPs represent only one facet of              practice who are trained and permitted
requirements for pass-through entities       healthcare providers in Title X               by state-specific regulations to perform
and specify the reporting required of        settings.’’                                   all aspects of the user (male and female)
grantees for all pass-through entities.         In addition to the numerous                physical assessments recommended for
Furthermore, this provision was a part       comments related to the array of              contraceptive, related preventive health,
of the 2019 rule that is being rescinded     healthcare professionals that are             and basic infertility care.’’
as a whole because it was a set of           responsible for clinical service                 The Department agrees with the
interrelated requirements that did not       provision in Title X, the Department          comments reiterating the importance of
promote the public health or solve any       also received numerous comments               telehealth and the role of telehealth
Title X compliance concerns.                 asking for the language of this provision     services in expanding access to services
   Given the challenges noted with this      to be revised to clearly reflect telehealth   and advancing equity. The Department
provision and the additional reporting       as an acceptable service delivery             had always intended for the final rule to
burden it would place on grantees, the       modality. Several comments expressed          apply to family planning services




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provided in-person or via telehealth and      indicated, and provide for the effective       respond to the comment received. In
had specifically stated in the NPRM that      usage of contraceptive devices and             conclusion, the Department adopts the
the Department was ‘‘readopting the           practices.’’ This revised language for         language from the NPRM for § 59.5(b)(3)
2000 regulations with revisions that will     § 59.5(b)(1) is adopted as final.              as final without revisions.
enhance the Title X program and its
                                              § 59.5(b)(3) Community Education,              59.5(b)(6) Services Under Direction of
family planning services, including
                                              Participation, and Engagement                  Clinical Services Provider
family planning services provided using
telemedicine, for the future.’’ Telehealth      In the NPRM, the Department                      The NPRM proposed the same
has played a critical role for Title X in     proposed revising section 59.5(b)(3) of        regulatory text for this provision as has
responding to the COVID–19 pandemic.          the 2000 regulations to reflect the desire     been included in the 2000 regulations,
By utilizing telehealth modalities, Title     to engage diverse individuals to make          which read, ‘‘Provide that family
X grantees were able to continue to           services accessible. Specifically, the         planning medical services will be
provide essential family planning             NPRM stated, ‘‘Provide for                     performed under the direction of a
services throughout the pandemic. With        opportunities for community education,         physician with special training or
the onset of COVID–19, the vast               participation, and engagement to: (i)          experience in family planning.’’
majority of Title X grantees transitioned     Achieve community understanding of                 Comments: The Department received
to some form of telehealth service            the objectives of the program; (ii) Inform     numerous comments requesting
delivery in order to continue providing       the community of the availability of           revisions to the regulatory text for this
services while limiting contact between       services; and (iii) Promote continued          provision. Comments requested that the
individuals and protecting client safety.     participation in the project by diverse        regulation expand beyond physician-
Telehealth was commonly used by Title         persons to whom family planning                only directed services. Several
X grantees for non-urgent visits that did     services may be beneficial to ensure           comments requested that the text be
not require a physical exam. Of               access to equitable, affordable, client-       revised to be consistent with the
importance, more than half of the             centered, quality family planning              revisions to § 59.5(b)(1), which
grantees that were able to deliver            services.’’ The revision added language        recognized the importance of a broader
telehealth during COVID–19 reported to        to clarify the intent to engage diverse        range of healthcare providers, in
OPA in their progress reports that they       individuals to ensure access to                addition to physicians, in providing
intended to continue offering telehealth      equitable, affordable, client-centered,        family planning services. Several
services even after the pandemic ends,        quality family planning services.              comments requested revisions to
due to the advantages for both clients          Comments: The Department received            expand direction of family planning
and staff.                                    one comment expressing support for             services to very specific types of
   Given the comments received, the           59.5(b)(3), especially emphasizing the         healthcare providers. One comment
Department believes that it is important      importance of the participation and            asked that the language clarify that
to include language specifically in the       engagement of diverse individuals in           nurse practitioners have the authority to
regulatory text to clarify that telehealth    making family planning services                direct family planning programs.
services also constitute appropriate          accessible, equitable, and client-             Another comment asked that the
service delivery. The Department also         centered. The Department received one          language be revised from physician to
agrees with the request to use the term       comment asking that the language of            ‘‘licensed healthcare provider.’’ Still
‘‘telehealth’’ rather than ‘‘telemedicine’’   59.5(b)(3) be revised to ‘‘be clear that the   another asked that this section be
to be clear that telehealth services          needs of adolescents and young adults’’        revised to specifically authorize
include non-clinical services like            are included in community education,           physician assistants to direct family
counseling and education. While               participation, and engagement.                 planning services.
cognizant that synchronous telehealth           Response: The Department                         Several other comments were specific
services may be delivered through             appreciates the comments in response to        to advanced practice registered nurses
different modes of technology and that        this provision. Community education,           (APRNs) and asked that the language
audio-only modalities may mitigate            participation, and engagement are              specify that APRNs ‘‘be able to serve as
access barriers, particularly for those       important for Title X projects because         the medical director (in states with full
with limited internet and/or cellular         they help ensure that the community is         practice authority).’’ One commenter
data, the Department does not agree that      aware of the Title X program and the           pointed out that ‘‘while state licensure
the regulatory text needs to be so            services available. In addition,               rules vary, many states have granted full
specific to reference the use of ‘‘audio-     community participation and                    practice authority to APRNs, enabling
only modalities,’’ especially given how       engagement are critical to helping Title       independent practice.’’ Another
rapidly technology can change. Instead,       X providers better understand and              comment requested that the Department
the Department will provide additional        center the needs and experiences of the        consider whether registered nurses
training and technical assistance to          community and the clients served.              could direct family planning services
grantees on the use of various telehealth     Together, community education,                 ‘‘especially in areas of provider
modalities to improve access, quality,        participation, and engagement are              shortage.’’ A final comment asked for
and equity.                                   foundational for ensuring access, equity,      the text to be amended to allow services
   With the revisions noted above, the        and quality through the provision of           provided ‘‘under the direction of an
revised language of 59.5(b)(1) for the        Title X services.                              advanced practice clinician, if the
2021 rule is, ‘‘Provide for medical             In response to the one comment               services offered are within their scope of
services related to family planning           requesting a revision to the provision,        practice and if allowable under state
(including consultation by a clinical         the Department believes that the               law.’’
services provider, examination,               proposed regulatory text is broad and              Response: Given the comments
prescription, and continuing                  already includes the needs of                  received, the Department agrees that
supervision, laboratory examination,          adolescents and young adults as                having consistency between 59.5(b)(1)
contraceptive supplies), in person or via     currently written. The Department does         and 59.5(b)(6) is important to more
telehealth, and necessary referral to         not believe that additional revisions are      clearly reflect the role of a broader range
other medical facilities when medically       needed to the regulatory text in order to      of healthcare providers in providing




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Title X services. The Department also         for revising the provision to include        (print and electronic) developed or
agrees with comments that other               primary healthcare providers in the list     made available under the project by an
healthcare providers, including               of referrals and to require that referrals   Advisory Committee prior to their
physician assistants and APRNs in             be to nearby providers, when feasible.       distribution, to assure that the materials
many states, have authority to direct         One comment expressed support and            are suitable for the population or
family planning programs and should be        said that ‘‘referring Title X patients to    community to which they are to be
included within the regulation.               local primary care physicians would          made available and the purposes of Title
   As stated earlier, the Department          facilitate access to continuous,             X of the Act. The project shall not
received comments in response to              comprehensive healthcare.’’ Several          disseminate any such materials which
59.5(b)(1) asking for more clarity on the     other comments expressed support and         are not approved by the Advisory
term ‘‘healthcare providers’’ included in     stressed the existing collaborative          Committee.
the NPRM, with many comments                  relationships between many HRSA-                (b) The Advisory Committee referred
recommending use of the term ‘‘clinical       funded health centers and Title X sites.     to in paragraph (a) of this section shall
services provider’’ as defined by OPA in      Comments expressed that ‘‘referral           be established as follows:
FPAR. As a result, the Department has         relationships allow the health center           (1) Size. The Committee shall consist
revised the final language for 59.5(b)(1)     and the Title X site to become more          of no fewer than five members and up
to use the term ‘‘clinical services           familiar with one another’s operations       to as many members as the recipient
provider’’ instead of ‘‘healthcare            and service lines, often serving as a        determines, except that this provision
provider’’ and has revised 59.2 to            useful precursor to a more integral          may be waived by the Secretary for good
include the FPAR definition of ‘‘clinical     relationship in the future.’’                cause shown.
services provider’’ in the regulatory text.      Response: The Department                     (2) Composition. The Committee shall
The FPAR definition for clinical              appreciates the many supportive              include individuals broadly
services provider includes ‘‘physicians,      comments in response to this revised         representative of the population or
physician assistants, nurse practitioners,    provision. The Department agrees that it     community for which the materials are
certified nurse midwives, and registered      is important for Title X clinics to          intended (in terms of demographic
nurses with an expanded scope of              provide referrals and linkages to a wide     factors such as race, ethnicity, color,
practice who are trained and permitted        range of healthcare services to help         national origin, disability, sex, sexual
by state-specific regulations to perform      facilitate access for Title X clients to     orientation, gender identity, age, marital
all aspects of the user (male and female)     needed healthcare services beyond            status, income, geography, and
physical assessments recommended for          family planning. Given that the              including but not limited to individuals
contraceptive, related preventive health,     Department received no comments              who belong to underserved
and basic infertility care.’’                 expressing concern with or opposition        communities, such as Black, Latino, and
   To ensure consistency between              to the proposed modification, the            Indigenous and Native American
59.5(b)(1) and 59.5(b)(6) as requested in     Department adopts the language from          persons, Asian Americans and Pacific
the public comments, the Department           the NPRM for § 59.5(b)(8) as final           Islanders and other persons of color;
has revised the language for the 2021         without revisions.                           members of religious minorities;
rule for 59.5(b)(6) to, ‘‘Provide that                                                     lesbian, gay, bisexual, transgender, and
                                              § 59.6 Suitability of Informational and
family planning medical services will be                                                   queer (LGBTQ+) persons; persons with
                                              Educational Material
performed under the direction of a                                                         disabilities; persons who live in rural
clinical services provider, with services        In the NPRM, the Department
                                                                                           areas; and persons otherwise adversely
offered within their scope of practice        proposed revising the 2000 regulations
                                                                                           affected by persistent poverty or
and allowable under state law, and with       by combining requirements specific to
                                                                                           inequality).
special training or experience in family      the Information and Education Advisory          (3) Function. In reviewing materials,
planning.’’ This revised language for         Committee (‘‘Advisory Committee’’) that      the Advisory Committee shall:
§ 59.5(b)(6) is adopted as final.             were in sections 59.5(a)(11) and 59.6           (i) Consider the educational, cultural,
                                              and consolidating all of the Advisory        and diverse backgrounds of individuals
59.5(b)(8) Coordination and Use of
                                              Committee information in one place,          to whom the materials are addressed;
Referrals and Linkages
                                              under section 59.6. The NPRM proposed           (ii) Consider the standards of the
   In the NPRM, the Department                several revisions to 59.6 to clarify that    population or community to be served
proposed revising section 59.5(b)(8) of       the regulation applies to both print and     with respect to such materials;
the 2000 regulations to add language to       electronic materials (in both the title of      (ii) Review the content of the material
include primary healthcare providers in       the section and regulatory text), that the   to assure that the information is
the list of referrals and to state that       upper limit on council members should        factually correct, medically accurate,
referrals are to be to providers in close     be determined by the grantee, that the       culturally and linguistically
proximity to the Title X site when            factors to be considered for broad           appropriate, inclusive, and trauma-
feasible. The NPRM stated, ‘‘Provide for      representation on the Advisory               informed;
coordination and use of referrals and         Committee match the definition of               (iii) Determine whether the material is
linkages with primary healthcare              inclusivity earlier in the regulation, and   suitable for the population or
providers, other providers of healthcare      that materials will be reviewed for          community to which is to be made
services, local health and welfare            medical accuracy, cultural and               available; and
departments, hospitals, voluntary             linguistic appropriateness, and                 (iv) Establish a written record of its
agencies, and health services projects        inclusivity and to ensure they are           determinations.’’
supported by other federal programs           trauma-informed.                                Comments: The Department received
who are in close physical proximity to           Specifically, the NPRM states:            one comment in support of the
the Title X site, when feasible, in order        ‘‘(a) A grant under this section may be   proposed revisions that expressed that
to promote access to services and             made only upon assurance satisfactory        ‘‘this will ensure that information and
provide a seamless continuum of care.’’       to the Secretary that the project shall      materials provided to clients are
   Comments: The Department received          provide for the review and approval of       appropriate and suitable for the specific
several comments expressing support           informational and educational materials      communities to be served.’’ Another




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comment shared specific support for the      to the Advisory Committee, including          ‘‘develop additional guidance and tools
requirement that grantees provide            that the ‘‘committee shall include            that Title X sites and other healthcare
‘‘culturally and linguistically              individuals broadly representative of         organizations can readily implement’’ to
appropriate’’ materials. One comment         the population or community to which          meaningfully advance health equity.
opposed to this provision expressed that     the materials are to be made available’’      Still another comment expressed
the language in 59.6 ‘‘remains overly        (PHS Act sec. 1006(d)(2)).                    concern that the NPRM did not include
narrow and prescriptive’’ and                   The Department also disagrees with         an explanation ‘‘for how a Title X
recommended that the language be             the comment that the regulation is            project can, in fact, ensure equity in
revised to require ‘‘a Community             segregating or prioritizing services or       general and specifically in a way that
Advisory Board charged with a broad          committee members. The text of the            does not lead to actual discrimination
array of responsibilities to ensure the      provision calls for the Committee             based on a protected basis.’’
appropriateness of Title X services for      membership to include ‘‘individuals              Response: The Department
intended communities.’’ Another              broadly representative of the population      appreciates the comments and
comment opposed ‘‘underrepresented           or community for which the materials          recommendations received. The grant
communities’’ in composition of the          are intended. ........... Including but not   review criteria from the 2000 regulation
advisory council and claimed that ‘‘to       limited to individuals who belong to          include several criteria aimed at
the extent it results in segregation or      underserved communities.’’ Since all          assessing the need, capacity, and ability
prioritization of Title X services or        communities served are different, the         of the applicant organization, including
committee membership by protected            aim of this provision is to ensure the        the relative need of the applicant, the
classes such as race, it violates the        committee is representative of the            capacity of the applicant to make rapid
Constitution and several civil rights        community and population served, as           and effective use of the federal
laws.’’ This same comment also               required by the statute. The Department       assistance, the adequacy of the
opposed having the advisory committee        disagrees with the opposition to having       applicant’s facilities and staff, the
review materials to certify that they are    the Advisory Committee review                 relative availability of non-federal
trauma-informed and inclusive.               materials to ensure they are inclusive        resources within the community to be
   Response: The Department                  and trauma-informed. Providing                served and the degree to which those
appreciates the supportive comment in        information and educational materials         resources are committed to the project,
response to this provision. The role of      that are inclusive and trauma-informed        and the degree to which the project plan
the Advisory Committee is critically         are a critical component of providing         adequately provides for the
important to ensure that the information     quality, client-centered care.                requirements set forth in these
and educational materials provided to           The Department does not believe that       regulations. In addition, the grant
Title X clients are factually correct,       revisions are needed to the regulatory        review criteria from the 2000 regulation
medically accurate, culturally and           text included in the NPRM. As a result,       include two criteria aimed at assessing
linguistically appropriate, inclusive,       the Department adopts the language            need in the communities served,
and trauma-informed. Engaging the            from the NPRM for § 59.6 as final with        including the number of clients, and, in
community and population served in           a technical correction to include ‘‘sex       particular, the number of low-income
the Advisory Committee itself is a key       characteristics’’.                            clients to be served; and the extent to
strategy to inform the grantee about the     § 59.7 Grant Review Criteria                  which family planning services are
needs and experiences of the                                                               needed locally.
community and population served, and            In the NPRM, the Department                   The Department believes that adding
to make sure that the information and        proposed revising section 59.7 of the         the new grant review criterion to assess
education materials are appropriate for      2000 regulations to add one additional        the ability of the applicant to advance
the community and population served.         review criterion that the Department          health equity is important to enable
   The Department disagrees with the         may consider in deciding which family         OPA to more fully assess the extent to
comment that the language in 59.6 is too     planning projects to fund and in what         which the applicant’s project will
narrow and prescriptive. The                 amount, which is ‘‘the ability of the         promote health equity through the Title
Department believes that the                 applicant to advance health equity.’’         X services provided. Under 59.2, health
requirements set forth in 59.6 are           Adding this new criterion to the 2000         equity is defined as ‘‘when every person
critical for ensuring that informational     regulations brings the total number of        has the opportunity to attain their full
and educational materials provided to        grant review criteria specified in the        health potential and no one is
Title X clients are factually correct,       regulation from seven to eight.               disadvantaged from achieving this
medically accurate, culturally and           Advancing health equity is critical to        potential because of social position or
linguistically appropriate, inclusive,       the mission of the Title X program. The       other socially determined
and trauma-informed. In addition, the        addition of this grant review criterion       circumstances.’’
Title X statute prescribes requirements      will help ensure that grant funds are            Adding a focus on advancing health
related to the informational and             awarded to those applicants who are           equity will not lead to discrimination or
educational materials developed or           best able to help the Department in           preferential treatment as expressed by
made available under the project,            achieving the goal of advancing health        some comments opposed to the NPRM.
including that they ‘‘will be suitable for   equity through the Title X program.           Rather, including a focus on advancing
the purposes of [Title X] and for the           Comments: The Department received          health equity aims to ensure that all
population or community to which they        several comments in response to this          people can actively participate in and
are to be made available, taking into        revised provision asking for additional       benefit from family planning services.
account educational and cultural             details in future funding opportunities       By advancing equity across the federal
background of the individuals to whom        about what the new criterion means and        government, we can create
such materials are addressed and the         how it will be measured. One comment          opportunities for the improvement of
standards of such population or              provided specific examples of how the         communities that have been historically
community with respect to such               Department could operationalize the           underserved, which benefits everyone.
materials’’ (PHS Act sec. 1006(d)(1)),       new grant review criterion. Another           The federal government’s goal in
and also prescribes requirements related     comment asked the Department to               advancing equity is to provide everyone




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with the opportunity to reach their full    information to policyholders where the        program and is included in OPA
potential.                                  policyholder is someone other than the        Program Policy Notice 2014–01:
   To measure the ability of an applicant   client. Since state and local laws may        Confidential Services to Adolescents.
to advance health equity, OPA could         vary across jurisdictions (e.g., some are     One comment stated, ‘‘We encourage
assess how the location of planned Title    likely to result in notification to the       you to take all possible steps when
X service sites compares to the need for    policyholder that the client has received     finalizing the rule to ensure that
family planning services within the         services, others provide for an ‘‘opt out’’   adolescents are treated with the same
communities served. OPA also could          process whereby the client can elect that     client-centered approach as all other
assess how the applicant plans to           such a notification will not be made),        patients at Title X-funded health
provide services in a manner that is        this addition was added to ensure that        centers.’’ In addition, many comments
culturally and linguistically               the client understands the implications       generally opposed the removal of
appropriate. OPA could assess how the       for using their insurance and the             language from the regulation that
project plans to monitor outcomes by        options available for them to maintain        encouraged family participation in the
clients’ income, race, ethnicity,           confidentiality.                              decision of a minor patient to seek
geographic location, etc., as well as how      Specifically, the NPRM stated, ‘‘All       family planning services and requested
the project plans to address differences    information as to personal facts and          that the language be added back into the
in outcomes through the Title X services    circumstances obtained by the project         final regulation.
provided. OPA could also ask                staff about individuals receiving                Several other comments expressed
applicants to describe the uptake of        services must be held confidential and        concern with a new rule from the HHS
services by client demographics to          must not be disclosed without the             Office of the National Coordinator for
identify existing disparities and to        individual’s documented consent,              Health Information Technology (ONC)
describe how they would work to             except as may be necessary to provide         about Electronic Health Records and
reduce existing disparities in service      services to the patient or as required by     information blocking. Several comments
provision. In addition, some agencies       law, with appropriate safeguards for          requested that the Department confirm
within the Department have                  confidentiality. Otherwise, information       in the final rule that withholding of
incorporated disparity impact               may be disclosed only in summary,             sensitive information in compliance
statements as a part of the post-grant      statistical, or other form which does not     with 59.10 would ‘‘fall within the ONC
award process. Disparity impact             identify particular individuals.              rule’s privacy exception and would not
statements are just one example of a tool   Reasonable efforts to collect charges         constitute information blocking.’’
that OPA may consider in order to           without jeopardizing client                      Response: The Department
measure demographic, cultural, and          confidentiality must be made. Recipient       appreciates the comments in support of
linguistic data that identify the           must inform the client of any potential       the revised provision in the NPRM. The
population(s) in which health               for disclosure of their confidential          Department agrees with comments to
disparities exist and the quality           health information to policyholders           add specific language to the final rule
improvement plan designed to address        where the policyholder is someone             regarding adolescent confidentiality to
the noted disparities. These are just       other than the client.’’                      reflect Title X legal requirements. Since
examples of how this new grant review          Comments: The Department received          1981, the Title X statute has required
criterion could be operationalized          numerous comments in support of this          that, ‘‘to the extent practical, [grantees]
within future NOFOs.                        provision and the proposed revisions.         shall encourage family participation’’ in
   The Department will provide details      Many comments expressed support for           Title X projects. 42 U.S.C. 300(a).
on how all grant review criteria will be    restoring ‘‘the confidentiality               However, such involvement is not
measured in future NOFOs, including         protections that have been a hallmark of      mandatory and grantees are required to
the new grant review criterion on           the Title X program.’’ Several comments       protect clients’ confidentiality.
advancing health equity. The                expressed support for allowing                Specifically with respect to adolescents,
Department also plans to develop            ‘‘providers to return to the high             courts have for decades recognized
training and technical assistance           standard of confidentiality that all          minors’ rights to receive confidential
products to assist family planning          patients, including adolescents, deserve      services under the Title X program. See,
providers in advancing health equity.       when accessing healthcare services,           e.g., Planned Parenthood Federation of
   In conclusion, the Department adopts     especially ones as potentially sensitive      America, Inc. v. Heckler, 712 F.2d 650
the language from the NPRM for § 59.7       as family planning and sexual health.’’       (D.C. Cir., 1983) (Title X expressly
as final with one technical correction to   Several comments also specifically            protects minors’ rights to seek services
replace ‘‘his estimate’’ with ‘‘an          supported the new language on                 confidentially). See also OPA Program
estimate’’ to reflect inclusive language.   potential disclosure to policyholders.        Policy Notice 2014–01: Confidential
                                               The Department also received               Services to Adolescents.
§ 59.10. Confidentiality                    numerous comments requesting further             The Department does not agree that
  In the NPRM, the Department               revisions to the regulatory text for 59.10.   specific language needs to be added to
proposed revising the provision of the      Numerous comments urged the                   the final rule to clarify the applicability
2000 regulations related to                 Department to add language to the             of the ONC rule to Title X. Instead, as
confidentiality, which was section 59.11    regulatory text to clarify that ‘‘Title X     described below related to section
in the 2000 regulations, but is now         projects may not require consent of           59.12, OPA suggests that grantees seek
section 59.10, to add a widely accepted     parents or guardians for the provision of     guidance from ONC with respect to the
practice in the Title X community,          services to minors, nor can any Title X       applicability of the information-
indicating that reasonable efforts must     project staff notify a parent or guardian     blocking provision, as ONC administers
be made to collect charges without          before or after a minor has requested         this rule and, thus, would be in the best
jeopardizing client confidentiality. In     and/or received Title X family planning       position to interpret it. With this
addition, the Department proposed           services.’’                                   revision, the final language in the 2021
adding a requirement that grantees must        Comments underscored that this             rule for 59.10 is, ‘‘(a) All information as
inform the client of any potential for      language has been longstanding                to personal facts and circumstances
disclosure of their confidential health     guidance from OPA for the Title X             obtained by the project staff about




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individuals receiving services must be                     section 59.12 of the final rule. Other       grantees can more accurately assess
held confidential and must not be                          comments argued that, if the                 which regulations apply to the Title X
disclosed without the individual’s                         Department is planning to make               program by reviewing the regulations at
documented consent, except as may be                       technical corrections to update the list     issue and, in some instances, seeking
necessary to provide services to the                       of regulations that apply to the Title X     guidance from the agencies which
patient or as required by law, with                        program, it should take the opportunity      administer them. For example, several
appropriate safeguards for                                 to clarify the applicability of 45 CFR       comments, in the context of addressing
confidentiality. Otherwise, information                    part 92 (‘‘Nondiscrimination on the          the confidentiality provisions,
may be disclosed only in summary,                          Basis of Race, Color, National Origin,       questioned the applicability of the
statistical, or other form which does not                  Sex, Age, or Disability in Health            information-blocking provisions in the
identify particular individuals.                           Programs or Activities Receiving             ‘‘21st Century Cures Act:
Reasonable efforts to collect charges                      Federal Financial Assistance and             Interoperability, Information Blocking,
without jeopardizing client                                Programs or Activities Administered by       and the ONC Health IT Certification
confidentiality must be made. Recipient                    the Department of Health and Human           Program’’ rule (85 FR 25642, May 1,
must inform the client of any potential                    Services Under Title I of the Patient        2020). As that rule is administered by
for disclosure of their confidential                       Protection and Affordable Care Act or        the HHS Office of the National
health information to policyholders                        by Entities Established Under Such           Coordinator for Health Information
where the policyholder is someone                          Title’’) as well as the statute under        Technology (ONC), ONC would be in
other than the client.                                     which it was authorized, section 1557 of     the best position to interpret that rule.
  (b) To the extent practical, Title X                     the Affordable Care Act. These                  Most importantly, OPA provides
projects shall encourage family                            comments stipulated that if the              information to Title X grantees
participation.12 However, Title X                          Department makes changes to this             regarding which regulations apply to
projects may not require consent of                        regulation in the future, section 59.12      their Title X programs and is committed
parents or guardians for the provision of                  should be updated at that time to            to providing ongoing guidance and
services to minors, nor can any Title X                    include 45 CFR part 92 on this list of       assistance as questions arise. OPA
project staff notify a parent or guardian                  applicable regulations.                      includes information about applicable
                                                              Comments opposing the rule agreed         regulations in grant documents, such as
before or after a minor has requested
                                                           with the inclusion of 45 CFR part 87 in      NOFOs and Notices of Award, and in
and/or received Title X family planning
                                                           section 59.12, but questioned why the        technical assistance webinars. Given
services.
                                                           Department did not include an                that grantees can receive accurate and
  This revised language for § 59.10 is
                                                           explanation for deleting references to       up-to-date information from OPA about
adopted as final.
                                                           the now-superseded 45 CFR part 92            which regulations apply to their Title X
§ 59.12 Other Applicable Regulations                       (‘‘Uniform administrative requirements       programs, the Department has decided
   In the NPRM, the Department                             for grants and cooperative agreements to     to delete section 59.12 from the final
included the same regulatory text as had                   state and local governments’’). These        rule.
been included in section 59.10 of the                      comments also argued that the
                                                           Department should include a reference        III. Regulatory Impact Analysis
2000 regulations, which is a list of
additional HHS regulations that apply to                   to 45 CFR 88 (‘‘Protecting Statutory         A. Introduction
the Title X family planning services                       Conscience Rights in Health Care;
                                                           Delegations of Authority’’) on the list of      The Department has examined the
program. The NPRM proposed a                                                                            impact of the final rule under Executive
                                                           applicable regulations, as it will apply
technical correction to update the list of                                                              Order 12866 on Regulatory Planning
                                                           to the Title X program once related
applicable regulations by adding 45 CFR                                                                 and Review, Executive Order 13563 on
                                                           litigation is resolved.
part 87.                                                      Response: The Department                  Improving Regulation and Regulatory
   Comments: Many comments that                            appreciates the comments addressing          Review, Executive Order 13132 on
generally support the rule disagree with                   the proposed technical corrections to 45     Federalism, the Regulatory Flexibility
the proposed technical correction to                       CFR 59.12, but has decided to eliminate      Act (5 U.S.C. 601–612), and the
section 59.12, which includes a                            that section from the final rule in its      Unfunded Mandates Reform Act of 1995
reference to 45 CFR part 87 (‘‘Equal                       entirety. Since the regulations that         (Pub. L. 104–4). Executive Orders 12866
Treatment for Faith-based                                  apply to the Title X program will apply      and 13563 direct the Department to
Organizations’’) in the list of regulations                of their own accord, whether or not they     assess all costs and benefits of available
that apply to the Title X program. Such                    are cross-referenced in 42 CFR part 59,      regulatory alternatives and, when
comments argued that this rule does not                    subpart A, the Department has                regulation is necessary, to select
apply to Title X because the previous                      concluded that the list of applicable        regulatory approaches that maximize
administration explicitly declined to                      regulations in 59.12 serves no useful        net benefits (including potential
apply this rule to Title X in the faith-                   purpose and, in contrast, may be             economic, environmental, public health
based organizations rule issued on                         misleading. The Department is                and safety, and other advantages;
December 17, 2020 (see 85 FR 82037,                        concerned that since regulations are         distributive impacts; and equity). The
82117). Additionally, these comments                       amended frequently, any current listing      Department believes that this final rule
argued that 45 CFR part 87 does not                        of applicable regulations could soon         is not an economically significant
apply to the Title X program because it                    become outdated. Additionally, while         regulatory action as defined by
is a health services program, and 45 CFR                   all of the longstanding Departmental         Executive Order 12866 because it will
part 87 only applies to social services                    regulations, such as those prohibiting       not result in annual effects in excess of
programs; thus, the reference to this                      discrimination, still apply, the             $100 million.
regulation should be removed from                          Department is concerned that the 59.12          The Regulatory Flexibility Act
                                                           list may provide a false impression that     requires the Department to analyze
  12 42 U.S.C. 300(a) states: ‘‘To the extent practical,
                                                           only the regulations included in this        regulatory options that would minimize
entities which receive grants or contracts under this
subsection shall encourage family participation in         section apply to the Title X program.        any significant impact of a rule on small
projects assisted under this subsection.’’                 The Department believes that Title X         entities. The final rule will lessen




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administrative burdens for grantees of        public health screening including            for some of the reduction in clients
all sizes. Therefore, the Secretary           clinical breast exams, Papanicolau (Pap)     served under the 2019 rule. Other
certifies that the final rule will not have   testing, and testing for STIs. These         comments noted that long-term
a significant economic impact on a            services result in improved family           demographics trends are responsible for
substantial number of small entities          planning and birth spacing, earlier          the decline in services, such as rise in
under the Regulatory Flexibility Act, 5       detection of breast and cervical cancer,     median household income, rise in
U.S.C. 605.                                   and earlier detection of sexually            individuals with private insurance, and
   Section 202 of the Unfunded                transmitted infections including             more diverse options available in the
Mandates Reform Act of 1995                   chlamydia, gonorrhea, syphilis, and          healthcare market.
(Unfunded Mandates Act) (2 U.S.C.             human immunodeficiency virus (HIV),             Several of the comments suggested
1532) requires the Department to              all of which correlate to net savings for    that grantees withdrawing from the
prepare a written statement, which            the government. This screening and           program may not have resulted in a
includes an assessment of anticipated         testing can result in significant cost       decline in services, and that some
costs and benefits, before proposing          savings from earlier treatment and other     services were continued with state and
‘‘any rule that includes any Federal          interventions. This final rule will also     private funds. Several comments
mandate that may result in the                increase the diversity of grantees           pointed out that some states saw an
expenditure by State, local, and tribal       receiving funds, including geographic        increase in clients after the 2019 rule.
governments, in the aggregate, or by the      diversity to states that do not currently    One comment argued that, when one of
private sector, of $100,000,000 or more       have a Title X grantee.                      two Ohio grantees left the program, the
(adjusted annually for inflation) in any         The final rule will also focus grantees   remaining grantee prevented a gap in
one year.’’ The current threshold after       on providing services in a manner that       coverage.
adjustment for inflation is $158 million,     is client-centered, culturally and              Responses to comments addressing
using the most current (2020) Implicit        linguistically appropriate, inclusive,       the PRIA that were generally opposed to
Price Deflator for the Gross Domestic         and trauma-informed; protects the            the rulemaking:
Product. This final rule will not result      dignity of the individual; and ensures          The primary estimate of the baseline
in an expenditure in any year that meets      equitable and quality service delivery.      Title X service grantees, subrecipients,
or exceeds this amount.                       This focus is especially important for       service sites, and clients served are
   Executive Order 13132 establishes          the Title X program that prioritizes         derived from calendar year 2019 figures,
certain requirements that an agency           services for low-income clients.             which predate COVID–19. The PRIA’s
must meet when it promulgates a rule             This regulatory impact analysis           estimate of the likely effect of the
that imposes substantial direct               reports the activity occurring at Title X-   proposed rule is to gradually return to
requirement costs on state and local          funded sites to provide policymakers         the level of grantees, subrecipients,
governments or has federalism                 with this information. However, the          service sites, and clients that the
implications. The final rule will not         direct impact within the program does        program supported in calendar years
have a significant impact on state funds      not account for services that continue to    2016 to 2018, which also predates
as, by law, project grants must be            be provided at sites not receiving Title     COVID–19. COVID–19 may complicate
funded with at least 90 percent federal       X funding, filling the gap left by           attempts to precisely estimate the
funds. 42 U.S.C. 300a–4(a). The               providers that withdrew from the             magnitude of the effect of the 2019 rule
Department has determined that this           program following the restrictions           on the Title X program, but pre-
final rule does not impose such costs or      placed on funding included in the 2019       pandemic data from calendar year 2019
have any federalism implications. The         rule.                                        preceding COVID–19 reveals a
Department expects that while some                                                         significant drop-off in grantees,
states may not support the policies           C. Comments on the Preliminary               subrecipients, service sites, and clients
contained in this final rule, many states     Economic Analysis and Our Responses          supported by the program, which are
and local health departments will                On April 15, 2021, the Department         contrary to the predictions in the 2019
support the policies contained in this        issued a proposed rule to revise             rule.13 The Department acknowledges
final rule, and that it will increase         regulations relating to the Title X          the uncertainty in the forecast of the
participation by states (many of which        program. The Department prepared a           baseline scenario of no regulatory action
withdrew as a result of the 2019 rule).       preliminary regulatory impact analysis       by including a sensitivity analysis in the
                                              (PRIA) for the proposed rule. Many           PRIA. The upper-bound forecast of
B. Summary of Costs, Benefits and                                                          3,095,666 clients served annually by the
                                              comments were outside the scope of this
Transfers                                                                                  Title X program under the baseline
                                              rule. The paragraphs below describe and
  This final rule will revise the             respond to the comments received on          scenario of the 2019 rule is well below
regulations that govern the Title X           the PRIA.                                    the approximately 4 million clients
family planning services program by              Summary of comments addressing the        served during calendar years 2016 to
revoking the 2019 rule and readopting         PRIA that were generally opposed to the      2018.
the 2000 regulations with several             rulemaking:                                     The Department disagrees with the
modifications. This approach will allow          Several of the comments suggested         suggestion that long-term trends drove
the Title X program grantees,                 that the Department used flawed data in      the reduction in clients served under
subrecipients, and service sites to have      its forecasts or failed to account for       the 2019 rule. Between calendar years
a greater impact on public health than        COVID–19 in the PRIA. Several of the
under the current regulatory approach.        comments suggested that the                    13 If adjustment to the requirements of the 2019

  We predict that this final rule will        Department does not have data to assess      rule took time for grantees and prospective new
                                                                                           grantees (and possibly continues to do so), then
increase the number of grantees               the effect of the 2019 rule, arguing that    immediate post-issuance difficulties in obligating
receiving Title X funds. In turn, the         COVID–19 is a complicating factor.           Title X funds could ease over the years, which
additional service sites supported by         Several comments noted that clients          would in turn lead to a trend back toward pre-2019
                                                                                           Title X service levels even in the analytic baseline.
funding will result in additional clients     served under the Title X program             However, the effects of the COVID–19 pandemic
served under the program. These clients       declined between 2009 and 2018,              would obscure, in the available data, whether such
receive access to contraception, and          suggesting long-term trends can account      trends are present or absent.




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2009 and 2014, the number of clients          program. Several comments gave              Comments Received in Response to
reported served by the Title X program        examples of states or other entities that   Executive Order 13132 Federalism
declined from 5.2 million to 4.1 million,     saw a decrease in clients served. Several   Review
with an average annual decline in             comments discussed the                        Comment: Several comments were
clients served by about 211 thousand          disproportionate impact the 2019 rule       critical of the Regulatory Impact
per year. Between calendar years 2014         had on low-income individuals,              Analysis, stating that it ignores the
and 2018, the number of clients served        individuals in rural communities,           federalism implications of the proposed
fell more gradually, with an average          people of color, and other populations.     rule. These comments argued that the
annual decline in clients served of about     Several comments discussed the impact
                                                                                          proposed rule compels states to adopt
48 thousand per year. In calendar year        of the 2019 rule on the quality of family
                                                                                          policies that conflict with their own
2019, the number of clients served fell       planning services outside the Title X
                                                                                          laws, particularly with regard to
by about 844 thousand. The Department         program, as well as the financial impact
                                                                                          subrecipient restrictions that several
believes it is appropriate to attribute the   on clients receiving services outside the
                                                                                          states have put in place, and other state-
bulk of the reduction in clients served       Title X program. Several comments
                                                                                          described ‘‘integrity requirements.’’
during calendar year 2019 to the 2019         argued that other sources of funding
rule.                                         besides the Title X program, including      Additionally, several comments raised
   The Department agrees with the             state funding, would not be reliable        concerns that the Department did not
comments that state and private funding       sources of funding in the future.           extend the comment period to
likely averted some of the public health         Responses to comments addressing         specifically study the federalism
consequences that would have                  the PRIA that were generally supportive     impacts. Other comments expressed a
otherwise occurred in the immediate           of the rulemaking:                          belief that the proposed rule would have
time period following implementation             The Department appreciates the           no federalism effects as it is a
of the 2019 rule. The Department              specific examples provided in               discretionary grant program in which
acknowledged this limitation in the           comments and agrees with the                states can choose to participate or not.
PRIA and noted that one effect of the         assessment that the 2019 rule resulted        Response: While the Department
proposed rule would be ‘‘transfers (for       in a reduction in grantees and clients      agrees that states have an interest in
example, if Title X newly funds medical       served at the national level, and that      enforcement of their statutes, it believes
services that would, in the absence of        these effects were more pronounced in       that this final rule respects federalism,
the proposed rule, be provided by             certain regions, communities, and           as it does not interfere with state laws.
charitable organizations or other private     demographic groups. The PRIA                As noted previously, the Department
payers).’’ The Department noted that          concluded, and this regulatory impact       has decided not to include a
several states contributed emergency or       analysis affirms, that this rulemaking      subrecipient nondiscrimination
one-time funds. It is not clear whether       will likely result in an increase in        provision in the final rule at this time
state or private funding will be available    clients served within the Title X           and, thus, concerns raised by these
for the full-time horizon of the analysis,    program compared to a baseline of no        comments about harm to state program
which begins in calendar year 2022.           further regulatory action. The              integrity requirements or a need to
   While the PRIA reported that ‘‘seven       Department also maintains the finding       extend the deadline to assess the impact
states (CO, DE, KY, ND, NM, NV, TX)           in the Further Discussion of                of this harm are now moot.
experienced an increase in the number         Distributional Effects Section in the         Additionally, while states are eligible
of Title X clinics after the 2019             PRIA in this analysis that the effects of   to apply for Title X grants, the Title X
regulatory change,’’ this observation is      this final rule will accrue approximately   statute was not enacted as a federal-state
different than the claim about increases      in proportion with income and race and      cooperative statute, as is made clear by
in clients. Colorado, Delaware,               ethnicity figures typically served by the   the eligibility of nonprofit, private
Kentucky, North Dakota, New Mexico,           Title X program.                            entities to apply for grants directly.
and Texas all saw declines in the                The Department agrees that services      And, since the Department is free to
number of female users served in 2019         provided outside the Title X program        attach reasonable conditions to the
and 2020 compared to 2018 (male users         were not always identical to Title X-       awarding of funds to carry out best its
saw declines as well). Nevada increased       funded services. While some providers       statutory goals and these conditions
the number of female users from 9,236         were able to provide reproductive           only apply to the receipt of federal Title
in 2018 to 11,156 in 2019, and again to       health services in the absence of Title X   X funds, states that object to the rule
11,190 in 2020. The specific claim about      funding, comments disclose that they        requirements or believe that there is a
Ohio cannot be supported with the             were not providing the same services        conflict with state law priorities are free
available data. Ohio Title X grant            provided in Title X program.                to opt out of the federal grant program.
recipients reported 83,497 female             Specifically, commenters suggested that     Thus, the final rule does not interfere
clients served in 2018, dropping to           services provided outside of the Title X    with state laws or have federalism
68,669 in 2019, and dropping further          program did not follow the same             implications, as state laws are only
still to 27,322 in 2020. Similarly, given     standards as in Title X, and that the       implicated if those states with contrary
the implementation of the 2019 rule           schedule of discounts and subsidies         state laws wish to apply for Title X
occurred midway through the calendar          were not applied as required in the Title   funds.
year, the 2019 data likely mask the full      X program.
negative impact of the 2019 rule that            The Department agrees with the           D. Summary of Changes
year.                                         comments that other sources of funding        The Department has revised the
   Summary of comments addressing the         besides the Title X program may not be      economic analysis of impacts to account
PRIA that were generally supportive of        reliable sources of funding over            for additional information, newer data,
the rulemaking:                               calendar years 2022 through 2026, the       and in response to comments. Many of
   Several comments agreed with the           time horizon of the PRIA and this final     the estimates and Tables have been
observation in the PRIA that the 2019         regulatory impact analysis. The             updated to account for minor revisions
rule resulted in a reduction in grantees      Department has expanded the                 to the calendar year 2020 data. For
and clients served under the Title X          discussion of this point in the analysis.   example, Table D1 now identifies 75




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Grantees, 867 Subrecipients, 3,031                                      contraceptive education and counseling;        included in the 2019 rule are associated
Service Sites, and 1,536,743 Clients                                    breast and cervical cancer screening;          with a substantial reduction in the
Served, compared to 73 Grantees, 803                                    STIs and HIV testing, referral, and            number of Title X grantees,
Subrecipients, 2,682 Service Sites, and                                 prevention education; and pregnancy            subrecipients, and service sites,
1,536,744 Clients Served reported in the                                diagnosis and counseling. The program          resulting in a corresponding reduction
PRIA. These revised estimates carry                                     is implemented through competitively           in total clients served. The Department
through to other estimates and Tables.                                  awarded grants to state and local public       is compelled to act quickly to ameliorate
  As described in greater detail in the                                 health departments and family                  these negative consequences by
Preamble, the final rule adopts eight of                                planning, community health, and other          promulgating this final rule since the
the fourteen revisions initially proposed                               private nonprofit agencies. In fiscal year     Title X program serves a low-income
in the NPRM and nine of the ten                                         2021, the Title X program received             population that is particularly
technical corrections initially proposed                                approximately $286.5 million in                vulnerable to losing access to these
in the NPRM as final without additional                                 discretionary funding.14                       services. This final rule is needed to
changes. Based on the comments                                             On March 4, 2019, HHS published a           improve the functioning of government
received in response to the NPRM and                                    final rule to ‘‘prohibit family planning       and the effectiveness of the Title X
a subsequent, new interpretation by the                                 projects from using Title X funds to           program.
Department since the NPRM was issued,                                   encourage, promote, provide, refer for,
the final rule includes nine additional                                                                                c. Purpose of the Rule
                                                                        or advocate for abortion as a method of
revisions and six additional technical                                  family planning; require assurances of           This final rule will revise the
corrections compared to what was                                        compliance; eliminate the requirement          regulations that govern the Title X
proposed in the NPRM. This analysis                                     that Title X projects provide abortion         family planning services program by
has been updated to be consistent with                                  counseling and referral; require physical      revoking the 2019 rule and readopting
these changes, but these changes do not                                 and financial separation of Title X            the 2000 regulations with several
substantially alter the estimates of the                                activities from those which are                modifications. This approach will allow
quantified economic impacts.                                            prohibited under section 1008; provide         the Title X program grantees,
E. Final Economic Analysis of Impacts                                   clarification on the appropriate use of        subrecipients, and service sites to have
                                                                        funds in regard to the building of             a greater impact on public health than
a. Background                                                                                                          under the current regulatory approach.
                                                                        infrastructure, and require additional
   The Title X family planning program,                                 reporting burden from grantees.’’              d. Baseline Conditions and Impacts
administered by the U.S. Department of
                                                                        b. Market Failure or Social Purpose            Attributable to the Rule
Health and Human Services (HHS),
Office of Population Affairs (OPA), is                                  Requiring Federal Regulatory Action
                                                                                                                         The Department adopts a baseline that
the only federal program dedicated                                        The regulatory impact analysis               assumes the requirements of the 2019
solely to supporting the delivery of                                    associated with the 2019 rule predicted        rule remain in place over the period of
family planning and related preventive                                  that the additional restrictions on            our analysis. To characterize the real-
healthcare. The program is designed to                                  grantees would result in ‘‘an expanded         world impact of the Title X program
provide ‘‘a broad range of acceptable                                   number of entities interested in               under this regulatory approach, the
and effective family planning methods                                   participating in Title X.’’ Further, the       Department developed an annual
and services (including natural family                                  analysis suggested the 2019 rule would         forecast of grantees, subrecipients,
planning methods, infertility services,                                 result in ‘‘enhanced patient service and       service sites, and total clients served.
and services for adolescents)’’ with                                    care.’’ Contrary to these predictions,         The key inputs to the forecast are
priority given to persons from low-                                     during the initial period of the 2019          historical data on Title X service
income families. In addition to offering                                rule’s implementation, the policy              grantees. For calendar years 2016 to
these methods and services on a                                         appears to have had the opposite effect.       2020, this information is summarized in
voluntary and confidential basis, Title X-                              As described in greater detail in the          the 2020 Title X Family Planning
funded service sites provide                                            Baseline section, the restrictions             Annual Report.
                                                                       TABLE D1—TITLE X SERVICE GRANTEES
                                       Year                                                   2016        2017           2018           2019           2020

Grantees ..............................................................................              91          89             99            100             75
Subrecipients .......................................................................             1,117       1,091          1,128          1,060            867
Service Sites ........................................................................            3,898       3,858          3,954          3,825          3,031
Clients Served ......................................................................         4,007,552   4,004,246      3,939,749      3,095,666      1,536,743
  Source: Title X Family Planning Annual Report, 2020: Exhibit A–2a.


  The data for calendar years 2016–                                     reduced number of grantees,                    than half of the year, adopting 3.1
2019 included all grantees,                                             subrecipients, services sites, and clients     million clients served as an annual
subrecipients, and service sites                                        served observed in 2019 and 2020               forecast would likely overstate activity
operating at any time during the year.                                  cannot be explained by a reduction in          in the program under the current
The implementation of the 2019 rule                                     discretionary funding for the program,         regulations. Indeed, preliminary figures
occurred mid-year in 2019. Following                                    which has remained constant at $286.5          for 2020 approximate that only 1.5
this regulation, 19 grantees, 231                                       million throughout this time period.           million clients were served. However,
subrecipients, and 945 service sites                                    Since the 2019 figure includes clients         this figure likely represents an
withdrew from the Title X program. The                                  served by these service sites for more         underestimate for a typical year of the

  14 Does not include supplemental funding.




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program under the current regulations                                   fewer clients received intrauterine                            TABLE D3—BASELINE TITLE X CAN-
since services were likely disrupted by                                 devices (IUDs). For oral contraceptives                         CER SCREENING AND SEXUALLY
the ongoing public health emergency.                                    and IUDs, this was a 27 percent                                 TRANSMITTED INFECTION TESTING—
   As the primary estimate, the                                         reduction, and for hormonal implants, a
Department adopts 2,512,066 clients
                                                                                                                                        Continued
                                                                        21 percent reduction. These percentages
served as the baseline annual impact of                                 are similar in magnitude to the 21                                            Year                      Annual
Title X under the policies of the 2019                                  percent reduction in clients served in
rule. This 2.5 million-figure corresponds                               2019 compared to 2018. Additionally,                          Confidential HIV Test .................    777,536
to the number of clients served in 2019
                                                                        90,386 and 188,920 fewer Pap tests and                           Source: Calculations based on Title X Fam-
among remaining grantees as of March
                                                                        clinical breast exams, respectively, were                     ily Planning Annual Report, 2019: Exhibits 26
2021. For comparison, this primary                                                                                                    and 29.
estimate represents a 37 percent                                        performed in 2019 compared to 2018.
reduction in clients served compared to                                 Confidential HIV tests decreased by                              The Department predicts that the
the average of clients served from 2016                                 276,109. Testing for STIs decreased by                        main effect of the final rule would be to
to 2018. In the Uncertainty and                                         256,523 for chlamydia, 625,802 for                            return to Title X program impact levels
Sensitivity Analysis Section, the                                       gonorrhea, and 77,524 for syphilis.                           observed prior to the 2019 rule. The
Department adopts the 1.5 million-                                      Appendix A of the FPAR contains                               estimates of the long-run equilibrium of
client figure as a lower-bound estimate,                                national annual trends for many of the                        grantees, subrecipients, service sites,
and 3.1 million clients as an upper-                                    services discussed above. The                                 and total clients served are informed by
bound estimate of the annual program                                    reductions in services reported in 2019                       the data from 2016 to 2018, the last
impact under the baseline.                                              compared to 2018 represent the largest                        three years of data that are unaffected by
   Table D2 summarizes the baseline                                     year-over-year reductions in services for                     the declines experienced following the
forecast for the same categories of                                     each reported measure since at least                          2019 rule. Specifically, the Department
historical data presented in Table D1.                                  2014. Similar to the earlier discussion                       adopts the average across these three
The Department adopts the current                                       relating to long-term trends relating to                      years as the long-run estimates. These
count for grantees, subrecipients, and                                                                                                averages are 93 grantees, 1,112
                                                                        clients, we attribute the bulk of the
services sites and assumes constant                                                                                                   subrecipients, 3,903 service sites, and
                                                                        reductions to these services to the 2019
funding and that these figures will be                                                                                                approximately 4.0 million clients
constant over the time horizon of this                                  final rule.                                                   served.
analysis.                                                                  For the forecast of services provided                         To complete the forecast of the policy
                                                                        under the baseline scenario, the                              scenario, the Department assumes that it
  TABLE D2—BASELINE FORECAST OF                                         Department adopts the percentage of                           will take two years for program
         TITLE X SERVICES                                               clients receiving each service in the                         participation and clients served to
                                                                        2019 Title X Family Planning Annual                           achieve the long-run equilibrium
           Baseline forecast                           Annual           Report. For example, in 2019, about 23                        estimates. This two-year phase-in is
                                                                        percent of female clients received a                          consistent with a scenario in which
Grantees .....................................               75
Subrecipients ..............................                867         clinical breast exam. The Department                          most service sites that withdrew from
Service Sites ...............................             3,031         assumes the same share of clients will                        the Title X program have remained
Clients Served ............................           2,512,066         be served by Title X for screening and                        open, with some operating at a lower
                                                                        STI testing. Table D3 reports the best                        capacity, than they did prior to the 2019
  In addition to the reduction in                                       estimate of the annual services provided                      rule. It is also consistent with an
grantees, subrecipients, service sites,                                 under the baseline scenario. These                            expectation that many of the grantees
and total client served, the Department                                 services are described in greater detail                      and service sites that withdrew from the
notes that six states currently have no                                 later in this Section.                                        program would be able to rejoin if the
Title X services, including HI, ME, OR,                                                                                               NPRM issued on April 15, 2021, were
UT, VT, and WA. There are six                                              TABLE D3—BASELINE TITLE X CAN-                             finalized. In year one, following the
additional states that have limited Title                                   CER SCREENING AND SEXUALLY
                                                                                                                                      effective date of the proposed rule, the
X services, including AK, CT, MA, MN,                                                                                                 number of clients served would increase
                                                                            TRANSMITTED INFECTION TESTING                             to approximately 3.2 million. In year
NH, and NY.15
  In line with the reduction in clients                                                                                               two, this number would increase again
                                                                                           Year                            Annual
served under the 2019 rule, data also                                                                                                 to approximately 4.0 million and remain
reveal a significant drop in services                                   Clinical Breast Exams ................              509,550   constant for the duration of the analysis.
provided. For example, when                                             Pap Tests ...................................       443,087   These figures are presented in Table D4.
comparing 2019 figures to 2018, 225,688                                 Chlamydia Test ...........................        1,266,508   The Department acknowledges
fewer clients received oral                                             Gonorrhea Test ..........................         1,420,198   uncertainty in this estimate and
contraceptives; 49,803 fewer clients                                    Syphilis Test ...............................       536,619   includes a discussion in the Uncertainty
received hormonal implants; and 86,008                                                                                                and Sensitivity Section, below.
                                         TABLE D4—POLICY SCENARIO FORECAST OF TITLE X SERVICE GRANTEES
                                       Year                                                   2022                      2023            2024                 2025               2026

Grantees ..............................................................................              84                        93              93                   93                 93
Subrecipients .......................................................................               990                     1,112           1,112                1,112              1,112
Service Sites ........................................................................            3,467                     3,903           3,903                3,903              3,903
Clients Served ......................................................................         3,247,958                 3,983,849       3,983,849            3,983,849          3,983,849

 15 As noted earlier, seven states (CO, DE, KY, ND,                     the number of Title X clinics after the 2019
NM, NV, TX) experienced a meaningful increase in                        regulatory change.




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  To characterize the effect of the final                                represents the net effect of the proposed             clients served in 2016 to 2018 are
rule, the Departments compares the                                       rule. For example, in year one after this             female, and the Department uses this
policy scenario forecast to the baseline                                 rule is effective, the number of clients              percentage to estimate the increase in
forecast described in the previous                                       served would increase by approximately                clients served by sex under the policy
section. Table D5 reports the difference                                 736,000 as compared to the baseline                   scenario.
between these two scenarios, which                                       scenario. Approximately 88 percent of
                                               TABLE D5—EFFECT OF THE PROPOSED RULE ON TITLE X SERVICES
                                        Year                                                  2022             2023              2024                2025                2026

Increase in Grantees ...........................................................                     9                 18               18                  18                  18
Increase in Subrecipients ....................................................                     123                245              245                 245                 245
Increase in Service Sites .....................................................                    436                872              872                 872                 872
Increase in Clients Served ...................................................                 735,892          1,471,783        1,471,783           1,471,783           1,471,783
     Female ..........................................................................         648,996          1,297,992        1,297,992           1,297,992           1,297,992
     Male ..............................................................................        86,896            173,791          173,791             173,791             173,791



   Clients served under the Title X                                      low-income, and young. The                            contraception clients to the number of
program experience outcomes that                                         Department discusses this in greater                  additional female clients served under
include reducing unintended pregnancy                                    detail in the Section on Distributional               the Title X program who adopt any
through greater access to contraception.                                 Effects.                                              method of contraception.
The averted unintended pregnancies                                         To further explore the likely effect of
                                                                                                                                  For year one, the analysis reflects
translate to a reduction in unplanned                                    the Title X program on unintended
                                                                         pregnancy, we rely on existing                        multiplying 735,892 clients by 88
births, a reduction in abortions, and                                                                                          percent to yield 648,996 female clients.
reduction in miscarriages. Also, Title X                                 methodology for estimating number of
                                                                         unintended pregnancies prevented each                 Among female clients, approximately 14
clients receive cancer screenings and                                                                                          percent indicate they are not using a
                                                                         year among U.S. women who depend on
testing for STIs. These screenings and                                                                                         method of contraception, according to
                                                                         publicly funded family planning
testing can identify treatable conditions,                                                                                     figures in the 2019 Title X Family
                                                                         services.16 Among this subgroup of
improving the quality of life and                                        women who use any method of                           Planning Annual Report. The analysis
extending the lives of beneficiaries. In                                 contraception, 46 in 1,000 women are                  reduces the potential number of clients
the case of STIs, additional testing and                                 expected to experience an unintended                  that would potentially reduce the
corresponding earlier treatment can                                      pregnancy. This figure can be compared                likelihood of an unintended pregnancy
reduce the likelihood of worse health                                    to 296 unintended pregnancies per                     by 14 percent to yield 558,205 clients
outcomes and future infertility resulting                                1,000 women who are unable to access                  expected to benefit from a contraceptive
from those infections. This final rule                                   publicly funded family planning                       method. Approximately 47 percent of
will expand service to                                                   services. The Department applies this                 unintended pregnancies result in births,
socioeconomically disadvantaged                                          estimate of a reduction of 250                        34 percent in abortion, and 19 percent
populations, most of whom are female,                                    unintended pregnancies per 1,000                      in a miscarriage.17
                             TABLE D6—EFFECT OF THE PROPOSED RULE ON TITLE X-ASSOCIATED CONTRACEPTION
                                        Year                                                  2022             2023              2024                2025                2026

Clients Served ......................................................................          735,892          1,471,783        1,471,783           1,471,783           1,471,783
Women Served ....................................................................              648,996          1,297,992        1,297,992           1,297,992           1,297,992
Women Served Using Contraception ..................................                            558,205          1,116,411        1,116,411           1,116,411           1,116,411



   Unintended pregnancies increase the                                   they would have received prenatal care                figures are calculated by multiplying the
risk for poor maternal and infant                                        early in pregnancy.18 19                              number of additional women served by
outcomes. Women who give birth                                              Title X funding recipients also                    the program in each year by
following an unintended pregnancy are                                    perform preventive health services such               approximately 23 percent for clinical
less likely to have benefitted from                                      as cervical and breast cancer screening,              breast exams, of which five percent
preconception care, to have optimal                                      and testing for STIs, including                       result in a referral for further evaluation;
spacing between births, and to have                                      chlamydia, gonorrhea, syphilis, and                   and 20 percent for Pap testing, of which
been aware of their pregnancy early on,                                  HIV. Table D7 presents the effect of the              13 percent with a result of atypical
which in turn makes it less likely that                                  final rule on Title X-associated cervical             squamous cells (ASC) that require
                                                                         and breast cancer screenings. These                   further evaluation and possibly
  16 Jennifer J. Frost and Lawrence B. Finer (2017).                       17 Jennifer J. Frost, Lori F. Frohwirth, Nakeisha   Pregnancy on Infant, Child, and Parental Health: A
Memo entitled ‘‘Unintended pregnancies prevented                         Blades, Mia R. Zolna, Ayana Douglas-Hall, and         Review of the Literature.’’ Studies in family
by publicly funded family planning services:                             Jonathan Bearak (2017). ‘‘Publicly Funded             planning 39.1 (2008): 18–38. Web.
Summary of results and estimation formula.’’                             Contraceptive Services at U.S. Clinics, 2015.           19 Power to Decide. Maternal and Infant Health

https://www.guttmacher.org/sites/default/files/                          https://www.guttmacher.org/sites/default/files/       and the Benefits of Birth Control in America.
                                                                         report_pdf/publicly_funded_contraceptive_             Accessed on March 8, 2020 from https://powerto
pdfs/pubs/Guttmacher-Memo-on-Estimation-of-
                                                                         services_2015_3.pdf. Accessed on March 14, 2021.      decide.org/sites/default/files/resources/supporting-
Unintended-Pregnancies-Prevented-June-2017.pdf.                            18 Jessica D. Gipson, Michael A. Koenig, and        materials/getting-the-facts-straight-chapter-3-
Accessed on March 14, 2021.
                                                                         Michelle J. Hindin. ‘‘The Effects of Unintended       maternal-infant-health.pdf.




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treatment, and one percent of which                                          Clinical breast exams can identify          into cervical cancer. At a population
have a high-grade squamous                                                 patients requiring further evaluation of      level, these screenings save lives by
intraepithelial lesion (HSIL) 20 or higher,                                an abnormal finding. Pap tests (or pap        helping patients identify cancer earlier
indicating the presence of a more severe                                   smear tests) can detect precancers and        and by preventing other conditions from
condition.                                                                 cervical cancer cells and can also be         developing into cancer.
                                                                           tested for viral infections that can turn
TABLE D7—EFFECT OF THE FINAL RULE ON TITLE X-ASSOCIATED CERVICAL AND BREAST CANCER SCREENING ACTIVITIES
                                         Year                                                    2022       2023           2024           2025            2026

Clinical Breast Exams ..........................................................                  149,269      298,538      298,538         298,538         298,538
Referred ...............................................................................            7,463       14,927       14,927          14,927          14,927
Pap Tests .............................................................................           129,799      259,598      259,598         259,598         259,598
      Tests with ASC or higher .............................................                       17,304       34,609       34,609          34,609          34,609
     Tests with HSIL or higher .............................................                          195          391          391             391             391



  Table D8 presents the effect of the                                      tested for chlamydia, 55 percent for          infections are the following: 61 percent
proposed rule on Title X-associated                                        gonorrhea, 19 percent for syphilis, and       for chlamydia, 68 percent for gonorrhea,
testing for STIs among female clients.                                     28 percent for HIV. Table D9 presents         39 percent for syphilis, and 53 percent
These are calculated by adopting                                           the same information for men. The share       for HIV.
estimates that 49 percent of women are                                     of male clients tested for these
                    TABLE D8—ADDITIONAL WOMEN TESTED FOR SEXUALLY TRANSMITTED INFECTIONS UNDER TITLE X
                                         Year                                                    2022       2023           2024           2025            2026

Chlamydia ............................................................................            318,008      636,016      636,016         636,016         636,016
Gonorrhea ............................................................................            356,948      713,895      713,895         713,895         713,895
Syphilis .................................................................................        123,309      246,618      246,618         246,618         246,618
Confidential HIV ...................................................................              181,719      363,438      363,438         363,438         363,438


                       TABLE D9—ADDITIONAL MEN TESTED FOR SEXUALLY TRANSMITTED INFECTIONS UNDER TITLE X
                                         Year                                                    2022       2023           2024           2025            2026

Chlamydia ............................................................................             53,006      106,013      106,013         106,013         106,013
Gonorrhea ............................................................................             59,089      118,178      118,178         118,178         118,178
Syphilis .................................................................................         33,889       67,779       67,779          67,779          67,779
Confidential HIV ...................................................................               46,055       92,109       92,109          92,109          92,109



   Table D10 reports the additional total                                  approximately 0.38 percent of all HIV         provide HIV/AIDS prevention
clients tested for STIs under Title X.                                     tests performed. Under the final rule,        education. Pre-exposure prophylaxis
These tests can identify treatable                                         testing under Title X is estimated to         (PrEP) has emerged as an effective HIV
conditions that can cause discomfort,                                      identify an additional 873 positive cases     prevention strategy for individuals who
permanent damage to reproductive                                           of HIV in the first year. In subsequent       are most at risk, and the inclusion of
systems including infertility, and in                                      years, this estimate increases to 1,745.      PrEP in the HIV prevention services
certain cases, death. The 2019 Title X                                     Testing for these STIs can also reduce        provided at Title X sites is becoming an
Family Planning Annual Report                                              the likelihood that an individual will        increasingly important method for
indicates confidential HIV testing                                         spread an infection. In addition to           protecting individuals of all ages from
identifies a positive case for                                             testing, Title X-funded service sites also    acquiring HIV.
                  TABLE D10—ADDITIONAL CLIENTS TESTED FOR SEXUALLY TRANSMITTED INFECTIONS UNDER TITLE X
                                         Year                                                    2022       2023           2024           2025            2026

Chlamydia ............................................................................            371,014      742,029      742,029         742,029         742,029
Gonorrhea ............................................................................            416,037      832,074      832,074         832,074         832,074
Syphilis .................................................................................        157,199      314,397      314,397         314,397         314,397
Confidential HIV ...................................................................              227,774      455,547      455,547         455,547         455,547
Positive Test Results ...........................................................                     873        1,745        1,745           1,745           1,745



  Additional services of the type                                          in reduced costs to taxpayers in line         pregnancies, pre-term and low birth
provided under Title X will likely result                                  with a reduction in unintended                weight births, STIs, infertility, and


  20 HSIL is the abnormal growth of certain cells on

the surface of the cervix.




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cervical cancer. One report estimates                    contraception, and treatment. For                      provided per annum (pre-pandemic).26
that each dollar spent on these services                 example, Bailey et al. (2019) finds ‘‘that             Although such year-to-year comparisons
results in a net government saving of                    children born after the introduction of                are simplistic and a focus on just one
$7.09.21 We do not replicate the                         federal family planning programs were                  organization (even a prominent one,
calculations, but note that they are                     seven percent less likely to live in                   with extensive activities) has obvious
derived from cost savings associated                     poverty and 12 percent less likely to live             limitations, this evidence may suggest
with averting unintended pregnancy                       in households receiving public                         that the Title X program impacts
and complications such as pre-term and                   assistance.’’ They perform an additional               quantified elsewhere in this regulatory
low birth weight births. These cost                      bounding analysis, which suggests that                 impact analysis may largely be
savings are also derived from detecting                  about two thirds of the estimated gains                associated with transfers.
and treating STIs that would have                        are due to increases in the incomes of                    The Department received a number of
resulted in more serious outcomes,                       parents.24 A recent summary discusses                  public comments drawing connections
including infertility, cancer, and death.                other impacts of access to family                      between the short-term effects of the
   In addition to the effects described                  planning services in the United States                 2019 rule and long-term potential for a
above, the final rule will also enhance                  and in other countries, which extends                  reduction in total family planning
the equity and dignity associated with                   beyond women and girls, to their                       clients served, not limited to the Title X
access to family planning services                       children and wider communities.25                      program. For example, two states (NY,
provided by Title X. A recent research                      The tables above present observable                 WA) reported receiving emergency
brief summarized interviews with 30                      metrics of the effect of the Title X                   reserve funds through state funding in
women sharing their experiences with                     program, which is important for                        order to sustain the level of care that
contraceptive access, providing                          evaluating the direct effect of the                    they provided under Title X; however,
suggestive evidence that birth control                   program. For this reason, the scope of                 both noted that this funding is not
has an important positive impact on                      the analysis initially focuses on clients              reliable and sustainable from year to
women’s lives. Interviewees noted that                   served and services provided by Title X-               year. One grantee in Maine reported
birth control allowed women to ‘‘to                      funded sites. To properly account for                  keeping all clinics open and operating
pursue academic and professional goals,                                                                         with the use of the association’s reserve
                                                         the net effect of the final rule when
achieve financial stability, and maintain                                                                       funds and through private fundraising,
                                                         comparing the baseline scenario to the
their mental and physical health.’’ 22                                                                          which was an unsustainable and
                                                         policy scenario, the Department would
These recent interviews are consistent                                                                          impractical task to continue. Another
                                                         need to assess the extent to which
with the historical experience of the                                                                           provider also reported fundraising to
                                                         clients and services continue to be
importance of birth control. For                                                                                maintain care while also noting the
                                                         provided through other channels than
example, one econometric study                                                                                  administrative burden; however, many
                                                         Title X-funded sites without the
identifies a causal relationship between                                                                        health centers were forced to close or
the introduction and diffusion of the                    proposed rule. As a general matter, the                reduce hours due to the lack of Title X
birth control pill and the increase in                   impacts of this final rule may include:                funding. The same organization also
women enrolling in professional degree                      • Transfers between grantees and                    reported the need to scale back or
programs and increasing the age at first                 prospective grantees within the Title X                eliminate education and outreach
marriage.23 As of a result of the                        program;                                               programs in many states. These public
Affordable Care Act’s contraceptive                         • other transfers (for example, if Title            comments suggest that the long-term
coverage requirement, Title X can play                   X newly funds medical services that                    effect of the 2019 rule would have been
a critical role, helping provide insured                 would, in the absence of the proposed                  to reduce clients served and family
clients with access to contraception                     rule, be provided by charitable                        planning services provided beyond the
without cost-sharing alongside its                       organizations or other private payers);                Title X program.
longstanding role supporting                             and                                                       In addition to the effects on the
contraceptive access without cost-                          • societal benefits and costs to the                quantity of services, several comments
sharing for Medicaid beneficiaries and                   extent that the volume or characteristics              discussed the effects on the quality of
those whose incomes are equal to or less                 (such as location, which determines                    services provided. One organization and
than 100 percent of the federal poverty                  travel costs) of medical services would                the Attorneys General of 22 states and
level (FPL), which allows these clients                  differ with and without the final rule.                the District of Columbia noted that
to experience these and other positive                      As noted earlier in this preamble, all              losing Title X providers had a negative
outcomes associated with access to                       Planned Parenthood affiliates—which,                   effect on patients that sought care. They
contraception.                                           in 2015, served 41 percent of all                      argued that it was more difficult for
   Researchers have identified other                     contraceptive clients at Title X-funded                patients to obtain culturally competent
economic, social, and health impacts of                  service sites—withdrew from Title X,                   care and that the requirements of the
increased access to family planning,                     citing the 2019 rule. However, a                       2019 rule placed a burden on providers
                                                         comparison of Planned Parenthood’s                     and their method of pregnancy
   21 Jennifer J. Frost, Adam Sonfield, Mia R. Zolna,
                                                         two most recent annual financial reports               counseling, as they were ‘‘inconsistent
and Lawrence B. Finer (2014). ‘‘Return on
Investment: a fuller assessment of the benefits and      indicates no subsequent decrease in the                with the standards of care and required
costs of the US publicly funded family planning          number of patients served and an                       incomplete and confusing lists and
program.’’ Milbank Quarterly 2014 Dec; 92(4): 696–       increase, from 9.8 million to 10.4                     referrals for pregnant clients.’’ Finally,
749.                                                                                                            several states reported that while their
   22 Rebecca Peters, Sarah Benetar, Brigette Courtot,
                                                         million, in the number of services
and Sophia Yin (2019). ‘‘Birth Control is                                                                       efforts were refocused to recruiting and
Transformative.’’ Urban Institute. https://                24 Bailey, Martha J., Olga Malkova, Zoë M.

www.urban.org/sites/default/files/publication/           McLaren (2019). ‘‘Does Access to Family Planning         26 Please see https://www.planned

99912/birth_control_is_transformative_1.pdf.             Increase Children’s Opportunities? Evidence from       parenthood.org/uploads/filer_public/2e/da/
Accessed April 6, 2021.                                  the War on Poverty and the Early Years of Title X.’’   2eda3f50-82aa-4ddb-acce-c2854c4ea80b/2018-
   23 Goldin, Claudia and Lawrence F. Katz (2002).       Journal of Human Resources 54:4 pp. 825–856.           2019_annual_report.pdf and https://www.planned
‘‘The power of the pill: Oral contraceptives and         doi:10.3368/jhr.54.4.1216–8401R1.                      parenthood.org/uploads/filer_public/67/30/
women’s career and marriage decisions.’’ Journal of        25 Emily Sohn (2020). ‘‘Strengthening society        67305ea1-8da2-4cee-9191-19228c1d6f70/210219-
Political Economy 110(4): 730–770.                       with contraception.’’ Nature 588, S162–S164.           annual-report-2019-2020-web-final.pdf.




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onboarding new providers into their                                e. Further Discussion of Distributional    Baseline section, six states currently
Title X network under the 2019 rule,                               Effects                                    have no Title X services, and six
they faced resistance or a lack of                                    The Title X program is designed to      additional states have limited Title X
interest, and their provider networks                              provide services with priority given to    services. This final rule is expected to
did not increase under the 2019 rule,                              persons from low-income families.          result in restoration of services to
continuing to adversely impact the                                 According to the 2019 figures, 64          individuals in these states.
communities they serve.                                            percent of clients have income under       f. Uncertainty and Sensitivity Analysis
   These public comments suggest that                              101% of the federal poverty level; 14
the effects identified in this regulatory                          percent between 101 percent FPL and           All of the major drivers of the
impact analysis for the time horizon                               150 percent FPL; seven percent between     quantified effects of this analysis are
covering calendar year 2022 through                                151 percent FPL to 200 percent FPL;        dependent on the forecast of the
                                                                   three percent between 201 percent FPL      baseline number of clients served. The
2026 are unlikely to be limited to a
                                                                   and 250 percent FPL; seven percent over    Department acknowledges the
reversal of what was observed
                                                                   250 percent FPL; and five percent have     uncertainty in this baseline and has
immediately after issuance of the 2019                             an unknown or unreported income
final rule. The Department                                                                                    performed a sensitivity analysis to
                                                                   level. Among program clients, 33           quantify its importance. For the primary
acknowledges persistent challenges                                 percent self-identified as Hispanic or
with clearly disaggregating the effects                                                                       baseline, the analysis uses 2.5 million
                                                                   Latino of all races; three percent as      annual clients of Title X services, which
that represent transfers from effects that                         Asian and Not Hispanic or Latino; 22       corresponds to the number of clients in
represent benefits and costs as a result                           percent as Black or African American       calendar year 2019 among remaining
of this final rule; however, it is                                 and Not Hispanic or Latino; 32 percent     grantees. For its sensitivity analysis, the
important to reiterate that total Title X                          as White and Not Hispanic or Latino;       Department investigates the effect of the
funding remained unchanged upon                                    five percent as Other or Unknown and       proposed rule compared to a baseline
issuance of the 2019 final rule and will                           Not Hispanic or Latino; and four percent   with 1.5 million clients, corresponding
be unchanged as a result of this final                             are Unknown or Not Reported.               to the estimates for 2020. For
rule, so while some entities receive less                          Furthermore, Title X requires Title X
                                                                                                              comparison, the analysis reviewed the
funding (and they and their clients                                projects to provide services for
                                                                                                              effects using an upper bound of 3.1
experience regulation-induced ancillary                            adolescents without required parental
                                                                                                              million clients served, which is the
harm, which can manifest itself in the                             consent, thereby making Title X a
                                                                                                              reported figure for 2019, but which
quantity or quality of associated                                  critical source of sexual and
                                                                   reproductive healthcare for young          includes 19 grantees, 231 subrecipients,
services), other entities receive more                                                                        and 945 service sites that withdrew
funding. The Department maintains the                              people. In 2019, two percent of program
                                                                   clients were younger than 15, and eight    from the Title X program following the
analytical approach of estimating the                                                                         2019 rule.
number of additional clients served and                            percent were younger than 18.
                                                                   Additional information about the              Table F1 presents the number of
services provided under the Title X                                                                           clients served under different
                                                                   number and distribution of all family
program under this final rule, while                                                                          assumptions of the baseline. The
                                                                   planning clients by age and year are
acknowledging challenges in                                        available in Exhibit A–3a of the 2019      analysis also recalculates the number of
quantitatively assessing whether this                              Family Planning Annual Report. The         clients served for the final rule scenario
final rule will result in additional                               benefits of revoking the 2019 rule would   for each of the baseline assumptions.
clients served and family planning                                 likely accrue proportionally with these    Since the number of clients served in
services provided, not limited to the                              income and race and ethnicity figures.     the first year is the midpoint between
Title X program, as compared to the                                The costs of revoking the 2019 rule        the baseline and long-run equilibrium
baseline of no further regulatory action.                          would likely accrue proportionally to      figure, the number of clients served in
Despite such uncertainty, analysis based                           the income and other demographics of       2022 under the final rule is lower for the
on evidence available at this time                                 the general public.                        lower-bound scenario than the primary
generally supports a conclusion that the                              This final rule will also likely have   baseline. Similarly, the number of
projections accompanying the 2019 rule                             important geographic effects. As           clients served under the final rule is
have not been borne out.                                           described in greater detail in the         higher in the upper-bound scenario.
                                   TABLE F1—TITLE X CLIENTS SERVED UNDER DIFFERENT BASELINE ASSUMPTIONS
                                                                                                              Proposed      Proposed rule,   Proposed rule,
                           Year                                  Baseline     Baseline, LB   Baseline, UB        rule            LB               UB

2022 .........................................................    2,512,066      1,536,743      3,095,666       3,247,958       2,760,296        3,539,758
2023 .........................................................    2,512,066      1,536,743      3,095,666       3,983,849       3,983,849        3,983,849
2024 .........................................................    2,512,066      1,536,743      3,095,666       3,983,849       3,983,849        3,983,849
2025 .........................................................    2,512,066      1,536,743      3,095,666       3,983,849       3,983,849        3,983,849
2026 .........................................................    2,512,066      1,536,743      3,095,666       3,983,849       3,983,849        3,983,849



   Table F2 calculates the effect of the                           three percent and a seven percent          baseline scenario. Under the upper-
final rule under different baseline                                discount rate. Under the lower-bound       bound baseline scenario, the final rule
assumptions. These estimates are                                   baseline scenario, the final rule will     will have approximately a 64 percent
reported by year, as well as in present                            have about a 66 percent greater impact     lesser impact.
value and annualized for the five-year                             on the number of clients served in
time horizon of the analysis, applying a                           annualized terms under the primary




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          TABLE F2—EFFECT OF THE PROPOSED RULE ON TITLE X CLIENTS UNDER DIFFERENT BASELINE ASSUMPTIONS
                                                                                                                                                                      Proposed rule,   Proposed rule,
                                                                     Year                                                                            Proposed rule         LB               UB

2022 .............................................................................................................................................         735,892        1,223,553          444,092
2023 .............................................................................................................................................       1,471,783        2,447,106          888,183
2024 .............................................................................................................................................       1,471,783        2,447,106          888,183
2025 .............................................................................................................................................       1,471,783        2,447,106          888,183
2026 .............................................................................................................................................       1,471,783        2,447,106          888,183
PDV, 3% ......................................................................................................................................           6,025,877       10,019,113        3,636,461
PDV, 7% ......................................................................................................................................           5,346,852        8,890,110        3,226,687
Annualized, 3% ............................................................................................................................              1,315,778        2,187,719          794,038
Annualized, 7% ............................................................................................................................              1,304,047        2,168,215          786,959



   As discussed earlier, the Department                                     sites have shut down permanently, the                                      estimates that adopt alternative
acknowledges uncertainty in how                                             assumption of a two-year phase-in                                          assumptions about the length of time it
quickly the Title X program will be able                                    would likely result in an overestimate of                                  will take to reach the long-run
to restore service to levels experienced                                    the final rule’s effect over the time                                      equilibrium estimates. Table F3 presents
prior to the declines associated with the                                   horizon of the analysis. Similarly, if a                                   the primary estimates of clients served,
2019 rule. The primary analysis adopts                                      small number of service sites have shut                                    based on a two-year phase-in, estimates
a two-year phase for grantees,                                              down, the analysis would tend to                                           without a phase-in, and estimates with
subrecipients, service sites, and clients                                   underestimate the effect of the final                                      a three-year phase-in assumption.
served to reach the long-run equilibrium                                    rule. Therefore, as a second sensitivity
estimates. If a large number of service                                     analysis, the Department presents
                                              TABLE F3—TITLE X CLIENTS WITH DIFFERENT PHASE-IN ASSUMPTIONS
                                                                                                                                                     Proposed rule,   Proposed rule,   Proposed rule,
                                                       Year                                                                    Baseline                 2-year         no phase-in        3-year
                                                                                                                                                        phase-in                          phase-in

2022 .................................................................................................................            2,512,066              3,247,958        3,983,849        3,002,660
2023 .................................................................................................................            2,512,066              3,983,849        3,983,849        3,493,255
2024 .................................................................................................................            2,512,066              3,983,849        3,983,849        3,983,849
2025 .................................................................................................................            2,512,066              3,983,849        3,983,849        3,983,849
2026 .................................................................................................................            2,512,066              3,983,849        3,983,849        3,983,849



   Table F4 calculates the effect of the                                    time horizon of the analysis, applying a                                   rule that are approximately 12 percent
final rule with different phase-in                                          three percent and a seven percent                                          higher. Assuming a three-year phase-in
assumptions. These estimates are                                            discount rate. Compared to the primary                                     yields annualized effects that are about
reported by year, as well as in present                                     estimates, the assumption of no phase-                                     12 percent lower than the primary
value and annualized for the five-year                                      in yields annualized effects of the final                                  estimates.
           TABLE F4—EFFECT OF THE PROPOSED RULE ON TITLE X CLIENTS WITH DIFFERENT PHASE-IN ASSUMPTIONS
                                                                                                                                                     Proposed rule,   Proposed rule,   Proposed rule,
                                                                     Year                                                                               2-year         no phase-in        3-year
                                                                                                                                                        phase-in                          phase-in

2022 .............................................................................................................................................         735,892        1,471,783          490,594
2023 .............................................................................................................................................       1,471,783        1,471,783          981,189
2024 .............................................................................................................................................       1,471,783        1,471,783        1,471,783
2025 .............................................................................................................................................       1,471,783        1,471,783        1,471,783
2026 .............................................................................................................................................       1,471,783        1,471,783        1,471,783
PDV, 3% ......................................................................................................................................           6,025,877        6,740,335        5,325,293
PDV, 7% ......................................................................................................................................           5,346,852        6,034,601        4,689,098
Annualized, 3% ............................................................................................................................              1,315,778        1,471,783        1,162,802
Annualized, 7% ............................................................................................................................              1,304,047        1,471,783        1,143,627



g. Analysis of Regulatory Alternatives to                                   approach would exacerbate the trends of                                    grantees and reducing programmatic
the Proposed Rule                                                           reduced Title X grantees, subrecipients,                                   oversight. However, experience suggests
                                                                            service sites, and clients served that we                                  the compliance regime as it existed
   The Department analyzed two                                              have observed under the 2019 rule.                                         prior to the 2019 rule was effective.
alternatives to the approach under the                                      Second, the Department considered
final rule. The Department considered                                                                                                                  IV. Environmental Impact
                                                                            revising the 2019 rule by readopting
one option to maintain many elements
                                                                            many elements of the 2000 regulations,                                       The Department has determined
of the 2019 rule and to impose
additional restrictions on grantees. This                                   but adopting additional flexibilities for                                  under 21 CFR 25.30(k) that this action




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is of a type that does not individually                              requirement under § 59.5(a)(13) to                                               Burden of Response: The Department
or cumulatively have a significant effect                            report information to HHS on                                                  is committed to leveraging existing
on the human environment. Therefore,                                 subrecipients. However, additional                                            grant, contract, annual reporting, and
neither an environmental assessment                                  information collection was identified                                         other Departmental forms where
nor an environmental impact statement                                related to § 59.4, 59.5, and 59.7. The                                        possible, rather than creating additional,
is required.                                                         final rule is revising the information                                        separate forms for recipients to sign.
                                                                     collections to reflect the additional                                         The burden for describing the Title X
V. Paperwork Reduction Act
                                                                     estimated burden for the Title X grant                                        grant requirements is the cost for each
   This final rule contains information                              requirements under § 59.4, 59.5, and                                          applicant to include this information in
collection requirements (ICRs) that are                              59.7. A description of these provisions                                       their grant applications. The labor cost
subject to review by the Office of                                   is given in the following paragraphs                                          would consist of a medical and health
Management and Budget (OMB) under                                    with an estimate of the annual burden,                                        service manager spending an average of
the Paperwork Reduction Act of 1995.                                 summarized in Table 1.                                                        70 hours writing and incorporating the
No public comments were provided on                                     § 59.4 requires Title X grant                                              Title X program information in their
the proposed information collections for                             applicants to describe how the proposed                                       grant applications. The Department
§ 59.4, 59.5, and 59.7 proposed in the                               project would satisfy the regulatory                                          estimates the number of applicants at
NPRM. OMB filed comment on this                                      requirements for the Title X program in                                       136, based on the number of eligible
NPRM and assigned OMB Control                                        their applications, including the specific                                    applicants who applied to the Title X
Number 0970–0211. As previously                                      project requirements under § 59.5 and                                         national grant competition before the
stated in the preamble, the final rule is                            the grant review criteria specified under                                     2019 final rule was in effect. The mean
revoking the 2019 final rule in its                                  § 59.7. We estimate that the time                                             hourly wage (not including benefits and
entirety. As a result, the final rule does                           necessary for each Title X applicant to                                       overhead) is $55.37 per hour for the
not include information data collection                              include this information in their grant                                       medical and health service manager.27
required under § 59.5(a)(12) to provide                              applications would be 70 hours. All                                           The labor cost per application is
documentation or assurance to HHS of                                 other reporting burden associated with                                        $3,875.90. ($55.37 × 70 hours), and the
a plan to comply with state notifications                            grant applications is already approved                                        total labor cost is $527,122.40
laws, and it does not include the                                    via existing Grants.gov common forms.                                         ($3,875.90 × 136 applications).

     TABLE 1—ESTIMATED BURDEN FOR DESCRIBING THE TITLE X GRANT REQUIREMENTS IN THE GRANT APPLICATION
                                FOLLOWING PUBLICATION OF THE FINAL RULE

                                                              OMB control                    Applicant                Hourly rate                Burden per                Total annual              Labor cost of
               Regulation burden                                 No.                        responses                    ($)                      response                   burden                   application
                                                                                                                                                   (hours)                   (hours)                      ($)

Title X Grant Requirements .....................                  0970–0211                               136                     55.37                           70                    9,520          527,122.40

     Total cost ..........................................   ........................    ........................   ........................   ........................   ........................     527,122.40



List of Subjects in 42 CFR Part 59                                   59.4 How does one apply for a family                                          Service Act (42 U.S.C. 300) to assist in
                                                                          planning services grant?                                                 the establishment and operation of
  Family planning, Grant programs-                                   59.5 What requirements must be met by a                                       voluntary family planning projects.
health, Health professions, Abortion,                                     family planning project?                                                 These projects shall consist of the
Birth control, Title X.                                              59.6 What procedures apply to assure the
                                                                          suitability of informational and
                                                                                                                                                   educational, comprehensive medical,
Xavier Becerra,                                                           educational material (print and                                          and social services necessary to aid
Secretary, Department of Health and Human                                 electronic)?                                                             individuals to determine freely the
Services.                                                            59.7 What criteria will the Department of                                     number and spacing of their children.
                                                                          Health and Human Services use to
42 CFR Part 59                                                            decide which family planning services                                    § 59.2 Definitions.
                                                                          projects to fund and in what amount?                                       As used in this subpart:
PART 59—GRANTS FOR FAMILY                                            59.8 How is a grant awarded?                                                    Act means the Public Health Service
PLANNING                                                             59.9 For what purposes may grant funds be                                     Act, as amended.
                                                                          used?                                                                      Adolescent-friendly health services
  For the reasons set out in the                                     59.10 Confidentiality.                                                        are services that are accessible,
preamble, subpart A of part 59 of title                              59.11 Additional conditions.                                                  acceptable, equitable, appropriate and
42, Code of Federal Regulations, is                                     Authority: 42 U.S.C. 300a-4.                                               effective for adolescents.
revised to read as follows:                                                                                                                          Clinical services provider includes
Subpart A—Project Grants for Family                                  Subpart A—Project Grants for Family                                           physicians, physician assistants, nurse
Planning Services                                                    Planning Services                                                             practitioners, certified nurse midwives,
Sec.                                                                                                                                               and registered nurses with an expanded
                                                                     § 59.1 To what programs do these
59.1 To what programs do these regulations                           regulations apply?                                                            scope of practice who are trained and
     apply?                                                                                                                                        permitted by state-specific regulations
59.2 Definitions.                                                      The regulations of this subpart are                                         to perform all aspects of the user (male
59.3 Who is eligible to apply for a family                           applicable to the award of grants under                                       and female) physical assessments
     planning services grant?                                        section 1001 of the Public Health                                             recommended for contraceptive, related


  27 2019 labor costs for medical and health service

managers, https://www.bls.gov/oes/2019/may/
oes119111.htm.




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preventive health, and basic infertility        Quality healthcare is safe, effective,         (1) Provide a broad range of
care.                                        client-centered, timely, efficient, and        acceptable and effective medically
   Client-centered care is respectful of,    equitable.                                     approved family planning methods
and responsive to, individual client            Secretary means the Secretary of            (including natural family planning
preferences, needs, and values; client       Health and Human Services (HHS) and            methods) and services (including
values guide all clinical decisions.         any other officer or employee of the           pregnancy testing and counseling,
   Culturally and linguistically             Department of Health and Human                 assistance to achieve pregnancy, basic
appropriate services are respectful of       Services to whom the authority                 infertility services, STI services,
and responsive to the health beliefs,        involved has been delegated.                   preconception health services, and
practices and needs of diverse patients.        Service site is a clinic or other           adolescent-friendly health services). If
   Family means a social unit composed       location where Title X services are            an organization offers only a single
of one person, or two or more persons        provided to clients. Title X recipients        method of family planning, it may
living together, as a household.             and/or their subrecipients may have            participate as part of a project as long
   Family planning services include a        service sites.                                 as the entire project offers a broad range
broad range of medically approved               State includes, in addition to the          of acceptable and effective medically
services, which includes Food and Drug       several States, the District of Columbia,      approved family planning methods and
Administration (FDA)-approved                Guam, the Commonwealth of Puerto               services. Title X service sites that are
contraceptive products and natural           Rico, the Northern Mariana Islands, the        unable to provide clients with access to
family planning methods, for clients         U.S. Virgin Islands, American Samoa,           a broad range of acceptable and effective
who want to prevent pregnancy and            the U.S. Outlaying Islands (Midway,            medically approved family planning
space births, pregnancy testing and          Wake, et al.), the Marshall Islands, the       methods and services, must be able to
counseling, assistance to achieve            Federated State of Micronesia, and the         provide a prescription to the client for
pregnancy, basic infertility services,       Republic of Palau.                             their method of choice or referrals to
sexually transmitted infection (STI)            Trauma-informed means a program,            another provider, as requested.
services, and other preconception health     organization, or system that is trauma-           (2) Provide services without
services.                                    informed realizes the widespread               subjecting individuals to any coercion
   Health equity is when all persons         impact of trauma and understands               to accept services or to employ or not
have the opportunity to attain their full    potential paths for recovery; recognizes       to employ any particular methods of
health potential and no one is               the signs and symptoms of trauma in            family planning. Acceptance of services
disadvantaged from achieving this            clients, families, staff, and others           must be solely on a voluntary basis and
potential because of social position or      involved with the system; and responds         may not be made a prerequisite to
other socially determined                    by fully integrating knowledge about           eligibility for, or receipt of, any other
circumstances.                               trauma into policies, procedures, and          services, assistance from or
   Inclusive is when all people are fully    practices, and seeks to actively resist re-    participation in any other program of
included and can actively participate in     traumatization.                                the applicant.1
and benefit from family planning,                                                              (3) Provide services in a manner that
including, but not limited to,               § 59.3 Who is eligible to apply for a family   is client-centered, culturally and
individuals who belong to underserved        planning services grant?                       linguistically appropriate, inclusive,
communities, such as Black, Latino, and        Any public or nonprofit private entity       and trauma-informed; protects the
Indigenous and Native American               in a State may apply for a grant under         dignity of the individual; and ensures
persons, Asian Americans and Pacific         this subpart.                                  equitable and quality service delivery
Islanders and other persons of color;                                                       consistent with nationally recognized
members of religious minorities;             § 59.4 How does one apply for a family
                                             planning services grant?                       standards of care.
lesbian, gay, bisexual, transgender, and                                                       (4) Provide services in a manner that
queer (LGBTQ+) persons; persons with            (a) Application for a grant under this
                                                                                            does not discriminate against any client
disabilities; persons who live in rural      subpart shall be made on an authorized
                                                                                            based on religion, race, color, national
areas; and persons otherwise adversely       form.
                                                                                            origin, disability, age, sex, sexual
                                                (b) An individual authorized to act for
affected by persistent poverty or                                                           orientation, gender identity, sex
                                             the applicant and to assume on behalf
inequality.                                                                                 characteristics, number of pregnancies,
   Low-income family means a family          of the applicant the obligations imposed
                                                                                            or marital status.
whose total annual income does not           by the terms and conditions of the grant,         (5) Not provide abortion as a method
exceed 100 percent of the most recent        including the regulations of this              of family planning.2 A project must:
Poverty Guidelines issued pursuant to        subpart, must sign the application.               (i) Offer pregnant clients the
42 U.S.C. 9902(2). ‘‘Low-income family’’        (c) The application shall contain
                                                                                            opportunity to be provided information
                                                (1) A description, satisfactory to the
also includes members of families
                                             Secretary, of the project and how it will
whose annual family income exceeds                                                             1 42 U.S.C. 300a–8 provides that any officer or
                                             meet the requirements of this subpart;         employee of the United States, officer or employee
this amount, but who, as determined by          (2) A budget and justification of the       of any State, political subdivision of a State, or any
the project director, are unable, for good   amount of grant funds requested;               other entity, which administers or supervises the
reasons, to pay for family planning             (3) A description of the standards and      administration of any program receiving Federal
services. For example, unemancipated         qualifications which will be required for
                                                                                            financial assistance, or person who receives, under
minors who wish to receive services on                                                      any program receiving Federal assistance,
                                             all personnel and for all facilities to be     compensation for services, who coerces or
a confidential basis must be considered      used by the project; and                       endeavors to coerce any person to undergo an
on the basis of their own resources.            (4) Such other pertinent information        abortion or sterilization procedure by threatening
   Nonprofit, as applied to any private      as the Secretary may require.
                                                                                            such person with the loss of, or disqualification for
agency, institution, or organization,                                                       the receipt of, any benefit or service under a
                                                                                            program receiving Federal financial assistance shall
means that no part of the entity’s net       § 59.5 What requirements must be met by        be fined not more than $1,000 or imprisoned for not
earnings benefit, or may lawfully            a family planning project?                     more than one year, or both.
benefit, any private shareholder or            (a) Each project supported under this           2 Providers may separately be covered by federal

individual.                                  part must:                                     statutes protecting conscience and/or civil rights.




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and counseling regarding each of the            under title XIX, XX, or XXI of the Social     provider, with services offered within
following options:                              Security Act, a written agreement with        their scope of practice and allowable
   (A) Prenatal care and delivery;              the title XIX, XX, or XXI agency is           under state law, and with special
   (B) Infant care, foster care, or             required.                                     training or experience in family
adoption; and                                      (11)(i) Provide that if an application     planning.
   (C) Pregnancy termination.                   relates to consolidation of service areas        (7) Provide that all services purchased
   (ii) If requested to provide such            or health resources or would otherwise        for project participants will be
information and counseling, provide             affect the operations of local or regional    authorized by the project director or
neutral, factual information and                entities, the applicant must document         their designee on the project staff.
nondirective counseling on each of the          that these entities have been given, to          (8) Provide for coordination and use
options, and, referral upon request,            the maximum feasible extent, an               of referrals and linkages with primary
except with respect to any option(s)            opportunity to participate in the             healthcare providers, other providers of
about which the pregnant client                 development of the application. Local         healthcare services, local health and
indicates they do not wish to receive           and regional entities include existing or     welfare departments, hospitals,
such information and counseling.                potential subrecipients which have            voluntary agencies, and health services
   (6) Provide that priority in the             previously provided or propose to             projects supported by other federal
provision of services will be given to          provide family planning services to the       programs, who are in close physical
clients from low-income families.               area proposed to be served by the             proximity to the Title X site, when
   (7) Provide that no charge will be           applicant.                                    feasible, in order to promote access to
made for services provided to any                  (ii) Provide an opportunity for            services and provide a seamless
clients from a low-income family except         maximum participation by existing or          continuum of care.
to the extent that payment will be made         potential subrecipients in the ongoing           (9) Provide that if family planning
by a third party (including a government        policy decision making of the project.        services are provided by contract or
agency) which is authorized to or is               (b) In addition to the requirements of     other similar arrangements with actual
under legal obligation to pay this              paragraph (a) of this section, each           providers of services, services will be
charge.                                         project must meet each of the following       provided in accordance with a plan
   (8) Provide that charges will be made        requirements unless the Secretary             which establishes rates and method of
for services to clients other than those        determines that the project has               payment for medical care. These
from low-income families in accordance          established good cause for its omission.      payments must be made under
with a schedule of discounts based on           Each project must:                            agreements with a schedule of rates and
ability to pay, except that charges to             (1) Provide for medical services           payment procedures maintained by the
persons from families whose annual              related to family planning (including         recipient. The recipient must be
income exceeds 250 percent of the               consultation by a clinical services           prepared to substantiate that these rates
levels set forth in the most recent             provider, examination, prescription and       are reasonable and necessary.
Poverty Guidelines issued pursuant to           continuing supervision, laboratory               (10) Provide, to the maximum feasible
42 U.S.C. 9902(2) will be made in               examination, contraceptive supplies), in      extent, an opportunity for participation
accordance with a schedule of fees              person or via telehealth, and necessary       in the development, implementation,
designed to recover the reasonable cost         referral to other medical facilities when     and evaluation of the project by persons
of providing services.                          medically indicated, and provide for the      broadly representative of all significant
   (i) Family income should be assessed         effective usage of contraceptive devices      elements of the population to be served,
before determining whether copayments           and practices.                                and by others in the community
or additional fees are charged.                    (2) Provide for social services related    knowledgeable about the community’s
   (ii) With regard to insured clients,         to family planning, including                 needs for family planning services.
clients whose family income is at or            counseling, referral to and from other
below 250 percent of the FPL should not         social and medical service agencies, and      § 59.6 What procedures apply to assure
pay more (in copayments or additional           any ancillary services which may be           the suitability of informational and
fees) than what they would otherwise                                                          educational material (print and electronic)?
                                                necessary to facilitate clinic attendance.
pay when the schedule of discounts is              (3) Provide for opportunities for            (a) A grant under this section may be
applied.                                        community education, participation,           made only upon assurance satisfactory
   (9) Take reasonable measures to verify       and engagement to:                            to the Secretary that the project shall
client income, without burdening                   (i) Achieve community understanding        provide for the review and approval of
clients from low-income families.               of the objectives of the program;             informational and educational materials
Recipients that have lawful access to              (ii) Inform the community of the           (print and electronic) developed or
other valid means of income verification        availability of services; and                 made available under the project by an
because of the client’s participation in           (iii) Promote continued participation      Advisory Committee prior to their
another program may use those data              in the project by diverse persons to          distribution, to assure that the materials
rather than re-verify income or rely            whom family planning services may be          are suitable for the population or
solely on clients’ self-report. If a client’s   beneficial to ensure access to equitable,     community to which they are to be
income cannot be verified after                 affordable, client-centered, quality          made available and the purposes of Title
reasonable attempts to do so, charges are       family planning services.                     X of the Act. The project shall not
to be based on the client’s self-reported          (4) Provide for orientation and in-        disseminate any such materials which
income.                                         service training for all project personnel.   are not approved by the Advisory
   (10) If a third party (including a              (5) Provide services without the           Committee.
Government agency) is authorized or             imposition of any durational residency          (b) The Advisory Committee referred
legally obligated to pay for services, all      requirement or requirement that the           to in paragraph (a) of this section shall
reasonable efforts must be made to              patient be referred by a physician.           be established as follows:
obtain the third-party payment without             (6) Provide that family planning             (1) Size. The committee shall consist
application of any discounts. Where the         medical services will be performed            of no fewer than five members and up
cost of services is to be reimbursed            under the direction of a clinical services    to as many members the recipient




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determines, except that this provision           (3) The ability of the applicant to         application or portion of an approved
may be waived by the Secretary for good       advance health equity;                         application.
cause shown.                                     (4) The relative need of the applicant;
   (2) Composition. The committee shall          (5) The capacity of the applicant to        § 59.9 For what purpose may grant funds
include individuals broadly                   make rapid and effective use of the            be used?
representative of the population or           federal assistance;                              Any funds granted under this subpart
community for which the materials are            (6) The adequacy of the applicant’s         shall be expended solely for the purpose
intended (in terms of demographic             facilities and staff;                          for which the funds were granted in
factors such as race, ethnicity, color,          (7) The relative availability of non-       accordance with the approved
national origin, disability, sex, sexual      federal resources within the community         application and budget, the regulations
orientation, gender identity, sex             to be served and the degree to which           of this subpart, the terms and conditions
characteristics, age, marital status,         those resources are committed to the           of the award, and the applicable cost
income, geography, and including but          project; and                                   principles prescribed in 45 CFR part 75.
not limited to individuals who belong to         (8) The degree to which the project
underserved communities, such as              plan adequately provides for the               § 59.10 Confidentiality.
Black, Latino, and Indigenous and             requirements set forth in these
Native American persons, Asian                regulations.                                     (a) All information as to personal facts
Americans and Pacific Islanders and              (b) The Secretary shall determine the       and circumstances obtained by the
other persons of color; members of            amount of any award on the basis of an         project staff about individuals receiving
religious minorities; lesbian, gay,           estimate of the sum necessary for the          services must be held confidential and
bisexual, transgender, and queer              performance of the project. No grant           must not be disclosed without the
(LGBTQ+) persons; persons with                may be made for less than 90 percent of        individual’s documented consent,
disabilities; persons who live in rural       the project’s costs, as so estimated,          except as may be necessary to provide
areas; and persons otherwise adversely        unless the grant is to be made for a           services to the patient or as required by
affected by persistent poverty or             project which was supported, under             law, with appropriate safeguards for
inequality).                                  section 1001, for less than 90 percent of      confidentiality. Otherwise, information
   (3) Function. In reviewing materials,      its costs in fiscal year 1975. In that case,   may be disclosed only in summary,
the Advisory Committee shall:                 the grant shall not be for less than the       statistical, or other form which does not
   (i) Consider the educational, cultural,    percentage of costs covered by the grant       identify particular individuals.
and diverse backgrounds of individuals        in fiscal year 1975.                           Reasonable efforts to collect charges
to whom the materials are addressed;             (c) No grant may be made for an             without jeopardizing client
   (ii) Consider the standards of the         amount equal to 100 percent for the            confidentiality must be made. Recipient
population or community to be served          project’s estimated costs.                     must inform the client of any potential
with respect to such materials;                                                              for disclosure of their confidential
   (iii) Review the content of the            § 59.8   How is a grant awarded?               health information to policyholders
material to assure that the information         (a) The notice of grant award specifies      where the policyholder is someone
is factually correct, medically accurate,     how long HHS intends to support the            other than the client.
culturally and linguistically                 project without requiring the project to
appropriate, inclusive, and trauma                                                             (b) To the extent practical, Title X
                                              recompete for funds. This anticipated          projects shall encourage family
informed;                                     period will usually be for three to five
   (iv) Determine whether the material is                                                    participation.3 However, Title X projects
                                              years.                                         may not require consent of parents or
suitable for the population or                  (b) Generally, the grant will initially
community to which is to be made                                                             guardians for the provision of services
                                              be for one year and subsequent
available; and                                                                               to minors, nor can any Title X project
                                              continuation awards will also be for one
   (v) Establish a written record of its                                                     staff notify a parent or guardian before
                                              year at a time. A recipient must submit
determinations.                                                                              or after a minor has requested and/or
                                              a separate application to have the
                                                                                             received Title X family planning
§ 59.7 What criteria will the Department of   support continued for each subsequent
                                                                                             services.
Health and Human Services use to decide       year. Decisions regarding continuation
which family planning services projects to    awards and the funding level of such           § 59.11 Additional conditions.
fund and in what amount?                      awards will be made after consideration
   (a) Within the limits of funds             of such factors as the recipient’s               The Secretary may, with respect to
available for these purposes, the             progress and management practices and          any grant, impose additional conditions
Secretary may award grants for the            the availability of funds. In all cases,       prior to, at the time of, or during any
establishment and operation of those          continuation awards require a                  award, when in the Department’s
projects which will in the Department’s       determination by HHS that continued            judgment these conditions are necessary
judgment best promote the purposes of         funding is in the best interest of the         to assure or protect advancement of the
section 1001 of the Act, taking into          government.                                    approved program, the interests of
account:                                        (c) Neither the approval of any              public health, or the proper use of grant
   (1) The number of clients, and, in         application nor the award of any grant         funds.
particular, the number of low-income          commits or obligates the United States         [FR Doc. 2021–21542 Filed 10–4–21; 4:15 pm]
clients to be served;                         in any way to make any additional,             BILLING CODE 4150–30–P
   (2) The extent to which family             supplemental, continuation, or other
planning services are needed locally;         award with respect to any approved               3 42 U.S.C. 300(a).




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 Dobbs v. Jackson Women's
 Health Organization U.S.
 Supreme Court Decision:
 Impact on Title X Program
 QUESTIONS & ANSWERS FOR TITLE X RECIPIENTS




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Questions & Answers Issued October 2022
1. Where should I look for answers about Dobbs and its potential impact on my project?

   We recommend you start by contacting your Project Officer and visiting MAX.gov.

   For technical assistance in developing clinical protocols or with other clinical service delivery
   questions, contact the National Clinical Training Center on Family Planning (NCTCFP).

   For other technical assistance, contact the Reproductive Health National Training Center
   (RHNTC).

   For general information not limited to Title X, please review the following:

       •   ReproductiveRights.org: U.S. Department of Health and Human Services website
           provides accurate and up-to-date information about access to and coverage of
           reproductive health care and resources.
       •   Executive Order Protecting Access to Reproductive Health Care Services: On July
           8, 2022, President Biden signed an Executive Order. Read the Executive Order here
           and factsheet here.
       •   Executive Order On Securing Access to Reproductive and Other Healthcare
           Services: On August 3, 2022, President Biden signed a subsequent Executive Order.
           Read the Executive Order here and factsheet here.
       •   HIPAA Notice: Notice regarding HIPAA Privacy Rule and Disclosures of Information
           Relating to Reproductive Health Care.
       •   Federal Trade Commission Notice: This Federal Trade Commission (FTC) notice
           covers enforcing the law against the illegal sharing of highly sensitive data.
2. If a Title X recipient is located in a state with laws that could be interpreted to prohibit
   abortion counseling and referral, is the recipient required to comply with the state laws
   or with the Title X regulations, which require recipients to provide abortion referral and
   counseling?

   While OPA is unaware of any current state laws that expressly conflict, Title X recipients must
   still follow Federal regulatory requirements, such as providing nondirective counseling and
   referrals for abortion on request. However, some practices may be impacted. For example,
   where a state has banned certain abortions, referrals in those circumstances will need to be
   made out of state.

3. Can Federal recipients use grant funds for legal services directly related to their grant
   award?

   It is possible that recipients can use their grant funds for legal services related to their project.
   Decisions about allowability of costs are made by the Office of the Assistant Secretary for
   Health (OASH) Grants Management Officer (GMO) based upon factors set out in grants
   administration regulations at 45 CFR § 75.459 (“Professional service costs”) and 45 CFR §




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   75.435 (“Defense and prosecution of criminal and civil proceedings, claims, appeals, and
   patent infringements”). Recipients should review 45 CFR § 75.459 and 45 CFR § 75.435 and
   discuss with the GMO for final determination.

   45 CFR § 75.459 Professional service costs - https://www.ecfr.gov/current/title-45/subtitle-
   A/subchapter-A/part-75/subpart-E/subject-group-ECFR5d90ba314caea08/section-75.459

   45 CFR § 75.435 Defense and prosecution of criminal and civil proceedings, claims, appeals,
   and patent infringements - https://www.ecfr.gov/current/title-45/subtitle-A/subchapter-A/part-
   75/subpart-E/subject-group-ECFR5d90ba314caea08/section-75.435

4. Does the Supreme Court decision in Dobbs v. Jackson Women's Health Organization
   affect the provision of follow-up care for early pregnancy loss; miscarriage; or self-
   managed abortion at Title X service sites?

   It does not. Title X recipients are required to provide for medical services related to family
   planning (including consultation by a clinical services provider, examination, prescription and
   continuing supervision, laboratory examination, contraceptive supplies), in person or via
   telehealth, and necessary referral to other medical facilities when medically indicated, and
   provide for the effective usage of contraceptive devices and practices. (42 CFR § 59.5(b)(1))

   For technical assistance in developing clinical protocols or with other clinical service delivery
   questions, contact the National Clinical Training Center on Family Planning (NCTCFP).

5. Some of our subrecipients are concerned about reporting pregnancy test results in their
   electronic medical record (EMR), especially since we have to submit Family Planning
   Annual Report (FPAR) data. How do we ensure the confidentiality of our clients’ medical
   records?

   Title X recipients should ensure that their internal controls for all Title X client data ensure
   confidentiality. Please refer to the question answered in the June Q&A below: “What is Title X’s
   requirement on maintaining client confidentiality?” for more information on client confidentiality.

   The FPAR 2.0 Q&A in the “Data Privacy” section clarifies OPA’s deidentifying process to
   ensure security of client data.

   For technical assistance regarding client data privacy and confidentiality, contact the
   Reproductive Health National Training Center (RHNTC).

6. Does Title X or OPA provide legal protections if state laws change to be more restrictive
   than what Title X requires? (i.e., providers or clients being penalized for
   naming/referring/or accessing abortions services)?

   It is possible that recipients can use their grant funds for legal services related to their project.
   Please refer to the question answered in the Q&A above: “Can Federal recipients use grant
   funds for legal services directly related to their grant award?” for more information.




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   To request technical assistance regarding client data privacy and confidentiality, or identify
   relevant resources, contact the RHNTC.

7. Can Title X funds be used to purchase home pregnancy tests for clients? (Updated
   11/2/2022)

   Yes, Title X funds can be used to purchase home pregnancy tests for clients. Service sites
   should have protocols established for how they provide the home pregnancy tests to clients
   under the Title X project and how they ensure confidential, client-centered follow up as needed
   to promote continuity of care.

   For technical assistance in developing clinical protocols or with other clinical service delivery
   questions, contact the NCTCFP.




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Questions & Answers Issued June 2022
1. If a Title X recipient begins to see an influx of clients following the Supreme Court
   decision in Dobbs, et al. v. Jackson Women’s Health Organization, is the Title X recipient
   allowed to reallocate funds to account for the change in client volume?

   Title X recipients can submit a request for a budget revision via Grant Solutions at any time if a
   need arises to reallocate more than 10% of the total budget across approved budget
   categories. The request should contain documentation explaining the need for the budget
   revision along with a revised budget (SF-424A) and revised budget narrative. This should be
   submitted through the GrantSolutions amendment module to begin the review and approval
   process. The process may take up to 30 days. If approved the grants management officer will
   issue a notice of award with the budget revision. Guidance on how to submit a budget revision
   amendment in GrantSolutions can be found on MAX.gov. Recipients should discuss any
   potential reallocation of funds with their respective project officer and grants management
   specialist.

2. Will OPA be providing Title X recipients with additional funding to address the potential
   influx in clients that may result from Supreme Court decision in Dobbs v. Jackson
   Women’s Health Organization?

   OPA is working to secure additional funding, but unfortunately does not have additional funding
   available at this time to provide to Title X recipients who may experience an influx in clients
   following the Dobbs Supreme Court decision. If additional funds were to become available at
   any point, OPA will share the information with all Title X recipients.

3. Can Title X recipients expand services to a new community or a new state if the need for
   services changes?

   The Title X program is not a state-based formula grant program, therefore individual Title X
   project service areas are not limited to individual states. Title X recipients interested in
   expanding their service area to include new communities, either within or across states, would
   need to request approval from OPA and GAM for a change in scope of their projects. Requests
   must be submitted via a change in scope amendment which may take up to 30 days for review.
   Approval is communicated via a notice of award issued by the grants management officer.
   Costs may be disallowed if a recipient begins implementing a change in scope prior to its
   approval.

   A change in scope occurs when the recipient proposes changes to project’s objectives, aims,
   or purposes identified in the approved application, such as changing the service area; applying
   a new technology; adding or eliminating a service delivery site; or making budget changes that
   cause a project to change substantially from what was originally approved. The Title X Family
   Planning Change in Scope Worksheet helps identify elements for clinic closures, new clinics, or
   other programmatic changes which may require a request for a change in scope to the current
   Title X family planning project. Recipients are not required to use the worksheet, but can
   include the completed worksheet with their amendment submission in Grant Solutions.




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4. Can Title X recipients begin to limit receipt of services to only residents from their state
   if the influx of clients from other states becomes too burdensome?

   No, Title X recipients cannot limit receipt of services to only residents from their states. Title X
   recipients are required to provide services without the imposition of any durational residency
   requirement or a requirement that the client be referred by a physician. (42 CFR § 59.5(b)(5))


5. Can Title X recipients remove pregnancy testing and counseling from their Title X
   projects?

   Title X recipients are required to provide a broad range of acceptable and effective medically
   approved family planning methods (including natural family planning methods) and services
   (including pregnancy testing and counseling, assistance to achieve pregnancy, basic
   infertility services, sexually transmitted infection (STI) services, preconception health services,
   and adolescent-friendly health services). If an organization offers only a single method of family
   planning, it may participate as part of a project as long as the entire project offers a broad
   range of acceptable and effective medically approved family planning methods and services.
   (42 CFR § 59.5(a)(1))

   As a result of the requirement in § 59.5(a)(1), Title X recipients cannot completely
   remove pregnancy testing and counseling services from their Title X projects. Title X
   service sites are expected to provide most, if not all, of acceptable and effective medically
   approved family planning methods and services on site and to detail the referral process for
   family planning methods and services that are unavailable on-site. However, as long as the
   entire Title X project offers a broad range of acceptable and effective medically approved family
   planning methods and services, including pregnancy testing and counseling, not all individual
   service sites participating in the project must offer the broad range of methods and services.

   Furthermore, Title X recipients are required to ensure that Title X service sites that are unable
   to provide clients with access to a broad range of acceptable and effective medically approved
   family planning methods and services, must be able to provide a prescription to the client for
   their method of choice or referrals to another provider, as requested. (42 CFR § 59.5(a)(1))

6. Given the Supreme Court decision in Dobbs v. Jackson Women’s Health Organization,
   can Title X recipients still provide emergency contraception to clients?

   Yes, Title X recipients are required to provide a broad range of acceptable and effective
   medically approved family planning methods (including natural family planning methods) and
   services (including pregnancy testing and counseling, assistance to achieve pregnancy, basic
   infertility services, sexually transmitted infection (STI) services, preconception health services,
   and adolescent-friendly health services). (42 CFR § 59.5(a)(1))

   Title X recipients may still consider emergency contraception as part of the required broad
   range of methods and services because it is a medically approved method of contraception.
   “Emergency contraception is a [FDA-approved] method of birth control you can use if you had
   sex without using birth control or if your birth control method did not work correctly. Emergency




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   contraception pills are different from the abortion pill. If you are already pregnant, emergency
   contraception pills do not stop or harm your pregnancy.” (womenshealth.gov) Click here for
   more information on emergency contraception.

7. Who should Title X recipients contact with questions about the impact of the U.S.
   Supreme Court’s decision in Dobbs v. Jackson Women's Health Organization?

   For questions related to the impact of Dobbs on their Title X projects, Title X recipients should
   contact their respective OPA project officers; in addition, they should refer to the Title X
   Program Handbook for further guidance on all Title X recipient expectations. For questions
   about Dobbs outside the scope of their Title X projects, recipients should contact their private
   counsel.

8. Given the Supreme Court decision in Dobbs v. Jackson Women’s Health Organization,
   are Title X recipients still allowed to provide counseling to clients about abortion?

   Not only are Title X recipients allowed, but per the 2021 Title X rule, Title X recipients are
   required to offer pregnant clients the opportunity to be provided information and counseling
   regarding each of the following options: prenatal care and delivery; infant care, foster care, or
   adoption; and pregnancy termination. If requested to provide such information and counseling,
   provide neutral, factual information and nondirective counseling on each of the options, and
   referral upon request, except with respect to any option(s) about which the pregnant client
   indicates they do not wish to receive such information and counseling. (42 CFR § 59.5(a)(5))

9. Given the Supreme Court decision in Dobbs v. Jackson Women’s Health Organization,
   are Title X recipients still allowed to provide clients with counseling and a referral for an
   abortion?

   Not only are Title X recipients allowed, but per the 2021 Title X rule, Title X recipients are
   required to offer pregnant clients the opportunity to be provided information and counseling
   regarding each of the following options: prenatal care and delivery; infant care, foster care, or
   adoption; and pregnancy termination. If requested to provide such information and counseling,
   provide neutral, factual information and nondirective counseling on each of the options, and
   referral upon request, except with respect to any option(s) about which the pregnant client
   indicates they do not wish to receive such information and counseling. (42 CFR § 59.5(a)(5))

   However, there are limitations on what abortion counseling and referral is permissible under the
   statute. A Title X project may not provide pregnancy options counseling which promotes
   abortion or encourages persons to obtain abortion, although the project may provide patients
   with complete factual information about all medical options and the accompanying risks and
   benefits. And, while a Title X project may provide a referral for abortion, which may include
   providing a patient with the name, address, telephone number, and other relevant factual
   information (such as whether the provider accepts Medicaid, charges, etc.) about an abortion
   provider, the project may not take further affirmative action (such as negotiating a fee
   reduction, making an appointment, providing transportation) to secure abortion services for the
   patient. (65 Fed. Reg. 41281 (July 3, 2000))




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   Where a referral to another provider who might perform an abortion is medically indicated
   because of the patient’s condition or the condition of the fetus (such as where the woman’s life
   would be endangered), such a referral by a Title X project is not prohibited by section 1008 and
   is required by 42 CFR § 59.5(b)(1). The limitations on referrals do not apply in cases in which a
   referral is made for medical indications. (65 Fed. Reg. 41281 (July 3, 2000)).

10. Can Title X grantees accept referrals from clients living in a different state from where
    the service site is located?

   Yes, Title X recipients can provide services for clients living outside of the community and state
   that the service site is located in. Title X recipients are required to provide services without the
   imposition of any durational residency requirement. (42 CFR § 59.5(b)(5))

11. Can Title X recipients make referrals for a client to a provider in a different state?

   There are no geographic limits for Title X recipients making referrals for their clients.

   Title X recipients are required to provide for coordination and use of referrals and linkages with
   primary healthcare providers, other providers of healthcare services, local health and welfare
   departments, hospitals, voluntary agencies, and health services projects supported by other
   federal programs, who are in close physical proximity to the Title X site, when feasible, in
   order to promote access to services and provide a seamless continuum of care. (42 CFR §
   59.5(b)(8))

   Title X recipients have flexibility to refer clients for services across state lines if necessary.

12. Can Title X recipients provide pregnancy counseling via telehealth?

   Yes, Title X recipients are required to provide for medical services related to family planning
   (including consultation by a clinical services provider, examination, prescription and continuing
   supervision, laboratory examination, contraceptive supplies), in person or via telehealth, and
   necessary referral to other medical facilities when medically indicated, and provide for the
   effective usage of contraceptive devices and practices. (42 CFR § 59.5(b)(1))

13. When providing clients with a referral for an abortion, are Title X recipients allowed to
    take any further steps to help clients secure an appointment?

   While a Title X project may provide a referral for abortion, which may include providing a
   patient with the name, address, telephone number, and other relevant factual information (such
   as whether the provider accepts Medicaid, charges, etc.) about an abortion provider, the
   project may not take further affirmative action (such as negotiating a fee reduction, making an
   appointment, providing transportation) to secure abortion services for the patient. (65 Fed. Reg.
   41281 (July 3, 2000))

   Where a referral to another provider who might perform an abortion is medically indicated
   because of the patient's condition or the condition of the fetus (such as where the woman's life
   would be endangered), such a referral by a Title X project is not prohibited by section 1008 and




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   is required by 42 CFR § 59.5(b)(1). The limitations on referrals do not apply in cases in which a
   referral is made for medical indications. (65 Fed. Reg. 41281 (July 3, 2000)).

14. Can Title X projects provide abortion services for clients now in need of such services?

   No, Title X recipients are not allowed to provide abortion as a method of family planning as part
   of the Title X project. (Section 1008, PHS Act; Consolidated Appropriations Act, 2022, Pub. L.
   No. 117-103, 136 Stat. 49, 444 (2022); 42 CFR § 59.5(a)(5))

15. Are Title X projects allowed to provide medication abortion pills for clients now in need
    of such services?

   No, Title X recipients are not allowed to provide abortion as a method of family planning as part
   of the Title X project. (Section 1008, PHS Act; Consolidated Appropriations Act, 2022, Pub. L.
   No. 117-103, 136 Stat. 49, 444 (2022); 42 CFR § 59.5(a)(5))

16. What is the Title X program’s requirement on abortion as a method of family planning
    and abortion counseling and referral?

   Title X recipients are not allowed to provide abortion as a method of family planning as part of
   the Title X project. (Section 1008, PHS Act; Consolidated Appropriations Act, 2022, Pub. L. No.
   117-103, 136 Stat. 49, 444 (2022); 42 CFR § 59.5(a)(5))

   Title X recipients are required to offer pregnant clients the opportunity to be provided
   information and counseling regarding each of the following options: prenatal care and delivery;
   infant care, foster care, or adoption; and pregnancy termination. If requested to provide such
   information and counseling, provide neutral, factual information and nondirective counseling on
   each of the options, and referral upon request, except with respect to any option(s) about which
   the pregnant client indicates they do not wish to receive such information and counseling. (42
   CFR § 59.5(a)(5))

   Furthermore, Title X recipients are prohibited from providing services that directly facilitate the
   use of abortion as a method of family planning, such as providing transportation for an abortion,
   explaining and obtaining signed abortion consent forms from clients interested in abortions,
   negotiating a reduction in fees for an abortion, and scheduling or arranging for the performance
   of an abortion, promoting or advocating abortion within Title X program activities, or failing to
   preserve sufficient separation between Title X program activities and abortion-related activities.
   (65 Fed. Reg. 41281 (July 3, 2000))

17. What is considered “sufficient separation” between Title X program activities and
    abortion-related activities?

   Title X recipients are required to ensure that non-Title X abortion activities are separate and
   distinct from Title X project activities. Where recipients conduct abortion activities that are not
   part of the Title X project and would not be permissible if they were, the recipient must ensure
   that the Title X-supported project is separate and distinguishable from those other activities.




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   What must be looked at is whether the abortion element in a program of family planning
   services is so large and so intimately related to all aspects of the program as to make it difficult
   or impossible to separate the eligible and non-eligible items of cost. The Title X project is the
   set of activities the recipient agreed to perform in the relevant grant documents as a condition
   of receiving Title X funds. A grant applicant may include both project and non-project activities
   in its grant application, and, so long as these are properly distinguished from each other and
   prohibited activities are not reflected in the amount of the total approved budget, no problem is
   created.

   Separation of Title X from abortion activities does not require separate recipients or even a
   separate health facility, but separate bookkeeping entries alone will not satisfy the spirit of the
   law. Mere technical allocation of funds, attributing federal dollars to non-abortion activities, is
   not a legally supportable avoidance of section 1008. Certain kinds of shared facilities are
   permissible, so long as it is possible to distinguish between the Title X supported activities and
   non-Title X abortion-related activities:
       a. a common waiting room is permissible, as long as the costs properly pro-rated;
       b. common staff is permissible, so long as salaries are properly allocated, and all abortion
           related activities of the staff members are performed in a program which is entirely
           separate from the Title X project;
       c. a hospital offering abortions for family planning purposes and also housing a Title X
           project is permissible, as long as the abortion activities are sufficiently separate from the
           Title X project; and
       d. maintenance of a single file system for abortion and family planning patients is
           permissible, so long as costs are properly allocated. (65 Fed. Reg. 41281, 41282 (July
           3, 2000)


18. Can Title X recipients use Title X funds to fund speakers to present in opposition to the
    Supreme Court decision in Dobbs v. Jackson Women’s Health Organization?

   No, Title X recipients are prohibited from promoting or encouraging the use of abortion as a
   method of family planning through advocacy activities such as providing speakers to debate in
   opposition to anti-abortion speakers, bringing legal action to liberalize statutes relating to
   abortion, or producing and/or showing films that encourage or promote a favorable attitude
   toward abortion as a method of family planning. Films that present only neutral, factual
   information about abortion are permissible. A Title X project may be a dues paying participant
   in a national abortion advocacy organization, so long as there are other legitimate program-
   related reasons for the affiliation (such as access to certain information or data useful to the
   Title X project). A Title X project may also discuss abortion as an available alternative when a
   family planning method fails in a discussion of relative risks of various methods of
   contraception. (65 Fed. Reg. 41281, 41282 (July 3, 2000))


19. How can Title X projects support clients with positive pregnancy tests and are
    experiencing early pregnancy symptoms such as bleeding, nausea and vomiting, or
    pain?




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   For clients experiencing early pregnancy symptoms before the client realizes they are
   pregnant, and/or immediately following a positive pregnancy test, Title X providers should
   assess the client and provide clinical care to address their immediate needs.

   Subsequently, as detailed in 42 CFR § 59.5(a)(5), providers must offer pregnant clients the
   opportunity to be provided information and counseling regarding the following options: prenatal
   care and delivery; infant care, foster care, or adoption; and pregnancy termination. If requested
   to provide such information and counseling, providers must provide neutral, factual information
   and nondirective counseling on each of the options, and referral upon request, except with
   respect to any option(s) about which the pregnant client indicates they do not wish to receive
   such information and counseling.

   Title X recipients are required to provide a broad range of acceptable and effective medically
   approved family planning methods (including natural family planning methods) and services
   (including pregnancy testing and counseling, assistance to achieve pregnancy, basic infertility
   services, sexually transmitted infection (STI) services, preconception health services, and
   adolescent-friendly health services). (42 CFR § 59.5(a)(1))

   Title X recipients are required to provide services in a manner that ensures equitable and
   quality service delivery consistent with nationally recognized standards of care. (42 CFR §
   59.5(a)(3))

   In addition, Title X recipients are required to provide for medical services related to family
   planning (including consultation by a clinical services provider, examination, prescription and
   continuing supervision, laboratory examination, contraceptive supplies), in person or via
   telehealth, and necessary referral to other medical facilities when medically indicated, and
   provide for the effective usage of contraceptive devices and practices. (42 CFR § 59.5(b)(1))

20. What is Title X’s requirement on maintaining client confidentiality?

   As detailed in 42 CFR § 59.10(a), the Title X program requires that all information as to
   personal facts and circumstances obtained by the project staff about individuals receiving
   services must be held confidential and must not be disclosed without the individual’s
   documented consent, except as may be necessary to provide services to the patient or as
   required by law, with appropriate safeguards for confidentiality. Otherwise, information may be
   disclosed only in summary, statistical, or other form that does not identify particular individuals.
   Reasonable efforts to collect charges without jeopardizing client confidentiality must be made.
   Recipients must inform the client of any potential for disclosure of their confidential health
   information to policyholders where the policyholder is someone other than the client. (42 CFR §
   59.10(a))




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                                                                                                           Tab G

             DEPARTMENT OF HEALTH AND HUMAN SERVICES                                    Office of the Secretary

                                                                    Office of the Assistant Secretary for Health
                                                                                     Office of Population Affairs
                                                                                       Washington, D.C. 20201



January 25, 2023


To all Title X Services Grantee Project Directors:


The Office of Population Affairs (OPA) is conducting a review of all Title X service grants to ensure
compliance with the requirements for nondirective options counseling and referral, as stated in the 2021
Title X implementing regulations at 42 CFR § 59.5(a)(5).

In the past, OPA has exercised enforcement discretion in appropriate circumstances. OPA does not intend
to bring enforcement actions against Title X recipients that are making, and continue to make, good-faith
efforts to comply with the 2021 Final Rule. OPA is committed to working with grantees to assist them in
coming into compliance with the requirements of the 2021 Final Rule.

As part of those good-faith efforts to demonstrate compliance with the requirements for nondirective
options counseling and referral set out in the 2021 Title X implementing regulations at 42 CFR
§ 59.5(a)(5), all Title X services grantees must submit:

   •    A copy of the grantee’s current policy(ies) and any other supporting documentation (e.g.,
        procedures, subrecipient contract language) for providing nondirective options counseling and
        referrals within its Title X project. The policy(ies) and supporting documentation must be
        submitted as a Grant Note in GrantSolutions. If there are any questions or concerns about a
        grantee’s policy(ies) and any other supporting documentation, the OPA project officer will notify
        the grantee within 2 weeks.

   •    A written statement, signed by the Project Director and Authorized Official, stating that the grant
        project is in compliance with the 2021 Title X Final Rule, including the requirements for providing
        nondirective options counseling and referrals within its Title X project, as required by the 2021
        Title X implementing regulations at 42 CFR § 59.5(a)(5). The written statement must be submitted
        as a Grant Note in GrantSolutions.

You have until February 6, 2023, to provide the information outlined above to OPA as a Grant Note
in GrantSolutions.

Your failure to provide the requested information and to show that you are in compliance with the 2021
Title X regulatory requirements at 42 CFR § 59.5(a)(5), may result in a determination that you are in
material noncompliance with the terms and conditions of your award. If you are found to be out of
compliance with the regulatory requirements of your grant, your award can be placed on cash restriction or
can be suspended or terminated pursuant to 45 CFR § 75.372(a)(1). You also have the option to voluntarily
relinquish your grant if you so choose.


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If you have questions, please contact your OPA Project Officer or your GAM Grants Management
Specialist.


Very respectfully,

                                                                               Scott J. Moore -S
                                                                               2023.01.25
                                                                               17:01:31 -05'00'
Jessica Swafford Marcella                             Scott Moore
Deputy Assistant Secretary for Population Affairs     Chief Grants Management Officer
U.S. Department of Health and Human Services          U.S. Department of Health and Human Services
Office of the Assistant Secretary for Health          Office of the Assistant Secretary for Health
Office of Population Affairs                          Grants and Acquisitions Management




                                      U.S. Public Health Service




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                                                                                                             Tab H




February 13, 2023


Tisha Reed, Title X Project Officer
Department of Health and Human Services
Telephone: 240.453.6162
Email: tisha.reed@hhs.gov

Reference: OPA Options counseling referral compliance:


Award #: FPHPA006553-01-00
Budget Period: 04/01/2022 – 03/31/2023
Project Period: 04/01/2022 – 03/31/2027

Dear Ms. Reed,

Thank you for your interest in our Title X services. Attached please find our current policy regarding our
nondirective counseling to pregnant patients on the range of available options in Tennessee. We
believe we are in compliance with regulatory requirements for the scope of allowable practice under
Tennessee law. We appreciate these funds which have allowed us to serve almost 44,000 Tennesseans
in fiscal year ‘22.


Sincerely,




___________________________                              ___________________________
Yoshie Darnall, MSN, APN, ANP-BC, WHNP-BC                Leslie Meehan, MPA, AICP
Family Planning Program Director                         Deputy Commissioner for Population Health (I)
Division of Family Health and Wellness
Reproductive and Women’s Health




    Case 3:23-cv-00384-TRM-JEM                       TN AR 74
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                    PREGNANCY TEST CONDUCTED IN A FAMILY
                            PLANNING VISIT

 GENERAL INFORMATION
 Patients requesting/requiring pregnancy tests at the Health Department should be tested on that day
 and only deferred if unable to accommodate client that day.

 SUBJECTIVE
   • Complete medical history
   • Complete sexual history (5Ps)
          o Practices (vaginal, anal, oral)
          o Partners (number, gender and concurrency)
          o Protection (from STDs/condom use)
          o Past STD history (past personal history and partner history if known)
          o Pregnancy prevention – current and previous methods used, client’s preference
   • Assess for victimization (examples - sexual or physical abuse, human trafficking, intimate
      partner/ domestic violence)
   • Assess social support system
   • Reproductive life plan
   • Feelings about possible pregnancy
   • Date of LMP
          o If postpartum, use delivery date to calculate EDD and EGA for positive tests
   • Dates of unprotected sexual intercourse since LMP

 OBJECTIVE
   • Urine pregnancy test

 ASSESSMENT
   • Positive pregnancy test
   • Negative pregnancy test

 PLAN
   • Discuss test results clearly and objectively.
   • Patients with positive pregnancy test must be offered the opportunity to be provided
      information and counseling regarding all options that are legal in the State of Tennessee.
      Provide unbiased, patient centered, trauma-informed counseling for the option(s)
      selected by the patient.
   • STD Testing
          o Positive pregnancy test result:
                 ▪ Collect urine GenProbe for chlamydia and gonorrhea
                 ▪ Blood sample for RPR, HIV, HCV
          o Negative pregnancy test result
                 ▪ Screen for symptoms, offer testing


PHN Protocol                                                                           07.01.2022



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    Pregnancy test positive
        •      Calculate estimated gestational age and estimated due date
        •      Review normal signs/symptoms of pregnancy
        •      Review warning/danger signs in pregnancy
                   o Severe pain
                   o Bleeding
                   o Dizziness, lightheadedness or syncope
                   o Fever
        •      Provide information about maintaining the health of the mother and unborn child
               during pregnancy:
                   o Importance of early prenatal care – Immediate prenatal care is imperative
                       for patients with a history of pre-term labor
                   o Importance of nutrition
                   o Provide prenatal vitamins with folic acid
                   o Offer appropriate vaccinations
        •      Stress importance of good dental care during pregnancy and refer if applicable
        •      Enroll or refer eligible clients to WIC, CHANT, and Presumptive TennCare
                   o if patient is not Presumptive TennCare eligible, refer patient to other prenatal
                       care resources and programs
        •      Advise patient to avoid:
                   o Smoking including e-cigarettes and other inhaled nicotine delivery devices.
                       ▪ Refer to Baby and Me Tobacco Free Program (BMTFP) if applicable
                       ▪ TN Tobacco Quit Line 1-800-QUIT NOW if applicable
                   o Alcohol
                       ▪ Refer to TN Redline (1-800-889-9789) if applicable
                   o Illicit and controlled substance use
                       ▪ Refer to TN Redline (1-800-889-9789) if applicable
                   o Fish containing high mercury (shark, swordfish, king mackerel, or tilefish)


 Pregnancy test NEGATIVE
 Actively seeking pregnancy
      • Refer to PHN Protocols as needed or desired by patient
             o Preconception Health Services (PHN Protocol 2.105)
             o Fertility Awareness Based Methods (PHN Protocol 2.090)
             o Basic Infertility Counseling (PHN Protocol 2.011)
      • Encourage evaluation by PCP or provider



 Not actively seeking pregnancy or not actively preventing pregnancy
    • Provide contraceptive counseling if requested
            o Offer Same Day Start as requested (PHN Protocol 2.010)
            o Offer Same Day Insertion and referral for LARC (if requested and available)
            o Offer ECP or ECP prescription as requested (PHN Protocol 2.080)
    • Discuss preconception health, including folic acid (PHN Protocol 2.105, 3.180)

PHN Protocol                                                                            07.01.2022



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 REFERENCES
 Gavin L, Moskosky, S., Carter, M. et al. Providing Quality Family Planning Services-
 Recommendations of CDC and the U.S. Office of Population Affairs, 2014. MMWR Morbidity
 and Mortality Weekly Report 2014;63 (No. RR-04).

 Gavin L, Pazol K. Update: Providing Quality Family Planning Services-Recommendations from
 CDC and the U.S. Office of Population Affairs, 2015. MMWR Morbidity and Mortality Weekly
 Report 2016;65:231–234.

 Gavin L, Pazol K. Update: Providing Quality Family Planning Services-Recommendations from
 CDC and the U.S. Office of Population Affairs, 2017. MMWR Morbidity and Mortality Weekly
 Report 2017;66:1383-1385.

 https://www.cdc.gov/zika/hc-providers/reproductive-age/reproductive-planning.html

 https://www.cdc.gov/zika/hc-providers/reproductive-age/exposure-testing-risks.html



  This protocol has been approved by                                                  , CHS
  Medical Director on July 1, 2022                  .




PHN Protocol                                                                          07.01.2022


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                DEPARTMENT OF HEALTH AND HUMAN SERVICES                                     Office of the Secretary

                                                                        Office of the Assistant Secretary for Health
                                                                                         Office of Population Affairs
                                                                                           Washington, D.C. 20201



March 1, 2023

Yoshie Darnall, Program Director
Ralph Alvarado, Authorized Official
Grant #FPHPA006553
710 James Robertson Pkwy
Nashville, TN 37243

Dear Ms. Darnall & Dr. Alvarado,


On January 25, 2023, the Office of Population Affairs (OPA) began a review of all Title X service grants to
ensure compliance with the requirements for nondirective options counseling and referral, in accordance with
the 2021 Title X implementing regulations at 42 CFR § 59.5 (a)(5). As stated in the initial request, OPA does
not intend to bring enforcement actions against Title X recipients that are making, and continue to make,
good-faith efforts to comply with the 2021 Final Rule. OPA is committed to working with grantees to assist
them in coming into compliance with the requirements of the 2021 Final Rule.

As part of the request, grantees were required to submit a copy of the current policy(ies) and any other
supporting documentation (e.g., procedures, subrecipient contract language) for providing nondirective
options counseling and referrals within its Title X project. Additionally, grantees were asked to provide a
written statement of compliance with the 2021 Title X Final Rule, including the requirements for providing
nondirective options counseling and referrals within its Title X project, signed by the Project Director and
Authorized Official. The request was to be fulfilled as a Grant Note within GrantSolutions.

The initial deadline for submission was February 6, 2023. On February 3, 2023, the Tennessee Department of
Health requested an extension to February 13, 2023, to give the new commissioner (Dr. Ralph Alvarado,
sworn in January 17, 2023) time to review the program and provide a response. We granted the extension that
same day. On February 7, 2023, Tennessee requested an additional extension to February 28, 2023, indicating
that they had underestimated “the amount of time needed to get the new Commissioner, Dr. Alvarado,
knowledgeable about Title X and the requirements.” On February 9, 2023, OPA denied the request for a
second extension. We received your submission on February 13, 2023, which included an attached policy
entitled “Pregnancy Test Conducted in a Family Planning Visit.”

OPA has reviewed your submission and determined that Tennessee’s policy for providing nondirective
options counseling within your Title X project is not in compliance with the Title X regulatory requirements
and, therefore, cannot be approved. Specifically, the policy submitted as proof of compliance states that,
“Patients with positive pregnancy test must be offered the opportunity to be provided information and
counseling regarding all options that are legal in the State of Tennessee”. The inclusion of “legal in the state
of Tennessee” is not an acceptable addition to your policy as Title X recipients must still follow all Federal
regulatory requirements regarding nondirective options counseling and referrals. In addition, the nursing
protocol only included the steps for treating clients who opt to continue a pregnancy. And, while the policy
does appear to provide instructions related to providing counseling and referral for prenatal care, no
instructions are given for infant care, foster care, adoption, or pregnancy termination, which are all required
to be provided upon request.

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In order to be in compliance with the 2021 Title X implementing regulations at 42 CFR § 59.5(a)(5),
Tennessee’s policy must clearly state that the project will offer pregnant clients information and nondirective
counseling on each of the following options: prenatal care and delivery; infant care, foster care, or adoption;
and pregnancy termination (unless clients indicate they do not want such information or counseling).
Additionally, projects are required to provide referrals upon client request, including referrals for abortion.

Because OPA is committed to working with grantees to ensure compliance with the 2021 Final Rule,
Tennessee has 10 calendar days to provide written assurance to OPA as a Grant Note in GrantSolutions,
stating compliance with the Title X nondirective options counseling requirement at 42 CFR § 59.5(a)(5)(ii),
signed by your Program Director and Authorizing Official. Failure to provide the requested assurance and
supporting documentation, and to show that you are in compliance with the 2021 Title X regulatory
requirements at 42 CFR § 59.5(a)(5)(ii), will constitute material noncompliance with the terms and conditions
of your award. You must also provide OPA with a revised counseling policy, and a procedure related to
referrals as requested in OPA’s January 25, 2023, letter.

As another option, you may submit an alternate compliance proposal by March 13, 2023. Examples of
compliance with 42 CFR § 59.5(a)(5)(ii) include:

  •   Providing nondirective options counseling on-site by Title X providers on (A) prenatal care and
      delivery; (B) infant care, foster care, or adoption; and (C) pregnancy termination, and referral upon
      request, except with respect to any option(s) about which the pregnant client indicates they do not wish
      to receive such information and counseling;

  •   Providing nondirective options counseling, using a telehealth partnership with another entity, on (A)
      prenatal care and delivery; (B) infant care, foster care, or adoption; and (C) pregnancy termination, and
      referral upon request, except with respect to any option(s) about which the pregnant client indicates
      they do not wish to receive such information and counseling ; or

  •   Providing clients with a referral to another entity (e.g., All-Options Talkline) that provides nondirective
      options counseling on (A) prenatal care and delivery; (B) infant care, foster care, or adoption; and (C)
      pregnancy termination, and referral upon request, except with respect to any option(s) about which the
      pregnant client indicates they do not wish to receive such information and counseling.

Please be aware that if you do not provide a response demonstrating compliance by March 13, 2023, you will
be considered out of compliance with the regulatory requirements of the Title X program and, therefore, the
terms and conditions of your grant. In that case, your current award can be suspended or terminated pursuant
to 45 CFR § 75.372(a)(1) for material noncompliance with the terms and conditions of the award. A
termination under this section must be reported to the Office of Management and Budget-designated integrity
and performance system, currently the Federal Awardee Performance and Integrity Information System. See
45 CFR § 75.372(b). Inclusion in FAPIIS may affect your ability to obtain future Federal funding.

Alternatively, you may voluntarily relinquish the grant if you so choose. Please contact your GAM Grants
Management Specialist, Robin Fuller, for more information on relinquishment. A decision to relinquish your
award is not reported to FAPIIS.

OPA will assist you with these concerns with the intent of ensuring compliance with the 2021 Title X
implementing regulations. If you have questions, please contact your OPA Project Officer, Tisha Reed.


Very respectfully,




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Jessica Swafford Marcella                              Scott Moore
Deputy Assistant Secretary for Population Affairs      Grants Management Officer
U.S. Department of Health and Human Services           U.S. Department of Health and Human Services
Office of the Assistant Secretary for Health           Office of the Assistant Secretary for Health
Office of Population Affairs                           Grants and Acquisitions Management




                                            U.S. Public Health Service




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              DEPARTMENT OF HEALTH AND HUMAN SERVICES                                     Office of the Secretary

                                                                      Office of the Assistant Secretary for Health
                                                                                       Office of Population Affairs
                                                                                         Washington, D.C. 20201



March 20, 2023

Yoshie Darnall, Program Director
Ralph Alvarado, Authorized Official
Grant #FPHPA006553
710 James Robertson Pkwy
Nashville, TN 37243

Re: Decision not to fund continuation award for FPHPA006553

Dear Ms. Darnall & Dr. Alvarado,

We have received your March 13, 2023, response to our March 1, 2023, letter. Based upon the
information you provided in that response, the Office of Population Affairs (OPA) has
recommended not providing Fiscal Year (FY) 2023 continuation funding for the Tennessee
Department of Health non-competing continuation application for FPHPA006553. According to
regulations implementing the Title X family planning services program at 42 CFR part 59, subpart
A, “Decisions regarding continuation awards and the funding level of such awards will be made
after consideration of such factors as the grantee’s progress and management practices, and the
availability of funds. In all cases, continuation awards require a determination by HHS that
continued funding is in the best interest of the government” (42 C.F.R. § 59.8(b)).1 OPA’s
recommendation is based on the determination that continued funding is not in the best interest of
the government because Tennessee is out of compliance with the Title X regulatory requirements.
OPA consulted with the Office of the Assistant Secretary for Health (OASH) Grants and
Acquisitions Management Division in formulating its recommendation. Because of OPA’s
determination of your non-compliance with the Title X regulation, the grants management officer
(GMO) has determined that Tennessee is unable to comply with the terms and conditions of the
award. The GMO concurs with OPA’s recommendation not to fund a continuation award.

Summary

On January 25, 2023, the Office of Population Affairs (OPA) began a review of all Title X service grants to
ensure compliance with the requirements for nondirective options counseling and referral, in accordance with
the 2021 Title X implementing regulations at 42 CFR § 59.5 (a)(5). As stated in the initial request, OPA does
not intend to bring enforcement actions against Title X recipients that are making, and continue to make,
good-faith efforts to comply with the 2021 Final Rule. OPA is committed to working with grantees to assist
them in coming into compliance with the requirements of the 2021 Final Rule.




  1
   Title X regulations also make clear that, “Neither the approval of any application nor the award of any
  grant commits or obligates the United States in any way to make any additional supplemental,
  continuation, or other award with respect to any approved application or portion of an approved
  application” (42 CFR 59.8(c)).

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As part of the request, grantees were required to submit a copy of the current policy(ies) and any other
supporting documentation (e.g., procedures, subrecipient contract language) for providing nondirective
options counseling and referrals within its Title X project. Additionally, grantees were asked to provide a
written statement of compliance with the 2021 Title X Final Rule, including the requirements for providing
nondirective options counseling and referrals within its Title X project, signed by the Project Director and
Authorized Official. The request was to be fulfilled as a Grant Note within GrantSolutions.

The initial deadline for submission was February 6, 2023. On February 3, 2023, the Tennessee Department of
Health requested an extension to February 13, 2023, to give the new commissioner (Dr. Ralph Alvarado,
sworn in January 17, 2023) time to review the program and provide a response. We granted the extension that
same day. On February 7, 2023, Tennessee requested an additional extension to February 28, 2023, indicating
that they had underestimated “the amount of time needed to get the new Commissioner, Dr. Alvarado,
knowledgeable about Title X and the requirements.” On February 9, 2023, OPA denied the request for a
second extension. We received your submission on February 13, 2023, which included an attached policy
entitled “Pregnancy Test Conducted in a Family Planning Visit.”

On March 1, 2023, OPA informed you that Tennessee’s policy for providing nondirective options counseling
within your Title X project is not in compliance with the Title X regulatory requirements and, therefore,
cannot be approved. Specifically, the policy submitted as proof of compliance states that, “Patients with
positive pregnancy test must be offered the opportunity to be provided information and counseling regarding
all options that are legal in the State of Tennessee.” The inclusion of “legal in the state of Tennessee” is not
an acceptable addition to your policy as Title X recipients must still follow all Federal regulatory
requirements regarding nondirective options counseling and referrals. In addition, the nursing protocol only
included the steps for treating clients who opt to continue a pregnancy. And, while the policy does appear to
provide instructions related to providing counseling and referral for prenatal care, no instructions are given
for infant care, foster care, adoption, or pregnancy termination, which are all required to be provided upon
request.

In the March 1, letter, OPA also informed Tennessee that in order to be in compliance with the 2021 Title X
implementing regulations at 42 CFR § 59.5(a)(5), Tennessee’s policy must clearly state that the project will
offer pregnant clients information and nondirective counseling on each of the following options: prenatal care
and delivery; infant care, foster care, or adoption; and pregnancy termination (unless clients indicate they do
not want such information or counseling). Additionally, projects are required to provide referrals upon client
request, including referrals for abortion. OPA instructed Tennessee to provide written assurance, stating that
the project is in compliance with the Title X nondirective options counseling requirement at 42 CFR §
59.5(a)(5)(ii) and supporting documentation showing compliance, by March 13, 2023. OPA also requested
that Tennessee provide OPA with a revised counseling policy, and a procedure related to referrals. Finally, in
the March 1, 2023, letter, Tennessee was also given the option to submit an alternate compliance proposal,
which included three examples of compliance with 42 CFR § 59.5(a)(5)(ii).

On March 13, 2023, you responded that Tennessee's nondirective policy appears to be in compliance with
Title X given the standard of care in Tennessee. You indicated that, pursuant to Tennessee law, Title X
subgrantees’ physicians can comply with the Title X nondirective options counseling and referral
requirements set out in 42 CFR § 59.5(a)(5) by referring patients for "terminat[ing] the pregnancy of a
woman known to be pregnant" when the termination is with intent "to increase the probability of a
live birth, to preserve the life or health of the child after live birth, or to remove a dead fetus." Tenn.
Code Ann.§ 39-15-213(a)(1) (excluding such procedures from the definition of abortion). For these
reasons, Tennessee does not construe the phrase "pregnancy termination" to include every possible
method of "pregnancy termination," such as abortion.



         Case 3:23-cv-00384-TRM-JEM                 TN AR 82
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    OPA has reviewed your statement and determined that Tennessee’s policy for providing nondirective options
    counseling and referral within your Title X project remains not in compliance with the Title X regulatory
    requirements and, therefore, the terms and conditions of your grant. As we indicated in our March 1, 2023,
    letter, Title X recipients must follow all Federal regulatory requirements regarding nondirective options
    counseling and referrals, including providing referrals for abortion upon client request.2 We understand that
    in some circumstances, those referrals will need to be made out of state. As noted above, based upon this
    determination of noncompliance with the Title X regulatory requirements, OPA has recommended not
    providing Fiscal Year (FY) 2023 continuation funding for the Tennessee Department of Health non-
    competing continuation application for FPHPA006553, as continued funding is not in the best interest of the
    government.

    Next Steps

    We will issue a notice of award with a project period end date of March 31, 2023 and include instructions for
    closing out your award. Requests for a no-cost extension will be considered if submitted promptly in order to
    complete activities for an orderly shutdown of award activities (e.g., completing already scheduled
    appointments for services). Your complete close out documentation must be submitted within 120 days of the
    end of the project period.

    Please contact your GAM Grants Management Specialist, Robin Fuller, for more information on closing out
    your award. OPA will assist you with closing out the programmatic reporting requirements of your award. If
    you have questions, please contact your OPA Project Officer, Tisha Reed.


    Very respectfully,




Jessica S. MarcellaMarcella
                    Digitally signed by Jessica S.
                             -S
-S                 Date: 2023.03.20 10:27:42 -04'00'

Jessica Swafford Marcella                                         Scott Moore
Deputy Assistant Secretary for Population Affairs                 Grants Management Officer
U.S. Department of Health and Human Services                      U.S. Department of Health and Human Services
Office of the Assistant Secretary for Health                      Office of the Assistant Secretary for Health
Office of Population Affairs                                      Grants and Acquisitions Management




                                                       U.S. Public Health Service




       The abortion counseling and referral requirements were made clear in the 2021 Title X Final Rule. 86
       2

       Fed. Reg. 56144 (2021).

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                                                                                                                    Tab K
This content is from the eCFR and is authoritative but unofficial.


   Displaying the eCFR in effect on 3/20/2023.

     Title 45 - Public Welfare
     Subtitle A - Department of Health and Human Services
     Subchapter A - General Administration
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     PART 16 - PROCEDURES OF THE DEPARTMENTAL GRANT APPEALS
     BOARD
     Authority: 5 U.S.C. 301 and secs. 1, 5, 6, and 7 of Reorganization Plan No. 1 of 1953, 18 FR 2053, 67 Stat. 631 and
       authorities cited in the Appendix.

     Source: 46 FR 43817, Aug. 31, 1981, unless otherwise noted.


     § 16.1 What this part does.
             Case 3:23-cv-00384-TRM-JEM                              TN AR 84
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This part contains requirements and procedures applicable to certain disputes arising under the HHS programs
described in appendix A. This part is designed to provide a fair, impartial, quick and flexible process for appeal from
written final decisions. This part supplements the provisions in part 75 of this title.

[46 FR 43817, Aug. 31, 1981, as amended at 81 FR 3012, Jan. 20, 2016]


§ 16.2 Definitions.
     (a) Board means the Departmental Grant Appeals Board of the Department of Health and Human Services.
          Reference below to an action of the Board means an action of the Chair, another Board member, or Board staff
          acting at the direction of a Board member. In certain instances, the provisions restrict action to particular
          Board personnel, such as the Chair or a Board member assigned to a case.

     (b) Other terms shall have the meaning set forth in part 75 of this title, unless the context below otherwise
          requires.

[46 FR 43817, Aug. 31, 1981, as amended at 81 FR 3012, Jan. 20, 2016]


§ 16.3 When these procedures become available.
Before the Board will take an appeal, three circumstances must be present:

     (a) The dispute must arise under a program which uses the Board for dispute resolution, and must meet any
          special conditions established for that program. An explanation is contained in appendix A.

     (b) The appellant must have received a final written decision, and must appeal that decision within 30 days after
          receiving it. Details of how final decisions are developed and issued, and what must be in them, are contained
          in 45 CFR 75.374.

     (c) The appellant must have exhausted any preliminary appeal process required by regulation. For example, see 42
          CFR part 50 (subpart D) for Public Health Service programs. In such cases, the final written decision required
          for the Board's review is the decision resulting from the preliminary review or appeal process. appendix A
          contains further details.

[46 FR 43817, Aug. 31, 1981, as amended at 62 FR 38218, July 17, 1997; 81 FR 3012, Jan. 20, 2016]


§ 16.4 Summary of procedures below.
The Board's basic process is review of a written record (which both parties are given ample opportunity to develop),
consisting of relevant documents and statements submitted by both parties (see § 16.8). In addition, the Board may
hold an informal conference (see § 16.10). The informal conference primarily involves questioning of the participants by
a presiding Board member. Conferences may be conducted by telephone conference call. The written record review also
may be supplemented by a hearing involving an opportunity for examining evidence and witnesses, cross-examination,
and oral argument (see § 16.11). A hearing is more expensive and time-consuming than a determination on the written
record alone or with an informal conference. Generally, therefore, the Board will schedule a hearing only if the Board
determines that there are complex issues or material facts in dispute, or that the Board's review would otherwise be
significantly enhanced by a hearing. Where the amount in dispute is $25,000 or less, there are special expedited
procedures (see § 16.12 of this part). In all cases, the Board has the flexibility to modify procedures to ensure fairness,
to avoid delay, and to accommodate the peculiar needs of a given case. The Board makes maximum feasible use of
preliminary informal steps to refine issues and to encourage resolution by the parties. The Board also has the capability
to provide mediation services (see § 16.18).


§ 16.5 How the Board operates.
      Case 3:23-cv-00384-TRM-JEM                      TN AR 85
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     (a) The Board's professional staff consists of a Chair (who is also a Board member) and full- and part-time Board
          members, all appointed by the Secretary; and a staff of employees and consultants who are attorneys or
          persons from other relevant disciplines, such as accounting.

     (b) The Chair will assign a Board member to have lead responsibility for each case (the “presiding Board
          member”). The presiding Board member will conduct the conference or hearing, if one is held. Each decision of
          the Board is issued by the presiding Board member and two other Board members.

     (c) The Board staff assists the presiding Board member, and may request information from the parties; conduct
          telephone conference calls to request information, to clarify issues, or to schedule events; and assist in
          developing decisions and other documents in a case.

     (d) The Chair will assure that no Board or staff member will participate in a case where his or her impartiality
          could reasonably be questioned.

     (e) The Board's powers and responsibilities are set forth in § 16.13.


§ 16.6 Who represents the parties.
The appellant's notice of appeal, or the first subsequent submission to the Board, should specify the name, address and
telephone number of the appellant's representative. In its first submission to the Board and the appellant, the respondent
(i.e., the federal party to the appeal) should specify the name, address and telephone number of the respondent's
representative.


§ 16.7 The first steps in the appeal process: The notice of appeal and the Board's response.
     (a) As explained in 45 CFR 75.374, a prospective appellant must submit a notice of appeal to the Board within 30
          days after receiving the final decision. The notice of appeal must include a copy of the final decision, a
          statement of the amount in dispute in the appeal, and a brief statement of why the decision is wrong.

     (b) Within ten days after receiving the notice of appeal, the Board will send an acknowledgment, enclose a copy of
          these procedures, and advise the appellant of the next steps. The Board will also send a copy of the notice of
          appeal, its attachments, and the Board's acknowledgment to the respondent. If the Board Chair has
          determined that the appeal does not meet the conditions of § 16.3 or if further information is needed to make
          this determination, the Board will notify the parties at this point.

[46 FR 43817, Aug. 31, 1981, as amended at 81 FR 3012, Jan. 20, 2016]


§ 16.8 The next step in the appeal process: Preparation of an appeal file and written argument.
Except in expedited cases (generally those of $25,000 or less; see § 16.12 for details), the appellant and the respondent
each participate in developing an appeal file for the Board to review. Each also submits written argument in support of its
position. The responsibilities of each are as follows:

     (a) The appellant's responsibility. Within 30 days after receiving the acknowledgment of the appeal, the appellant
          shall submit the following to the Board (with a copy to the respondent):

          (1) An appeal file containing the documents supporting the claim, tabbed and organized chronologically and
               accompanied by an indexed list identifying each document. The appellant should include only those
               documents which are important to the Board's decision on the issues in the case.

          (2) A written statement of the appellant's argument concerning why the respondent's final decision is wrong
               (appellant's brief).

     (b) The respondent's responsibility. Within 30 days after receiving the appellant's submission under paragraph (a)
          of this section, the respondent shall submit the following to the Board (with a copy to the appellant):
      Case 3:23-cv-00384-TRM-JEM                      TN AR 86
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          (1) A supplement to the appeal file containing any additional documents supporting the respondent's
               position, organized and indexed as indicated under paragraph (a) of this section. The respondent should
               avoid submitting duplicates of documents submitted by the appellant.

          (2) A written statement (respondent's brief) responding to the appellant's brief.
     (c) The appellant's reply. Within 15 days after receiving the respondent's submission, the appellant may submit a
          short reply. The appellant should avoid repeating arguments already made.

    (d) Cooperative efforts. Whenever possible, the parties should try to develop a joint appeal file, agree to
          preparation of the file by one of them, agree to facts to eliminate the need for some documents, or agree that
          one party will submit documents identified by the other.

     (e) Voluminous documentation. Where submission of all relevant documents would lead to a voluminous appeal
          file (for example where review of a disputed audit finding of inadequate documentation might involve
          thousands of receipts), the Board will consult with the parties about how to reduce the size of the file.


§ 16.9 How the Board will promote development of the record.
The Board may, at the time it acknowledges an appeal or at any appropriate later point, request additional documents or
information; request briefing on issues in the case; issue orders to show cause why a proposed finding or decision of the
Board should not become final; hold preliminary conferences (generally by telephone) to establish schedules and refine
issues; and take such other steps as the Board determines appropriate to develop a prompt, sound decision.


§ 16.10 Using a conference.
     (a) Once the Board has reviewed the appeal file, the Board may, on its own or in response to a party's request,
          schedule an informal conference. The conference will be conducted by the presiding Board member. The
          purposes of the conference are to give the parties an opportunity to make an oral presentation and the Board
          an opportunity to clarify issues and question both parties about matters which the Board may not yet fully
          understand from the record.

    (b) If the Board has decided to hold a conference, the Board will consult or correspond with the parties to schedule
          the conference, identify issues, and discuss procedures. The Board will identify the persons who will be
          allowed to participate, along with the parties' representatives, in the conference. The parties can submit with
          their briefs under § 16.8 a list of persons who might participate with them, indicating how each person is
          involved in the matter. If the parties wish, they may also suggest questions or areas of inquiry which the Board
          may wish to pursue with each participant.

     (c) Unless the parties and the Board otherwise agree, the following procedures apply:

          (1) Conferences will be recorded at Department expense. On request, a party will be sent one copy of the
               transcript. The presiding Board member will insure an orderly transcript by controlling the sequence and
               identification of speakers.

          (2) Only in exceptional circumstances will documents be received at a conference. Inquiry will focus on
               material in the appeal file. If a party finds that further documents should be in the record for the
               conference, the party should supplement the appeal file, submitting a supplementary index and copies of
               the documents to the Board and the other party not less than ten days prior to the conference.

          (3) Each party's representative may make an oral presentation. Generally, the only oral communications of
               other participants will consist of statements requested by the Board or responses to the Board's
               questions. The Board will allow reply comment, and may allow short closing statements. On request, the
               Board may allow the participants to question each other.

          (4) There will be no post-conference submissions, unless the Board determines they would be helpful to
               resolve the case. The Board may require or allow the parties to submit proposed findings and
               conclusions.
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§ 16.11 Hearing.
    (a) Electing a hearing. If the appellant believes a hearing is appropriate, the appellant should specifically request
         one at the earliest possible time (in the notice of appeal or with the appeal file). The Board will approve a
         request (and may schedule a hearing on its own or in response to a later request) if it finds there are complex
         issues or material facts in dispute the resolution of which would be significantly aided by a hearing, or if the
         Board determines that its decisionmaking otherwise would be enhanced by oral presentations and arguments
         in an adversary, evidentiary hearing. The Board will also provide a hearing if otherwise required by law or
         regulation.

    (b) Preliminary conference before the hearing. The Board generally will hold a prehearing conference (which may
         be conducted by telephone conference call) to consider any of the following: the possibility of settlement;
         simplifying and clarifying issues; stipulations and admissions; limitations on evidence and witnesses that will
         be presented at the hearing; scheduling the hearing; and any other matter that may aid in resolving the appeal.
         Normally, this conference will be conducted informally and off the record; however, the Board, after consulting
         with the parties, may reduce results of the conference to writing in a document which will be made part of the
         record, or may transcribe proceedings and make the transcript part of the record.

    (c) Where hearings are held. Hearings generally are held in Washington, DC. In exceptional circumstances, the
         Board may hold the hearing at an HHS Regional Office or other convenient facility near the appellant.

    (d) Conduct of the hearing.

         (1) The presiding Board member will conduct the hearing. Hearings will be as informal as reasonably
              possible, keeping in mind the need to establish an orderly record. The presiding Board member generally
              will admit evidence unless it is determined to be clearly irrelevant, immaterial or unduly repetitious, so the
              parties should avoid frequent objections to questions and documents. Both sides may make opening and
              closing statements, may present witnesses as agreed upon in the prehearing conference, and may cross-
              examine. Since the parties have ample opportunity to develop a complete appeal file, a party may
              introduce an exhibit at the hearing only after explaining to the satisfaction of the presiding Board member
              why the exhibit was not submitted earlier (for example, because the information was not available).

         (2) The Board may request the parties to submit written statements of witnesses to the Board and each other
              prior to the hearing so that the hearing will primarily be concerned with cross-examination and rebuttal.

         (3) False statements of a witness may be the basis for criminal prosecution under sections 287 and 1001 of
              Title 18 of the United States Code.

         (4) The hearing will be recorded at Department expense.

    (e) Procedures after the hearing. The Board will send one copy of the transcript to each party as soon as it is
         received by the Board. At the discretion of the Board, the parties may be required or allowed to submit post-
         hearing briefs or proposed findings and conclusions (the parties will be informed at the hearing). A party
         should note any major prejudicial transcript errors in an addendum to its post-hearing brief (or if no brief will
         be submitted, in a letter submitted within a time limit set by the Board).


§ 16.12 The expedited process.
    (a) Applicability. Where the amount in dispute is $25,000 or less, the Board will use these expedited procedures,
         unless the Board Chair determines otherwise under paragraph (b) of this section. If the Board and the parties
         agree, the Board may use these procedures in cases of more than $25,000.

    (b) Exceptions. If there are unique or unusually complex issues involved, or other exceptional circumstances, the
         Board may use additional procedures.

    (c) Regular expedited procedures.

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          (1) Within 30 days after receiving the Board's acknowledgment of the appeal (see § 16.7), each party shall
               submit to the Board and the other party any relevant background documents (organized as required
               under § 16.8), with a cover letter (generally not to exceed ten pages) containing any arguments the party
               wishes to make.

          (2) Promptly after receiving the parties' submissions, the presiding Board member will arrange a telephone
               conference call to receive the parties' oral comments in response to each other's submissions. After
               notice to the parties, the Board will record the call. The Board member will advise the parties whether any
               opportunities for further briefing, submissions or oral presentations will be established. Cooperative
               efforts will be encouraged (see § 16.8(d)).

          (3) The Board may require the parties to submit proposed findings and conclusions.
    (d) Special expedited procedures where there has already been review. Some HHS components (for example, the
          Public Health Service) use a board or other relatively independent reviewing authority to conduct a formal
          preliminary review process which results in a written decision based on a record including documents or
          statements presented after reasonable notice and opportunity to present such material. In such cases, the
          following rules apply to appeals of $25,000 or less instead of those under paragraph (c) of this section:

          (1) Generally, the Board's review will be restricted to whether the decision of the preliminary review authority
               was clearly erroneous. But if the Board determines that the record is inadequate, or that the procedures
               under which the record was developed in a given instance were unfair, the Board will not be restricted this
               way.

          (2) Within 30 days after receiving the Board's acknowledgment of appeal (see § 16.7), the parties shall
               submit the following:

               (i)   The appellant shall submit to the Board and the respondent a statement why the decision was
                     clearly erroneous. Unless allowed by the Board after consultation with the respondent, the appellant
                     shall not submit further documents.

               (ii) The respondent shall submit to the Board the record in the case. If the respondent has reason to
                     believe that all materials in the record already are in the possession of the appellant, the respondent
                     need only send the appellant a list of the materials submitted to the Board.

               (iii) The respondent may, if it wishes, submit a statement why the decision was not clearly erroneous.

          (3) The Board, in its discretion, may allow or require the parties to present further arguments or information.


§ 16.13 Powers and responsibilities.
In addition to powers specified elsewhere in these procedures, Board members have the power to issue orders (including
“show cause” orders); to examine witnesses; to take all steps necessary for the conduct of an orderly hearing; to rule on
requests and motions, including motions to dismiss; to grant extensions of time for good reasons; to dismiss for failure
to meet deadlines and other requirements; to close or suspend cases which are not ready for review; to order or assist
the parties to submit relevant information; to remand a case for further action by the respondent; to waive or modify
these procedures in a specific case with notice to the parties; to reconsider a Board decision where a party promptly
alleges a clear error of fact or law; and to take any other action necessary to resolve disputes in accordance with the
objectives of these procedures.


§ 16.14 How Board review is limited.
The Board shall be bound by all applicable laws and regulations.


§ 16.15 Failure to meet deadlines and other requirements.

      Case 3:23-cv-00384-TRM-JEM                      TN AR 89
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     (a) Since one of the objectives of administrative dispute resolution is to provide a decision as fast as possible
          consistent with fairness, the Board will not allow parties to delay the process unduly. The Board may grant
          extensions of time, but only if the party gives a good reason for the delay.

     (b) If the appellant fails to meet any filing or procedural deadlines, appeal file or brief submission requirements, or
          other requirements established by the Board, the Board may dismiss the appeal, may issue an order requiring
          the party to show cause why the appeal should not be dismissed, or may take other action the Board
          considers appropriate.

     (c) If the respondent fails to meet any such requirements, the Board may issue a decision based on the record
          submitted to that point or take such other measures as the Board considers appropriate.


§ 16.16 Parties to the appeal.
     (a) The only parties to the appeal are the appellant and the respondent. If the Board determines that a third person
          is a real party in interest (for example, where the major impact of an audit disallowance would be on the
          grantee's contractor, not on the grantee), the Board may allow the third person to present the case on appeal
          for the appellant or to appear with a party in the case, after consultation with the parties and if the appellant
          does not object.

     (b) The Board may also allow other participation, in the manner and by the deadlines established by the Board,
          where the Board decides that the intervenor has a clearly identifiable and substantial interest in the outcome
          of the dispute, that participation would sharpen issues or otherwise be helpful in resolution of the dispute, and
          that participation would not result in substantial delay.


§ 16.17 Ex parte communications (communications outside the record).
     (a) A party shall not communicate with a Board or staff member about matters involved in an appeal without
          notice to the other party. If such communication occurs, the Board will disclose it to the other party and make
          it part of the record after the other party has an opportunity to comment. Board members and staff shall not
          consider any information outside the record (see § 16.21 for what the record consists of) about matters
          involved in an appeal.

     (b) The above does not apply to the following: Communications among Board members and staff;
          communications concerning the Board's administrative functions or procedures; requests from the Board to a
          party for a document (although the material submitted in response also must be given to the other party); and
          material which the Board includes in the record after notice and an opportunity to comment.


§ 16.18 Mediation.
     (a) In cases pending before the Board. If the Board decides that mediation would be useful to resolve a dispute,
          the Board, in consultation with the parties, may suggest use of mediation techniques and will provide or assist
          in selecting a mediator. The mediator may take any steps agreed upon by the parties to resolve the dispute or
          clarify issues. The results of mediation are not binding on the parties unless the parties so agree in writing.
          The Board will internally insulate the mediator from any Board or staff members assigned to handle the
          appeal.

     (b) In other cases. In any other grants dispute, the Board may, within the limitations of its resources, offer persons
          trained in mediation skills to aid in resolving the dispute. Mediation services will only be offered at the request,
          or with the concurrence, of a responsible federal program official in the program under which the dispute
          arises. The Board will insulate the mediator if any appeal subsequently arises from the dispute.


§ 16.19 How to calculate deadlines.
In counting days, include Saturdays, Sundays, and holidays; but if a due date would fall on a Saturday, Sunday or Federal
holiday, then the due date is the next Federal working day.
     Case 3:23-cv-00384-TRM-JEM                        TN AR 90
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§ 16.20 How to submit material to the Board.
    (a) Submissions should be addressed to the Board's current mailing address: Department of Health and Human
         Services, Departmental Appeals Board, Appellate Division—MS 6127, 330 Independence Ave. SW., Cohen
         Building—Rm. G–644, Washington, DC 20201; however, submissions to the Board in certain types of cases
         may be made by electronic filing using DAB E-File at https://dab.efile.hhs.gov. Changes to the mailing address
         will be made available on the Board's Web site at www.hhs.gov/dab/divisions/appellate.

    (b) All submissions after the notice of appeal should identify the Board's docket number (the Board's
         acknowledgement under § 16.7 will specify the docket number).

    (c) Unless the Board otherwise specifies, parties shall submit to the Board an original and two copies of all
         materials. Each submission other than the notice of appeal, must include a statement that one copy of the
         materials has been sent to the other party, identifying when and to whom the copy was sent.

    (d) Unless hand delivered, all materials should be sent to the Board and the other party by certified or registered
         mail, return receipt requested.

    (e) The Board considers material to be submitted on the date when it is postmarked or hand delivered to the
         Board.

[46 FR 43817, Aug. 31, 1981, as amended at 81 FR 3012, Jan. 20, 2016]


§ 16.21 Record and decisions.
    (a) Each decision is issued by three Board members (see § 16.5(b)), who base their decision on a record
         consisting of the appeal file; other submissions of the parties; transcripts or other records of any meetings,
         conferences or hearings conducted by the Board; written statements resulting from conferences; evidence
         submitted at hearings; and orders and other documents issued by the Board. In addition, the Board may
         include other materials (such as evidence submitted in another appeal) after the parties are given notice and
         an opportunity to comment.

    (b) The Board will promptly notify the parties in writing of any disposition of a case and the basis for the
         disposition.


§ 16.22 The effect of an appeal.
    (a) General. Until the Board disposes of an appeal, the respondent shall take no action to implement the final
         decision appealed.

    (b) Exceptions. The respondent may—

          (1) Suspend funding (see § 75.371 of this title);

          (2) Defer or disallow other claims questioned for reasons also disputed in the pending appeal;

          (3) In programs listed in appendix A, B.(a)(1), implement a decision to disallow Federal financial participation
               claimed in expenditures reported on a statement of expenditures, by recovering, withholding or offsetting
               payments, if the decision is issued before the reported expenditures are included in the calculation of a
               subsequent grant; or

          (4) Take other action to recover, withhold, or offset funds if specifically authorized by statute or regulation.

[46 FR 43817, Aug. 31, 1981, as amended at 81 FR 3012, Jan. 20, 2016]


§ 16.23 How long an appeal takes.
     Case 3:23-cv-00384-TRM-JEM                       TN AR 91
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The Board has established general goals for its consideration of cases, as follows (measured from the point when the
Board receives the first submission after the notice of appeal):

     —For regular review based on a written record under § 16.8, 6 months. When a conference under § 16.10 is
         held, the goal remains at 6 months, unless a requirement for post-conference briefing in a particular case
         renders the goal unrealistic.
     —For cases involving a hearing under § 16.11, 9 months.
     —For the expedited process under § 16.12, 3 months.

These are goals, not rigid requirements. The paramount concern of the Board is to take the time needed to review a
record fairly and adequately in order to produce a sound decision. Furthermore, many factors are beyond the Board's
direct control, such as unforeseen delays due to the parties' negotiations or requests for extensions, how many cases
are filed, and Board resources. On the other hand, the parties may agree to steps which may shorten review by the Board;
for example, by waiving the right to submit a brief, by agreeing to shorten submission schedules, or by electing the
expedited process.

Appendix A to Part 16—What Disputes the Board Reviews
A. What this appendix covers.

This appendix describes programs which use the Board for dispute resolution, the types of disputes covered, and any
conditions for Board review of final written decisions resulting from those disputes. Disputes under programs not
specified in this appendix may be covered in a program regulation or in a memorandum of understanding between the
Board and the head of the appropriate HHS operating component or other agency responsible for administering the
program. If in doubt, call the Board. Even though a dispute may be covered here, the Board still may not be able to review
it if the limits in paragraph F apply.

B. Mandatory grant programs.

           (a) The Board reviews the following types of final written decisions in disputes arising in HHS programs
                authorizing the award of mandatory grants:

                (1) Disallowances under Titles I, IV, VI, X, XIV, XVI(AABD), XIX, and XX of the Social Security Act,
                     including penalty disallowances such as those under sections 403(g) and 1903(g) of the Act and
                     fiscal disallowances based on quality control samples.

                (2) Disallowances in mandatory grant programs administered by the Public Health Service, including
                     Title V of the Social Security Act.

                (3) Disallowances in the programs under sections 113 and 132 of the Developmental Disabilities Act.

                (4) Disallowances under Title III of the Older American Act.

                (5) Decisions relating to repayment and withholding under block grant programs as provided in 45 CFR
                     96.52.

                (6) Decisions relating to repayment and withholding under State Legalization Impact Assistance Grants
                     as provided in 45 CFR 402.24 and 402.25.

           (b) In some of these disputes, there is an option for review by the head of the granting agency prior to appeal
                to the Board. Where an appellant has requested review by the agency head first, the “final written
                decision” required by § 16.3 for purposes of Board review will generally be the agency head's decision
                affirming the disallowance. If the agency head declines to review the disallowance or if the appellant
                withdraws its request for review by the agency head, the original disallowance decision is the “final
                written decision.” In the latter cases, the 30-day period for submitting a notice of appeal begins with the
                date of receipt of the notice declining review or with the date of the withdrawal letter.

C. Direct, discretionary project programs.
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           (a) The Board reviews the following types of final written decisions in disputes arising in any HHS program
                authorizing the award of direct, discretionary project grants or cooperative agreements:

                (1) A disallowance or other determination denying payment of an amount claimed under an award, or
                     requiring return or set-off of funds already received. This does not apply to determinations of award
                     amount or disposition of unobligated balances, or selection in the award document of an option for
                     disposition of program-related income.

                (2) A termination for failure to comply with the terms of an award.

                (3) A denial of a noncompeting continuation award under the project period system of funding where
                     the denial is for failure to comply with the terms of a previous award.

                (4) A voiding (a decision that an award is invalid because it was not authorized by statute or regulation
                     or because it was fraudulently obtained).

           (b) Where an HHS component uses a preliminary appeal process (for example, the Public Health Service), the
                 “final written decision” for purposes of Board review is the decision issued as a result of that process.
D. Cost allocation and rate disputes.

           The Board reviews final written decisions in disputes which may affect a number of HHS programs because
           they involve cost allocation plans or rate determinations. These include decisions related to cost allocation
           plans negotiated with State or local governments and negotiated rates such as indirect cost rates, fringe
           benefit rates, computer rates, research patient care rates, and other special rates.

E. SSI agreement disputes.

           The Board reviews disputes in the Supplemental Security Income (SSI) program arising under agreements for
           Federal administration of State supplementary payments under section 1616 of the Social Security Act or
           mandatory minimum supplements under section 212 of Pub. L. 93–66. In these cases, the Board provides an
           opportunity to be heard and offer evidence at the Secretarial level of review as set out in the applicable
           agreements. Thus, the “final written decision” for purposes of Board review is that determination appealable to
           the Secretary under the agreement.

F. Where Board review is not available.

           The Board will not review a decision if a hearing under 5 U.S.C. 554 is required by statute, if the basis of the
           decision is a violation of applicable civil rights or nondiscrimination laws or regulations (for example, Title VI of
           the Civil Rights Act), or if some other hearing process is established pursuant to statute.

G. How the Board determines whether it will review a case.

Under § 16.7, the Board Chair determines whether an appeal meets the requirements of this appendix. If the Chair finds
that there is some question about this, the Board will request the written opinion of the HHS component which issued
the decision. Unless the Chair determines that the opinion is clearly erroneous, the Board will be bound by the opinion. If
the HHS component does not respond within a time set by the Chair, or cannot determine whether the Board clearly does
or does not have jurisdiction, the Board will take the appeal.

[46 FR 43817, Aug. 31, 1981, as amended at 47 FR 29492, July 6, 1982; 53 FR 7864, Mar. 10, 1988; 62 FR 38218, July 17,
1997]




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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

    STATE OF OHIO, et al.,                       :       Case No. 1:21-cv-675
        Plaintiffs,                              :
                                                 :       Judge Timothy S. Black
    vs.                                          :
                                                 :
    XAVIER BECERRA, et al.,                      :
        Defendants.                              :


                        ORDER DENYING PLAINTIFFS’ MOTION
                          FOR A PRELIMINARY INJUNCTION

           This civil case is before the Court on Plaintiffs’ Motion for Preliminary Injunction

(Doc. 2), Defendants’ memorandum in opposition (Doc. 27), and Plaintiffs’ reply (Doc.

46).1 Plaintiffs seek an order preliminarily enjoining the Department of Health and

Human Services (“the Department,” or “HHS”) from implementing or enforcing the final

rule, Ensuring Access to Equitable, Affordable, Client-Centered, Quality Family

Planning Services, 86 Fed. Reg. 56144-01 (Oct. 7, 2021) (to be codified at 42 C.F.R. pt.

59) (“the Final Rule”). The Final Rule effectively re-adopts HHS’s 2000 Rule by

eliminating strict physical and financial separation between Title X services and abortion

services and by requiring nondirective pregnancy counseling and referrals for abortion

services when requested. Because the Court finds Plaintiffs unlikely to succeed


1
  The Court has also received and considered, with appreciation, four briefs of amicus curiae:
one from Montana, Georgia, Idaho, Indiana, Louisiana, Mississippi, South Dakota, and Texas
supporting Plaintiffs, (Doc. 22); one from California, New York, Colorado Connecticut,
Delaware, Hawai’i, Illinois, Maine, Maryland, Massachusetts, Michigan, Minnesota, Nevada,
New Jersey, New Mexico, North Carolina, Oregon, Pennsylvania, Rhode Island, Vermont,
Virginia, Washington, Wisconsin, and the District of Columbia supporting HHS, (Doc. 28); one
from Planned Parenthood Federation of America, Inc. supporting HHS, (Doc. 31); and one from
National Family Planning & Reproductive Health Association (Doc. 33).

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on the merits of their APA claim, that the Plaintiff states will not be irreparably harmed

when the Final Rule becomes effective, and that enjoining the Final Rule would

perpetuate well-documented harm to the public, the Court DENIES injunctive relief to

Plaintiffs.

                                I.     BACKGROUND
       This case is a straightforward application of administrative law to Title X of the

Family Planning Services & Population Research Act of 1970, Pub. L. No. 91-572, 84

Stat. 1504 (1970), codified at 42 U.S.C. §§ 300 et seq. (“Title X” or “the Act”). In 1970,

Congress enacted Title X to provide federal funding for family planning services. The

statute authorizes the Secretary of the Department of Health and Human Services to

promulgate regulations for the distribution of Title X grants. Id. at § 300. Title X

expressly requires that “priority will be given” to projects that provide family planning

services to “persons from low-income families,” id. at § 300a-4, and that funded projects

must “offer a broad range of acceptable and effective family planning methods and

services,” Id. In Section 1008 of Title X, however, Congress qualified that “[n]one of the

funds appropriated under this subchapter shall be used in programs where abortion is a

method of family planning.” Id. at § 300a-6 (emphasis supplied). This language is at the

heart of this dispute.

       For roughly the first 18 years of Title X’s history, participating providers could

offer non-directive pregnancy counseling including referrals for abortion at the patient’s




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request.2 The regulations implementing Title X merely required grant applicants to

provide “[a]ssurances that … [t]he project w[ould] not provide abortions as a method of

family planning.” Project Grants for Family Planning Services, 36 Fed. Reg. 18,465,

18,466 (Sept. 15, 1971).

       Then, in 1988, HHS issued regulations that barred providers from referring

patients for abortion services or offering them any abortion-related information, and

required providers to refer patients to prenatal care regardless of their patients’ wishes.

Statutory Prohibition on Use of Appropriated Funds in Programs Where Abortion is a

Method of Family Planning; Standard of Compliance for Family Planning Services

Projects, 53 Fed. Reg. 2,922, 2,927 (Feb. 2, 1988). The 1988 Rule further required

physical and financial separation between Title X-funded services and any abortion-

related services. Id. The 1988 Rule did not, however, purport to extend its restrictions

beyond the “Title X-funded ‘program’ or ‘project.’” Id. at 2927. HHS found “read[ing]

the term ‘program’ in section 1008 as relating to the funded organization as a whole” was

“not supportable.” Id. The 1988 Rule was immediately challenged in court and was

therefore never fully effective nationwide. See Standards of Compliance for Abortion-

Related Services in Family Planning Services Projects, 65 Fed. Reg 41,270, 41,271



2
  See Mem. from Carol C. Conrad, Off. of the Gen. Couns., Dep’t of Health, Educ. & Welfare, to
Elsie Sullivan, Assistant for Info. & Educ., Off. of Family Planning, BCHS (Apr. 14, 1978)
(“[T]he provision of information concerning abortion services, mere referral of an individual to
another provider of services for an abortion, and the collection of statistical data and information
regarding abortion are not considered to be proscribed by § 1008.”) (cited by Family Planning
Ass’n of Me. v. HHS, 404 F. Supp. 3d 286, 292 n.7 (D. Me. 2019)); Standards of Compliance for
Abortion-Related Services in Family Planning Service Projects, 58 Fed. Reg. 7464, 7464 (Feb. 5,
1993).




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(July 3, 2000).

       In 1991, the Supreme Court upheld the 1988 Rule. Rust v. Sullivan, 500 U.S. 173

(1991). Petitioners in Rust argued that Congress did not intend strict financial and

physical separation, nor did Congress intend to ban referrals for abortion-related services

where patients requested one. Id. at 184, 189. In rejecting petitioners’ arguments, the

Court held that Section 1008’s legislative history was “ambiguous,” and thus permitted

multiple interpretations. The Supreme Court observed that petitioners’ interpretation

“may [have] be[en] a permissible one,” but it was “by no means the only one” and “not

the one found by the Secretary.” Id. at 189. Thus, the Court accorded the interpretation

on which the 1988 Rule was based “substantial deference.” Rust, 500 U.S. at 184.

       Where they were in effect, the 1988 Rules did not last long. In February 1993,

President William Clinton directed HHS to rescind the 1988 Rules and return to the

“compliance standards that were in effect prior to the issuance of the [1988 Rules].” The

Title X “Gag Rule,” 58 Fed. Reg. 7,455 (Jan. 22, 1993); Standards of Compliance for

Abortion-Related Services in Family Planning Service Projects, 58 Fed. Reg. 7,462 (Feb.

5, 1993) (interim rule). HHS simultaneously issued a notice of proposed rulemaking.

Standards of Compliance for Abortion-Related Services in Family Planning Service

Projects, 58 Fed. Reg. 7,464 (notice of proposed rule).

       Starting in 1996, Congress added a rider to its annual HHS appropriations act that

stated: “[A]mounts provided to [Title X] projects ... shall not be expended for abortions,

[and] all pregnancy counseling shall be nondirective.” Omnibus Consolidated Rescissions

and Appropriations Act of 1996, Pub. L. No. 104–134, 110 Stat. 1321, 1321-221 (Apr.




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26, 1996). An identical rider has appeared in every annual HHS appropriations bill since

1996. See, e.g., Consolidated Appropriations Act, 2021, Pub. L. No. 116-260, 134 Stat

1182 (Dec. 27, 2020).

       After considering the interim rule for nearly seven years, HHS released the final

version in July 2000. Standards of Compliance for Abortion-Related Services in Family

Planning Services Projects, 65 Fed. Reg. 41,270, 41,271 (July 3, 2000). The 2000 Rule

mostly “readopt[ed] the regulations … that applied to [Title X] prior to February 2,

1988.” Id. It permitted referrals for abortion services at the patient’s request. Id. at

41,274. It also rejected the strict financial and physical separation requirements from the

1988 Rule. Id. at 41,275-76. HHS concluded that those requirements were

“unenforceable” and inconsistent “with the efficient and cost-effective delivery of family

planning services.” Id. at 41,275-76. Simultaneously, HHS published notice of its

interpretations of Section 1008’s requirements. Provision of Abortion-Related Services

in Family Planning Services Projects, 65 Fed. Reg. 41,281 (Jul. 3, 2000). The notice

clarified that Section 1008’s prohibition on “funds … used in a program where abortion

is a method of family planning” “does not apply to all the activities of a Title X grantee,

but only to those within the Title X project.” Id. at 41,281. HHS defined “Title X

project” as the “set of activities the grantee agreed to perform … as a condition of

receiving Title X funds.” Id. The notice warned that “[m]ere technical allocation of

funds, attributing federal dollars to non-abortion activities,” does not comply with

Section 1008. By way of illustration, HHS elaborated that:




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               Certain kinds of shared facilities are permissible, so long as it
               is possible to distinguish between the Title X supported
               activities and non-Title X abortion-related activities: (a) A
               common waiting room is permissible, as long as the costs [are]
               properly pro-rated; (b) common staff is permissible, so long as
               salaries are properly allocated and all abortion related activities
               of the staff members are performed in a program which is
               entirely separate from the Title X project. (c) a hospital
               offering abortions for family planning purposes and also
               housing a Title X project is permissible, as long as the abortion
               activities are sufficiently separate from the Title X project; and
               (d) maintenance of a single file system for abortion and family
               planning patients is permissible, so long as costs are properly
               allocated.

Id. at 41,282. The 2000 Rule remained in effect, unchallenged, for more than 18

years.

         Then, in 2019, under the Trump administration, HHS promulgated a new final rule

reinterpreting Section 1008. Compliance with Statutory Program Integrity Requirements,

85 Fed. Reg. 7,714, 7,722-77 (Mar. 4, 2019). The 2019 Rule reinstated the 1988 Rule’s

requirements for strict physical and financial separation citing the “fungibility of Title X

resources.” Id. It eliminated the requirement for nondirective pregnancy counseling (i.e.,

counselling that is not designed to direct a patient towards either prenatal care or

termination) citing federal conscience laws. Id. at 7,716. And it prohibited referrals for

abortion because, in the Department’s view, “referral necessarily treats abortion as a

method of family planning.” Id. at 7,717. HHS predicted that these changes would

“contribute to more clients being served,” and that “new applicants w[ould] apply to

serve unserved or underserved patients and/or less concentrated population areas,” and

further that “new providers who previously were unable to participate in Title X projects




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due to conscience concerns with the 2000 regulations w[ould] be free to apply for a Title

X grant or to participate in a Title X project.” Id. at 7,723.

       This prediction proved wishful. Shortly after the 2019 Rule took effect, the

number of Title X grantees cratered. According to HHS:

              After the implementation of the 2019 Title X Final Rule, 19
              Title X grantees out of 90 total grantees, 231 subrecipients, and
              945 service sites immediately withdrew from the Title X
              program. Overall, the Title X program lost more than 1,000
              service sites. Those service sites represented approximately
              one quarter of all Title X-funded sites in 2019. Title X services
              are not currently available at all in six states (HI, ME, OR, UT,
              VT, and WA) and are only available on a very limited basis in
              six additional states (AK, CT, MA, MN, NH, and NY).
              California, the single-largest Title X project in the nation
              (before the 2019 Final Rule) had 128, or 36 percent, of its Title
              X service sites withdraw from the program, leaving more than
              700,000 patients without access to Title X-funded care.
              Similarly, in New York, the number of Title X-funded service
              sites dropped from 174 to just two, leaving more than 328,000
              patients without Title X-funded care. All Planned Parenthood
              affiliates—which in 2015 had served 41 percent of all clients
              at Title X service sites—withdrew from Title X due to the 2019
              Final Rule.

Ensuring Access to Equitable, Affordable, Client-Centered, Quality Family Planning

Services, 86 Fed. Reg. 19,812, 19,815 (April 15, 2021). The Office of Population Affairs

(“OPA”), the office which administers Title X within HHS, estimates that the 2019 Rule

caused 1.5 million fewer patients to participate in Title X-funded services between

2019 and 2020. Christina Fowler et al., Title X Family Planning Annual Report: 2020

National Summary, OPA, 25 (Sept. 2021), https://opa.hhs.gov/sites/default/files/2021-

09/title-x-fpar-2020-national-summary-sep-2021.pdf.




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         The Department’s efforts to reverse this trend were unavailing. When the

withdrawn Title X grantees relinquished their funding, HHS distributed $33.6 million

dollars of relinquished funds to 50 Title X grantees. Press Release, HHS, HHS Issues

Supplemental Grant Awards to Title X Recipients (Sept. 30, 2019), https://opa.hhs.gov/

about/news/grant-award-announcements/hhs-issues-supplemental-grant-awards-title-x-

recipients. The Department “expect[ed] the supplemental awards w[ould] enable

grantees to come close to—if not exceed—prior Title X patient coverage.” Id. But by

the end of 2019, OPA estimated that Title X had served 21% fewer patients (844,083

users) than in 2018.

         Dozens of states challenged the rule.3 District Courts for the District of

Maryland,4 the Eastern District of Washington,5 the District of Oregon,6 and the Northern

District of California7 granted preliminary injunctions. Sitting en banc, the Court of

Appeals for the Ninth Circuit, vacated three of the preliminary injunctions. See

California by & through Becerra v. Azar, 950 F.3d 1067 (9th Cir. 2020). The Court of

Appeals for the Fourth Circuit, also en banc, disagreed with the Ninth Circuit. Mayor of

Baltimore v. Azar, 973 F.3d 258 (4th Cir. 2020). Noting “the Ninth Circuit did not have



3
 Washington, Oregon, New York, Colorado, Connecticut, Delaware, District of Columbia,
Hawai’i, Illinois, Maryland, Massachusetts, Michigan, Minnesota, Nevada, New Jersey, New
Mexico, North Carolina, Pennsylvania, Rhode Island, Vermont, and Virginia.
4
    Mayor & City Council of Baltimore v. Azar, 392 F. Supp. 3d 602 (D. Md. 2019).
5
    Washington v. Azar, 376 F. Supp. 3d 1119 (E.D. Wash. 2019).
6
    Oregon v. Azar, 389 F. Supp. 3d 898 (D. Or. 2019).
7
    State v. Azar, 385 F. Supp. 3d 960 (N.D. Cal. 2019).




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the full administrative record before it,” the Fourth Circuit affirmed the Maryland court’s

ruling that the 2019 Rule was arbitrary and capricious, and upheld the lower court’s

permanent injunction of the 2019 Rule in the state of Maryland. Mayor of Baltimore, 392

F. Supp. 3d at 280, 295.

       On February 22, 2021, the Supreme Court granted certiorari and consolidated the

appeals from the Ninth and Fourth Circuits. Oregon v. Cochran, 141 S. Ct. 1369 (2021).

But on March 12, 2021, the parties voluntarily dismissed the cases. See Am. Med. Assn.

v. Becerra, 141 S. Ct. 2170 (2021).

       On October 7, 2021, HHS published a new final rule interpreting Section 1008,

(“the Final Rule”). Ensuring Access to Equitable, Affordable, Client-Centered, Quality

Family Planning Services, 86 FR 56,144-01 (Oct. 7, 2021). The Final Rule effectively

re-adopts the 2000 Rule by eliminating strict physical and financial separation

between Title X services and abortion services and by requiring nondirective

pregnancy counseling and referrals for abortion services when requested. Id. at

56,144. In response, some former Title X grantees have already mobilized to return to

the program, either as sub-grantees8 or by submitting applications to return to return as

primary grantees.9


8
 See, e.g., Bacharier, Planned Parenthood’s Springfield, Joplin Clinics to Rejoin Federal Grant
Program after Trump Rule Reversed, Springfield News-Leader (Oct. 22, 2021),
https://www.newsleader.com/story/news/politics/2021/10/22/springfield-joplin-mo-planned-
parenthood-rejoins-federal-program-titlex-after-trump-rule-reversed/6119400001/
9
 See Doc. 31-1 at 19; HHS, Funding to Address Dire Need for Family Planning Services (Nov.
10, 2021), https://www.grants.gov/web/grants/view-opportunity.html?oppId=335742); Dep’t
Health & Human Servs., Title X Family Planning Services Grants (Oct. 27, 2021),
https://www.grants.gov/web/grants/view-opportunity.html?oppId=334698.




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         Plaintiffs, 12 states represented by their attorneys general, now seek to

preliminarily enjoin the Final Rule under the Administrative Procedure Act (“the APA”).

They argue that the Final Rule is “arbitrary and capricious” and/or “otherwise not in

accordance with law.” 5 U.S.C. § 706(2). They are wrong on both counts. And because

the available record establishes that Plaintiffs are unlikely to succeed on their APA

claims,10 Plaintiffs’ motion for a preliminary injunction is DENIED.

                            II.     STANDARD OF REVIEW
         Federal Rule of Civil Procedure 65 empowers district courts to issue preliminary

injunctions “to preserve the status quo so that a reasoned resolution of a dispute may be

had.” Procter & Gamble Co. v. Bankers Trust Co., 78 F.3d 219, 227 (6th Cir. 1996).

Courts consider four factors: “(1) whether the movant has a strong likelihood of success

on the merits; (2) whether the movant would suffer irreparable injury without the

injunction; (3) whether issuance of the injunction would cause substantial harm to others;

and (4) whether the public interest would be served by issuance of the injunction.” City

of Pontiac Retired Emps. Ass’n v. Schimmel, 751 F.3d 427, 430 (6th Cir. 2014) (per

curiam) (en banc). Where the federal government is the defendant, the third and fourth

factors merge. Nken v. Holder, 556 U.S. 418, 435 (2009). In the Sixth Circuit, “[t]hese

factors are not prerequisites that must be met, but are interrelated considerations that must

be balanced together.” Commonwealth v. Beshear, 981 F.3d 505, 508 (6th Cir. 2020).



10
  The parties in this lawsuit have stipulated that the Court may adjudicate Plaintiffs’ motion for
a preliminary injunction without submission of Defendants’ certified administrative record.
(Doc. 20). See California v. Azar, 950 F.3d 1067, 1083 & n.11 (9th Cir. 2020) (en banc) (explaining
that courts may rule on preliminary injunction motions before administrative record is completed
where doing so is not unfair to either party).



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That said, “the existence of an irreparable injury is mandatory,” such that “even the

strongest showing on the other three factors cannot eliminate the irreparable harm

requirement.” D.T. v. Sumner Cnty. Schs., 942 F.3d 324, 326-27 (6th Cir. 2019).

       A preliminary injunction is an “extraordinary remedy involving the exercise of a

very far-reaching power, which is to be applied only in the limited circumstances which

clearly demand it.” Leary v. Daeschner, 228 F.3d 729, 739 (6th Cir. 2000).

Accordingly, a party seeking an “injunction must establish its case by clear and

convincing evidence.” Honeywell, Inc. v. Brewer–Garrett Co., 145 F.3d 1331 (6th Cir.

1998) (emphasis supplied).

                                   III.   ANALYSIS
       1.      Plaintiffs are not likely to win their challenges under the APA

       On the merits, Plaintiffs argue that the Court should block the Final Rule under the

Administrative Procedure Act (the “APA”). The APA requires that courts “hold

unlawful and set aside agency action[s]” that are “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.” 5 U.S.C. §706(2)(A). Plaintiffs

assert the Final Rule is (1) “not in accordance” with Section 1008 and (2) “arbitrary and

capricious.”

                  a. The Final Rule is entitled to Chevron deference

       Plaintiffs assert that the Final Rule contravenes Section 1008 of Title X by

eliminating strict financial and physical separation requirements, and requiring referrals

for abortion services where requested. To review, Section 1008 states, in its entirety:




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              None of the funds appropriated under this subchapter shall be
              used in programs where abortion is a method of family
              planning.

42 U.S.C. § 300a-6.

       In determining whether to uphold an agency’s regulation implementing a federal

statute, courts apply the “familiar two-step test pursuant to Chevron U.S.A., Inc. v.

Natural Resources Defense Council, 467 U.S. 837 (1984).” Mayor of Baltimore v. Azar,

973 F.3d 258, 268 (4th Cir. 2020). On Step One, a court asks “whether Congress has

directly spoken to the precise question at issue. If the intent of Congress is clear, that is

the end of the matter; for the court, as well as the agency, must give effect to the

unambiguously expressed intent of Congress.” Chevron, 467 U.S. at 842-43.

Alternatively, “[i]f the statute is silent or ambiguous with respect to the specific issue,”

the court proceeds to Step Two where “the question for the court is whether the agency’s

answer is based on a permissible construction of the statute.” Id. at 843.

       In this case, both parties agree that Chevron applies to the Department’s

interpretation of Section 1008 underlying the Final Rule. Plaintiffs further concede, as

they must, that the Supreme Court in Rust declared Section 1008 “ambiguous.” See Doc.

2 at 13; Rust, 500 U.S. at 184. Specifically, the Supreme Court in Rust held:

              [W]e agree with every court to have addressed the issue that
              the language is ambiguous. The language of § 1008—that
              “[n]one of the funds appropriated under this subchapter shall
              be used in programs where abortion is a method of family
              planning”—does not speak directly to the issues of counseling,
              referral, advocacy, or program integrity.

Id. The Supreme Court then quoted the lower court opinions that it agreed with,

including the First Circuit’s pronouncement that “[t]he language of the statute and the




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legislative history can support either of the litigants’ positions.” Id. at 185 (citing Com.

of Mass. v. Sec’y of Health & Hum. Servs., 899 F.2d 53, 62 (1st Cir. 1990)). The

Supreme Court’s holding in Rust is binding on this Court. Plaintiffs’ citations to the

pronouncements of specific legislators (Doc. 2 at 3-4) are therefore gratuitous and

irrelevant.

         Because the Supreme Court has already held that Section 1008 is ambiguous, this

Court’s review of the Final Rule may skip ahead to Chevron Step Two. On Step Two,

“the question for the court is whether the agency’s [rule] is based on a permissible

construction of the statute.” Chevron, 467 U.S. at 843 (emphasis supplied).

Traditionally, on Step Two, courts followed the Supreme Court’s direction that “that

considerable weight should be accorded to an executive department’s construction of a

statutory scheme it is entrusted to administer.” Id. at 844. This high degree of

deference follows from the Court’s preference that, “in the context of implementing

policy decisions a technical and complex arena, … policy arguments are more properly

addressed to legislators or administrators, not judges.” Id. at 864-65. “Judges are not

experts in the field” of energy policy (as in Chevron) or healthcare policy (as in this

case).

         Nor are judges “part of either political branch of the Government.” Id. at 865.

Though agencies may not be “directly accountable to the people, the Chief Executive is.”

Id. Thus, as held by the Supreme Court, an agency may “properly rely upon the

incumbent administration’s views of wise policy to inform its judgments,” where a court

may not. Id.




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       A final reason for Chevron deference recognizes that, in some statutes, Congress

may have intended ambiguity. Courts may “accord deference to agencies under Chevron

… because of a presumption that Congress, when it left ambiguity in a statute meant for

implementation by an agency, understood that the ambiguity would be resolved, first and

foremost, by the agency, and desired the agency (rather than the courts) to possess

whatever degree of discretion the ambiguity allows.” Smiley v. Citibank (S. Dakota),

N.A., 517 U.S. 735, 740–41 (1996) (Scalia, J.).

       Chevron deference applies equally where an “agency has from time to time

changed its interpretation.” Id. at 863. An agency “must consider varying interpretations

and the wisdom of its policy on a continuing basis. Moreover, the fact that the agency

has adopted different definitions in different contexts adds force to the argument that the

definition itself is flexible, particularly [where] Congress has never indicated any

disapproval of a flexible reading of the statute.” Id. at 863-64.

       This case features all of the reasons to defer to HHS’s interpretation of

Section 1008. To preview the Court’s discussion below, Section 1008 involves technical

and complex decisions about healthcare policy; the Final Rule was obviously and

properly a response to shifting political winds; and the ambiguous language of Section

1008, as Plaintiffs eagerly point out, was likely the intentional result of legislative

compromise. Accordingly, the Final Rule is entitled to Chevron deference. Therefore, to

demonstrate a strong likelihood of success on the merits of their APA claim, Plaintiffs

must show that the Final Rule is not a “permissible construction” of Section 1008.

Plaintiffs make two arguments on that score. First, they assert that the Final Rule is “not




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in accordance with law,” i.e., Section 1008. 5 U.S.C. § 706(2)(A). Second, Plaintiffs

argue that the Final Rule is “arbitrary and capricious.” Id.

             i. Plaintiffs are unlikely to demonstrate that the Final Rule is not in

                 accordance with Section 1008

         Plaintiffs first argue that the Final Rule rests on an interpretation of Section 1008

that is “impermissible” because it is “not in accordance with” Section 1008. The Court is

not aware of authority that permits it to merge “permissibility” under Chevron with

“accordance with law” under the APA.11 The parties, however, seem content to treat

them the same, so, for the purposes of this Order, the Final Rule is “in accordance with”

Section 1008, (5 U.S.C. § 706(2)(A)), if it is a “permissible construction” of Section

1008, (Chevron, 467 U.S. at 843).

         First, Plaintiffs assert that Section 1008 prohibits the degree of financial and

physical integration between Title X programs and abortion service providers permitted

in the Final Rule. Under the Final Rule:

                Non-Title X abortion activities must be separate and distinct
                from Title X project activities. Where a grantee conducts
                abortion activities that are not part of the Title X project and
                would not be permissible if they were, the grantee must ensure
                that the Title X-supported project is separate and
                distinguishable from those other activities. What must be
                looked at is whether the abortion element in a program of
                family planning services is so large and so intimately related to
                all aspects of the program as to make it difficult or impossible
                to separate the eligible and non-eligible items of cost.


11
   Although the Sixth Circuit has suggested that “permissible under Chevron” is a distinct inquiry
from the requirements under the APA, that case only addressed the distinction between
“permissible” and “arbitrary and capricious.” Atrium Med. Ctr. v. U.S. Dep’t of Health & Hum.
Servs., 766 F.3d 560, 567 (6th Cir. 2014)




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         65 Fed. Reg. at 41,282 (incorporated by reference at 86 Fed. Reg. at 56150).

The Final Rule further clarifies that:

               Separation of Title X from abortion activities does not require
               separate grantees or even a separate health facility, but separate
               bookkeeping entries alone will not satisfy the spirit of the law.
               Mere technical allocation of funds, attributing federal dollars
               to non-abortion activities, is not a legally supportable
               avoidance of section 1008.

               Certain kinds of shared facilities are permissible, so long as it
               is possible to distinguish between the Title X supported
               activities and non-Title X abortion-related activities: (a) A
               common waiting room is permissible, as long as the costs
               properly pro-rated;(b) common staff is permissible, so long as
               salaries are properly allocated and all abortion related activities
               of the staff members are performed in a program which is
               entirely separate from the Title X project; (c) a hospital
               offering abortions for family planning purposes and also
               housing a Title X project is permissible, as long as the abortion
               activities are sufficiently separate from the Title X project; and
               (d) maintenance of a single file system for abortion and family
               planning patients is permissible, so long as costs are properly
               allocated.

Id. Therefore, Plaintiffs argue, the Rule permits grantees to have an “abortion element”

which contravenes the statute’s prohibition on grants “used in programs where abortion is

a method of family planning.” 42 U.S.C. § 300a-6.

         Plaintiffs’ argument elides the distinction between a Title X “grantee” and a

Title X “program” or “project.”12 Title X “expressly distinguishes between a Title X

grantee and a Title X project.” Rust, 500 U.S. at 196. While a grantee “may receive

funds from a variety of sources for a variety of purposes,” the grantee’s Title X funds are



12
  The terms “program” and “project” were used interchangeably in both the 2019 and 1988
Rules. See 84 Fed. Reg. at 7787; 53 Fed. Reg. at 2922.




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reserved for the “specific and limited purpose of establishing and operating a Title X

project.” Id. (citing 42 U.S.C. § 300(a)). Thus, a Title X program may offer less than the

full menu of family planning services without bringing off-menu services into the

program.

         The Supreme Court specifically approved of this possibility in Rust. 500 U.S. at

196. Concluding that the 1988 Rule did not impermissibly condition grant awards on

“relinquishment of a constitutional right,” the Court found that a “Title X grantee can

continue to perform abortions, provide abortion-related services, and engage in abortion

advocacy” as long as it “conduct[s] those activities through programs that are separate

and independent from the project that receives Title X funds.” Id. (emphasis in original).

Because the Final Rule expressly prohibits abortion-related services from being a part of

a grantee’s Title X program, the Court finds Plaintiffs’ argument unpersuasive.13

         Next, Plaintiffs argue that the Final Rule’s permission to share staff, waiting

rooms, and file systems is impermissible because it allows Title X funds to be used “in a

program where abortion is a method of family planning”—emphasizing that “where”

refers to a “physical location.” (Dec. 2 at 15). This is not a serious argument. “Where”

need not refer to a physical location.14 Plaintiffs point to nowhere in the legislative


13
  An alternative interpretation of Plaintiffs’ argument is that the phrase, “abortion element in a
program of family planning services,” presumes that a Title X program may have an “abortion
element.” 65 Fed. Reg. at 41282. While the Court acknowledges that the Department’s choice
of the word “program” is unfortunate, reading the passage with full context reassures that the
Final Rule does not permit an abortion element in a “Title X program.” See id. (“Non-Title X
abortion activities must be separate and distinct from Title X project activities.”).
14
  Where, Merriam-Webster.com, https://www.merriam-webster.com/dictionary/where (defining
“where” as “at, in, or to what situation, position, direction, circumstances, or respect”).




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history suggesting Congress meant otherwise.

       Last, Plaintiffs argue that the Final Rule is “not in accordance with” Section 1008

because removing strict physical and financial separation requirements permits Title X

funds to impermissibly “subsidize” abortion activities. The way this works, according to

Plaintiffs, is that, because “[m]oney is fungible,” “every dollar an abortion provider

receives through Title X frees up another dollar that the grantee can use to subsidize

abortion.” (Doc. 2 at 16) (citing Holder v. Humanitarian Law Project, 561 U.S. 1, 31

(2010)).

       Unfortunately for Plaintiffs, “fungible” is not the magic word they wish it were.

True, money is fungible. But strict financial and physical separation does not make it any

less fungible. By Plaintiffs’ logic, even the 2019 Rule permitted Title X funds to

subsidize abortions. Under that rule, abortion providers could still receive Title X grants

so long as they could comply with the physical and financial separation requirements.

Rust, 500 U.S. at 199 n.5 (noting that regulations implementing Section 1008 “are limited

to Title X funds; the recipient remains free to use private, non-Title X funds to finance

abortion-related activities.”); see also, e.g., Planned Parenthood of Hous. & Se. Tex. v.

Sanchez, 403 F.3d 324, 340 (5th Cir. 2005) (“Under Title X, then, abortion providers are

eligible to receive family planning funding.”); Planned Parenthood of Cent. N.C. v.

Cansler, 804 F. Supp. 2d 482, 487 (M.D.N.C. 2011) (“[T]itle X does not contain any

provision that would prohibit entities that provide abortions from receiving Title X funds

for non-abortion-related services.”). Therefore, under the 2019 Rule, a hypothetical

family planning service provider with two physical clinics, distinct staff at each location,




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separate accounting records for each, and a $100,000 overall budget might provide

$50,000 of services at each location. If the same provider received a $100,000 Title X

grant to run one clinic as a Title X program, that grant would “free up” $100,000 to be

spent on abortion services at the other clinic. Because demand for family planning and

abortion services is finite, money is equally fungible across entities too. Every grant

dollar spent providing contraceptive services at a Title X program, for example, is a

dollar a Planned Parenthood affiliate did not have to spend servicing the same patient.

       These examples illustrate that Plaintiffs’ reasoning is untenable. It leads,

ineluctably, to the conclusion that abortion-providers may not participate in Title X. That

may be Plaintiffs’ true motivation, but it is not the law. Rust, 500 U.S. at 199. Indeed,

courts have rejected the “freeing up” theory in the context of abortion funding. See

Planned Parenthood of Cent. & N. Arizona v. State of Ariz., 718 F.2d 938, 945 (9th Cir.

1983), aff’d sub nom. Babbitt v. Planned Parenthood of Cent. & N. Arizona, 479 U.S.

925 (1986) (“[W]e hold that as a matter of law, the freeing-up theory cannot justify

withdrawing all state funds from otherwise eligible entities merely because they engage

in abortion-related activities disfavored by the state.”); see also Planned Parenthood of

Minn. v. Minnesota, 612 F.2d 359, 362 (8th Cir. 1980) (rejecting “[t]he argument that the

money given to Planned Parenthood by the state might free-up other money which would

be used for abortions”). Accordingly, the Court is not persuaded that eliminating the

strict financial and physical separation requirements from the 2019 Rule impermissibly

“subsidizes abortions.” The principle that money is fungible must have theoretical

limits or else no government appropriations for specific purposes could ever be




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feasible. Title X no more subsidizes abortions than funding a homeless shelter

subsidizes substance abuse. Plaintiffs are therefore not likely to succeed on their claim

that the Final Rule is impermissible because eliminating the separation requirements

violates Section 1008.

       Plaintiffs also assert that the Final Rule violates Section 1008 by requiring

grantees to provide “information and counseling” and “referral” for abortion services

upon request. 86 Fed. Reg. at 56,170. Plaintiffs reason that a family planning program in

which providers are required to make referrals for abortion upon request is a program

“where abortion is a method of family planning” in violation of Section 1008. (Doc. 2 at

17). Plaintiffs’ argument proceeds by analogy. They ask, for example, “Is a dental

practice that refers patients to its own doctors for root canals a practice where root canals

are a method of dental care?” (Doc. 2 at 18). But again, Plaintiffs muddy the distinction

between a “grantee” and a “program.” A “program” may provide less than the full gamut

of healthcare services that a “grantee” would offer. To take Plaintiffs’ analogy head on: a

dental practice that provides free teeth cleanings at a weekend clinic could decline to

provide costly root canals as part of the program. But a dentist could refer a patient to

her own commercial practice for paid services during the week and no one could argue

that root canals were a part of the weekend clinic program. Simply put, root canals are

indisputably a dental service, but they are not part of the menu of low-cost services

offered at the weekend clinic program. Likewise, abortion is, literally-speaking, a

method of family planning. But it is simply not part of the menu of family planning

services that a Title X program can offer. Providing a referral for it does not put it on the




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menu. Therefore, because the program provides less than the full menu of treatment

options at a reduced cost, referrals for services outside of the program do not contravene

Section 1008. The Court is not persuaded, based on Plaintiffs’ analogies, that Plaintiffs

are likely to succeed on their argument that the Final Rule’s referral mandate is “not in

accordance” with Section 1008.

                 b. Plaintiffs are unlikely to demonstrate that the Final Rule is

                     arbitrary and capricious

       The APA instructs courts to vacate agency action that is arbitrary and capricious.

5 U.S.C. § 706(2). In general, an agency’s action is arbitrary and capricious where it has

“relied on factors which Congress had not intended it to consider, entirely failed to

consider an important aspect of the problem, offered an explanation for its decision that

runs counter to the evidence before the agency, or is so implausible that it could not be

ascribed to a difference in view or the product of agency expertise.” Nat’l Ass’n of Home

Builders v. Defs. of Wildlife, 551 U.S. 644, 658 (2007). Final rules must therefore

“articulate a satisfactory explanation for [the] action including a rational connection

between the facts found and the choice made.” Motor Vehicle Mfrs. Assn. of United

States, Inc. v. State Farm Mut. Automobile Ins. Co., 463 U.S. 29, 43 (1983). Agencies

are not, however, required to consider all policy alternatives “conceivable by the mind of

man” in reaching a decision. Id. at 51.

       “When an agency changes its existing position, it need not always provide a more

detailed justification than what would suffice for a new policy created on a blank slate.”

Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221–22 (2016). The agency need only




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“display awareness that it is changing position” and “show that there are good reasons for

the new policy.” Id. An agency changing “longstanding policies,” should take into

account “serious reliance interests.” Id.

       Arbitrary and capricious is a “deferential” standard. FCC v. Prometheus Radio

Project, 141 S. Ct. 1150, 1158 (2021). The “court simply ensures that the agency has

acted within a zone of reasonableness and, in particular, has reasonably considered the

relevant issues and reasonably explained the decision.” Id. A court’s review is

“narrow” and “is not to substitute its judgment for that of the agency.” State Farm,

463 U.S. at 43 (emphasis supplied).

       Plaintiffs argue (unsuccessfully) that the Final Rule’s “approach to financial and

physical separation” and its requirement that providers make abortion referrals upon

request are arbitrary and capricious.

            i. HHS reasonably revoked the 2019 Rule’s physical and financial

               separation requirements

       Plaintiffs advance four arguments to support to support their theory that the Final

Rule arbitrarily and capriciously rescinded the 2019 Rule’s financial and physical

separation requirements. First, Plaintiffs reiterate their argument that the Final Rule does

not prevent Title X funds from subsidizing abortion in violation of Section 1008. Second,

Plaintiffs allege HHS relied on “flaw data and illogical reasoning” to conclude that the

2019 Rule had negative health consequences. Third, Plaintiffs accuse HHS of

overlooking “important reliance interests” in promulgating the final rule. And fourth,




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Plaintiffs claim HHS should have considered the Final Rule’s effect on “public support

for Title X.” These arguments grasp at straws. None are persuasive.

       First, HHS did properly address fears that Title X funds would be used to

subsidize abortions. In the first section of the Notice of Final Rulemaking (“NFR”), HHS

described reviewing more than 30 reports from the Government Accountability Office,

HHS Office of the Inspector General, and the Congressional Research Service covering

the Title X program from 1975 through 2021. 86 Fed. Reg. 56,145. Based on those

reports, HHS concluded that, over 45 years, the majority of which time HHS required no

strict financial and physical separation, there were only minor compliance issues going

back to the 1980s. Id. HHS then reasonably weighed the minimal risk of compliance

issues absent strict financial and physical separation against the high cost and burden of

maintaining separate physical locations, duplicate staff, and separate patient records. Id.

HHS reasonably concluded, “there has been no evidence of compliance issues regarding

section 1008 by Title X grantees that would justify the greatly increased compliance costs

for grantees and oversight costs for the federal government the 2019 rule required.” Id.

       For their part, Plaintiffs are hung up on Department’s “disagree[ment] that Title X

grant funds … are fungible.” Id. at 56,150. But HHS’s disagreement clearly meant only

that “grant funds are spent for grant purposes.” Id. In other words, where the agency

provides $50,000 of Title X funds, the Title X grantee provides $50,000 of non-abortion

related family planning services, and—regardless of what the grantee does with money it

gets elsewhere—none of that $50,000 is spent on abortion-related services. State Farm,

463 U.S. at 43 (courts may “uphold a decision of less than ideal clarity if the agency’s




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 path may reasonably be discerned.”). The logical conclusion of Plaintiffs’ hyperbolic

 fungibility principle is that any organization that performs abortion would be banned

 from receiving Title X funds. HHS addressed that too by recognizing that Plaintiffs’

 reasoning would “raise serious constitutional issues.” Id.

        Plaintiffs are also wrong that HHS failed to “consider alternative policies” for

 keeping Title X funds from subsidizing or promoting abortion. The Final Rule

 incorporates the interpretations and policies that accompanied the 2000 Rule. Id. at

 56,150. Those policies require abortion activities to “be separate and distinct from Title

 X project activities” and demand more than “[m]ere technical allocation of funds.” 65

 Fed. Reg. 41,282. HHS further elaborated that “[a]ll Title X grantees are subject to 45

 CFR part 75” which requires that Title X funds “be expended solely for the purpose for

 which the funds were granted in accordance with the approved application and budget”

 and provides an addition layer of generally applicable agency grant regulations. 86 Fed.

 Reg. at 56,152. To enforce these requirements, HHS’s Office of Population Affairs

 (“OPA”) “closely monitors Title X grantee compliance through regular grant reports,

 compliance monitoring visits, and legally required audits, and it has done so since the

 beginning of the program.” 86 Fed. Reg. at 56,145. Plaintiffs insist that HHS should

 have considered additional alternatives such as dedicating additional funds to help with

 compliance or choosing requirements somewhere between the 2000 Rule’s and the 2019

 Rule’s.

        But to survive arbitrary and capricious review, agencies are not required to

 consider every policy alternative “conceivable by the mind of man.” State Farm, 463




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U.S. at 51; see also Am. Ass’n of Cosmetology Sch. v. DeVos, 258 F. Supp. 3d 50, 75

(D.D.C. 2017). HHS met its burden by considering and adopting the 2000-era

monitoring and enforcement policies as an alternative to the 2019 separation

requirements. The agency’s reasoning here is especially persuasive because it can rely on

decades of experience using precisely these monitoring and enforcement mechanisms

with minimal compliance issues. 86 Fed. Reg. at 56,145.

       Plaintiffs, of course, dispute the reliability of the data on compliance issues. This

makes sense given that Plaintiffs believe the 2000 Rule permits activities that in fact

violate Section 1008. But on review for arbitrary and capricious decision-making, the

Court declines to wade into the reliability of reports covering 45 years from three

separate federal agencies. At bottom, Plaintiffs’ argument is a policy disagreement

about what activities Section 1008 permits. For reasons stated above, the Court finds

the Department’s interpretation of Section 1008 permissible and entitled to deference.

       Second, Plaintiffs assert that HHS “relied on flawed data and illogical reasoning”

to conclude that the 2019 Rule had a negative impact on public health. According to

Plaintiffs, HHS improperly assumed that a reduction in Title X participation spelled

negative public health consequences. (Doc. 2 at 25). HHS responds that it “extensively

detailed the impact that the 2019 Rule had” in “dramatically reduc[ing] access to family

planning and preventive health services that are essential for hundreds of thousands of

clients, especially for the low-income clients Title X was specifically created to serve.”

(Doc. 27 at 24) (citing 86 Fed. Reg. at 56,148). The Court agrees with HHS. The NFR

reflects that HHS considered comments from providers indicating that patients were




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forgoing services or had lost access entirely. Id. at 56,150. It further illustrates that HHS

thoughtfully considered the effect and sustainability of transfers from Title X programs

non-Title X providers. Id. at 56,151-52. HHS found that these substitute non-Title X

providers could not provide the same scope of services, id., or were not sustainable long

term because they were funded by emergency grants or labor-intensive fundraising

efforts. Id. at 56,152.

       Plaintiffs protest that HHS should have disaggregated the effect of transfers on the

overall decline in Title X participation. (Doc. 2 at 26). They further complain that HHS

should not have relied on a study by a pro-choice organization and questioned the

truthfulness of statements by former Title X grantees. Id. at 26-27. But fussing about

the scope and reliability of the Department’s data is beyond the scope of arbitrary

and capricious review. The agency need only “examine the relevant data and articulate

a satisfactory explanation for its action including a rational connection between the facts

found and the choice made.” State Farm, 463 U.S. at 43; see also Saint Mary’s Cement v.

EPA, 782 F.3d 280, 286 (6th Cir. 2015) (“[W]e are at our most deferential when

reviewing an agency’s scientific determinations about issues within its expertise.”)

(emphasis supplied). HHS has done that.

       Plaintiffs contend that HHS failed to weigh the positive effects of the 2019 Rule

against its negative effects. (Doc. 2 at 27). Setting aside the probability that 2019 Rule

had no positive effects, HHS did consider its merits. HHS responded to several of

comments that proposed keeping various features of the 2019 Rule. See, e.g., 86 Fed.

Reg. 56,161-62 (considering retaining the 2019 Rule’s subrecipient monitoring), 56,168




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(addressing comments that some states saw increased Title X participation under the

2019 Rule), 56,176 (discussing one option the department considered to retain much of

the 2019 Rule). Nevertheless, HHS “determined that the most appropriate course [was]

to revoke the 2019 rule in its totality.” Id. at 56,148.

         Plaintiffs then argue that HHS failed to consider the negative public health effects

of the 2000 Rule. The only example Plaintiffs point to is a report showing that rates of

sexually transmitted diseases “reached a record high in 2018.” (Doc. 2 at 27). But

apparently Plaintiffs did not read that report very carefully. The report, published in

December 2019—eight months after the 2019 Rule went into effect—in fact reports that

“in 2019…[t]here were more than 1.8 million cases of chlamydia—the highest number of

annual cases of any condition ever reported to the CDC.”15 Nevertheless, the Final Rule

did consider the availability of STI testing and concluded that the 2019 Rule reduced

access to it because of the loss of Title X funding. 86 Fed. Reg 56,151. Furthermore, the

NFR concludes that the Final Rule will result in “earlier detection of sexually transmitted

infections.” Id. at 56,168.

         Plaintiffs further argue that HHS “irrationally concluded that the 2019 Rule had

permanently decreased the number of patients and grantees participating in Title X.”

(Doc. 2 at 28). Plaintiffs suggest that, given time, states like Ohio would have been able

to replace the lost grantees and restore Title X to full participation. HHS responds that it

did specifically address “the concern that the provision of Title X services would improve


15
   Association of State and Territorial Health Officials, National STD Trends: Key Information
on Sexually Transmitted Diseases for Public Health Leadership 1 & n.1 (2019),
https://perma.cc/G58R-WBEW (emphasis supplied).




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after COVID-19, and utilized its expertise to determine that it was ‘unlikely that the

number of clients served or services provided would increase to pre-2019 levels or above

without a change to the 2019 rule.’” (Doc. 27 at 26) (citing 85 Fed. Reg. at 56,152).

HHS was entitled to make this determination, and its reasoning is not arbitrary or

capricious.

       Finally, Plaintiffs argue that HHS failed to consider that the 2019 Rule may

actually have encouraged some new users of Title X services. This argument is frivolous.

Though it is possible some consumers were encouraged to seek family planning services

knowing their provider would not perform abortions, net is net. And the net change in

participation in Title X programs is sharply negative. To the extent any new users sought

Title X services because of the 2019 Rule, HHS accounted for them when it considered

the net change of Title X users. See, e.g., 86 Fed. Reg. at 56,146. HHS is free to pursue

a policy that maximizes the number of participants in Title X.

       Third, Plaintiffs assert that HHS failed to consider reliance interests in rescinding

the 2019 Rule. Plaintiffs point to Dep’t of Homeland Sec. v. Regents of the Univ. of

California, for the proposition that failure to consider reliance interests, even when a

recipient has no “substantive rights” to a benefit, renders an agency action arbitrary and

capricious. 140 S. Ct. 1891, 1913-14 (2020). But that case relied on the principle that

“longstanding policies may … engender[] serious reliance interests that must be taken

into account.” Id. at 1913 (citing Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 212

(2016)) (emphasis supplied). The 2019 Rule was in effect for less than two years. In

any event, HHS did expressly state that “no particular private organizations have a right




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to Title X funding,” thus HHS considered any reliance interests to be minimal. 86 Fed.

Reg. at 56,150. On a motion for preliminary injunction, the Court finds it unlikely that

Plaintiffs will successfully argue that failure to consider reliance interests accrued over

two years renders the Department’s decision arbitrary and capricious.

       Fourth, Plaintiffs insist the Final Rule is arbitrary and capricious because it fails to

consider whether eliminating the 2019 Rule’s physical and financial separation

requirements “would erode public support for the Title X program.” (Doc. 2 at 32).

Quoting the Final Rule, HHS responds that it reinstates “compliance standards that had

been in effect for nearly the entirety of the Title X program, had been widely accepted by

grantees, had enabled the Title X program to operate successfully, and had not resulted in

any litigation.” (Doc. 27 at 28) (citing 86 Fed. Reg. at 56,145). The Court agrees that

this passage shows HHS did consider public support and concluded that the 2000 Rules’

wide acceptance, lack of litigation, and persistence through three two-term presidencies

likely demonstrated public support for the Final Rule. Though this Court is well aware

that counsel for some of the Plaintiff states remain skeptical of the 2020 presidential

election, the objective truth is that a majority of voters rejected the administration

responsible for the 2019 Rule. Thus, the Final Rule cites President Biden’s January 28,

2021, “Memorandum on Protecting Women’s Health at Home and Abroad” which

“instructed the Department to review the Title X Rule and any other regulations

governing the Title X program that impose undue restrictions on the use of Federal funds

or women’s access to complete medical information and shall consider, as soon as

practicable, whether to suspend, revise, or rescind, or publish for notice and comment




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proposed rules suspending, revising, or rescinding, those regulations, consistent with

applicable law, including the Administrative Procedure Act.” 86 Fed. Reg. at 56,148.

Thus, in promulgating the final rule, HHS announced that it was following the

instructions of a very recently elected chief executive. This shows HHS considered

public support and reasonably concluded that it favored the Final Rule.

           ii. HHS’s decision to require abortion referrals upon request was not

               arbitrary or capricious

       Plaintiffs’ last argument on the merits is that the Final Rule arbitrarily and

capriciously requires Title X programs to provide referrals for abortion services upon

request. Again, Plaintiffs supply four arguments.

       First, Plaintiffs argue that the Final Rule relies on flawed data that the 2019 Rule

had negative public health outcomes. The Court has already rejected this argument and

does so again here.

       Second, Plaintiffs repeat their argument that Final Rule fails to consider how

mandatory referrals for abortion services will erode public support for Title X. Again,

the Court has rejected this argument. Strong public support was the starting premise for

the Final Rule. Indeed, a recently-elected President Biden directed HHS to “review the

Title X Rule and any other regulations … that impose undue restrictions on … women’s

access to complete medical information….” 86 Fed. Reg. at 56,148 (emphasis supplied).

       Third, Plaintiffs argue that HHS failed to show “good reasons for the new policy,”

Encino, 136 S. Ct. at 2126, which departs from the 2019 Rule’s finding that “in most

instances when a referral is provided for abortion, that referral necessarily treats abortion




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as a method of family planning.” (Doc. 2 at 33) (quoting 84 Fed. Reg. at 7,717). HHS

responds that it did address the departure and provide “good reasons” for it. (Doc. 27 at

29). The Final Rule explains that the 2019 Rule caused “private organizations and states

to withdraw from the program, leaving multiple states without any Title X providers and

the agency struggling to meet its mandate to provide family planning services for low-

income populations in areas of high need.” 85 Fed. Reg. at 56,150. Departing grantees

told HHS that the 2019 Rule’s prohibition on non-directive counselling and abortion

referral “interfered with the patient-provider relationship and compromised their ability to

provide quality healthcare.” Id. at 56,146. HHS stated, unequivocally, that the fact

“[t]hat so many providers did in fact withdraw from the program is a change in

circumstances that, in the Department’s view, demands reconsideration of the 2019 rule.”

Id. The Court is satisfied that this departure was not arbitrary or capricious. FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 515 (2009) (“[I]t suffices that the new policy is

permissible under the statute, that there are good reasons for it, and that the agency

believes it to be better . . . .”). No authority requires HHS to “disprove[]” the agency’s

prior interpretation of an ambiguous statute, as Plaintiffs demand. (Doc 2 at 33).

       Fourth, Plaintiffs argue that HHS “failed to consider whether mandating referrals

was consistent with medical ethics.” (Doc. 2 at 34). But Plaintiffs defeat their own

argument in the next sentence by acknowledging that HHS “stated that the 2019 Rule’s

prohibition on referrals was contrary to the ‘ethical codes of major medical

organizations.’” (Doc. 2 at 34) (citing 86 Fed. Reg. at 19,817). HHS considered medical

ethics in the Final Rule too. See 86 Fed. Reg. at 56,146. Indeed, in the context of




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discussion about conscience statutes generally, HHS stated that “objecting individuals

and grantees will not be required to counsel or refer for abortion,” and committed to

“ensur[ing] appropriate compliance with conscience laws as well as continuity of care.”

Id. at 56,153. Thus, the Court agrees with HHS that it did consider and address the

“important aspect” of medical ethics relating to abortion referrals. Nat’l Ass’n of Home

Builders v. Defs. of Wildlife, 551 U.S. 644, 645 (2007) (quoting State Farm, 463 U.S. at

43).

       Accordingly, the Court cannot say it is likely that Plaintiffs will prevail on their

argument that the Final Rule is arbitrary and capricious. Instead, the Court finds the

Final Rule is based on a permissible interpretation of Section 1008 and is fully entitled to

Chevron deference.

       2.     Irreparable Harm

       On a motion for preliminary injunction, “the existence of an irreparable injury is

mandatory,” such that “even the strongest showing on the other three factors cannot

eliminate the irreparable harm requirement.” D.T. v. Sumner Cnty. Schs., 942 F.3d 324,

326-27 (6th Cir. 2019). An irreparable harm “‘must be both certain and immediate,’ not

‘speculative or theoretical.’” Id. Typically, “economic loss does not, in and of itself,

constitute irreparable harm.” Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985);

see also Ohio ex rel. Celebrezze v. Nuclear Regulatory Com., 812 F.2d 288, 291 (6th Cir.

1987). Where the economic loss is “irrecoverable,” however, it “may constitute

irreparable injury” but “a party asserting such a loss is not relieved of its obligation to

demonstrate that its harm will be ‘great.’” N. Air Cargo v. U.S. Postal Serv., 756 F.




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Supp. 2d 116, 125 n.6 (D.D.C. 2010); see also, e.g., Allina Health Servs. v. Sebelius, 756

F. Supp. 2d 61, 67–68 (D.D.C. 2010) (noting that “an inability to recover lost profits or

payments does not always constitute irreparable harm” and collecting cases); CoverDyn

v. Moniz, 68 F. Supp. 3d 34, 49 (D.D.C. 2014) (“Otherwise, a litigant seeking injunctive

relief against the government would always satisfy the irreparable injury prong,

nullifying that requirement in such cases.”).

       Here, Plaintiffs argue that they will be irreparably harmed by increased

competition for Title X funds. The Court is not convinced. Of the 12 plaintiff states,

only Ohio has submitted a declaration that it will even apply for Title X grants in

January. (Doc. 2-1). HHS is correct that, besides Ohio, none of the Plaintiff states have

provided evidence that they will face increased competition. Further, the Court declines

to hold that an increase in fair competition for public grants can constitute irreparable

injury. Basicomputer Corp v. Scott, 973 F.2d 507, 512 (6th Cir. 1992) (treating as

irreparable the harm caused by “the loss of fair competition that results from the breach

of a non-competition covenant”) (emphasis supplied). However, even if Plaintiffs

receive less grant funding as a result of the Final Rule, it is hard to see how the injury

would be substantial. Plaintiffs concede that they have no “legally cognizable interest” in

the grant funding. (Doc. 46 at 14). “To demonstrate irreparable injury, a plaintiff must

show that it will suffer harm that is ‘more than simply irretrievable; it must also be

serious in terms of its effect on the plaintiff.’” Hi-Tech Pharmacal Co. v. FDA, 587 F.

Supp. 2d 1, 11 (D.D.C. 2008). Plaintiffs’ potential harm is also highly speculative. Ohio

has not submitted any evidence that the number of Title X applicants it will have to




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compete against has increased. Moreover, Plaintiffs like Ohio that have been able to

expand services since 2019 are likely better positioned to compete for Title X funds. Nor

is it clear that any reduction in Ohio’s Title X grants would be strictly irrecoverable. If

Plaintiffs prevail and the 2019 Rules are reinstated, Title X grantees are likely to leave

the program and relinquish their funds just as they did in 2019. Under those

circumstances, HHS has already demonstrated its willingness to redistribute relinquished

funds to grantees, like Ohio, who stay in the program.

       Finally, “an unexcused delay in seeking extraordinary injunctive relief may be

grounds for denial because such delay implies a lack of urgency and irreparable harm.”

Texas Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 244 (D.D.C. 2014). Here, HHS

seeks to implement a rule that was, effectively, in place for 20 years before 2019. All

of Plaintiffs arguments apply equally to the 2000 Rule as to the Final Rule, yet

Plaintiffs never sought relief from the 2000 Rule. To the Court, this fact suggests that

Plaintiffs’ fears of irreparable injury are not genuine.

       Accordingly, Plaintiffs have not shown by clear and convincing evidence that they

will be irreparably injured by the Final Rule. Honeywell, Inc. v. Brewer–Garrett Co., 145

F.3d 1331 (6th Cir.1998).

       3.     Balance of the Equities

       Finally, though it is hardly necessary, the Court concludes that the balance of

equities strongly disfavors a preliminary injunction. Plaintiffs argue that “there is simply

no evidence that the American public or abortion providers will be substantially harmed

by a preservation of the status quo.” (Doc. 2 at 38). That is blind.




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       The 2019 Rule harms our most vulnerable members of society daily. Title X once

provided comprehensive family planning services to more than 5 million patients

annually, including low-income families in all 50 states. But in 2019, that number

dropped to 3.1 million, with no Title X services available in six states and drastically

reduced services in several others. This decline overwhelmingly affected the program’s

low-income users. According to the Final Rule, after 2019, “573,650 fewer clients under

100 percent of the federal poverty level (FPL); 139,801 fewer clients between 101

percent FPL to 150 percent FPL; 65,735 fewer clients between 151 percent FPL and 200

percent FPL; and 30,194 fewer clients between 201 percent FPL to 250 percent FPL

received Title X services.” 86 Fed. Reg. 56,146. Weighed against the interests of the

Plaintiff states, restoring access to vital family planning services for millions of

Americans is a far greater priority.

       Plaintiffs’ final argument is that “the public interest is always served by a correct

application of the law.” This Court agrees.

                                 IV.     CONCLUSION
       The Court finds that Plaintiffs have not met their burden of establishing

entitlement to a preliminary injunction. Accordingly, Plaintiffs’ motion to enjoin the

Department of Health and Human Services from implementing or enforcing the Final

Rule, Ensuring Access to Equitable, Affordable, Client-Centered, Quality Family

Planning Services, 86 Fed. Reg. 56144-01 (Oct. 7, 2021) (to be codified at 42 C.F.R. pt.

59) is DENIED.




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       IT IS SO ORDERED.

  Date: 12/29/2021
                                                      Timothy S. Black
                                                      United States District Judge




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                                                   Current through the 2022 Regular Session.

               TN - Tennessee Code Annotated             Title 39 Criminal Offenses        Chapter 15 Offenses Against the
               Family      Part 2 Abortion



               39-15-213. Criminal abortion — Affirmative defense.
               (a) As used in this section:
               (1) “Abortion” means the use of any instrument, medicine, drug, or any other substance or device with intent
               to terminate the pregnancy of a woman known to be pregnant with intent other than to increase the
               probability of a live birth, to preserve the life or health of the child after live birth, or to remove a dead fetus;
               (2) “Fertilization” means that point in time when a male human sperm penetrates the zona pellucida of a
               female human ovum;
               (3) “Pregnant” means the human female reproductive condition of having a living unborn child within her body
               throughout the entire embryonic and fetal stages of the unborn child from fertilization until birth; and
               (4) “Unborn child” means an individual living member of the species, homo sapiens, throughout the entire
               embryonic and fetal stages of the unborn child from fertilization until birth.
               (b) A person who performs or attempts to perform an abortion commits the offense of criminal abortion.
               Criminal abortion is a Class C felony.
               (c) It is an affirmative defense to prosecution under subsection (b), which must be proven by a
               preponderance of the evidence, that:
               (1) The abortion was performed or attempted by a licensed physician;
               (2) The physician determined, in the physician's good faith medical judgment, based upon the facts known to
               the physician at the time, that the abortion was necessary to prevent the death of the pregnant woman or to
               prevent serious risk of substantial and irreversible impairment of a major bodily function of the pregnant
               woman. No abortion shall be deemed authorized under this subdivision (c)(2) if performed on the basis of a
               claim or a diagnosis that the woman will engage in conduct that would result in her death or substantial and
               irreversible impairment of a major bodily function or for any reason relating to her mental health; and
               (3) The physician performs or attempts to perform the abortion in the manner which, in the physician's good
               faith medical judgment, based upon the facts known to the physician at the time, provides the best
               opportunity for the unborn child to survive, unless in the physician's good faith medical judgment, termination
               of the pregnancy in that manner would pose a greater risk of the death of the pregnant woman or substantial
               and irreversible impairment of a major bodily function. No such greater risk shall be deemed to exist if it is
               based on a claim or diagnosis that the woman will engage in conduct that would result in her death or
               substantial and irreversible impairment of a major bodily function or for any reason relating to her mental
               health.



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               (d) Medical treatment provided to the pregnant woman by a licensed physician which results in the accidental
               death of or unintentional injury to or death of the unborn child shall not be a violation of this section.
               (e) This section does not subject the pregnant woman upon whom an abortion is performed or attempted to
               criminal conviction or penalty.




               History


               Acts 2019, ch. 351, § 2.




                       Annotations




                   Notes
                   Cross References.

                   Penalty for Class C felony, § 40-35-111.




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DEPARTMENT OF HEALTH AND                     I. Background                                   within 30 days, you publish in the Federal
HUMAN SERVICES                                                                               Register new proposed regulations for public
                                                In 1988, the Secretary of Health and         comment.
                                             Human Services issued rules, widely
42 CFR Part 59                               known as the ‘‘Gag Rule,’’ which                Presidential Memorandum of January
                                             substantially revised the longstanding          22, 1993, published at 58 FR 7455
RIN: 0940–AA00                               polices and interpretations defining            (February 5, 1993). The Secretary
                                             what abortion-related activities were           subsequently suspended the 1988 rules
Standards of Compliance for Abortion-                                                        on February 5, 1993 (58 FR 7462) and
                                             permissible under Title X’s statutory
Related Services in Family Planning                                                          issued proposed rules for public
                                             limitation on abortion services. That
Services Projects                                                                            comment (58 FR 7464).
                                             statutory limitation, section 1008 (42
                                                                                                The notice of proposed rulemaking
AGENCY: Office of Population Affairs,        U.S.C. 300a–6), provides that ‘‘[n]one of
                                                                                             proposed to revise the program
OPHS, DHHS.                                  the funds appropriated under this title
ACTION: Final rules.                         shall be used in programs where                 regulations by readopting the program
                                             abortion is a method of family                  regulations as they existed prior to the
                                                                                             adoption of the Gag Rule, which would
SUMMARY: The rules issued below revise       planning.’’ The rules issued on February
                                                                                             have the effect of revoking the Gag Rule.
the regulations that apply to grantees       2, 1988 (53 FR 2922) set out detailed
                                                                                             It also proposed that the policies and
under the federal family planning            requirements that (1) Prohibited the
                                                                                             interpretations in effect prior to the
program by readopting the regulations,       provision to Title X clients of
                                                                                             issuance of the Gag Rule be reinstated,
with one revision, that applied to the       nondirective counseling on all
                                                                                             both in substance and in form. As noted
program prior to February 2, 1988.           pregnancy options and referral to
                                                                                             in the proposed rules, these policies and
Several technical changes to the             abortion providers, (2) required physical
                                                                                             interpretations, which had been in effect
regulation are also made to remove and/      and financial separation of abortion-
                                                                                             for a considerable time prior to 1988,
or update obsolete regulatory references.    related activities from Title X project
                                                                                             were set out largely, ‘‘in the 1981
The effect of the revisions made by the      activities, and (3) prohibited Title X
                                                                                             Family Planning Guidelines and in
rules below is to revoke the compliance      projects from engaging in activities that
                                                                                             individual policy interpretations.’’ 58
standards, promulgated in 1988 and           encourage, promote, or advocate
                                                                                             FR 7464. The pre-1988 interpretations
popularly known as the ‘‘Gag Rule,’’         abortion. These requirements are
                                                                                             had been developed during the 1970’s
that restricted family planning grantees     presently codified principally at 42 CFR
                                                                                             and early 1980’s in response to
from providing abortion-related              59.7–59.10.
                                                The February 2, 1988 ‘‘Gag Rule’’ was        questions arising out of the
information in their grant-funded                                                            Department’s initial interpretation that
projects.                                    extremely controversial: The proposed
                                             rules generated approximately 75,000            section 1008 not only prohibited Title X
DATES: These rules are effective July 3,                                                     projects from performing or providing
                                             public comments, many of which were
2000.                                        negative. 53 FR 2922. The rules were            abortions, but also prohibited actions by
FOR FURTHER INFORMATION CONTACT:             subsequently challenged in several              Title X projects that ‘‘promoted or
Samuel S. Taylor, Office of Population       district courts by a variety of providers,      encouraged’’ abortion as a method of
Affairs, (301) 594–4001.                     provider organizations, and others.             family planning. Over time, questions
SUPPLEMENTARY INFORMATION: The               Although the requirements embodied in           were raised, and answered in a series of
Secretary of Health and Human Services       the Gag Rule were upheld by the                 legal opinions, as to whether particular
issues below regulations establishing        Supreme Court in 1991 as a permissible          actions would violate the statute by
requirements for recipients of family        construction of section 1008, the rules         promoting or encouraging abortion as a
planning services grants under section       continued to be a source of controversy,        method of family planning. As
1001 of the Public Health Service Act,       with the provider and medical                   summarized in the proposed rules, the
42 U.S.C. 300. The rules below adopt,        communities litigating after 1991 to            answers that were developed were
with minor technical amendments and          prevent enforcement of the rules.               generally as follows:
one substantive modification, the            Following his inauguration in 1993,                Title X projects [are] required, in the event
regulations proposed for public              President Clinton ordered the Secretary         of an unplanned pregnancy and where the
comment on February 5, 1993, at 58 FR        to suspend the rules and initiate a new         patient requests such action, to provide
                                                                                             nondirective counseling to the patient on all
7464. They accordingly revoke the            rulemaking:                                     options relating to her pregnancy, including
compliance standards, known as the             The Gag Rule endangers women’s lives and      abortion, and to refer her for abortion, if that
‘‘Gag Rule,’’ promulgated on February 2,     health by preventing them from receiving        is the option she selects. However, consistent
1988.                                        complete and accurate medical information       with the long-standing Departmental
   By notice published elsewhere in this     and interferes with the doctor-patient          interpretation of the statute, Title X projects
issue of the Federal Register, the           relationship by prohibiting information that    [are] not * * * permitted to promote or
Department is separately acting to           medical professionals are otherwise ethically   encourage abortion as a method of family
                                             and legally required to provide to their        planning, such as by engaging in pro-choice
reinstitute, with minor changes, the         patients. Furthermore, the Gag Rule             litigation or lobbying activities. Title X
interpretations of the statute relating to   contravenes the clear intent of a majority of   projects [are] also * * * required to maintain
the provision of abortion-related            the members of both the United States Senate    a separation (that is more than a mere
information and services that applied to     and House of Representatives, which twice       exercise in bookkeeping) of their project
grantees prior to the issuance of the Gag    passed legislation to block the Gag Rule’s      activities from any activities that promote or
Rule. The Secretary had previously           enforcement but failed to override              encourage abortion as a method of family
proposed reinstituting these                 Presidential vetoes.                            planning.
                                               For these reasons, you have informed me       Id. By notice dated June 23, 1993 (58 FR
interpretations in the notice of February    that you will suspend the Gag Rule pending
5, 1993 and requested public comment         the promulgation of new regulations in          34024), the Secretary made available for
on this proposed action; the public          accordance with the ‘‘notice and comment’’      public comment a detailed exposition of
comment period was subsequently              procedures of the Administrative Procedure      the prior policies and interpretations.
reopened by notice of June 23, 1993, 58      Act. I hereby direct you to take that action       In the public comment periods, the
FR 34024.                                    as soon as possible. I further direct that,     Secretary received 146 comments,




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virtually all of which concerned the              encourage abortion with Title X funds        rejected separately is rejected as
proposed policies and interpretations             has been and will continue to be             unsound. The provisions of the Gag
rather than the proposed regulations              prohibited. Rather, what changes under       Rule were an interrelated set of
themselves. Approximately one-third of            the interpretations reinstated in            requirements that depended on several
these opposed the proposed policies               conjunction with the regulations below       underlying assumptions about how the
and interpretations on various grounds;           is which activities are considered to        Title X program should work; moreover,
most of these comments were from                  ‘‘promote or encourage’’ abortion. In        they depended in part on several
individuals who, in general, were                 contrast to the position taken under the     definitions that applied to all the major
opposed to any change to the Gag Rule.            Gag Rule, under the present view             provisions of the Gag Rule. See, in this
The remainder of the public comments,             (which was also the Department’s view        regard, 53 FR 2923, 2925; see also, the
most of which were from providers and             of the statute prior to 1988), the           discussion of definitions at 53 FR 2926–
other health organizations, generally             provision of neutral and factual             2927.
supported the reinstatement of the prior          information about abortion is not            B. Failure To Comply With the
policies and interpretations, although a          considered to promote or encourage           Administrative Procedure Act;
number of these comments suggested                abortion as a method of family planning.     Vagueness of Standards
that they be modified in various                  Indeed, the rule itself, now requires the
respects. The public comments and the             provision to pregnant women, on                A number of comments, from both
Secretary’s response thereto are                  request, of neutral, factual information     proponents of and opponents to the
summarized below.                                 and non-directive counseling on each of      proposed rules, objected to the failure to
                                                  three options. The basic statutory           publish the actual policies and
II. Public Comment and Departmental                                                            interpretations as part of the proposed
Response                                          interpretation underlying both the Gag
                                                                                               rule on the ground that this violated the
                                                  Rule and the specific policies that
   The public comment generally                                                                public comment requirements of the
                                                  governed the Title X program prior to
focused on a few issues raised by the                                                          Administrative Procedure Act (APA);
                                                  1988—that section 1008 prohibits
rulemaking. As noted above, these                                                              several comments argued that it was
                                                  activities that promote or encourage
comments generally pertained to the                                                            impossible to comment on policies that
                                                  abortion as a method of family
proposed policies and interpretations                                                          had never been published. A related
                                                  planning—remains unchanged.
rather than to the proposed regulatory                                                         criticism was that several of the
                                                     With respect to the contentions that      interpretations described in the
language itself. Accordingly, the                 the Secretary lacks a rational basis for
comments on the issues raised in the                                                           preamble to the notice of proposed
                                                  revoking the Gag Rule and that she must      rulemaking, particularly the
rulemaking are summarized below, and              justify each separate part of the Gag
the Secretary’s response thereto is                                                            interpretation relating to physical
                                                  Rule being discarded, we do not agree.       separation, were too vague.
provided.                                         The pre-1988 interpretation of the             The Secretary agreed that the
A. Lack of a Rational Basis To Revoke             statute represents a permissible exercise    provision of further information on the
the Gag Rule; Necessity for Continuation          of administrative discretion. The crucial    specific details of the pre-1988 policies
of the Gag Rule                                   difference between this approach and         and interpretations would promote
   Most of the comments in opposition             the Gag Rule is one of experience.           more helpful public comment.
to the proposed rules came from                   Because of ongoing litigation, the Gag       Accordingly, by notice dated June 23,
individuals, and most objected to the             Rule was never implemented on a              1993 (58 FR 34024), the Department
proposed revocation of the Gag Rule on            nationwide basis, so that its proponents     made available on request a summary of
the ground that abortion is wrong or that         can point to no evidence that it can and     the policies and interpretations in
tax dollars should not be used to                 will work operationally on a national        existence prior to 1988. The June notice
provide abortion services of any kind.            basis in the Title X program. The            also extended the public comment
Several comments also objected that the           policies reflected in, and interpretations   period for 45 days, to permit further
Secretary had not rational basis for              reinstituted in conjunction with, the        substantive comment on the prior
revoking the Gag Rule, as it had never            regulations below, on the other hand,        policies and interpretations. Over a
gone into operation. For example, a               have been used by the program for            third of the public comments, including
comment signed by fifteen members of              virtually its entire history; indeed, they   the majority of the comments from
Congress argued that—                             have been in effect during the pendency      individuals, were received during the
                                                  of this rulemaking. Both the program         re-opened and comment period. The
  HHS intends to discard the February 2,          managers and the Title X grantee             Secretary has thus addressed the
1988 regulations in their entirety * * *                                                       concern about notice of the content of
regardless of whether any particular portion
                                                  community are well-versed in these
was the subject of court challenge or             policies and interpretations, and the        the policies and interpretations
legislative action. * * * We believe the          grantees have in the past generally been     expressed by these comments.
rejection of the 1988 rule is precipitous and     able to operate in compliance with             As is further discussed below, the
that each portion of the 1988 regulations         them. Further, as evidenced by the           Secretary has incorporated in the
must be reviewed on its merits and                public comment received, the                 regulatory text the policies relating to
justification provided in any final regulations   reinstituted policies and interpretations    nondirective counseling and referral of
as to why the 1988 clarifications were or         are generally acceptable to the grantee      the 1981 Program Guidelines for Project
were not maintained in a new rule.                community, in contrast to the                Grants for Family Planning Services
  With respect to the comments                    compliance standards in the Gag Rule,        (1981 Guidelines). The comments
objecting to the revocation of the Gag            which were generally unacceptable to         urging that these Guidelines
Rule or the use of tax dollars for                the grantee community. This factor           requirements be reflected in the
abortion on moral grounds, the                    likewise favors their adoption, as it        regulations have thus been accepted.
Secretary notes that, under the                   suggests a far greater likelihood of         With respect to the longstanding
interpretations adopted in conjunction            voluntary compliance by grantees.            program interpretations, however, the
with the regulations below, the funding           Finally, the suggestion that the Gag Rule    Secretary does not agree that the
of abortion or activities that promote or         provisions should be accepted or             Department is required to set out those




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interpretations in the regulations              Comp. Gen. Rep. No GAO/HARD–HRD–             the better reading of the statutory
promulgated below and accordingly, has          82–106 (1982), at 14–15. The Secretary       language. Rather, the legislative history
not accepted the comments suggesting            is addressing this recommendation            of section 1008 indicates that that
that it do so. As noted above, the              through the specific guidance in the         section was intended to restrict the
interpretations themselves were                 notice published elsewhere in this           permissible scope of abortion-related
developed in the classic way in which           edition of the Federal Register and          services provided under Title X. Conf.
statutory interpretations are done: That        believe that the notice will provide         Rep. No. 1667, 97th Cong., 2d Sess. 8–
is, they have generally been developed          grantees with sufficient guidance to         9 (1970). The floor statements by the
in legal opinions written to answer             reduce or eliminate potential variations     section’s principal sponsor, Rep.
questions about how the statutory               in grantee practice.                         Dingell, indicated that the section’s
prohibition, as initially interpreted by           The Secretary views this final rule,      restrictions on the ‘‘use’’ of Title X
the Department, applied to particular           the principal purposes of which are to       funds should be read as having a
situations. This is not an unusual              revoke the Gag Rule and adopt the            broader scope that is urged by these
approach within the program as a                counseling and referral requirements         comments:
whole: Interpretive guidance has been           noted, as separate and severable from
                                                                                                Mr. Speaker, I support the legislation
provided on a number of issues (e.g., fee       the Notice. The interpretations set out in   before this body. I set forth in my extended
schedules, use of certain methods) over         the Notice are being set out in order to     remarks the reasons why I offered to the
the years, as particular questions have         clarify the Department’s view of the         amendment which prohibited abortion as a
arisen in the course of the program.            statute and its operation in practical       method of family planning * * *. With the
While the program could incorporate             terms, and because so much of the            ‘‘prohibition of abortion’’ the committee
those interpretations in the legislative        public comment received was directed         members clearly intended that abortion is not
                                                at the interpretations reflected in the      to be encouraged or promoted in any way
rules below, the Secretary has decided                                                       through this legislation. Programs which
not to do so. With respect to the areas         Notice rather than at the revision of the
                                                regulation itself. Were the policies set     include abortion as a method of family
that continue to be covered by guidance,                                                     planning are not eligible for funds allocated
the Secretary believes that incorporating       forth in the Notice to be challenged or      through this Act.
the guidance into the regulations below         invalidated, it is our view that the Title
                                                X program could still be administered        116 Cong. Rec. 37375 (1970). The
would be inadvisable and unnecessary.                                                        Department has consistently, since
The Secretary has thus chosen to                under the rules below in compliance
                                                with the statute, in that grantees would     1972, read section 1008 as incorporating
preserve the program’s flexibility to                                                        this legislation on activities that
address new issues that may arise in            be prohibited by § 59.5(a)(5) below from
                                                providing abortions as part of the Title     ‘‘promote or encourage’’ abortion as a
this area.                                                                                   method of family planning. This
   Moreover, the Title X program                X family project and from engaging in
                                                counseling and referral practices            interpretation is well-known to
grantees have operated on the basis of
                                                inconsistent with the regulatory             Congress, which has not, to date
the policies of the 1981 Guidelines and
                                                requirements adopted in that section.        amended section 1008. Thus, there is
the interpretations summarized in the
                                                Such an outcome would be consistent          legal support for this longstanding
notice published elsewhere in this issue
                                                with a permissible interpretation of the     interpretation of the statute. Moreover,
of the Federal Register for virtually the
                                                statute.                                     there is nothing in the rulemaking
entire history of the program and in
                                                                                             record that suggests that this
general compliance with them. As the            C. Amend, or Adopt a More Restrictive
                                                                                             fundamental reading of the statute, as it
comment of one State agency grantee             Reading of, the Statute
stated with regard to this issue:                                                            was administered before the Gag Rule,
                                                   Fifteen of the comments that stated       presented major operational problems
  The [State] Family Planning Program has       support for the proposed policies and        for Title X projects. Accordingly, the
been a participant in the nation’s Title X      interpretations suggested, however, that     Secretary has not accepted the
program since the early 1970’s. The rules and   the prior limitations in the policies and
1981 Family Planning Guidelines in place                                                     suggestions made by this group of
                                                interpretations with respect to what         comments that section 1008 be read
prior to the ‘‘Gag Rule’’ were adequate
guidance to the state for program operation     abortion-related activities a Title X        only to prohibit the provision of, or
and for compliance with the statutory           project could engage in be eliminated. A     payment for, abortions.
prohibition related to abortions. These         few of these comments suggested that
guidelines and directives have been used        the statutory prohibition of section 1008    D. Abortion Information and Counseling
successfully for many years in providing        be repealed outright. Most of the              The Gag Rule prohibited the provision
quality medical care, education and             comments suggested in essence that the       of information other than information
counseling to clients in the program.           statute be read strictly to prohibit only    directed at protecting maternal and fetal
The audits of 14 Title X grantees               the use of funds for abortions, thereby      health to women determined to be
conducted by the GAO and of 31 Title            permitting Title X projects to engage in     pregnant; thus, it prohibited what is
X grantees conducted by the                     a number of abortion-related activities      generally known as ‘‘options
Department’s Office of the Inspector            that would not be permitted under the        counseling’’, i.e., the provision to
General in the 1980’s showed only               pre-1988 interpretations.                    pregnant women in a nondirective
minor compliance problems. Indeed, the             With respect to the suggestion that       fashion of neutral, factual information
principal recommendation of both audit          section 1008 be repealed, such an action     about all options for the management of
reports was that the Department provide         is obviously outside the scope of what       a pregnancy, including abortion. See, 42
more specific guidance to its grantees          can be accomplished through                  CFR 59.8 (1989 ed.). The pre-1988
than that previously available in the           rulemaking and thus cannot be accepted       policies, in contrast, required options
program guidelines and prior legal              in this context. With respect to the         counseling, if requested. As stated in the
opinions, not that the Department               remaining comments, while the                1981 ‘‘Title X Guidelines’’:
undertake major disallowances, require          Secretary agrees that the statute could        Pregnant women should be offered
major corrective actions, or develop new        on its face be read only to proscribe the    information and counseling regarding their
interpretations of the law such as that         use of Title X funds for the provisions      pregnancies. Those requesting information
embodied in the Gag Rule. See, e.g.,            of abortion, this is not considered to be    on options for the management of an




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unintended pregnancy are to be given non-     must be provided to patients facing an      longstanding program practice and
directive counseling on the following         unwanted pregnancy upon request.            sound public health policy (see the
alternative courses of action, and referral   Congress has also repeatedly indicated      discussion in the following paragraphs)
upon requests:
   • Prenatal care and delivery               that it considers this requirement to be    and to avoid ambiguity in when the
   • Infant care, foster care, or adoption    an important one: the program’s four        offer of pregnancy options counseling
   • Pregnancy termination.                   most recent appropriations, Pub. L. 104–    must be made, the rule has been
                                              208 (110 Stat. 300–243), Pub. L. 105–78     clarified to require the offer of
The June, 1993 summary of the pre-1988                                                    pregnancy options counseling to be
                                              (111 Stat. 1478), Pub. L. 105–277 (112
interpretations also stated that Title X                                                  made whenever a pregnant client
                                              Stat. 2681), and Pub. L. 106–113 (113
projects were not permitted to provide                                                    presents, not just when the pregnancy is
                                              Stat. 1501–225), required that pregnancy
options counseling that promoted                                                          ‘‘unintended.’’
abortion or encouraged patients to            counseling in the Title X program be
                                              ‘‘nondirective.’’ Consequently, the            With respect to the suggestion that
obtain abortion, but could advise                                                         counseling on ‘‘keeping the baby’’ be
patients of all medical options and           Secretary has decided to reflect this
                                              fundamental program policy in the           provided, the Secretary views that
accompanying risks.                                                                       suggestion as co-extensive with the
   Most of those comments supporting          regulatory text. See, § 59.5(a)(5) below.
                                              The interpretive summary has also been      requirement for the provision of
adoption of the proposed rules appeared                                                   counseling on prenatal care and
to agree with the pre-1988 policies and       revised to reflect this change to the
                                              regulation. However, in response to the     delivery, as the remaining counseling
interpretations. However, there                                                           option set out in the 1981 ‘‘Title X
appeared to be some confusion among           apparent confusion as to the amount of
                                              counseling permitted to be provided         Guidelines’’ and the regulatory language
those who agreed with the pre-1988                                                        adopted below relates to foster care and
requirement for options counseling as to      under the pre-1988 interpretations, the
                                              interpretive summary clarifies that Title   adoption. If a more directive form of
how much information and counseling                                                       counseling is meant by this suggestion,
could be provided. Several of these           X grantees are not restricted as to the
                                              completeness of the factual information     it is rejected as inconsistent with the
comments also suggested that the ‘‘on                                                     underlying interpretation, recently
request’’ limitation be deleted,              they may provide relating to all options,
                                                                                          reinforced by Congress, that counseling
particularly where State law requires         including the option of pregnancy
                                                                                          on pregnancy options should be
the provision of information about            termination. It should be noted, though,
                                                                                          nondirective.
abortion to women considering that            that the previous restriction as to the        Finally, the Secretary rejects the
option.                                       ‘‘type’’ of information that may be         suggestion that an exception to the
   Several comments opposing adoption         provided about abortion continues:          requirement for options counseling be
of the proposed rules and revocation of       Information and counseling provided by      carved out for those organizations that
the Gag Rule also specifically addressed      Title X projects on all options for         object to providing such counseling on
the issue of counseling. Several of these     pregnancy management, including             religious or moral grounds. First, totally
comments suggested that counseling on         pregnancy termination, must be              omitting information on a legal option
‘‘all options’’ include the option of         nondirective. Thus, grantees may            or removing an option from the client’s
keeping the baby, and two comments            provide as much factual, neutral            consideration necessarily steers her
suggested that the rules should contain       information about any option, including     toward the options presented and is a
an exception for grantees or individuals      abortion, as they consider warranted by     directive form of counseling. Second,
who object to providing such                  the circumstances, but may not steer or     the Secretary is unaware of any current
information and counseling on moral           direct clients toward selecting any         grantees that object to the requirement
grounds.                                      option, including abortion, in providing    for nondirective options counseling, so
   A number of comments argued that           options counseling.                         this suggestion appears to be based on
the regulatory text should reflect the           The Secretary is retaining the ‘‘on      more of a hypothetical than an actual
requirement for nondirective counseling       request’’ policy in the regulatory          concern. Third, the requirement for
and referral. These comments                  language adopted below, on the ground       nondirective options counseling has
recommended that the final regulations        that it properly implements the             existed in the Title X program for many
include specific language providing for       requirement for nondirective                years, and, with the exception of the
options counseling as a necessary             counseling. If projects were to counsel     period 1988–1992, it has always been
component of quality reproductive             on an option even where a client            considered to be a necessary and basic
health care services. Some cited medical      indicated that she did not want to          health service of Title X projects.
ethics and good medical care as               consider that option, there would be a      Indeed, pregnancy testing is a common
requiring that patients receive full and      real question as to whether the             and frequent reason for women coming
complete information to enable them to        counseling was truly nondirective or        to visit a Title X clinic: in 1995, an
make informed decisions. For example,         whether the client was being steered to     estimated 1.1 million women obtained
a leading medical organization                choose a particular option. We note that    pregnancy tests in Title X clinics.
commented that all women, regardless          under the ‘‘on request’’ policy a Title X   (National Survey of Family Growth,
of their income level, have a right to full   grantee is not prohibited from offering     1995 cycle, special table.) Clearly, a
and accurate information about all            to a pregnant client information and        significant number of Title X clients
options for managing an unwanted              counseling on all options for pregnancy     have a need for information and
pregnancy. The organization pointed           management, including pregnancy             counseling relating to pregnancy.
out that it is essential that the program     termination; indeed, such an offer is       Fourth, this policy is also consistent
regulations contain specific language         required under § 59.5(a)(5) below.          with the prevailing medical standards
about the counseling and referral             However, if the client indicates that she   recommended by national medical
requirements, and recommended the             does not want information and               groups such as the American College of
incorporation of sections of the 1981         counseling on any particular option,        Obstetricians and Gynecologists and the
Title X program guidelines into the           that decision must be respected. The        American Medical Association.
regulations so as to be absolutely clear      regulatory language below reflects this     ‘‘Guidelines for Women’s Health Care,’’
that pregnancy counseling and referral        policy. Also, consistent with               American College of Obstetricians and




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Gynecologists, 1996 ed., at 65;             Most of these comments suggested that         context, when no similar restriction
‘‘Pregnancy Choices: Raising the Baby,      the content limitations on referrals be       applies in the counseling context.
Adoption, and Abortion,’’ American          broadened, with Title X grantees being        Accordingly, the Secretary has revised
College of Obstetricians and                permitted to provide other relevant           the interpretations summarized in the
Gynecologists, September, 1993,             information, such as comparative              notice section to clarify that grantees are
reviewed December, 1995; ‘‘Code of          charges, stage of pregnancy up to which       not restricted from providing neutral,
Medical Ethics: Current Opinions with       referral providers may under State law        factual information about abortion
Annotations,’’ American Medical             or will provide abortion, the number of       providers in the course of providing an
Association, 199–1997 ed. Accordingly,      weeks of estimated gestation, etc. These      abortion referral, when one is requested
the Secretary has not accepted this         comments argued that the provision of         by a pregnant Title X client.
suggestion.                                 such factual information does not                Consistent with the incorporation of
   The corollary suggestion, that the       ‘‘promote or encourage’’ abortion any         the requirement for nondirective
requirement to provide options              more than does the provision of the           counseling in the regulations, the
counseling should not apply to              abortion providers’ names and                 regulations below also include the
employees of a grantee who object to        addresses and/or telephone numbers.           remaining requirement from the 1981
providing such counseling on moral or       One comment also suggested that the           Guidelines, the requirement to provide
religious grounds, is likewise rejected.    restriction on negotiating fees for clients   a referral, if requested by the client. As
In addition to the foregoing                referred for abortion conflicts with the      referenced previously, a number of
considerations, such a requirement is       requirement to refer for abortion where       comments argued that the regulatory
not necessary: under 42 U.S.C. 300a–        medically indicated.                          text should reflect the requirement for
7(d), grantees may not require                 Several comments opposing                  nondirective counseling and referral.
individual employees who have such          revocation of the Gag Rule also               One comment described the provision
objections to provide such counseling.      expressed problems with the proposed          of factual information and referral as
However, in such cases the grantees         referral policies and interpretations. A      requested as both a necessary and
must make other arrangements to ensure      few comments urged that referrals to          significant component of the Title X
that the service is available to Title X    agencies that can assist clients who          program for many years. Another
clients who desire it.                      choose the ‘‘keeping the baby’’ or            comment pointed out that the program
                                            adoption options should be required.          guideline requirements regarding
E. Referral for abortion
                                            Another comment criticized the                pregnancy options counseling and
   The Gag Rule specifically prohibited     requirement for referral where                referral have been used for many years,
referral for abortion as a method of        ‘‘medically indicated’’ as confusing.         are well understood and accepted in the
family planning and required grantees       Revisions suggested were that ‘‘self-         Title X provider community, and should
to give women determined to be              referrals’’ for abortion be specifically      be required services in Title X family
pregnant a list of providers of prenatal    prohibited, to reduce commercialization       planning clinics. Since the services
care, which list could not include          and profiteering by Title X grantees who      about which pregnancy options
providers ‘‘whose principal business is     are also abortion providers and that          counseling is provided are not ones
the provision of abortion.’’ 42 CFR         grantees who objected to abortion on          which a Title X project typically
59.8(a) (1989 ed.). The Gag Rule            moral or religious grounds be permitted       provides, the provision of a referral is
permitted referral to an abortion           not to make abortion referrals.               the logical and appropriate outcome of
provider only where there was a                The Secretary agrees with the              the counseling process.
medical emergency. 42 CFR 59.8(a)(2)        comments advocating expanding the                The Secretary is not accepting the
(1989 ed.). By contrast, the 1981           content of what information may be            remainder of the comments on this
Guidelines required appropriate referral    provided in the course of an abortion         issue, as they either proceed from a
on request, while the pre-1988              referral. The content (as opposed to          misunderstanding of, or do not raise
interpretations permitted Title X           action) restrictions of the ‘‘mere            valid objections to, the regulations and
projects to make what was known as a        referral’’ policy proceeded from an           the proposed policies and
‘‘mere referral’’ for abortion; a ‘‘mere    assumption that the provision of              interpretations. The comment arguing
referral’’ was considered to be the         information other than the name and           that the restriction on negotiating fees
provision to the client of the name and     address and/or telephone number of an         conflicts with the requirement to refer
address and/or telephone number of an       abortion provider might encourage or          for abortion where medically indicated
abortion provider. Affirmative actions,     promote abortion as a method of family        is based on a misunderstanding of that
such as obtaining a consent for the         planning. The Secretary now agrees,           requirement: in such circumstances, the
abortion, arranging for transportation,     based on experience and the comments          referral is not for abortion ‘‘as a method
negotiating a reduction in the fee for an   of several providers on this point, that      of family planning’’ (i.e., to determine
abortion or arranging for or scheduling     the provision of the types of additional      the number and/or space of one’s
the procedure, were considered to be        neutral, factual information about            children) but is rather for the treatment
prohibited by section 1008. The pre-        particular providers described above is       of a medical condition; thus, the
1988 rules (§ 59.5(b)(1)) were              likely to do little, if anything, to          statutory prohibition does not apply, so
interpreted by the agency to require        encourage or promote the selection of         there is no restriction on negotiating
referral for abortion where medically       abortion as a method of family planning       fees and similar actions. The suggestion
indicated. See, Valley Family Planning      over and above the provision of the           that referrals to agencies that can assist
v. State of North Dakota, 489 F.Supp.       information previously considered             clients who choose the options of
238 (D.N.D. 1980), aff’d., 661 F.2d 99      permissible; at most, such information        ‘‘keeping the baby’’ or adoption be
(8th Cir. 1981).                            would seem likely to assist clients in        required is likewise rejected as
   A number of comments, mostly from        making a rational selection among             unnecessary. Under the regulatory
individuals and organizations               abortion providers, if abortion is being      language adopted below, the options of
supporting revocation of the Gag Rule,      considered. Moreover, it does not seem        prenatal care and delivery and adoption
suggested modifications of the proposed     rational to restrict the provision of         are options that are required to be part
referral policies and interpretations.      factual information in the referral           of the options counseling process, so an




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appropriate referral for one or the other     CFR 59.9 (1989 ed.). This determination      is unnecessary, as it is not required by
option would be required, if the client       was to be based on a case-by-case            the statute which, on its face, requires
chose one of those options and                review of facts and circumstances.           financial separation only. Further, it
requested a referral. However, requiring      Factors relevant to this determination       was argued that since Title X grantees
a referral for prenatal care and delivery     included, but were not limited to, the       are subject to rigorous financial audits,
or adoption where the client rejected         existence of separate accounting             it can be determined whether program
those options would seem coercive and         records, the degree of separation from       funds have been spent on permissible
inconsistent with the concerns                facilities (such as treatment,               family planning services, without
underlying the ‘‘nondirective’’               consultation, examination, and waiting       additional requirements being
counseling requirement. The Secretary         room) in which prohibited activities         necessary. With respect to the issue of
also rejects the criticism that the           occurred and the extent of such              cost, it was generally objected that
provision requiring referral for abortion     prohibited activities, the existence of      requiring separation of staff and
where medically indicated is undefined        separate personnel, and the extent of the    facilities would be inefficient and cost
and confusing. The meaning of the             presence of evidence of identification of    ineffective. For example, one comment
regulatory requirement for referrals          the Title X project and the absence of       argued that—
where medically indicated (which              identification of material promoting
                                                                                              The wastefulness and inefficiency of the
applies to all medical services not           abortion. Id.                                separation requirements is * * * illustrated
provided by the project, not just                The pre-1988 interpretations required     by the policy which allows common waiting
abortion services) has not in the past        Title X grantees to maintain physical        rooms, but disallows ‘‘impermissible
been a source of confusion for                and financial separation between the         materials’’ in them. This puts grantees in the
providers, and the Secretary believes         Title X project and any abortion-related     position of having to continuously monitor
that Title X medical personnel are able       activities they conducted, in that a Title   health information for undefined
to make the medical judgments this            X grantee was required to ensure that        ‘‘permissibility’’ or to build a separate
requirement calls for.                        the Title X-supported project was            waiting room just to be able to utilize those
   The Secretary likewise rejects the         separate and distinguishable from those      materials * * *.
suggestion that ‘‘self-referrals’’ for        activities. This requirement was held to     It was argued that these concerns were
abortion be banned. Very few current          go beyond a requirement for the              particularly important for small and
Title X providers are also abortion           technical allocation of funds between        rural clinics ‘‘that may be the only
providers: it is estimated that, over the     Title X project activities and               accessible Title X family planning and/
past decade, the percentage of Title X        impermissible abortion activities.           or abortion providers for a large
providers located with or near abortion       However, it was considered permissible       population of low-income women.’’ Of
providers has been at or below five           for a hospital grantee to provide            particular concern for such clinics was
percent, with approximately half of           abortions, as long as ‘‘sufficient           the duplication of costs inherent in the
these providers consisting of hospitals.      separation’’ was maintained, and             separation requirements, as they—
Thus, the issue this comment raises is        common waiting rooms were also
irrelevant to the vast majority of Title X    permissible, as long as no impermissible     cannot afford to operate separate facilities or
grantees and the program as a whole.          materials were present. Common staff         to employ separate staff for these services
                                                                                           without substantially increasing the prices of
Moreover, with respect to those few           and unitary filing systems were also         * * * services. Nor can they offer different
grantees that are also abortion providers,    permissible, so long as costs were           services on different days of the week
some may be the only or one of only a         properly allocated and, with respect to      because so many of their patients * * * are
few abortion providers in their service       staff members, their abortion-relation       only able to travel to the clinic on one day.
area, making ‘‘self-referrals’’ a necessity   activities were performed in a program
in such situations. The Department has        that was itself separate from the Title X    Many providers also pointed out that
no evidence that commercialization and        project. The test, as articulated in the     requiring complete physical separation
profiteering are occurring in these           summary made available for comment           of services would be inconsistent with
circumstances; absent such evidence,          by the June 23, 1993 notice, was             public health principles, which
the Secretary sees no reason to limit or      ‘‘whether the abortion element in a          recommend integrated health care, and
cut off a legal service option for those      program of family planning services          would impact negatively on continuity
Title X clients who freely select it.         bulks so large and is so intimately          of care. As one comment stated,
However, the Department will continue         related to all aspects of the program as     ‘‘women’s reproductive health needs are
to monitor the issue of self-referrals in     to make it difficult or impossible to        not artificially separated between
the Title X program, to forestall the type    separate the eligible and non-eligible       services: a woman who needs an
of problem suggested by these                 items of cost.’’                             abortion may also need contraceptive
commenters.                                      These interpretations received by far     services, and may at another time
   Finally, the Secretary rejects the         the most specific and extensive public       require parental care.’’ Several providers
suggestion that the referral requirement      comment. The vast majority of this           objected in particular that such a
not apply to providers that object to it      public comment was from providers and        separation would, in the words of one
on moral or religious grounds for the         provider organizations and was               comment, ‘‘remove * * * one of the
same reasons it objected to the same          negative. Although it was generally          most opportune time[s] to facilitate the
suggestion with respect to counseling.        agreed that the financial separation of      entry of the abortion patent into family
                                              Title X project activities from abortion-    planning counseling, which is at the post-
F. Physical and Financial Separation          related activities was required by statute   abortion check-up.’’ it was also pointed
   The Gag Rule required Title X projects     and, in the words of one comment,            out that separation of services would
to be organized so as to have a physical      ‘‘absolutely necessary,’’ many of these      burden women, by making them ‘‘make
and financial separation from prohibited      comments objected that requiring             multiple appointments or trips to visit
abortion activities, determined by            additional types of separation would be      different staff or facilities.’’ Finally, the
whether there was ‘‘objective integrity       unnecessary, costly, and medically           separation policy was objected to by
and independence [of the Title X              unwise. The argument was made that           several of the comments that otherwise
project] from prohibited activities.’’ 42     the requirement for physical separation      generally supported the proposed rule




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as unnecessarily broad, ambiguous, and        rulemaking to the less concrete ‘‘facts       Federal Register are revised
vague.                                        and circumstances’’ standard ultimately       accordingly. This decision makes it
   Several of the comments opposing the       adopted in the final Gag Rule as a result     unnecessary to respond to the remaining
revocation of the Gag Rule and the            of the public comment suggests the            comments on the issue.
adoption of the proposed rules likewise       practical difficulties of line-drawing in
objected specifically to the separation                                                     G. Advocacy Restrictions
                                              this area. In fact, since the Gag Rule was
requirements, generally on the ground         never implemented on a national basis,           The Gag Rule, at 42 CFR 59.10 (1989
that the pre-1988 policies were vague         the precise contours of the compliance        ed.), prohibited Title X projects from
and unenforceable. Two comments also          standards of § 59.9 were never                encouraging, promoting, or advocating
argued that, if the pre-1988 requirement      determined. The Secretary has                 abortion as a method of family planning.
of physical separation was to be              accordingly not accepted the suggestion       This section prohibited Title X projects
reinstituted, it made no sense to revoke      from several opponents of the proposed        from engaging in actions to ‘‘assist
§ 59.9 of the Gag Rule in its entirety, as    rule that the policies of § 59.9 be           women to obtain abortions or increase
that section of the Gag Rule contained        retained.                                     the availability or accessibility of
specific standards to implement this                                                        abortion for family planning purposes,’’
                                                 As noted by many of the comments
requirement; alternatively, it was argued                                                   including actions such as lobbying for
                                              from groups that generally supported
that if the Secretary is going to use                                                       the passage of legislation to increase the
                                              the revocation of the Gag Rule, the           availability of abortion as a method of
different standards to determine
                                              statute does not on its face require          family planning, providing speakers to
whether the requisite physical
                                              physical separation; rather, by its terms     promote the use of abortion as a method
separation existed, those should be
                                              it is addressed to the use of ‘‘funds.’’      of family planning, paying dues to any
published for public comment.
   The Secretary agrees that the              While the interpretation of the statute       group that as a significant part of its
comments on both sides of this issue          by agency counsel on which the                activities advocated abortion as a
have identified substantial concerns          requirement for physical separation is        method of family planning, using legal
with the pre-1988 interpretations with        based was reasonable, it is not the only      action to make abortion available as a
respect to the issue of how much              possible reading of the statute. Rather,      method of family planning, and
physical separation should be required        the fundamental question under the            developing or disseminating materials
between a grantee’s Title X project           statute is, as the agency sees it, whether    advocating abortion as a method of
activities and abortion-related activities.   Title X funds are used by Title X             family planning. The pre-1988
The Secretary agrees with the comments        grantees to promote or encourage              interpretations likewise prohibited the
that the pre-1988 interpretation that         abortions as a method of family               promotion or encouragement of abortion
some physical separation was required         planning in the Title X-assisted project.     as a method of family planning through
was unenforceable. Indeed, since the pre-     The Department has traditionally              advocacy activities such as providing
1988 interpretations had held that itwas      viewed a grant project as consisting of       speakers, bringing legal action to
permissible to provide abortions on a         an identified set of activities supported     liberalize statutes relating to abortion,
Title X clinic site and to have common        in whole or in part by grant funds. If a      and producing and/or showing films
waiting areas, records, and staff (subject    Title X grantee can demonstrate by its        that tend to encourage or promote
largely to proper allocation of costs), it    financial records, counseling and             abortion as a method of family planning.
was difficult to tell just what degree and    service protocols, administrative             However, under those prior
kind of physical separation were              procedures, and other means that—             interpretations, it was considered
prohibited. As a consequence, the             within the identified set of Title X-         permissible for Title X grantees to be
agency attempted to enforce this              supported activities—promotion or             dues-paying members of abortion
requirement on only a few occasions           encouragement of abortion as a method         advocacy groups, so long as there were
prior to 1988. The Secretary does not         of family planning does not occur, then       other legitimate program-related reasons
agree with opponents of the proposed          it is hard to see what additional             for the affiliation.
rules, however, who argued that the           statutory protection is afforded by the          Very few comments were received
‘‘physical separation’’ requirements in       imposition of a requirement for               concerning these proposed
§ 59.9 of the Gag Rule should be              ‘‘physical’’ separation. Indeed, in the       interpretations. Those received from
retained on the ground that they provide      light of the enforcement history noted        persons and entities that generally
a necessary clarification of this issue.      above, it is not unreasonable to say that     supported the proposed rules generally
Although § 59.9 provided ostensibly           the standard of ‘‘physical’’ separation       argued against the restriction on
more specific standards, the                  has, as a practical matter, had little        showing films advocating abortion, on
fundamental measure of compliance             relevance or applicability in the Title X     the ground that it was possible to violate
under that section remained ambiguous:        program to date. Moreover, the practical      this restriction by showing a film that
‘‘the degree of separation from facilities    difficulty of drawing lines in this area,     was purely factual and detailed relative
[in which prohibited activities occurred]     both as experienced prior to 1988 and         risks. The few comments on this part of
and the extent of such prohibited             as evident in the history of the Gag Rule     the policies and interpretations received
activities,’’ and ‘‘[t]he extent to which’’   itself, suggests that this legal              from those who generally opposed
certain materials were present or absent.     interpretation is not likely ever to result   revoking the Gag Rule pointed out the
Furthermore, since under § 59.9               in an enforceable compliance policy           similarity between the advocacy
compliance was to be determined on a          that is consistent with the efficient and     policies articulated in the proposed
‘‘facts and circumstances’’ basis, this       cost-effective delivery of family             interpretations and § 59.10 of the Gag
section of the Gag Rule provided              planning services. Accordingly, the           Rule and argued that § 59.10 should
grantees with less specific advance           Secretary has accepted the suggestion of      accordingly be reinstated.
notice of the compliance standards than       a number of the comments that the                As set out above, the Secretary is of
did the pre-1988 policies and                 requirement for physical separation be        the view the Gag Rule cannot and
interpretations. Moreover, the change in      dropped; the interpretations                  should not be adopted piecemeal, as
policy from the more concrete policies        summarized in the notice published in         recommended by these comments.
proposed during the Gag Rule                  the notices section of this edition of the    Moreover, the Secretary is of the view




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that the prohibition against dues paying     3. Separation of Powers                         reason set out above with respect to
contained in § 59.10 is not required by         Two comments, including one from             § 59.2 (definition of ‘‘low income
the statute and does not represent sound     four members of Congress, argued that           family’’).
public policy. Accordingly, the              the suspension of the Gag Rule violated            4. § 59.9: The reference to ‘‘Subpart
suggestion that § 59.10 be reinstated has                                                    Q’’ of 45 CFR Part 74 has been deleted,
                                             the separation of powers insofar as it
not been adopted. With respect to the                                                        as that subpart has been revoked. A
                                             misspent federal tax dollars without
criticism of the prohibition against Title                                                   reference to 45 CFR Part 92 has been
                                             amendment to the statute or compliance
X grantees showing films advocating                                                          added, to reflect the requirements at that
                                             with the APA. The Secretary disagrees
abortion as a method of family planning,                                                     part that apply by their terms of State
                                             that suspension of the Gag Rule violated
                                                                                             and local governments.
it is recognized that the prohibition        either the statute or the APA. The Gag             5. § 59.10: The references to 42 CFR
should not encompass the kind of             Rule was, in the Secretary’s view, a            Part 122 and 45 CFR Part 19 have been
neutral, factual information that            permissible interpretation of the statute,      deleted, as those parts have been
grantees are permitted to provide in the     but not the only permissible                    revoked. A reference to 37 CFR Part 401,
counseling context; the interpretations      interpretation of the statute; thus,            which applies by its terms, has been
have been clarified accordingly. To the      suspension of those rules (and                  added, reflecting a change in the law.
extent that these comments seek to           reinstitution of the Department’s               The description of 45 CFR Part 74 has
further liberalize the advocacy              longstanding policies and                       been changed, to reflect accurately the
restrictions, however, they are rejected     interpretations of the statute) is not          current title of that part. A reference to
as inconsistent with the Secretary’s         inconsistent with the statute. Nor was          45 CFR Part 92 has been added, to
basic interpretation of section 1008.        the suspension action inconsistent with         reflect the requirements at that part that
                                             the APA, as the findings which the APA          apply by their terms to State and local
H. Miscellaneous                             requires be made in such circumstances          governments.
  A number of comments were received         were made. Finally, the Secretary notes            6. § 59.11: The word ‘‘documented’’
on miscellaneous issues. Those               that this issues is now moot, with the          has been inserted before the word
                                             publication of the regulations below.           ‘‘consent’’ in this section to clarify what
comments, and the Secretary’s
responses thereto, are summarized            I. Technical Amendments                         was implicit in this section, that the
below.                                                                                       consent for disclosure must be
                                               Because the proposed rules proposed           documented by the project.
1. Changes outside the scope of the          the reissuance of the program                      7. § 59.12 (proposed): The proposed
rulemaking                                   regulations that were issued in 1980, it        section (which was the prior section
                                             was recognized that—                            relating to inventions and discoveries)
   Several comments were received            some of the other regulations cross-            has been deleted, as it has been
advocating changes to other sections of      referenced in the rules below may no longer     superseded by the government-wide
the regulations on issues other than the     be operative or citations may need to be        regulations at 37 CFR Part 401, a
issue of compliance with section 1008.       updated. However, such housekeeping
                                                                                             reference to which has been added to
These comments included the following        details will be addressed in the final rules.
                                                                                             § 59.10. This change has also occasioned
suggestions: that the regulations be         58 FR 7464. Further review of the               the renumbering of the proposed
revised to permit natural family             proposed regulations has established            § 59.13.
planning providers to be Title X             that this is indeed the case.                      The above changes are all technical in
grantees; that the regulations be revised    Accordingly, a number of technical              nature and simply bring the regulations
to prohibit single method providers          amendments have been made to the                issued below into conformity with
from participating in Title X projects;      regulations, to delete obsolete statutory       current law. They are thus essentially
that the footnote in the regulation          or regulatory references or to clarify the      housekeeping in nature, as noted in the
addressing Pub. L. 94–63 be revised to       existing provisions or incorporate new          proposed rules. Accordingly, and for the
state that the law also forbids coercion     regulatory or other references made             reasons set out above, the Secretary
to carry a pregnancy to term; that the       relevant by subsequent changes in the           finds that public comment on these
regulations be revised to deal with          law. A summary of the technical                 changes would be impracticable,
recent medical developments, such as         amendments, and the reasons therefor,           unnecessary, and contrary to the public
HIV or Norplant. All of these                follows:                                        interest and that good cause therefore
suggestions are rejected on the ground          1. § 59.2 (definition of ‘‘low income        exists for omitting public comment
that they exceed the scope of the            family’’): The reference to ‘‘Community         thereon.
rulemaking because these issues were         Services Administration Income Poverty
                                                                                             III. Effective Date
not the subject of the Notice of Proposed    Guidelines (45 CFR 1060.2)’’ is changed
                                             to ‘‘Poverty Guidelines issued pursuant            These regulations are adopted
Rulemaking.
                                             to 42 U.S.C. 9902(2).’’ This change             effective upon publication, as they meet
2. Audit standards                           reflects a change in the law, effected by       the conditions for exception from the
                                             Pub. L. 97–35, § 673.                           requirement for a 30-day delay in
   Several providers urged that the OMB         2. § 59.2 (definition of ‘‘State’’): The     effective date under 5 U.S.C. 553(d).
audit standards for Title X projects be      definition of this term is changed to           First, by revoking the Gag Rule, the
revised to reflect the change in the         reflect statutory changes regarding the         regulations below relieve the
regulations. While this comment is           Trust Territories of the Pacific Islands        restrictions imposed on grantees’
likewise outside the scope of the            effected by Pub. L. 99–239 (relating to         conduct of their Title X projects by the
rulemaking, the Department intends to        the Federated States of Micronesia, the         Gag Rule. Second, the policies adopted
work with the Office of Management           Marshall Islands, and the Republic of           in the regulations below and the
and Budget to revise the program audit       Palau).                                         interpretations adopted in conjunction
standards to reflect the regulations            3. § 59.5(a)(8): The reference to the        with them are already largely in effect,
below and the policies and                   ‘‘CSA Income Poverty Guidelines’’ is            by virtue of the suspension of the Gag
interpretations also being reinstituted.     changed, consistent with and for the            Rule and the reinstitution of the pre-




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1988 policies and interpretations               Dated: June 28, 2000.                      Poverty Guidelines issued pursuant to
effected by the interim rules of February     David Satcher,                               42 U.S.C. 9902(2). ‘‘Low-income family’’
5, 1993. To the extent this status quo is     Assistant Secretary for Health and Surgeon   also includes members of families
changed by the revision of the policies       General.                                     whose annual family income exceeds
and interpretations in question, the            Approved: June 28, 2000.                   this amount, but who, as determined by
effect of those revisions is to clarify and   Donna E. Shalala,                            the project director, are unable, for good
simplify certain of the present               Secretary.                                   reasons, to pay for family planning
restrictions, which should make                                                            services. For example, unemancipated
complying with the policies and               PART 59—GRANTS FOR FAMILY                    minors who wish to receive services on
interpretations easier for grantees than      PLANNING                                     a confidential basis must be considered
is presently the case. Thus, no useful                                                     on the basis of their own resources.
                                                For the reasons set out in the               Nonprofit, as applied to any private
purpose would be served by delaying
                                              preamble, subpart A of part 59 of title      agency, institution, or organization,
the effective date of these regulations,
                                              42, Code of Federal Regulations, is          means that no part of the entity’s net
and the Secretary accordingly finds that
                                              hereby revised to read as follows:           earnings benefit, or may lawfully
good cause exists for making them
effective upon publication.                   Subpart A—Project Grants for Family          benefit, any private shareholder or
                                              Planning Services                            individual.
IV. Analysis of Impacts                       Sec.                                           Secretary means the Secretary of
                                              59.1 To what programs do these regulations   Health and Human Services and any
   The Secretary has examined the                                                          other officer or employee of the
                                                   apply?
impacts of the final rule under the           59.2 Definitions.                            Department of Health and Human
Regulatory Flexibility Act (5 U.S.C. 601–     59.3 Who is eligible to apply for a family   Services to whom the authority
612), and certifies that this final rule           planning services grant?                involved has been delegated.
will not have a significant impacton a        59.4 How does one apply for a family           State includes, in addition to the
substantial number of small entities.              planning services grant?
                                                                                           several States, the District of Columbia,
                                              59.5 What requirements must be met by a
   Section 202 of the Unfunded                     family planning project?                Guam, the Commonwealth of Puerto
Mandates Reform Act (the Act) requires        59.6 What procedures apply to assure the     Rico, the Northern Mariana Islands, the
that agencies prepare an assessment of             suitability of informational and        U.S. Virgin Islands, American Samoa,
anticipated costs and benefits before              educational material?                   the U.S. Outlaying Islands (Midway,
proposing any rule that may result in an      59.7 What criteria will the Department of    Wage, et al.), the Marshall Islands, the
expenditure by State, local, and tribal            Health and Human Services use to        Federated State of Micronesia and the
governments, in the aggregate, or by the           decide which family planning services   Republic of Palau.
private sector, of $100,000,000 (adjusted          projects to fund and in what amount?
                                              59.8 How is a grant awarded?                 § 59.3 Who is eligible to apply for a family
for inflation) in any year. This rule will    59.9 For what purposes may grant funds be    planning services grant?
not result in such an expenditure;                 used?                                     Any public or nonprofit private entity
consequently, it is not covered by            59.10 What other HHS regulations apply to    in a State may apply for a grant under
Section 202 of the Act.                            grants under this subpart?              this subpart.
   Executive Order 13132 requires that a      59.11 Confidentiality.
                                              59.12 Additional conditions.                 § 59.4 How does one apply for a family
Federalism Assessment be prepared in
any cases in which policies have                                                           planning services grant?
                                              Subpart A—Project Grants for Family             (a) Application for a grant under this
significant federalism implications as        Planning Services
defined in the Executive Order. The                                                        subpart shall be made on an authorized
Department does not intend or interpret                                                    form.
                                                Authority: 42 U.S.C. 300a–4.                  (b) An individual authorized to act for
this final rule as imposing additional
costs or burdens on the States. The           § 59.1 To what programs do these             the applicant and to assume on behalf
Department has evaluated the public           regulations apply?                           of the applicant the obligations imposed
comments. Public comments from State            The regulations of this subpart are        by the terms and conditions of the grant,
and local health departments indicate         applicable to the award of grants under      including the regulations of this
support for the Title X policies              section 1001 of the Public Health            subpart, must sign the application.
                                                                                              (c) The application shall contain—
contained in the final rule and the           Service Act (42 U.S.C. 3200) to assist in
                                                                                              (1) A description, satisfactory to the
interpretations to ensure the provision       the establishment and operation of
                                                                                           Secretary, of the project and how it will
of quality medical care and patients’         voluntary family planning projects.
                                                                                           meet the requirements of this subpart;
rights to comprehensive services. In the      These projects shall consist of the             (2) A budget and justification of the
interest of consistent program operation      educational, comprehensive medical,          amount of grant funds requested;
and uniform understanding of the              and social services necessary to aid            (3) A description of the standards and
policy, the final rule codifies what has      individuals to determine freely the          qualifications which will be required for
been longstanding program policy and          number and spacing of their children.        all personnel and for all facilities to be
is consistent with current program                                                         used by the project; and
                                              § 59.2 Definitions.
practice.                                                                                     (4) Such other pertinent information
                                                 As used in this subpart:
   The Office of Management and Budget                                                     as the Secretary may require.
                                                 Act means the Public Health Service
has reviewed this rule pursuant to            Act, as amended.                             § 59.5 What requirements must be met by
Executive Order 12866.                           Family means a social unit composed       a family planning project?
List of Subjects in 42 CFR Part 59.           of one person, or two or more persons          (a) Each project supported under this
                                              living together, as a household.             part must:
  Family planning—birth control; Grant           Low income family means a family            (1) Provide a broad range of
programs—health; Health facilities.           whose total annual income does not           acceptable and effective medically
                                              exceed 100 percent of the most recent        approved family planning methods




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(including natural family planning                      to or is under legal obligation to pay this   and any ancillary services which may be
methods) and services (including                        charge.                                       necessary to facilitate clinic attendance.
infertility services and services for                      (8) Provide that charges will be made         (3) Provide for informational and
adolescents). If an organization offers                 for services to persons other than those      educational programs designed to—
only a single method of family planning,                from low-income families in accordance           (i) Achieve community understanding
it may participated as part of a project                with a schedule of discounts based on         of the objectives of the program;
as long as the entire project offers a                  ability to pay, except that charges to           (ii) Inform the community of the
broad range of family planning services.                persons from families whose annual            availability of services; and
   (2) Provide services without                         income exceeds 250 percent of the                (iii) Promote continued participation
subjecting individuals to any coercion                  levels set forth in the most recent           in the project by persons to whom
to accept services or to employ or not                  Poverty Guidelines issued pursuant to         family planning services may be
to employ any particular methods of                     42 U.S.C. 9902(2) will be made in             beneficial.
family planning. Acceptance of services                 accordance with a schedule of fees               (4) Provide for orientation and in-
must be solely on a voluntary basis and                 designed to recover the reasonable cost       service training for all project personnel.
may not be made a prerequisite to                       of providing services.                           (5) Provide services without the
eligibility for, or receipt of, any other                  (9) If a third party (including a          imposition of any durational residency
services, assistance from or                            Government agency) is authorized or           requirement or requirement that the
participation in any other program of                   legally obligated to pay for services, all    patient be referred by a physician.
the applicant.1                                         reasonable efforts must be made to               (6) Provide that family planning
   (3) Provide services in a manner                     obtain the third-party payment without        medical services will be performed
which protects the dignity of the                       application of any discounts. Where the       under the direction of a physician with
individual.                                             cost of services is to be reimbursed          special training or experience in family
   (4) Provide services without regard of               under title XIX, XX, or XXI of the Social     planning.
religion, race, color, national origin,                 Security Act, a written agreement with           (7) Provide that all services purchased
handicapping condition, age, sex,                       the title XIX, XX or XXI agency is            for project participants will be
number of pregnancies, or martial                       required.                                     authorized by the project director or his
status.                                                    (10)(i) Provide that if an application     designee on the project staff.
   (5) Not provide abortion a method of                 relates to consolidation of service areas        (8) Provide for coordination and use
family planning. A project must:                        or health resources or would otherwise        of referral arrangements with other
   (i) Offer pregnant women the                         affect the operations of local or regional    providers of health care services, local
opportunity to provided information                     entities, the applicant must document         health and welfare departments,
and counseling regarding each of the                    that these entities have been given, to       hospitals, voluntary agencies, and
following options:                                      the maximum feasible extent, an               health services projects supported by
   (A) Prenatal care and delivery;                      opportunity to participate in the             other federal programs.
   (B) Infant care, foster care, or                     development of the application. Local            (9) Provide that if family planning
adoption; and                                           and regional entities include existing or     services are provided by contract or
   (C) Pregnancy termination.                           potential subgrantees which have              other similar arrangements with actual
   (ii) If requested to provide such                    previously provided or propose to             providers of services, services will be
information and counseling, provide                     provide family planning services to the       provided in accordance with a plan
neutral, factual information and                        area proposed to be served by the             which establishes rates and method of
nondirective counseling on each of the                  applicant.                                    payment for medical care. These
options, and referral upon request,                        (ii) Provide an opportunity for            payments must be made under
except with respect to any option(s)                    maximum participation by existing or          agreements with a schedule of rates and
about which the pregnant woman                          potential subgrantees in the ongoing          payment procedures maintained by the
indicates she does not wish to receive                  policy decisionmaking of the project.         grantee. The grantee must be prepared
such information and counseling.                           (11) Provide for an Advisory               to substantiate, that these rates are
   (6) Provide that priority in the                     Committee as required by § 59.6.              reasonable and necessary.
provision of services will be given to                     (b) In addition to the requirements of       (10) Provide, to the maximum feasible
persons from low-income families.                       paragraph (a) of this section, each           extent, an opportunity for participation
   (7) Provide that no charge will be                   project must meet each of the following       in the development, implementation,
made for services provided to any                       requirements unless the Secretary             and evaluation of the project by persons
persons from a low-income family                        determines that the project has               broadly representative of all significant
except to the extent that payment will                  established good cause for its omission.      elements of the population to be served,
be made by a third party (including a                   Each project must:                            and by others in the community
government agency) which is authorized                     (1) Provide for medical services           knowledgeable about the community’s
                                                        related to family planning (including         needs for family planning services.
  1 Section 205 of Pub. L. 94–63 states: ‘‘Any (1)
                                                        physician’s consultation, examination         § 59.6 What procedures apply to assure
officer or employee of the United States, (2) officer
                                                        prescription, and continuing                  the suitability of informational and
or employee of any State, political subdivision of
a State, or any other entity, which administers or      supervision, laboratory examination,          educational material?
supervises the administration of any program            contraceptive supplies) and necessary           (a) A grant under this section may be
receiving Federal financial assistance, or (3) person   referral to other medical facilities when     made only upon assurance satisfactory
who receives, under any program receiving Federal
assistance, compensation for services, who coerces
                                                        medically indicated, and provide for the      to the Secretary that the project shall
or endeavors to coerce any person to undergo an         effective usage of contraceptive devices      provide for the review and approval of
abortion or sterilization procedure by threatening      and practices.                                informational and educational materials
such person with the loss of, or disqualification for      (2) Provide for social services related    developed or made available under the
the receipt of, any benefit or service under a
program receiving Federal financial assistance shall    to family planning, including                 project by an Advisory Committee prior
be fined not more than $1,000 or imprisoned for not     counseling, referral to and from other        to their distribution, to assure that the
more than one year, or both.’’                          social and medical services agencies,         materials are suitable for the population




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or community to which they are to be             (7) The degree to which the project         § 59.10 What other HHS regulations apply
made available and the purposes of title      plan adequately provides for the               to grants under this subpart?
X of the Act. The project shall not           requirements set forth in these                  Attention is drawn to the following
disseminate any such materials which          regulations.                                   HHS Department-wide regulations
are not approved by the Advisory                 (b) The Secretary shall determine the       which apply to grants under this
Committee.                                    amount of any award on the basis of his        subpart. These include:
   (b) The Advisory Committee referred        estimate of the sum necessary for the          37 CFR Part 401—Rights to inventions made
to in paragraph (a) of this section shall     performance of the project. No grant               by nonprofit organizations and small
be established as follows:                    may be made for less than 90 percent of            business firms under government grants,
   (1) Size. The Committee shall consist      the project’s costs, as so estimated,              contracts, and cooperative agreements
of no fewer than five but not more than                                                      42 CFR Part 50, Subpart D—Public Health
                                              unless the grant is to be made for a               Service grant appeals procedure
nine members, except that this                project which was supported, under
provision may be waived by the                                                               45 CFR Part 16—Procedures of the
                                              section 1001, for less than 90 percent of          Departmental Grant Appeals Board
Secretary for good cause shown.               its costs in fiscal year 1975. In that case,   45 CFR Part 74—Uniform administrative
   (2) Composition. The Committee shall
                                              the grant shall not be for less than the           requirements for awards and subawards
include individuals broadly                   percentage of costs covered by the grant           to institutions of higher education,
representative (in terms of demographic                                                          hospitals, other nonprofit organizations,
                                              in fiscal year 1975.
factors such as race, color, national                                                            and commercial organizations; and
origin, handicapped condition, sex, and          (c) No grant may be made for an                 certain grants and agreements with
age) of the population or community for       amount equal to 100 percent for the                states, local governments and Indian
which the materials are intended.             project’s estimated costs.                         tribal governments
   (3) Function. In reviewing materials,                                                     45 CFR Part 80—Nondiscrimination under
                                              § 59.8 How is a grant awarded?                     programs receiving Federal assistance
the Advisory Committee shall:
                                                                                                 through the Department of Health and
   (i) Consider the educational and              (a) The notice of grant award specifies         Human Services effectuation of Title VI
cultural backgrounds of individuals to        how long HHS intends to support the                of the Civil Rights Act of 1964
whom the materials are addressed;             project without requiring the project to       45 CFR Part 81—Practice and procedure for
   (ii) Consider the standards of the         recompete for funds. This period, called           hearings under Part 80 of this Title
population or community to be served          the project period, will usually be for        45 CFR Part 84—Nondiscrimination on the
with respect to such materials;               three to five years.                               basis of handicap in programs and
   (iii) Review the content of the                                                               activities receiving or benefitting from
                                                 (b) Generally the grant will initially be       Federal financial assistance
material to assure that the information       for one year and subsequent
is factually correct;                                                                        45 CFR Part 91—Nondiscrimination on the
                                              continuation awards will also be for one           basis of age in HHS programs or
   (iv) Determine whether the material is     year at a time. A grantee must submit a            activities receiving Federal financial
suitable for the population or                                                                   assistance
                                              separate application to have the support
community to which is to be made                                                             45 CFR Part 92—Uniform administrative
                                              continued for each subsequent year.
available; and                                                                                   requirements for grants and cooperative
                                              Decisions regarding continuation
   (v) Establish a written record of its                                                         agreements to state and local
                                              awards and the funding level of such               governments
determinations.
                                              awards will be made after consideration
§ 59.7 What criteria will the Department of   of such factors as the grantee’s progress
Health and Human Services use to decide                                                      § 59.11 Confidentiality.
                                              and management practices, and the
which family planning services projects to    availability of funds. In all cases,             All information as to personal facts
fund and in what amount?                                                                     and circumstances obtained by the
                                              continuation awards require a
  (a) Within the limits of funds              determination by HHS that continued            project staff about individuals receiving
available for these purposes, the             funding is in the best interest of the         services must be held confidential and
Secretary may award grants for the                                                           must not be disclosed without the
                                              government.
establishment and operation of those                                                         individual’s documented consent,
projects which will in the Department’s          (c) Neither the approval of any             except as may be necessary to provide
judgment best promote the purposes of         application nor the award of any grant         services to the patient or as required by
section 1001 of the Act, taking into          commits or obligates the United States         law, with appropriate safeguards for
account:                                      in any way to make any additional,             confidentiality. Otherwise, information
  (1) The number of patients, and, in         supplemental, continuation, or other           may be disclosed only in summary,
particular, the number of low-income          award with respect to any approved             statistical, or other form which does not
patients to be served;                        application or portion of an approved          identify particular individuals.
  (2) The extent to which family              application.
                                                                                             § 59.12 Additional conditions.
planning services are needed locally;         § 59.9 For what purpose may grant funds
  (3) The relative need of the applicant;                                                      The Secretary may, with respect to
                                              be used?
  (4) The capacity of the applicant to                                                       any grant, impose additional conditions
make rapid and effective use of the             Any funds granted under this subpart         prior to or at the time of any award,
federal assistance;                           shall be expended solely for the purpose       when in the Department’s judgment
  (5) The adequacy of the applicant’s         for which the funds were granted in            these conditions are necessary to assure
facilities and staff;                         accordance with the approved                   orb protect advancement of the
  (6) The relative availability of non-       application and budget, the regulations        approved program, the interests of
federal resources within the community        of this subpart, the terms and conditions      public health, or the proper use of grant
to be served and the degree to which          of the award, and the applicable cost          funds.
those resources are committed to the          principles prescribed in 45 CFR Part 74        [FR Doc. 00–16758 Filed 6–30–00; 8:45 am]
project; and                                  or Part 92, as applicable.                     BILLING CODE 4160–17–M




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                                                                          Tab P




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        Title X reflects this consensus. Congress enacted Title X in 1970, a few years before
        the U.S. Supreme Court created a national right to abortion. So, while many States
        had loosened their abortion laws, many others still restricted the practice as a
        crime, with limited exceptions. The States and citizens taking that view surely
        would not have supported family-planning funding that even indirectly supported,
        or stamped a national imprimatur on, a practice they regarded as criminal. That is
        why Title X's principal sponsor, Congressman John D. Dingell, offered an amend­
        ment to his own bill. He explained:

                Mr. Speaker, I support the legislation before this body. I set forth in
                my extended remarks the reasons why I offered the amendment which
                prohibited abortion as a method of family planning .... With the "pro­
                hibition of abortion" amendment-title X, section 1008-the committee
                members clearly intend that abortion is not to be encouraged or pro­
                moted in any way through this legislation. Programs which include
                abortion as a method of family planning are not eligible for funds allo­
                cated through this act.6

        That promise-that abortion not be "promoted in any way" -is reflected in 42
        U.S.C. §300a-6. That statute prohibits using Title X funds "in programs where
        abortion is a method of family planning." The Supreme Court, in a decision uphold­
        ing regulations materially identical to those in the 2019 Rule 7 that the Department
        now wishes to replace, held that this phrase was ambiguous to at least some extent,
        as it does not "speak directly to the issues of counseling, referral, advocacy, or pro­
        gram integrity." 8 But the statute's use of the location-focused word "where"-which,
        in this context, means "at or in the place in which" 9 -makes at least two things
        clear.

        First, and contrary to the Proposed Rule,10 Title X funds must not be used at facili­
        ties that make abortion referrals. A facility that makes an abortion referral because
        the patient wants to manage the size of her family (rather than because of a medical
        emergency) is a facility at which abortion is treated as one option for managing the
        size of one's family. And so every such facility is, quite literally, a "program
        where"-a program at or in the place in which-"abortion is a method of family
        planning." 11




        6 116 Cong. Rec. 37375 (1970).
        7 Compliance With Statutory Program Integrity Requirements, 84 Fed. Reg. 7714 (March 4, 2019).
        8 Rust, 500 U.S. at 184.
        9 Webster's Third New International Dictionary 2602 (1993).
        10 See 86 Fed. Reg. at 19830.

        u 42 U.S.C. §300a-6.




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       Second, and also contrary to the Proposed Rule, 12 Title X funds cannot be used to
       support a family-planning program that is located in an abortion-providing facility.
       Every abortion-providing facility is, by definition, a facility "where abortion is a
       method of family planning." 13 It follows that every Title X program that shares a
       physical location with such a facility is a program where-a program at or in the lo­
       cation in which-"abortion is a method of family planning." 14

       The Department cannot deviate from the best reading of the text when it does so to
       circumvent the statutory provision. And its reasons for deviating from the best
       reading could not be clearer: the Department, knowing that it cannot expressly sub­
       sidize abortion, plans to do so indirectly by putting Title X services and abortion
       services in the same place. Courts reviewing administrative actions are "not re­
       quired to exhibit a naivete from which ordinary citizens are free." 15 And when the
       time comes to review this rule, if it is finalized, they will not.

       II.     THE DEPARTMENT HAS NOT JUSTIFIED THE NEED FOR ANY ALTERATION TO
               THE TITLE X RULE.

       The Proposed Rule is premised on the idea that, in order to have a successful Title X
       program, the 2019 Rule must be repealed and replaced. The premise is false: the
       Department has not sufficiently investigated the effects of the 2019 Rule; there is
       no reason to suspect that Title X can succeed only by stealthily subsidizing the pro­
       vision of abortions; and much of the support for the Proposed Rule crumbles with
       the slightest examination.

               A.        The Department does not have sufficient data to assess the
                         effects of the 2019 Rule.

       The Department has tried to justify the Proposed Rule almost exclusively with ref­
       erence to the purported effects of the 2019 Rule. 16 But the Department does not,
       and could not conceivably, have data sufficient to support its conclusion that the
       current rule is inadequate.

       The 2019 Rule took several steps to "ensure compliance with, and enhance imple­
       mentation of, the statutory requirement that none of the funds appropriated for Ti­
       tle X may be used in programs where abortion is a method of family planning and
       related statutory requirements." 17 For example, the 2019 Rule permits (but does
       not require) non-directive consulting about the availability of abortion. 18 It also re-

       12 See 86 Fed. Reg. at 19818.

       13 42 U.S.C. §300a-6.
       14 Id.
       15 Dep't of Com. v. New York, 139 S. Ct. 2551, 2575 (2019).
       16 See 84 Fed. Reg. 7714.
       17 Id. at 7714.
       1s Id. at 7716-17.




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         quires Title X recipients to maintain strict physical and financial separation be­
         tween abortion services and programs that spend Title X money. 19 The 2019 Rule
         says that "to be physically and financially separate, a Title X project must have an
         objective integrity and independence from prohibited activities. Mere bookkeeping
         separation of Title X funds from other monies is not sufficient."2 0

         The Department claims the 2019 Rule is not working. But how could it know? The
         2019 Rule required grantees to comply with most requirements, such as the finan­
         cial-separation requirement, by July 2019. But it delayed the compliance date for
         physical separation of abortion services to March 4, 2020. Rather than comply with
         the updated regulations, some entities-notably Planned Parenthood, which oper­
         ates more than 600 clinics-left the program entirely before the 2019 Rule was fully
         implemented. And on the heels of the March 4 implementation date, the COVID-19
         pandemic wreaked havoc on the healthcare industry. Not only were clinics forced to
         end elective procedures, but the many safety-related restrictions in cities across the
         country created barriers for people seeking family-planning services-barriers hav­
         ing no relation whatsoever to Title X.

         Combining the newness of the 2019 Rule with the complications caused by COVID-
         19 means the data could not possibly be sufficient to conclude that the 2019 Rule is
         not working. The COVID-19 pandemic is a particularly complicating factor. It in­
         terfered with the provision of nearly all services, medical and otherwise, in the
         American economy. Even many elective and non-elective medical procedures hav­
         ing nothing to do with family planning or abortion were delayed.21 Thus, even if
         there were some reason to think that Title X services will decline because of the
         2019 Rule-and there is not22-the Proposed Rule wrongly assumes that any such
         decline would remain after we emerge from the pandemic and after Title X grantees
         become experienced in dealing with the now-in-effect 2019 Rule.

        The Department made a reasoned decision in 2019 to align the Title X program
        with the law. Today, the facts are not sufficiently developed to allow for a meaning­
        ful assessment of the 2019 Rule's likely effects. But they will be. Given that indi­
        viduals are just now, in many areas of the country, starting to leave their homes
        and seek elective services, and given that state budgets and other sources of fund­
        ing are being replenished, the 2019 Rule will soon be implemented and the Depart­
        ment can compare apples to apples. Ohio requests that the Department study the
        effects of the 2019 Rule from January 1, 2022, through December 31, 2022, to form
        a reasoned basis for decision.



        1e Id. at 7763-77; 42 C.F.R. §59.15.
        20 42 C.F.R. §59.15.
        21 See Non-Emergent, Elective Medical Services, and Treatment Recommendations, Centers for Medi­

        care and Medicaid Services (April 7, 2020), https://perma.cc/6FVT-JAPN.
        22 See below 5-13.




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               B.     The Proposed Rule incorrectly assumes that linking abortion
                      to family-planning services is critical to a vibrant Title X
                      program.

       1. The Proposed Rule does not account for successful programs in the States that
       have long separated Title X funds and abortion services. Many States administer
       their own public-health programs without funding abortion providers. And many
       States administer Title X programs themselves, effectively, without providing or
       promoting abortions. The Proposed Rule concocts a link between the success of Ti­
       tle X's family-planning mission and the comingling of abortion and Title X funds. In
       particular, by eliminating the prohibition on providing Title X services in facilities
       that provide abortion services, the Proposed Rule assumes that Title X can thrive
       only if abortion providers assist in the distribution of Title X services. But that is
       wrong.

       Most Title X funds support state agencies and county health departments.23 Many
       of these public programs provide no elective abortion services, indeed, many operate
       pursuant to laws that prohibit using federal pass-through dollars to indirectly sub­
       sidize elective abortion. 24 Yet they are indisputably able to serve the public none­
       theless, providing precisely the services that Title X is designed to fund. For exam­
       ple, in Alabama, the State Department of Public Health is the sole Title X grantee.25
       It uses Title X funds to support 80 health centers across the State, all of which are
       operated by state and local county health departments. 26 These local health centers
       provide contraceptive services, pelvic exams, screening for STDs, infertility services,
       and health education. Alabama's 2019 grant award was over $5,000,000, which it
       used to provide services to roughly one hundred thousand people. 27 Alabama's
       health centers do not provide abortions. Nor do they share office space with provid­
       ers that do. Yet those health centers are still able to provide precisely the services
       that Title X envisions. There is no reason to doubt that this model can work across
       the country. So there is every reason to doubt whether a successful Title X program
       requires allowing abortion providers to offer Title X programs-reality shows that
       States and other grantees can easily separate the services.



       23 See Title X Family Planning Directory, OASH Office of Population Affairs (Mar. 2021),

       https://perma.cc/8C75-K7XJ; see also HHS Awards Title X Family Planning Service Grants, OASH
       Office of Population Affairs (March 29, 2019), https://perma.cc/VY8D-QH4F.
       24 See, e.g., Ariz. Rev. Stat. Ann. §35-196.02; Colo. Rev. Stat. Ann. §25.5-3-106; La. Rev. Stat.
       §40:1061.6; Iowa Code Ann. §217.41B; Miss. Code. Ann. §41-41-91; Mich. Comp. Laws Ann.
       §400.109a; Mo. Ann. Stat. §188.205; N.C. Gen. Stat. Ann. §143C-6-5.5; Ohio Rev. Code §5101.56;
       Tex. Health & Safety Code Ann. §32.005; Wis. Stat. Ann. §20.927.
       25 See Title X Family Planning Directory, OASH Office of Population Affairs (Mar. 2021),
       https://perma.cc/8C75-K7XJ.
       26 See id.
       27 See HHS Awards Title X Family Planning Service Grants,   OASH Office of Population Affairs (Mar.
       29, 2019), https://perma.cc/VY8D-QH4F.




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        The Proposed Rule entirely fails to explain the successful Title X programs coming
        from these States, and instead resorts to bald assertions that Title X requires a
        close connection with abortion services to be successful.

        2. The Proposed Rule also assumes that any gaps created by abortion providers
       who left the Title X program in response to the 2019 Rule will be permanent. That
       assumption is baseless. It ignores the fact that, when abortion providers like
       Planned Parenthood left Title X in 2019, other providers stepped in to fill gaps in
       coverage. Ohio's experience illustrates the point. In Ohio, before the 2019 Rule
       went into effect, only two grantees received money through the Title X program:
       Planned Parenthood and the State of Ohio. (The State then subgranted the funds
       to other entities, including, for example, county boards of health.) In March 2019,
       Planned Parenthood of Greater Ohio was awarded $4 million, and the Ohio De­
       partment of Health was awarded $4.3 million. 28 Once the new rules went into ef­
       fect, however, Planned Parenthood left the program because it did not wish to com­
       ply with the 2019 Rule. 29 That, however, did not leave a gap in coverage. That is
       because, as the Department knows, it took the funds that Planned Parenthood affil­
       iates relinquished and granted $33.6 million in supplemental funds to Title X
       grantees. In Ohio, all of the funding that would otherwise have gone to Planned
       Parenthood went to the Ohio Department of Health instead. 30 And Ohio used the
       new money to expand its provision of Title X services in areas previously served by
       Planned Parenthood.

       What this shows is that there are plenty of actors, including the States themselves,
       eager to participate in the program envisioned by Title X. (To the extent there are
       some gaps that remain to be filled, there is no reason to assume those gaps will re­
       main as States and providers emerge from the pandemic and become accustomed to
       the 2019 Rule.) The Department need not choose between providing Title X ser­
       vices and indirectly supporting abortion: it can have both, by letting entities that
       do not wish to subsidize abortion provide the services Congress intended.

                C.    The Proposed Rule does not                       adequately        justify    its
                      abandonment of the 2019 Rule.

       Perhaps not surprisingly given the dearth of data and the States' long experience
       showing that the 2019 Rule is perfectly consistent with a successful Title X pro­
       gram, the Proposed Rule contains no adequate justification for jettisoning the now­
       existing regulations. Worse, the justifications it does give all fail.




       2s Id.
       29 See California v. Azar, 950 F.3d 1067, 1099 n.30 (9th Cir. 2020) (en bane).
       30See HHS Issues Supplemental Grant Awards to Title X Recipients, OASH Office of Population Af­
       fairs (Sept. 30, 2019), https://perma.cc/5XF5-MAER.




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                       1.      The Proposed Rule does not adequately identify or explain
                               negative health consequences.

       The Proposed Rule attempts to describe "large negative public health consequences"
       for maintaining the existing Rule.31 Such consequences are conjecture, and are not
       supported by the facts in the Proposed Rule. To the extent that the United States
       in 2019 experienced a decline in Title X services, the Proposed Rule fails to explain
       likely causes, and thus fails to address those causes in any policy alternatives.

       a. As its primary justification, the Proposed Rule explains that fewer Title X ser­
       vices were provided in 2019 than 2018. That is a red herring. That fact speaks only
       to the size of a federal program, and not to the availability or quality of family­
       planning services for Americans. The bureaucratic illogic goes like this: the bigger
       the federal program, the better for Americans. That cannot be the case. If a city
       has fewer police encounters in a given year, that is likely good thing, indicating less
       crime. If Medicaid has fewer enrollees, that too may indicate increased health,
       prosperity, or the fact that the Medicaid-eligible population prefers other options.
       The relevant question for Title X is not whether the program provided fewer ser­
       vices, but whether Americans' reproductive health is better. The Proposed Rule
       fails to consider that issue, instead baselessly assuming that bigger is better.

       Concerningly, the Proposed Rule assumes that 181,477 unintended pregnancies
       have resulted from the 2019 Rule, in a single year. The facts do not bear this out.
       First, the rate of contraception use increased in every State between 2017 and 2019,
       and many of these methods are long-term or permanent. 32 That increased use
       would indicate that unintended pregnancies decreased in 2019. Moreover, as the
       Proposed Rule says, 4 7 percent of unintended pregnancies result in unplanned
       births. 33 But the birthrate in 2020 fell to its lowest level in more than 40 years,
       with the decline occurring across every age and race.34 The Proposed Rule's justifi­
       cation-that replacing the 2019 Rule is necessary for public health-is built on ir­
       relevant and apparently false information.

       In addition, the Proposed Rule speculates that the 2019 Rule threatened public
       health, but fails to acknowledge, let alone explain, concerning health trends that far
       pre-date the 2019 Rule. These trends may be continued or accelerated by the resus­
       citation of the 2000 Rule.35 For example, in 2018, the Centers for Disease Control


       31 86 Fed. Reg. at 19817.
       32 Ayana Douglas-Hall, Naomi Li, & Megan L. Kavanaugh, State-Level Estimates of Contraceptive Use
       in the United States , 2019, Guttmacher Institute (Dec. 2020), https://perma.cdNRS7-9T4B.
       33 86 Fed. Reg. at 19823-24.
       34 Brady E. Hamilton et al., Births: Provisional Data for 2020, National Center for Health Statistics
       (May 2021), https://www.cdc.gov/nchs/data/vsrr/vsrr012-508.pdf.
       35 Standards of Compliance for Abortion-Related Services in Family Planning Services Projects, 65
       Fed. Reg. 41269 (July 3 , 2000).




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        and Prevention reported that STDs were at a record high. 36 The Proposed Rule
        does not indicate why it prefers to restore the policy that was in place when Ameri­
        ca reached this unfortunate peak.

       b. The decrease in Title X services is likely explained, in whole or in part, by other
       causes. The Proposed Rule does not address them.

       In simply examining the number of services provided, the Proposed Rule fails to
       weigh the significance of Planned Parenthood's, and other grantees', exit from the
       program. They declined Title X funds entirely rather than complying with the 2019
       Rule. These decisions may explain most, if not all, of the Title X service reduction.
       Planned Parenthood served more individuals in 2019 than the prior year, further
       undermining the notion that access to certain services is threatened by the existing
       rule. For example, the Proposed Rule explains that 90,386 fewer Papanicolaou
       (Pap) tests were conducted in 2019 than 2018. But Planned Parenthood says that it
       performed 255,682 Pap tests in fiscal year 2018-2019 and 272,990 tests in fiscal
       year 2019-2020.37 These numbers indicate that it is more likely that women con­
       tinued to get tested, not that fewer Pap tests were performed in the United States­
       from a health perspective, it does not matter whether women receive tests in or out­
       side of the Title X program. And as discussed above, even if there were a dropoff in
       the use of Title X services after the adoption of the 2019 rule, that alone does not
       justify assuming the dropoff will remain permanent as new grantees enter the pro­
       gram and as all grantees adjust to the 2019 Rule, all while patients return to some­
       thing approaching their pre-pandemic lives.

       In addition, of the women served through Title X in 2019 using contraception meth­
       ods, 19 percent used more reliable, either long-acting or permanent, contraceptive
       methods, reducing the need for annual or more frequent visits.38 In fact, the num­
       ber of women using the most effective methods of contraception has increased 50
       percent since 2009.39
       Also, Title X is most commonly used by young, low-income individuals, many of
       whom are uninsured. 40 In 2019, median household income rose 6.8 percent from
       2018. 41 Thus, individuals who previously used Title X services may today use a
       primary care provider or gynecologist through private insurance. Also, to the extent

       36 National STD Trends: Key Information on Sexually Transmi tted Diseases for Public Health Lead­
       ership, Association of State and Territorial Health Officials, https://perma.cc/G58R-WBEW.
       37 See Planned Parenthood, Annual Report 2018-2019, https://perma.cc/T7U8-U32G; Planned
       Parenthood, Annual Report 2019-2020, https://perma.cc/9V7W-AAXJ.
       38 Christina Fowler et al., Family Planning Annual Report: 2019 National Summary, OASH Office
       of Population Affairs, at ES-3 (Sept. 2020), https://perma.cc/Z9HF-EHV4.
       39 Id. at 30.
       40 Id. at 10, 23-24.
       41 Jessica Semega et al., Income and Poverty in the United States: 2019, U.S. Census Bureau (Sept.
       15, 2020), https://perma.cc/WE7T-Z387.




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        contraception is continually becoming more common, a young person may today vis­
        it her parents' physician or use her parents' insurance, when previously she would
        have avoided that interaction.

        The healthcare market has also recently become more diverse, adding options like
        One Medical, a membership-based primary care option with more than 500,000
        members. 42 Individuals in search of an affordable, non-insurance-based outpatient
        clinic have new options beyond Title X clinics.

        Notably, the number of Title X services has been declining since 2010. The Pro­
        posed Rule, following its own logic, must explain why it readopts much of the 2000
        Rule as purportedly better than the 2019 Rule, when the 2000 Rule coincided with
        declining services (and declining health outcomes, too) for a longer period of eight
        years-without a pandemic.

        To be clear, neither the States nor anyone else can say with much confidence why
        the number of services has declined. Nor can the States or anyone else predict with
        much confidence whether the trend will continue. The 2019 Rule has been in effect
        for so short a time period, and its effects are complicated by so many variables (in­
        cluding a once-in-a-lifetime pandemic), that everyone needs more time to under­
        stand the likely effects of the 2019 Rules. What we do know, however, is that the
        Department has no basis for assuming that a decrease in the provision of services,
        which occurred in the midst of a global pandemic and during the transition to a new
        regulatory scheme, will be permanent, and the Department has no clear evidence of
        its impact on patient health.

        c. Having identified its concerns with the 2019 Rule, the Department asserts that
        it considered two regulatory alternatives to address them: (1) maintaining the 2019
        Rule and adding more grantee oversight; or (2) re-adopting the 2000 Rule and add­
        ing even more grantee flexibility. But these alternatives do not actually meet the
        regulatory goals of the Proposed Rule, exposing that the Department did not actual­
        ly consider policy alternatives.

        The Department purportedly seeks to: (1) mimic the number of services provided
        during the 2000 Rule, (2) improve public health, and (3) decrease compliance costs
        for grantees. The Proposed Rule then explains that one alternative would be to
        "impose additional restrictions on grantees." 43 This is not an alternative means to
        seek the benefits the Department outlines. If the Department believes that grantee
        compliance costs are too great, then realistic policy alternatives would include: ded­
        icating funds to assist grantees with those costs, providing additional runway for
        grantees to comply, giving additional guidance to clarify restrictions, or granting

        42 One Medical Announces Results for Third Quarter 2020 (Nov. 10, 2020), https://perma.cc/4926-
        ZJGY.
        43 86 Fed. Reg. at 19827.




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        targeted exceptions for those Title X programs in need of flexibilities. The Proposed
        Rule does not indicate that the Department considered these or any other alterna­
        tives for meeting, rather than frustrating, its stated goals.

        Incidentally, the second alternative-"reducing programmatic oversight"-is entire­
        ly unexplained. It is impossible for the public to contemplate benefits of an alterna­
        tive void of content.

                          2.   Removing the physical and financial separation requirements
                               will result in the misuse of funds.

       The Proposed Rule removes the 2019 Rule's physical and financial separation re­
       quirements on the basis that the requirements provide no benefits. But the De­
       partment's failure to identify misused grant funds between 1993 and 2019 proves
       the need for greater, not lesser, oversight. On one hand, the Proposed Rule indi­
       cates only that "no diversion" was uncovered "that would justify'' increased separa­
       tion requirements.44 To the extent the Department is aware of funds being diverted
       during that time, the Proposed Rule fails to explain why such instances do not justi­
       fy keeping the 2019 Rule. On the other hand, if the Department never uncovered
       impermissible transfer or commingling of funds between 1993 and 2019, this em­
       phasizes the need for greater separation, recordkeeping, and oversight: it is simply
       implausible that, during that long period of time, no funds were misused. (To take
       an analogy, if a State recorded no positive COVID tests in 2020, that would indicate
       a failure to test correctly, not the absence of disease.)

       Moreover, fund diversion or misuse is nowhere defined or explained. At what point
       does the Department care whether Title X funds and other revenue sources are
       treated as one pot of funds? May a Title X project and a non-Title X project share
       rent, even if the services performed under that roof are most commonly abortion
       services? If a doctor receives half her salary from Title X funds but spends 80 per­
       cent of her time performing abortions, is that a permissible or impermissible com­
       mingling of funds? The Department must clarify. If the Department believes a
       grantee can commingle funds without consequence-for example, pay for 99 percent
       of the salary of an abortion doctor-this scheme violates the statute. If the De­
       partment has a line that grantees may or may not cross, the line must not be arbi­
       trary. And if the Department agrees in theory such commingling is impermissible,
       but in practice fails to enforce the statute, it violates its responsibility to help the
       President fulfill his constitutional duty to take care that the laws be faithfully exe­
       cuted. In other words, the answer to potential problems with enforcing the statuto­
       ry mandate is to find better methods to enforce that mandate, not to ignore the man­
       date with a deliberately blind eye.



       44 Id. at 19816.




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                         3.       The Proposed Rule risks deterring women from seeking family-
                                  planning services.

       Removal of the 2019 Rule's physical separation requirements could also undermine
       the Department's purported goals of increasing services and improving public
       health. For a variety of reasons, many individuals might prefer to receive Title X
       services at a location that does not also perform abortions. Individuals who believe
       abortion takes an innocent life likely would not wish to enter a mixed-use Title X
       facility. Even individuals who are themselves in favor of abortion as a policy matter
       or who have had abortions in the past might experience discomfort when directly
       exposed to a vacuum that removes parts of a child in the womb while receiving a
       Pap test or STD examination. 45 Rather than increase the provision of Title X ser­
       vices, the Proposed Rule is likely to deter individuals from seeking those services in
       the first place.

                         4.      The Congressional Review Act forecloses the Proposed Rule's
                                 misguided attempt to limit State laws governing subrecipients.
       Multiple States have laws that restrict state family-planning funding, including
       federal funding that passes through the State, from being used to pay for abor­
       tions. 46 And some States further restrict family-planning funds from organizations
       that provide abortions, that contract with abortion providers, or that refer patients
       to get abortions.47 These laws have permitted these States to operate family­
       planning services that generate broad public support, and avoid divisive and unpro­
       ductive fights that may have required some States to eliminate public funding of
       family-planning services entirely.

       In 2016, in the last days of the Obama Administration, the Department published a
       final rule targeting state laws governing Title X subawards. That rule provided:
       "No recipient making subawards for the provision of services as part of its Title X
       project may prohibit an entity from participating for reasons other than its ability
       to provide Title X services."48

       But Congress quickly nullified this "Midnight Rule" under the Congressional Re­
       view Act. 49 And under the Congressional Review Act, the Department may not reis-


       45   Gonzales v. Carhart, 550 U.S. 124, 159 (2007).
       46   See, e.g., Ariz. Rev. Stat. Ann. §35-196.02; Colo. Rev. Stat. Ann. §25.5-3-106; La. Rev. Stat.
       §40:1061.6; Iowa Code Ann. §217.41B; Miss. Code. Ann. §41-41-91; Mich. Comp. Laws Ann.
       §400.109a; Mo. Ann. Stat. §188.205; N.C. Gen. Stat. Ann. §143C-6-5.5; Ohio Rev. Code §5101.56;
       Tex. Health & Safety Code Ann. §32.005; Wis. Stat. Ann. §20.927.
       47 See Ai·k. Code Ann. §20-16-1602; La. Rev. Stat. §49:200.51; Ind. Code Ann. §5-22-17-5.5; Wis. Stat.
       Ann. §253.07(5).
       48 81 Fed. Reg. 91852 (Dec. 19, 2016).
       49 Pub. L. No. 115-23, 131 Stat. 89 (Apr. 13, 2017).




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       sue the rule in "substantially the same form."50 The Proposed Rule's invitation for
       comment regarding "some state policies restricting eligible subrecipients" targets
       exactly the same state laws as the 2016 Midnight Rule. 51 Thus, any final rule ac­
       complishing what the Proposed Rule suggests may not be issued.

       Not only would re-issuing the 2016 Midnight Rule violate the Congressional Review
       Act, it would also impermissibly intrude on the States' self-governance for no good
       reason. As explained above, the States have successfully implemented family­
       planning projects because they are able to maintain a degree of separation from
       publicly funded abortions, an issue that would garner enormous public outcry and
       threaten those States' existing programs.

                        5.      The 2019 Rule creates no ethical problems that need to be
                                addressed, but the Proposed Rule will create ethical problems.

       The Proposed Rule suggests that it is important to permit abortion referrals and
       abortion counseling because such referrals and counseling are required by "ethical
       codes of major medical organizations."52 But it is of no moment whether most or all
       medical organizations regard the 2019 Rules as contrary to medical ethics. Indeed,
       medical organizations represent doctors-the parties regulated by rules of medical
       ethics. While regulated entities are no doubt entitled to their opinions on the rules
       to which their conduct ought to be subject, the regulators are free to reject those
       opinions. And to the extent the medical profession as a whole thinks it is unethical
       to refuse to make an abortion referral, that view is contrary to the rules of medical
       ethics reflected in numerous state and federal laws, which say that doctors may re­
       fuse to make abortion referrals or otherwise participate in the provision of abor­
       tions.53 The States regulate the ethics of the medical profession; the profession does
       not simply regulate itself.

       Moreover, it is doubtful whether the medical organizations who shared their con­
       cerns truly do reflect the views of the medical profession as a whole. Surely they do
       not represent the views of the American Association of Pro-Life Obstetricians & Gy­
       necologists, or the Christian Medical and Dental Associations.54 And one of the
       medical organizations that has expressed concerns with the ban on referrals-the
       American Association of Obstetricians and Gynecologists-has filed briefs defending


       50 5 u.s.c. §801(b)(2).
       51 86 Fed. Reg. at 19817.
       52 Jd.
       53 See, e.g., Ariz. Rev. Stat. §36-21 54(A); Conn. Agencies Regs. §19-13-D54(f); Fla. Stat. §390.0111(8);
       Id. Code §18-612; Ky. Rev. Stat. §311.800(4); La. Rev. Stat. §40:1061.2; Mont. Code Ann. §50-20-
       111(2); N.Y. Civ. Rights Law §79-i; Ohio Rev. Code §4731.91; Or. Rev. Stat. §435.485; 18 Pa. Cons.
       Stat. §3213(d); Wis. Stat. §253.09(1).
       54 See Br. of Amici Curiae Am. Ass'n of Pro-Life OBGYNs, et al., in Support of Petitioners Azar v.
       Mayor and City Council of Balt., No. 20-454 (U.S., Nov. 9, 2020).




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       the legality of eugenic abortions. 55 Those willing to stand up for eugenics ought not
       be taken seriously in any discussion of ethics.

       As all this shows, any change to the rules that will require counseling or referrals
       on abortion will contradict medical ethics: as state laws from around the country
       show, it is unethical to mandate that doctors violate their consciences by endorsing
       or otherwise participating in abortions.

       Ill.   CONSIDERATION OF TECHNICAL CONCERNS.

       Several of the definitions in the Proposed Rule are unclear and put grantees in
       jeopardy of violating federal law.

       Clarify nhealth equity." The Proposed Rule requires applicants to advance health
       equity. The Proposed Rule does not explain how this requirement differs from exist­
       ing considerations and requirements in Title X grantmaking. All applicants must
       already indicate the number of patients served and the extent to which family­
       planning services are needed locally, and grant priority is given to projects that
       serve low-income families. In addition, health programs that receive funding from
       the Department may not discriminate on the basis of race, color, national origin,
       sex, age, or disability.56 Thus existing law requires nondiscriminatory treatment,
       aimed to those patients most in need. To the extent promoting health equity merely
       reiterates these requirements, such clarification is useful. To the extent promoting
       health equity differs, and either requires discrimination on the basis of race or
       should not be aimed at certain patients, such clarification would be necessary
       though likely contrary to law.

       Remove ��culturally and linguistically appropriate services." Ohio and the
       signing States fully support the principle that Title X services should be available to
       individuals regardless of their culture or language. At the same time, States owe a
       duty to our citizens to put science and health before any interest in the signaling of
       virtue. As the Department's existing standards for "culturally and linguistically
       appropriate services" indicate, the many elements of culture include the "use of tra­
       ditional healer techniques," "how an individual finds and defines meaning in his
       life," and "political beliefs."57 Requiring unique health approaches that differ based
       on the individual belief system of every American is not only impossible, in many
       cases, it can also be unwise. For example, obesity, smoking, and drug use are


       55 See Brief for Am. Coll. of OBGYNs, et al., as Amici Curiae in Support of Appellees, Preterm­
       Cleveland v. McCloud, 994 F.3d 512 (6th Cir. 2021) (No. 18-3329).
       56 42 U.S.C. §18116.
       57 National Standards for Culturally & Linguistically Appropriate Services in Health & Health Care,
       U.S. Dep't of Health & Human Servs. Office of Minority Health at 139-40 (April 2013),
       https://perma.cc/F8YE-PJVV.




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       health and reproductive risks, no matter the culture or language of the patient
       seeking services.

       To the extent certain populations require targeted approaches to improve health
       outcomes, that approach is best managed and executed at the state and local level.
       As it exists in the Proposed Rule, the phrase "culturally and linguistically appropri­
       ate services" may bless health practices, based on cultural norms, that lead to nega­
       tive health outcomes. Ohio therefore recommends removing the phrase as a re­
       quirement in Title X grants. The States, as always, will remain passionate about
       providing the care that their citizens need and deserve.

       Amend "quality healthcare/, Improving the quality of healthcare in America
       must be a dynamic process, constantly employing new techniques, identifying
       threats, preserving privacy, expanding comfort, and decreasing waste and ineffi­
       ciency. This dynamism requires a nimbleness often unattainable by national re­
       quirements, which are slow to adopt useful techniques or recognize local problems.
       Thus "quality healthcare" should be amended as follows: "Quality healthcare is
       safe, effective, client-centered, timely, efficient, and equitable, with maximum flexi­
       bility at the state and local level to establish standards of care."
                                           *     *      *

       In a country of more than 300 million people, no one gets his or her way all the
       time. Everyone has to compromise a bit. Title X reflects a compromise. It funds
       services that large numbers of Americans support while withholding that funding
       from services that large numbers oppose. The Proposed Rule tramples that com­
       promise, by intertwining family-planning services with the divisive issue of publicly
       funded abortions. The Proposed Rule is not based on the public health, but grantee
       preference to have freer rein of taxpayer dollars.

                                                     Sincerely,




                                                     DAVE YOST
                                                     Attorney General
                                                     State of Ohio




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   U.S. Department of Health and Human Services
     Office of the Assistant Secretary for Health
             Office of Population Affairs




           Tennessee Department of Health
                   FPHPA006553
           Title X Program Review Report



          Virtual Program Review (VPR)
                  July 11-15, 2022




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    Grantee Information

    Grantee Name:            Tennessee Department of Health
    Grantee Number:          FPHPA006553
    Project Period:          April 1, 2022 to March 31, 2027
    Budget Period:           April 1, 2022 to March 31, 2023

                             Federal Share:           $7,108,750
                             Non-federal Share:       $8,594,213

                             Total:                   $18,627,963

                             Program Income:          $0

    Project Director:        Danni Lambert
    Project Address:         710 James Robertson Pkwy, 64 Andrew Johnson Tower
                             Family Health and Wellness
                             Nashville, TN 37243

    Virtual Visit Dates:     July 11-15, 2022

    Service Sites Visited:   Telehealth
                             710 James White Parkway, Nashville TN 37243
                             Hamilton Clinic
                             Main 921 E. 3rd Street Chattanooga, TN 37403
                             Polk County Benton Clinic
                             2279 Parkside Road, Benton, TN


    Review Team:             Tisha Reed – OPA Project Officer
                             Joyce McIntyre – Administrative Reviewer
                             Karen Ward – Clinical Reviewer
                             Valerie Butt – Fiscal Reviewer




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Overview of the Project

The Tennessee Family Planning Program (TFPP) is a Tennessee Department of Health program
that has served as a Title X grantee since 1972. The Tennessee Department of Health has a strong
public health infrastructure to provide administrative, clinical and financial management support to
a network of 124 sites providing family planning services across all 95 counties in the state. If
funded, at least 75% of clients will be at or below 100% of the Federal Poverty Level. The TFPP
provides services that are client-centered, culturally and linguistically appropriate, inclusive, and
trauma informed. The TFPP works to protect the dignity of the individual and ensure equitable and
quality service delivery. Tennessee Family Planning Program services encompass a broad range of
medically approved family planning methods ranging from abstinence, sterilizations and LARCs to
natural family planning and fertility awareness based methods, pregnancy testing and counseling,
achieving pregnancy, basic infertility services, preconception and interconception care, and
STD/HIV testing and treatment. Multiple sites also provide primary care, preventive health and
dental services. The TFPP provides confidential services to minors, promotes parental involvement,
and complies with all Title X and state requirements regarding mandatory reporting. Abstinence
(sexual risk avoidance) and counseling related to coercive relationships is also provided to all
adolescent clients and others as appropriate. As a leading expert on family planning service
delivery, the TFPP has established partnerships with community-based and faith-based
organizations that enhance clients’ ability to achieve optimal health outcomes. The Tennessee
Department of Health is the only agency with the capacity, staff, and expertise to administer Title X
funds with integrity and without a gap in services in the state of Tennessee.


The Title X Virtual Program Review Process and Review Tool

OPA notified the grantee of the program review, held July 11-15, 2022, earlier this year. Due to the
COVID pandemic and response across the nation, the traditional in-person program review shifted
to be a virtual program review (VPR). OPA requested the grantee to provide certain materials
(policy and procedure manuals, etc.) in advance of the review by using the MAX.gov platform.
OPA also provided the grantee with a copy of the OPA program review tool, updated with the Title
X 2021 new rule. This tool is the instrument used by the review team during the VPR.

The review team utilized the tool to systematically observe and evaluate program operations,
seeking evidence of compliance with the Title X regulations and implementation of the Quality
Family Planning recommendations.

Assessment of Compliance with Title X Program Expectations
This assessment evaluated the grantee’s compliance with the statute, regulations, legislative
mandates, and OPA expectations governing the Title X grant program. For these expectations, the
grantee received an assessment of compliance and a rating of “met,” “not met,” or “N/A” (not
applicable). The evidence of meeting minimum criteria was determined based on both grantee and
subrecipient records and observation at grantee administrative offices and selected service sites as
part of the VPR process. Evidence may include but is not limited to, policies, procedures, protocols,
documentation of training, direct visual confirmation per review team consultants and/or OPA staff


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to ensure that what is contained in written policy is actually implemented, or any other form of
documentation that substantiates that the project is operating in accordance with the Title X
Program expectations.

Assessment of the Implementation of the Quality Family Planning Recommendation
This assessment evaluated the extent to which the grantee has implemented key aspects of QFP.
The grantee was assessed utilizing the listed criterion in OPA’s QFP Clinical Assessment Checklist.
The criterion identifies evidence of various aspects of quality services. The number of quality
indicators identified as in place serve as a means for recognizing grantee achievements, as well as
identifying areas not in place and therefore in need of improvement and/or technical assistance.

Conclusion of Review and Evaluation Standards
At the conclusion of the review, there was a Close-Out Presentation. Each review consultant
reported on a few Areas of Success (AOS) and a few Areas of Improvement and Required Action
(AOI) related to compliance and quality in their respective areas. Additionally, the reviewers also
provide technical assistance to support improvements throughout the VPR.

This report is a more comprehensive compilation of the AOI and contains actions for addressing the
AOI. If there was not sufficient evidence of compliance, the expectation is documented as being
‘Not Met.’ Each item ‘Not Met’ has a related ‘Area of Improvement.’ Each AOI is accompanied by
a Required Action to aid the grantee in being compliant with Title X expectations. Each AOI is
accompanied by an “A” if it is an Administrative Area of Improvement (AOI); “C” if it is a
Clinical Area of Improvement (AOI), and “F” if it is a Fiscal Area of Improvement (AOI).

‘Best Practice Suggestions’ are recommendations that OPA encourages grantees to adopt to
improve certain aspects of programming beyond meeting compliance expectations; however,
grantees are not required to adopt these suggestions.




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                                    Project Administration

Expectation 1:

Provide services without subjecting individuals to any coercion to accept services or to employ or
not to employ any particular methods of family planning. (42 CFR § 59.5(a)(2))

Review of Evidence Demonstrating Compliance (A):
   o TDH Family Planning Program Policy and Procedures (Revised May 2022), Voluntary
      Participation Policy effective April 1, 2022 revision date March 4, 2022
   o General Consent for Health Services
   o Chattanooga-Hamilton County Health Department Permission for Services
   o Grant Contract Between the State of Tennessee and Hamilton County Health Department
      (7/1/22-6/30-27)
   o Client Bill of Rights

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Policies address this expectation. Training
documentation shows staff complete annual training on this and other Title X expectations. The
Manual addresses this expectation. FP staff are required to complete initial and annual training
that includes this expectation. Subrecipient contracts require compliance with the Recipient's
Administrative Manual. Recipient site visit reports show subrecipient and service sites are in
compliance with this expectation. The forms used by TN FPP and subrecipient service sites include
statements. The Client Bill of Rights Voluntary Participation section states clients may refuse any
and all services without penalty. These Bill of Rights are posted near the intake desk at service
sites.

The consent for services form states "I freely give consent for the receipt of health services provided
by the staff of the Tennessee Department of Health." The form does not specifically state services
are provided on a voluntary basis.

TDH Family Planning Program Policy and Procedures: References throughout the policies include
a reference to the Program Requirements for Title X Funded Family Planning Projects. This
document has been replaced by the Title X Program Handbook 2022.

Chattanooga-Hamilton County Health Department Permission for Services form does not state
services are provided on a voluntary basis. The Chattanooga-Hamilton County Health Department
subrecipient contract requires services to be provided without subjecting individuals to coercion to
accept services or to employ or not to employ any particular methods of family planning.

Best Practice Suggestion: Remove the reference to Program Requirements for Title X Funded
Family Planning Projects, Version 1.0 April 2014 included in the reference sections throughout the
policies, and replace it will the Titles X Program Handbook 2022.


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Expectation 2:

Ensure that acceptance of services is solely on a voluntary basis and may not be made a prerequisite
to eligibility for, or receipt of, any other services, assistance from or participation in any other
program of the recipient. (Sections 1001 and 1007, PHS Act; 42 CFR § 59.5(a)(2))

Review of Evidence Demonstrating Compliance (A):
   o TDH Family Planning Program Policy and Procedures (Revised May 2022), Voluntary
      Participation Policy effective April 1, 2022 revision date March 4, 2022
   o General Consent for Health Services
   o Chattanooga-Hamilton County Health Department Permission for Services
   o Client Bill of Rights
   o Voluntary participation/non-coercion notice

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The recipient has established written policies
and procedures for compliance with this expectation. Documentation of training shows staff
complete annual training on this expectation. The General Consent for Health Services form states
"I do not have to use any other health department services in order to receive Family Planning
services." The statement on the consent form used by the subrecipient reviewed directly addresses
this expectation. Voluntary participation/non-coercion notices are posted near intake desks at clinic
sites reviewed. A Title X Requirements Acknowledgement form is sent to staff via email annually.
Staff are asked to read Title X requirements attached regarding non-discrimination, non-coercion,
abortion prohibition, and confidentiality and sign the form for each expectation. The signed form
should be returned to sender.

The state will resize and make more colorful the voluntary participation/non-coercion notice posted
near the intake desk.

Best Practice Suggestion: Remove the following statement from the General Consent for Health
Services form: "I do not have to use any other health department services in order to receive
Family Planning services." Replace with "I understand that I have the right to refuse any and all
treatment and medication."

Review of Evidence Demonstrating Compliance (C):
   o Medical Records
   o General consent forms

This expectation was MET.

Areas of Improvement and Required Action (C): N/A


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Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Medical Records in each subrecipient site
consistently included signed general consents for family planning services.


Expectation 3:

Ensure that staff are informed that any officer or employee of the United States, officer or employee
of any State, political subdivision of a State, or any other entity, which administers or supervises the
administration of any program receiving Federal financial assistance, or person who receives, under
any program receiving Federal assistance, compensation for services, who coerces or endeavors to
coerce any person to undergo an abortion or sterilization procedure by threatening such person with
the loss of, or disqualification for the receipt of, any benefit or service under a program receiving
Federal financial assistance shall be fined not more than $1,000 or imprisoned for not more than
one year, or both. (42 U.S.C. § 300a-8, as set out in 42 CFR § 59.5(a)(2) footnote 1)

Review of Evidence Demonstrating Compliance (A):
   o TDH Family Planning Program Policy and Procedures (Revised May 2022), Voluntary
      Participation Policy effective April 1, 2022 revision date March 4, 2022
   o Documentation of Annual training regarding Title X expectations

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TDH policy prohibits coercion to use any
particular method or service. Training documentation shows staff completed annual training on
this expectation. Site visit reports showed TN FPP monitors subrecipient and service sites for
compliance with this expectation. Staff are asked to read Title X expectations regarding non-
discrimination, non-coercion, abortion prohibition, and confidentiality and sign the form for each
expectation. The signed form should be returned to sender via email.


Expectation 4:

Provide services in a manner that does not discriminate against any client based on religion, race,
color, national origin, disability, age, sex, sexual orientation, gender identity, sex characteristics,
number of pregnancies, or marital status. (42 CFR § 59.5(a)(4))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Cultural Competency
   o TN Family Planning Program Policy and Procedures, Non-Discriminatory Services (eff
      4/1/22; rev 3/22/22)
   o TN Department of Health Non-Discrimination
   o Chattanooga-Hamilton CHD Administrative Manual, Title VI Statement



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   o   TDH General Administration 2.0, Title VI Limited English Proficiency (LEP) Patient
       Services -- 2.16
   o   Client Bill of Rights
   o   Virtual service site tours

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The recipient has established policy and
procedures regarding this expectation. Training documentation showed staff have completed
annual Title VI Training. The Client Bill of Rights includes this non-discrimination statement. Title
VI posters are on the walls throughout the service sites reviewed. A Title X Requirements
Acknowledgement form is sent to staff via email annually. Staff are asked to read Title X
expectations attached regarding non-discrimination, non-coercion, abortion prohibition, and
confidentiality and sign the form for each expectation. The signed form should be returned to the
sender.

Non-discrimination is addressed in the Hamilton County Government Employee Handbook. TDH
General Administration establishes non-discrimination policies for all TDH programs that are
receiving financial assistance. This policy is based on Title VI regs that do not include the
categories in FP expectations. This policy addresses compliance regarding interpreter and
translation services. It requires each region and metro CHD to develop a written LEP plan based
on a needs assessment. Title VI posters are posted throughout the clinic.

Best Practices Suggestion: Revise the non-discriminatory services policy to include sexual
orientation, gender identity, and sex characteristics.


NOTE: Expectation 5 was reviewed under Financial Accountability.


Expectation 6:

Provide services without the imposition of any durational residence expectation or an expectation
that the client be referred by a physician. (42 CFR § 59.5(b)(5))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Durational Residency (eff 05/2022,
      rev 5/15/22)
   o Chattanooga-Hamilton CHD Administrative Manual
   o Staff Observations through role play (three sites reviewed)

This expectation was MET.

Areas of Improvement and Required Action (A): N/A


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Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The policy prohibits the use of any residency
expectation to access Title X services at any service site. Staff are trained on this expectation and
TFPP staff monitor the services site for compliance. A review of site visit reports showed no
findings related to this expectation.

Interviews with staff and observations of role play at the three sites reviewed revealed staff are
aware of this expectation.


NOTE: Expectation 7 was reviewed under Provisions of High-Quality Family Planning
Services.


NOTE: Expectation 8 was reviewed under Community, Education, Participation, and
Engagement.


Expectation 9:

Ensure that all information as to personal facts and circumstances obtained by the project staff
about individuals receiving services must be held confidential and must not be disclosed without the
individual’s documented consent, except as may be necessary to provide services to the patient or
as required by law, with appropriate safeguards for confidentiality. Information may otherwise be
disclosed only in summary, statistical, or other form that does not identify the individual.
Reasonable efforts to collect charges without jeopardizing client confidentiality must be made.
Recipients must inform the client of any potential for disclosure of their confidential health
information to policyholders where the policyholder is someone other than the client. (42 CFR §
59.10(a))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Confidentiality (eff 4/1/22; rev 3/4/22)
   o TDH Notice of Privacy Practices (rev 06/13)
   o TDH website, Family Planning section
   o General Consent for Health Services form
   o Chattanooga-Hamilton County Health Department Individual Agreement to Preserve
      Confidentiality of Patient or Client Information and Records
   o Chattanooga-Hamilton County Health Department Permission for Services
   o Chattanooga-Hamilton County Health Department Administration Manual 2019
   o TN Client Bill of Rights
   o Observations of role play

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A


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Best Practices Suggestions & Additional Comments: Staff complete initial and annual training on
this policy. TDH Notice of Privacy Practices is offered to clients at their initial visit. TDH has
implemented medical records system safeguards to ensure adequate privacy, security, and
appropriate access to PII. The TDH FPP website informs viewers that clinical services are
confidential. The training plan and training documentation were provided for review.

Role plays at the three sites reviewed showed intake staff emphasis that services are confidential.

A Title X Requirements Acknowledgement form is sent to staff via email annually. Staff are asked to
read Title X requirements attached regarding non-discrimination, non-coercion, abortion
prohibition, and confidentiality and sign the form for each expectation. The signed form should be
returned to sender.

The TDH website, Family Planning section, states Confidential clinical services are offered in all
95 counties across the state at each of the local health departments. General Consent for Health
Services does not specifically state services are confidential. Clients receive a copy of the HIPAA
Notice of Privacy Practices. The Chattanooga-Hamilton County Health Department workforce are
required to sign this confidentiality agreement. The form documents the individual has reviewed the
policy. It further designates routine access for the individual. There are four access levels ranging
from no access to full access based on the individuals' work positions. Chattanooga-Hamilton
Permission for Services includes an acknowledgment of receipt of notice of privacy practices. Role
play of staff at three sites reviewed showed staff have received training on confidentiality
expectations and are in compliance with state and federal HIPAA and other confidentiality
expectations.

Review of Evidence Demonstrating Compliance (F):
   o Contracts with metropolitan health departments
   o Administrative manual

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 10:

Develop plans and strategies for implementing family planning services in ways that make services
as accessible as possible for clients. (OPA Program Priority, as set out in PA-FPH-22-001 NOFO
and the FY 2022 NOA Special Terms and Expectations)

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Telehealth (eff 6/1/22, rev 5/10/22)

This expectation was MET.


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Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TDH wants to meet the people "where they
are." TDH initiated telehealth services with Title X funding just prior to the beginning of the
pandemic. A client calling for an appointment is offered a telehealth or in-person appointment.
Telehealth appointments can originate from client's home, health service site, or other site with
internet service. If internet service is not available, the appointment can be conducted using
Facetime or an audio phone call. Telehealth staff emphasize the importance of confidentiality.
Ninety-five percent of telehealth clients surveyed were very satisfied with their visit and would
recommend telehealth to their friends and family. TDH hopes to expand these services when
funding and staffing permits. Hamilton County Health Department began offering telehealth
services during COVID. Pre-pandemic, some clinics offered extended hours. Hamilton County
plans to resume services during extended hours post-pandemic. Pre-pandemic, TDH began a
process to assess service sites to determine their accessibility to vulnerable population. TDH
surveyed 124 sites for their accessibility to teen, male, and LGBTQ+ persons. Plans were paused
due to the pandemic. Based on survey results, TDH plans to increase the accessibility of services
for a more diverse population. The percent of family planning users who are male is low (3%).
TFPP staff along with Family Planning Administrators in the regions and metro are working to
develop strategies to serve more males.

Pre-pandemic, the TDH began a process to assess service sites to determine their accessibility to
vulnerable populations. The first year TDH surveyed 124 sites for their accessibility to teen, male,
and LGBTQ+ persons. Plans were paused due to the pandemic. Survey results were provided for
review. Based on survey results, TDH will increase the accessibility of services for a more diverse
population.

Chattanooga-Hamilton CHD: Extended clinic hours, telehealth, med refill pickup dates without
receiving services (pharmacy-like), FP ANPs are on a rotating schedule working in STD clinics to
interact with male clinics and offer to fast track family planning services. The arrangement keeps
the lines of communication open between STD clinic staff and FP staff. The site is trying to get
word out that the HD provides family planning services for males. Pre-pandemic Chattanooga-
Hamilton CHD offered services during extended hours. Plan to resume this schedule when feasible.

Recipient understands the need to increase the number of males receiving FP services. Are
exploring a variety of options, particularly warm handoff from STD.


Expectation 11:

Identify and execute strategies for delivering services that are responsive to the diverse needs of the
clients and communities served. (OPA Program Priority, as set out in PA-FPH-22-001 NOFO and
the FY 2022 NOA Special Terms and Expectations)

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Telehealth (eff 6/1/22, rev 5/10/22
   o TN Family Planning Program Policy and Procedures, Facilities and Accessibility of
      Services (eff 11/6/2002; rev 12/6/2019)

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   o   FY 22 Competitive Application
   o   General Administration 2.0, Title VI Limited English Proficiency (LEP) Patient
       Services2.16
   o   Chattanooga-Hamilton County Health Department Administrative Manual

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The TN Department of Health and
Chattanooga-Hamilton County Health Department provide telehealth services as an option for FP
service delivery. Clients calling for an appointment are offered an in-person or telehealth
appointment. Clients needing language assistance have presented a problem with telehealth
appointments. The ANP uses Doxy.me or facetime to conduct these appointments. She has not been
able to link in an interpreter. She has tried using the language line to complete the appointment but
has not been satisfied with that option since she cannot see the patient and gauge her reactions.
TDH should identify a communication method that will allow interpreters to participate in face-to-
face meetings to provide interpreter services. TDH contracts for interpreter services at all clinic
sites. Some sites have an interpreter on site (Spanish/English). Each region/metro is required to
develop a written LEP plan to provide interpreter services. Translation services are provided
through the Tennessee Foreign Language Institute. Virtual tours showed notices of availability of
interpreter services in a variety of languages posted near the intake desk at service sites reviewed.
Other notices and posters are posted in English and Spanish. Hamilton County has a Kurdish
population and their brochures have been translated into Arabic.

TDH implemented the outreach initiative, Neonatal Abstinence Syndrome (NAS) Reduction Effort
Through Expanded Access to Family Planning Services, in 2015. Family Planning staff provide
education about NAS prevention and available Family Planning services. The opioid epidemic and
COVID-19 pandemic resulted in an uptick in the number of opioid overdoses. All Family Planning
clients are screened for substance abuse. TFPP works collaboratively with the Tennessee
Department of Mental Health and Substance Abuse to provide seamless continuity of care.

The TN Accessible Transportation and Mobility Act of 2020 created a new office within the
Tennessee Department of Transportation. The purpose is to provide resources and expertise for
expanding and improving accessible transportation and mobility across the state. Efforts to address
transportation barriers for clients include: outside of health department service locations, free bus
passes, partnering with A Step Ahead program to provide transportation to women through Uber
and Lyft services.

TDH partners with The Rape Prevention and Education program that focuses on preventing sexual
violence perpetration and victimization.

Best Practice Suggestion: TDH FPP staff should explore options for telehealth service delivery for
LEP clients needing interpreter services.


Expectation 12:

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Provide notice to OPA in the Title X Clinic Locator Database (https://opa-fpclinicdb.hhs.gov/) of
any deletions, additions, or changes to the name, location, street address and email, services
provided on-site, and contact information for Title X recipients and service sites. Changes must be
entered into the database within 30 days from the official OPA/GAM prior approval expectation for
changes in project scope, including clinic closures. (PA-FPH-22-001 NOFO and the FY 2022
Notice of Award Special Terms and Expectations)

Review of Evidence Demonstrating Compliance (A):
   o Interview with grant recipient staff

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The TFPP Project Director has assigned the
responsibility for maintaining the clinic locator database to a staff member. This staff member
monitors local service sites and subrecipient agencies and updates the database as needed.


Expectation 13:

If enrolled in the 340B Program, comply with all 340B Program expectations. 340B Program
expectations are available at https://www.hrsa.gov/opa/program-expectations/index.html. (FY 2022
Notice of Award Special Terms and expectations)

Review of Evidence Demonstrating Compliance (F):
   o Inventory check
   o Staff interviews

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 14:

May copyright any work that is subject to copyright and was developed, or for which ownership
was acquired, under a federal award. The federal government reserves a royalty-free, nonexclusive
and irrevocable right to reproduce, publish, or otherwise use the work for Federal purposes, and to
authorize others to do so. The awardee is subject to applicable regulations governing patents and
inventions, including government- wide regulations issued by the Department of Commerce at 37
CFR part 401. The federal government has the right to: obtain, reproduce, publish, or otherwise use

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the data produced under this award; and authorize others to receive, reproduce, publish, or
otherwise use such data for federal purposes.

Review of Evidence Demonstrating Compliance (A):
   o Interview with Project Director

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 15:

Acknowledge Federal funding when issuing statements, press releases, publications, requests for
proposal, bid solicitations and other documents --such as tool-kits, resource guides, websites, and
presentations (hereafter “statements”)-- describing the projects or programs funded in whole or in
part with HHS federal funds, the recipient must clearly state the percentage and dollar amount of
the total costs of the program or project funded with federal money and the percentage and dollar
amount of the total costs of the project or program funded by non-governmental sources.

Review of Evidence Demonstrating Compliance (A):
   o No written policies and procedures
   o Outreach and educational materials

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The Recipient does not have any written
policies and procedures for compliance with this federal expectation. Federal funding was
acknowledged on the Title X Family Planning brochure developed and printed by the Tennessee
Family Planning Program, but the acknowledgement does not match either of the
acknowledgements included in this expectation. The acknowledgement on the brochure is as
follows: "This publication was made possible by grant #FPHPA040651 from the US Department of
Health and Human Services. Its contents are solely the responsibility of the authors and do not
necessarily represent the official views of the US Department of Health and Human Services."

Interview with the Project Director revealed this is the only brochure developed by the project. The
acknowledgement does include some of the wording included in one of the acknowledgements.
Reviewer recommended the Project Director submit the acknowledgement currently on the Family
Planning Brochure to their federal project officer for approval.



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The Family Planning brochure has a statement acknowledging federal funding, but the statement is
not required in this expectation. None of the other outreach material or brochures were developed
and printed using Title X funding.

The Family Planning brochure acknowledges grant support but does not use the language required.
Subrecipient contracts do not include this expectation.

Best Practice Suggestion: Develop written policies and procedures acknowledging federal funding
when issuing statements, press releases, publications, requests for proposals, bid solicitations, and
other documents, and include this expectation in subrecipient contracts. Submit acknowledgment
currently used on the Family Planning brochure to the OASH federal project officer and the OASH
grants management specialist for approval.




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                  Provision of High-Quality Family Planning Services

Expectation 1:

Provide a broad range of acceptable and effective medically approved family planning methods
(including natural family planning methods) and services (including pregnancy testing and
counseling, assistance to achieve pregnancy, basic infertility services, sexually transmitted infection
(STI) services, preconception health services, and adolescent-friendly health services). If an
organization offers only a single method of family planning, it may participate as part of a project
as long as the entire project offers a broad range of acceptable and effective medically approved
family planning methods and services. (Section 1001, PHS Act; 42 CFR § 59.5(a)(1))

Title X service sites are expected to provide most, if not all, of acceptable and effective medically
approved family planning methods and services on site and must detail the referral process for
family planning methods and services that are unavailable on-site.

Review of Evidence Demonstrating Compliance (C):
   o Family Planning Clinical Guidelines
   o Client education/counseling protocol
   o Family Planning Public Health Nursing Protocols
   o Medical records review
   o Documentation of staff training
   o Interview with Training Manager

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: The reviewer recommended that basic infertility services, a core, and
required Title X family planning service for men and women, alike, are offered on-site to clients
instead of through the current referral process. These services, recommended by QFP, ACOG, and
the American Urological Society are defined in QFP, page 14. RHNTC has several succinct
resources for the offering of these services which are within APN’s scope of training and practice.
The reviewer also recommended that the Family Planning Clinical Guidelines, last updated in 2021,
be reviewed annually.

Best Practices Suggestions & Additional Comments: Direct observation of client care
substantiated that client were made aware of all FDA-approved contraceptives and their
availability within the program. The Family Planning Program has a high usage of LARCs, and
educational materials regarding NFP and liberally dispenses latex and non-latex condoms. Both
clinics consistently offer same day starts for contraceptives. The Polk-Benton APN does not insert
LARCs (a referral process is in place for these methods) and is willing to have updated training for
these methods. The Clinical Manager could consider offering this APN supervised insertion
opportunities at another clinic in order to enable her independent practice. Expedited partner
treatment for STIs is readily available as are referrals for PrEP, after counseling regarding this
medication. Reproductive life planning discussions and medical histories were consistently
documented in all pregnancy testing records. Only one of the records included documentation that
clients with positive tests were assessed for social support. Otherwise, all documentation was in


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accordance with QFP principles. All staff had evidence of QFP training as it relates to pregnancy
counseling.


Expectation 2:

Ensure that Title X service sites that are unable to provide clients with access to a broad range of
acceptable and effective medically approved family planning methods and services, must be able to
provide a prescription to the client for their method of choice or referrals to another provider, as
requested. (42 CFR § 59.5(a)(1))

Review of Evidence Demonstrating Compliance (C):
   o Clinic Protocol
   o Referral list
   o Medical records review

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Clinics provide all family planning methods
and services, including referrals for sterilization and LARCs (provided on a sliding fee scale) if
they are not available on-site. TFPP has an agreement with the University of Nevada, Reno, to
perform vasectomies on clients that they have counseled regarding this contraceptive option, and
those clients are charged on a sliding fee scale. The Recipient offers a broad range of
contraceptives including several types of oral contraceptives, two types of IUDs and emergency
contraception, and Depo Provera( IM and SQ). They offer a full year's supply of oral
contraceptives if clinically not contraindicated, at the time of method initiation.


Expectation 3:

Provide services in a manner that is client-centered, culturally and linguistically appropriate,
inclusive, and trauma-informed. (42 CFR § 59.5(a)(3))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Cultural Competency (rev 3/10/22;
      Eff date 4/1/22
   o Client Dignity Protocol
   o Chattanooga-Hamilton CHD Administrative Manual, Interpretation Services
   o Chattanooga-Hamilton CHD Administrative Manual, Interpreters Provided by Clients
   o Virtual clinic tour
   o Training documentation

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

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Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TN has a policy of non-discrimination in
employment. The virtual tour showed non-discrimination in employment posters and vacancy
announcements (at one site) on the walls in the two sites reviewed. TDH staff complete cultural
diversity training annually. Client satisfaction surveys assess the degree to which they feel the staff
are sensitive to and able to deal effectively with the client population. Service sites conduct patient
satisfaction surveys for a period of at least five working days during the calendar year. TDH staff
collaborates with Health Councils composed of diverse stakeholders who look at data, identify
disparities, and select priority areas to work on. I&E and outreach Family Planning materials are
in English and Spanish. Limited material has been translated into Arabic. Interpreter services are
available statewide through a language line. Hamilton County has Spanish-speaking interpreters
available onsite.

The Chattanooga-Hamilton CHD Administrative Manual states that clients choosing to use their
own interpreter must sign a waiver stating they were informed of an interpreter free of charge and
of the risk of using their own interpreter but choose to use their interpreter. Signage in the building
is in Spanish and English. FP brochures are in Spanish, English, and Arabic. Notice of availability
of interpreter service is posted on the wall near the intake desk.

Review of Evidence Demonstrating Compliance (C):
   o Recipient and subrecipient agencies have written policies and procedures addressing this
      expectation
   o Copies of Materials translated into other languages that are available to patients
   o LGBTQ Assessments
   o Translation services policy
   o Client education/counseling materials, etc.
   o Medical record review
   o Staff trainings
   o Policies, procedures, and Protocols

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Direct client/provider observations reflected
client-centered care that was also trauma-informed. The Recipient has conducted LGBTQ+
assessments with an inclusive tool to evaluate quality services to these clients. Trauma-informed
education was consistently documented in the medical records reviewed. The Hamilton clinic has
Spanish interpreters (22% of the clients are Hispanic) on-site and both clinics utilize language
lines. The Hamilton clinic has a gender-neutral bathroom identified during the tour of the facility.


Expectation 4:

Provide services in a manner that protects the dignity of the individual. (42 CFR § 59.5(a)(3))

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Review of Evidence Demonstrating Compliance (C):
   o TNDOH Administrative Manual
   o Client Dignity protocol
   o Observation of client education

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP has a policy dated March 2022
describing the program's process for ensuring that services are provided in a manner that protects
clients' dignity. Direct observation of client care role plays in each subrecipient site exemplified
this standard of care.


Expectation 5:

Provide services in a manner that ensures equitable and quality service delivery consistent with
nationally recognized standards of care. (42 CFR § 59.5(a)(3))

Review of Evidence Demonstrating Compliance (C):
   o Documentation of staff training
   o Clinic Protocol
   o Family Planning Clinical Guidelines, 2021
   o Observation of client education; medical record/chart review

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP participates in the TDH Division of
Family Health and Wellness health equity planning and implementation task force. This
collaboration ensures that family planning policies reflect and value the potential of every client.


Expectation 6:

Provide quality family planning services that are consistent with the Providing Quality Family
Planning Services: Recommendations from Centers for Disease Control and Prevention and the
U.S. Office of Population Affairs (QFP) and other relevant nationally recognized standards of care.
(OPA Program Priority, PA-FPH-22-001 NOFO, and the FY 2022 NOA Special Terms and
Expectations)

Review of Evidence Demonstrating Compliance (C):

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   o   Documentation of staff training
   o   Clinic Protocol
   o   Client education
   o   Counseling Protocol
   o   FPAR data
   o   Observation of Client interactions

This expectation was NOT MET.

Areas of Improvement and Required Action (C): The number of male clients seen in the TFPP,
less than 3% of the client total in 2021, is far below the national average. The Hamilton program
had no male client medical records available for the review. The TFPP program needs to achieve
health equity for the male population, particularly those of low income, by increasing outreach to
males and recruiting males into the program. The TFPP must develop a protocol specific to males,
including the family planning and related preventative health services recommendations in QFP's
checklist for male services (page 23).

Technical Assistance: The reviewer discussed strategies with TFPP staff, including collaboration
with STD programs to partner in addressing those needs of male patients and promoting services
that will safeguard the reproductive health of both men and women. Marketing efforts could include
distributing male-friendly brochures in posters in establishments, such as bars and gyms, where
males congregate. Opportunities can be optimized to provide men with reproductive health care by
converting a standalone visit (e.g., an STD screening request) to a more comprehensive family
planning visit that also addresses issues related to unintended pregnancy prevention including
sexual risks, contraception, and reproductive life planning. This approach is especially important
for men who otherwise might not receive these services.

Best Practices Suggestions & Additional Comments: Midlevel nurse practitioners identified their
comfort in seeing male clients. The TFPP has well-designed visual materials (e.g., postures and
brochures) intended for a male audience. The Family Planning National Training Center has
developed a checklist for family planning and related health services for men based on CDC, QFP,
and OPA recommendations. Increasing services to the male population will facilitate preconception
health for both men and women. The FPP needs to maximize these resources, identify current
barriers to reaching males and create a plan to increase services to this population.


Expectation 7:

Advance health equity through the delivery of Title X services. Health equity is when all persons
have the opportunity to attain their full health potential and no one is disadvantaged from achieving
this potential because of social position or other socially determined circumstances. (OPA Program
Priority, PA-FPH-22-001 NOFO, the FY 2022 NOA Special Terms and Expectations, and 42 CFR
§ 59.2)

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, non-discriminatory Services, Client
      Dignity
   o FP Training documentation
   o Observation during Role Play


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This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Non-discriminatory services, client dignity,
confidentiality, and other policies assure clients have access to reproductive health services.
Training documentation showed that staff have completed annual non-discrimination,
confidentiality, cultural diversity, and other required training. Staff have interpreter services
available statewide through a language line. During role play observation, intake staff showed they
are sensitive to the needs of clients and emphasize confidentiality. The clinic site reviewed is
handicap accessible. Both sites have a gender-neutral restrooms.

Documentation of training provided for staff in the metro and region were reviewed.

Review of Evidence Demonstrating Compliance (C):
   o Documentation of staff training
   o Client education/counseling protocol
   o Observations and interviews
   o Referrals policy or system/process

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The recipient's work plan identifies two
specific goals in advancing health equity. TFPP, together with TDH, are working with a Health
Equity consultant to prepare a health equity disparity impact statement.


Expectation 8:

Improve and expand accessibility of services for all clients, especially low-income clients by
providing client-centered services that are available when and where clients need them and can
most effectively access them. (OPA Program Priority, PA-FPH-22-001 NOFO, and the FY 2022
NOA Special Terms and Expectations).

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Telehealth (eff 6/1/22, rev 5/10/22
   o TN Family Planning Program Policy and Procedures, Facilities and Accessibility of
      Services (eff 11/6/2002; rev 12/6/2019)
   o Chattanooga-Hamilton County Health Department Administrative Policies
   o Virtual tour of clinic sites

This expectation was MET.

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Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Surveys of TDH TFPP telehealth services
have shown that 95% of the clients are satisfied with their services and would recommend
telehealth to friends and family. TFPP plans to expand services as funding and staffing are
available. Hamilton County Health Department offered extended hours pre-pandemic and initiated
telehealth during the pandemic. The Health Department plans to resume extended hours schedule
and expand telehealth services and offer quick med pickup (similar to pharmacies). Hamilton
County plans outreach to a small Kurdish population in the county. TFPP staff have been working
with the Epidemiologist to establish outreach potential. For example, mapping the counties serving
less than 21% of Females aged 19-44 who are potentially eligible for Title X FP services.

Chattanooga-Hamilton County Health Department: Pre-pandemic offered extended hours so that
clients could access services after work. During the pandemic, offered telehealth service and drive-
through meds pickup. When fully staffed and open, plan to resume and expand telehealth services
and offer quick med pickup (similar to pharmacies). The main clinic reviewed has free parking in a
garage, automatic door opening, and elevators. Handicap-accessible, gender-neutral restrooms are
available. The building is large and well laid out to accommodate individuals with mobility issues.
Maps are posted on the walls to direct clients to available services, including family planning.
Spanish-speaking interpreters are onsite, and a language line is available for other languages. FP
APNs work in an STD clinic periodically to provide FP information and intake for FP services to
male clients. The clinic serves a racially diverse population. There has been an increase in
outreach to the Kurdish population in the county.

Polk County Health Department is attractive and well laid out. A gender-neutral restroom is
available. The entrance door is not automatic, but staff indicated there are plans to update it. Polk
County is a small, rural county. The Benton clinic served only 39 patients and no males.

Review of Evidence Demonstrating Compliance (C):
   o Client education/counseling materials
   o Telehealth protocol
   o Transportation access (Client mobility)
   o Clinic layout
   o Needs assessment
   o Patient observation
   o Interpretation services

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The Telehealth program greatly enhances
clients' access to services through the offering of flexible hours and obviating the need for
transportation.

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Expectation 9:

Offer pregnant clients the opportunity to be provided information and counseling regarding each of
the following options: prenatal care and delivery; infant care, foster care, or adoption; and
pregnancy termination. If requested to provide such information and counseling, projects must
provide neutral, factual information and nondirective counseling on each of the options, and referral
upon request, except with respect to any option(s) about which the pregnant client indicates they do
not wish to receive such information and counseling. (42 CFR § 59.5(a)(5), Title X appropriations)

Review of Evidence Demonstrating Compliance (C):
   o Documentation of staff training
   o Pregnancy Testing and Counseling Protocol
   o Referral list
   o Medical Records review
   o APN staff interviews
   o Pregnancy Testing and Counseling Protocol
   o Referral lists
   o Medical Records review
   o Observation of Pregnancy Counseling visit
   o Staff interview

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: The reviewer strongly recommended the addition of pregnancy testing to the
family planning brochure's list of services.

Best Practices Suggestions & Additional Comments: Non-directive pregnancy counseling is
offered by nurse practitioners. No referrals for abortion are made. Prenatal precautions, according
to the protocol, are documented in the medical records reviewed. The protocol for pregnancy
counseling conforms with federal expectations for this service.


Expectation 10:

Provide that family planning medical services will be performed under the direction of a clinical
services provider (CSP), with services offered within their scope of practice and allowable under
state law, and with special training or experience in family planning. CSPs include physicians,
physician assistants, nurse practitioners, certified nurse midwives, and registered nurses with an
expanded scope of practice who are trained and permitted by state-specific regulations to perform
all aspects of the user (male and female) physical assessments recommended for contraceptive,
related preventive health, and basic infertility care. (42 CFR § 59.5(b)(6) and 42 CFR § 59.2)

Review of Evidence Demonstrating Compliance (C):
   o CVs (Grantee, Hamilton, and Polk-Benton) Medical Directors
   o Interviews with three Medical Directors and APNs


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   o   Description of Position

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: The reviewer recommended that the recipient's medical director reach out to
the program's regional directors on a regular basis (e.g., quarterly newsletter) apprising them of any
news or update regarding the TFPP.

Best Practices Suggestions & Additional Comments: TFPP's Medical Director was engaged with
the review process during each day of this program review. She has reviewed and signed TFPP
protocols and policies. She has many years of experience in family planning and women's health
and has attended several annual FP updates, contraceptive technology update conferences, and the
past two virtual national reproductive health conferences hosted by the national clinical training
center. Hamilton's medical director job description stated that the physician serves as the clinical
supervisor/collaborator with the advanced practice nurses which includes monthly chart reviews,
reviewing and approving protocols, and clinical guidelines used in various clinics. This
subrecipient has an APN/MD Preceptor Agreement stipulating that family planning services are
under the supervision of the physician preceptor. The newly appointed Medical Director will be
attending an upcoming reproductive health care conference. An OB/GYN physician is available to
Hamilton APNs for consultation Pol-Benton's medical director is a board-certified family medicine
physician with recent continuing education in reproductive health. All medical directors confirmed
that they are familiar with QFP.


Expectation 11:

Ensure that non-clinical counseling services (such as contraceptive counseling, nondirective options
counseling, reproductive health goals, etc.) is provided by any adequately trained staff member who
is involved in providing family planning services to Title X clients, this may include CSPs and non-
CSPs (e.g., health educators). (2021 Final Rule FAQs)

An “adequately trained staff member” has attended and participated in required orientation, courses,
curriculums, and/or teaching/mentoring experiences, maintains appropriate competencies, and is
knowledgeable and proficient in providing non-clinical counseling services.

Review of Evidence Demonstrating Compliance (C):
   o Documentation of staff training/education
   o Observation of Client Education session and/or staff interview
   o Medical record review

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A



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Best Practices Suggestions & Additional Comments: Not all TFPP staff have completed training
in QFP. Completing this training will familiarize these members with the principles designed to
optimize care. Direct observation of non-clinical counseling reflected the staff member's ability to
appropriately follow up on non-verbal cues from the client. The RLP was consistently discussed in
all observed client/provider interactions, as well as documented in medical records reviewed.




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                                      Adolescent Services

Expectation 1:
Apply all expectations listed under “Provision of Quality Family Planning Services” when
providing services to adolescent clients.

Review of Evidence Demonstrating Compliance (C):
   o Observation and staff interview
   o Medical records review
   o Adolescent Clinical Protocol

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFP's adolescent population, at 19% is
higher than the national average.


Expectation 2:
Provide adolescent-friendly health services, which are services that are accessible, acceptable,
equitable, appropriate and effective for adolescents. (42 CFR § 59.2)
Review of Evidence Demonstrating Compliance (C):
   o Medical records review
   o Client education/counseling materials
   o Observations and staff interviews
   o Inspection of Title X subrecipient sites
   o Schedule of site hours

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The TFP Adolescent Service policy identifies
QFP's five key principles to ensure quality counseling and education.


Expectation 3:
To the extent practical, Title X projects shall encourage family participation. However, Title X
projects may not require consent of parents or guardians for the provision of services to minors, nor
can any Title X project staff notify a parent or guardian before or after a minor has requested and/or
received Title X family planning services. (Section 1001, PHS Act; 42 CFR § 59.10(b))

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Review of Evidence Demonstrating Compliance (A):
   o FP PHN Protocols, Adolescent Services
   o TN Family Planning Program Policy and Procedures, Confidentiality
   o Training documentation
   o Client Bill of Rights
   o Training Plan
   o TN Family Planning Program Policy and Procedures, Compliance with Legislative
      Mandates (eff 4/1/22; rev 3/22)
   o Role plays

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP has written an Adolescent Services
policy requiring counseling regarding encouraging family participation in the decision of minors to
seek family planning services. Parental consent is not required for minors to receive services. Site
visit reports show subrecipients and services sites are assessed for compliance with this
expectation. The training plan includes annual training on this expectation and training
documentation shows staff completed this training. The Client Bill of Rights posted near intake
desks in clinics assures clients that their health records are private, and services will be provided in
ways that ensure privacy and safety. Intake staff during role play assured clients their insurance
would not be billed, and the health department would not mail anything to their homes if they were
seeking confidential services.

Review of Evidence Demonstrating Compliance (C):
   o Observation and staff interviews
   o Adolescent counseling and education protocol

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Role play scenarios in each Hamilton and
Polk-County clinic demonstrated that staff confirms with adolescent patients that project staff will
not notify a parent or guardian before or after a minor has requested and/or received Title X family
planning services.


Expectation 4:
Ensure that all applicants for Title X funds certify that they encourage family participation in the
decision of minors to seek family planning services and provide counseling to minors on how to



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resist attempts to coerce minors into engaging in sexual activities. (Legislative Mandate set out in
the Annual HHS Appropriations Act)

Review of Evidence Demonstrating Compliance (A):
   o FP PHN Protocols, Adolescent Services
   o Training Plan and documentation of training
   o 2022 Administrative Manual Tennessee Family Planning Program

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TDH FPP policy requires providers to
counsel on ways to resist sexual coercion and on encouraging family involvement at the initial
reproductive health encounter and at least annually. Parental consent is NOT required in order to
receive services. Information will not be shared without the minor's consent. Minors presenting
with a parent or guardian must be offered the opportunity to receive counseling and/or examination
separately from the parent(s)/guardian(s). The Administrative Manual states adolescents may
consent to family planning services without the consent of a parent. The Adolescent Consents and
Counseling section of the manual further states that adolescents must be counseled on how to resist
being coerced into engaging in sexual activities and encourage the minor to involve their family in
their decision to seek family planning services. Site visit reports reviewed found service sites were
in compliance with these expectations.


Review of Evidence Demonstrating Compliance (C):
   o Adolescent Services Protocol
   o Observations and staff interviews

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The Adolescent Services protocol clearly
stipulates legislative expectation mandates and the review of medical records consistently
documented age-appropriate counseling in this regard. The protocol offers an example of a well-
written script encouraging minors' inclusion in family participation. All chart reviews, male and
female alike, had documented adolescent counseling. Medical records reviewed for both the
Hamilton and Polk-Benton sites had consistent and complete adolescent counseling documented.
Role plays with adolescent clients at each site, similarly included this counseling, including that
with a male client.


Expectation 5:


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No Title X services provider shall be exempt from any State law requiring notification or the
reporting of child abuse, child molestation, sexual abuse, rape, or incest. (Legislative Mandate set
out in the Annual HHS Appropriations Act)

Review of Evidence Demonstrating Compliance (A):
   o 2022 Administrative Manual Tennessee Family Planning Program, Mandatory Reporting
      Requirement
   o TN Family Planning Program Policy and Procedures, Confidentiality
   o TN Family Planning Program Policy and Procedures, Compliance with Legislative
      Mandates
   o FP PHN Protocols, Adolescent Services
   o Training Plan and documentation of training

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TDH FPP policy requires staff to report
suspected abuse in compliance with state reporting laws. The training plan requires training on this
expectation to be completed annually. Documentation showed staff training is up to date. The
training is provided by the Tennessee Department of Children's Services (Mandated Child Abuse
Reporting Training). A Title X: Mandatory Reporting Acknowledgement form is sent via email to
staff annually. Staff may use the form to report training completed and upload certificates of
completion.


Review of Evidence Demonstrating Compliance (C):
   o Child Abuse Protocol
   o Adolescent Services Policy

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The Adolescent Services Policy for TFPP
stipulates that the TNDH policy "Reporting Child Abuse" must be followed to report suspected
abuse. This policy comprehensively addresses the legislative reporting mandate.




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                         Referral for Social and Medical Services

Expectation 1:
Provide referrals for medical services related to family planning and to other medical facilities
when medically indicated thereby provide for the effective usage of contraceptive devices and
practices. (42 CFR § 59.5(b)(1))

Review of Evidence Demonstrating Compliance (C):
   o Referral Protocol
   o Referral Lists
   o Medical records review

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: The reviewer recommended that out-of-state abortion referral resources are
available at the Hamilton site to clients who request this information for an unintended pregnancy,
(insofar as this procedure will no longer be available in Tennessee).

Best Practices Suggestions & Additional Comments: Subrecipient sites have effective processes
for referrals to medical, mental health, and social service agencies. TDFP has established and
maintains collaborative relationships with Community Health Centers, and the Rural Health
Services Consortium, among others, and an agreement with A STEP AHEAD program allows Title
X clients free LARCs and insertions, and transportation or fuel vouchers to facilitate appointments.
Documentation was seen in the medical record when referrals were made based on a documented
specific condition/issue. The Hamilton subrecipient site has a current (May 2022) and
comprehensive list of abortion providers in nearby states who provide abortion to clients who
request this information for an unintended pregnancy, (insofar as this procedure will no longer
available in Tennessee, effective August 25, 2022 due to Tennessee's Human Life Protection Act
banning all abortions).


Expectation 2:
Provide referrals for social services related to family planning and to and from other social and
medical service agencies, and any ancillary services which may be necessary to facilitate clinic
attendance. (42 CFR § 59.5(b)(2))

Review of Evidence Demonstrating Compliance (C):
   o Recipient needs assessment
   o Clinical protocol

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

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Best Practices Suggestions & Additional Comments: The recipient needs assessment has
documented the social service and medical needs of the community to be served and identified
relevant social and medical services available to help meet those needs. Eighteen Tennessee
counties have A Step Ahead Program which provides free transportation to facilitate clinic
attendance and referral visits.


Expectation 3:
Provide for coordination and use of referrals and linkages with primary healthcare providers, other
providers of healthcare services, local health and welfare departments, hospitals, voluntary
agencies, and health services projects supported by other federal programs, who are in close
physical proximity to the Title X site, when feasible, in order to promote access to services and
provide a seamless continuum of care. (42 CFR § 59.5(b)(8))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Availability of Social Services (eff
      4/1/22; rev 3/21/22); Availability and Use of Referrals (eff 4/1/22; rev 3/22/22)
   o MOU TDH and Christ Community Health Center, Inc.
   o FY22 Competitive Application
   o MOU template

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP service sites are required to have a
process to refer clients for social and medical services. Polk County HD does not have formal
agreements for these services but does have a resource list. Resource lists were available in the
waiting rooms of both clinic sites reviewed. Regional/Metro Family Planning Administrators (FPA)
along with healthcare experts and clinic staff are responsible for vetting providers and referral
resources. Referral resources are required to be updated annually.

The MOU template addresses referrals between agencies and clarifies that it is not an exclusive
arrangement.

Chattanooga-Hamilton CHD refers clients to CEMPA: FOR PrEP. Chattanooga-Hamilton CHD
referral/resources list includes Erlanger FQHC and other CHCs, private physicians, etc.

Polk County Health Department refers to Centennial Medical Center in Nashville for patients
desiring tubal ligations and to private providers for patients desiring sterilizations. Both referral
resources charge Title X referred clients on a sliding fee scale.

Both sites visited have a resource list for providers in the area.




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Expectation 4:
Ensure service sites and subrecipients have strong links to other community providers to ensure that
clients have access to primary care. If a client does not have another source of primary care, priority
should be given to providing related reproductive health services or providing referrals, as needed.
Screening services such as, medical history; cervical cytology; clinical breast examination;
mammography; and pelvic and genital examination should be provided for clients without a
primary care provider, where applicable, and consistent with nationally recognized standards of
care. In addition, appropriate follow-up, if needed, should be provided while linking the client to a
primary care provider. (QFP, p.20, https://opa.hhs.gov/sites/default/files/2020-10/providing-quality-
family-planning-services-2014_1.pdf )

Review of Evidence Demonstrating Compliance (C):
   o Referral Protocol
   o Medical records review
   o Staff interviews

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: Medical records had consistent documentation regarding clients' primary
care provider(s). In cases where there were none, referrals were documented.

Best Practices Suggestions & Additional Comments: If a client does not have another source of
primary care, screening services such as medical history, cervical cytology, clinical breast
examinations, and pelvic and genital examinations are provided for clients, where applicable,
consistent with nationally recognized standards of care. TFPP has an MOU with specialty service
providers to follow up on abnormal Pap smears and breast exams. TFPP maintains collaborative
agreements with various referral agencies, including emergency care, HIV/AIDS care, and
treatment providers, infertility specialists, primary care, and chronic care management providers.




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                                   Financial Accountability

Expectation 1:

Provide that no charge will be made for services provided to any clients from a low-income family
except to the extent that payment will be made by a third party (including a government agency)
which is authorized to or is under legal obligation to pay this charge. Low-income family means a
family whose total annual income does not exceed 100 percent of the most recent Poverty
Guidelines issued pursuant to 42 U.S.C. 9902 (2). “Low-income family” also includes members of
families whose annual family income exceeds this amount, but who, as determined by the project
director, are unable, for good reasons, to pay for family planning services. (Section 1006(c)(1), PHS
Act; 42 CFR § 59.5(a)(7) and 42 CFR § 59.2)

Review of Evidence Demonstrating Compliance (F):
   o Patient chart reviews
   o Schedule of discounts
   o Fee schedule
   o Review capture of patient income declaration in the EHR
   o Financial policies review
   o Administrative manuals

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 2:

Unemancipated minors who wish to receive services on a confidential basis must be considered on
the basis of their own resources. (Section 1006(c)(1), PHS Act; 42 CFR § 59.5(a)(7) and 42 CFR §
59.2)

Review of Evidence Demonstrating Compliance (F):
   o 5 charts were reviewed for each site (minors seeking confidential services included in the
      samples)
   o Role play
   o Administrative manual

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A



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Best Practices Suggestions & Additional Comments: N/A


Expectation 3:

Provide that charges will be made for services to clients other than those from low-income families
in accordance with a schedule of discounts based on ability to pay, except that charges to persons
from families whose annual income exceeds 250 percent of the levels set forth in the most recent
Poverty Guidelines issued pursuant to 42 U.S.C. 9902(2) will be made in accordance with a
schedule of fees designed to recover the reasonable cost of providing services. (42 CFR §
59.5(a)(8))

The schedule of discounts should be updated annually in accordance with the FPL.

Review of Evidence Demonstrating Compliance (F):
   o Chart Reviews
   o Schedule of discounts
   o Fee schedule
   o Interview on the setting of charges
   o Review patient income declaration forms
   o Role play, policy review
   o Determination of fees framework

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 4:

Ensure that family income is assessed before determining whether copayments or additional fees
are charged. (42 CFR § 59.5(a)(8))

Review of Evidence Demonstrating Compliance (F):
   o Patient chart review
   o Policy review
   o Role play
   o Patient income declarations
   o Administrative manual
   o Financial policies
   o Interviews

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

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Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 5:

Ensure that, with regard to insured clients, clients whose family income is at or below 250 percent
of the FPL should not pay more (in copayments or additional fees) than what they would otherwise
pay when the schedule of discounts is applied. (42 CFR § 59.5(a)(8))

Review of Evidence Demonstrating Compliance (F):
   o Patient chart review
   o Financial policy review
   o Role play
   o Staff interviews
   o Administrative manual

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 6:

Take reasonable measures to verify client income, without burdening clients from low-income
families. Recipients that have lawful access to other valid means of income verification because of
the client’s participation in another program may use those data rather than re-verify income or rely
solely on clients’ self-report. If a client’s income cannot be verified after reasonable attempts to do
so, charges are to be based on the client’s self-reported income. (42 CFR § 59.5(a)(9))

Review of Evidence Demonstrating Compliance (F):
   o Patient chart reviews
   o Financial policies review
   o Patient intake and disclosure forms
   o Role play
   o Administrative manual
   o Patient income declaration forms
   o Patient billing records

This expectation was MET.

Areas of Improvement and Required Action (F): N/A


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Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 7:

Take all reasonable efforts to obtain the third-party payment without application of any discounts, if
a third party (including a Government agency) is authorized or legally obligated to pay for services.
Where the cost of services is to be reimbursed under title XIX, XX, or XXI of the Social Security
Act, a written agreement with the title XIX, XX, or XXI agency is required. (42 CFR § 59.5(a)(10))

Review of Evidence Demonstrating Compliance (F):
   o Patient chart review
   o Role play
   o Financial policies review
   o Administrative manuals
   o Staff interviews
   o Patient billing records

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 8:

Provide that all services purchased for project participants will be authorized by the project director
or their designee on the project staff. (42 CFR § 59.5(b)(7))

Review of Evidence Demonstrating Compliance (F):
   o Fiscal policies review
   o Staff interviews
   o Administrative manual
   o Purchasing policies

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A



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Expectation 9:

Provide that if family planning services are provided by contract or other similar arrangements with
actual providers of services, services will be provided in accordance with a plan which establishes
rates and method of payment for medical care. These payments must be made under agreements
with a schedule of rates and payment procedures maintained by the recipient. The recipient must be
prepared to substantiate that these rates are reasonable and necessary. (42 CFR § 59.5(b)(9))

Review of Evidence Demonstrating Compliance (F):
   o Financial policies review
   o Staff interviews
   o Contract review with the metropolitan health departments
   o Internal site visit audits

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 10:

Maintain financial policies and procedures that are in compliance with 45 CFR Part 75, Uniform
Administrative expectations, Cost Principles, and Audit expectations for HHS Awards. (PA-FPH-
22-001 NOFO and Notice of Award Terms and Expectations)

Review of Evidence Demonstrating Compliance (F):
   o Financial policies review
   o Staff interviews
   o Administrative manual

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 11:

Ensure that no mobile health unit(s) or other vehicle(s), even if proposed in the application for the
Title X award, is purchased with award funds without prior written approval from the grants
management officer. Requests for approval of such purchases must include a justification with a
cost-benefit analysis comparing both purchase and lease options. Such requests must be submitted

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as a Budget Revision Amendment in Grant Solutions. (Notice of Award Special Terms and
Expectations)

Review of Evidence Demonstrating Compliance (F):
   o NOA Review
   o Staff interviews
   o Fiscal policies
   o Administrative manual

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 12:

Include financial support from sources other than Title X as no grant may be made for an amount
equal to 100 percent of the project's estimated costs. Although projects are expected to identify
additional sources of funding and not solely rely on Title X funds, there is no specific amount of
level of financial match expectation for this program. (42 CFR § 59.7(c), PA-FPH-22-001 NOFO,
Notice of Award Special Terms and Expectations)

*Exception for territories and freely associated states as noted in the NOFO

Review of Evidence Demonstrating Compliance (F):
   o NOA Review
   o Budget review
   o FFR reports
   o Financial statements

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 13:

Ensure that program income (fees, premiums, third-party reimbursements which the project may
reasonably expect to receive), as well as State, local and other operational funding, will be used to
finance the non-federal share of the scope of project as defined in the approved grant application
and reflected in the approved budget. Program income and the level projected in the approved

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budget will be used to further program objectives. Program Income may be used to meet the cost
sharing or matching expectation of the Federal award. The amount of the Federal award stays the
same. Program Income in excess of any amounts specified must be added to the Federal funds
awarded. They must be used for the purposes and conditions of this award for the duration of the
Project period. 45 C.F.R. § 75.307 (e), Notice of Award Special Terms and Expectations)

Review of Evidence Demonstrating Compliance (F):
   o Policy & procedure review FFR
   o Budgets
   o Cost allocation methodology
   o NOA review
   o Administrative manual
   o Staff interviews
   o Financial policies

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 14:

Ensure that Title X funds shall not be expended for any activity (including the publication or
distribution of literature) that in any way tends to promote public support or opposition to any
legislative proposal or candidate for public office. (Annual Appropriations Bill)

Review of Evidence Demonstrating Compliance (F):
   o Financial policies review
   o Administrative manual
   o Staff interviews

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A




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                                    Subrecipient Monitoring

Expectation 1:

Detail a plan for monitoring the delivery of family planning services under the Title X project,
including the monitoring and oversight of subrecipients. (45 CFR § 75.352)

Review of Evidence Demonstrating Compliance (A):
   o TDH Family Planning Administrative Manual
   o 2022 Family Planning Audit Schedule

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The Federal and State Monitoring Visit
section of the FP Administrative Manual declares contract agencies will be visited at least every
three years. Currently, FPP staff conduct a site visit to every clinic site during the project period.
This schedule takes a lot of staff time and a chunk of the travel budget. FPP Project Director is
going to consider reviewing a sample of clinic sites during the project period. This should be as
effective as reviewing every clinic site and less of a drain on resources. All Metro clinics will be
reviewed during the project period. TFPP plans to modify the federal review tool for their use.


Expectation 2:

In accepting the award, agree that the award and any activities thereunder are subject to all
provisions of 45 C.F.R. part 75, currently in effect or implemented during the period of the award,
(PA-FPH-22-001 NOFO and Notice of Award Special Terms and Expectations)

Review of Evidence Demonstrating Compliance (F):
   o Review of contracts with metropolitan area health departments

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 3:

In accordance with 45 CFR § 75.352(d), monitor the activities of the subrecipient as necessary to
ensure that the subaward is used for authorized purposes, in compliance with Federal statutes,


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regulations, and the terms and conditions of the subaward; and that subaward performance goals are
achieved. Recipient monitoring of the subrecipient must include:

   i. Reviewing financial and performance reports required by the recipient.
  ii. Following-up and ensuring that the subrecipient takes timely and appropriate action on all
         deficiencies pertaining to the Federal award provided to the subrecipient from the recipient
         detected through audits, on-site reviews, and other means.
 iii. Issuing a management decision for audit findings pertaining to the Federal award provided to
         the subrecipient from the recipient as required by 45 CFR § 75.521.

Review of Evidence Demonstrating Compliance (A):
   o Sample subrecipient contract
   o Hamilton County Contract
   o SER Site Visit tool 5/18/22
   o Chattanooga-Hamilton Title X Site Review tool 10/22/19
   o TFPP Audit Schedule
   o Chattanooga-Hamilton CHD and Polk CHD site review reports

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The sample subrecipient contract and the
Hamilton County contract require subrecipients to provide services in compliance with TDH FPP
Administrative Manual and Program Requirements for Title X Funded Family Planning Projects.
The latter document is no longer in use and has been replaced by the Title X Program Handbook.
Site visit reports for monitoring visits to Hamilton County and SER were provided for review. No
deficiencies were found for Hamilton County. SER had a non-compliance finding regarding the
I&E/advisory committee and review process. SER FPA has organized a committee and will convene
an I&E Advisory Committee meeting in 2022.
• SER 2020 site visit tool showed non-compliance related to I&E/Advisory Committee functions.
    The committee is not active and has not met.
• The Chattanooga-Hamilton Health Department Title X site review tool did not identify any
    administrative issues. The consultant recommended training through RHNTC.

Site visits were not done during 2021 due to COVID and travel restrictions. FPA documentation for
the site visit to Hamilton County Health Department on 3/28/22 was provided for review.
Comprehensive review documented on the checklist with comments as needed. No issues were
identified.

Best Practice Suggestion:
• Revise contracts with subrecipients to remove the reference to "Program Requirements for Title
   X Funded Family Planning Projects" and add the newly released document, Title X Program
   Handbook.
• Revise A.6.d. of contracts with subrecipients to include verification of training regarding
   encouraging family involvement in the decision of minors to seek reproductive health services


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    and counseling minors on how to resist attempts to coerce minors into engaging in sexual
    activities.
•   Revise D.10. Nondiscrimination section of subrecipient contracts to include sexual orientation,
    gender identity, and sex characteristics.


Review of Evidence Demonstrating Compliance (F):
   o Subrecipient contract
   o Subrecipient billing and payment
   o Chart reviews
   o Budget review

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 4:

Depending upon the recipient’s assessment of risk posed by the subrecipient, employ the following
monitoring tools that may be useful for the recipient to ensure proper accountability and compliance
with program expectations and achievement of performance goals: providing subrecipients with
training and technical assistance on program-related matters; and performing on-site reviews of the
subrecipient's program operations; and arranging for agreed-upon-procedures engagements as
described in 45 CFR § 75.425. (45 CFR § 75.352(e))

Review of Evidence Demonstrating Compliance (F):
   o Interviews regarding subrecipient site visits by health department staff

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 5:

Verify that every subrecipient is audited as required by Subpart F of 45 CFR Part§ 75 when it is
expected that the subrecipient's Federal awards expended during the respective fiscal year equaled
or exceeded the threshold set forth in 45 CFR § 75.501. (45 CFR § 75.352(f))

Review of Evidence Demonstrating Compliance (F):

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   o   Audit

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 6:

Consider whether the results of the subrecipient's audits, on-site reviews, or other monitoring
indicate conditions that necessitate adjustments to the recipient’s own records. (45 CFR §
75.352(g)).

Review of Evidence Demonstrating Compliance (F):
   o Subrecipient monitoring documentations

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Subrecipient monitoring documentation does
not indicate that adjustments were needed.


Expectation 7:

Consider taking enforcement action against noncompliant subrecipients as described in 45 CFR §
75.371 and in program regulations. (45 CFR § 75.352(h))

Review of Evidence Demonstrating Compliance (F):
   o Interviews with subrecipient and state health department staff

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 8:


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Provide an opportunity for maximum participation by existing or potential subrecipients in the
ongoing policy decision making of the project. (42 CFR § 59.5(a)(11)(ii))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures
   o Subrecipient Inclusion in Policy Establishment (Eff date 4/1/22; revision date 3/22/22)

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP policy states TFPP and TDH will
provide opportunity(s) for contracted agencies and TDH staff to participate in the establishment of
ongoing grantee policies and guidelines. TFPP collaborates with statewide TFPP administrators
and multiple and diverse stakeholders to encourage engagement in guidelines development and
implementation. Proposed policies, processes, standards, and procedures are developed in
collaboration with TDH Community Health Services. The PHNP committee reviews and updates
public health nursing protocols. This Committee includes one PHN from each rural region and one
from two of the metropolitan areas. The Medical Leadership Team provides medical guidance,
reviews, and updates to PH protocols. Proposed policies (or modifications to existing policies) are
presented to the policy review committee for review and recommendation. Additional input comes
from the following: monthly FPA meetings, biannual MCH stakeholders' meetings, continuing
education of health care partners and staff in clinical guidelines, and community health
communication campaigns and education. Regional and Metro Family Planning Administrator
meeting PowerPoint presentations were provided for review, but meeting minutes were not
recorded. TFPP should document input from FPAs.

Best Practice Suggestion: The recipient should maintain minutes of meetings with FPAs. The
minutes should document suggestions for new policies and suggestions/changes to existing policies
and procedures, forms, or other material. Provide feedback to FPAs regarding action taken related
to their input, if any.




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                 Community Education, Participation, and Engagement

Expectation 1:

Provide for opportunities for community education, participation, and engagement to: achieve
community understanding of the objectives of the program; inform the community of the
availability of services; and promote continued participation in the project by diverse persons to
whom family planning services may be beneficial to ensure access to equitable, affordable, client-
centered, quality family planning services. (42 CFR § 59.5(b)(3))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Community Awareness and Education
      (eff 4/1/22; rev 3/4/22)
   o State of TN and TDH website
   o Chattanooga-Hamilton County Community Outreach and Education Program Area Annual
      Action Plan FY 2022
   o South East Family Planning Outreach Plan 2022-2023
   o Hamilton County Family Planning Outreach Plan 2022-2023

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP has a written policy and procedures to
ensure compliance with this expectation. TFPP developed a community outreach and Education
Program Area Annual Action Plan FY22. The plan describes TFPP and health education staff
efforts to make services known to the target population. FPAs are required to establish and
implement community education and promotional activities. Outreach and education plans were
provided for Hamilton Metro and SER for FY22 and FY 23. The Plans reflect Metro or Region
activities for Recipient goals, objectives, and activities. Promotion and outreach activities are
reviewed biannually by the FPA. Community outreach and education activities were prohibited due
to COVID in FY20 and 21. Some outreach activities have or will take place this fiscal year. Another
outreach tool is the Tennessee Department of Health website. Information is available no matter
what language the user speaks and reads. The website can be translated into a variety of
languages. The Family Planning section of the website advertises telehealth services and includes
the phone number for an appointment. The site includes the following pages: educational
resources, family planning services, healthcare provider resources, and Title X information. The
family planning services page includes the OASH Office of Population Affairs Find a Family
Planning Clinic tool. In addition to a list of family planning services, the page informs clients that
services are confidential, teens or adults are not subjected to discrimination, fees are based on a
sliding fee scale, and no one is turned away due to inability to pay.


Expectation 2:




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Provide, to the maximum feasible extent, an opportunity for participation in the development,
implementation, and evaluation of the project by persons broadly representative of all significant
elements of the population to be served, and by others in the community knowledgeable about the
community’s needs for family planning services. (42 CFR § 59.5(b)(10))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Collaborative Planning and
      Community Engagement (eff 4/1/22; rev 3/4/22)
   o Subrecipient Inclusion in Policy Establishment (eff 4/1/22, rev 3/22/22)
   o Polk County and Hamilton County Health Departments I&E/Advisory Committee meetings
      documentation

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TDH TFPP Collaborative Planning and
Community Engagement policy and procedure describe the process for compliance with this
expectation. The policy procedure indicates the I&E Advisory Committee or a separate group will
serve in the community participation role. The Advisory Committee membership for the two clinic
sites reviewed is limited and may not include individuals who are knowledgeable about the family
planning needs of the community.

I&E/Advisory Committees reviewed at both sites (Chattanooga-Hamilton CHD and Polk County
Health Department) document committees reviewed the work plan and other information was
presented to the committees but do not include recommendations/comments provided by committee
members.

TDH does not have a written community engagement plan.

The reviewer discussed options for meeting this expectation. For example, TFPP may require FPAs
to expand the size and scope of their I&E Advisory Committees to include representatives from the
community whose focus is reproductive health or seek input from community groups with a
membership that is knowledgeable about reproductive health needs.

Best Practice Suggestion: The recipient should develop a community engagement plan which
describes their process for obtaining input from community members and individuals from the
community knowledgeable about the need for family planning services. Maintain documentation of
the implementation of the plan.




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                             Information and Education (I & E)

Expectation 1:

Have an advisory committee (sometimes referred to as information and education committee) that
reviews and approves print and electronic informational and educational materials developed or
made available under the project, prior to their distribution, to assure that the materials are suitable
for the population or community to which they are to be made available and the purposes of Title
X. The project shall not disseminate any materials which are not approved by the advisory
committee. (Section 1006(d)(1) and (2), PHS Act; 42 CFR § 59.6(a))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Materials Review and Approval
      Process (eff 4/1/22; rev 3/4/22)
   o Hamilton CHD I&E Committee Meeting documentation 2020
   o Hamilton CHD I&E Advisory Council meeting (3/23/22)
   o Hamilton CHD Materials Approved Reference Chart (updated 6/13/22)
   o SER I&E Inventory Log

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The I&E Materials Review and Approval
Process policy and procedure requires each region, metro, or contracted Family Planning
administrator should establish and implement a material review and approval process for their
service sites. FPAs are required to submit minutes for I&E Advisory committee minutes to the
central office (TDH FP office in Nashville). The process complies with Title X expectations.
Monitoring reports document monitoring for compliance with this expectation. FPP has adopted
RHNTC instructions and templates for the I&E materials review process. These documents are on
the TFPP shared drive.

Hamilton CHD 2020 I&E Committee Meeting documentation shows there are 9 members on the
committee but only 3 participated in this email meeting. The material should be reviewed and
approved by a majority of the committee members. The documentation was sent to the FPP
Administrator. There was no documentation to show feedback.


Expectation 2:

Think specifically about the print and electronic materials they are making available to Title X
clients under the Title X project when considering which materials require review and approval by
the advisory committee. For Title X projects that provide non-Title X services (e.g., hospitals,
health centers), this does not include all possible materials that a Title X client may find on the
organization’s website or as they walk through the building, but only those specific materials that



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are made available to the Title X client under the Title X project and those materials developed
specifically for the Title X client. (2021 Final Rule FAQs)

Review of Evidence Demonstrating Compliance (A):
   o Metro/region I&E materials (print or electronic) inventory
   o Interviews with TFPP Director and FPAs

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: A review of Hamilton and SER I&E
materials and websites reviewed, and approved inventory shows the documents and websites are
relevant for the project. The Hamilton County inventory included some material that has not been
reviewed since 2012.

Best Practice Suggestion: The recipient should recommend regions and metros and ask their
materials review committees to review material currently in use every 3 to 5 years.


Expectation 3:

Establish and maintain an advisory committee that:
  i.    consists of no fewer than five members and up to as many members the recipient
        determines; and
 ii. includes individuals broadly representative of the population or community for which the
        materials are intended (in terms of demographic factors such as race, ethnicity, color,
        national origin, disability, sex, sexual orientation, gender identity, sex characteristics, age,
        marital status, income, geography, and including but not limited to individuals who belong
        to underserved communities, such as Black, Latino, and Indigenous and Native American
        persons, Asian Americans and Pacific Islanders and other persons of color; members of
        religious minorities; lesbian, gay, bisexual, transgender, and queer (LGBTQ+) persons;
        persons with disabilities; persons who live in rural areas; and persons otherwise adversely
        affected by persistent poverty or inequality). (Section 1006(d)(2), PHS Act; 42 CFR §
        59.6(b))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, I&E Advisory Committee
      Requirements
   o TN Family Planning Policy and Procedures, Advisory Committee Responsibility for I&E
      Materials
   o TN Family Planning Program Policy and Procedures, I&E Materials Review and Approval
      Process
   o 2022 Administrative Manual, Information & Education Advisory Committee and Material
      Approval
   o Hamilton CHD I&E Committee Meeting documentation (2020)
   o Hamilton CHD Advisory Council Minutes (3/23/22)

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   o SER Community Input Committee and Materials Review Minutes

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The Recipient has established policies and
procedures which are in compliance with Title X expectations. The function is delegated to
Regions/Metros or other contracted agencies. Central office staff monitor metros and regions for
compliance. Meeting minutes do not document who reviewed the factual, technical, and clinical
accuracy of the material. Hamilton County demographic forms for the Advisory Committee show
the committee has eight members, five are white and one is African-American/Black. Five members
are between the ages of 23 and 32. Hamilton County population's race and ethnicity show 68%
white, 17% Black or African American, 2% Asian, and 7% Hispanic.

Hamilton CHD Advisory Council Minutes submitted for the 3/23/22 meeting show a committee of
eight members. Demographic forms were submitted for six of the members.

SER Community Input (2020): Minutes include documentation provided. Document review sheets
for documents would have been helpful, but the minutes include criteria considered when reviewing
the documents. The FPA has organized a new committee and plans to convene a meeting this year.

Best Practice: Recommend grant recipient modify I&E Materials Review and Approval Process
policy to include (e.g., print and electronic) to agree with the 2021 Final Rule.

Best Practice: The recipient should ensure I&E/Advisory Committees' membership is broadly
representative of the community served (including non-white, teens, LGBTQ+, etc.) and others in
the community who are knowledgeable about the need for family planning services.


Expectation 4:

Ensure that the advisory committee, in reviewing materials:
      i.   consider the educational, cultural, and diverse backgrounds of individuals to whom the
           materials are addressed;
     ii. consider the standards of the population or community to be served with respect to such
           materials;
    iii. review the content of the material to assure that the information is factually correct,
           medically accurate, culturally and linguistically appropriate, inclusive, and trauma
           informed;
    iv.    determine whether the material is suitable for the population or community to which is
           to be made available; and
     v.    establish and maintain a written record of its determinations. (Section 1006(d)(1), PHS
           Act; 42 CFR § 59.6(b))

Review of Evidence Demonstrating Compliance (A):


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   o TN Family Planning Program Policy and Procedures, I&E Advisory Committee
     Membership (eff 4/1/22; rev 3/4/22)
   o TN Family Planning Program Policy and Procedures, Advisory Committee Responsibility
     for I&E Materials Review (eff 4/1/22; rev 3/4/22)
   o Hamilton CHD 2020 Family Planning I&E Committee Meeting Minutes, Committee
     members' demographic forms
   o SER Advisory Committee members demographic forms

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP has established policies and
procedures for complying with these expectations. TFPP policy requires appropriate project staff
to review the factual, technical, and clinical accuracy of all I&E materials developed or made
available under the Title X project. Meeting minutes document the material was reviewed and
approved. Review forms guide the review to assure the committee reviews the material for
education level, cultural and diverse background of the community, standards of the community,
and suitability for the community. TFPP policy states that TFPP will ensure that appropriate
project staff reviews the factual, technical, and clinical accuracy of all I&E materials developed or
made available to the Title X project. Site visit reports show recipients monitor for compliance with
these expectations.

Each region is required to have an I&E Advisory Committee to review all materials and ensure
they are appropriate for identified/targeted populations.

Hamilton CHD I&E Committee Meeting documentation is for 2020. The diversity of the committee
looks good, but based on the meeting participation (e.g., via email) members are not active. Only
three members participated in the email meeting. This number is less than half the committee. The
documentation was emailed to the FPP Administrator. The 3/23/22 meeting minutes include a
description of the project information provided to the committee, but do not document if the
committee was given an opportunity to provide input. The county is very diverse, but the committee
membership has one African American and the remaining five are white. The committee does have
two males. Five members are between the ages of 23 and 32.

Best Practice Suggestion: The recipient should ensure that I&E/Advisory Committee meeting
minutes document committee members were given an opportunity to provide suggestions/comments
related to the program information provided.




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                                          Staff Training

Expectation 1:

Provide for orientation and in-service training for all project personnel. (42 CFR § 59.5(b)(4))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Staff Training and Project Technical
      Assistance (Eff 4/1/22; Rev 3/2022)
   o TDH Family Planning Administrative Manual (03/22), Training Requirements for Family
      Planning Staff
   o PHN Orientation & Practice Manual 2022 (rev 4/22)
   o 2021 Annual Family Planning Training
   o Family Planning Training Plan

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: PHN Orientation & Practice Manual 2022
Section III Orientation Guidelines for Nursing Personnel defines the orientation process for new
public health nurses. The assigned preceptor and local health department staff work with the
orientee to provide guidance and support in implementing the orientation plan. Skills are
demonstrated and the orientee's competent return demonstration is documented on the Skills
Orientation Checklist.

The grant recipient has a robust training program. Staff complete training from the RHNTC and
training developed in-house. Acknowledgment forms for training are signed when training is
complete and certificates of completion are attached.

The Title X Requirements Acknowledgement form can be used to acknowledge that FP staff have
read and understand key Title X expectations such as non-discrimination, voluntary services, non-
coercion, prohibitions on abortion, client confidentiality, and translation services.

Certificates of Completion for the 2021 National Reproductive Health Conference: Virtually
Unstoppable were submitted to staff in SER and Hamilton.

2021 Annual Family Planning Training must be revised to reflect the changes in the Final Rule.


Expectation 2:

Ensure routine training of staff on Federal/State expectations for reporting or notification of child
abuse, child molestation, sexual abuse, rape or incest, as well as on human trafficking. (Legislative
Mandate set out in the Annual HHS Appropriations Act)



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OPA's expectation is that routine training would happen on an annual basis. In addition, OPA
recommends Title X recipients and subrecipients provide routine training in accordance with the
RHNTC's Title X Training Expectations Summary Job Aid.

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Staff Training, and Project Technical
      Assistance.
   o TN Family Planning Program Policy and Procedures, Compliance with Legislative
      Mandates (eff 4/1/22; rev 3/2022
   o   TDH Family Planning Administrative Manual (03/22), Training Requirements for Family Planning
       Staff
   o   Title X Family Planning Training Plan (11/21)
   o   Title X: Mandatory Reporting Acknowledgement form
   o   Human Trafficking 2022 Training Acknowledgement form
   o   Hamilton CHD Title X Mandatory Training Verification Report FY 22
   o   SER staff PHN Orientation Checklist (2022)
   o   SER annual FP mandatory training

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TDH policy requires all TFPP staff to
complete annual training on laws regarding notification or reporting of child abuse, child
molestation, sexual abuse, rape, or incest, intimate partner violence, as well as on human
trafficking; and annual training on involving family members in the decision of minors to seek
family planning services and on counseling minors on how to resist being coerced into engaging in
sexual activities.

TFPP Clinical Trainer sends emails to staff with training acknowledgment forms for required
training attached. These acknowledgment forms include links to the training provider site (RHNTC,
state, etc.). Staff will receive reminder emails until the completed form with certificates of
completion attached are returned to the TFPP Clinical Trainer. The Training Plan provided for
review included all FPP staff training on these topics upon initial employment orientation and at
least annually thereafter. Spreadsheets showing training completed by Hamilton Metro and SER.
The Clinical Services Training.

Legislative Mandates Policy: State recipients will adhere to legislative mandates through policy
creation, implementation, and monitoring.

Administrative Manual: Training requirements for Family Planning Staff list include training on
Family Planning policies and procedures as follows: Family Planning Policies and Procedures,
Title X Requirements and Priority Areas, Mandatory Report (Child Abuse), Intimate Partner
Violence, Human Trafficking, Cultural Competency, and Sexual coercion avoidance education for
adolescents.




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The Title X Training Plan lists the following annual training: Voluntary Participation, Acceptance
of Family Planning Services not a Prerequisite for Eligibility or Services, Prohibition of Abortion,
Confidentiality, Cultural Competency/Humility, Facilities and Accessibility of Services, Mandatory
Report, State, Human Trafficking, Family Involvement, Counseling Minors to Resist Sexual
Coercion, and Non-Discrimination.


Expectation 3:

Ensure routine training on involving family members in the decision of minors to seek family
planning services and on counseling minors on how to resist being coerced into engaging in sexual
activities. (Legislative Mandate set out in the Annual HHS Appropriations Act)

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Staff Training and Project Technical
      Assistance.
   o Title X Consideration of Minors Acknowledgement form
   o TDH Family Planning Administrative Manual (03/22), Training Requirements for Family
      Planning Staff
   o Title X Family Planning Training Plan (11/21)
   o Documentation of training

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Policy shows new TFPP staff are required to
complete a project orientation that includes involving family members in the decision of minors to
seek FP services and on counseling minors on how to resist being coerced into engaging in sexual
activities. The Training Plan for TFPP staff including training on these expectations.

Documentation of training on these expectations was provided for review. Title X Consideration of
Minors Acknowledgement form along with certificates of completion may be used to document
family planning staff have completed the RHNTC training Counseling Adolescent Clients to
Encourage Family Participation and Counseling Adolescent Clients to Resist Sexual Coercion.




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              Quality Improvement and Quality Assurance (QI & QA)

Expectation 1:

Develop and implement a quality improvement and quality assurance plan that involves collecting
and using data to monitor the delivery of quality family planning services, inform modifications to
the provision of services, inform oversight and decision-making regarding the provision of services,
and assess patient satisfaction. (PA-FPH-22-001 NOFO and Notice of Award Special Terms and
Expectations)

Review of Evidence Demonstrating Compliance (A):
   o FY 22 Competitive Application State of Tennessee
   o Patient Tracking (PTBMIS)
   o Quality Assurance & Improvement Manual (July 2021)
   o TN Family Planning Administrative Manual
   o FPAR Reports (2021, 2019-2022)
   o Site Visit Reports

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The TFPP program currently uses TDH's
Patient Tracking Billing Management Information System (PTBMIS) to collect client encounter
data. TFPP will transition to FPAR 2.0 beginning in CY2022 and will report partial record-level
data and the preferred approach outlined in the FPAR 2.0 Implementation Guide (October 2021).
TDH is in the process of implementing a new EHR and phasing out the current system.

The QI/QA Work Plan includes calculating by state and by demographic/geographic subgroups
contraceptive care performance measures: 1) the percentage of women aged 15-44 years at risk of
unintended pregnancy that is provided a most effective or moderating effective contraceptive
method, and 2) the percentage of women aged 15-44 years at risk of unintended pregnancy that is
provided a long-acting reversible contraceptive method. Additional plans include piloting the use of
the Person-Centered Contraceptive Counseling (PCCC) measure created by the University of
California San Francisco at one or more clinics, and a FP telehealth client satisfaction survey.
TDH does not have a QI/QA policy and procedure.

Templates were provided for Hamilton County Health Department for chart and facility audits. A
completed chart audit report was also provided. A 30-day Improvement Plan for the 10/12/21 site
visit was available for review.


Review of Evidence Demonstrating Compliance (C):
   o Recipient policy and procedures regarding QI/QA
   o Recipient QI/QA Work Plan
   o Clinic Review tools Family planning Telehealth Study, February 2022


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   o Patient Satisfaction Results

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: TFPP has over 120 sites in 13 regions which they attempt to review once
each grant cycle. The reviewer discussed ways to prioritize which sites to review, e.g., those
perceived to have challenges, in order to make these reviews more manageable for the 3-person
review team that travels year-round.

Best Practices Suggestions & Additional Comments: Recipient staff conduct site visits to review
staff performance in clinical care, fiscal responsibility, and program administration at every
project site at least once every project period. If deficiencies are identified during the site visit, a
corrective action plan is assigned. The TFPP has procedures in place to follow up and ensure the
implementation of the corrective action plan.


Expectation 2:

Address oversight and service provision at the recipient level, the subrecipient level, and the service
site level within their QI/QA plan. (PA-FPH-22-001 NOFO and Notice of Award Special Terms
and Expectations)

Review of Evidence Demonstrating Compliance (A):
   o Quality Assurance & Improvement Manual (July 2021)
   o Office of Quality Improvement meeting minutes

This expectation was MET

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Chattanooga-Hamilton County Health
Department Quality Improvement Office does chart reviews, credentialing, risk minimization
audits, internal lab training and check-offs, and help with the maintenance of equipment (e.g.,
timing for service), infection control, and help in updating protocols. Deficiencies identified require
corrective action plans. Chart audits on new employees and each clinic site have general chart
audits every six months. Peer audits are completed two times per year. Proficiency testing for CLIA
lab certification.


Expectation 3:

Submit a Family Planning Annual Report (FPAR). The information collection (reporting
expectations) and format for this report have been approved by the Office of Management and
Budget (OMB) and assigned OMB No. 0990-0479 (Expires 9/30/2024). The FPAR data elements,
instrument, and instructions are found on the OPA Web site at http://opa.hhs.gov. Recipients are

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expected to use the FPAR data to inform their QI/QA activities. (PA-FPH-22-001 NOFO and
Notice of Award Special Terms and Expectations)

Review of Evidence Demonstrating Compliance (A):
   o FY 22 Competitive Application State of Tennessee
   o TN Family Planning Administrative Manual
   o Chattanooga-Hamilton CHD QI Office
   o FPAR (by clinic level, metro, regional)

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Considering the impact of COVID, FPAR
looks fairly reasonable. The number and percent of users who are male is very low (less than 3%).
The 3-year report also shows the percentage of users that were male has been low over the 3-year
period. TN FPP staff is working on improving these numbers, specifically working with the STD
program to provide family planning services information for male clients.

Epidemiologist utilizes family planning service information (FPAR) in combination with mapping
to identify outreach areas. She has generated a variety of maps for the TFPP Project Director.

TN Family Planning Administrative Manual, Family Planning Annual Report section states TFPP
uses TDH's Patient Tracking Billing Management Information System (PTBMIS) and the EHR to
collect client encounter data. All metro and local health departments currently report data from
client encounters through PTBMIS.




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                                   Prohibition of Abortion

Expectation 1:

Not provide abortion as a method of family planning as part of their Title X project. (Section 1008,
PHS Act; 42 CFR § 59.5(a)(5))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Prohibition of Abortion & Referral for
      Abortion (Effective Date 4/1/22 Revision Date 3/4/22)
   o 2010 Tennessee Code Title 9 - Public Finances, Chapter 4 - State Funds, State Budget and
      Appropriations, Part 51 - State Budget and Appropriations 9-4-5116 - Abortion Funding
   o TN Family Planning Administrative Manual (March 2022)
   o Subrecipient contracts
   o TN PHN Protocols
   o Hamilton County Health Department Family Planning Standards 2021 (rev 04/04/22)

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TN Family Planning Program has
established policies and procedures stating that the project does not provide abortion as a method
of family planning. The policy requires TFPP Family Planning staff to offer clients with positive
pregnancy tests all options counseling and referrals upon request. Following the release, staff will
provide neutral, factual information and nondirective counseling, and referral upon request on the
options the pregnant client expressed an interest in. Grant recipient contracts and subcontracts
must include language addressing this expectation and documentation of the training provided.
Subrecipient contracts prohibit subrecipient agencies from using Title X funds for abortion or
abortion-related services. The contract requires compliance with the TN Family Planning Program
Administration Manual. Following the release of the 2021 Final Rule, TDH issued a Program
Memorandum (11/7/21) that included a description of changes included in this rule. The
memorandum included a brief description of the expectation to offer pregnant clients all options for
counseling and referral (upon request). Staff signed a 2021 Final Federal Rule Title X Rule
Changes Acknowledgement form. Subrecipient contracts prohibit subrecipient agencies from using
Title X funds for abortion or abortion-related services to comply with Section 1008 of the Title X
statute and 42 CFR 59.5(a)(5). The contract requires compliance with Title X and the TN Family
Planning Program Administration Manual.

TN AB law prohibits the use of state funds for abortion services with two exceptions: pregnancy is
the result of rape or incest, or a woman suffers from a physical disorder, physical injury, or
physical illness, including a life-endangering physical condition caused by or arising from the
pregnancy itself.


Expectation 2:


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Prohibit providing services that directly facilitate the use of abortion as a method of family
planning, such as providing transportation for an abortion, explaining and obtaining signed abortion
consent forms from clients interested in abortions, negotiating a reduction in fees for an abortion,
and scheduling or arranging for the performance of an abortion, promoting or advocating abortion
within Title X program activities, or failing to preserve sufficient separation between Title X
program activities and abortion-related activities. (65 Fed. Reg. 41281 (July 3, 2000))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Prohibition of Abortion & Referral for
      Abortion (Effective Date 4/1/22 Revision Date 3/4/22)
   o PHN Protocol, Pregnancy Testing
   o TN Family Planning Program Policy and Procedures, Conscientious Objection to Abortion
      Counseling & Referral
   o Subrecipient contract
   o TN Family Planning Program Administrative Manual
   o TN Department of Health Title X Assurances signed by Assistant Commissioner
      (1/10/2019)
   o Hamilton County Health Department Family Planning Standards 2021 (rev 04/04/22)
   o Subrecipient contract

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Grant recipient established policies and
procedures to describe the process for ensuring compliance with expectations that prohibit
providing, promoting, referring for, or supporting abortion as a method of family planning, and
referring to abortion as a method of family planning. Policies and protocols are in compliance with
Title X expectations and the 2021 Final Rule.

TN Family Planning Program Policy and Procedures, Prohibition of Abortion & Referral for
Abortion complies with Final Rule. PHN Protocol, Pregnancy Testing, aligns with the Final Rule.
The protocol does allow for PHNs with a conscientious objection to counseling on termination to
turn the client over to someone to do that counseling. It could be another staff member or FP
telehealth services to meet the client's needs.

Conscientious Objection to Abortion Counseling & Referral policy establishes a policy and
procedure for clinical staff who declare a conscientious objection to pregnancy termination to
immediately defer pregnancy and all options counseling to another clinician.

Subrecipient contracts prohibit the use of Title X funds for abortion or abortion-related services in
compliance with section 1008.


Expectation 3:


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Prohibit promoting or encouraging the use of abortion as a method of family planning through
advocacy activities such as providing speakers to debate in opposition to anti-abortion speakers,
bringing legal action to liberalize statutes relating to abortion, or producing and/or showing films
that encourage or promote a favorable attitude toward abortion as a method of family planning.
Films that present only neutral, factual information about abortion are permissible. A Title X
project may be a dues paying participant in a national abortion advocacy organization, so long as
there are other legitimate program-related reasons for the affiliation (such as access to certain
information or data useful to the Title X project). A Title X project may also discuss abortion as an
available alternative when a family planning method fails in a discussion of relative risks of various
methods of contraception. (65 Fed. Reg. 41281, 41282 (July 3, 2000))

Review of Evidence Demonstrating Compliance (A):
   o Interviews with Project Director

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The recipient does not participate in
prohibited activities.

In addition, the Director stated that TDH service sites are allowed to provide resource lists to
clients seeking information on pregnancy termination sites. TDH FPP forms, policies, etc. are
under review by TDH legal staff and expect a decision on what they are allowed to provide to or
say to clients seeking pregnancy termination counseling and referral. Staff are concerned they will
not be allowed to provide counseling. No pregnancy termination/abortion brochures are available
to clients.


Expectation 4:

Ensure that non-Title X abortion activities are separate and distinct from Title X project activities.
Where recipients conduct abortion activities that are not part of the Title X project and would not be
permissible if they were, the recipient must ensure that the Title X-supported project is separate and
distinguishable from those other activities. What must be looked at is whether the abortion element
in a program of family planning services is so large and so intimately related to all aspects of the
program as to make it difficult or impossible to separate the eligible and non-eligible items of cost.
The Title X project is the set of activities the recipient agreed to perform in the relevant grant
documents as a condition of receiving Title X funds. A grant applicant may include both project
and non-project activities in its grant application, and, so long as these are properly distinguished
from each other and prohibited activities are not reflected in the amount of the total approved
budget, no problem is created. Separation of Title X from abortion activities does not require
separate recipients or even a separate health facility, but separate bookkeeping entries alone will not
satisfy the spirit of the law. Mere technical allocation of funds, attributing federal dollars to non-
abortion activities, is not a legally supportable avoidance of section 1008. Certain kinds of shared
facilities are permissible, so long as it is possible to distinguish between the Title X supported
activities and non-Title X abortion-related activities:

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       i.      a common waiting room is permissible, as long as the costs properly pro-rated,
       ii.     common staff is permissible, so long as salaries are properly allocated, and all
       abortion related activities of the staff members are performed in a program which is entirely
       separate from the Title X project,
       iii.    a hospital offering abortions for family planning purposes and also housing a Title X
       project is permissible, as long as the abortion activities are sufficiently separate from the
       Title X project, and
       iv.     maintenance of a single file system for abortion and family planning patients is
       permissible, so long as costs are properly allocated. (65 Fed. Reg. 41281, 41282 (July 3,
       2000)

Review of Evidence Demonstrating Compliance (F):
   o Review of administrative manuals
   o Tour of service sites
   o Review of cost allocations
   o Review of invoicing
   o Review of services being provided

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 5:

A Title X project may not provide pregnancy options counseling which promotes abortion or
encourages persons to obtain abortion, although the project may provide patients with complete
factual information about all medical options and the accompanying risks and benefits. While a
Title X project may provide a referral for abortion, which may include providing a patient with the
name, address, telephone number, and other relevant factual information (such as whether the
provider accepts Medicaid, charges, etc.) about an abortion provider, the project may not take
further affirmative action (such as negotiating a fee reduction, making an appointment, providing
transportation) to secure abortion services for the patient. (65 Fed. Reg. 41281 (July 3, 2000))

Review of Evidence Demonstrating Compliance (C):
   o Pregnancy Testing Policy
   o Staff interview

This expectation was MET.

Areas of Improvement and Required Action (C): N/A




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Technical Assistance: The reviewer recommended that the Polk-Benton clinic include abortion
providers in nearby states (since there are no abortion providers in Tennessee) for those patients
requesting this information due to an unintended pregnancy.

Best Practices Suggestions & Additional Comments: All staff have received training regarding the
prohibition of abortion-related activities.


Expectation 6:

Where a referral to another provider who might perform an abortion is medically indicated because
of the patient's condition or the condition of the fetus (such as where the woman's life would be
endangered), such a referral by a Title X project is not prohibited by section 1008 and is required by
42 CFR § 59.5(b)(1). The limitations on referrals do not apply in cases in which a referral is made
for medical indications. (65 Fed. Reg. 41281 (July 3, 2000))

Review of Evidence Demonstrating Compliance (C):
   o Staff interviews
   o Pregnancy protocol
   o Pregnancy referral list (Hamilton)

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The grant recipient is compliant with this
expectation.




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                 Quality Family Planning Implementation Assessment

This portion of the assessment follows the recommendations detailed in Providing Quality
Family Planning Services: Recommendations of CDC and the U.S. Office of Population Affairs
(QFP), which focuses on service provision consistent with the best available scientific evidence.

***Please review the QFP Clinical Assessment Checklist (Supplement Review Tool for Admin
and Clinical reviewers) separately submitted.




Tennessee Department of Health - Virtual Program Review (VPR) July 11-15, 2022

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                                                      Revised March 2022




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                        ACKNOWLEDGEMENTS
This manual has been revised and updated with the assistance of the following:


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             FAMILY PLANNING ADMINISTRATOR SIGNATURE PAGE



Date: _________________


The Family Planning Administrative Manual must be reviewed and signed annually by the
Family Planning Administrator. It is the responsibility of the Family Planning Administrator
to ensure all staff working on the Title X program, are up to date with Title X policy and
procedure. Signature pages must be available for review during TFPP site visits.
With the signature below, the Title X agency authorizes that it has read and implemented
required administrative elements into the Family Planning program.


________________________________ Family Planning Administrator
        (printed name)


Signature: _________________________________ Date: ___________________




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                   FAMILY PLANNING ADMINISTRATOR LETTER

March 2022


Dear Family Planning Administrator:
Thank you for reviewing this Administrative Manual and utilizing the policy and
procedures of Title X and the Tennessee Family Planning Program in your clinical
practice. This manual is designed by the Tennessee Department of Health’s Family
Planning Program (TFPP) staff to help guide clinics through the administrative
regulations of the Title X Family Planning Program. To read the federal Title X Program
Requirements, please visit: https://opa.hhs.gov/grant-programs/title-x-service-
grants/title-x-statutes-regulations-and-legislative-mandates
The Tennessee Family Planning Program must have written policies in accordance with
Title X statutes and regulations. The policies, procedures, and strategies in which the
family planning program operates must demonstrate compliance with the requirements
of the Title X Program. Contracted agencies are required to maintain policies and
procedures specific to their organizations and ensure they meet the requirements of
Title X.
This manual mirrors the Title X Family Planning Program regulations and the 2014
Program Requirements for Title X Funded Family Planning Projects document. These
Federal regulations are translated into the Tennessee context.
https://opa.hhs.gov/sites/default/files/2021-03/title-x-program-requirements-april-
2014.pdf

TITLE X REGULATIONS
Project Grants for Family Planning Services - https://www.ecfr.gov/current/title-
42/chapter-I/subchapter-D/part-59/subpart-A
Grants for Family Planning Service Training - https://www.ecfr.gov/current/title-
42/chapter-I/subchapter-D/part-59/subpart-C

Compliance With Statutory Program Integrity Requirements Ensuring Access to
Equitable, Affordable, Client-Centered, Quality Family Planning Services. A Rule by the
Health and Human Services Department on 10/07/2021




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https://www.federalregister.gov/documents/2021/10/07/2021-21542/ensuring-access-to-
equitable-affordable-client-centered-quality-family-planning-services
This Administrative Manual outlines policies and procedures applicable to all family
planning clinic sites. Some variations in management are anticipated and appropriate,
but many aspects of the program must be consistent and uniform throughout the state.
This manual serves as a reference point for federal, state, and program requirements.
This Manual contains sections dealing with the project management and administration,
project services and clients, financial management, community participation, education,
and project promotion, information and education materials review, and additional
administrative requirements.
Every reasonable effort will be made to keep this manual current. If service sites find
errors in content, they are encouraged to contact the key TFPP central office staff so
that concerns may be addressed, and changes made to the manual as needed. TFPP
staff will make updates to this document at least annually. It is the responsibility of the
Family Planning Administrator (FPA) to ensure appropriate staff has read and reviewed
the updated manual and sign the “Signature Page” annually.
If you have any questions or see an area for improvement, please send your comments
to Danni.Lambert@tn.gov. We thank you for your collaboration and your service to
Tennesseans.


Sincerely,


The Tennessee Department of Health’s Family Planning Program Staff




Disclaimer: This document provides links as a convenience to users and may require additional searches
by the user to extract specific information. The TFPP does not exercise any editorial control over the
information and functionality of the external hyperlinks. According to the document review schedule, these
links will be reviewed and revised as needed.




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       TENNESSEE FAMILY PLANNING PRO GRAM PURPOSE & MISSION



The mission of the Tennessee Department of Health (TDH) is to Protect, Promote and
Improve the health and prosperity of people in Tennessee. The vision of the Tennessee
Department of Health (TDH) is to be a recognized and trusted leader, partnering and
engaging to accelerate Tennessee to one of the nation’s ten healthiest states. Our
values include:
   •   Teamwork
   •   Integrity
   •   Mutual Respect
   •   Excellence
   •   Compassion
   •   Servant Leadership.

The Tennessee Family Planning Program aims to improve health outcomes for
individuals of reproductive age, and advance health equity through the delivery of
comprehensive, high-quality family planning services that are client-centered, culturally,
and linguistically appropriate, inclusive, and trauma-informed. The program provides a
broad range of services related to achieving pregnancy, preventing pregnancy, assisting
individuals and couples with achieving their desired number and spacing of children,
and reducing the incidence of sexually transmitted infections (STIs). TFPP provides
comprehensive family planning and related preventive health services to everyone
requesting services, low-income emphasizing low-income, high-risk, minority,
historically underserved, marginalized, and adolescent clients.




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                  HISTORY OF FAMILY PLANNING IN TENNESSEE



Tennessee has a long tradition of providing family planning services to women in the
public health sector. Long before the term “Family Planning Clinic” was coined, health
departments across the state provided services in half-day sessions called “Pap Smear”
or “Birth Control Clinics.” The health officer and public health nurse usually ran these
clinics. Contraceptive supplies were limited to a few brands of oral contraceptives and to
IUDs that were sterilized on-site (in surgical basins) just before insertion. Tennessee
has come a long way. The following are some landmark dates for the program.
   •   1930’s Birth control clinics in hospital settings in Knoxville and at the Davidson
       County Health Department were established in the late 1930’s.
   •   1950’s Oral contraceptives became available, although they were generally
       limited to clients of private physicians in the late 1950’s.
   •   1963 A family planning clinic opened to the public in Oak Ridge by the Planned
       Parenthood Federation, using space furnished by the Department of Public
       Health. In November, the Tennessee Public Health Council approved Family
       Planning as a Public Health program.
   •   1964 In January, the first Public Health Family Planning clinic opened in
       Williamson County.
   •   1965 Two firsts occurred: (a) Metropolitan Nashville-Davidson County Health
       Department opened a clinic using federal funds for family planning. This was the
       first clinic in Region IV and the third clinic in the nation to use federal funds for
       family planning. (b) Tennessee Department of Public Health published the first
       Family Planning brochure.
            o Family planning services now were available in three counties.
   •   1967 In February, Tennessee Department of Public Health endorsed statewide
       public funded Family Planning and in June, there was a budget expansion
       request for family planning.
   •   1968 A survey showed that 93.4 percent of women in need of subsidized family
       planning were unable to obtain it.
            o At this point, the number of counties providing family planning services
                had increased from 3 to 83.
            o Family Health Services wrote a formal proposal for an $800,000 family
                planning project in the five Southwest counties with the highest infant
                mortality rates.
   •   1969 The first federally funded rural family planning project was established in
       five Southwest counties.




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•   1970 The first Tennessee State Director of Family Planning was hired. A
    computerized data system, the Family Planning Mainframe, was developed and
    used. During the late ’70s, the state Family Planning Program (FPP) contracted
    with Cytology Screening Laboratories, Albany, New York, to provide reading of
    Pap smears.
•   1971 Federal Title X-enabling legislation passed with the first categorical family
    planning dollars.
        o The Tennessee Family Planning Act was passed.
        o The first Tennessee Title X family planning grant was submitted with a
            total budget of one million dollars.
        o Publicly supported family planning was available to residents in all 95
            counties.
•   1972 A grant award was received for $900,000, the first Title X money to
    support family planning clinics in Tennessee.
        o The State Family Planning Advisory Council was established, and regional
            council organization was begun, with all nine functional by
•   1973 The first Family Planning Nurse Practitioners (FPNPs) were trained, and
    the team concept was established.
        o Within two years, ten FPNP-headed teams served clients in 50 counties.
        o The Certified Nurse Midwife (CNM) classification was established in
            Tennessee, and the first CNM was hired.
•   1974 Title IV-A (subsequently known as Title XX program) funds became
    available for family planning. Regional Family Planning Administrator positions
    were established.
        o By the end of the year, the regionalization of the FPP was complete. Title
            X funds totaled $1.5 million.
•   1975 Special project funds from Title V (MCH) were awarded for a teen clinic in
    Nashville.
•   1976 The family planning client load peaked at 163,000.
•   1977 The sliding fee scale for family planning services was established, and fee
    collections were begun. Before this time, no charges were ever made to clients
    using the Family Planning clinics statewide.
•   1978 A Teen Initiative Project was begun with special Title X funds. From 1978-
    to 1979, the total family planning budget was $8.8 million from 7 different
    sources: Title V, Title X, Title XIX, Title XX, state appropriations, local match, and
    client fees.
•   1979 The FPP was merged into the Maternal and Child Health Division.
•   1982 AIDS reporting in Tennessee begins (HIV reporting began in 1992).




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•   1992 In February, the Norplant system became available to clinics.
•   1993 In August, Depo-Provera became available to clinics.
•   1994 The TennCare Program was established, which significantly impacted the
    FPP. Screening of family planning clients for Chlamydia was instituted.
        o Emergency contraception was approved for use in Family Planning clinics
            in Tennessee.
•   1995 Family planning services were available at 142 clinic sites in all 95
    counties. There were 96,201 unduplicated contraceptive clients.
•   2010 The Affordable Care Act law for comprehensive health care reform was
    enacted in March 2010.
•   2013 Tennessee made Neonatal Abstinence Syndrome a Reportable Disease.
    This addition allowed real-time data about NAS incidence and helped inform
    efforts aimed at the primary prevention of NAS.
•   2016 Outbreaks of Zika and increased reports of congenital disabilities, and
    Guillain-Barré syndrome in areas affected by Zika.
        o The World Health Organization (WHO) declared a Public Health
            Emergency of International Concern (PHEIC) because of Zika.
        o The first case of Zika virus disease in Tennessee.
        o Tennessee State Legislature approves a bill to provide easier access to
            birth control by allowing women 18 or older to obtain contraceptives
            directly from pharmacists.
•   2017 TennCare MCOs agree to implement a billing policy change to allow
    TennCare enrollees who would choose a LARC contraceptive option to have
    access to their device of choice immediately following delivery during an inpatient
    stay.
•   2019 Department of Health and Human Services issues the 2019 final rule to
    revise the Title X family planning program regulations. The 2019 regulation
    focuses on compliance with the underlying Title X statute.
        o It clarified between permissible Title X activities and impermissible ones
            by requiring clear financial and physical separation for Title funded-funded
            programs from programs and facilities where abortion is a method of
            family planning.
•   2020 COVID-19 Pandemic Response
        o Tennessee Family Planning Services were directly impacted by the Novel
            Coronavirus (COVID-19). On Thursday, March 12, 2020, Governor Bill
            Lee issued Executive Order No. 14 declaring a state of emergency in
            Tennessee to facilitate the treatment and containment of COVID-19.




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          o All TFPP sites remained dedicated to ensuring family planning client
             needs were met while leading the public health response to the COVID-19
             pandemic. In Tennessee, family planning methods and services provided
             to help clients either prevent pregnancy or achieve pregnancy are
             considered essential healthcare services. Family planning providers
             continue to meet clients’ needs while keeping themselves and clients safe
             during this nationwide COVID-19 public health emergency.
          o Telehealth - TFPP had begun exploring telehealth as a service option
             when the COVID-19 pandemic struck. To mitigate the spread of COVID-
             19 while simultaneously providing services for clients who may be
             affected, TFPP began a telehealth program. Workflows, protocols, and
             policies that enabled TDH to offer various telehealth options, including
             phone calls, video calls, and chats, were established. TFPP started
             offering telehealth visits, and both clients and staff quickly embraced
             telehealth.
   •   50 years of Title X.
          o For 50 years, Tennessee Family Planning Program celebrates 50 years of
             Family Planning services. Tennessee is proud to have been a Title X
             grantee since the inception of the National Family Planning Program.
   •   2021 Title X Final Rule
          o On October 4, 2021, the U.S. Department of Health and Human Services
             (HHS) Office of Population Affairs (OPA) amended the Title X Family
             Planning regulations to restore access to equitable, affordable, client-
             centered, quality family planning services for more Americans.
          o The 2021 regulations reinforce the program’s central tenets of quality,
             equity, and dignity for all individuals who seek Title X services and
             modernize the more than 50-year-old program to reflect the current
             healthcare system better.

2022 Administratively, the Central Office Family Planning Program (FPP) personnel
oversee the program for the entire state. The Central Office staff consists of the FPP
Director, the Women’s Health Clinical Trainer, Reproductive Women’s Health
Epidemiologist, and the Financial Administrator. Each region and each contracting
agency appoint a Family Planning Administrator (FPA) who receives and disseminates
information to their region, is responsible for the development of the annual Title X work
plan and progress report for their region and performs a multitude of other duties as
described in this manual.




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The TFPP currently oversees Title X services in every county health department in
Tennessee. The program leads efforts with interdisciplinary teams of health care
professionals from a broad range of fields including obstetrics and gynecology, public
health, nursing, epidemiology, social work, health education, and fiscal administration.
Furthermore, the program draws on expertise statewide from those serving in the
institutional and private reproductive health sectors to make the program as technically
strong and as a community oriented as possible. Many changes have occurred since
the first few traveling family planning teams started in 1972. Much progress in
technology has occurred, and many lessons have been learned.

Today, even though there is diversity across the state system as to how the traditional
services of family planning are provided (some have integrated clients into women’s
health clinics or primary care clinics; some continue the conventional family planning
clinic sites), one thing has not changed: As in the earliest days, the goal of the TFPP is
to provide quality services to low-income, high-risk individuals in need of health care.




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                TITLE X FAMILY PLANNING PROGRAM OVERVIEW



The Public Health Service Act authorizes the Family Planning/Title X Program through
the Family Planning Services and Population Research Act of 1970. This Act
established the Office of Population Affairs (OPA), within the U.S. Department of Health
and Human Services (HHS), to manage the Title X grant program, including family
planning services and population research. For more than 50 years, Title X family
planning clinics have played a critical role in ensuring access to a broad range of family
planning and preventive health services, including breast and cervical cancer screening
and STI/HIV testing. The program is implemented through competitively awarded
grants to state and local public health departments, community health, family planning,
and other private nonprofit agencies.

Title X projects may also include other reproductive health and related preventive health
services that are considered beneficial to reproductive health, such as HPV vaccination,
provision of HIV pre-exposure prophylaxis (PrEP), breast and cervical cancer screening,
and screening for obesity, smoking, drug, and alcohol use, mental health, and intimate
partner violence. By law, Title X funds may not be used in programs where abortion is a
method of family planning. For many clients, Title X providers are their only ongoing
source of health care and health education. All Title X service sites provide quality
healthcare that is safe, effective, client-centered, timely, efficient, and equitable.

Title X core services include contraceptive services, pregnancy testing, and counseling,
optimal family spacing, assistance to achieve pregnancy, basic infertility services,
sexually transmitted infection (STI) services, preconception health, preventive health
services, and adolescent-friendly health services. Family planning services are provided
in a manner that does not discriminate against any client based on religion, race, color,
national origin, disability, age, sex, sexual orientation, gender identity, sex
characteristics, number of pregnancies, or marital status.

Title X is the only federal grant program dedicated solely to providing individuals with
comprehensive family planning and related preventive health services. Family planning
clinics have played a critical role in ensuring access to these services for millions of low-
income or uninsured individuals and other vulnerable populations. President Nixon
signed the Title X Bill in 1969, which states “No American woman should be denied
access to family planning assistance because of her economic condition.”




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                          TITLE X PROGRAM PRIORITIES



OPA establishes program priorities that represent overarching goals for the Title X
program. Program priorities derive from the HHS priorities. Tennessee Family Planning
Program project plans are developed to address the OPA designated Title X program
priorities.


Title X Priorities include all the legal requirements covered within the Title X statute,
regulations, and legislative mandates. All sub-recipients must comply with the
requirements regarding the provision of family planning services according to Title X of
the Public Health Service Act, 42 U.S.C. § 300 et seq., and the implementing
regulations. Legislative mandates and the 2021 Final Rule:
https://www.federalregister.gov/documents/2021/10/07/2021-21542/ensuring-access-to-
equitable-affordable-client-centered-quality-family-planning-services




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                  FEDERAL TITLE X FAMILY PLANNING FUNDING



The Tennessee Department of Health, as the sole Tennessee Title X grantee, allocates
awarded federal Title X funds first to local health departments and contracted Metro
Health Departments. TFPP providers are committed to providing quality family planning
services in their area and the state. Metro Health Department allocations are
determined annually based on a formula that includes the availability of funds, the
number of unduplicated family planning clients seen in the previous calendar year, and
the extent of the Metro’s family planning services. All metros and non-health
department clinic services are reimbursed through a fee for services methodology.

There are several options for purchasing Family Planning products supplied to the
Tennessee Department of Health clinics. The majority of the contraceptives provided
are purchased through a State contract with a single wholesaler/distributor selected by
the State using a standard competitive bid process. As a Title X TFPP participant, the
State of Tennessee is eligible for Public Health Service (PHS)/340B pricing. The
wholesaler provides manufacturer contracted 340B pricing for all Family Planning
products. The State is also a member of the 340B Prime Vendor Program, that is
available through a contract issued by the federal government. The Prime Vendor
Program allows the State to acquire prices below PHS pricing for additional savings and
improves access to some Family Planning products.

Pregnancy test kits are screened for accuracy, reliability, and ease of use by a team of
nurses and laboratory staff at the State laboratory facility. After being screened, the kits
are purchased through a competitive bid process. Only pregnancy test kits approved
through the screening are allowed to be included in the bid process. Metropolitan
regions and non-profit agencies included in the Title X Program may use the State
contracts or use procedures established by the agency for product purchasing.




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                      FAMILY PLANNING ANNUAL REPORT

The Family Planning Annual Report (FPAR) National Summary aims to present
national, regional, and state-level findings for the calendar year and trends for selected
measures: https://opa.hhs.gov/research-evaluation/title-x-services-research/family-
planning-annual-report. Annual submission of FPAR data to OPA is required by all Title
X family planning services grantees authorized and funded under the Population
Research and Voluntary Family Planning Programs (Section 1001 of Title X of the
Public Health Service Act, 42 United States Code [USC] 300; 42 CFR Part 59) for
purposes of monitoring and reporting program performance.

Information from the FPAR is important to OPA for several reasons:

   •   FPAR data monitors compliance with statutory requirements, regulations, and
       operational guidance.

   •   OPA uses FPAR data to comply with accountability and federal performance
       requirements for Title X family planning funds as required by the 1993
       Government Performance and Results Act (GPRA).

   •   The program relies on FPAR data to monitor performance, guide strategic and
       financial planning, and respond to policymakers and congressional inquiries
       about the program.

   All TFPP service sites are required to capture patient-level FP encounter data. The
   method of data capture can vary by location, but ultimately the data for each service
   site is compiled by the RWH Epidemiologist who is responsible for preparing annual
   FPAR data, and approved by the FP Program Director. The FP Program Director
   ensures submission of these data to OPA by February 15th of each year. Each
   annual submission includes data for clients and encounters occurring during the
   previous calendar year (January 1 to December 31). Further details on FPAR can be
   found here: https://opa.hhs.gov/research-evaluation/title-x-services-research/family-
   planning-annual-report




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                         TITLE X CLINICAL REQUIREMENTS



Regardless of the extent of family services provided, Title X (42 CFR 59) subrecipients
must adhere to all clinical requirements.


GENERAL REQUIREMENTS


   1. Family planning services must be voluntary and offered in a competent, non-
      discriminatory, trauma-informed manner, respecting client confidentiality.
      Services should ensure equitable and quality service delivery consistent with
      nationally recognized standards of care.
   2. Family planning services must be provided without subjecting individuals to any
      coercion to accept services or to employ or not employ any particular methods of
      family planning. Any agency that is found to coerce or try to coerce any person
      may be fined or subject to prosecution.
   3. Family planning services must be client-centered care respectful of and
      responsive to individual client preferences, needs, and values. Client values
      should guide all clinical decisions.
   4. Family planning services must be inclusive and demonstrate health equity by
      providing services without regard to religion, race, color, national origin, disability,
      age, sex, sexual orientation, gender identity, sex characteristics, social position,
      number of pregnancies, or marital status. Culturally and linguistically appropriate
      services are respectful of and responsive to the health beliefs, practices and
      needs of diverse clients. Family planning services must be provided without the
      imposition of durational residency or a requirement that a physician refer the
      client.
   5. Title X clinics must have written policies consistent with the HHS Office for Civil
      Rights policy.
   6. Subrecipients may not provide abortion as a method of family planning.
   7. Subrecipients should provide for coordination and use of referrals and linkages
      with primary healthcare providers, other providers of healthcare services, local
      health and welfare departments, hospitals, voluntary agencies, and health
      services projects supported by other federal programs, who are in close physical
      proximity to the Title X site, when feasible, to promote access to services and
      provide a seamless continuum of care.




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   8. Subrecipients must provide adolescent-friendly health services. They must
      encourage family participation in a minor’s decision to seek family planning
      services. Concerning each minor client, ensure that the records-maintained
      document the action is taken to encourage such family participation or the
      specific reason why family participation was not encouraged.


PERSONNEL REQUIREMENTS


Family Planning Providers(s): A family planning provider is an individual who assumes
primary responsibility for assessing a client and documenting services in the client
record. Providers include those agency staff that exercise independent judgment as to
the services rendered to the client during an encounter. Family planning medical
services will be performed under the direction of a clinical services provider, with
services offered within their scope of practice and allowable under state law, and with
special training or experience in family planning. Two general types of providers deliver
Title X family planning services: advanced practice providers and other services
providers.
    Advance Practice Providers – A medical professional who receives a graduate-
    level degree in the relevant medical field and maintains a license to diagnose, treat,
    and counsel clients (42 CFR Part 59.2). Advance practice providers are physicians,
    physician assistants, nurse practitioners, and certified nurse midwives, who are
    trained and permitted by state-specific regulations to perform all aspects of the
    client’s physical assessments recommended for contraceptive, related preventive
    health, and basic infertility care. Advance practice providers should offer client
    education, counseling, referral, follow-up, and clinical services (physical
    assessment, treatment, and management) relating to a client’s proposed or adopted
    method of contraception, general reproductive health, or infertility treatment.

   Other Service Providers – Include other agency staff that provides any level of
   service to family planning clients. This includes registered nurses (RNs), licensed
   practical nurses (LPNs), certified nurse assistants, health educators, and social
   workers.

   Any adequately trained service provider may perform the following duties:
      • Obtain samples for routine lab tests (e.g., urine, pregnancy, sexually
         transmitted infection (STI), cholesterol, and lipid analysis).




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       •   Perform routine clinical procedures that may include aspects of the client’s
           physical assessment (blood pressure evaluation).
       •   Client education, contraceptive counseling, pregnancy counseling,
           preconception health counseling, referral, or follow-up services relating to the
           client’s proposed or adopted method of contraception, general reproductive
           health, and basic infertility counseling.

   The following duties must be performed by an advanced practice provider, RN, or
   LPN:
     • Provide contraceptive injections (Dep-Provera) and provide contraceptive
         methods to a client as ordered.

The TFPP maintains approved personnel policies and procedures. TDH has
established and maintains personnel policies that comply with applicable Federal and
State requirements, including Title VI of the Civil Rights Act, Section 504 of the
Rehabilitation Act of 1973, Title I of the Americans with Disabilities Act, and the annual
appropriations language. These policies include, but are not limited to, staff recruitment,
selection, performance evaluation, promotion, termination, compensation, benefits, and
grievance procedures. Policies by Category (tn.gov)

   •   TFPP staff are broadly representative of all significant elements of the population
       served by the FPP and are sensitive to and able to deal effectively with the
       cultural and other characteristics of the FPP client population.
   •   A qualified project director administers the TFPP. Any change in status,
       including the absence of the project director and other key personnel are pre-
       approved by the Office of Grants Management.
   •   TFPP medical services are performed under the direction of a physician with
       special training or experience in family planning.
   •   Appropriate salary limits will apply as required by law.


MEDICATION GUIDELINES


Each TFPP site has established and maintains a medication policy and guidelines for all
staff to follow. These guidelines are written and developed following state and federal
requirements.




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CLIENT EDUCATION, COUNSELING, AND INFORMED CONSENT


Client education and counseling should be client centered. Provide all education and
counseling in a culturally competent manner to meet the needs of all clients regardless
of religion, color, national origin, disability, age, sex, sex characteristics, gender identity,
race, sexual orientation, number of pregnancies or marital status. All clients must have
a reproductive life plan assessment, which outlines personal goals about achieving or
avoiding pregnancy. Assessment of reproductive life plan may identify unmet
reproductive health care needs. The American College of Obstetricians and
Gynecologists (ACOG) strongly supports access to comprehensive and culturally
appropriate reproductive life planning. It encourages providers to use every client
encounter as an opportunity to talk with clients about their pregnancy intentions.
If the client indicates that they prefer to have a child at a time in the future and is
sexually active with no use of contraceptives, offer contraceptive services. Also, offer
the Family Planning It’s More Than You Think brochure. Family Planning - Family
Planning is More Than You Think Brochure English.pdf - Folders (sharepoint.com),
Family Planning - Family Planning Is More Than You Think Brochure - Spanish.pdf -
Folders (sharepoint.com), or Family Planning - Family Planning Is More Than You Think
Brochure-ARABIC.pdf - Folders (sharepoint.com).

If the client is not pregnant and indicates the desire to have a child now, then provide
appropriate services and counseling or refer for services to help the client achieve
pregnancy 2.105 Preconception Health Services.pdf.

When initiating a new method of contraception, help the client develop a plan for
appropriate use, provide the desired contraceptive, followed with instructions for correct
and consistent use, and document client understanding. Provide a follow-up
appointment if indicated or if client understanding is not confirmed. Certain consents are
only required for the following family planning methods and procedures:

   •   IUD Insertion and Removal, Family Planning - Liletta Consent 6-yr.pdf - Folders
       (sharepoint.com), Family Planning - Nexplanon consent English 2021.pdf -
       Folders (sharepoint.com)
   •   Contraceptive Implant Insertion and Removal, and Family Planning - TDH
       Procedure Consent form PH 3914.pdf - Folders (sharepoint.com)
   •   Sterilization Consent. Family Planning - consent-for-sterilization-English-updated
       expires 2022.pdf - Folders (sharepoint.com)




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   • All consent forms are available in English and Spanish. Family Planning -
       GENERAL CONSENT FOR HEALTH SERVICES.pdf - Folders (sharepoint.com)


ADOLESCENT CONSENTS AND COUNSELING


Adolescents may consent to family planning services without the consent of a parent.
Family Planning - Mature_Minor_Doctrine.pdf - Folders (sharepoint.com) All
adolescents must be counseled:
          o Sexual abstinence is an effective way to prevent pregnancy and STIs,
          o How to resist being coerced into engaging in sexual activities and
             encourage the minor to involve their family (including guardians) in their
             decision to seek family planning services. However, Title X projects may
             not require the consent of parents or guardians for the provision of
             services to minors, nor can any Title X project staff notify a parent or
             guardian before or after a minor has requested and received Title X family
             planning services.
          o Documentation on adolescent counseling must be noted in the medical
             record. Likewise, documentation should indicate the reason(s) why
             counseling was not provided.



PREGNANCY COUNSELING (42 CFR PART 59.5)
Title X funds are intended only for family planning (achieving or avoiding pregnancy).
Confirmation that a family planning client is pregnant should prompt a referral to a
healthcare provider for prenatal care and, if eligible, referral for TennCare Presumptive
https://www.tn.gov/health/health-program-areas/fhw/rwh/tenncare-presumptive-
eligibility/.
    • Prenatal presumptive eligibility (PE) is a TennCare Medicaid coverage category
         for pregnant individuals. The presumptive eligibility option encourages early entry
         into prenatal care for improved health outcomes for the mother and the baby. A
         pregnant woman who qualifies for presumptive eligibility can begin receiving
         covered services when she is approved for PE. The intent is to offer prenatal
         care at the earliest possible time during pregnancy. Presumptive eligibility gives
         the pregnant individual TennCare coverage through the end of the month
         following the month of approval to allow time to apply for regular Medicaid. Both
         the PE and full Medicaid applications are completed at local health departments.




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Adequately trained TFPP staff providing family planning services to a client may provide
information and counseling to a pregnant client as follows:
          o Offer pregnant clients the opportunity to be provided information and
             counseling regarding each of the following options:
                 ▪ Prenatal care and delivery
                 ▪ Infant care, foster care, or adoption; and
                 ▪ Pregnancy termination - if requested to provide such information
                    and counseling, provide neutral, factual information and
                    nondirective counseling on each of the options, and referral upon
                    request, except concerning any option(s) about which the pregnant
                    client indicates they do not wish to receive such information and
                    counseling.

Any licensed clinic staff may provide the following information and resources:
          o A list of licensed, qualified comprehensive primary health care providers,
             including prenatal care providers; Family Planning - Resource Lists -
             Community and Provider - Folders (sharepoint.com)
          o A list and referral to social services, community agencies, and/or adoption
             agencies; Family Planning - Resource Lists - Community and Provider -
             Folders (sharepoint.com)
          o Information about maintaining the health of the mother and unborn child
             during pregnancy. CHS/CLS/NURS - 2.110 Pregnancy Test 02012022
             signed.pdf - Folders (sharepoint.com)



MANDATORY REPORTING REQUIREMENTS
Title X subrecipients shall comply with all state and local mandatory reporting laws
requiring notification of child abuse, child molestation, sexual abuse, rape, incest,
intimate partner violence, or human trafficking. A subrecipient must have a plan that can
be implemented. The plan should include the following:
    • Policies and procedures that address obligations of the organization and
        individuals to comply with mandatory reporting laws.
            o TFPP Policy & Procedure: Mandatory Child Abuse Reporting 2022.docx
               (sharepoint.com), TDH Policy & Procedure: Family Planning -
               GM_3.06_ReportingofChildAbuse (1).pdf - Folders (sharepoint.com),
    • Adequate annual training of all individuals serving clients.
            o The TFPP requires mandatory routine training of staff on Federal/State
               requirements for reporting or notification of child abuse, child molestation,




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             sexual abuse, rape or incest, intimate partner violence, cultural
             competency, and human trafficking. This training is provided initially
             during orientation and annually after that for all TFPP staff.
          o Mandatory Reporting training includes using the Tennessee Department
             of Children Services (DCS) “Child Abuse Reporting” presentation found on
             the DCS website. The presentation can be found at:
             https://www.tn.gov/content/tn/dcs/program-areas/training/cw-
             resources/mandated-reporter-training.html
   •   Documentation in the medical record of the age of a minor client and the age of
       the minor client’s partner.
          o The Abuse and Neglect Report, PH-2947, will be used for documenting
             suspected abuse. Completing PH-2947 will be documented in the medical
             record if the victim is a health department client. Family Planning -
             Abuse_and_or_Neglect_Report(PH-2947).pdf - Folders
             (sharepoint.com)The original copy of the PH-2947 will be maintained in a
             confidential file separate from the client’s health record in the health
             department clinic. A copy of the PH-2947 Form will be sent, marked
             CONFIDENTIAL, to the Regional Nursing Director. Permission will not be
             needed to report the suspected abuse. In most circumstances, the
             employee’s supervisor will be consulted before submission of a report. If
             such consultation is not available, the supervisor will be notified following
             the submission of a report.
   •   Screening for abuse, neglect, and victimization of all clients, especially
       adolescent/minor clients.


CONFIDENTIALITY
All information about personal facts and circumstances obtained by the TFPP staff
about individuals receiving services must be held confidential. Only information
necessary to provide services to the client or as required by law may be disclosed
without documented consent. Reasonable efforts to collect charges without jeopardizing
client confidentiality must be made. TFPP staff inform the client of any potential for
disclosing their confidential health information to policyholders where the policyholder is
someone other than the client. Confidentiality of data will not be used as a rationale for
noncompliance with laws requiring notification or reporting of child abuse, child
molestation, sexual abuse, rape, incest, intimate partner violence, human trafficking, or
similar reporting laws (42 CFR Part 59.10).




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   •   TFPP clients may request an extra layer of confidentiality because of personal
       circumstances. TFPP clinics have a mechanism in place in the health record and
       other documentation to identify these clients and ensure that no communication
       will be sent to the home of a confidential client, including billing statements, payer
       explanation of benefits regarding the visit, lab results, etc.
   •   Eligibility for discounts for unemancipated minors seeking or receiving
       confidential services in the Title X Project is based solely on the adolescent’s
       resources. TFPP Policy & Procedure-Discount Eligibility for Minors 2022.docx
       (sharepoint.com), Family Planning - CHS-4.8 Confidential Services Policy.pdf -
       Folders (sharepoint.com)
   • Income and sliding scale fees shall be assessed on a confidential client based on
       the individual’s income, not household income. Inability to pay shall not be a
       barrier to treatment, and a billing statement or other communication should never
       be sent to the client’s home. These clients may be treated as uninsured,
       regardless of their insurance status, and the Family Planning Program may be
       invoiced for their services. Eligibility for discounts for unemancipated minors
       seeking or receiving confidential services in the Title X Project is based solely on
       the adolescent’s resources. TFPP Policy & Procedure-Discount Eligibility for
       Minors 2022.docx (sharepoint.com), Family Planning - CHS-4.8 Confidential
       Services Policy.pdf - Folders (sharepoint.com)


INFORMATION & EDUCATION ADVISORY COMMITTEE AND MATERIAL
APPROVAL


Each TFPP region/metro/agency is required to have an Information and Education
Advisory Committee (I & E Committee) review and approve all informational and
educational (I & E) materials (print and electronic) developed or made available under
the TFPP before distributing them. The TFPP shall not disseminate any materials not
approved by the Advisory Committee.
   • The I & E materials review process ensures that materials developed or made
      available under the project are suitable for the intended population or community.
      All materials that TFPP disseminate must go through this process. The I & E
      materials review process is mandated through the Code of Federal Regulations
      (CFR 59.6) eCFR:: 42 CFR Part 59 Subpart A -- Project Grants for Family
      Planning Services, which specifies that materials must be reviewed by the
      Advisory Committee of at least five individuals who broadly represent the
      population or community for whom the materials are intended. The Committee




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       members review the materials to ensure they reflect the intended population or
       community's educational, cultural, and diverse backgrounds.
For further information, see Information & Educational Advisory Committee, and
Community Participation, Education, and Project Promotion Plan Reference Page.


TRAINING REQUIREMENTS FOR FAMILY PLANNING STAFF
All staff involved in Family Planning are required to complete annual training on specific
Family Planning policies and procedures, including:
    • Family Planning Policies and Procedures
    • Title X Requirements and Priority Areas
    • Mandatory Reporting (Child Abuse)
    • Intimate Partner Violence
    • Human Trafficking
    • Cultural Competency
    • Sexual coercion avoidance education for adolescents

The TFPP training plan is updated annually in January. The training plan is located in
Sharepoint: Training Plan Title X 2022.docx (sharepoint.com)

   •   Specific training verification forms are used, by the FPA, to report completed
       trainings to Central Office program staff. Semi-annual Reports are uploaded into
       Sharepoint Family Planning - Training Report DropBox - Folders
       (sharepoint.com) by April 20th and October 20th. Each Family Planning service
       site maintains individual staff training documentation.
   •   Central Office Family Planning Program staff monitors training records uploaded
       into Sharepoint to ensure compliance with this requirement and that all guidelines
       are met
   •   Maintenance of site-specific training records is verified as part of the Family
       Planning Program site visit at least once per grant cycle.




BILLING AND COLLECTION
Title X clients are to be billed according to a sliding fee scale, based on
family/household income, using the sliding fee schedule adopted by the organization
(e.g., National Health Service Corps (NHSC) Sliding Fee Schedule, Uniform Percentage
Guideline Scale) Family Planning - Sliding Fee Scale & FPL - Folders




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(sharepoint.com),. This schedule ensures discounts for individuals with family incomes
based on a sliding fee scale between 100–250% of poverty.
   • Clients receiving only family planning services and are 100% below the federal
      poverty level (FPL) may not be charged, including a nominal fee. Family Planning
      - CHS-4.17 Sliding Scale Schedule of Discounts Policy.pdf - Folders
      (sharepoint.com)

Additional billing guidelines:
  • Ensure that inability to pay is not a barrier to services.
  • Be based on a cost analysis of services; bills showing total charges shall be
       given directly to the client or another payment source.
  • Ensure that discounts for minors requesting confidential services without the
       involvement of a principal family member are based only on the income of the
       minor.
  • Household income should be assessed before determining whether copayments
       of additional fees are charged. Regarding insured clients, clients whose family
       income is at or below 250% FPL should not pay more (in copayments or
       additional fees) than what they would otherwise pay when the schedule of
       discounts is applied.
       • Clients without adequate contraceptive services coverage from employer-paid
           insurance should be treated as uninsured for the TFPP services.
       • Maintain reasonable efforts to collect charges without jeopardizing client
           confidentiality (see Confidentiality section).
               o All clients are asked to provide their household income and family size
                   at every visit, to ensure at least annually assessment of changes in
                   income. Family Planning - CHS-4.17 Sliding Scale Schedule of
                   Discounts Policy.pdf - Folders (sharepoint.com)
       • Allow voluntary donations. Voluntary Donations 2022.docx (sharepoint.com)
       • Ensure that client income is re-evaluated at least annually and maintain a
           method for “aging” outstanding accounts. Family Planning - CHS-4.1.c
           Private Pay Write Off Policy.pdf - Folders (sharepoint.com)




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          SPECIFIC TITLE X FAMILY PLANNING SERVICES GUIDANCE


CONTRACEPTIVE SERVICES
TFPP contraceptive services include a broad range of FDA-approved contraceptive
methods, a brief assessment to identify safe contraceptive methods for the client, and
contraceptive counseling to help a client choose a method of contraception and use it
correctly and consistently. All TFPP clinic sites provide and stock a variety of the most
effective contraceptive methods, including, but not limited to, IUD, hormonal implant,
Depo-Provera, oral contraceptives, emergency contraception, hormonal patch, and the
contraceptive vaginal ring should be available either on-site or by referral with a
contracted provider. Uninsured clients 100% below the federal poverty level must not be
required to pay for a contraceptive method. Uninsured clients should receive the desired
method without a cost to the client. Condoms are made available to all clients for
contraception and STI prevention.

Contraceptive counseling and education should be provided to all clients. They should
include information on non-hormonal contraception, including, but not limited to,
condoms, fertility awareness-based methods, and sexual risk avoidance/abstinence.
Education is an essential component of the contraceptive counseling process that helps
clients make informed decisions and obtain the information they need to use
contraceptive methods correctly.
TFPP service providers utilize PATH, Family Planning - PATH - Folders
(sharepoint.com), to assess a client’s reproductive life goals. The PATH questions are a
client-centered approach to assessing Parenthood/Pregnancy Attitude, Timing, and
How important is pregnancy prevention.
    • PATH can be used with clients of any gender, sexual orientation, or age.
    • PATH is designed to facilitate listening and efficient client-centered conversations
        about preconception care, contraception, and fertility.

STERILIZATION
Sterilization is a TFPP service that may be provided or arranged for with state
government funding. To provide sterilization, federal sterilization consent guidelines
must be followed. Family Planning - Sterilization consents-OPA - Folders
(sharepoint.com). Medicaid and TennCare also have the same requirements as Title X.
In Tennessee, program funding for sterilization is limited.
    • TFPP clinic sites should keep a list of clients requesting sterilization through the
        state sterilization program, Sterilization Report Blank.doc (sharepoint.com) and
        prioritize applicants when funds for sterilization are available.




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   •   For detailed information on policy, federal sterilization requirements, selection
       criteria, sterilization consent forms, and general instructions access the Office of
   •   Population Affairs website at http://www.hhs.gov/opa/pdfs/42-cfr-50-c.pdf

CONTRACEPTIVE FOLLOW UP
Contraceptive follow-up is at the discretion of the TFPP provider. The following follow-
up appointment routines are suggested but not mandated:
   • IUD Insertion: Return in 4-6 weeks for evaluation, then annually.
   • Depo-Provera Users: Return in 11 to 13 weeks for the next injection.
          o Counsel on receiving injections on time.
          o Special considerations that may require a scheduled follow-up visit:
          o Clients with a history of inconsistent or incorrect use of a method.
          o Clients who have had problems with other contraceptive methods.
          o Clients fitted with a diaphragm may need a follow-up visit to ensure the
              client is appropriately placing the device.
   • Routine follow-up visits are not required for most clients utilizing other
      contraceptive methods. Clients should be advised to return to discuss questions
      regarding their contraceptive choice, including complications and barriers to
      compliance with the method.
   • Alternative modes of follow-up, other than in-person visits to the service site, may
      be utilized. These include Telehealth, telephone call, e-mail, or text message,
      with the client’s request/consent.

PREGNANCY TESTING AND COUNSELING
Pregnancy testing and counseling are a fundamental TFPP service. Counseling clients
with negative pregnancy results include these services:
    • Actively seeking pregnancy
          o Preconception Health Services (PHN Protocol 2.105)
          o Fertility Awareness Based Methods (PHN Protocol 2.090)
          o Basic Infertility Counseling (PHN Protocol 2.011)
          o Encourage evaluation by PCP or provider
    • Not actively seeking pregnancy or not actively preventing pregnancy
          o Provide contraceptive counseling if requested
          o Offer Same Day Start as requested \
          o Offer Same Day Insertion and referral for LARC (if requested and
              available)
          o Offer ECP or ECP prescription as requested
          o Discuss preconception health, including folic acid




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Counseling clients with positive pregnancy test results include opportunity to discuss
prenatal care and delivery, adoption care, foster care, or infant care; and pregnancy
termination may be discussed (if requested, should provide neutral, factual, non-
directive counseling on each of the options), and provide referral upon request with the
exception to any options which the pregnant client indicates they do not wish to receive
such information and counseling. See Pregnancy Counseling

SEXUALLY TRANSMITTED INFECTION SERVICES


All TFPP clinic sites offer sexually transmitted infection testing and treatment. Services
are provided per CDC’s STI treatment and HIV testing guidelines. Family Planning -
Providing Quality Sexually Transmitted Diseases Clinical Services, 2020.pdf - Folders
(sharepoint.com). TFPP STI services include assessment and screening.



ACHIEVING PREGNANCY AND BASIC INFERTILITY SERVICES


TFPP providers offer basic infertility care as part of core family planning services
following the recommendations of professional medical organizations. See the CDC
publication Providing Quality Family Planning Services:
https://www.cdc.gov/mmwr/preview/mmwrhtml/rr6304a1.htm?s_cid=rr6304a1_w. All
clients reporting difficulty achieving pregnancy should be referred to an appropriate
advanced practice provider for further evaluation and treatment.
           o Both partners should be evaluated concurrently (recommendation of
               American Society for Reproductive Medicine, ASRM). The infertility clinic
               visit includes: a complete medical history, reproductive life plan, and
               sexual health assessment 2.011 Basic Infertility Services.pdf
               (sharepoint.com)

Counseling provided during the visit is guided by information from the client during the
medical and reproductive history and the physical exam findings. TFPP providers
educate the client about how to maximize fertility.

PRECONCEPTION HEALTH SERVICES AND PREVENTIVE HEALTH
SERVICES




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TFPP sites provide preconception health services and related preventive health
services to all family planning clients. Preconception describes any time an individual of
reproductive potential is at risk of becoming pregnant or causing a pregnancy.
TFPP preconception health-care services aim to identify and modify biomedical,
behavioral, and social risks to health or pregnancy outcomes through prevention and
management. It promotes the health of individuals of reproductive age before
conception and thereby helps to reduce pregnancy-related adverse outcomes, such as
low birth weight, premature birth, and infant mortality.

Preconception health includes a medical history screening and counseling for risks such
as tobacco use, substance use, obesity, blood pressure, intimate partner violence,
diabetes, immunizations, and depression. Related preventive health services include
appropriate health screening and referral for treatment, including STI testing, cervical
cancer screenings (Pap testing and HPV co-testing), clinical breast exams,
mammograms.



LEGISLATIVE MANDATES


As amended by the 2021 Title X Final Rule and its compliance dates, requirements
regarding the provision of family planning services under Title X can be found in:
Title X Statutes, Regulations, and Legislative Mandates https://opa.hhs.gov/grant-
programs/title-x-service-grants/title-x-statutes-regulations-and-legislative-mandates

Title X Statute - Five Major Provisions of the Law Title X of the Public Health Service
Act, 42 U.S.C. 300, et seq. - PDF

Subpart A - Project Grants for Family Planning Services

Subpart C - Grants for Family Planning Service Training

Subpart B - Sterilization of Persons in Federally Assisted Family Planning Projects

Title X of the Public Health Service Act authorizes the Secretary of Health and Human
Services (HHS) to award grants for projects to provide family planning services to any
person desiring such services, with priority given to individuals from low–income
families.




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Providing Quality Family Planning Services, Recommendations of CDC, and the U.S.
Office of Population Affairs Providing Quality Family Planning Services (QFP) provides
the standards of care and guidelines for all TFPP services.




CRITICAL ISSUES FOR TITLE X GRANTEES


While the requirements for Title X service grantees are derived from statutes,
regulations, and legislative mandates, additional key issues represent overarching goals
for the Title X program. These are determined based on priorities set by the Office of
the Assistant Secretary of Health (OASH) and the Office of the Secretary (OS) of the
Department of Health and Human Services (HHS). The key issues are as follows:
    1. Assuring innovative quality family planning and related preventive health services
        that lead to improved reproductive health outcomes and overall optimal health,
        defined as a state of complete physical, mental, and social well-being and not
        merely the absence of disease. Guidance regarding the delivery of quality family
        planning services is spelled out in the April 25, 2014, MMWR, Providing Quality
        Family Planning Services: Recommendations of CDC and the U.S. Office of
        Population Affairs. Periodic updates have been made to this publication and are
        available on the Quality Family Planning page. It is expected that the core family
        planning services listed in the Program Description, which also are included in
        the Quality Family Planning Services document referenced above, will be
        provided by each project.
    2. Providing the tools necessary for the inclusion of substance abuse disorder
        screening into family planning services offered by Title X applicants.
    3. Following a model that promotes optimal health outcomes for the client (physical,
        mental, and social health) by emphasizing comprehensive primary health care
        services and family planning services, preferably in the same location or through
        nearby referral providers.
    4. Providing resources that prioritize optimal health outcomes (physical, mental, and
        social health) for individuals and couples with the goal of healthy relationships
        and stable marriages as they make decisions about preventing or achieving
        pregnancy.
    5. Providing counseling for adolescents that encourages sexual risk avoidance by
        delaying the onset of sexual activity as the healthiest choice and developing tools
        to communicate the public health benefit and protective factors for the sexual




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    health of adolescents found by delaying the onset of sexual activity, thereby
    reducing the overall number of lifetime sexual partners.
6. Communicating the growing body of information for a variety of fertility
    awareness-based methods of family planning and providing tools for applicants
    to use in client education about these methods.
7. Fostering interaction with the community and faith-based organizations to
    develop a network for client referrals when needs outside the scope of family
    planning are identified.
8. Accurately collecting and reporting data, such as the Family Planning Annual
    Report (FPAR), to monitor performance and improve family planning services.
9. Promoting the use of a standardized instrument, such as the OPA Program
    Review Tool, to regularly perform quality assurance and quality improvement
    activities with clearly defined administrative, clinical, and financial sub-recipients
    for applicants and subrecipients; and
10. Increasing attention to CDC screening recommendations for chlamydia and other
    STDs (and HIV testing) that have a potential long-term impact on fertility and
    pregnancy.




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             TENNESSEE FAMILY PLANNING LAWS & RULES


The Tennessee Family Planning Program and services are governed by § 68-34-101 of
the Tennessee Code Annotated . This chapter of the TCA is known and may be cited
as the “Family Planning Act of 1971.” Family Planning - TCA Chapter 1200-16-
01.20200420 Family Planning Rules 2020.pdf - Folders (sharepoint.com)




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                           PROHIBITION OF ABORTION


Title X funds and TFPP funds are not used in programs where abortion is a method of
family planning. By state law, T. C. A. § 9-4-5116, Tenn. Code Ann. § 9-4-5116. No
state funds shall be expended to perform abortions. The limitations established in this
section shall not apply to an abortion if:
      (1) The pregnancy is the result of an act of rape or incest; or

      (2) In the case where a woman suffers from a physical disorder, physical injury,
      or physical illness, including a life-endangering physical condition caused by or
      arising from the pregnancy itself, that would, as certified by a physician, place the
      woman in danger of death unless the abortion is performed.

As The TFPP is a Title X grantee, we are in full compliance with Section 1008 of the
Title X statute and 42 CFR 59.5(a)(5), which prohibits abortion as a method of family
planning. TFPP has written policies that indicate that none of the funds will be used in
programs where abortion is a method of family planning.




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                            MATURE MINOR DOCTRINE


The “mature minor” doctrine in Tennessee permits healthcare providers to treat certain
minors without parental consent, according to the “Rule of Sevens” (See Cardwell v.
Bechtol, 724 S.W.2d. 739 (Tenn. 1987)). Family Planning - Mature_Minor_Doctrine.pdf -
Folders (sharepoint.com)
   •   Under the age of 7, there is no capacity, and the physician must have parental
       consent to treat (unless a statutory exception applies).
   •   Between the ages of 7 and 14, there is a rebuttable presumption that there is no
       capacity, and a physician generally should get parental consent before treating
       (unless a statutory exception applies).
   •   Between the ages of 14 and 18, there is a rebuttable presumption of capacity.
       The physician may treat without parental consent unless the physician believes
       that the minor is not sufficiently mature to make their own health care decisions.
Specific statutes also explicitly permit the treatment of minors for specific conditions
without parental consent, including treatment of juvenile drug abusers (T.C.A § 63-6-
220), emergency situations (T.C.A § 63-6-222), treatment for STDs (T.C.A § 68-10-
104(c), providing contraception (T.C.A § 68-34-107) and providing prenatal care (T.C.A
§ 63-6-223). In the case of abortion, however, the legislature has made clear that no
minor may obtain an abortion without either parental consent or a court order in
exceptional circumstances.

Tennessee county health departments follow Tennessee law and provide medical
treatment and vaccinations to clients as young as 14 without parental consent if the
individual provider determines that the client meets the definition of a “mature minor” in
accordance with Tennessee law.




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                    FEDERAL & STATE MONITORING VISITS


The Program Requirements for Title X Funded Family Planning Projects Family
Planning - Title-X-2014-Program-Requirements (2).pdf - Folders (sharepoint.com)
provides the framework for family planning services. The Department of Health and
Human Services (DHHS) and the Office of Population Affairs (OPA) require adherence
to these guidelines. The OPA has divided the United States and its territories into ten
federal regions. Tennessee is in Region IV. Each federal region is assigned the
responsibility to ensure that all the states within its region comply with the Title X
guidelines.


Each state is also assigned the responsibility of assuring all providers of Family
Planning services within the state comply with the Title X guidelines. Compliance is
evaluated through on-site program reviews. On-site visits generate data that form the
basis for decisions and help Region IV, the Tennessee FPP, and regional/metro/agency
offices take corrective action and identify program areas that require additional support.
Moreover, data analysis can produce information about the needs of the providers of
family planning services, information necessary for developing and carrying out
responsive technical assistance, consultation, and training activities. Two types of on-
site visits for the program review are described below:

FEDERAL SITE VISITS FOR PROGRAM REVIEW:
   •   Through the Project Officer, OPA staff schedule program reviews of the Title X
       Family Planning grantees generally every three years. The on-site visits review
       four primary areas: administrative, financial, clinical, and community participation.
       State family planning administrative offices, regional/metro offices, local health
       departments, and contract agencies are reviewed in federal site visits. The
       regional and local sites to be reviewed are rotated throughout the state. The
       federal team meets with key state staff to review records and manuals and
       discuss the program from the state perspective. The team then visits local health
       departments, regional offices, and contract agencies to evaluate the services in-
       depth. .

TENNESSEE ON-SITE CONTRACT MONITORING VISITS:
   •   The Department of Health requires state contracts be monitored through on-site
       visits at all contract agencies. In accordance with policies in the Family Health




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    and Wellness Division, all contract agencies are to be visited at least every three
    years. The FPP, therefore, has the responsibility for monitoring the family
    planning contracts. The visits are conducted by Central Office staff and are
    regularly scheduled, with additional attention and consultation being given when
    there are concerns or significant changes. Administrative, fiscal, clinical,
    educational, and outreach functions are reviewed and evaluated. Visits are
    scheduled through the Family Planning Administrator, responsible for notifying
    regional and local administrative staff and clinic site(s) as needed. A site review
    may include, but not be limited to, the following items:


•   Organizational charts                   •   Information on clients served
•   Client satisfaction survey results      •   Mechanism for follow-up on abnormal
•   Nurse practitioner protocols                Pap smears or other medical problems
•   Documentation that staff is aware
    of translation services policies and    •   Quality management audits/ semi-annual
    processes                                   chart review reports
•   Manuals: Family planning program
    policy and procedures manual, Lab
    Manual, Family planning services
    clinical protocols, etc.                •   Clinic coverage schedule, Clinic Hours
•   Family planning client chart access     •   Policy on how agency operationalizes
    at each service site, Minimum of            cultural competency, Client bill of rights
    10 family planning medical                  or other documentation which outlines
    records per site (some with                 client’s rights and responsibilities, Non-
    abnormal Pap smears) for review             discrimination policy
•   Policy indicating prohibition of
    providing abortion as a method of
    family planning as part of the Title
    X project, Documentation that staff
    are prohibited from referring for
    abortion as part of the Title X
    project, except for medical             •   Contract(s) with medical provider(s) and
    emergencies, or in the case of              other family planning personnel if not on
    rape or incest,                             staff




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   •   Documentation of medical provider
       licenses, prescriptive authority, and
       CPR certification, Licensed
       personnel list, Staff lab skills
       proficiency documentation,
       Abnormal laboratory results and
       follow-up documentation, Clinical
       Licenses                                •   Client flow observation
   •   Financial Policies, Records,
       Documents & Documentation               •   HIPAA policy
   •   Contract(s) with medical                •   Resumes of family planning program
       provider(s) and other family                director and medical director, Personnel
       planning personnel if not on staff          policies, and procedures
   •   Staff training policy and plan,
       Evidence of staff training,             •   Referral list and written process used for
       Documentation that staff have               required and recommended services not
       been trained at least once during           provided by agency. Written referral
       the current project period on               agreements and/or collaborative
       permissible and impermissible Title         agreements with other health care and
       X activities.                               social service agencies
                                               •   Community participation, education, and
                                                   promotion plan, Materials Review
                                                   Committee information, Minutes from last
                                                   information and education committee
                                                   meeting, List of approved client
   •   Sample financial screening and              education materials, Current list of
       eligibility determination forms and         information and education committee
       policy, Client billing and income           members(see appendix for forms and
       verification records, Schedule of           guidance. Forms are also available on
       discounts and schedule of fees for          Sharepoint at: Family Planning - IE
       clients at or below 250% of the             Committee Forms 2022 - Folders
       federal poverty level                       (sharepoint.com))


Findings from site visits are documented in a written report to the contracted agency.
This report includes areas to be commended, suggestions for improvements if needed,
and any follow-up or required corrective action. A time frame is given for the contracted
agency to respond with written corrective action documentation. A follow-up site visit
may be necessary to monitor the contractor’s corrective actions to assure that
implementation resulted in the required improvements.




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                 PROJECT MANAGEMENT & ADMINISTRATION


The TFPP is accountable for the quality, cost, accessibility, acceptability, reporting, and
performance of the grant-funded activities provided.
   •   Where required services are provided by referral, the TFPP has written
       agreements for the provision of services and reimbursement of costs as
       appropriate. Availability and Use of Referrals 2022.docx (sharepoint.com)
   •   The TFPP ensures that all services purchased for the TFPP will be authorized by
       the project director or their designee on the project staff (42 CFR 59.5(b)(7)).
   •   The TFPP ensures that services provided through a contract or other similar
       arrangements are paid for under agreements that include a schedule of rates and
       payment procedures maintained by the TFPP. See Reimbursement Fee
       Schedule FP Reimbursement rate 2021 CY FP Fee Schedule.xlsx
       (sharepoint.com)
   •   The TFPP maintains a financial management system that meets federal
       standards, and any other requirements imposed by the Notice of Award, which
       complies with federal standards that will support effective control and
       accountability of funds. Documentation and records of all income and
       expenditures are maintained as required.




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                      CHARGES, BILLING & COLLECTIONS


The TFPP is responsible for implementing policies and procedures for charging, billing,
and collecting funds for the services provided by the TFPP.
   •   Clients will not be denied project services or be subjected to any variation in the
       quality of services because of an inability to pay. Family Planning - CHS-4.12
       Charges for Patients Receiving Family Planning Services Policy.pdf - Folders
       (sharepoint.com)
   •   TFPP does not have a general policy of no fees or flat fees for providing services
       to minors or a schedule of fees for minors different from other populations
       receiving family planning services. Family Planning - CHS-4.12 Charges for
       Patients Receiving Family Planning Services Policy.pdf - Folders
       (sharepoint.com)
   •   Clients whose documented income is at or below 100% of the Federal Poverty
       Level (FPL) must not be charged. However TFPP shall bill all third parties
       authorized or legally obligated to pay for services. Family Planning - CHS-4.12
       Charges for Patients Receiving Family Planning Services Policy.pdf - Folders
       (sharepoint.com)
   •   TFPP relies on the client’s self-report for income verification. Family Planning -
       CHS-4.12 Charges for Patients Receiving Family Planning Services Policy.pdf -
       Folders (sharepoint.com)
   •   A schedule of discounts, based on the ability to pay, is available for individuals
       with family incomes between 101% and 250% of the FPL. Family Planning -
       CHS-4.17 Sliding Scale Schedule of Discounts Policy.pdf - Folders
       (sharepoint.com)
   •   Fees may be waived for individuals with family incomes above 100% of the FPL
       who, as determined by the service site project director, are unable, for good
       cause, to pay for family planning services. Family Planning - CHS Waiving Fees
       – 4.21 3.22.pdf - Folders (sharepoint.com)
   •   For persons from families whose income exceeds 250% of the FPL, charges are
       made per a schedule of fees designed to recover the reasonable cost of
       providing services. Reasonable Costs - Fee Schedules 2022.docx
       (sharepoint.com)
   •   Eligibility for discounts for unemancipated minors who receive confidential
       services is based on the minor’s income. Discount Eligibility for Minors
       2022.docx (sharepoint.com)




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 •   Where there is a legal obligation or authorization for third-party reimbursement,
     including public or private sources, TFPP makes all reasonable efforts to obtain
     third-party payment without any discounts. Family Planning - CHS-4.12 Charges
     for Patients Receiving Family Planning Services Policy.pdf - Folders
     (sharepoint.com)
 •   The TFPP assesses family income before determining whether copayments or
     additional fees are charged. Regarding insured clients, clients whose family
     income is at or below 250% FPL should not pay more (in copayments or
     additional costs) than they would otherwise pay when the schedule of discounts
     is applied. Family Planning - CHS-4.12 Charges for Patients Receiving Family
     Planning Services Policy.pdf - Folders (sharepoint.com)
 •   TFPP makes reasonable efforts to collect charges without jeopardizing client
     confidentiality. Family Planning - CHS-4.8 Confidential Services Policy.pdf -
     Folders (sharepoint.com)
 •   TFPP accepts voluntary donations from clients; however, clients are not
     pressured to make donations, and donations are not a prerequisite providing
     services or supplies. Voluntary Donations 2022.docx (sharepoint.com)




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                 STAFF TRAINING & TECHNICAL ASSISTANCE


The TFPP staff are responsible for the training of all FPP staff. Staff Training and
Project Technical Assistance 2022.docx (sharepoint.com). The TFPP provides the
orientation and in-service training of all FPP staff. This includes the staff of sub-recipient
agencies and contracted service sites. The 2022 Family Planning Training Plan is
available on Sharepoint: Training Plan Title X 2022.docx (sharepoint.com)
   •   Technical assistance is provided by the Office of Population Affairs (OPA), the
       Reproductive Health National Training Center (RHNTC) Welcome to the
       Reproductive Health National Training Center | Reproductive Health National
       Training Center (rhntc.org), the National Clinical Training Center for Family
       Planning (NCTCFP) National Clinical Training Center for Family Planning –
       NCTCFP , Central Office and the Regional Office
   •   Annual staff training on specific policies and procedures is required. Key central
       office staff ensures TFPP staff are trained on the topics listed in this document at
       least once per project period unless otherwise specified. Other specific content
       requirements for each staff member shall be based on their roles and functions.
       Family Planning - Federal Title X Training Requirements Summary.pdf - Folders
       (sharepoint.com) Refer to the Title X Statutes, Regulations, and Legislative
       Mandates | HHS Office of Population Affairs for more information.
   •   The TFPP requires mandatory routine training of staff on Federal/State
       requirements for reporting or notification of child abuse, child molestation, sexual
       abuse, rape or incest, intimate partner violence, cultural competency, and human
       trafficking. This training is provided initially during orientation and annually for all
       TFPP staff.
   •   Mandatory Reporting training includes viewing of the Tennessee Department of
       Children Services’ (DCS) “Child Abuse Reporting” presentation found on the
       DCS website. The presentation can be found at:
       https://www.tn.gov/content/tn/dcs/program-areas/training/cw-
       resources/mandated-reporter-training.html
   •   All staff who are involved in the TFPP are additionally required to complete the
       following training annually: Involving family members in the decision of minors to
       seek family planning services, counseling minors on how to resist being coerced
       into engaging in sexual activities, Family Planning Policies and Procedures, Title
       X Requirements and Priority Areas, Intimate Partner Violence, Human
       Trafficking, and Cultural Competency Training. Training links and attestation




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     forms are located as templates in Adobe Sign. Family Planning - Annual
     Training_Adobe - Folders (sharepoint.com)
 •   Specific training verification forms are used to report completed trainings to
     Central Office FPP staff. Reports are uploaded into Sharepoint: Family Planning
     - Training Report DropBox - Folders (sharepoint.com) by April 20th and October
     20th. Central office staff monitors these trainings to ensure compliance. Each
     TDH region/metro/agency keeps individual staff training documentation in their
     administrative offices and clinic sites.




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                           PLANNING & EVALUATION


Title X requires that grantees ensure that the project is competently and efficiently
administered (42 CFR 59.5(b) (6) and (7)). To adequately plan and evaluate program
activities, TFPP has developed written goals and objectives for the project period that
are specific, measurable, achievable, relevant, time-bound, inclusive, equitable
(SMARTIE), and which are consistent with Title X Program Requirements. The program
plan is based on the state needs assessment. Family Planning - Work Plans - Folders
(sharepoint.com). The TFPP project plans include an evaluation component that
identifies indicators by which the program measures the achievement of its objectives.
For more information on quality improvement, see Providing Quality Family Planning
Services: Recommendations of CDC and the U.S. Office of Population Affairs. Providing
Quality Family Planning Services: Recommendations of CDC and the U.S. Office of
Population Affairs




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                          PROJECT SERVICES & CLIENTS



TFPP ensures that all persons who want to obtain family planning care have access to
such services. The TFPP provides comprehensive medical, informational, educational,
social, and referral services related to family planning for clients who want such
services.
   •   Priority for TFPP services is to persons from low-income families. FPP services
       are provided in a manner that protects an individual’s dignity. TFPP services are
       provided without regard to religion, race, color, national origin, disability, age,
       sex, number of pregnancies, or marital status.
   •   The TFPP provides social services related to family planning including,
       counseling, referral to and from other social and medical services agencies, and
       any ancillary services necessary to facilitate clinic attendance.
   •   The TFPP provides coordination and use of referral arrangements with other
       providers of health care services, local health and welfare departments,
       hospitals, voluntary agencies, and health services projects supported by other
       federal programs. The TFPP has a robust referral system and collaborates with
       community partners to meet clients’ needs. Family Planning - Collaborative
       Agreements and MOU's - Folders (sharepoint.com), Family Planning - 2022
       Outside Providers - Folders (sharepoint.com), Family Planning - Resource Lists -
       Community and Provider - Folders (sharepoint.com)
The TFPP ensures services operate within written clinical protocols in accordance with
nationally recognized standards of care, approved by the TDH, and signed by the
physician responsible for the service site Family Planning - 2022 Family Planning
Signature page & Clinical Guidelines.pdf - Folders (sharepoint.com). The following
resources have been reviewed and approved to serve as the Family Planning Clinical
Guidelines:
   •   CDC. Providing Quality Family Planning (QFP) Services Recommendations of
       CDC and the U.S. Office of Population Affairs. MMWR 2014; 63 (No.RR-4).
       Providing Quality Family Planning Services | Unintended Pregnancy |
       Reproductive Health | CDC
   •   CDC. U.S. Medical Eligibility Criteria (USMEC) for Contraceptive Use 2016.
       MMWR 2016; Recommendations and Reports/Vol.65/No.3, July 29, 2016.
       Update to U.S. Medical Eligibility Criteria for Contraceptive Use, 2016: Updated




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     Recommendations for the Use of Contraception Among Women at High Risk for
     HIV Infection | MMWR (cdc.gov)
 •   CDC. U.S. Medical Eligibility Summary Chart 2020. Summary Chart of U.S.
     Medical Eligibility Criteria for Contraceptive Use. (cdc.gov)
 •   CDC. U.S. Selected Practice Recommendations for Contraceptive Use 2016.
     MMWR 2016; 65 (No.RR-4). U.S. Selected Practice Recommendations for
     Contraceptive Use, 2016 | MMWR (cdc.gov)
 •   • CDC. Sexually Transmitted Infections Treatment Guidelines, 2021. MMWR
     2021; Recommendations and Reports/Vol.70/No.4, July 23, 2021. STI Treatment
     Guidelines (cdc.gov)
 •   CDC. Preconception Health. Overview | Preconception Care | CDC
 •   CDC. How to Be Reasonably Certain That a Woman is Not Pregnant; When to
     Start Using Specific Contraceptive Methods; and Routine Follow-Up After
     Contraception Initiation. How to Be Reasonably Certain That a Woman is Not
     Pregnant; When to Start Using Specific Contraceptive Methods; and Routine
     Follow-Up After Contraceptive Initiation. (cdc.gov)
 •   CDC. Management of Bleeding Irregularities While Using Contraception &
     Management of IUC with Pelvic Inflammatory Disease (PID). Management of
     Women with Bleeding Irregulatories While Sing Contraception (cdc.gov)
 •   CDC. Recommended Actions after Late or Missed Combined Oral
     Contraceptives(COCs). Recommended Actions After Late or Missed Combined
     Oral Contraceptives (cdc.gov)
 •   OPA. Contraception and Preventing Pregnancy. Contraception and Preventing
     Pregnancy | HHS Office of Population Affairs
 •   RHNTC. Birth Control Method Options. Birth control methods chart (rhntc.org)
 •   RHNTC. Explaining Contraception - Job Aids for Healthcare Providers. RHNTC:
     Explaining Contraception Job Aids for Healthcare Providers (English).
 •   Hatcher RA, Nelson AL, TrussellJ, Cwiak C, Cason P, Policar MS, Edelman A,
     Aiken ARA, Marrazzo J, Kowal D, eds. Contraceptive Technology. 21st ed. New
     York, NY: Ayer Company Publishers, Inc., 2018.
 •   Zieman M, Hatcher RA, Allen A. Z. Managing Contraception 16th Edition 2021.
     Tiger, Georgia: Bridging the Gap Foundation, 2021.
 •   Perkins RB, Guido RS, Castle PE, Chelmow MH, Einstein MH, Garcia F, Huh
     WK, et. al. 2019 ASCCP Risk-Based Management Consensus Guidelines for
     Abnormal Cervical Cancer Screening Tests and Cancer Precursors. Journal of
     Lower Genital Tract Disorders. Volume 24(2), 102-131. 2020
 •   The TFPP Family Planning Clinical Guidelines and resources are uploaded in
     Sharepoint: Family Planning - 2022 Clinical Guidelines in PDF version - Folders




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       (sharepoint.com) and paper copies are required at all TFPP clinic sites with an
       up to date signature page in the front of the guidelines.


The Offices of Nursing, Pharmacy, Oral Health, and the Medical Leadership Team
provide guidance to regional, local, and metropolitan health departments to provide the
best healthcare possible for the people of Tennessee. TDH provides specific provider
protocols and nursing protocols CHS/CLS/NURS - Nursing Protocols - Folders
(sharepoint.com).
   •   TFPP provides medical services related to family planning and the effective
       usage of contraceptive devices and practices (including physician’s consultation,
       examination, prescription, continuing supervision, laboratory examination, and
       contraceptive supplies) as well as necessary referrals to other medical facilities
       when medically indicated. This includes but is not limited to emergencies that
       require referral.
   •   The TFPP provides a broad range of acceptable and effective medically
       approved family planning methods (including natural family planning methods)
       and services (including infertility services and adolescents).
   •   TFPP services are provided without the imposition of any durational residency
       requirement or requirement that a physician refers the client. Durational
       Residency 2022.docx (sharepoint.com)
   •   The TFPP provides pregnancy diagnosis and counseling to all clients requesting
       this service. Pregnant individuals are offered the opportunity to be provided
       information and counseling regarding each of the following options: prenatal care
       and delivery, infant care, foster care, adoption, and pregnancy termination.
       When such information and counseling are requested:
           o TFPP staff provide neutral, factual information and nondirective
              counseling on each of the options, and referral upon request, except for
              any options(s) about which the pregnant individual indicates she does not
              wish to receive such information and counseling.




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                             TELEHEALTH SERVICES


To increase community access, help ensure equitable access to essential care, and
better meet the needs of family planning clients, the TFPP includes the provision of
telehealth services. The guidelines for TFPP telehealth were developed using concepts
of evidence-based practice and interdisciplinary collaboration throughout the State of
Tennessee. The overall goal is to provide safe and quality care through telehealth
services.
   •   Our policy, Telehealth Policy and Procedure 2022.docx (sharepoint.com), is to
       provide telehealth as an option for family planning service delivery to enhance
       access in convenient, safe, and equitable ways for our clients. Every effort was
       made to capture Tennessee’s current policy language when it was reviewed. TN
       Code Annotated, Sec. 56-7-1002 & Sec. 56-7-1012, as amended by SB 2453
       and HB 2655 (2022 session) (Accessed Apr.2022)
   •   https://www.capitol.tn.gov/Bills/112/Bill/HB0620.pdf and
       https://www.capitol.tn.gov/Bills/112/Bill/HB2655.pdf
   •   Family Planning Telehealth is available in all 95 counties in Tennessee.
       Telehealth services are convenient, confidential, culturally humble, HIPAA
       compliant, and readily available to all eligible TFPP clients.
       https://www.familyplanningtn.com/
   •   Other available Resources include:
           o TDH Guide to Telemedicine - Family Planning - Telemedicine Manual.pdf
               - Folders (sharepoint.com)
           o Tennessee At A Glance – Tennessee State Telehealth Laws-CCHP -
               Family Planning - CCHP Tennessee Telehealth Laws Report, 05-10-
               2022.pdf - Folders (sharepoint.com)
           o Work Up Flow Sheet - Family Planning - Telehealth work up flow sheet
               DL.pdf - Folders (sharepoint.com)
           o Contraception Initiation and management Flow sheet - Family Planning -
               Telehealth Contraceptive Initiation & management workflow DL.pdf -
               Folders (sharepoint.com)




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                    PRENATAL PRESUMPTIVE ELIGIBILITY


Prenatal presumptive eligibility (PE) is a TennCare Medicaid coverage category for
pregnant individuals. The presumptive eligibility option encourages early entry into
prenatal care for improved health outcomes for the mother and the baby. Pregnant
individuals who qualify for presumptive eligibility can begin receiving covered services
on the day that she is approved for PE. The intent is to offer prenatal care at the
earliest possible time during pregnancy. Presumptive eligibility gives the pregnant
individual TennCare coverage through the end of the month following the month of
approval to allow time to apply for regular Medicaid. Both the PE and full Medicaid
application are completed at local health departments.




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                                CONFIDENTIALITY




The Tennessee Department of Health (TDH) is mandated by federal law to follow the
Health Insurance Portability and Accountability Act (HIPAA). Additional Federal laws
that fall under the general umbrella of HIPAA include the Health Information Technology
for Economic and Clinical Health (HITECH) and the Genetic Information
Nondiscrimination Act (GINA). The TFPP is obligated to respect and protect the privacy
of records and information about clients who request or receive services at our FPP
sites. See: HIPAA Policy Manual on SharePoint at: Family Planning - TDH-HIPAA-
Manual.pdf - Folders (sharepoint.com) or HIPAA Documents (tn.gov)

   • The TFPP safeguards to ensure client confidentiality. Information obtained by the
     TFPP staff about an individual receiving services shall not be disclosed without
     the individual’s documented consent, except as required by law or as may be
     necessary to provide services to the individual, with appropriate safeguards for
     confidentiality. Information may otherwise be disclosed only in summary,
     statistical, or other form that does not identify the individual.
  • All TFPP staff are required to complete the web-based HIPAA training during
     new employee orientation and annually. This course is an overview of the Health
     Insurance Portability and Accountability Act pertaining to Personally Identifiable
     Information and the privacy guaranteed by this Act to Tennessee citizens.
CHS Policy Confidential Services – 4.8, revised: January 31, 2022. Family Planning -
CHS-4.8 Confidential Services Policy.pdf - Folders (sharepoint.com)




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                       CLIENT DIGNITY & SATISFACTION

The TFPP provides services in a client centered manner , culturally and linguistically
appropriate, inclusive, and trauma-informed; protects the individual’s dignity; and
ensures equitable and quality service delivery consistent with nationally recognized
standards of care.

   •   The Tennessee Family Planning program provides services that does not
       discriminate against any client based on religion, race, color, national origin,
       disability, age, sex, sexual orientation, gender identity, sex characteristics,
       number of pregnancies, or marital status.
   •   Client privacy will be protected during all aspects of their appointment/clinic
       encounter.
   •   Client “Bill of Rights” will be posted at the service sites, clearly visible to all
       clients, that outlines the client’s rights and responsibilities. Family Planning -
       Client Bill of Rights - Folders (sharepoint.com)
   •   Every service site will conduct a client satisfaction survey once each calendar
       year for at least five (5) working days using the prescribed satisfaction survey
       form. Family Planning - CHS Policy 2.14 P0214_PatientSatisfaction.pdf - Folders
       (sharepoint.com)
   •   Services will be provided in a client centered, respectful, and culturally humble
       manner.

Every TFPP site conducts a client satisfaction survey to assess client satisfaction with
the services they receive and their interactions with staff. Family Planning - CHS Policy
2.14 P0214_PatientSatisfaction.pdf - Folders (sharepoint.com)

   •   All regional and metro FPA’s are responsible for assuring that the Satisfaction
       Survey, English and Spanish, is made available to clients visiting each clinic site
   •   Services offered on the days selected for the satisfaction survey should
       represent the range of services provided by the service site.
   •   Regional staff, county staff, and central office program staff are responsible for
       reviewing the information obtained from the survey and implementing appropriate
       changes to improve client satisfaction.
   •   Central office TFPP is committed to conducting more frequent and in-depth
       satisfaction surveys for other purposes (e.g., program evaluation, needs
       assessment, outcome assessment,).
   •   Forms used for these purposes are developed in accordance with OPA and TDH
       departmental standards.




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  COMMUNITY PARTICIPATION, EDUCATION & PROGRAM PROMOTION


The TFPP provides for community collaboration, participation, and education and
promotes activities for the TFPP. The TFPP offers the opportunity for involvement in
the development, implementation, and evaluation of the TFPP by persons broadly
representative of all significant elements of the population being served and by persons
in the community knowledgeable about the community’s needs for family planning
services.
   •   To maximize community outreach to better serve those in need of TFFP
       services, the TFPP provides community education and outreach, reproductive
       health education, and training to preteens, teens, adults, parents, and
       professionals in all 95 TN counties. The TFPP fosters community input and
       engagement to enhance community understanding of family planning and TFPP
       services.
   •   The community education program(s) are based on an assessment of the
       community’s needs and contain an implementation and evaluation strategy.
       Community Education and Outreach (CEO) worksheets are used to identify
       priority populations to be addressed in the CEO plan. The Community Input
       Committee (CIC) reviews the family planning outreach plans to ensure the
       population’s needs are met.
   •   The TFPP staff collaborates and partners internally and externally to promote
       reproductive health and support TFPP efforts across the state. Collaborations
       include, but at not limited to: Tennessee Initiative for Perinatal Quality Care
       (TIPQC), the HIV/STD Program, the Tennessee Breast & Cervical Cancer
       Screening Program (TBCSP), the Office of Policy, Planning and Assessment
       (PPA), the Tennessee Adolescent Pregnancy Prevention Program (TAPPP), the
       Sexual Risk Avoidance Education (SRAE) program, WIC/Nutrition Program,
       Infant Mortality Program, State Opioid Response team, and State Tobacco
       Prevention Program. These and other collaborations support and promote
       strategies that foster quality family planning as an essential component of health
       care for all.
   •   The TFPP FPA’s are responsible for the creation, implementation,
       documentation, and progress reporting of their individual Metro/Regional/Agency
       family planning outreach plans. These plans are reviewed and approved by the I
       & E Advisory committee and uploaded annually by April 15th, Family Planning -
       Family Planning Outreach Plans - Folders (sharepoint.com). Semi-annual
       progress reports are due by April 15th and October 15th.




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                FACILITIES AND ACCESSIBILITY OF SERVICES

TFPP strives for all service sites to be geographically accessible for the population
being served. FPP sites will consider clients’ access to transportation, clinic locations,
hours of operation, and other factors that influence clients’ abilities to access services.
The TFPP does not discriminate based on disability, and facilities are readily accessible
to people with disabilities. All TDH employees must complete the web-based Title VI
training initially upon employment and annually.

TDH has written policies consistent with the HHS Office for Civil Rights policy
document, Guidance to Federal Financial Assistance Recipients Regarding Title VI
Prohibition Against National Origin Discrimination Affecting Limited English Proficient
Persons (August 4, 2003) (HHS Grants Policy Statement 2007, II-23). See: GENERAL
ADMINISTRATION 2.0, Title VI Limited English Proficiency (LEP) Patient Services –
2.16

Each region has a written LEP plan to provide a framework for timely and reasonable
language assistance and eliminate or reduce LEP as a barrier to accessing programs
receiving federal financial assistance. Procedures are implemented in each rural public
health region. These procedures are designed to determine the appropriate language
assistance services to ensure an LEP individual has meaningful access to services.

EMERGENCY MANAGEMENT



The Emergency Preparedness Program is responsible for developing plans for the
Tennessee Department of Health to protect the health of residents and visitors from the
effects of man-made and naturally occurring events.

The TDH Emergency Preparedness (EP) Program coordinates efforts to prepare for,
respond to, and recover from public health and medical emergencies. The program
collaborates with local, regional, and state agencies, to protect the public and health
providers. The program conducts medical volunteer coordination, and provides
community survey results, emergency public health alerting, resource coordination,
emergency medical response coordination, and outbreak investigations.

Disaster plans (e.g., fire, bomb, terrorism, earthquake.) have been developed by TDH
EP and are available to staff to ensure they can identify emergency evacuation routes.




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TDH staff has completed emergency preparedness training and understand their role in
an emergency or natural disaster. Detailed information on the TDH Emergency
Preparedness plan can be found on SharePoint at CEDEP/EP - Home (sharepoint.com)

All TDH regions/metros/agencies have a written plan for managing emergencies, and
clinic facilities meet applicable standards established by Federal, State, and local
governments (e.g., local fire, building, and licensing codes).

Health and safety issues within the TFPP fall under the authority of the Tennessee
Occupational Safety and Health Administration (TOSHA). TDH has established an
exposure control plan in each region that outlines procedures for eliminating or
minimizing employee exposure to blood or other potentially infectious material in the
workplace. This plan is based on the 2013 OSHA Bloodborne Pathogen Standards and
the Division of Community Health Services Bloodborne Pathogen Infection Control
Manual. See CHS Policy and Procedure Manual SECTION 3 GENERAL MEDICAL at
SharePoint Link: General Medical.pdf (sharepoint.com)


STANDARDS OF CONDUCT



The TFPP is required by Title X to establish policies to prevent employees, consultants,
or members of governing/advisory bodies from using their positions for purposes that
are, or give the appearance of being, motivated by a desire for private financial gain for
themselves or others (HHS Grants Policy Statement 2007, II-7).

TDH has a Code of Conduct policy (PR-0483 (Rev. 10-14). See SharePoint at:
https://www.tn.gov/content/dam/tn/health/program-areas/intern-docs/Code-of-
Conduct.pdf. All TFPP and TDH employees are expected to act in a manner that will
enhance the name, service, and general impression of the State in the eyes of the
general public. The TDH Code of Conduct provides general rules of conduct based on
fundamental ethical principles. Employees shall also uphold the ethical rules governing
their professions and comply with departmental and State ethics policies. No Code of
Conduct can provide the absolute last word to address every circumstance. Therefore,
employees are expected to use sound judgment in all of their conduct and ask for help
when needed.

Failure to comply with the TDH Code of Conduct and any other policies specific to the
employee’s organizational unit may subject the employee to disciplinary action




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according to the Department of Human Resources Rules and Regulations. All
employees must read and sign the TDH Code of Conduct before assuming their job
responsibilities.


HUMAN SUBJECTS CLEARANCE (RESEARCH)


Research conducted within Title X projects may be subject to Department of Health and
Human Services regulations regarding the protection of human subjects (45 CFR Part
46).

The TDH ensures compliance with the U.S. Department of Health and Human Services
regulations for the protection of human research subjects. All information and
documents are available at www.IRBnet.org . The TDH IRB is convened monthly.
TFPP advises OPA in writing of any research projects that involve Title X clients.


                            340B PHARMACY PROGRAM


The 340B Program enables covered entities to stretch scarce federal resources as far
as possible, reaching more eligible patients and providing more comprehensive
services. Manufacturers participating in Medicaid agree to provide outpatient drugs to
covered entities at significantly reduced prices.

As covered entities in the 340B Program, the State of Tennessee and the TFPP
ensures compliance with all 340B Program requirements and meet the following
ongoing requirements:
   • Keep 340B OPAIS information accurate and up to date. Register new outpatient
      facilities and contract pharmacies as they are added.
   • Recertify eligibility every year.
   • Prevent diversion to ineligible patients. TDH does not resell or otherwise transfer
      340B drugs to ineligible clients.
   • TFPP and State Pharmacist accurately report how we bill Medicaid fee-for-
      service drugs on the Medicaid Exclusion File, as mandated by 42 USC
      256b(a)(5)(A)(i).
   • TFPP and State Pharmacist maintain auditable records documenting compliance
      with 340B Program requirements.




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           FORMS AND INSTRUCTIONS




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Family Planning Reports and Due Dates

These reports or documents are to be submitted by the assigned Family Planning Administrator
Monthly Reports - Submit to Family Planning Financial Administrator
  • Family Planning Invoices - (Contracts, Sterilization and Other Medical
     Services)
  • (Invoices are due as soon as received. Don’t wait for the end of the month)
  • Revenue Report
  • AEL Invoice

Quarterly Reports (Due April 15th, July 15th, October 15th, January 15th)
  • Service Site Information (Exhibit B)
  • Service Site Information (Exhibit B).xlsx (sharepoint.com)
  • Services Provided (Exhibit C)
  • Services Provided (Exhibit C).docx (sharepoint.com)
  • Quarterly Program Data Review
      This quarterly report, based on FP supplemental screen data, will be shared
      with FPAs after review by FP Director. FPAs are responsible for reviewing
      this report and utilizing it for programmatic monitoring. FPA’s shall review this
      report and report any errors or concerns within 2 weeks.

Semi-Annual Reports:           April 1st thru September 30th - due October 20th
                                      October 1st thru March 31st – due April 20th
All forms and reports can be found on Sharepoint: Family Planning - Reports &
Forms - Folders (sharepoint.com)
    • Family Planning Chart Review Verification –Upload to Sharepoint: Family
       Planning - Chart Review Verification DropBox - Folders (sharepoint.com)
    • Training Verification Reports (Mandatory Child Abuse Reporting & Human
       Trafficking, Cultural Competency, IPV, Title X, Coercion, other training) Upload to
       Sharepoint Family Planning - Training Report DropBox - Folders
       (sharepoint.com)
    • Family Planning Outreach Plan Progress Report – Update of FPOP goals and
       activities upload to Sharepoint: Family Planning - Community Education and
       Outreach Plans - Folders (sharepoint.com)
    • Administrative Site Visit Reports Upload to Sharepoint: Family Planning -
       Administrative Site Visit Reports DropBox - Folders (sharepoint.com)
    • Sterilization Report (Submit to Family Planning Financial Administrator - This
       form CANNOT be uploaded into Sharepoint)
    • Family Planning Semi-Annual Progress and Program Accomplishments
       Report: Upload to Sharepoint: Family Planning - Semi-Annual Progress Reports
       - Folders (sharepoint.com). This is your response to the work plan objectives




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        and what your region/metro has accomplished during this grant cycle. Note
        any accomplishments/progress (it doesn’t have to be on the work plan) or
        any obstacles you have faced

Annual Reports

                                                            st
    •   Personnel Detail Information - Need by December 1

Due, at least annually, April 1
   • Family Planning Outreach Work Plan Upload to appropriate Sharepoint year
      folder: Family Planning - Annual FPOP Plans 2022 - Folders (sharepoint.com)
   • I & E/Advisory Committee Meetings Documentation and approvals – Upload
      to Sharepoint: Family Planning - I&E Committee Reports DropBox - Folders
      (sharepoint.com)
      • Forms: Family Planning - I & E Committee Forms - Folders (sharepoint.com)
              o I & E meeting documentation must include:
              o Meeting Agenda
              o Meeting Minutes
              o Work Plan Review/Approval This is a required annual review of the
                FP Work Plan by your committee.
              o List of Committee members & demographics - Demographic
                Information Sheet.docx (sharepoint.com)
              o Material Review Forms - forms used to assess & review, and
                approval/disapproval
              o Sample of each reviewed handouts/brochures/websites/posters
              o I & E Materials Inventory Log - I E materials_inventory_log_2020.xlsx
                (sharepoint.com)
              o Any education/updates presented to the committee
As Needed
   • Purchase Requests for Vitamins with Folic Acid: Metros
   • Regions - Regional Pharmacist (forward copy of invoice to Financial
      Administrator when received)
Contact Information
Central Office Family Planning Team members may be contacted individually based
upon needs. General family planning email for submission, when things cannot be
uploaded to Sharepoint is also available at the Group site:
FamilyPlanning.Health@tn.gov

LINKS TO FORMS


Family Planning Site Visit Form




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                 Family Planning Chart Review tool

                 Client Bill of Rights

                 Exhibit B: FP Service Site Information

                 Exhibit C: Services Provided

                 Annual FP Outreach Plan Template

                 FP Outreach Plan Semi-Annual Progress Report

                 Sterilization Report

                 Sterilization Consent

                 Spanish Sterilization Consent

                 Verification of Chart Review

                 Verification of FP Required Training

                 Training Plan

                 Tennessee Department of Health Child Abuse and/or Neglect Report

                 Authorization For Services

                 Invoice Forms

                 Information & Education, Advisory Committee Forms

                 Sliding Fee Scale

                 Reimbursement Rates

                 Family Planning Administrators Contact List

                 Telehealth




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                   Tennessee
     Family Planning Program
                Administrative
           Policy & Procedure
                       Manual



                       Revised May 2022




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                      ACKNOWLEDGEMENTS

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  ADMINISTRATIVE POLICIES AND PROCEDURES
                DISCLAIMER

These Administrative Policies were all reviewed and updated by the Tennessee Family
Planning central office key staff. Many of these policies, however, were previously
implemented and have been reviewed and updated periodically by the TFPP. The
documents are available for review at our Sharepoint site: Family Planning - Family
Planning Policy & Procedure - Folders (sharepoint.com)



Every reasonable effort will be made to keep this manual current. If errors in content are
found you are encouraged to contact the staff at TFPP so that concerns may be
addressed, and changes made to the manual as needed. TFPP staff will make updates
to this document annually. It is the responsibility of the Family Planning Administrator
(FPA) to ensure appropriate staff have read and reviewed the updated manual annually.




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                MANAGEMENT & ADMINISTRATION




                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                     VOLUNTARY PARTICIPATION


Family planning services are to be provided solely on a voluntary basis (Sections 1001 and 1007, PHS
Act; 42 CFR 59.5 (a)(2)). Clients cannot be coerced to accept services or to use or not use any particular
method of family planning (42 CFR 59.5(a)(2)).

A client’s acceptance of family planning services must not be a prerequisite to eligibility for, or receipt of,
any other services, assistance from, or participation in any other program that is offered by the grantee or
subrecipient (Section 1007, PHS Act; 42 CFR 59.5(a)(2)).

Personnel working within the family planning project must be informed that they may be subject to
prosecution if they coerce or try to coerce any person to accept services or to employ or not to employ
any particular methods of family planning (Section 205, Public Law 94-63, as set out in 42 CFR 59.5(a)(2)
footnote 1).
 Policy Information:          Description:
 Policy Title                 Voluntary Participation
 Effective Date               April 1, 2022
 Revision Dates               March 4, 2022
 Review Due Date              March 2023
 References                   Providing Quality Family Planning Services: Recommendations from the
                              Centers for Disease Control and Prevention and the U.S. Office of Population
                              Affairs (QFP) Appendix C (pages 45–46) rr6304.pdf (cdc.gov)
                              Code of Federal Regulations 42 CFR 59.5(a)(2)
                              https://www.ecfr.gov/cgi-bin/text-
                              idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&
                              rgn=div6#se42.1.59_15

 Approved by                  Danni Lambert, RN
 Signature                    State Family Planning Director
 Approved Date                March 10, 2022

Purpose: The purpose of this policy is to describe the Tennessee Family Planning Program process for
ensuring compliance with the requirement that family planning services are to be provided solely on a
voluntary basis, that a client’s acceptance of services must not be a prerequisite to eligibility for any other
services, and that personnel will be subject to prosecution if they coerce or try to coerce any person to
undergo an abortion or sterilization procedure. All family planning and reproductive health materials, print




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and electronic, that The Tennessee Family Planning Program and service sites make available to clients
and potential clients must go through the I&E materials review process.


Policy:
         Acceptance of family planning program services shall be solely on a voluntary basis and will not
          be made a prerequisite to eligibility for, or receipt of, any other services, assistance from or
          participation in any other program of the client
         Services will be provided on a voluntary basis and clients may not be coerced to use any
          particular method of contraception or services.
         Staff will be informed at least once during the project period that:
               o clients may not be coerced to use contraception, or to use any particular method of
                   contraception or service,
               o family planning services must not be a prerequisite to eligibility for, or receipt of, any
                   other services, assistance from, or participation in any other program,
               o Staff may be subject to prosecution if they coerce, or try to coerce, any person to
                   undergo an abortion or sterilization procedure.
         General consent forms or other documentation at service sites (and/or maintained in electronic
          health record) will inform clients that services are to be provided on a voluntary basis.
         Each client will sign a general consent form. Family Planning - PH-1530 GENERAL
          CONSENT_English Rev. 03-2020.pdf - Folders (sharepoint.com)
         Administrative policies at service sites include a written statement that receipt of family planning
          services will not be a prerequisite to receipt of any other services offered by the service site.
         General consent forms or other documentation provided to clients will state that receipt of family
          planning services is not a prerequisite to receipt of any other services offered by the service site.
         If any family planning services are not provided directly, subcontracts for family planning services
          will specify that administrative policies used by service sites include a written statement that
          services are provided on a voluntary basis.


Procedure:
         All staff involved in Family Planning are required to complete annual training on specific Family
          Planning policies and procedures including Voluntary Participation. Staff are trained upon initial
          employment orientation and annually thereafter.
         Specific training verification forms are used, by the Family Planning Administrator, to report
          completed trainings to Central Office program staff. Semi-annual Reports are uploaded into
          SharePoint Family Planning - Training Report DropBox - Folders (sharepoint.com) by April 20th
          and October 20th. Each Family Planning service site maintains individual staff training
          documentation.
         Tennessee family planning central office staff monitors FPA’s and service sites to ensure
          compliance with this requirement.
               o Central Office Family Planning Program staff monitors training records uploaded into
                    SharePoint to ensure compliance with this requirement.
               o Maintenance of site-specific training records is verified as part of the Family Planning
                    Program site visit at least once per grant period.
         Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
          be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
         Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
          Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
          Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                   PROHIBITION OF ABORTION & REFERRAL FOR ABORTION
Title X grantees and sub-recipients must be in full compliance with Section 1008 of the Title X statute,
which prohibits abortion as a method of family planning, 42 CFR 59.5(a)(5), which prohibits projects from
providing, promoting, referring for, or supporting abortion as a method of family planning, and 42 CFR
59.14(a), which bars referral for abortion as a method of family planning. Grantee has documented
processes to ensure that they and their sub-recipients are in compliance with Section 1008 and 42 CFR
59.5(a)(5) and 59.14(a). Grantees include language in sub-recipient contracts addressing these
requirements.
 Policy Information:         Description:
 Policy Title                Prohibition of Abortion & Referral for Abortion
 Effective Date              April 1, 2022
 Revision Dates              March 4, 2022
 Review Due Date             March 2023
 References                  Section 1008 of the Title X Statute
                             https://www.hhs.gov/opa/sites/default/files/title-x-statute-attachment-a_0.pdf
                             Code of Federal Regulations 42 CFR Part 59.14(a) and 59.5(a)(5)
                             https://www.ecfr.gov/cgi-bin/text-
                             idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                             gn=div6#se42.1.59_15


 Approved by                 Danni Lambert, RN
 Signature                   State Family Planning Director
 Approved Date               March 11, 2022

Purpose: The purpose of this policy is to describe Tennessee Family Planning Program process for
ensuring compliance with requirements that prohibit providing, promoting, referring for, or supporting
abortion as a method of family planning; and referring for abortion as a method of family planning.

Policy:

         TFPP ensures that abortion is NOT provided as a method of family planning.
         Family Planning staff must:
               o Offer pregnant clients the opportunity to be provided information and counseling
                  regarding each of the following options:
                       Prenatal care and delivery
                       Infant care, foster care, or adoption
                       Pregnancy termination
         If requested to provide such information and counseling, TFPP staff will provide neutral, factual
          information and nondirective counseling on each of the options, and referral upon request, except
          with respect to any option(s) about which the pregnant client indicates they do not wish to receive
          such information and counseling.




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      TFPP contracts with subrecipients include language addressing the requirement prohibiting:
           o Sites from providing abortion as a method of family planning.
           o TFPP service sites have written policies or procedures that prohibit:
                    Providing abortion as a method family planning.
                    Offer pregnant clients the opportunity to be provided information and counseling
                       regarding each of the following options:
                             Prenatal care and delivery
                             Infant care, foster care, or adoption
                             Pregnancy termination
                             If requested to provide such information and counseling, staff will provide
                                neutral, factual information and nondirective counseling on each of the
                                options, and referral upon request, except with respect to any option(s)
                                about which the pregnant client indicates they do not wish to receive
                                such information and counseling.
      Financial documentation at all TFPP service sites will demonstrate that Title X funds are not
       being used for abortion services.

Procedure:
      All staff involved in the TFPP are required to complete annual training on specific Family Planning
       policies and procedures including Prohibition of Abortion & Referral for Abortion.
      Specific training verification forms are used, by the Family Planning Administrator, to report
       completed trainings to Central Office program staff. Semi-annual Reports are uploaded into
       SharePoint Family Planning - Training Report DropBox - Folders (sharepoint.com) by April 20th
       and October 20th. Each Family Planning service site maintains individual staff training
       documentation.
      Tennessee family planning central office staff monitors FPA’s and service sites to ensure
       compliance with this requirement.
            o Central Office Family Planning Program staff monitors training records uploaded into
                 SharePoint to ensure compliance with this requirement.
            o Maintenance of site-specific training records is verified as part of the Family Planning
                 Program site visit at least once per grant period.
      Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
       be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
      Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
       Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
       Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                       AUTHORIZED PURCHASES
All services purchased for project participants will be authorized by the project director or their designee
on the project staff [42CFR 59.5 (b)(7)]
 Policy Information:          Description:
 Policy Title                 Authorized Purchases
 Effective Date               April 1, 2022
 Revision Dates               March 4, 2022
 Review Due Date              March 2023
 References                   Program Requirements for Title X Funded Family Planning Projects, Version
                              1.0 April 2014https://opa.hhs.gov/sites/default/files/2021-03/title-x-program-
                              requirements-april-2014.pdf [42CFR 59.5 (b)(7)]
                              Comprehensive rules and regulations of the central procurement office.
                              https://publications.tnsosfiles.com/rules/0690/0690-03-01.20140120.pdf
                              Procurement: https://www.tn.gov/generalservices/procurement/central-
                              procurement-office--cpo-/library-.html
 Approved by                  Danni Lambert, RN
 Signature
                              State Family Planning Director
 Approved Date                March 10, 2022
Purpose: To describe TFPP fiscal policy regarding authorization of purchasing by the TFPP
project director. This policy applies to all TFPP purchases.

Policy:

This policy addresses the fiscal policy regarding authorized purchasing by the TFPP project director or
their designee.

Procedure:

         For the TFPP, all purchases are made with the prior approval of the Director, or in the Director's
          absence, by the designated alternate. Any single equipment item with a purchase price of
          $5000.00 shall be considered capital; less than $5000.00 shall be considered small equipment or
          supplies.
         Purchasing decisions will be based on quality, cost, and competition for the required product.
          When able to do so, the Director will bulk purchase and/or obtain competitive bids (particularly for
          major items of $2000 or more) to assure cost savings to the program.
         Any bids or offers may be rejected by the grantee or subrecipients when it is in the best interest to
          do so.
         The process for reviewing purchasing decisions will be reviewed during grantee’s site review with
          the subrecipient and in monthly or quarterly fiscal report reviews submitted to the grantee




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   TFPP central office staff are trained on this policy upon initial onboarding. Updates or changes to
    this policy shall be provided, as needed.
   TFPP staff may access this policy virtually on Sharepoint at: Family Planning - Family Planning
    Policy & Procedure - Folders (sharepoint.com). A paper version is in the Family Planning
    Administrative Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

             SUBRECIPIENT INCLUSION IN GRANTEE POLICY ESTABLISHMENT
Subrecipient agencies must be given an opportunity to participate in the establishment of ongoing grantee
policies and guidelines (42 CFR 59.5(a)(10)).
 Policy Information:       Description:
 Policy Title              Subrecipient Inclusion in Policy Establishment
 Effective Date            April 1, 2022
 Revision Dates            March 22, 2022
 Review Due Date           March 2023
 References                Code of Federal Regulations 42 CFR 59.5(a)(10) https://www.ecfr.gov/cgi-
                           bin/text-
                           idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                           gn=div6#se42.1.59_15

 Approved by               Danni Lambert, RN
 Signature                 State Family Planning Director
 Approved Date             March 23, 2022

Purpose: The purpose of this policy is to describe Tennessee Family Planning Program (TFPP) process
for ensuring TFPP agencies are given an opportunity to participate in the establishment of ongoing
grantee policies and guidelines.

Policy: To improve the development of guidelines through meaningful and equitable multi-stakeholder
engagement, and subsequently to improve health outcomes and reduce inequities in health, TFPP and
TDH will provide opportunity(s) for contracted agencies and TDH staff to participate in the establishment
of ongoing grantee policies and guidelines.

Procedure:

       TDH and TFPP collaborates with statewide TFPP administrators and multiple and diverse
        stakeholders to encourage engagement in guideline development and implementation.
       Proposed policies, processes, standards, and procedures are developed in collaboration with
        CHS
       Public Health Nursing Practice committee reviews and updates public health nursing protocols by
        investigating recommendations regarding standards, guidelines, and policies. The practice
        committee consists of one public health nurse from each rural region and one representative from
        two of the metropolitan areas.
       The Medical Leadership Team provides medical guidance, reviews, and updates to public health
        protocols by investigating recommendations regarding standards, guidelines, and policies.
       Proposed policies (or modifications to existing policies) are presented to the Policy Review
        Committee for review and recommendation. The committee reviews those recommendations and
        may approve as written, make modifications, and approve as modified, or reject the
        recommendation.




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   Additional activities that TFPP conduct to involve subrecipients in the establishment of
    grantee policies and guidelines include:
        o Monthly FPA meetings
        o Biannual MCH Stakeholders Meetings
        o Continuing education of health care partners and staff in clinical guidelines
        o Community health communication campaigns and education
   Staff will be trained on this policy upon initial onboarding. Updates or changes to this
    policy shall be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual
    conference call
   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning
    Policy & Procedure - Folders (sharepoint.com). A paper version is in the Family
    Planning Administrative Manual




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                FINANCIAL MANAGEMENT SYSTEM
The grantee and each subrecipient must maintain a financial management system that meets Federal
standards, as applicable, as well as any other requirements imposed by the Notice of Award, and which
complies with Federal standards that will support effective control and accountability of funds, as required
(45 CFR 75.302).
 Policy Information:        Description:
 Policy Title               Financial Management System
 Effective Date             April 1, 2022
 Revision Dates             March 21, 2022
 Review Due Date            March 2023
 References                  45 CFR 75.302 - Financial management and standards for financial
                             management systems https://www.govinfo.gov/app/details/CFR-2016-title45-
                             vol1/CFR-2016-title45-vol1-sec75-302

 Approved by                Danni Lambert, RN
 Signature                  State Family Planning Director
 Approved Date             March 22, 2022
Purpose: The purpose of this policy is to describe the Tennessee Family Planning Program (TFPP)
process for ensuring compliance with the requirement to maintain financial management systems that
meet Federal standards. TFPP will comply with all requirements imposed by the Notice of Award, and
which comply with Federal standards that will support effective control and accountability of funds. as
applicable.

Policy:
     TFPP will maintain financial management systems that meet Federal standards, as well as any
        other requirements imposed by the Notice of Award, and which comply with Federal standards
        that will support effective control and accountability of funds.

Procedure:
    TFPP and the Department of Health (TDH) shall maintain financial policies and procedures in line
      with Federal standards.
    TFPP has a process for tracking revenues and expenditures associated with the Title X project.
    All Programs within the Department of Health that have contracts , including TFPP, are impacted
      by Standard Operating Procedure (SOP). All contractual invoices that are received will be
      processed as outlined in the SOP. Contractual Payments.docx (sharepoint.com)
    TFPP make required forms available electronically via Edison and/or Sharepoint to all project
      providers.
    TFPP project staff submit reports to the central office financial officer according to the deliverable
      timeline and contract.
    TFPP service providers submit FTE data as part of the FPAR according to the deliverable
      timeline and contract. FTE data must capture and reflect only the activity time of each employee
      directly associated with supporting and providing Title X services.




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
   TFPP Director, or designee, will review the report and FTE data to ensure appropriate use and
    expenditure of Title X funds.
   Fiscal reviews will be performed by Internal Audit staff and be completed at TFPP site visit
    reviews.
   The state accounting team follows all General Accepted Accounting Principles (GAAP) in the
    review/monitoring process to provide reasonable assurance regarding the achievement of
    objectives in the following categories:
        o Effectiveness and efficiency of operations
        o Reliability of financial reporting; and
        o Compliance with applicable law and regulations.
   State Internal controls pertaining to the compliance requirements for federal programs are
    designed to provide reasonable assurance regarding the achievement of the following objectives:
        o Transactions are properly recorded and accounted for to:
        o Permit the preparation of reliable financial statements and federal reports;
        o Maintain accountability over assets; and
        o Demonstrate compliance with laws, regulations, and other compliance requirements;
   Transactions are executed in compliance with:
        o Laws, regulations, and the provisions of contracts or grant agreements that could have a
             direct and material effect on a Federal program; and
        o Any other laws and regulations that are identified in the compliance supplements; and
   Funds, property, and other assets are safeguarded against loss from unauthorized use or
    disposition.
   Updates or changes to this policy shall be provided, as needed, via memo and/or the TEAMS
    Monthly FPA virtual conference call.
   Detailed Finance & Administration (F&A) Policies may be accessed at:
    https://www.tn.gov/finance/looking-for/policies.html




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                FEDERAL POVERTY LEVEL GUIDANCE, THIRD PARTY BILLING,
                                      AND INCOME VERIFICATION
Clients whose documented income is at or below 100% of the Federal Poverty Level (FPL) must not be
charged, although projects must bill all third parties authorized or legally obligated to pay for services
(Section 1006(c)(2), PHS Act; 42 CFR 59.5(a)(7)).

For the purposes of considering payment for contraceptive services only, where an individual has health
insurance coverage through an employer that does not provide the contraceptive services sought by the
individual because the employer has a sincerely held religious or moral objection to providing such
coverage, the project director may consider their insurance coverage status as a good reason why she is
unable to pay for contraceptive services, as detailed in (42 CFR 59.2). In this case the client is then
coded as Payor 6 and charged based on sliding fee scale.

Although not required to do so, grantees who have lawful access to other valid means of income
verification because of the client’s participation in another program may use those data, rather than re-
verify income or rely solely on the client’s self-report.
 Policy Information:          Description:
 Policy Title                 Federal Poverty Level Guidance, Third Party Billing, and Income Verification
 Effective Date               April 1, 2022
 Revision Dates               March 4, 2022
 Review Due Date              May 2023
 References                   Code of Federal Regulations 42 CFR 59.2 and 59.5(a)(7)
                              https://www.ecfr.gov/cgi-bin/text-
                              idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                              gn=div6#se42.1.59_15

 Approved by                  Danni Lambert, RN
 Signature
                              State Family Planning Director
 Approved Date                May 2022

Purpose: To ensure consistent implementation of Title X policy for charges to clients for family planning
services. The purpose of this policy is to describe Tennessee Family Planning Program process for
ensuring grantee and subrecipient compliance with the requirement that clients whose documented
income is at or below 100% of the FPL will not be charged fees for Title X services provided to them, and
that third parties authorized or legally obligated to pay for services will be billed.

Policy:
         Clients will not be denied project services or subjected to any variation in quality of services
          because of inability to pay.




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      Tennessee has established a sliding scale schedule of discount rates at Tennessee Department
       of Health local and regional health clinics.
      A schedule of discounts, based on ability to pay, is required for individuals receiving family
       planning services with family incomes between 101% and 250% of the FPL.
      The sliding scale schedule of discounts will be set at a uniform rate in PTBMIS for all self-pay
       clients receiving family planning services.
      There will not be a general policy of no fee or flat fees for the provision of services to minors, or a
       schedule of fees for minors that is different from other populations receiving family planning
       services.
      Clients whose documented income is at or below 100% of the FPL will not be charged for family
       planning services.
      Third party payers will be billed when authorized or legally obligated to pay for services.
      Income verification lawfully obtained for the client’s participation in another program may be used,
       rather than re-verify income or rely solely on the client’s self-report.
      Client income verification will be aligned with Title X program requirements and will not present a
       barrier to receipt of services.

Procedure:

      The standard sliding scale discount will be set at 250% of federal poverty level (FPL) for all
       Family Planning Program clients.
      The client receiving Family Planning Services whose income is at or below 100% of the Federal
       Poverty Level will not be charged any amount for the service(s).
      A client receiving Family Planning Services whose income is between 101% and 250% of the
       Federal Poverty Level will be charged an amount(s) based on a Schedule of Discounts (sliding
       fee scale).
      To be eligible for the Schedule of Discounts, a client must declare income at registration at the
       initial visit and every 12 months thereafter. If the client refuses to provide this information, the field
       on the financial information screen titled “Sliding Scale” should be set to ‘N’.
      A client receiving Family Planning Services who is covered by an insurance plan that assigns a
       copay, coinsurance, or deductible will be charged the lesser of a charge determined by the
       Schedule of Discounts or the assigned copay, coinsurance, or deductible.
      A client requesting Family Planning services who is unable to obtain employer-sponsored
       insurance coverage for certain contraceptive services, due to their employer’s religious beliefs or
       moral conviction, is considered underinsured and therefore eligible for Title X / Family Planning
       services at the sliding fee scale rates.
      Charges to minor clients receiving confidential family planning services will be based on the
       income of the minor.
      The Commissioner of Health has the authority to waive fees for services. For fees to be waived, a
       written request, which must include the type of service being received and an explanation of why
       the waiving of fees is being requested, shall be submitted to the Assistant Commissioner of CHS
       via the appropriate Regional Director. The request will then be sent to the Office of the
       Commissioner of Health for final approval.
      No client will be refused Family Planning Services based on inability to pay or refusal to declare
       income.
      For family planning service clients covered by insurance, client charges for copay, coinsurance,
       or deductible will be transferred to the client based on the Schedule of Discounts using family size
       and household income, after the remittance is received from the insurance plan.
      The Family Planning schedule of discounts, used by the Family Planning Program project sites,
       shall be updated, and disbursed annually to match the corresponding FPL guidelines.
      The Family Planning Program will ensure that staff are using the most recent FPL guidelines and
       schedule of discounts by monitoring during Central Office and Family Planning Administrators site
       visits.
      Staff will be trained on Family Planning policies and procedures including Federal Poverty Level
       Guidance, Third Party Billing, and Income Verification upon initial onboarding. Updates or




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    changes to this policy shall be provided, as needed, via memo and/or the TEAMS Monthly FPA
    virtual conference call.
   Tennessee family planning central office staff monitors service sites to ensure compliance with
    this requirement.
   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
    Procedure - Folders (sharepoint.com)A paper version is in the Family Planning Administrative
    Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                       DISCOUNT SCHEDULES
A schedule of discounts, based on ability to pay, is required for individuals with family incomes up to
250% of the Federal Poverty Level (FPL) (42 CFR 59.5(a)(8)).
 Policy Information:        Description:
 Policy Title               Discount Schedules
 Effective Date             May 20, 2019
 Revision Dates             March 7, 2022
 Review Due Date            March 2023
 References                 Office of Population Affairs, Program Requirements for Title X Funded Family
                            Planning Projects, Version 1.0, April 2014
                            Code of Federal Regulations 42 CFR 59.5(a)(8)
                            https://www.ecfr.gov/current/title-42/chapter-I/subchapter-D/part-59/subpart-A
                            Sliding Scale Schedule of Discounts- 4.17 - Family Planning - CHS-4.17 Sliding
                            Scale Schedule of Discounts Policy.pdf - Folders (sharepoint.com)
 Approved by                Danni Lambert, RN
 Signature                  State Family Planning Director
 Approved Date              May 2022
Purpose: The purpose of this policy is to describe TFPP process for ensuring compliance with
the requirement that projects must provide a schedule of discounts, based on ability to pay, for
individuals with family incomes up to 250% of the Federal Poverty Level


Policy:

This policy addresses the Discount Schedule and Sliding Fee Scale that the TFPP utilizes for all clients
receiving TFPP services. This schedule of discounts is set at a uniform rate in PTBMIS and updated
annually. Sliding Scale_2_11_22.xlsx (sharepoint.com)

Procedure:
    The standard sliding scale discount will be set at 200% of federal poverty level (FPL) for all TDH
      services in PTBMIS with the exception of services performed under the Family Planning Program.
    The sliding scale schedule of discounts for Family Planning services will be assessed at 250% of
      FPL.
    Patient financial information must be up to date to ensure accuracy and consistency when
      applying the sliding fee scale to patient charges.
    All patients are asked to provide their household income and family size at every visit.
    TFPP central office staff are trained on this policy upon initial onboarding. Updates or changes to
      this policy shall be provided, as needed.




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                                              PageID #: 720
   TFPP staff may access this policy virtually on Sharepoint at: Family Planning - Family Planning
    Policy & Procedure - Folders (sharepoint.com). A paper version is in the Family Planning
    Administrative Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                               FEE WAIVER
Fees may be waived for individuals with family incomes above 100% of the FPL who, as determined by
the service site project director, are unable, for good reasons, to pay for family planning services (42 CFR
59.2).
 Policy Information:         Description:
 Policy Title                Fee Waiver
 Effective Date              July 1, 2019,
 Revision Dates              March 7, 2022
 Review Due Date             March 2023
 References                  Code of Federal Regulations 42 CFR 59.2 https://www.ecfr.gov/cgi-bin/text-
                             idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                             gn=div6#se42.1.59_15
                             Waiving Fees – 4.21 - Family Planning - CHS Waiving Fees – 4.21 3.22.pdf -
                             Folders (sharepoint.com)
 Approved by                 Danni Lambert, RN
 Signature                   State Family Planning Director
 Approved Date               March 21, 2022

Purpose: The purpose of this policy is to describe the Tennessee Family Planning Program (TFPP)
process for ensuring compliance with the requirement that no client will be denied services due to inability
to pay, by waiving fees or payments for individuals with family incomes above 100% of the FPL, who are
unable, for good reasons, to pay for family planning services provided through the Title X-funded project.

Policy:

         Fees and payments will be waived for individuals with family incomes above 100% of the FPL,
          who are unable, for good reasons, to pay for family planning services provided through the Title
          X-funded project.
         The site director (or designee) is responsible for making determinations regarding waiver of
          charges.

Procedure:
         The Commissioner of Health has the authority to waive fees for services.
         For fees to be waived, a written request, which must include the type of service being received
          and an explanation of why the waiving of fees is being requested, shall be submitted to the
          Assistant Commissioner of CHS via the appropriate Regional Director. The request will then be
          sent to the Office of the Commissioner of Health for final approval.
         No patient will be refused Family Planning services based on inability to pay or refusal to declare
          income.




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   Each TFPP site has policies and procedures to refer clients (or financial records) to the service
    site director (or designee) for review and consideration of waiver of charges.
         o when the client does not have documented income at or below 100% of the FPL but who
             are unable, for good cause, to pay for family planning services.
   Policies and Procedures at the TFPP service site demonstrates when a determination is made by
    the service site director and documents the process of informing the clients about determination
    of the waiver.
         o Documentation records will be maintained at each TFPP service site to document:
                   The site directors’ determination, and
                   That the client was informed of the site director’s determination.
   The Regional/Metro FPA ensures that all sites have an individual, site specific, Fee Waiver policy
    and procedure by monitoring during annual administrative site visits.
   The TFPP central office staff monitors FP service sites to ensure compliance with this Fee Waiver
    policy and procedure requirement. These site visits are conducted at least once per grant cycle.
   Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
    be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
   Staff may access the state of Tennessee’s “Charges for Patients Receiving Family Planning
    Services – 4.12” waiver policy virtually on Sharepoint: Family Planning - Good Cause Waiver
    4.12_Charges for Patients Receiving Family Planning Services (1).pdf - Folders
    (sharepoint.com). A paper version is in the Family Planning Administrative Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                              REASONABLE COSTS/FEE SCHEDULES
For persons from families whose income exceeds 250% of the Federal Poverty Level (FPL), charges
must be made in accordance with a schedule of fees designed to recover the reasonable cost of
providing services (42 CFR 59.5(a)(8)).
 Policy Information:         Description:
 Policy Title                Reasonable Costs/Fee Schedules
 Effective Date              April 1, 2022
 Revision Dates              March 21, 2022
 Review Due Date             March 2023
 References                  Code of Federal Regulations 42 CFR 59.5(a)(8) https://www.ecfr.gov/cgi-
                             bin/text-
                             idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                             gn=div6#se42.1.59_15

 Approved by                 Danni Lambert, RN
 Signature                   State Family Planning Director
 Approved Date               March 21, 2022

Purpose: The purpose of this policy is to describe the Tennessee Family Planning Program (TFPP)
process for ensuring compliance with the requirement that, for persons from families whose income
exceeds 250% of the FPL, charges will be made in accordance with a schedule of fees designed to
recover the reasonable cost of providing services



Policy:
          A schedule of discounts, based on ability to pay, is required for individuals receiving family
          planning services with family incomes between 101% and 250% of the FPL.
         Charges for providing family planning services through the Title X Project, to persons from
          families whose income exceeds 250% of the FPL, will be based on a schedule of fees designed
          to recover the reasonable cost of providing services.

Procedure:
         The TDH prepares a schedule of fees for the provision of its services consistent with locally
          prevailing rates or charges and designed to cover reasonable costs of operation as determined
          by CMS. TDH follows Medicare coding and reimbursement guidelines and adjusts for
          geographical differences in resource costs. These Fee Schedules are updated annually.
         A client receiving TFPP services whose income is at or below 100% of the Federal Poverty Level
          will not be charged any amount for the service(s).
         A client receiving TFPP services whose income is between 101% and 250% of the Federal
          Poverty Level will be charged an amount(s) based on a Schedule of Discounts (sliding fee scale).




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   To be eligible for the Schedule of Discounts, a client must declare income at registration at the
    initial visit and every 12 months thereafter. If the client refuses to provide this information, the field
    on the financial information screen titled “Sliding Scale” should be set to ‘N’.
   A client receiving TFPP services who is covered by an insurance plan that assigns a copay,
    coinsurance, or deductible will be charged the lesser of a charge determined by the Schedule of
    Discounts or the assigned copay, coinsurance, or deductible. A client requesting TFPP services
    who is unable to obtain employer-sponsored insurance coverage for certain contraceptive
    services, due to their employer’s religious beliefs or moral conviction, is considered underinsured
    and therefore eligible for TFPP services at the sliding fee scale rates.
   Charges to minor clients receiving confidential TFPP services will be based on the income of the
    minor.
   The Commissioner of Health has the authority to waive fees for services. For fees to be waived, a
    written request, which must include the type of service being received and an explanation of why
    the waiving of fees is being requested, shall be submitted to the Assistant Commissioner of CHS
    via the appropriate Regional Director. The request will then be sent to the Office of the
    Commissioner of Health for final approval.
   No client will be refused TFPP services based on inability to pay or refusal to declare income.
   For family planning service clients covered by insurance, client charges for copay, coinsurance,
    or deductible will be transferred to the client based on the Schedule of Discounts using family size
    and household income, after the remittance is received from the insurance plan
   TFPP central office staff and Regional/Metro FPA’s monitor service sites to ensure compliance
    with this requirement.
          o The Regional/Metro FPA ensure that staff are using the most recent FPL guidelines and
               schedule of discounts by monitoring during annual administrative site visits.
          o Central Office Key staff ensure compliance during site monitoring visits at least once per
               grant cycle.
   Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
    be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
    Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
    Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                     VOLUNTARY DONATIONS
Voluntary donations from clients are permissible; however, clients must not be pressured to make
donations, and donations must not be a prerequisite to the provision of services or supplies.
 Policy Information:       Description:
 Policy Title              Voluntary Donations
 Effective Date            April 1, 2022
 Revision Dates            March 22, 2022
 Review Due Date           March 2023
 References                Section 1008 of the Title X Statute
                           https://www.hhs.gov/opa/sites/default/files/title-x-statute-attachment-a_0.pdf
                           Code of Federal Regulations 42 CFR Part 59.14(a) and 59.5(a)(5)
                           https://www.ecfr.gov/cgi-bin/text-
                           idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                           gn=div6#se42.1.59_15


 Approved by               Danni Lambert, RN
 Signature
                           State Family Planning Director
 Approved Date             March 23, 2022

Purpose: The purpose of this policy is to describe the Tennessee Family Planning Program (TFPP)
process for ensuring compliance with the collection of voluntary donations from clients. This policy
establishes a formal process for acceptance and documentation of donations made to the Family
Planning Program. This policy provides guidance when individuals, community groups, and businesses
wish to make donations to the Family Planning Program. This policy also establishes the standards
regarding the acceptance of gifts during the provision of Family Planning services.

Policy:
     Voluntary donations from clients are permissible; however, clients are never pressured to make
        donations, and donations are not a prerequisite to the provision of services or supplies.
        Donations from clients do not waive the billing/charging requirements.
     Donations may be offered in the form of cash, real or personal property and can be designated or
        undesignated
             o Designated donations – donations are required to be used for TFPP services
             o Undesignated donations – donations given to the State for an unspecified use
     Designated donations may only be accepted when they have a purpose consistent with the TFPP
        goals and objectives and are in the best interest of the state of Tennessee. The state must
        always consider the public trust and comply with all applicable laws when accepting donations.
     A donation of goods or property to any TDH regional office, program area or health department
        clinic within the Division of Community Health Services (CHS) is considered to be a donation to




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    the State of Tennessee. Provisions set out in T.C.A. 12-1-101 et seq. Tenn. Code Ann. § 12-1-
    101 must be followed in order to accept any donations.


Procedure:
 Prior to accepting a donation of goods or property, the section program area or clinic site must
   request approval. If approved CHS administration will notify the Division of Administrative
   Services (DAS) Property and Procurement Section (PAP). PAP will send the site receiving the
   donation an Acknowledgment of Donation letter which must be completed and notarized.
 If the property, by definition, requires a state property tag, the notarized letter along with the name
   and address of the donor, cost, serial number, complete description, and location of the property
   must be returned to PAP. The donated property will then be placed on the inventory list.
 If the property, by definition, does not require a state property tag, the notarized letter along with
   the name and address of the individual making the donation must be returned to PAP.
 PAP will be responsible for ensuring that an acknowledgment letter is sent to the person(s)
   making the donation.
 Based on the value of the donation offer, appropriate State/County/Program staff will review the
   conditions of any designated donation and determine if the benefits to be derived warrant
   acceptance of the donation.
 Acknowledgement of the donation should be in writing and be the responsibility of the clinic site
   Director that received the donation. Undesignated donations shall be acknowledged by the
   appropriate State/County/Program staff
 Documentation (e.g., signage, scripts) that demonstrates clients are not pressured to make
   donations and that donations are not a prerequisite to the provision of services or supplies.
 TFPP central office staff monitors FPA’s and service sites to ensure compliance with this
   requirement.
 Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
   be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
 Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
   Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
   Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                DISCOUNT ELIGIBILITY FOR MINORS
Eligibility for discounts for unemancipated minors who receive confidential services must be based on the
resources of the minor, provided that the Title X provider has documented its efforts to involve the minor’s
family in the decision to seek family planning services (absent abuse and, if so, with appropriate
reporting) (42 CFR 59.2).
 Policy Information:          Description:
 Policy Title                 Discount Eligibility for Minors
 Effective Date               April 1, 2022
 Revision Dates               March 21, 2022
 Review Due Date              March 2023
 References                   Eligibility for discounts for unemancipated minors who receive confidential
                              services must be based on the income of the minor (42 CFR 59.2).
                              https://www.ecfr.gov/current/title-42/chapter-I/subchapter-D/part-59/subpart-
                              A/section-59.2


 Approved by                  Danni Lambert, RN
 Signature
                              State Family Planning Director
 Approved Date                March 22, 2022
Purpose: The purpose of this policy is to describe Tennessee Family Planning Program (TFPP) process
for ensuring compliance with the requirement that discounts for unemancipated minors who receive
confidential Title X services are based on the resources of the minor (42 CFR 59.2).

Policy:
         Eligibility for discounts for unemancipated minors seeking or receiving confidential services in the
          Title X Project are based solely on the adolescent’s resources.
         TDH CHS Policy – Charges for Patients Receiving Family Planning Services- 4.12 Charges to
          minor patients receiving confidential family planning services will be based on the income of the
          minor Family Planning - CHS-4.12 Charges for Patients Receiving Family Planning Services
          Policy.pdf - Folders (sharepoint.com)

Procedure:
         There is a written process for determining whether a minor is seeking confidential services (e.g.,
          question on intake form).
         There is a written process for assessing minor’s resources (e.g., income).
         Staff are trained on this policy upon initial onboarding. Updates or changes to this policy shall be
          provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.




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                                                PageID #: 728
   TFPP staff may access this policy virtually on Sharepoint at: Family Planning - Family Planning
    Policy & Procedure - Folders (sharepoint.com). A paper version is in the Family Planning
    Administrative Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                      THIRD PARTY PAYMENTS
Where there is legal obligation or authorization for third party reimbursement, including public or private
sources, all reasonable efforts must be made to obtain third party payment without the application of any
discounts (42 CFR 59.5(a)(9)).
Family income should be assessed before determining whether copayments or additional fees are
charged. With regard to insured clients, clients whose family income is at or below 250% the Federal
Poverty Level (FPL) should not pay more (in copayments or additional fees) than what they would
otherwise pay when the schedule of discounts is applied.
 Policy Information:        Description:
 Policy Title               Third Party Payments
 Effective Date             May 2022
 Revision Dates             May 15, 2022
 Review Due Date            May 2023
 References                 Code of Federal Regulations 42 CFR 59.5(a)(9)
                            https://www.ecfr.gov/cgi-bin/text-
                            idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                            gn=div6#se42.1.59_15


                            CHS Policies and Procedures Manual - Section 4 Billing and Operational
                            Support (Sharepoint)
 Approved by                Danni Lambert, RN
 Signature
                            State Family Planning Director
 Approved Date              March 10, 2022

Purpose: The purpose of this policy is to describe Tennessee Family Planning Program process for
ensuring compliance with the requirement that the Title X Project makes all reasonable efforts to obtain
third party payment, without the application of discounts, from all public and private third-party
reimbursement sources authorized or legally obligated to pay for services.


Policy:
     Clients presenting to a TFPP service site with private insurance will have their charges submitted
        to their health plan by the health department according to the health plans guidelines.
     If a client presents for TFPP services and is enrolled with a private insurance plan, the health
        service site should encourage client to seek service from a provider participating with his/her
        insurance plan except for Family Planning and Communicable Disease services. If services are
        rendered under Family Planning or Communicable Disease Programs, client charges will be
        adjusted according to program guidelines




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       All reasonable efforts will be made to bill and obtain third party payment, without the application of
        discounts, from all public and private of third-party reimbursement sources authorized or legally
        obligated to pay for services.
       Family income will be assessed before determining whether copayments or additional fees are
        charged.
       Insured clients whose family income is at or below 250% of the FPL will not pay more (in
        copayments or additional fees) than what they would otherwise pay when the schedule of
        discounts is applied.

Procedure:
    The TennCare eligibility system must be checked for TennCare coverage at each visit.
      If the client is determined to have TennCare coverage, staff must verify the TennCare policy
      number by accessing the appropriate website. Any new or incorrect billing information must be
      updated/corrected in PTBMIS or the successor practice management system. See the CHS
      policy on billing TennCare.
    Client financial information must be up to date to ensure accuracy and consistency when applying
      the sliding fee scale to client charges. To be eligible for the sliding fee, the client must declare
      household income and family size at the initial visit, and every 12 months thereafter. TFPP staff
      must verify that all clients have a current financial information screen listing the family size and
      household income.
    If the client has only private insurance, the client’s eligibility in the health plan should be
      confirmed by accessing the appropriate website. Proof of insurance must be retained in the
      client’s record.
    All charges should be submitted to insurance for processing and payment. If payment is denied,
      appropriate follow-up procedures must be performed and documented.
    When the remittance is received from the insurance company, charges for non-covered services
      by the client’s insurance plan will be transferred to the client based on the sliding fee scale
      according to household income and family size. The exception is adult vaccines.
    The client will be responsible for 100% of the copay, deductible, coinsurance, or cost sharing
      amount indicated by the remittance advice, with the exception of services that are coded to the
      Family Planning and Communicable Disease programs. For services provided under the
      Communicable Disease programs, the copay, deductible, coinsurance, or cost sharing amounts
      are to be adjusted to zero. For services provided under the Family Planning program, amounts for
      copay, deductible, coinsurance, or cost sharing will be transferred to the client based on the
      sliding fee scale using family size and household income.
    If payment is denied due to health department error and cannot be rebilled, the charges will be
      adjusted to zero and the client will not be responsible for payment.
    At the conclusion of every visit, clients must stop at the checkout counter. Encounters must be
      keyed and finalized and clients must be made aware of any balance owed. A confidential attempt
      must be made to collect any balance due at each visit.
    Central Office Family Planning Program staff monitors to ensure compliance with this requirement
      as part of the Family Planning Program site visit at least once per grant period.
    Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
      be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
    Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
      Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
      Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                     CONFIDENTIAL COLLECTIONS
Reasonable efforts to collect charges without jeopardizing client confidentiality must be made (42 CFR
59.11).
 Policy Information:          Description:
 Policy Title                 Confidential Collections
 Effective Date               February 27, 2019
 Revision Dates               January 31, 2022
 Review Due Date              January 2023
 References                   Code of Federal Regulations 42 CFR 59.5(a)(9) https://www.ecfr.gov/cgi-
                              bin/text-
                              idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                              gn=div6#se42.1.59_15
                              CHS Policies and Procedures Manual - Section 4 Billing and Operational
                              Support (Sharepoint) Confidential Services
 Approved by                  Danni Lambert, RN
 Signature                    State Family Planning Director
 Approved Date                March 10, 2022

Purpose: The purpose of this policy is to describe Tennessee Family Planning Program process for
ensuring grantee and subrecipient compliance with the requirement that reasonable efforts to collect
charges be made without jeopardizing client confidentiality.



Policy:
TFPP ensures clients that request confidential services will not receive an explanation of benefits (EOB)
from a health plan or a patient statement from the TFPP or TDH.

Procedure:
         If a client presents at a TFPP clinic and requests to be registered as a confidential client, the
          registration screen in PTBMIS will be updated with a “Y” in the confidential contact field so that no
          client statement will be received from the TFPP visit, unless an alternate address is provided by
          the client.
         If verified that the client has TennCare only, confidential charges can be submitted to the
          TennCare MCO. If client has private insurance and TennCare all confidential services must be
          coded to the client (payer 6) and a credit memo issued for any balance(s) assessed on services
          that are covered by TennCare.
         If client has private insurance only all confidential services must be coded to the client (payer 6).
          If the client is a minor, then the income must be reported as the client’s income only.
         At the conclusion of every visit, clients must stop at the checkout counter. Encounters must be
          keyed and finalized and clients must be made aware of any balance owed.




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   Central Office Family Planning Program staff monitors to ensure compliance with this requirement
    as part of the Family Planning Program site visit at least once per grant period.
   Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
    be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
    Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
    Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                         PERSONNEL POLICIES

Grantees and subrecipients are obligated to establish and maintain personnel policies that comply with
applicable Federal and State requirements, including Title VI of the Civil Rights Act, Section 504 of the
Rehabilitation Act of 1973, Title I of the Americans with Disabilities Act, and the annual appropriations

 Policy Information:         Description:
 Policy Title                Personnel Policies
 Effective Date              April 1, 2022
 Revision Dates              March 4, 2022
 Review Due Date             March 2023
 References                  Title VI of the Civil Rights Act https://www.justice.gov/crt/title-vi-1964-civil-
                             rights-act
                             Titles I of the Americans with Disabilities Act of 1990 (ADA)
                             https://www.eeoc.gov/laws/statutes/ada.cfm
                             TDH Non-Discrimination policy - Family Planning - Title_VI_Nondiscrimination
                             2022.pdf - Folders (sharepoint.com)
                             TDH ADA Policy - Family Planning - TDH-ADA-Policy-2022.pdf - Folders
                             (sharepoint.com)
                             Department of Human Resources Policies and Resources -
                             https://www.tn.gov/hr/pr/policies-by-category.html
                             https://publications.tnsosfiles.com/rules/1120/1120-02.20190815.pdf
 Approved by                 Danni Lambert, RN
 Signature                   State Family Planning Director
 Approved Date               March 10, 2022
Purpose: The purpose of this policy is to describe Tennessee Family Planning Program process for
ensuring compliance with applicable Federal and State requirements, including Title VI of the Civil Rights
Act, Section 504 of the Rehabilitation Act of 1973, Title I of the Americans with Disabilities Act, and the
annual appropriations language.


Policy:
         TFPP and TDH has established and maintains general personnel policies that address at a
          minimum:
             o    Non-discrimination in personnel administration within any of the organizations funded
                  through the Title X Project
             o    Staff recruitment
             o    Staff selection
             o    Performance evaluation
             o    Promotion




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            o   Termination
            o   Compensation
            o   Benefits
            o   Employee grievances


Procedure:
   ● TDH maintains written policies procedures for staff recruitment, staff selection, performance
      evaluation, promotion, termination, compensation, benefits, staff orientation.
   ● TDH personnel policies are updated annually.
   ● TFPP staff will be trained on this policy upon initial onboarding. Updates or changes to this policy
      shall be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
   ● Staff may access the state of Tennessee’s DOHR at: https://www.tn.gov/hr/pr/forms-
      documents.html and on Share point at: Family Planning - Family Planning Policy & Procedure -
      Folders (sharepoint.com). A paper version of this policy is in the Family Planning Administrative
      Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                       CULTURAL COMPETENCY
Project staff should be broadly representative of all significant elements of the population to be served by
the project, and should be sensitive to, and able to deal effectively with, the cultural and other
characteristics of the client population (42 CFR 59.5 (b)(10)).
 Policy Information:         Description:
 Policy Title                Cultural Competency
 Effective Date              April 1, 2022
 Revision Dates              March 10, 2022
 Review Due Date             March 2023
 References                  National Standards for Culturally and Linguistically Appropriate Services
                             (CLAS) https://thinkculturalhealth.hhs.gov/clas
                             Code of Federal Regulations https://www.ecfr.gov/cgi-bin/text-
                             idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                             gn=div6#se42.1.59_15


 Approved by                 Danni Lambert, RN
 Signature
                             State Family Planning Director
 Approved Date               March 21,2022
Purpose: The purpose of this policy is to describe the Tennessee Family Planning Program

process for ensuring compliance with the requirement that project staff should be broadly representative
of all significant elements of the population to be served by the project, and should be sensitive to, and
able to deal effectively with, the cultural and other characteristics of the client population.

Policy:

         Family Planning Project staff will be broadly representative of all significant elements of the
          population to be served by the Title X Project.
         Family Planning Project staff will receive training in order to be sensitive to, and able to deal
          effectively with, the cultural and other characteristics of the client population.
         Clients will be assessed for the degree to which they feel staff is sensitive to and able to deal
          effectively with the client population.
         Documentation at service sites includes records of cultural competence training, in-services,
          client satisfaction surveys, or other documentation that supports culturally competent services.
Procedure:




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    All family planning staff are required to complete annual Title VI Training. All state
     governmental entities that are recipients of Federal financial assistance comply with the
     requirements of Title VI of the Civil Rights Act of 1964 pursuant to the State of Tennessee
     Public Acts, 2009 Public Chapter No. 437. Title VI prohibits discrimination on the basis of
     race, color, or national origin in programs and activities receiving Federal financial
     assistance.
    To identify populations that may be in need of culturally competent care, Health Councils
     exist in all 95 counties with TDH directly supporting those councils. Each county brings
     together diverse stakeholders to look at data, identify disparities, and select priority areas to
     work on. Building on local expertise and community engagement and with focus on
     vulnerable populations.
    All service site directors are responsible for assuring that a Satisfaction Survey, for English
     and Spanish, is made available to patients visiting each site for a period of, at least five (5)
     working days during the calendar year. Services offered on the days selected for the
     satisfaction survey shall be representative of the range of clients and services provided by
     the Family Planning Program.
    All staff involved in Family Planning are required to complete annual training on specific
     Family Planning policies and procedures including Cultural Competency. Staff are trained
     upon initial employment orientation and annually thereafter.
    Specific training verification forms are used, by the Family Planning Administrator, to report
     completed trainings to Central Office program staff. Semi-annual Reports are uploaded into
     Sharepoint Family Planning - Training Report DropBox - Folders (sharepoint.com) by April
     20th and October 20th. Each Family Planning service site maintains individual staff training
     documentation.
    Central Office Family Planning Program staff monitors training records uploaded into
     Sharepoint to ensure compliance with this requirement and that all guidelines are met
    Maintenance of site-specific training records is verified as part of the Family Planning
     Program site visit at least once per grant cycle.
    Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy
     shall be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference
     call
    Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning
     Policy & Procedure - Folders (sharepoint.com). A paper version is in the Family Planning
     Administrative Manual




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                  STAFF TRAINING AND PROJECT TECHNICAL ASSISTANCE
Projects must provide for the orientation and in-service training of all project personnel, including the staff
of subrecipient agencies and service sites (42 CFR 59.5(b)(4)).
The project’s orientation/in-service training includes annual training on Federal/State and local laws
regarding notification or reporting of child abuse, child molestation, sexual abuse, rape, or incest, intimate
partner violence, as well as on human trafficking (42 CFR 59.17).
The project’s orientation/in-service training should include training on involving family members in the
decision of minors to seek family planning services and on counseling minors on how to resist being
coerced into engaging in sexual activities (42 CFR 59.2, 59.17).
 Policy Information:         Description:
 Policy Title                Staff Training and Project Technical Assistance
 Effective Date              April 1, 2022
 Revision Dates              March 2022
 Review Due Date             March 2023
 References                  Code of Federal Regulations 42 CFR 59.5(b)(4), 59.2, and 59.17
                             https://www.ecfr.gov/cgi-bin/text-
                             idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                             gn=div6#se42.1.59_15

 Approved by                 Danni Lambert, RN
 Signature                   State Family Planning Director
 Approved Date               March 10, 2022


Purpose: The purpose of this policy is to describe Tennessee Family Planning Program(TFPP) process
for ensuring compliance with the requirement that the TFPP project provides for the orientation and in-
service training of all TFPP personnel. Training of TFPP staff includes annual training on Federal/State
and local laws regarding notification or reporting of child abuse, child molestation, sexual abuse, rape, or
incest, intimate partner violence, as well as on human trafficking; and annual training on involving family
members in the decision of minors to seek family planning services and on counseling minors on how to
resist being coerced into engaging in sexual activities.

Policy:
     All new TFPP staff will be required to complete an orientation that includes the topics as listed
        above.
     All TFPP staff receive annual training on laws regarding notification or reporting of child abuse,
        child molestation, sexual abuse, rape, or incest, intimate partner violence, as well as on human
        trafficking.




  Case 3:23-cv-00384-TRM-JEM                      TN AR 325
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       All TFPP staff receive annual training on involving family members in the decision of minors to
        seek family planning services and on counseling minors on how to resist being coerced into
        engaging in sexual activities.

Procedure:
    The Reproductive and Women’s Health Clinical Trainer develops a training plan for TFPP staff.
      The training plan addresses key requirements of the Title X program and priority areas, including
      how staff training needs are assessed.
    All staff involved in Family Planning are required to complete annual training on specific Family
      Planning policies and procedures that includes the topics as listed above. Staff are trained upon
      initial employment orientation and at least annually thereafter.
    Specific training verification forms are used, by the Metro/Regional Family Planning
      Administrator, to report completed trainings to Central Office program staff. Forms are available
      on Sharepoint: Family Planning - Reports & Forms - Folders (sharepoint.com) Semi-annual
      Reports are uploaded into Sharepoint Family Planning - Family Planning - Training Report
      DropBox - Folders (sharepoint.com) by April 20th and October 20th. Each Family Planning
      service site maintains individual staff training documentation.
    Maintenance of site-specific training records is verified as part of the Family Planning Program
      site visit at least once per grant period.
    Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
      be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call
    Staff can access this policy virtually on Sharepoint at: Family Planning - 1.7 Staff Training and
      Project Technical Assistance 2022.docx (sharepoint.com). A paper version is in the Family
      Planning Administrative Manual.




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                                SERVICES & CLIENTS




                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                                CLIENT DIGNITY

Services must be provided in a manner which protects the dignity of the individual (42 CFR 59.5(a)(3)).

 Policy Information:           Description:
 Policy Title                  Client Dignity
 Effective Date                April 1, 2022
 Revision Dates                March 11, 2022
 Review Due Date               March 2023
 References                    Providing Quality Family Planning Services: Recommendations from the
                               Centers for Disease Control and Prevention and the U.S. Office of Population
                               Affairs (QFP) (pages 4 and 24) https://www.hhs.gov/opa/guidelines/clinical-
                               guidelines/quality-family-planning/index.html
                               Code of Federal Regulations CFR 59.5(a)(3) https://www.ecfr.gov/cgi-bin/text-
                               idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                               gn=div6#se42.1.59_15


 Approved by                   Danni Lambert, RN
 Signature                     State Family Planning Director
 Approved Date                 March 21,2022

Purpose: The purpose of this policy is to describe the Tennessee Family Planning Program process for
ensuring compliance with the requirement that services provided through the Title X Project must be
provided in a manner that protects the dignity of the individual.

Policy:
         The Tennessee Family Planning program provides services in a manner that is client-centered,
          culturally, and linguistically appropriate, inclusive, and trauma-informed; protects the dignity of the
          individual; and ensures equitable and quality service delivery consistent with nationally
          recognized standards of care.
         The Tennessee Family Planning program provides services in a manner that does not
          discriminate against any client based on religion, race, color, national origin, disability, age, sex,
          sexual orientation, gender identity, sex characteristics, number of pregnancies, or marital status.
         Client privacy will be protected during all aspects of their appointment/clinic encounter.
         “Client Bill of Rights” will be posted in the service sites, clearly visible to all clients, that outlines
          the client’s rights and responsibilities. Family Planning - Client Bill of Rights - Folders
          (sharepoint.com)




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      Every service site will conduct a client satisfaction survey once each calendar year for at least a
       period of five (5) working days using the prescribed satisfaction survey form. Family Planning -
       CHS Policy 2.14 P0214_PatientSatisfaction.pdf - Folders (sharepoint.com)
      Services will be provided in a client-centered, respectful, and culturally competent manner.
      Fees must be waived for individuals with family incomes above 100% of the FPL who, as
       determined by the service site project director, are unable, for good cause, to pay for
       family planning services (42 CFR 59.2).
      Tennessee Family Planning Program staff receive annual training in Client Dignity to meet the
       needs of our population.

Procedure:
            Tennessee Family Planning Program requires that the ‘Client Bill of Rights’ be shared with all
             clients (posted or given to each person). English and Spanish versions of the Patient Bill of
             Rights can be found on Sharepoint: Insert Link here.
            All service site directors are responsible for assuring that the Satisfaction Survey, for English
             and Spanish, is made available to patients visiting each site for a period of five (5) working
             days during the calendar year. Services offered on the days selected for the satisfaction
             survey shall be representative of the range of services provided by the Family Planning
             Program.
            All staff involved in Family Planning are required to complete training on specific Family
             Planning policies and procedures including Client Dignity.
            Specific training verification forms are used, by the Family Planning Administrator, to report
             completed trainings to Central Office program staff. Semi-annual Reports are uploaded into
             SharePoint: Family Planning - Training Report DropBox - Folders (sharepoint.com) by April
             20th and October 20th. Each Family Planning service site maintains individual staff training
             documentation.
            Central Office Family Planning Program staff monitors training records uploaded into
             Sharepoint to ensure compliance with this requirement.
            Maintenance of site-specific training records is verified as part of the Family Planning
             Program site visit at least once per grant period.
            The Family Planning Administrator (FPA), and key central office staff, are responsible for
             ensuring the clinic environment is welcoming (i.e., privacy, cleanliness of exam rooms, ease
             of access to service, fair and equitable charges for services including waiver of fees for “good
             cause,” and language assistance).
            FPA will ensure that all family planning sites have a specific “good cause” waiver policy and
             procedure implemented. TDH policy is available on Sharepoint: Family Planning - Good
             Cause Waiver 4.12_Charges for Patients Receiving Family Planning Services (1).pdf -
             Folders (sharepoint.com)
            Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy
             shall be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference
             call
            Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning
             Policy & Procedure - Folders (sharepoint.com). A paper version is in the Family Planning
             Administrative Manual




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                   NON-DISCRIMINATORY SERVICES
Services must be provided without regard to religion, race, color, national origin, disability, age, sex,
number of pregnancies, or marital status (42 CFR 59.5 (a)(4)).
 Policy Information:          Description:
 Policy Title                 Non-Discriminatory Services
 Effective Date               April 1, 2022
 Revision Dates               March 22, 2022
 Review Due Date              March 2023
 References                   Code of Federal Regulations 42 CFR 59.5(a)(4)
                              https://www.ecfr.gov/cgi-bin/text-
                              idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                              gn=div6#se42.1.59_15

 Approved by                  Danni Lambert, RN
 Signature                    State Family Planning Director
 Approved Date                March 22, 2022

Purpose: The purpose of this policy is to describe Tennessee Family Planning Program (TFPP) process
for ensuring grantee and subrecipient compliance with the requirement that all services are provided
without regard to religion, race, color, national origin, disability, age, sex, number of pregnancies, or
marital status.

Policy:
         Title VI of the Civil Rights Act of 1964, as amended (42 USC § 2000d), prohibits discrimination
          on the basis of race, color, or national origin 45 CFR 80.
         The United States Civil Rights Act of 1964 and Tennessee Code Annotated/T.C.A. 4-21-904
          Tenn. Code Ann. § 4-21-904ensures the right to receive equal treatment and service
          opportunities regardless of race, color, national origin, or limited English proficiency. Title VI of the
          Civil Rights Act specifically prohibits discrimination in programs that are federally funded, and
          T.C.A. 4-21-904 specifically prohibits discrimination in programs that are State funded.
         Individuals receiving federal financial assistance, which can be distributed by state departments,
          will not face discrimination on the basis of race, color, national origin, sex, age, beliefs, or
          disability.
         TFPP services will be provided through the Title X-funded project without regard to religion, race,
          color, national origin, disability, age, sex, number of pregnancies, or marital status.
         TFPP staff will be trained/informed of this requirement on an annual basis.



Procedure:




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   To verify that all federal fund recipient state entities comply with Title VI of the Civil Rights act of
    1964, all TDH staff are required to complete the annual web-based training “Compliance with Title
    VI of the Civil Rights Act of 1964” via the State of Tennessee's Enterprise Resource Planning
    (ERP) system (EDISON).
   TCA S4-21-203 requires the Tennessee Human Rights Commission to review the Title VI
    monitoring and enforcement procedures, and
   Staff are trained on this policy upon initial onboarding. Updates or changes to this policy shall be
    provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
    Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
    Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                AVAILABILITY OF SOCIAL SERVICES
Projects must provide for social services related to family planning including counseling, referral to and
from other social and medical services agencies, and any ancillary services which may be necessary to
facilitate clinic attendance (42 CFR 59.5 (b)(2)).
 Policy Information:         Description:
 Policy Title                Availability of Social Services
 Effective Date              April 1, 2022
 Revision Dates              March 21, 2022
 Review Due Date             March 2023
 References                  Providing Quality Family Planning Services: Recommendations of CDC and the
                             U.S. Office of Population Affairs (pages 4–20)
                             https://www.cdc.gov/mmwr/pdf/rr/rr6304.pdf
                             Code of Federal Regulations 42 CFR 59.5 (b)(2) https://www.ecfr.gov/cgi-
                             bin/text-
                             idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                             gn=div6#se42.1.59_15
 Approved by                 Danni Lambert, RN
 Signature
                             State Family Planning Director
 Approved Date               March 21, 2022

Purpose: The purpose of this policy is to describe the Tennessee Family Planning Program (TFPP)
process for ensuring compliance with the requirement that the project provide for social services related
to family planning including counseling, referral to and from other social and medical services agencies,
and any ancillary services that may be necessary to facilitate clinic attendance, as needed.

Policy:

         The county/metro needs assessment will document the social service and medical needs of the
          community to be served.
         The needs assessment will document the ancillary services that are needed to facilitate clinic
          attendance, as well as identify relevant social and medical services available to help meet those
          needs.
         TFPP will collaborate with county/metro staff to develop and implement plans to address the
          related social service and medical needs of clients as well as ancillary services needed to
          facilitate clinic attendance.
         Each TFPP service site will have a process to refer clients to relevant social and medical services
          agencies (e.g., childcare agencies, transport providers, WIC programs).
         TFPP service sites will get signed written collaborative agreements with these other agencies
          when possible and if appropriate.
         TFPP staff and providers will document in the medical record when referrals were made, based
          on documented specific condition/issue.




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Procedure:
      TFPP staff may locate up-to-date referral names and current contact information on Sharepoint
       Family Planning Outside Referral Providers 2022.docx (sharepoint.com)
      The TFPP Regional/Metro FPA, along with healthcare experts and clinic medical staff, are
       responsible for the vetting of providers and referral resources by reviews and audits of these
       resources.
      Vetting includes:
           o Background check
           o Check Chamber Affiliations
           o Online research
                     AMA
                     Licensure Verification: Tennessee Department of Health: Licensure Verification
                         (tn.gov)
                     Health Professionals Boards Disciplinary Actions: Health Professionals Boards
                         Disciplinary Actions (tn.gov)
                     Abuse Registry: Tennessee Department of Health: Abuse Registry (tn.gov)
                     Health Care Facilities: Search - Health Care Facilities (tn.gov)
           o Reference Check
           o Experience in the field
           o Confirm compliance with OPA guidelines
           o Customer service feedback
      TFPP FPA confirms compliance as well as ensuring accurate information and contacts for all
       physicians, pharmacies, and care facilities.
      The TFPP builds upon existing relationships and establishes comprehensive collaboration among
       social service funders and providers, community and faith-based organizations, and advocates to
       ensure coordinated social service delivery through all phases of family planning and reproductive
       services.
      TFPP staff promotes and strengthens key community services/activities, such as childcare, elder
       care, foster care, mental health services, schools, housing, jobs, and transportation.
      TFPP staff enhance efforts to increase accessibility and reach to underserved, marginalized and
       vulnerable populations to provide needed social services.
      TFPP staff promote ongoing evaluation and continuous learning to advance social services
       efforts in achieving healthy community goals.
      Community Services and all Referral information/resources shall be reviewed/updated at least
       annually and clearly documented on the information/resource forms.
      Written collaborative agreements will be kept on file by the Regional/Metro FPA and posted on
       Sharepoint; Family Planning - Collaborative Agreements and MOU's - Folders (sharepoint.com)
      Written collaborative agreements shall be updated and/or renewed as needed.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                              AVAILABILITY AND USE OF REFERRALS
Except as provided in 42 CFR 59.14(a) with respect to the prohibition on referrals for abortion as a
method of family planning, projects must provide for coordination and use of referral arrangements with
other providers of health care services, local health and welfare departments, hospitals, voluntary
agencies, and health services projects supported by other federal programs (42 CFR 59.5(b)(8)).
 Policy Information:         Description:
 Policy Title                Availability and Use of Referrals
 Effective Date              April 1, 2022
 Revision Dates              March 22, 2022
 Review Due Date             March 2023
 References                  Providing Quality Family Planning Services: Recommendations of CDC and the
                             U.S. Office of Population Affairs (pgs. 4–20)
                             https://www.cdc.gov/mmwr/pdf/rr/rr6304.pdf
                             Code of Federal Regulations 42 CFR 59.5 (b)(8) https://www.ecfr.gov/cgi-
                             bin/text-
                             idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                             gn=div6#se42.1.59_15
 Approved by                 Danni Lambert, RN
 Signature                   State Family Planning Director
 Approved Date               March 23, 2022

Purpose: The purpose of this policy is to describe Tennessee Family Planning Program (TFPP) process
for ensuring grantee and subrecipient compliance with the requirement for the coordination of effective
patient referrals for other providers of health care services, local health and welfare departments,
hospitals, voluntary agencies, and health services projects supported by other federal projects.


Policy:
         Family planning administrators shall ensure that all TFPP service sites have developed and
          implemented plans to coordinate with and refer clients to other services (as listed above) when
          appropriate.
         All TFPP service sites have processes for effective referrals to relevant agencies.
         TFPP FPA’s and key central office staff work to establish new collaborative agreements and
          maintain established collaborations as appropriate.
         TFPP staff and providers document in the medical record when referrals were made based on
          documented specific condition/issue.




Procedure:




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                                               PageID #: 746
   TFPP staff may locate up to date referral names and contact information via Sharepoint: Family
    Planning Outside Referral Provider file (2021)1.docx (sharepoint.com)
   TFPP FPA’s ensure the review and updating of referral information and resources is completed
    and documented as needed, at least annually, and uploaded into the appropriate Sharepoint file:
    Family Planning - Resource Lists - Community and Provider - Folders (sharepoint.com)
   TFPP central office staff and FPA’s ensure the written collaborative agreements are reviewed and
    renewed as needed, at least annually, and uploaded on Sharepoint: Family Planning -
    Collaborative Agreements and MOU's - Folders (sharepoint.com).
   FPA will ensure that all TFPP service sites have a site-specific Community and Provider
    resource lists/handouts. Current resource lists are available on Sharepoint: Family
    Planning - Resource Lists - Community and Provider - Folders (sharepoint.com)
   Staff will be trained on this policy upon initial onboarding. Updates or changes to this
    policy shall be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual
    conference call
   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning
    Policy & Procedure - Folders (sharepoint.com). A paper version is in the Family
    Planning Administrative Manual




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                      CLINICAL PROTOCOLS AND STANDARDS OF CARE
All grantees should ensure services provided within their project operate within written clinical protocols
that are in accordance with nationally recognized standards of care, approved by the grantee, and signed
by the physician responsible for the service site.
 Policy Information:        Description:
 Policy Title               Clinical Protocols and Standards of Care
 Effective Date             April 1, 2022
 Revision Dates             March 4, 2022
 Review Due Date            March 2023
 References                 Providing Quality Family Planning Services: Recommendations from the
                            Centers for Disease Control and Prevention and the U.S. Office of Population
                            Affairs (QFP) (pages 1–40) https://www.hhs.gov/opa/guidelines/clinical-
                            guidelines/quality-family-planning/index.html
                            2022 Clinical Guidelines Family Planning - 2022 Family Planning Signature
                            page & Clinical Guidelines.pdf - Folders (sharepoint.com)
 Approved by                Danni Lambert, RN
 Signature                  State Family Planning Director
 Approved Date              March 10, 2022
Purpose: The purpose of this policy is to describe the Tennessee Family Planning Program’s process for
ensuring compliance with the requirement that the Title X-funded project provides services in accordance
with written clinical protocols aligned with nationally recognized standards of care.


Policy:
    ● All TFPP service sites will operate within written clinical protocols aligned with nationally
        recognized standards of care and signed by the medical director or physician responsible for the
        service site.


Procedure:
   ● Nationally recognized standards of care include but are not limited to: OPA, USPSTF, CDC,
      ACOG, ASCCP, MEC, SPR
   ● Clinical protocols are reviewed annually by RWH Clinical Trainer to ensure they are current and
      reflect current Federal and professional medical associations recommendations for each type of
      service as cited in the QFP, signed by the medical director and posted/uploaded in Sharepoint:
      Family Planning - 2022 Clinical Guidelines - Folders (sharepoint.com).
   ● The Family Planning Clinical Manual must be reviewed and signed annually by Physicians, Nurse
      Practitioners, Certified Nurse Midwives, Physician Assistants, Registered Nurses, Medical
      Assistants and Clinic Assistants providing clinical services in the Title X Family Planning
      Programs. Signature pages must be available for review during clinical site visits. Agencies with
      multiple sites should keep a copy of the signature page at each site or in the agency’s local online




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    drive. Family Planning Administrators are asked to confirm obtaining annual staff and consulting
    physician signatures. Title X Clinical Manual Review signature page 2022.pdf (sharepoint.com)
●   Assessing adherence to approved protocols through medical records reviews done biannually
    and during clinical review of medical charts, by the FPA, at service site visits.
●   Client visit observations are also completed at a service site review using the Title X Program
    Review Tool.
●   Protocols for services provided which are outside the scope of family planning must be developed
    through collaboration between the TDH, Community Health Services (CHS), and medical
    directors.
●   All staff involved in Family Planning are required to complete the QFP training upon initial
    employment orientation and at least once per grant period thereafter.
●   Specific training verification forms are used, by the Family Planning Administrator, to report
    completed trainings to RWH Clinical Trainer. Semi-annual Reports are uploaded into Sharepoint
    Family Planning - Report Drop Boxes - Folders (sharepoint.com) by April 20th and October 20th.
    Each Family Planning service site maintains individual staff training documentation.
●   RWH Clinical Trainer monitors training records uploaded into Sharepoint to ensure compliance
    with this requirement and that all guidelines are met.
●   Maintenance of site-specific training records is verified as part of the Family Planning Program
    site visit at least once per grant cycle.
●   Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
    be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
●   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
    Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
    Manual




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                 PROVISION OF FAMILY PLANNING AND RELATED SERVICES
All projects must provide for medical services related to family planning (including consultation by a
clinical services provider, examination, prescription and continuing supervision, laboratory examination,
contraceptive supplies), in person or via telehealth, and necessary referral to other medical facilities when
medically indicated and provide for the effective usage of contraceptive devices and practices. (42 CFR
59.5(b)(1)).
This includes but is not limited to emergencies that require referral. Efforts may be made to aid the client
in finding potential resources for reimbursement of the referral provider, but projects are not responsible
for the cost of this care.
 Policy Information:          Description:
 Policy Title                 Provision of Family Planning and Related Services
 Effective Date               April 1, 2022
 Revision Dates               March 4, 2022
 Review Due Date              March 2023
 References                   Code of Federal Regulations 42 CFR 59.5 (b)(1)
                              https://www.ecfr.gov/current/title-42/chapter-I/subchapter-D/part-59/subpart-
                              A#59.5

 Approved by                  Danni Lambert, RN
 Signature                    State Family Planning Director
 Approved Date                March 10, 2022
Purpose: The purpose of this policy is to describe Tennessee Family Planning Program’s process for
ensuring compliance with the requirement that projects must provide for medical services related to family
planning (including physician’s consultation, examination, prescription, and continuing supervision,
laboratory examination, contraceptive supplies) and referral to other medical facilities when medically
necessary, consistent with the prohibition on referral for abortion as a method of family planning in 42
CFR 59.14(a), and provide for the effective usage of contraceptive devices and practices.


Policy:
    ●     TFPP clients served by the project, including adolescents, are provided the following services, as
          appropriate: a broad range of contraceptives, including natural family planning methods and other
          fertility awareness-based methods; pregnancy testing and counseling; services to assist with
          achieving pregnancy; basic infertility services; STD services; and preconception health services.
    ●     Breast and cervical cancer screening will be available on-site or by referral.


Procedure:
         Age appropriate “initial/annual examinations” and “preventive health visits” are still encouraged in
          accordance with medical standards of care and clinical recommendations. TFPP visits have a




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    strong focus on risk reduction, health counseling, preventive services, and screening along with
    the provision of the core components of the QFP recommendations.
   TFPP clinical sites offer either comprehensive primary health services onsite or have a robust
    referral linkage with primary health providers who are in close physical proximity to the site to
    promote holistic health and provide seamless care.
   All services listed in QFP are offered to TFPP clients, including adolescents as specified in
    clinical protocols.
   Description of collaborative agreements with relevant referral agencies including emergency care,
    HIV/AIDS care and treatment providers, infertility specialists, primary care, and chronic care
    management providers.
   TFPP staff and providers show compliance with this requirement by manual review, approval, and
    signatures; medical chart reviews and providing a list of formal agreements to the TDH/TFPP as
    part of the grant deliverables.
   Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
    be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call
   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
    Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
    Manual.
●   Location of clinical protocols that document the services referenced in this policy are provided.
    CHS/CLS/NURS - Nursing Protocols - Folders (sharepoint.com)




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                             RANGE OF FAMILY PLANNING METHODS
All Title X Projects must provide a broad range of acceptable and effective medically approved family
planning methods (including natural family planning methods) and services (including pregnancy testing
and counseling, assistance to achieve pregnancy, basic infertility services, STI services, preconception
health services, and adolescent-friendly health services). (42 CFR 59.5(a)(1))
 Policy Information:         Description:
 Policy Title                Range of Family Planning Methods
 Effective Date              October 4, 2021
 Revision Dates              March 4, 2022
 Review Due Date             March 2023
 References                  Providing Quality Family Planning Services: Recommendations from the
                             Centers for Disease Control and Prevention and the U.S. Office of Population
                             Affairs (QFP) Recommendations (pages 1–23)
                             https://www.hhs.gov/opa/guidelines/clinical-guidelines/quality-family-
                             planning/index.html
                             Code of Federal Regulations 42 CFR 59.5(a)(1)
                             https://www.ecfr.gov/current/title-42/chapter-I/subchapter-D/part-59
 Approved by                 Danni Lambert, RN
 Signature                   State Family Planning Director
 Approved Date              March 10, 2022
Purpose: The purpose of this policy is to describe Tennessee Family Planning Program’s process for
ensuring compliance with the requirement to provide a broad range of acceptable and effective family
planning methods (including contraceptives, natural family planning or other fertility awareness-based
methods) and services (including infertility services, information about or referrals for adoption, and
services for adolescents).


Policy:
     All clients will be provided a broad range of acceptable and effective family planning methods
        (including contraceptives, natural family planning or other fertility awareness-based methods) and
        services (including infertility services, information about or referrals for adoption, and services for
        adolescents).
     The TFPP offers a wide range of FDA approved methods, including:
             o Male and female sterilization surgery
             o Hormonal IUDs
             o Copper IUD
             o Implant
             o Hormonal injection
             o Combined oral contraceptive pills
             o Progestin-only contraceptive pills
             o Hormonal patch
             o Vaginal ring




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            o   Diaphragm
            o   Sponge
            o   Internal and external condoms
            o   Non-hormonal vaginal gel
            o   Spermicide
            o   Fertility-based awareness methods
            o   Emergency contraception pills


Procedure:
    All TFPP clinic sites must submit Exhibit C: Services Provided document Family Planning -
      Exhibit C (Services Provided) DropBox - Folders (sharepoint.com) on a quarterly basis (April,
      July, October, January) or with any change in services provided.
    Services provided by TFPP service sites, when viewed in its entirety, provide a
      broad range of acceptable and effective methods and services.
    Bi-annual medical record reviews demonstrate that clients are offered a broad range of
      acceptable and effective family planning methods and services.
    A review of the current stock of contraceptive methods demonstrates that a broad range of
      methods, including LARCs, are available on‐site or by referral. All methods available on‐site are
      in stock with no outdated contraceptive methods.
    The TFPP Formulary may be a viewed on Sharepoint: Family Planning - Formulary - Folders
      (sharepoint.com)
    All services listed in QFP are offered to clients, including adolescents as specified in clinical
      protocols.
    The RWH Clinical Trainers ensures clinic protocols for contraceptive methods are reviewed and
      updated yearly.
    Method specific client information sheets are available and reviewed annually.
    TFPP ensures that a broad range of acceptable and effective family planning methods, including
      LARCs, are available through the service sites, optimally on-site, or by referral.
    Consent forms are required for procedures (IUD’s and Implants). Family Planning - Consent
      Forms - Folders (sharepoint.com).
    Central Office Family Planning Program staff monitors to ensure compliance with this requirement
      as part of the Family Planning Program site visit at least once per grant period.
    Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
      be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
    Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
      Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
      Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                       DURATIONAL RESIDENCY
Services must be provided without the imposition of any durational residency requirement or requirement
that the client be referred by a physician (42 CFR 59.5(b)(5)).
 Policy Information:          Description:
 Policy Title                 Durational Residency
 Effective Date               May 2022
 Revision Dates               May 15, 2022
 Review Due Date              May 2023
 References                   Code of Federal Regulations 42 CFR 59.5(b)(5) https://www.ecfr.gov/cgi‐
                              bin/text‐
                              idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&
                              rgn=div6#se42.1.59_15

 Approved by                  Danni Lambert, RN
 Signature                    State Family Planning Director
 Approved Date                May 15, 2022

Purpose: The purpose of this policy is to describe how the TFPP will address the requirements mandated
by Project Grants for Family Planning Services regulation https://www.ecfr.gov/current/title-42/chapter-
I/subchapter-D/part-59#p-59.5(b)(5) .


Policy:
         The Tennessee Family Planning Program shall ensure adherence to Office of Population
          Affairs/Title X federal regulation that services must be provided without the imposition of any
          durational residency requirement or requirement that the client be referred by a physician.

Procedure:
         The Tennessee Family Planning Program ensures compliance with all applicable laws and
          regulations. This procedure provides safeguards to ensure the Tennessee Family Planning
          Program complies with Office of Population Affairs Durational Residency requirement.
         The TFPP has a policy prohibiting the use of any residency requirement to access Title X
          services at any service site.
         TFPP service sites will maintain documentation to verify that services are provided without the
          imposition of any durational residency or physician referral requirements.
         TFPP Staff are trained on this policy upon initial onboarding. Updates or changes to this policy
          shall be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
         TFPP key central The grantee will monitor subrecipients and service sites to ensure compliance
          with this requirement during service site reviews.




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   TFPP staff may access this policy virtually on Sharepoint at: Family Planning - Family Planning
    Policy & Procedure - Folders (sharepoint.com). A paper version is in the Family Planning
    Administrative Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES
                            PREGNANCY TESTING AND DIAGNOSIS
Clients served in Title X-funded settings must be offered the opportunity to be provided information and
counseling regarding each of the following options:
      Prenatal care and delivery;
      Infant care, foster care, or adoption; and
      Pregnancy termination.
If requested to provide such information and counseling, provide neutral, factual information and
nondirective counseling on each of the options, and referral upon request, except with respect to any
option(s) about which the pregnant client indicates they do not wish to receive such information and
counseling. (42 CFR 59.5 (a)(5))
 Policy Information:       Description:
 Policy Title              Pregnancy Testing and Diagnosis
 Effective Date            October 4, 2021
 Revision Dates            May 16, 2022
 Review Due Date           May 16, 2023
 References                Code of Federal Regulations https://www.ecfr.gov/current/title-42/chapter-
                           I/subchapter-D/part-59/subpart-A/section-59.5
                           Providing Quality Family Planning Services
                           https://opa.hhs.gov/sites/default/files/2020-10/providing-quality-family-planning-
                           services-2014_1.pdf
                           Title X of the Public Health Service Act, 42 U.S.C. 300, et seq.
                           https://sgp.fas.org/crs/misc/RL33644.pdf
                           Conscientious Objection to Abortion Counseling and Referral – 3.12
                           file:///C:/Users/dc60al2/Desktop/Policies%202022/GM_3.12_ConscientiousObj
                           ection.pdf
 Approved by               Danni Lambert, RN
 Signature                 State Family Planning Director
 Approved Date             May 17, 2022
Purpose: The purpose of this policy is to describe Tennessee Family Planning Program’s process for
ensuring compliance with the requirement to provide pregnancy testing and diagnosis services to all
clients in need of these services.

Policy:
     All TFPP service sites will provide pregnancy testing and diagnosis services to all clients in need
        of these services.
     Once a client served by a Title X project is medically verified as pregnant, the client will be
        provided a referral to appropriate providers of follow-up care is be made at the request of the
        client, as needed.

Procedure:
    TFPP staff offer the client information and counseling regarding each of the following options:




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        o   Prenatal care and delivery;
        o   Infant care, foster care, or adoption; and
         o Pregnancy termination.
   If requested to provide such information and counseling, TFPP staff provide neutral, factual
    information and nondirective counseling on each of the options, and referral upon request, except
    with respect to any option(s) about which the pregnant client indicates they do not wish to receive
    such information and counseling
   TFPP staff will provide information for both continuing and discontinuing pregnancy as desired by
    the patient
   The TFPP process for ensuring written clinical protocols regarding pregnancy testing and
    diagnosis are in accordance with the recommendations presented in the QFP, including
    reproductive life planning discussions and medical histories that include any coexisting
    conditions.
   Process for ensuring clients with a positive pregnancy test and who are in need of services who
    wish to continue the pregnancy receive initial prenatal counseling and are assessed regarding
    their social support.
   Process for ensuring clients with a negative pregnancy test who do not want to become pregnant
    are offered same-day contraception, if appropriate.
   The types of documentation that will be maintained to demonstrate referrals for abortion have
    only occurred in cases of medical emergencies, or in the case of incest or rape.
   The types of documentation that will be maintained to demonstrate that pregnancy testing, and
    diagnosis services are: 1) provided in accordance with QFP and 2) available and offered to all
    clients in need of these services.
   For detailed guidance please see Nursing Protocol 2.110 Pregnancy Test Conducted In A Family
    Planning Visit CHS/CLS/NURS - 2.110 Pregnancy Test 02012022 signed.pdf - Folders
    (sharepoint.com)
   TFPP/TDH ensures the conscience protections that apply to health care providers who refuse to
    perform, accommodate, or assist with certain health care services on religious or moral grounds.
         o Clinical staff who declare a conscientious objection to pregnancy termination will be
              required to immediately defer pregnancy all options counseling as prescribed by Title X to
              another clinician.
         o To comply with Title X of the Public Health Service Act, 42 U.S.C. 300, et seq., this policy
              applies to Local Health Department, Regional, and Central Office personnel.
         o Staff members who have a conscientious objection to abortion counseling and referral
              must ensure their direct supervisor is aware.
         o Abortion counseling and referral responsibilities will be deferred to another qualified staff
              member in person or via telehealth. Counseling the same day and by the same provider
              is preferred but should be within 1-2 business days.
   Grantee’s process for monitoring subrecipients and service sites to ensure compliance with this
    requirement.
   Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
    be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call
   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
    Procedure - Folders (sharepoint.com)). A paper version is in the Family Planning Administrative
    Manual.




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         TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                             TELEHEALTH
Telehealth adoption in the U.S. has increased dramatically, and Title X supports the use of telehealth
services as an option for their clients. Telehealth will help expand our capacity to provide services and
increase community access to family planning services. Telehealth services support national efforts to
achieve health equity by supporting the enhancement and expansion of telehealth services provided by
Title X grantees.
 Policy Information:        Description:
 Policy Title               Telehealth
 Effective Date             June1, 2022
 Revision Dates             May 10, 2022
 Review Due Date            May 2023
 References                 Code of Federal Regulations 42 CFR 59.5(b)(1) Provide Medical
                            Services Related to Family Planning
                            https://www.govinfo.gov/content/pkg/FR-2021-10-07/pdf/2021-
                            21542.pdf

                            TN Code Annotated, Sec. 56-7-1002 & Sec. 56-7-1012, as amended by
                            SB 2453 and HB 2655 (2022 session) (Accessed Apr.2022)
                            https://www.capitol.tn.gov/Bills/112/Bill/HB0620.pdf
                            https://www.capitol.tn.gov/Bills/112/Bill/HB2655.pdf
 Approved by                Danni Lambert, RN
 Signature                  State Family Planning Director
 Approved Date              May 10, 2022

Purpose: The purpose of this policy is to describe Tennessee Family Planning Program’s
process for providing telehealth services in the Title X program. This policy will ensure that
telehealth services are provided appropriately, and allow both clinical and nonclinical services
(e.g., counseling and education) to be provided via telehealth methods. This policy will ensure
compliance with Title X requirements.

Policy: Our policy is to provide telehealth as an option for family planning service delivery to
enhance access in ways that are convenient, safe, and equitable for our clients. Every effort
was made to capture the most recent policy language in Tennessee at the time it was
reviewed.
Terminology
     Telehealth. For purposes of this policy and procedure, by telehealth we mean the
       discrete set of codes promulgated by the Centers of Medicare & Medicaid Services
       (CMS) that can either be provided in-person or by using an interactive audio and video
       telecommunications system that permits real-time communication between the clinician
       at the distant site and the beneficiary at the originating site.
     Distant site. We are the distant site when we deliver telehealth services to clients at a
       different location, including their home.




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     Originating site. This is the site where the client is and may be when:
                   TFPP delivers telehealth services to a client at a different location,
                     including their home – either of which would be the originating site, or
                   A clinician/specialist at a different location delivers telehealth services to a
                     client at our clinic, making our clinic the originating site.
Procedure:
    Sharepoint Telehealth Workflow: Family Planning - Telehealth Contraceptive Initiation
      & management workflow DL.pdf - Folders (sharepoint.com) and Family Planning -
      Telehealth work up flow sheet DL.pdf - Folders (sharepoint.com)
    Scheduling as Originating Site
         o Specific Family Planning Telehealth laptop computers are available at all Family
             Planning clinic sites. When a TFPP is scheduled to receive telehealth family
             planning services at our , TFPP staff will provide a private space with camera,
             microphone, and privacy for the client to engage in the telehealth visit. The client
             will be advised to arrive 20 minutes prior to the appointment to set up and test
             the equipment. The client will be offered a knowledgeable staff member to
             accompany the visit to ensure a smooth telehealth experience. Prior to the visit,
             we will ensure that:
                   The provider has been provided with the medical records needed for the
                     visit while adhering to the HIPAA Privacy rule governing “minimum
                     necessary” when providing records/information.
                   TFPP staff are clear on their roles and responsibilities, especially around
                     consent, documentation, and payment.
                   A TFPP appointment/referral has been entered into PTBMIS/EHR to
                     close the loop and ensure that our provider has signed the referral
                     notes/results

      Scheduling as Distant Site
          o When a client calls 1-833-690-0223 or visits https://www.familyplanningtn.com/ to
            schedule an appointment they will be offered an in-person or telehealth visit. If
            the client chooses telehealth, staff will establish whether the reason for the visit
            and/or chief complaint is appropriate for a telehealth appointment. If the client’s
            needs or conditions change the client may need to be seen in person or seek
            urgent/emergent care. Staff will also ensure clients are clear on the expectations
            (i.e., must have a quiet place to take the telehealth visit, no multitasking) and the
            cost requirements as clients are often surprised that the cost/reimbursement for a
            telehealth visit is the same as an in-person visit. If client is a minor, follow TFPP
            confidentiality policies governing when minors seek family planning services.
            Staff will ask ““Do you have a smartphone, tablet, or desktop computer with
            camera and internet?” If clients have one of the three, they are considered
            “video-capable”. Staff will note video capability and document.
          o Client will be sent appointment confirmation by email or text, depending on client
            preference, with date/time of appointment with link for telehealth visit and
            instructions for connecting and an offer for a “test” telehealth visit.

      Day of Visit




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       o  All clinic participants on the call will clearly introduce themselves to the client and
          wear or otherwise display their first and last names and credentials.
       o Provider will:
               Confirm the client’s identity – picture on file, name, date of birth, etc.
               Conduct intake, including the portions usually performed by reception
                   staff for in-person visits
               Advise the client how to make their copay when applicable.
               Discuss back up plan for if the audio or video fails or the technology
                   otherwise is not working for the client or the care team, including a
                   number to call the client or for the client to call the provider
               Obtain state required General Consent for Health Services Family
                   Planning - GENERAL CONSENT FOR HEALTH SERVICES.pdf - Folders
                   (sharepoint.com) and/or ACROBAT Sign PH1530 for Telehealth Use
                   consent Family Planning - Acrobat Sign PH1530 for Telehealth
                   Use_encrypted_.pdf - Folders (sharepoint.com)
               As appropriate, obtain consent for the telehealth visit, depending on
                   client’s primary insurance:
                   Current State Laws & Reimbursement Policies https://www.cchpca.org/
                        Perform check-out for the client at the conclusion of the visit as
                            per our procedure for in-person visits, including asking the client if
                            they have any additional questions about their treatment plan
                            and scheduling any follow-up or other visits
   TFPP provider will:
       o Document as per requirements for the given type of visit (e.g., Quick Start,
          Emergency Contraception, management/office visit, etc.)
       o Enter the appropriate billing code with modifiers, etc., depending on insurer
       o Communicate with client’s preferred pharmacy or local Health Department for
          any prescriptions.
       o Follow up on all orders/referrals, etc.
       o As needed, ensure client is clear on co-payment/deductible amounts and how to
          pay
       o Send telehealth follow-up survey to client per their preferences English:
          https://redcap.link/fpthsurvey_e, Spanish: https://redcap.link/fpthsurvey_s

   HIPAA Privacy
    • Clients will be advised to be in a private setting or use headset/ear buds and must
    identify for the provider(s) any other individuals that are present.
    • TFPP Provider(s) must be in a private space (e.g., exam room or office) or wear
    headset/ear buds to ensure conversations are private.
   HIPAA Security
    All efforts have been made to ensure the security of client’s protected health information
    (PHI) through use of HIPAA-compliant devices and telehealth platforms for both the
    client and clinical staff. All other contingencies have been made; the Security Officer has
    reviewed our policies and procedures to ensure that we are HIPAA-compliant and have
    mitigated any risks, including updating the security risk analysis with any changes
    resulting from the use of telehealth.
   Monitoring & Training




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  o   Tennessee family planning central office staff monitors telehealth services to
      ensure compliance with Title X guidelines..
  o   TFPP Staff will be trained on this policy upon initial onboarding. Updates or
      changes to this policy shall be provided, as needed, via memo and/or the
      TEAMS Monthly FPA virtual conference call.
  o   Staff can access this policy virtually on Sharepoint at: Family Planning -
      Telehealth Policy & Procedure - Folders (sharepoint.com). A paper version is in
      the Family Planning Administrative Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                         COMPLIANCE WITH LEGISLATIVE MANDATES
Title X grantees must comply with applicable legislative mandates set out in the HHS appropriations act.
Grantees must have written policies in place that address these legislative mandates.
 Policy Information:        Description:
 Policy Title               Compliance with Legislative Mandates
 Effective Date             April 1, 2022
 Revision Dates             March 2022
 Review Due Date            March 2023
 References                 Ensuring Access to Equitable, Affordable, Client-Centered, Quality Family
                            Planning Services (42 CFR Part 59, October 2021)
                            Title X Statue Section 1001: https://opa.hhs.gov/sites/default/files/2020-07/title-
                            x-statute-attachment-a_0_0.pdf
                            Regulations- Family Planning Program Regulations 42CFR59 Grants for Family
                            Planning Services - Subpart A - Project Grants for Family Planning Services
 Approved by                Danni Lambert, RN
 Signature
                            State Family Planning Director
 Approved Date              March 10, 2022

Purpose: The purpose of this policy is to address the requirements mandated by the
Ensuring Access to Equitable, Affordable, Client-Centered, Quality Family Planning Services (42 CFR
Part 59, October 2021), which provides funding to the Tennessee Family Planning Program. The intent of
this policy is to provide information on Title X Legislative mandates. Legislative mandates remain in effect
until a new Final Rule is passed setting a new list of requirements.

Policy: The Tennessee Family Planning Program shall adhere to Office of Population Affairs/Title X
federal legislative mandates through policy creation, implementation, and monitoring. The legislative
mandates are available at: https://opa.hhs.gov/grant-programs/title-x-service-grants/title-x-statutes-
regulations-and-legislative-mandates.

The current Legislative Mandates have been part of the Title X appropriations language for each of the
last several years. These mandates remain in effect until a new Final Rule is passed and include the
following:

“None of the funds appropriated in this Act may be made available to any entity under Title X of the Public
Health Service Act unless the applicant for the award certifies to the Secretary of Health and Human
Services that it encourages family participation in the decision of minors to seek family planning services.”

Notwithstanding any other provision of law, no provider of services under Title X of the Public Health
Service Act shall be exempt from any State law requiring notification or the reporting of child abuse, child
molestation, sexual abuse, rape, or incest.




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The Tennessee Family Planning Program services include administrative, clinical, counseling, and
referral services necessary that ensure adherence to these requirements:

Procedure:
    The Tennessee Family Planning Program ensures compliance with all applicable laws and
      regulations. This procedure provides safeguards to ensure the Tennessee Family Planning
      Program complies with Office of Population Affairs/Title X Federal Legislative Mandates.
           o Family Planning providers encourage and promote communication between the
                adolescent and his or her parent(s) or guardian(s) about sexual and reproductive health.
                (QFP page 13 , references 71-86) A pdf of the QFP is available on Sharepoint: Family
                Planning - QFP.pdf - Folders (sharepoint.com) and on the CDC website: rr6304.pdf
                (cdc.gov)
           o Counseling about family participation adhere to general counseling best practices
                outlined in QFP. The five principles for providing quality counseling are relevant when
                working with all clients, including teens. These quality principles include:
                      Establish and maintain rapport with the client
                      Assess the client’s needs and personalize discussions accordingly
                      Work with the client interactively to establish a plan
                      Provide information that can be understood and retained by the client
                      Confirm client understanding
           o All cases of suspected child abuse/neglect or child sexual abuse shall be reported
                immediately to proper authorities. Tennessee’s mandatory child abuse reporting
                law, TCA 37-1-403 and TCA 37-1-605.
    The Tennessee Family Planning Program’s training plan Training Plan Title X 2022.docx
      (sharepoint.com) ensures mandatory annual training on involving family members in the decision
      of minors to seek family planning services and Tennessee State laws requiring mandatory
      reporting of child abuse, child molestation, sexual abuse, rape, or incest.
    All staff involved in Family Planning are required to complete annual training on specific Family
      Planning policies and procedures including encouraging family participation in the decision of
      minors to seek family planning services and Tennessee State laws requiring mandatory reporting
      of child abuse, child molestation, sexual abuse, rape, or incest. Staff are trained upon initial
      employment orientation and annually thereafter.
    All staff involved in Family Planning are required to complete annual training on specific Family
      Planning policies and procedures. Staff are trained upon initial employment orientation and
      annually thereafter.
    Specific training verification forms are used, by the Family Planning Administrator, to report
      completed trainings to Central Office program staff. Semi-annual Reports are uploaded into
      Sharepoint Family Planning - Training Report DropBox - Folders (sharepoint.com) by April 20th
      and October 20th. Each Family Planning service site maintains individual staff training
      documentation.
    Central Office Family Planning Program staff monitors training records uploaded into Sharepoint
      to ensure compliance with this requirement and that all guidelines are met
    Maintenance of site-specific training records is verified as part of the Family Planning Program
      site visit at least once per grant cycle.
    Family Planning staff will be trained on these policies upon initial onboarding. Updates or
      changes to these policies shall be provided, as needed, via memo and/or the TEAMS Monthly
      FPA virtual conference call
    Family Planning staff can access policies virtually on Sharepoint at: Family Planning - Family
      Planning Policy & Procedure - Folders (sharepoint.com). A paper version is in the Family
      Planning Administrative Manual




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                                 CONFIDENTIALITY




                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                           CONFIDENTIALITY
Every project must have safeguards to ensure client confidentiality. Information obtained by project staff
about an individual receiving services may not be disclosed without the individual’s documented consent,
except as required by law or as may be necessary to provide services to the individual, with appropriate
safeguards for confidentiality. Concern with respect to the confidentiality of information may not be used
as a rationale for noncompliance with laws requiring notification or reporting of child abuse, child
molestation, sexual abuse, rape, incest, intimate partner violence, human trafficking, or other similar
reporting laws. Information may otherwise be disclosed only in summary, statistical, or other form that
does not identify the individual (42 CFR 59.11).
 Policy Information:       Description:
 Policy Title              Confidentiality
 Effective Date            April 1, 2022
 Revision Dates            March 4, 2022
 Review Due Date           March 2023
 References                Health Insurance Portability and Accountability Act (HIPAA)
                           https://www.hhs.gov/hipaa/index.html
                           TDH HIPAA Policies and Procedures Manual
                           https://www.tn.gov/content/dam/tn/health/documents/TDH-HIPAA-Manual.pdf
                           HIPAA: Health Insurance Portability Accountability Act
                           https://www.tn.gov/health/health-program-areas/hipaa.html
                           HIPAA Hybrid Designation
                           https://www.tn.gov/content/dam/tn/health/documents/HIPAA-Hybrid-Entity-
                           Designation.pdf
                           Tennessee Code. Title 68 - Health, Safety and Environmental Protection Health
                           Chapter 11 - Health Facilities and Resources Part 15 - Patient’s Privacy
                           Protection Act § 68-11-1503. https://law.justia.com/citations.html
                           Confidentiality.
                           Code of Federal Regulations 42 CFR 59.11 https://www.ecfr.gov/cgi-bin/text-
                           idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                           gn=div6#se42.1.59_15
 Approved by               Danni Lambert, RN
 Signature                 State Family Planning Director
 Approved Date             March 10, 2022

Purpose: The purpose of this policy is to describe Tennessee Family Planning Program process for
ensuring compliance with the requirement to establish safeguards for ensuring client confidentiality. To
establish clear expectations regarding all aspects of confidentiality.




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Policy:
     TFPP requires that all service sites safeguard confidentiality.
     All staff will be informed (at least once per grant cycle) about policies related to preserving client
        confidentiality and privacy.
     Medical records system will have safeguards in place to ensure adequate privacy, security, and
        appropriate access to personal health information.
     The current “TDH Notice of Privacy Practices” shall be available in all offices of
        TDH.
     TDH will provide a copy of the current “TDH Notice of Privacy Practices” to any
        client requesting a copy. However, when TDH is a client’s direct provider, TDH is
        required to give a copy of the notice to the client on the first date the client receives
        services. TDH must have each client who receives direct care from TDH to sign an
        acknowledgement of receiving the notice on their first date of service. If TDH cannot
        get a signed acknowledgement, then TDH will document the reason why one was not
        received in the client’s record. Acknowledgement of receipts of the notice, and/or
        documentation of good faith effort to obtain written acknowledgement must be
        maintained for six years.
        https://www.tn.gov/content/dam/tn/health/documents/Privacy_Pamphlet.pdf
        https://www.tn.gov/content/dam/tn/health/documents/Privacy_Pamphlet_SP.pdf
     General consent forms will be provided in a confidential manner and will note any limitations that
        may apply. Family Planning - GENERAL CONSENT FOR HEALTH SERVICES.pdf - Folders
        (sharepoint.com)

Procedure:
       Please see the TDH HIPAA Policies and Procedures Manual
        https://www.tn.gov/content/dam/tn/health/documents/TDH-HIPAA-Manual.pdf for full details.
       TFPP stall shall act in accordance with established TDH policy and procedures regarding the
        safeguarding of client PHI. All TDH employees will seek guidance from supervisors according to
        established TDH policy and procedures. TDH workforce members should consult with their
        Subsidiary Privacy Officer or the Department Privacy Officer in appropriate circumstances
       All TFPP and TDH employees are required to complete HIPAA training upon initial onboarding
        and annually thereafter.
       This annual training is administered, and compliance documented through the Edison employee
        learning management center.
        https://hub.edison.tn.gov/oaam_server/login.do;jsessionid=T2bitFGrFwv8vG-JxISI4LD_L3qAe-
        tFYoHaDYIpQ8NNDkMbIJUQ!926021466!1257625545




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     COMMUNITY PARTICIPATION, EDUCATION, &
             PROJECT PROMOTION



                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                 COLLABORATIVE PLANNING AND COMMUNITY ENGAGEMENT
Title X grantees and subrecipient agencies must provide, to the maximum feasible extent, an opportunity
for participation in the development, implementation, and evaluation of the project by persons broadly
representative of all significant elements of the population to be served; and by persons in the community
knowledgeable about the community’s needs for family planning services (42 CFR 59.5(b)(10)).
 Policy Information:         Description:
 Policy Title                Collaborative Planning and Community Engagement
 Effective Date              April 1, 2022
 Revision Dates              March 4, 2022
 Review Due Date             March 2023
 References                  Code of Federal Regulations 42 CFR 59.5(b)(10) https://www.ecfr.gov/cgi-
                             bin/text-
                             idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                             gn=div6#se42.1.59_15

 Approved by                 Danni Lambert, RN
 Signature                   State Family Planning Director
 Approved Date               March 10, 2022

Purpose: The purpose of this policy is to describe Tennessee Family Planning Program’s process for
ensuring compliance with the requirement to establish a system for ensuring opportunities for
participation to individuals who represent significant elements of the population served by the TFPP
project, including participating in activities related to the development, implementation, and evaluation of
the Title X project.

Policy:

         TFPP and TDH has established community engagement plans that ensure individuals who are
          broadly representative of the population be served, and those who are knowledgeable about the
          community’s needs for family planning services, will participate in developing, implementing, and
          evaluating the Title X project.

Procedure:
         If the I&E Advisory Committee meets the requirements, it may serve in the Community
          Participation role, or a separate group can be identified, such as a public health advisory
          committee.
         The Community Participation Committee is supportive of the Title X program mission and work
          with similar populations.




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   Community Participation Committee members can, but are not limited to:
        o Assist with program problem solving.
        o Offer feedback about the programs strengths and areas that need improvement.
        o Serve as advocates who can aid in increasing the understanding or need for the program
              within the community.
        o Offer feedback on Work Plans and annual action plans.
   The Community Participation Committee, or I&E Advisory Committee, if it meets the
    requirements, will meet once a year, or more as needed.
   The committee will review annual or quarterly data reports at the meeting and distribute them
    prior to the meeting. Meeting minutes will be kept.
   The FPA submits reports gathered by the Community Participation Committee (I&E
    Advisory Committee) as according to Report Due Dates and deliverable timeline
    (Attendance, discussion topics, minutes). Education Material Review form can be found
    on Sharepoint: TFPP IE Advisory Committee Review Form 2022.docx (sharepoint.com).
   I&E Committee documentation is submitted at least annually via Sharepoint: Family
    Planning - I&E Committee Reports DropBox - Folders (sharepoint.com)
   State director monitors Sharepoint to ensure all requirements are submitted
    appropriately and guidelines are met.
   Staff will be trained on this policy upon initial onboarding. Updates or changes to this
    policy shall be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual
    conference call
   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning
    Policy & Procedure - Folders (sharepoint.com). A paper version is in the Family
    Planning Administrative Manual




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                                        SOCIAL MEDIA POLICY
Social media can include, but is not limited to web and mobile phone applications, curated blog
posts, news, and story sharing sites, photo and video sharing sites, micro‐blogging, etcetera, that can be
used to enhance the community awareness and education efforts of the project. (42 CFR 59.5(b)(3))
 Policy Information:         Description:
 Policy Title                Social Media Policy
 Effective Date              December 20, 2021
 Revision Dates
 Review Due Date             December 20, 2022
 References                  42 CFR 59.5(b)(3)) https://www.ecfr.gov/current/title-42/chapter-I/subchapter-
                             D/part-59/subpart-A
                             Tennessee Department of Health Communication Policy
                             file:///C:/Users/dc60al2/Desktop/Policies%202022/21-5-Tennessee-
                             Department-of-Health-Communication-Policy.pdf
 Approved by                 Danni Lambert, RN
 Signature
                             State Family Planning Director
 Approved Date               March 10, 2022
Purpose: The purpose of this policy is to describe Tennessee Family Planning Program’s process for
ensuring compliance with the requirement to provide for community information and education.
Tennessee Department of Health (TDH) Office of Communication and Media
Relations is designated by the Commissioner of Health to direct and coordinate the provision of
accurate, consistent, and impactful information concerning the department to both internal and external
parties, in alignment with and support of the TFPP & TDH strategic goals.

Policy:
This policy is available for inspection and duplication in the Office of Communications
and Media Relations and is posted online at https://www.teamtn.gov/health/tdh-policies.html

Procedure:
         Social media platforms may be used to facilitate communication, information sharing,
          collaboration, and engagement among users. TDH & TFPP employs social media tools as one of
          several means of serving, connecting, and interacting with Tennesseans to further the goals and
          mission of the TFPP.
         TFPP social media interactions, like other interactions with our clients and the public, are
          organized, consistent and accurate and follow TFPP and state of Tennessee policies for
          acceptable use.
         All TFPP/TDH social media platforms and accounts are administered and maintained by the
          Office of Communication and Media Relations. TDH has an overriding interest and responsibility
          to decide what is "spoken" on its behalf on social networking and social media sites. The TFPP




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    program work through the Office of Communication and Media Relations to determine whether
    the use of social media and/or social networking is appropriate for the particular circumstance to
    further their objectives and goals.
   Only individuals authorized by the TDH Director of Communication and Media Relations or
    his or her designee may publish content to the TDH website or state agency social
    computing technologies.
   All official TFPP communication through social media and social networking outlets will
    remain professional in nature and always be conducted in accordance with the TDH
    communication policy, practices, and expectations.
   Approval and Registration
         o All TDH social media sites shall be (1) approved by the director of the Office of
              Communication and Media Relations; (2) published using approved social
              networking platform and tools; and (3) administered by the director of the Office of
              Communication and Media Relations or his or her designee.
   Please find the entire Tennessee Department of Health Communication Policy at:
    https://www.teamtn.gov/content/dam/teamtn/health/documents/policies/21-5-Tennessee-
    Department-of-Health-Communication-Policy.pdf




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                           COMMUNITY AWARENESS AND EDUCATION
Each family planning project must provide for community information and education programs.
Community education should serve to achieve community understanding of the objectives of the project,
make known the availability of services to potential clients, and encourage continued participation by
persons to whom family planning services may be beneficial. (42 CFR 59.5(b)(3)). The community
education program(s) should be based on an assessment of the needs of the community and should
contain an implementation and evaluation strategy.
 Policy Information:        Description:
 Policy Title               Community Awareness and Education
 Effective Date             April 1, 2022
 Revision Dates             March 4, 2022
 Review Due Date            March 2023
 References                 Code of Federal Regulations 42 CFR 59.5(b)(3) https://www.ecfr.gov/cgi-
                            bin/text-
                            idx?SID=c1cbd72e13f7230f1e8328fa52b57899&mc=true&node=sp42.1.59.a&r
                            gn=div6#se42.1.59_15
                            Public Health Assessments https://www.tn.gov/health/health-program-
                            areas/tennessee-vital-signs/redirect-tennessee-vital-signs/county-health-
                            assessment.html
 Approved by                Danni Lambert, RN
 Signature                  State Family Planning Director
 Approved Date              March 10, 2022

Purpose: The purpose of this policy is to describe Tennessee Family Planning Program process for
ensuring compliance with the requirement to provide for community information and education programs.

Policy:

         TFPP ensures an established community education and service promotion plan that:
             o This plan purpose is to achieve community understanding of the objectives of the of the
                TFPP project, make known the availability of TFPP services to potential clients, and
                encourages continued participation by persons to whom family planning may be
                beneficial,
             o promotes the use of family planning among those with unmet need,
             o utilizes an appropriate range of methods to reach the community, and
             o includes an evaluation strategy.



Procedure:




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   TFPP and health education staff make efforts to make services known to the target population of
    the Title X program. Including people from low-income families, people of color, and others who
    have been historically underserved, marginalized, and adversely affected by persistent poverty
    and inequality.
   TFPP utilizes accepted, appropriate, valid, and reliable community assessment tools to
    determine community educational needs. Needs Assessment can be found on the TDH website.
   TFPP FPA’s facilitate community awareness and access to program services,
   All FPA’s must establish and implement community education and promotional activities. These
    can include, but are not limited to:
         o Participation in community events and activities to increase awareness of program
             services and distribute educational materials.
         o Implementation of social media as a community outreach and education tool.
         o Utilization the Social Media Outreach and Family Planning website(s).
         o Educational classes in schools, community groups and providers as requested and /or
             needed.
         o Education to other service agencies and institutions that can be of assistance in meeting
             program needs.
   Promotion activities and outreach are reviewed biannually by the FPA. This is to ensure
    responsiveness to the changing needs of the Family Planning needs of our communities. Family
    Planning - Semi-annual FPOP Progress Reports 2022 - Folders (sharepoint.com)
   FPA’s are required to submit an annual Family Planning Outreach Plan (FPOP) to Family
    Planning director by April 15th. Family Planning - Family Planning Outreach Plans - Folders
    (sharepoint.com)
   State director monitors Sharepoint to ensure all requirements are submitted appropriately and
    guidelines are met.
   Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
    be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
    Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
    Manual




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          INFORMATION & EDUCATION MATERIALS
                      APPROVAL



                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                         MATERIALS REVIEW AND APPROVAL PROCESS
Title X grantees and subrecipient agencies are required to have a review and approval process, by an
Advisory Committee, of all informational and educational (I&E) materials developed or made available
under the project prior to their distribution (Section 1006(d)(2), PHS Act; 42 CFR 59.6(a)).
 Policy Information:         Description:
 Policy Title                I&E Materials Review and Approval Process
 Effective Date              April 1, 2022
 Revision Dates              March 4, 2022
 Review Due Date             March 2023
 References                  Code of Federal Regulations 42 CFR 59.6(a) https://www.ecfr.gov/current/title-
                             42/chapter-I/subchapter-D/part-59/subpart-A/section-59.6#p-59.6(a)

 Approved by                 Danni Lambert, RN
 Signature                   State Family Planning Director
 Approved Date               March 10, 2022

Purpose: The purpose of this policy is to describe the Tennessee Family Planning Program process for
ensuring compliance with the requirement to establish a review and approval process, by an Information
& Education/Advisory (I&E) Committee, of Information & Educational materials (print or electronic)
developed or made available under the Title X project, prior to their distribution.

Policy:
    ●     All I&E materials developed or made available under the Title X project will be reviewed and
          approved by an I&E/Advisory Committee prior to their distribution.

    ●     While I&E materials shared on social media must undergo an I&E Advisory Committee review
          and approval process, social media posts themselves do not require I&E Advisory Committee
          approval and are instead subject to the Tennessee Department of Health Communication Policy
          number 21-5. This policy is available for inspection and duplication in the Office of
          Communications and Media Relations and is posted online at https://www.teamtn.gov/health/tdh-
          policies.html

Procedure: The Tennessee Family Planning Program requires that each Region, Metro, or contracted
Family Planning Administrator establishes and implements a materials review and approval process for all
their service sites.

Process: The Family Planning Administrator (FPA) shall ensure the review and approval of informational
and educational materials (print and electronic) developed or made available under the project by an




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I&E/Advisory Committee prior to their distribution, to ensure that the materials are suitable for the
population or community to which they are to be made available and the purposes of Title X. The program
shall not disseminate any materials which are not approved by the I&E/Advisory Committee.
   ●   The FPA is responsible for establishing and maintaining an Information and Education/Advisory
       Committee (I&E) as follows:
                   ▪   Size - The committee shall consist of no fewer than five members and up to as
                       many members as the FPA determines necessary.
                   ▪   Composition - The committee shall include individuals broadly representative of
                       the population or community for which the materials are intended (in terms of
                       demographic factors such as race, ethnicity, color, national origin, disability, sex,
                       sexual orientation, gender identity, sex characteristics, age, marital status,
                       income, geography, and including but not limited to individuals who belong to
                       underserved communities, such as Black, Latino, and Indigenous and Native
                       American persons, Asian Americans and Pacific Islanders and other persons of
                       color; members of religious minorities; lesbian, gay, bisexual, transgender, and
                       queer (LGBTQ+) persons; persons with disabilities; persons who live in rural
                       areas; and persons otherwise adversely affected by persistent poverty or
                       inequality).
                   ▪   Function - In reviewing materials, the I&E/Advisory committee shall:
                           ●   Consider the educational, cultural, and diverse backgrounds of
                               individuals to whom the materials are addressed.
                           ●   Consider the standards of the population or community to be served with
                               respect to such materials.
                           ●   Review the content of the material to ensure that the information is
                               factually correct, medically accurate, culturally, and linguistically
                               appropriate, inclusive, and trauma informed.
                           ●   Determine whether the material is suitable for the population or
                               community to which it is to be made available; and
                           ●   Establish a written record of its determinations.
                   ▪   Criteria - Documentation and reports utilized by the I&E/Advisory Committee
                       members.
                                   o    Meeting Agenda
                                   o    Meeting Minutes
                                   o    Documentation of Work Plan review/approval
                                   o    Roster of committee members and demographics- Family
                                        Planning - Demographic Information Sheet Fillable.pdf - Folders
                                        (sharepoint.com)
                                   o    Sample of each reviewed handout, brochure, website, or poster
                                   o     Materials review form- Family Planning - TDH IE Material Review
                                         Committee Fillable Form.pdf - Folders (sharepoint.com)
                                   o List of materials reviewed including dates reviewed and
                                         approved via the I&E Materials Inventory Log- I E
                                         materials_inventory_log_2020.xlsx (sharepoint.com)
                                   o Any education/updates presented to your committee
                   ▪   Frequency - I&E/Advisory committee shall convene as needed to review
                       materials, but it must meet at least annually
   ●   Tennessee family planning state program director monitors FPA’s and service sites to ensure
       compliance with this requirement.




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●   Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
    be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
●   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
    Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
    Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                              ADVISORY COMMITTEE MEMBERSHIP
Each Title X grantee must have an Advisory Committee of at least five members, except that the size
provision may be waived by the Secretary for good cause shown (42 CFR 59.6(b)(1)). An Advisory
Committee must review and approve informational and educational (I&E) materials developed or made
available under the project prior to their distribution to ensure that the materials are suitable for the
population and community for which they are intended and to ensure their consistency with the purposes
of Title X (Section 1006(d)(1), PHS Act; 42 CFR 59.6(a)).
 Policy Information:        Description:
 Policy Title               I&E Advisory Committee Membership
 Effective Date             April 1, 2022
 Revision Dates             March 4, 2022
 Review Due Date            March 2023
 References                 Code of Federal Regulations 42 CFR 59.6(b)(1) and 42 CFR 59.6(a)
                            https://www.ecfr.gov/current/title-42/chapter-I/subchapter-D/part-59/subpart-
                            A/section-59.6#p-59.6


 Approved by                Danni Lambert, RN
 Signature                  State Family Planning Director
 Approved Date              March 10, 2022

Purpose: The purpose of this policy is to describe the Tennessee Family Planning Programs process for
ensuring grantee and subrecipient compliance with the requirement to establish a system for meeting
membership size requirements for any I&E Advisory Committee that will review and approve an I&E
material developed or made available by the grantee under the Title X project, prior to their distribution.

Policy/Procedure:
    ●   Tennessee Family Planning Programs I&E Materials Review/Advisory committee serves the dual
        purpose of Advisory and Materials Review duties.
    ●   This has been prior approved by the Office of Population Affairs and Title X. Please see TFPP
        Policies: 5.1, 5.2, 5.3.
    ●   These policies may be accessed virtually on Sharepoint at: Family Planning - Family Planning
        Policy & Procedure - Folders (sharepoint.com). A paper version is in the Family Planning
        Administrative Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                         GRANTEE OVERSIGHT FOR MATERIALS REVIEW
The grantee may delegate I&E functions for the review and approval of materials to sub-recipient
agencies; however, the oversight of the I&E review process rests with the grantee.
 Policy Information:          Description:
 Policy Title                 Grantee Oversight for Materials Review
 Effective Date               April 1, 2022
 Revision Dates               March 4, 2022
 Review Due Date              March 2023
 References                   Code of Federal regulations t Ensuring Access to Equitable, Affordable, Client-
                              Centered, Quality Family Planning Services, A Rule by the Health and Human
                              Services Department https://www.ecfr.gov/current/title-42/chapter-I/subchapter-
                              D/part-59/subpart-A#59.5

 Approved by                  Danni Lambert, RN
 Signature
                              State Family Planning Director
 Approved Date                March 10, 2022

Purpose: The purpose of this policy is to describe Tennessee Family Planning Program process for
ensuring compliance with the requirement that the TFPP provides oversight for the materials review and
approval process.

Policy:

         TFPP ensures that all clinic and service sites adhere to all Title X I&E materials review and
          approval requirements.

Procedure:
    ●     The Tennessee Family Planning Program requires that each Region, Metro, or contracted Family
          Planning Administrator establishes and implements a materials review and approval process for
          all their service sites.
              o   The FPA is responsible for establishing and maintaining an Information and
                  Education/Advisory Committee (I&E).
    ●     Tennessee family planning state program director monitors FPA’s and service sites to ensure
          compliance with this requirement.
    ●     FPA’s are required to submit/upload required I&E Advisory documentation to State Family
          Planning Director and/or Sharepoint: Family Planning - I&E Committee Reports DropBox -
          Folders (sharepoint.com) at least annually by April 1st.
    ●     Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
          be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.




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●   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
    Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
    Manual.




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

           ADVISORY COMMITTEE RESPONSIBILITY FOR MATERIALS REVIEW
An Advisory Committee(s) may delegate responsibility for the review of the factual, technical, and clinical
accuracy to appropriate project staff; however, final responsibility for approval of informational and
educational (I&E) materials rests with an Advisory Committee.
 Policy Information:         Description:
 Policy Title                Advisory Committee Responsibility for I&E Materials Review
 Effective Date              April 1, 2022
 Revision Dates              March 4, 2022
 Review Due Date             March 2023
 References                  Code of Federal Regulations 42 CFR 59.6
                             https://www.ecfr.gov/current/title-42/chapter-I/subchapter-D/part-59/subpart-
                             A#59.6


 Approved by                 Danni Lambert, RN
 Signature                   State Family Planning Director
 Approved Date               March 10, 2022

Purpose: The purpose of this policy is to describe the Tennessee Family Planning Program process for
ensuring compliance with the requirement to review the factual, technical, and clinical accuracy of all I&E
materials developed or made available under the Title X project.

Policy: The Tennessee Family Planning Program will ensure that an appropriate project staff review the
factual, technical, and clinical accuracy of all I&E materials developed or made available to the Title X
project.
    ●   This function is delegated to the Reproductive Women’s Health (RWH) Clinical Trainer, a key
        Tennessee Family Planning Program project staff member.
    ●   The I&E Committee may delegate responsibility for the review of the factual, technical, and
        clinical accuracy to appropriate local project staff, Advanced Practice Nurse or higher.
    ●   Final responsibility for approval of the I&E materials rests with the Committee.

Procedure:
    ●   In reviewing materials, the I&E Advisory Committee(s) shall:
             o    Consider the educational, cultural, and diverse backgrounds of the individuals to whom
                  the materials are addressed
             o    Consider the standards of the population or community to be served with respect to such
                  materials




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        o   Review the content of each material to assure that the information is factually correct,
            medically accurate, culturally, and linguistically appropriate, inclusive, and trauma-
            informed
        o   Determine whether a material is suitable for the population or community to which it is to
            be made available
        o   Establish a written record of its determinations Tennessee family planning state program
            director monitors FPA’s and committee activities to ensure compliance with this
            requirement
●   I&E Committee documentation is submitted at least annually via Sharepoint: Family Planning -
    I&E Committee Reports DropBox - Folders (sharepoint.com)
●   State director monitors Sharepoint to ensure all requirements are submitted appropriately and
    guidelines are met
●   Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
    be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call
●   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
    Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
    Manual




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                          I & E ADVISORY COMMITTEE REQUIREMENTS
In reviewing materials, an informational and educational (I&E) Advisory Committee(s) must:
     ● Consider the educational, cultural, and diverse backgrounds of the individuals to whom the
        material is addressed
     ● Consider the standards of the population or community to be served with respect to such
        materials
     ● Review the content of the material to assure that the information is factually correct, medically
        accurate, culturally, and linguistically appropriate, inclusive, and trauma-informed
     ● Determine whether the material is suitable for the population or community to which it is to be
        made available
     ● Establish a written record of its determinations (Section 1006(d), PHS Act; 42 CFR 59.6(b))

 Policy Information:          Description:
 Policy Title                 I&E Advisory Committee Requirements
 Effective Date               April 1, 2022
 Revision Dates               March 4, 2022
 Review Due Date              March 2023
 References                   CDC Health Literacy Resources
                              https://www.cdc.gov/healthliteracy/developmaterials/testing-messages-
                              materials.html https://www.cdc.gov/healthliteracy/culture.html
                              Code of Federal Regulations 42 CFR 59.6(b) https://www.ecfr.gov/current/title-
                              42/chapter-I/subchapter-D/part-59/subpart-A/section-59.6#p-59.6(b)

                              Tips for Using a Trauma-Informed Lens to Develop or Select I&E Materials
                              https://rhntc.org/resources/tips-using-trauma-informed-lens-develop-or-select-
                              ie-materials


 Approved by                  Danni Lambert, RN
 Signature                    State Family Planning Director
 Approved Date                March 10, 2022

Purpose: The purpose of this policy is to describe the Tennessee Family Planning Programs process for
ensuring grantee and subrecipient compliance with the requirements for an I&E/Advisory Committee.

Policy:
    ●     All family planning and reproductive health materials, print and electronic, that The Tennessee
          Family Planning Program and service sites make available to clients and potential clients must go
          through the I&E materials review process.
    ●     Tennessee Family Planning Program materials need to be reviewed regardless of whether they
          were created in-house, by a company that creates health education materials, or by the Centers
          for Disease Control and Prevention (CDC) or another government agency.




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   ●   An I&E/Advisory Committee will determine whether a material is suitable for the target population
       or community through a documented review and approval process that includes:
           o   Consideration of the educational, cultural, and diverse backgrounds of the individuals to
               whom the materials are addressed
           o   Consideration of the standards of the population or community to be served
           o   Assessment of whether material content is factually correct and medically accurate,
               culturally, and linguistically appropriate, inclusive, and trauma-informed

Procedure:
   ● The Family Planning Administrator (FPA) reviews local and FPAR data to identify demographics
      of current, and potential clients, and recruits I&E Advisory Committee members who reflect these
      demographics.
   ● All committee members receive an overview of the expectations of the Title X grant and an
      overview of Tennessee family planning services provided. The FPA may utilize the following
      resources to educate committee members:
           o Reproductive Health National Training Center (RHNTC) https://rhntc.org/about
           o Title X Family Planning Program https://opa.hhs.gov/sites/default/files/2021-01/HHS-
              OPA-Title-X-Family-Planning-Program_0.pdf
           o Providing Quality Family Planning Services (QFP)
              http://www.cdc.gov/mmwr/pdf/rr/rr6304.pdf
   ● The local FPA hosts at least 1 face to face (in person or virtual) committee meeting annually. The
      committee may meet on an as needed basis to review new educational and promotional materials
      before the material is released for use.
           o Orientation should be provided for new committee members.
           o FPA should provide updates to committee members between meetings by email, phone
              calls or other forms of communication
           o Interim meetings, meetings for new material review and new member orientation, may be
              held via email communication, TEAMS, phone, or in-person.
   ● The annual meeting will, at a minimum, include:
           o Title X Family Planning discussion and updates.
           o The annual work plan review and discussion.
           o Family planning outreach plan review; and
           o Education and promotional materials reviewed/approved by committee members.
   ● Process for conducting I&E material reviews.
           o The FPA conducts an initial material review to ensure that the materials align with the
              educational, cultural, and diverse backgrounds of their client population.
           o The FPA provides committee with guidance on how to ensure that I&E materials are
              culturally and linguistically appropriate, inclusive, and trauma informed.
           o   All client education or information materials must be reviewed, by each committee
               member, and a consensus of approval must be reached before the materials are
               provided to clients or the community.
   ●   Criteria and review tools that I&E Advisory Committee members may use to ensure that the
       materials are suitable for the population and community for which they are intended include, but
       are not limited to;
           o   Education Materials Review Forms located on Sharepoint: Family Planning - TDH IE
               Material Review Committee Fillable Form.pdf - Folders (sharepoint.com), I E
               materials_inventory_log_2020.xlsx (sharepoint.com),
           o   A recommended tool for reading level assessment may be found at the Readability
               Formulas link: https://readabilityformulas.com/free-readability-formula-tests.php




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        o    If committee members are not proficient in language being reviewed, the FPA may
             access translation services via a state contract with the UT Foreign Language Institute.
●   All Family Planning materials must be reviewed and approved by the committee before
    distribution.
●   I&E Committee documentation is submitted at least annually via Sharepoint: Family Planning -
    I&E Committee Reports DropBox - Folders (sharepoint.com)
●   State director monitors Sharepoint to ensure all requirements are submitted appropriately and
    guidelines are met
●   Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
    be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call
●   Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
    Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
    Manual




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                                           PageID #: 782
  ADDITIONAL ADMINISTRATIVE REQUIREMENTS




                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                        FACILITIES AND ACCESSIBILITY OF SERVICES
Title X clinics must have written policies that are consistent with the HHS Office for Civil Rights policy
document, Guidance to Federal Financial Assistance Recipients Regarding Title VI Prohibition Against
National Origin Discrimination Affecting Limited English Proficient Persons (August 4, 2003) (HHS Grants
Policy Statement 2007, II–23).
Projects may not discriminate based on disability and, when viewed in their entirety, facilities must be
readily accessible to people with disabilities (45 CFR 84).
 Policy Information:       Description:
 Policy Title              Facilities and Accessibility of Services
 Effective Date            November 6, 2002
 Revision Dates            December 6, 2019
 Review Due Date           March 2023
 References                HHS Office for Civil Rights
                           https://www.hhs.gov/ocr/index.html
                           Providing Quality Family Planning Services: Recommendations from the
                           Centers for Disease Control and Prevention and the U.S. Office of Population
                           Affairs (QFP) (page 24)
                           https://www.hhs.gov/opa/guidelines/clinical-guidelines/quality-family-
                           planning/index.html
                           Guidance to Federal Financial Assistance Recipients Regarding Title VI
                           Prohibition Against National Origin Discrimination Affecting Limited English
                           Proficient Persons
                           https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-
                           proficiency/guidance-federal-financial-assistance-recipients-title-vi/index.html
                           CDC Health Literacy Resources
                           https://www.cdc.gov/healthliteracy/developmaterials/testing-messages-
                           materials.html
                           TENNESSEE DEPARTMENT OF HEALTH POLICY REGARDING EQUAL
                           ACCESS FOR PERSONS WITH DISABILITIES
                           https://www.tn.gov/content/dam/tn/health/program-areas/title-vi/TDH-ADA-
                           Policy-2020A.pdf
                           Title VI Limited English Proficiency (LEP) Patient Services - 2.16
                           https://www.tn.gov/content/dam/tn/health/program-areas/title-vi/TDH-General-
                           Administration.pdf and State of TN Administrative Policies and Procedures:
                           file:///C:/Users/dc60al2/Desktop/Policies%202022/Policy%201.04%20TDHS%2




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 Policy Information:          Description:
                              0Limited%20English%20Proficiency%20Guidelines__Signed_020419_Posting.
                              pdf

 Approved by                  Danni Lambert, RN
 Signature                    State Family Planning Director
 Approved Date                March 10, 2022
Purpose: The purpose of this policy is to describe Tennessee Family Planning Program’s process for
ensuring compliance with the requirement that clinic sites are readily accessible to individuals with
physical disabilities or language barriers and ensure meaningful communication with persons that
experience Limited English Proficiency.


Policy:
         The Tennessee Department of Health is committed to providing persons with disabilities an equal
          opportunity to participate and equally effective communication when accessing the Department’s
          programs, services, activities, and other benefits available to the public.
         Language translation services will be readily provided, at no cost to clients, when needed.
         Individuals with disabilities will have access to services at grantee and subrecipient sites.
         Title VI of the Civil Rights Act of 1964 provides that no person shall, on the grounds of race, color,
          or national origin, be excluded from participation in, be denied the benefits of, or be subjected to
          discrimination under any program or activity that receives federal financial assistance. Several
          programs in the Tennessee Department of Health (TDH) receive federal financial assistance from
          federal agencies including the Department of Health and Human Services, and the United States
          Department of Agriculture; therefore, TDH and the TFPP complies with the provisions of Title VI.
          This policy deals specifically with assuring that persons with Limited English Proficiency (LEP)
          receive the language assistance necessary to afford them meaningful access to these public
          health services


Procedure:
         Language assistance will be provided through use of competent bilingual staff, staff interpreters,
          contracts or formal arrangements with organizations providing interpretation or translation
          services, or technology and telephonic interpretation services. Please see:
          https://www.tn.gov/content/dam/tn/human-
          services/documents/Policy%201.04%20TDHS%20Limited%20English%20Proficiency%20Guideli
          nes__Signed_020419_Posting.pdfb for a detailed procedure.
         Language translation services will be readily provided, at no cost to clients, when needed.
         Informational poster, in multiple languages, is clearly posted at each TFPP site.
         Title VI – Civil Rights Non-Discrimination Policy poster is required by TDH to be clearly posted in
          all sites.
         TDH conducts a regular review of the language access needs of our service population, as well
          as update and monitor the implementation of this policy and these procedures, as necessary, on
          an ongoing basis,
         TDH assesses changes in demographics, types of services or other needs that may require
          reevaluation of this policy and its procedures.
         This policy applies to the TFPP staff and its contractors and subrecipients which provide
          services or benefits to the public, regardless of whether the entity receives federal funds.
         All Family Planning staff will be trained on these policies upon initial onboarding.
         All staff contractors and subrecipients required to complete annual Title VI Training.
               •        All state governmental entities that are recipients of Federal financial assistance
                        comply with the requirements of Title VI of the Civil Rights Act of 1964 pursuant to




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                 the State of Tennessee Public Acts, 2009 Public Chapter No. 437. Title VI prohibits
                 discrimination based on race, color, or national origin in programs and activities
                 receiving Federal financial assistance.
   To identify populations that may be in need of culturally competent care, Health Councils exist in
    all 95 counties with TDH directly supporting those councils. Each county brings together diverse
    stakeholders to look at data, identify disparities, and select priority areas to work on. Building on
    local expertise and community engagement and with focus on vulnerable populations.
   Family Planning staff can access policies virtually on Sharepoint at: Family Planning - Family
    Planning Policy & Procedure - Folders (sharepoint.com). A paper version is in the Family
    Planning Administrative Manual




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                TENNESSEE FAMILY PLANNING PROGRAM POLICY AND PROCEDURES

                           HUMAN SUBJECTS CLEARANCE (RESEARCH)
Research conducted within Title X projects may be subject to Department of Health and Human Services
regulations regarding the protection of human subjects (45 CFR Part 46). The grantee/sub-recipient
should advise OPA in writing of any research projects that involve Title X clients.
 Policy Information:          Description:
 Policy Title                 Human Subjects Clearance (Research)
 Effective Date               April 1, 2022
 Revision Dates               March 4, 2022
 Review Due Date              March 2023
 References                   Code of Federal Regulations 45 CFR Part 46 https://www.ecfr.gov/current/title-
                              45/subtitle-A/subchapter-A/part-46
                              Tennessee Department of Health Institutional Review Board
                              https://www.tn.gov/health/health-program-areas/tennessee-department-of-
                              health-institutional-review-board.html


 Approved by                  Danni Lambert, RN
 Signature                    State Family Planning Director
 Approved Date                March 10, 2022
Purpose: The purpose of this policy is to describe Tennessee Family Planning Program process for
ensuring compliance with the requirement that grantee and subrecipients have a system in place for
advising OPA in writing of any research projects that involve Title X clients.

Policy:

Notification will be given in writing to OPA regarding any research projects that involve Title X clients.

Procedure:

         TFP advises OPA in writing of any research projects that involve Title X clients.
         The TDH gives assurance that it complies with the U.S. Department of Health and Human
          Services regulations for the protection of human research subjects. All information and
          documents are available at www.IRBnet.org . The TDH IRB is convened monthly.
              o   IRB administration may be reached at TDH-IRB.Health@tn.gov or 615-253-2557.
         Staff will be trained on this policy upon initial onboarding. Updates or changes to this policy shall
          be provided, as needed, via memo and/or the TEAMS Monthly FPA virtual conference call.
         Staff can access this policy virtually on Sharepoint at: Family Planning - Family Planning Policy &
          Procedure - Folders (sharepoint.com). A paper version is in the Family Planning Administrative
          Manual




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                                                                         Tab T




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                                                                                                            Tab U
Nash, Elizabeth (HHS/OASH)

Subject:                           FW: Program Review Final Report




From: Reed, Tisha (OS/OASH)
Sent: Wednesday, October 19, 2022 4:45 PM
To: Danni Lambert <Danni.Lambert@tn.gov>
Cc: denise.werner@tn.gov; Crissy Hartsfield <Crissy.Hartsfield@tn.gov>; Margolis, Amy (HHS/OASH)
<Amy.Margolis@hhs.gov>; Harvey, Alissa (OS/OASH) <Alissa.Harvey@hhs.gov>; Merchant, Shenena (OS/OASH)
<Shenena.Merchant@hhs.gov>; Fuller, Robin (HHS/OASH) <Robin.Fuller@hhs.gov>
Subject: Program Review Final Report




Danni,

It is so great to have you back! Please review this report and let me know if you have any questions.

        The Tennessee Department of Health plan for improvement addressing the one finding is due November 18,
         2022. Please let me know if a different deadline is required.
        The final report detailing the actions taken from the plan for improvement is due January 17, 2022.

Please upload both items as a grant note in GrantSolutions using grant #FPHPA006553.

One update—the area of improvement was with regard to services to male patients. Please review that section in the
report carefully. Let me know if you need any technical assistance.

One other action item, if you remember from the exit interview, Karen was concerned about patient counseling once
the new state law was enacted on August 25th. In the end, it was determined that Tennessee Department of Health was
compliant and did meet expectations as of the date of the Program Review. That said, please update us on the policy
changes in response to enactment of Tenn. Code Ann. § 39-15-213.

Congratulations on such a wonderful review and leading a strong Title X program. We appreciate all the work you and
your team do every day to provide sexual and reproductive health services to people in Tennessee.


Tisha Reed, MA
Pronouns: she/her
Clifton Strengths: Arranger, Strategic, Positivity, Achiever, Relator
Public Health Analyst
Title X Project Officer
Office of Population Affairs

Need to chat? Click here to schedule.




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                         Email: tisha.reed@hhs.gov
                         Desk: (240) 453-6162
                         https://opa.hhs.gov/




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                DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                 Notice of Award                Tab V
                                                                                                        Award# 1 FPHPA006553-01-00
                Office of the Secretary
                                                                                                        FAIN# FPHPA006553
                                                                                                        Federal Award Date: 03/24/2022



Recipient Information                                                             Federal Award Information
1. Recipient Name                                   11. Award Number
                                                       1 FPHPA006553-01-00
    Health, Tennessee Dept Of                       12. Unique Federal Award Identification Number (FAIN)
    710 James Robertson Pkwy 64 Andrew Johnson         FPHPA006553
    Tower                                           13. Statutory Authority
                                                       Title X of the Public Health Service Act, Section 1001 (42 U.S.C. § 300)
    Family Health and Wellness
    Nashville, TN 37243-0001
    [NO DATA]
                                                    14. Federal Award Project Title
2. Congressional District of Recipient                 Title X Family Planning Services
   00
3. Payment System Identifier (ID)
   1626001445A1                                     15. Assistance Listing Number
4. Employer Identification Number (EIN)                93.217
   626001445
                                                    16. Assistance Listing Program Title
5. Data Universal Numbering System (DUNS)              Family Planning Services
   172636268
6. Recipient’s Unique Entity Identifier             17. Award Action Type
                                                       New
7. Project Director or Principal Investigator       18. Is the Award R&D?
                                                       No
    Ms. Danni Lambert
    Family Planning Program Director                             Summary Federal Award Financial Information
    danni.lambert@tn.gov
                                                    19. Budget Period Start Date           04/01/2022 - End Date 03/31/2023
    615-741-0224
                                                    20. Total Amount of Federal Funds Obligated by this Action                             $7,108,750.00
8. Authorized Official
                                                        20a. Direct Cost Amount                                                           $12,656,373.00
    Dr. Lisa Piercey                                    20b. Indirect Cost Amount                                                           $250,000.00
    Commissioner
                                                    21. Authorized Carryover                                                                      $0.00
    Lisa.Piercey@tn.gov
    615-741-2974                                    22. Offset                                                                                    $0.00
                                                    23. Total Amount of Federal Funds Obligated this budget period                                $0.00
Federal Agency Information
                                                    24. Total Approved Cost Sharing or Matching, where applicable                          $5,797,623.00
 OASH Grants and Acquisitions Management Division
                                                    25. Total Federal and Non-Federal Approved this Budget Period                         $12,906,373.00
9. Awarding Agency Contact Information
                                                    26. Project Period Start Date          04/01/2022 - End Date 03/31/2027
 Miss Robin Fuller
 Senior Grants Management Specialist                27. Total Amount of the Federal Award including Approved
 robin.fuller@hhs.gov                                   Cost Sharing or Matching this Project Period                              Not Available
 240-453-8830
                                                    28. Authorized Treatment of Program Income
10.Program Official Contact Information                 OTHER (See REMARKS)
 Ms. Tisha Reed
                                                    29. Grants Management Officer – Signature
 Public Health Analyst/Title X Project Officer
                                                         Dr. Scott Moore
 tisha.reed@hhs.gov
                                                         OASH Grants Management Officer
 240-453-6162



30. Remarks
 See Remarks (continuation)




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                 DEPARTMENT OF HEALTH AND HUMAN SERVICES                                        Notice of Award
                 Office of the Secretary                                                        Award# 1 FPHPA006553-01-00
                                                                                                FAIN# FPHPA006553
                                                                                                Federal Award Date: 03/24/2022



Recipient Information                                 33. Approved Budget
                                                      (Excludes Direct Assistance)
Recipient Name                                         I. Financial Assistance from the Federal Awarding Agency Only
                                                       II. Total project costs including grant funds and all other financial participation
 Health, Tennessee Dept Of
 710 James Robertson Pkwy 64 Andrew Johnson           a. Salaries and Wages                                                    $6,896,154.00
 Tower                                                b. Fringe Benefits                                                       $3,103,269.00
 Family Health and Wellness
                                                           c. Total Personnel Costs                                            $9,999,423.00
 Nashville, TN 37243-0001
 [NO DATA]                                            d. Equipment                                                                     $0.00
Congressional District of Recipient
 00                                                   e. Supplies                                                                      $0.00
Payment Account Number and Type                       f. Travel                                                                  $232,000.00
 1626001445A1
Employer Identification Number (EIN)                  g. Construction                                                                  $0.00
 626001445                                            h. Other                                                                         $0.00
Data Universal Numbering System (DUNS)
                                                      i. Contractual                                                           $2,424,950.00
 172636268
Recipient’s Unique Entity Identifier                  j. TOTAL DIRECT COSTS                                                   $12,656,373.00
                                                      k. INDIRECT COSTS                                                         $250,000.00

 31. Assistance Type                                  l. TOTAL APPROVED BUDGET                                                $12,906,373.00
 Project Grant
                                                      m. Federal Share                                                         $7,108,750.00
 32. Type of Award
 Service                                              n. Non-Federal Share                                                     $5,797,623.00


 34. Accounting Classification Codes

 FY-ACCOUNT NO.         DOCUMENT NO.     ADMINISTRATIVE CODE      OBJECT CLASS      AMT ACTION FINANCIAL ASSISTANCE          APPROPRIATION
     2-3984521           FPHPA6553A             FPH70                 41.51                                  $7,108,750.00      75-22-0359




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              DEPARTMENT OF HEALTH AND HUMAN SERVICES Notice of Award
                                                                                                                       Award# 1 FPHPA006553-01-00
              Office of the Secretary
                                                                                                                       FAIN# FPHPA006553
                                                                                                                       Federal Award Date: 03/24/2022


Remarks (Continuation)

This Notice of Award provides funding below the total amount requested in the application for the budget period. OASH is not obligated to make additional Federal Funds
available. All award decisions, including the level of funding, are final and you may not appeal. You should re-submit an SF 424A and Budget Narrative justification which
includes the total cumulative cost for each cost for the budget reimbursement period based on Personnel, Fringe, Travel, Supplies, Contractual, Other and Indirect cost by
object class categories. The budget should be resubmitted for the total awarded amount within 30 days of the start of the budget period on this Notice of Award. Prior
approval of the revised budget by the Grants Management Officer is required. Changes in scope proposed as part of the budget revision should be clearly noted and also
require Grants Management Officer prior approval.




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       DEPARTMENT OF HEALTH AND HUMAN SERVICES Notice of Award
                                                                                                                Award# 1 FPHPA006553-01-00
       Office of the Secretary
                                                                                                                FAIN# FPHPA006553
                                                                                                                Federal Award Date: 03/24/2022



35. Terms And Conditions

SPECIAL TERMS AND REQUIREMENTS
  1. Program Income Use. Program income (fees, premiums, third-party reimbursements which the project may reasonably expect to
     receive), as well as State, local and other operational funding, will be used to finance the non-federal share of the scope of project
     as defined in the approved grant application and reflected in the approved budget. Program income and the level projected in the
     approved budget will be used to further program objectives. Box 28 on this Notice of Award (NoA) indicates Other. Program
     Income may be used to meet the cost sharing or matching requirement of the Federal award. The amount of the Federal award
     stays the same. Program Income in excess of any amounts specified must be added to the Federal funds awarded. They must be
     used for the purposes and conditions of this award for the duration of the Project period. 45 C.F.R. § 75.307 (e).

  2. Program Specific Regulation. In accepting this award, the grantee stipulates that the award and any activities thereunder are
     subject to all provisions of 42 CFR Part 59, Subpart A.

  3. OPA Program Priorities. All recipients must comply with the requirements regarding the provision of family planning services
     that can be found in the statute (Title X of the Public Health Service Act, 42 U.S.C. § 300 et seq.) and the implementing
     regulations (42 C.F.R. Part 59, Subpart A), and any legislative mandates. In addition, sterilization of clients as part of the Title X
     program must be consistent with 42 C.F.R. Part 50, Subpart B (“Sterilization of Persons in Federally Assisted Family Planning
     Projects”).

     In addition to the statute, regulations, legislative mandates, and additional program guidance that apply to Title X, OPA
     establishes program priorities that represent overarching goals for the Title X program. OPA expects recipients to develop and
     implement plans to address program priorities. The current priorities are: 1) advance health equity through the delivery of Title X
     services; 2) improve and expand access to Title X services; and 3) deliver Title X services of the highest quality.

  4. Notice of Change in Service Sites. In order to maintain an accurate record of current Title X service sites, grantees must provide
     notice to the Office of Population Affairs (OPA) of any deletions, additions, or changes to the name, location, street address and
     email, services provided on-site, and contact information for Title X grantees and service sites. This database will also be used to
     verify eligibility for 340B program registration and recertification. You must enter your changes to the Title X database within 30
     days from the official approval of the change at https://opa-fpclinicdb.hhs.gov/ This does not replace the prior approval
     requirement under HHS grants policy for changes in project scope, including clinic closures.

  5. 304B Program Participation. If you or your sub-recipient(s) enrolls in the 340B Program, you must comply with all 340B
     Program requirements. You may be subject to audit at any time regarding 340B Program compliance. 340B Program requirements
     are available at https://www.hrsa.gov/opa/program-requirements/index.html.

  6. FPAR reporting. For each calendar year covered by the project period, you will be required to submit a Family Planning Annual
     Report (FPAR). The information collection (reporting requirements) and format for this report have been approved by the Office
     of Management and Budget (OMB) and assigned OMB No. 0990-0479 (Expires 9/30/2024). The FPAR data elements,
     instrument, and instructions are found on the OPA Web site at http://opa.hhs.gov. You are expected to use the FPAR data to
     inform your QI/QA activities.

  7. Evaluation Cooperation. The grantee is expected to participate in OPA research and evaluation activities, if selected, and must
     agree to follow all evaluation protocols established by OPA or its designee.

  8. Grantee Meetings. The grantee is encouraged to actively participate in all OPA-supported Title X grantee meetings and grantee
     conferences. In addition to training and technical assistance available from the Reproductive Health National Training Center and
     the National Clinical Training Center for Family Planning, OPA is planning to conduct two Title X grantee trainings in 2022 and
     a Title X grantee conference in 2023.




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  9. Institutional Review Board (IRB). Institutional Review Board (IRB) approvals, when required, must be submitted via Grant
     Solutions Grant Notes within 5 business days of receipt from the IRB. No activities that require IRB approval may take place
     prior to your receipt of the IRB approval.

 10. Maximizing Access. In furtherance of maximizing access and best serving individuals in need in the service areas, recipients
     should make reasonable efforts to avoid duplication of effort in the provision of services across the Title X network. For example,
     Title X recipients’ coverage areas may overlap geographically, but duplication of subrecipient sites could be minimized or
     avoided to create more opportunities for services.

 11. Prior Approval for Vehicle Purchases. No mobile health unit(s) or other vehicle(s), even if proposed in the application for this
     award, may be purchased with award funds without prior written approval from the grant management officer. Requests for
     approval of such purchases must include a justification with a cost-benefit analysis comparing both purchase and lease options.
     Such requests must be submitted as a Budget Revision Amendment in Grant Solutions.




STANDARD TERMS
  1. Compliance with Terms and Conditions. You must comply with all terms and conditions outlined in the grant award, including
     grant policy terms and conditions contained in applicable Department of Health and Human Services (HHS) Grant Policy
     Statements (GPS), (note any references in the GPS to 45 C.F.R. Part 74 or 92 are now replaced by 45 C.F.R. Part 75, and the SF-
     269 is now the SF-425), and requirements imposed by program statutes and regulations, Executive Orders, and HHS grant
     administration regulations, as applicable; as well as any requirements or limitations in any applicable appropriations acts. By
     drawing or otherwise obtaining funds for the award from the grant payment system or office, you accept the terms and conditions
     of the award and agree to perform in accordance with the requirements of the award. The HHS Grants Policy Statement is
     available at: http://www.hhs.gov/sites/default/files/grants/grants/policies-regulations/hhsgps107.pdf Uniform Administrative
     Requirements, Cost Principles, and Audit Requirements for HHS awards are at 45 C.F.R. Part 75.

  2. Grants Management Officer Prior Approval Requirements. Certain changes to your project or personnel require prior
     approval from the Grants Management Officer (GMO). (See Part II, HHS Grants Policy Statement (GPS), any references in the
     GPS to 45 C.F.R. Part 74 or 92 are now replaced by 45 C.F.R. Part 75). All amendment requests requiring prior approval must be
     signed by the grantee authorizing official and or PI/PD and submitted through the GrantSolutions Amendment Module. Only
     responses signed by the GMO are considered valid. If you take action on the basis of responses from other officials or individuals,
     you do so at your own risk. Such responses will not be considered binding by or upon any OASH Office or HHS component. Any
     other correspondence not relating to a prior approval item should be uploaded to Grant Notes within the GrantSolutions system.
     Include the Federal grant number and signature of the authorized business official and the project director on all such
     correspondence.

  3. Salary Limitation (Further Consolidated Appropriations Act, 2022, Div. H, Title II, sec. 202). “None of the funds
     appropriated in this title shall be used to pay the salary of an individual, through a grant or other extramural mechanism, at a rate
     in excess of Executive Level II.”

     The Salary Limitation is based upon the Executive Level II of the Federal Executive Pay Scale. Effective January 2022, the
     Executive Level II salary is $203,700. For the purposes of the salary limitation, the direct salary is exclusive of fringe benefits and
     indirect costs. An individual’s direct salary is not constrained by the legislative provision for a limitation of salary. The rate
     limitation simply limits the amount that may be awarded and charged to the grant or cooperative agreement. A recipient may pay
     an individual’s salary amount in excess of the salary cap with non-federal funds.

  4. Reporting Subawards and Executive Compensation.




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   A. Reporting of first-tier subawards.


        1)    Applicability.

   Unless you are exempt as provided in paragraph D. of this award term, you must report each action that obligates $30,000 or more
   in Federal funds that does not include Recovery Act funds (as defined in section 1512(a)(2) of the American Recovery and
   Reinvestment Act of 2009, Pub. L. 111–5) for a subaward to an entity (see definitions in paragraph e. of this award term).


        2)    Where and when to report.

   You must report each obligating action described in paragraph A.1. of this award term to the Federal Funding Accountability and
   Transparency Act Subaward Reporting System (FFRS). For subaward information, report no later than the end of the month
   following the month in which the obligation was made. (For example, if the obligation was made on November 7, 2010, the
   obligation must be reported by no later than December 31, 2010.)


        3)    What to report.

   You must report the information about each obligating action as specified in the submission instructions posted at
   http://www.fsrs.gov.


   B. Reporting Total Compensation of Recipient Executives.


        1)    Applicability and what to report.

   You must report total compensation for each of your five most highly compensated executives for the preceding completed fiscal
   year, if—


              a) The total Federal funding authorized to date under this award is $30,000 or more;


              b) In the preceding fiscal year, you received—

                    (1) 80 percent or more of your annual gross revenues from Federal procurement contracts (and subcontracts)
                    and Federal financial assistance subject to the Transparency Act, as defined at 2 C.F.R. §170.320 (and
                    subawards); and

                    (2) $25,000,000 or more in annual gross revenues from Federal procurement contracts (and subcontracts) and
                    Federal financial assistance subject to the Transparency Act, as defined at 2 C.F.R. §170.320 (and subawards);
                    and


              c) The public does not have access to information about the compensation of the executives through periodic reports
              filed under section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15 U.S.C. § 78m(a), 78o(d)) or section 6104
              of the Internal Revenue Code of 1986. (To determine if the public has access to the compensation information, see the
              U.S. Security and Exchange Commission total compensation filings at the Executive Compensation page of the SEC
              website.)


        2) Where and when to report.

   You must report executive total compensation described in paragraph B.1. of this award term:




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              a) As part of your registration profile in the System for Award Management (SAM).


              b) By the end of the month following the month in which this award is made, and annually thereafter.


   C. Reporting of Total Compensation of Subrecipient Executives.


        1)    Applicability and what to report.

   Unless you are exempt as provided in paragraph D of this award term, for each first-tier subrecipient under this award, you shall
   report the names and total compensation of each of the subrecipient’s five most highly compensated executives for the
   subrecipient’s preceding completed fiscal year, if—


              a) In the subrecipient’s preceding fiscal year, the subrecipient received—

                     (1) 80 percent or more of its annual gross revenues from Federal procurement contracts (and subcontracts) and
                     Federal financial assistance subject to the Transparency Act, as defined at 2 C.F.R. § 170.320 (and subawards);
                     and

                     (2) $25,000,000 or more in annual gross revenues from Federal procurement contracts (and subcontracts), and
                     Federal financial assistance subject to the Transparency Act (and subawards); and


              b) The public does not have access to information about the compensation of the executives through periodic reports
              filed under section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15 U.S.C. § 78m(a), 78o(d)) or section 6104
              of the Internal Revenue Code of 1986. (To determine if the public has access to the compensation information, see the
              U.S. Security and Exchange Commission total compensation filings at the Executive Compensation page of the SEC
              website.)


        2) Where and when to report.

   You must report subrecipient executive total compensation described in paragraph C.1. of this award term:


              a) To the recipient.


              b) By the end of the month following the month during which you make the subaward. For example, if a subaward is
              obligated on any date during the month of October of a given year (i.e., between October 1 and 31), you must report
              any required compensation information of the subrecipient by November 30 of that year.


   D. Exemptions.


   If, in the previous tax year, you had gross income, from all sources, under $300,000, you are exempt from the requirements to
   report:


        1) Subawards, and


        2) The total compensation of the five most highly compensated executives of any subrecipient.


   E. Definitions.




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   For purposes of this award term:


        1)    “Entity”

   This term means all of the following, as defined in 2 C.F.R. Part 25:


              a) A Governmental organization, which is a State, local government, or Indian tribe;


              b) A foreign public entity;


              c) A domestic or foreign nonprofit organization;


              d) A domestic or foreign for-profit organization;


              e) A Federal agency, but only as a subrecipient under an award or subaward to a non-Federal entity.


        2)    “Executive”

   This term means officers, managing partners, or any other employees in management positions.


        3)    “Subaward”:


              a) This term means a legal instrument to provide support for the performance of any portion of the substantive project
              or program for which you received this award and that you as the recipient award to an eligible subrecipient.


              b) The term does not include your procurement of property and services needed to carry out the project or program
              (for further explanation, see Sec. ll .210 of the attachment to OMB Circular A–133, ‘‘Audits of States, Local
              Governments, and Non-Profit Organizations’’).


              c) A subaward may be provided through any legal agreement, including an agreement that you or a subrecipient
              considers a contract.


        4)    “Subrecipient”

   This term means an entity that:


              a) Receives a subaward from you (the recipient) under this award; and


              b) Is accountable to you for the use of the Federal funds provided by the subaward.


        5)    “Total compensation”

   This term means the cash and noncash dollar value earned by the executive during the recipient’s or subrecipient’s preceding
   fiscal year and includes the following (for more information see 17 C.F.R. § 229.402(c)(2)):


              a) Salary and bonus.




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               b) Awards of stock, stock options, and stock appreciation rights. Use the dollar amount recognized for financial
               statement reporting purposes with respect to the fiscal year in accordance with the Statement of Financial Accounting
               Standards No. 123 (Revised 2004) (FAS 123R), Shared Based Payments.


               c) Earnings for services under non-equity incentive plans. This does not include group life, health, hospitalization or
               medical reimbursement plans that do not discriminate in favor of executives, and are available generally to all salaried
               employees.


               d) Change in pension value. This is the change in present value of defined benefit and actuarial pension plans.


               e) Above-market earnings on deferred compensation which is not tax-qualified.


               f) Other compensation, if the aggregate value of all such other compensation (e.g. severance, termination payments,
               value of life insurance paid on behalf of the employee, perquisites or property) for the executive exceeds $10,000.


  5. Intellectual Property and Data Rights.

    A. Data. The federal government has the right to: 1) Obtain, reproduce, publish, or otherwise use the data produced under this
    award; and 2) Authorize others to receive, reproduce, publish, or otherwise use such data for federal purposes.

    B. Copyright. The awardee may copyright any work that is subject to copyright and was developed, or for which ownership
    was acquired, under a federal award. The federal government reserves a royalty-free, nonexclusive and irrevocable right to
    reproduce, publish, or otherwise use the work for Federal purposes, and to authorize others to do so.

    C. Patents and Inventions. The awardee is subject to applicable regulations governing patents and inventions, including
    government- wide regulations issued by the Department of Commerce at 37 CFR part 401.

  6. Acknowledgement of Federal Grant Support. When issuing statements, press releases, publications, requests for proposal, bid
    solicitations and other documents --such as tool-kits, resource guides, websites, and presentations (hereafter “statements”)--
    describing the projects or programs funded in whole or in part with U.S. Department of Health and Human Services (HHS)
    federal funds, the recipient must clearly state:

         1)   the percentage and dollar amount of the total costs of the program or project funded with federal money; and,

         2)   the percentage and dollar amount of the total costs of the project or program funded by non-governmental sources.

    When issuing statements resulting from activities supported by HHS financial assistance, the recipient entity must include an
    acknowledgement of federal assistance using one of the following or a similar statement.

    If the HHS Grant or Cooperative Agreement is NOT funded with other non-governmental sources:


          This [project/publication/program/website, etc.] [is/was] supported by the [full name of the PROGRAM OFFICE] of the
          U.S. Department of Health and Human Services (HHS) as part of a financial assistance award totaling $XX with 100
          percent funded by [PROGRAM OFFICE]/OASH/HHS. The contents are those of the author(s) and do not necessarily
          represent the official views of, nor an endorsement, by [PROGRAM OFFICE]/OASH/HHS, or the U.S. Government. For
          more information, please visit [PROGRAM OFFICE website, if available].


    The HHS Grant or Cooperative Agreement IS partially funded with other nongovernmental sources:




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          This [project/publication/program/website, etc.] [is/was] supported by the [full name of the PROGRAM OFFICE] of the
          U.S. Department of Health and Human Services (HHS) as part of a financial assistance award totaling $XX with XX
          percentage funded by [PROGRAM OFFICE]/OASH/HHS and $XX amount and XX percentage funded by non-government
          source(s). The contents are those of the author (s) and do not necessarily represent the official views of, nor an endorsement,
          by [PROGRAM OFFICE]/OASH/HHS, or the U.S. Government. For more information, please visit [PROGRAM OFFICE
          website, if available].


    The federal award total must reflect total costs (direct and indirect) for all authorized funds (including supplements and carryover)
    for the total competitive segment up to the time of the public statement.

    Any amendments by the recipient to the acknowledgement statement must be coordinated with the OASH federal project
    officer and the OASH grants management officer.

    If the recipient plans to issue a press release concerning the outcome of activities supported by this financial assistance, it should
    notify the OASH federal project officer and the OASH grants management officer in advance to allow for coordination.

  7. Whistleblower Protections. You are hereby given notice that the 48 C.F.R. § 3.908 (related to the enhancement of contractor
    employee whistleblower protections), implementing 41 U.S.C. § 4712, as amended (entitled “Enhancement of contractor
    protection from reprisal for disclosure of certain information”) applies to this award.

  8. Reporting of Matters Related to Recipient Integrity and Performance.

    A. General Reporting Requirement


    If the total value of your currently active grants, cooperative agreements, and procurement contracts from all Federal awarding
    agencies exceeds $10,000,000 for any period of time during the period of performance of this Federal award, then you as the
    recipient during that period of time must maintain the currency of information reported to the System for Award Management
    (SAM) that is made available in the designated integrity and performance system (currently the Federal Awardee Performance and
    Integrity Information System (FAPIIS)) about civil, criminal, or administrative proceedings described in paragraph 2 of this award
    term and condition. This is a statutory requirement under section 872 of Public Law 110-417, as amended (41 U.S.C. § 2313). As
    required by section 3010 of Public Law 111-212, all information posted in the designated integrity and performance system on or
    after April 15, 2011, except past performance reviews required for Federal procurement contracts, will be publicly available.


    B. Proceedings About Which You Must Report


    Submit the information required about each proceeding that:


          1)   Is in connection with the award or performance of a grant, cooperative agreement, or procurement contract from the
          Federal Government;


          2)   Reached its final disposition during the most recent five-year period; and


          3)   If one of the following:


                a)   A criminal proceeding that resulted in a conviction, as defined in paragraph 5 of this award term and condition;


                b) A civil proceeding that resulted in a finding of fault and liability and payment of a monetary fine, penalty,
                reimbursement, restitution, or damages of $5,000 or more;




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              c) An administrative proceeding, as defined in paragraph 5 of this award term and condition, that resulted in a finding
              of fault and liability and your payment of either a monetary fine or penalty of $5,000 or more or reimbursement,
              restitution, or damages in excess of $100,000; or


              d) Any other criminal, civil, or administrative proceeding if:

                    (1) It could have led to an outcome described in paragraph 2.c.(1), (2), or (3) of this award term and condition;

                    (2) It had a different disposition arrived at by consent or compromise with an acknowledgement of fault on your
                    part; and

                    (3) The requirement in this award term and condition to disclose information about the proceeding does not
                    conflict with applicable laws and regulations.


   C. Reporting Procedures


   Enter in the SAM Entity Management area the information that SAM requires about each proceeding described in paragraph B of
   this award term and condition. You do not need to submit the information a second time under assistance awards that you received
   if you already provided the information through SAM because you were required to do so under Federal procurement contracts
   that you were awarded.


   D. Reporting Frequency


   During any period of time when you are subject to this requirement in paragraph A of this award term and condition, you must
   report proceedings information through SAM for the most recent five year period, either to report new information about any
   proceeding(s) that you have not reported previously or affirm that there is no new information to report. Recipients that have
   Federal contract, grant, and cooperative agreement awards with a cumulative total value greater than $10,000,000 must disclose
   semiannually any information about the criminal, civil, and administrative proceedings.


   E. Definitions


   For purposes of this award term and condition:


        1)   Administrative proceeding means a non-judicial process that is adjudicatory in nature in order to make a determination
        of fault or liability (e.g., Securities and Exchange Commission Administrative proceedings, Civilian Board of Contract
        Appeals proceedings, and Armed Services Board of Contract Appeals proceedings). This includes proceedings at the
        Federal and State level but only in connection with performance of a Federal contract or grant. It does not include audits,
        site visits, corrective plans, or inspection of deliverables.


        2)   Conviction, for purposes of this award term and condition, means a judgment or conviction of a criminal offense by
        any court of competent jurisdiction, whether entered upon a verdict or a plea, and includes a conviction entered upon a plea
        of nolo contendere.


        3)   Total value of currently active grants, cooperative agreements, and procurement contracts includes—


              a) Only the Federal share of the funding under any Federal award with a recipient cost share or match; and




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                 b) The value of all expected funding increments under a Federal award and options, even if not yet exercised.


    F. Disclosure Requirements.


    Consistent with 45 C.F.R. § 75.113, applicants and recipients must disclose, in a timely manner, in writing to the HHS Awarding
    Agency, with a copy to the HHS Office of the Inspector General, all information related to violations of Federal criminal law
    involving fraud, bribery, or gratuity violations potentially affecting the Federal award. Subrecipients must disclose, in a timely
    manner, in writing to the prime recipient (pass through entity) and the HHS Office of the Inspector General all information related
    to violations of Federal criminal law involving fraud, bribery, or gratuity violations potentially affecting the Federal award.
    Disclosures must be sent in writing to the awarding agency and to the HHS OIG at the following addresses:

    HHS OASH Grants and Acquisitions Management
    1101 Wootton Parkway, Plaza Level
    Rockville, MD 20852

    AND

    US Department of Health and Human Services Office of Inspector General
    ATTN: OIG HOTLINE OPERATIONS—MANDATORY GRANT DISCLOSURES
    PO Box 23489
    Washington, DC 20026

    URL: http://oig.hhs.gov/fraud/report-fraud/index.asp

    (Include “Mandatory Grant Disclosures” in subject line)

    Fax: 1-800-223-8164 (Include “Mandatory Grant Disclosures” in subject line)

    Failure to make required disclosures can result in any of the remedies described in 45 C.F.R. § 75.371 (“Remedies for
    noncompliance”), including suspension or debarment (See also 2 C.F.R. Parts 180 & 376 and 31 U.S.C. § 3321).

    The recipient must include this mandatory disclosure requirement in all subawards and contracts under this award.

  9. Advancing Racial Equity and Support for Underserved Communities Through the Federal Government. You must
    administer your project in compliance with federal civil rights laws that prohibit discrimination on the basis of race, color,
    national origin, disability, age and, in some circumstances, religion, conscience, and sex (including gender identity, sexual
    orientation, and pregnancy). This includes taking reasonable steps to provide meaningful access to persons with limited English
    proficiency and providing programs that are accessible to and usable by persons with disabilities. The HHS Office for Civil Rights
    provides guidance on complying with civil rights laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-
    providers/provider-obligations/index.html and https://www.hhs.gov/civil-rights/for-individuals/nondiscrimination/index.html.

     -- You must take reasonable steps to ensure that your project provides meaningful access to persons with limited English
    proficiency. For guidance on meeting your legal obligation to take reasonable steps to ensure meaningful access to your programs
    or activities by limited English proficient individuals, see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-
    english-proficiency/fact-sheet-guidance/index.html and https://www.lep.gov.

     -- For information on your specific legal obligations for serving qualified individuals with disabilities, including providing
    program access, reasonable modifications, and taking appropriate steps to provide effective communication , see
    http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.

     --     HHS funded health and education programs must be administered in an environment free of sexual harassment, see




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     https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.

     -- For guidance on administering your project in compliance with applicable federal religious nondiscrimination laws and
     applicable federal conscience protection and associated anti-discrimination laws, see https://www.hhs.gov/conscience/conscience-
     protections/index.html and https://www.hhs.gov/conscience/religious-freedom/index.html.

 10. Trafficking in Persons. This award is subject to the requirements of Section 106 (g) of the Trafficking Victims Protection Act of
     2000, as amended (22 U.S.C. § 7104)


     A. Provisions applicable to a recipient that is a private entity.


           1) You as the recipient, your employees, subrecipients under this award, and subrecipients’ employees may not


                 a) Engage in severe forms of trafficking in persons during the period of time that the award is in effect;


                 b) Procure a commercial sex act during the period of time that the award is in effect; or


                 c) Use forced labor in the performance of the award or subawards under the award.


           2) We as the Federal awarding agency may unilaterally terminate this award, without penalty, if you or a subrecipient that
           is a private entity –


                 a) Is determined to have violated a prohibition in paragraph A.1 of this award term; or


                 b) Has an employee who is determined by the agency official authorized to terminate the award to have violated a
                 prohibition in paragraph A.1 of this award term through conduct that is either-

                       (1) Associated with performance under this award; or

                       (2) Imputed to you or the subrecipient using the standards and due process for imputing the conduct of an
                       individual to an organization that are provided in 2 C.F.R. Part 180, “OMB Guidelines to Agencies on
                       Governmentwide Debarment and Suspension (Nonprocurement),” as implemented by our agency at 2 C.F.R.
                       Part 376.


     B. Provision applicable to a recipient other than a private entity.


     We as the Federal awarding agency may unilaterally terminate this award, without penalty, if a subrecipient that is a private
     entity-


           1) Is determined to have violated an applicable prohibition in paragraph a.1 of this award term; or


           2) Has an employee who is determined by the agency official authorized to terminate the award to have violated an
           applicable prohibition in paragraph a.1 of this award term through conduct that is either


                 a) Associated with performance under this award; or


                 b) Imputed to the subrecipient using the standards and due process for imputing the conduct of an individual to an




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              organization that are provided in 2 C.F.R. Part 180, “OMB Guidelines to Agencies on Governmentwide Debarment
              and Suspension (Nonprocurement),” as implemented by our agency at 2 C.F.R. Part 376.


   C. Provisions applicable to any recipient.


        1) You must inform us immediately of any information you receive from any source alleging a violation of a prohibition in
        paragraph A.1 of this award term


        2) Our right to terminate unilaterally that is described in paragraph A.2 or B of this section:


              a) Implements section 106(g) of the Trafficking Victims Protection Act of 2000 (TVPA), as amended (22 U.S.C. §
              7104(g)), and


              b) Is in addition to all other remedies for noncompliance that are available to us under this award.


        3) You must include the requirements of paragraph A.1 of this award term in any subaward you make to a private entity.


   D. Definitions. For purposes of this award term:


        1)    “Employee” means either:


              a) An individual employed by you or a subrecipient who is engaged in the performance of the project or program
              under this award; or


              b) Another person engaged in the performance of the project or program under this award and not compensated by
              you including, but not limited to, a volunteer or individual whose services are contributed by a third party as an in-kind
              contribution toward cost sharing or matching requirements.


        2)    “Forced labor” means:


        Labor obtained by any of the following methods: the recruitment, harboring, transportation, provision, or obtaining of a
        person for labor or services, through the use of force, fraud, or coercion for the purpose of subjection to involuntary
        servitude, peonage, debt bondage, or slavery.


        3) “Private entity”:


              a) Means any entity other than a State, local government, Indian tribe, or foreign public entity, as those terms are
              defined in 2 C.F.R. § 175.25.

              b) Includes:

                    (1) A nonprofit organization, including any nonprofit institution of higher education, hospital, or tribal
                    organization other than one included in the definition of Indian tribe at 2 C.F.R. § 175.25(b).

                    (2) A for-profit organization.




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          4) “Severe forms of trafficking in persons,” “commercial sex act,” and “coercion”


          These terms have the meanings given at section 103 of the TVPA, as amended (22 U.S.C. § 7102)

 11. Prohibition on certain telecommunications and video surveillance services or equipment.

     A. As described in CFR 200.216, recipients and subrecipients are prohibited to obligate or spend grant funds (to include direct and
     indirect expenditures as well as cost share and program) to:


          1) Procure or obtain,


          2) Extend or renew a contract to procure or obtain; or


          3) Enter into contract (or extend or renew contract) to procure or obtain equipment, services, or systems that use covered
          telecommunications equipment or services as a substantial or essential component of any system, or as critical technology as
          part of any system. As described in Pub. L. 115-232, section 889, covered telecommunications equipment is
          telecommunications equipment produced by Huawei Technologies Company or ZTE Corporation (or any subsidiary or
          affiliate of such entities).


                a) For the purpose of public safety, security of government facilities, physical security surveillance of critical
                infrastructure, and other national security purposes, video surveillance and telecommunications equipment produced
                by Hytera Communications Corporation, Hangzhou Hikvision Digital Technology Company, or Dahua Technology
                Company (or any subsidiary or affiliate of such entities).

                b) Telecommunications or video surveillance services provided by such entities or using such equipment.

                c) Telecommunications or video surveillance equipment or services produced or provided by an entity that the
                Secretary of Defense, in consultation with the Director of the National Intelligence or the Director of the Federal
                Bureau of Investigation, reasonably believes to be an entity owned or controlled by, or otherwise, connected to the
                government of a covered foreign country.




REPORTING REQUIREMENTS
  1. Financial Reporting Requirement—Federal Financial Report (FFR) SF 425. Effective October 1, 2020, you must submit
     your SF-425 to OASH using the Department of Health and Human Services (HHS) Payment Management System for any OASH
     awards with a project period ending October 1, 2020 or later. Failure to submit the FFR in the correct system by the due date may
     delay processing of any pending requests or applications.

     OASH and the Program Support Center are collaborating in the submission of the SF-425 to reduce the burden on grantees and
     assist with the reconciliation of expenditures and disbursements, and to allow for timely closeout of grants. Your submission must
     be through the HHS Payment Management System. SF-425 submissions through Grant Solutions will no longer be accepted for
     OASH awards.

     You must use the SF-425 Federal Financial Report (FFR) for expenditure reporting. To assist in your preparation for submission
     you may find the SF-425 and instructions for completing the form on the Web at:
     http://apply07.grants.gov/apply/forms/sample/SF425-V1.0.pdf. You must complete all sections of the FFR.




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    A. Quarterly FFR Due Date.

    Your FFR is due 30 days after the end of each Quarter in the federal fiscal year. That is for the:


          Quarter ending September 30, your FFR is due October 30


          Quarter ending December 31, your FFR is due January 30


          Quarter ending March 30, your FFR is due April 30


          Quarter ending June 30, your FFR is due July 30.


    B. Final FFR Due Date.

    Your final FFR covering the entire project is due 90 days after the end date for your project period.


    C. Past due reports.


    If you have not submitted by the due date, you will receive a message indicating the report is Past Due. Please ensure your
    Payment Management System account and contact information are up to date so you receive notifications.


    D. Electronic Submission.


    Electronic Submissions are accepted only via the HHS Payment Management System – No other submission methods will be
    accepted without prior written approval from the GMO. You must be assigned to the grant with authorized access to the FFR
    reporting Module when submitting. If you encounter any difficulties, contact the HHS Payment Management System Help Desk
    or your assigned Grants Management Specialist. Please reference the CONTACTS section of NoA Terms and Conditions to
    locate the name of your assigned Grants Management Specialist.

  2. Annual Progress Report Requirements. You must submit annual progress reports 90 days after the end of each performance
    reporting period unless otherwise required under the Special Terms and Requirements for this award. Your progress reports must
    address content required by 45 CFR § 75.342(b)(2). Additonal progess reporting may be requiremented under Special Terms and
    Requirements as required by statute, regulation, or specific circumstances warranting additional monitoring. Additional guidance
    may be provided by the Program Office. Reports must be submitted electronically via upload to Grant Notes in GrantSolutions.

  3. Audit Requirements. The Single Audit Act Amendments of 1996 (31 U.S.C. §§ 7501-7507) combined the audit requirements for
    all entities under one Act. An audit is required for all non-Federal entities expending Federal awards, and must be consistent with
    the standards set out at 45 CFR Part 75, Subpart F (“Audit Requirements”). The audits are due within 30 days of receipt from the
    auditor or within 9 months of the end of the fiscal year, whichever occurs first. The audit report when completed should be
    submitted online to the Federal Audit Clearinghouse at https://harvester.census.gov/facides/Account/Login.aspx.



CONTACTS
  1. Fraud, Waste, and Abuse. The HHS Inspector General accepts tips and complaints from all sources about potential fraud, waste,
    abuse, and mismanagement in Department of Health and Human Services' programs. Your information will be reviewed promptly
    by a professional staff member. Due to the high volume of information that they receive, they are unable to reply to submissions.
    You may reach the OIG through various channels.




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     Internet: https://forms.oig.hhs.gov/hotlineoperations/index.aspx

     Phone: 1-800-HHS-TIPS (1-800-447-8477)

     Mail: US Department of Health and Human Services
     Office of Inspector General
     ATTN: OIG HOTLINE OPERATIONS
     PO Box 23489
     Washington, DC 20026

     For additional information visit https://oig.hhs.gov/fraud/report-fraud/index.asp

  2. Payment Procedures. Payments for grants awarded by OASH Program Offices are made through Payment Management Services
     (previously known as the Division of Payment Management) https://pms.psc.gov/home.html PMS is administered by the Program
     Support Center (PSC), HHS. NOTE: Please contact the Payment Management Services to establish an account if you do not have
     one.

     Inquiries regarding payments should be directed to https://pms.psc.gov/home.html; or

     Payment Management Services, P.O. Box 6021, Rockville, MD 20852;

     or 1-877-614-5533.

  3. Use of Grant Solutions. GrantSolutions is our web-based system that will be used to manage your grant throughout its life cycle.
     Please contact GrantSolutions User Support to establish an account if you do not have one. Your Grants Management Specialist
     has the ability to create a GrantSolutions account for the Grantee Authorized Official and Principle Investigator/Program Director
     roles. Financial Officer accounts may only be established by GrantSolutions staff. All account requests must be signed by the
     prospective user and their supervisor or other authorized organization official.

     For assistance on GrantSolutions issues please contact: GrantSolutions User Support at 202-401-5282 or 866-577-0771, email
     help@grantsolutions.gov, Monday – Friday, 8 a.m. – 6 p.m. ET. Frequently Asked Questions and answers are available at
     https://grantsolutions.secure.force.com/.

  4. Grants Administration Assistance. For assistance on grants administration issues please contact: Robin Fuller, Grants
     Management Specialist, at (240) 453-8830, or e-mail robin.fuller@hhs.gov or mail:

     OASH Grants and Acquisitions Management Division
     Department of Health and Human Services
     Office of the Secretary
     Office of the Assistant Secretary for Health
     1101 Wootton Parkway, Rockville, MD 20852.




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